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                            2018-1766, -1767

          United States Court of Appeals
              for the Federal Circuit

                            TQ DELTA, LLC,
                                                       Appellant,
                                   – v. –
   CISCO SYSTEMS, INC., DISH NETWORK LLC, COMCAST CABLE
      COMMUNICATIONS, LLC, COX COMMUNICATIONS, INC.,
TIME WARNER CABLE ENTERPRISES LLC, VERIZON SERVICES CORP.,
                     ARRIS GROUP, INC.,
                                                       Appellees.


Appeals from the United States Patent and Trademark Office, Patent Trial and
  Appeal Board in Nos. IPR2016-01020, IPR2016-01021, IPR2017-00254,
           IPR2017-00255, IPR2017-00417, and IPR2017-00418.

                          JOINT APPENDIX
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                                                            November 21, 2018
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                 TQ DELTA, LLC, Patent Owner/Appellant
                                  v.
             CISCO SYSTEMS, INC., et. al., Petitioners/Appellees

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                                                      ANSI T1.413 95 . . 0724150 0526161 42T . .

                 ANSI T1.413-1995

                 7.8 Gain scaling

                                                            = X j + jYj , output from the encoder is multiplied by the
                 Each point (Xj , Yj) or complex number, Z, =
                 fine gain adjuster, gj:

                                 ~'=gA

                 The gj define a scaling of the rms sub-carrier levels relative to-those used in R-MEDLEY (see
                 12.7.8). They are independent of any methods that manufacturers may use to simplify
                 implementation (e.g., constellation nesting).

                 7.9 Modulation

                 The frequency spacing, Ilf, between sub-carriers shall be 4.3125 kHz with a tolerance of + 50
                 ppm.

                 7.9.1 Sub-carriers

                 7.9.1.1 Data sub-carriers

                 The channel analysis signal, defined in 11.5.2, allows for a maximum of 31 carriers (at
                 frequencies nLlf, n=1 to 31) to be used. The lower limit on n is determined by the ADSL-POTS
                 splitting filters; if FDM is used to separate the upstream and downstream signals, the upper limit
                 on n is set by the down-up splitting filters. The cut-oft frequencies of these filters are completely at
                 the discretion of the manufacturer because in either case the range of usable n is determined
                 during the channel estimation.

                 7.9.1.2 Pilot

                 Carrier #16 (f =                                                                       °
                                = 69.0 kHz) shall be reserved for a pilot; that is b16 == and g 16 == 1. The data
                 modulated onto the pilot sub-carrier shall be a constant {O,O}. Use of this pilot allows resolution in
                 a receiver of sample timing modul0-8 samples. Therefore a gross timing error that is an integer
                 multiple of 8 samples, could still persist after a micro-interruption (e.g., a temporary short-circuit,
                 open circuit or severe line hit); correction of these is made possible by the use of the
                 synchronization symbol defined in 7.7.4.


                 7.9.1.3 Nyquist frequency

                 The carrier at the Nyquist frequency (#32) shall not be used for data; other possible uses are for
                 further study.

                 7.9.2           Modulation by the inverse discrete fourier transform

                 The modulating transform defines the relationship between the 64 real values xk and the ~'
                                  63
                            = L eXPU1t kil32} Z; ,
                         xk =
                                  i;Q
                 The encoder and scaler generate only 31 complex values of Z; I (plus zero at dc and one real
                 value if the Nyquist frequency is used). In order to generate real values of xk these values shall be
                 augmented so that the vector Z has Hermitian symmetry. That is,

                         ~' = conj[ Z's4 .;'1  Z's4                for i = 33 to 63




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                                                     ANSI T1.413 95 II 0724150 052b1b2 3bb II

                                                                                                                                       ANSI T1.413-1995

                         7.9.3           Synchronization symbol

                         The synchronization symbol permits recovery of the frame boundary after micro-interruptions that
                         might otherwise force retraining.

                         The symbol rate, t Symb = 4 kHz, the sub-carrier separation, At = 4.3125 kHz, and the 10FT size,
                         N = 64, are such that a cyclic prefix of 5 samples could be used. That is,

                                  (64 + 5) x 4.0 = 64 x 4.3125 = 276

                         The cyclic prefix, however, is shortened to 4 samples, and a synchronization symbol (with a
                         nominal length of 68 samples) is inserted after every 68 data symbols. That is,

                                  (64 + 4) x 69 = (64 + 5) x 68

                         The data pattern used in the synchronization symbol is the pseudo-random sequence PRU (d n,
                         for n = 1 to 64), defined by

                                                                   for n = 1 to 6
                                                                   for n = 7 to 64

                         The bits shall be used as follows: the first pair of bits (d 1 and d 2 ) is used for the dc and Nyquist
                         sub-carriers (the power assigned to them is, of course, zero, so the bits are effectively ignored);
                         then the first and second bits of subsequent pairs are used to define the XI and YI. for i = 1 to 31
                         as follows:


                                                                   o    0            + +
                                                                   o                 +
                                                                        o            -   +


                              NOTES
                              1 The period of PRU is only 63 bits, so d64 = d1•

                              2 The d 1 - d6 are re-initialized for each symbol, so each symbol of C-REVERB1 uses the same data.

                          Bits 33 and 34, which modulate the pilot carrier (i=16) are overwritten by {O,O}, generating the
                          {+,+} constellation.

                          The minimum set of sub-carriers to be used is the set used for data transmission (Le., those for
                          which b; > 0); sub-carriers for which b; = 0 may be used at a reduced PSO as defined in 7.13.4.
                          The data modulated onto each sub-carrier shall be as defined above; it shall not depend on which
                          sub-carriers are used.

                          7.10            Cyclic prefix

                          The cyclic prefix shall be used for data and synchronization symbols beginning with segment R-
                          RATES1 of the initialization sequence, as defined in 12.7.2.1




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                 ANSI T1.413-1995

                 The last 4 samples of the output of the IDFT (Xk for k= 61 to 63) shall be prepended to the block
                 of 64 samples and read out to the DAC in sequence. That is, the subscripts, k, of the DAC
                 samples in sequence are 60 ... 63,0 ... 63.

                 7.11 Transmitter dynamic range

                 The transmitter includes all analog transmitter functions: the D/A converter, the anti-aliasing filter,
                 the hybrid circuitry, and the POTS splitter. The transmitted signal shall conform to the frequency
                 requirements described in 7.9.1 for frequency spacing.

                 7.11.1 Maximum clipping rate

                 The maximum output signal of the transmitter shall be such that the probability of the signal being
                 clipped is no greater than 10-7 .

                 7.11.2 Noise/Distortion floor

                 The Signal to Noise plus Distortion (SINAD) ratio of the transmitted signal in a given sub-carrier is
                 defined as the ratio of the rms value of the full-amplitude tone in that sub-carrier to the rms sum of
                 all the non-tone signals in the 4.3125 kHz frequency band centered on the tone frequency. The
                 SINAD is characterized for each sub-carrier used for transmission: SINADi represents the signal
                 to noise plus distortion available on the transmitted signal in the i th sub-carrier.

                 Over the transmission frequency band, the SINAD of the transmitter in any sub-carrier (or DMT
                 tone) shall be no less than (3NuPi + 20) dB, where Nupi is defined as the size of the constellation
                 (in bits) to be used in sub-carrier i. The minimum transmitter SINAD shall be at least 38 dB
                 (corresponding to an NUPi of 6) for any sub-carrier.




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                          7.12 Transmitter spectral response

                            PSD
                           dBm/Hz



                                                                   Passband ripple ± 3 dB

                                                                                                    24 dB


                                                                                                                                        48 dB




                                                          approx
                                                  3.4         30                              138     181                             224               kHz

                                               Lower                 Upstream pass band              Upper stop-band
                                               stop-band
                                               (POTS)

                                                                         Figure 22 - ATU-R transmitter PSD mask

                           Figure 22 shows a representative spectral response mask for the transmitted signal. For
                           purposes of this discussion, the pass band is defined as the frequency range over which the
                           modem transmits. The low frequency stop band is defined as the POTS band. The high
                           frequency stop band is defined as frequencies greater than 181 kHz, which is approximately 10M
                           above the maximum pass band frequency (138 kHz).

                           7.12.1 Pass band response

                           The pass band ripple shall be no greater than + 3 dB, and the group delay variation over the pass
                           band shall not exceed 50 J.lS.

                           7.12.2 Low frequency stop band rejection

                           The spectral characteristics of the output in the POTS band shall conform to the specifications in
                           10.3.

                           7.12.3 High frequency stop band rejection

                           The PSD in the band above 181 kHz shall be at least 24 dB below the spectral density of the
                           pass-band mask. (see 12.4.3) The PSD in the band above 224 kHz (138 kHz+ 86 kHz) shall be
                           at least 48 dB below the spectral density of the pass-band mask.




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                7_13            Transmit power spectral density and aggregate power level

                There are three different PSD masks for the ATU-R transmit signal, depending on the type of
                signal sent. In all cases the power in the voice-band that is delivered to the POTS interface shall
                conform to the specification given in 10.2.

                7.13.1 All initialization signals (except R-ECT) starting with R-REVERBl

                The PSD in the band from 25 to 138 kHz, shall not exceed -38 dBm/Hz for a total power of not
                greater than 13 dBm. The power in the voice band delivered to the POTS interface shall conform
                to the requirements of 10.4.

                7.13.2 R-ECT

                Because R-ECT is a vendor-defined signal (see 12.5.4), the PSD specification shall be
                interpreted only as a maximum. This maximum level is -38 dBrnlHz for the band from 18 - 138
                kHz. Sub-carriers 1 - 4 may be used, but the power in the voice-band that is delivered to the
                POTS interface shall conform to the specification given in 10.4.

                7.13.3 Steady-state data signal

                The transmit PSD in the frequency region from 25 - 138 kHz shall normally be -38 dBm/Hz with
                a maximum of -35 dBrnlHz; levels lower than -38 dBm/Hz on some sub-carriers are
                discretionary. The aggregate power level shall not exceed ( -2 + 10 log ncup) dBm, where ncup
                is the number of sub-carriers used (13 dBm if all sub-carriers are used). The bits and gains table
                (see C-B&G in 12.8.7), calculated by, and sent from the ATU-C during initialization, may eliminate
                some of the sub-carriers, and finely adjust (Le., within a ± 3 dB range) the level of others in order
                to equalize expected error rates on each of the sub-channels.

                7.13.4 Synchronization symbol

                                                                       = 0 and g;> 0 shall be the same as for the
                The PSD of those sub-carriers for which b i > 0 or b i =
                initialization signal R-REVERB1; that is, nominally -38 dBm/Hz. The PSD for those sub-carriers
                for which b; = = 0 and g;= 0 shall be no higher than -48 dBrnlHz.
                 The PSD of a synchroniazation symbol thus differs from that of the data Signals surrounding it by
                 the g, ' which are applied only to the data carriers. These g; are calculated for the multipoint
                 constellations in order to equalize the expected error rate on all sub-channels, and are therefore
                 irrelevant for most of the 4QAM signals of the synchronization symbol.




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                         8               ADSL - POTS splitter functional character istics

                         When ADSL is provided with POTS on the same twisted pair an ADSL - POTS splitting function
                         shall be performed at each end of the line.

                         At the ATU-R the splitting functions are

                                         - combining the POTS and the ATU-R transmit signals towards the U-R;

                                         - separating the POTS and ADSL signals received from the U-R;

                                         - protecting the POTS from voice-band interference from signals generated by both the
                                         ATU-R and ATU-C;

                                         - protecting both ATU-R and ATU-C receivers from all POTS-related signals, particularly
                                         dial pulses, ringing and ring trip.

                         Protection of the ADSL receivers from those components of POTS-related signals that fall in the
                         voice-band may be partially performed by the receivers themselves.

                         These functions shall be performed while meeting all requirements for POTS performance, such
                         as echo and singing return loss, as specified in 10.1. Furthermore, these functions shall be
                         performed in such a way that if either ATU is turned off, or if power is lost, continuity through the
                         voice-band path is maintained, and telephone service is not interrupted.

                         The combination and separation of POTS and ADSL signals is achieved by low-pass and high-
                         pass filtering. The POTS signal occupies the band up to 3.4 kHz; the bands occupied by the
                         ADSL upsteam and downstream signals are vendor options, but leakage of the signals into the
                         voice-band shall be constrained as defined in 10.4.

                         The functional characteristics of the ADSL - POTS splitter at the ATU-C are the same as those at
                         the ATU-R, but the performance requirements may be different because of the different relative
                         levels of signals and interferences.




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                  9               ATU-R to service module (TSM) interface requirements

                  Two distinctive T-interfaces are defined, see figure 23. The T A interface preserves the ADSl
                  channelization and the entire payload. The TTL-type signals at the T A interface with separate
                  clocks for each channel are intended for connection of the ADSl transceiver to other elements
                  that sre located within a few centimeters. The T B interface is intended to provide a simple point-
                  to-point connection of the ATU-R to a service module, which may be 50 meters distant (greater
                  distances are for further study). Both interfaces are optional and not necessary for compliance
                  with the standard. An additional composite, single-channel T interface is for further study.

                  Functionally, the T A-interface preserves ADSl channelization and the entire payload, and the T B -
                  interface is designed as a simple point-to-point interface between the ADSl entrance unit and the
                  service module. Future issues of this standard may update this interface or specify a multipoint
                  ATU-R to SM interface. In particular, an additional composite, single channel T -interface is for
                  further study, and the TA -interface mayor may not be included in future issues of the standard.

                  9.1 TA-interface definitions

                  The T A-interface consists of a DATA and a clock (ClK) line for each of the four simplex ASX
                  channels and for each direction of each of the three duplex lSX channels. The ClKs emanating
                  from the ATU-R will not necessarily be smooth nor synchronous to one another. Any clock
                  smoothing will be performed at the ATU-R to SM interface card.

                  The routing of proper ASX and lSX channels shall be performed by the ATU-R to SM interface
                  card. An optional C-channel processor is specified for a multiple interface card configuration.
                  The lSO DATA and ClK from the ATU-R are passed to the C-channel processor before passing
                  to the individual interface cards. The demultiplexing process of the lSO channel can be
                  performed by either the C-channel processor or by the individual SM's. Inversely, the upstream
                  lSO DATA and ClK from each interface card are collected and formatted at the C-channel
                  processor, which in turn outputs a single upstream lSO DATA and ClK to the ATU-R for
                  transmission back to the ATU-C. DATAs and ClKs to and from the C-channel processor will be
                  at standard logic levels, as specified in 9.1.1.

                  TA-interface signals and timing are defined as follows:

                           - ASX Channels:

                                   -     Signal Levels: Standard TTL logic levels;
                                   -     Data: NRZ;
                                   -     Clock: Standard logic levels, 50% (±1S%) duty cycle;
                                   -     Clock polarity: Data changes on rising clock edge;
                                   -     Nominal clock frequency: 1.536 MHz, 1.544 MHz, 3.072 MHz, 4.608 MHz, or 6.144
                                   MHz, depending on configuration (2.048 MHz optional).

                           - lSX Channels:

                                   -     Signal levels: Standard TTL logic levels;
                                   -     Data: NRZ;
                                   -     Clock: Standard logic levels, 50% (±1S%) duty cycle;
                                   -     Clock polarity: Data changes on rising clock edge;
                                   -     Nominal clock frequency: 16 kHz, 64 kHz, 160 kHz, 384 kHz, or 576 kHz,
                                  depending on configuration.




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                                                                                                                                  ANSI T1.413-1995

                       9.2 TB-interface definitions

                       The TB-interface allows a pOint-to-point connection that is at most 50 meters from the ADSL
                       entrance unit to the SM; greater distances are for further study. The T a-interface is located at the
                       output of the ATU-R to SM interface card and consists of three separate simplex channels:

                                        -      a downstream ASX channel to the SM;
                                        -      a downstream LSO channel to the SM;
                                        -      an upstream LSO channel from the SM.

                       The optional LS1 (ISDN-BRA) channel and LS2 (HO) channel interfaces may also be provided at
                       the T a-interface.

                        Ta-interface signals and timing are defined as follows:

                                 - ASX channel:

                                         - Wire type: Transformer-balanced, twisted-pair wire;
                                         - Coding: B8ZS;
                                         - Bit rates: 1.544, 1.536, 3.072, 4.608, or 6.144 MbiVs depending on configuration
                                        (2.048 MbiVs optional with G.703 interface);
                                         - Maximum transmit level: 3 volts peak.

                                 - LSO channel:

                                        -     Wire type: Transformer-balanced, twisted-pair wire;
                                        -     Coding: Biphase (Manchester);
                                        -     Bit Rates: 16 or 64 kbiVs depending on configuration;
                                        -     Interface: EIA RS-422.

                                 - LS1 Channel (optional) interface: ISDN-BRA U or SfT interface.

                            - LS2 channel (optional) interface: Partially filled T1 with same specifications as the ASX
                        channel above.




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                                                                                         TA
                                                                                          A interface                                        T B interface
                                                                                                                                                                 1I

                                                                     ATU-R
                                                                      DMf
                                                                                     ASO
                                                                                    DAT
                                                                                     CLK
                                                                                     AS}
                                                                                    DAT/\
                                                                                    DATA
                                                                                                    I;:
                                                                                                    I:::'
                                                                                                         ....
                                                                                                    .'", ...
                                                                                                        I I
                                                                                                                 -
                                                                                                                 .....
                                                                                                                 .....
                                                                                                                 ~               ATU-R
                                                                                                                                                              ASX~
                                                                                                                                                              AS)\: ....

                                                                                                                                                              Dsl
                                                                                                                                                              LSQ
                                                                                                                                                              LSQ _
                                                                                                                                                                      -
                                                                   transceiver       CLK
                                                                                     AS2            I;::
                                                                                                    I~           .........          to
                                                                                                                                 service
                                                                                                                                                                  ,


                   ~
                          Outside
                           loop
                                        ~
                                                                                    DAT
                                                                                     CLK
                                                                                     AS3
                                                                                    DAT
                                                                                    DAT/\
                                                                                     CLK
                                                                                     LSI
                                                                                                '"
                                                                                         _I . . .
                                                                                         _I,.,.
                                                                                                    I I
                                                                                                    ,....,
                                                                                                 - .....
                                                                                                ....,
                                                                                                    "
                                                                                                        '"

                                                                                                       ..
                                                                                                            J

                                                                                                        ,....
                                                                                                            I
                                                                                                            J    -
                                                                                                                 Iiiio.
                                                                                                                 Iiio.
                                                                                                                                 module
                                                                                                                                interface
                                                                                                                                  card
                                                                                                                                               ~




                                                                                                                                               ~
                                                                                                                                                   ...
                                                                                                                                               I...I1II
                                                                                                                                                              USd
                                                                                                                                                              LS

                                                                                                                                                              LSII
                                                                                                                                                                  1

                                                                                                                                                                      .......
                                                          POTS
                                                         Splitter
                                                                                     CLK
                                                                                     LS2 ~
                                                                                    DAT ~Ill
                                                                                            -
                                                                                          - .....-
                                                                                    DATA ....,;;jj,()
                                                                                         ...,;;;j I (I :...
                                                                                         .... , ",.... :;;.::.   ...
                                                                                                                 ~
                                                                                                                                               ~
                                                                                                                                                                 1
                                                                                                                                                                 I
                                                                                                                                                              LS~ ...
                                                                                                                                                              LS:l    ...
                                                                                     CLK
                                                                                            ~I:
                                                                                              I'"                                                                 I
                                                                                     LSO 1......1
                                                                                               "-                              J~ ~ Jj


                                                                   j
                                                                                    DAT", ~'IJ
                                                                                    DATA
                                                                                     rrl(
                                                                                     CLK
                                                                                          ~   J
                                                                                               - .....-                            =)
                                                                                                                                   r-)
                                                                                                                                   I-


                                                                                                        r I- - -, HH-- - - 1I-1
                                                                                                                                                              Optional
                                                                       POTS                                                                                      for
                                                                        loop                            1
                                                                                                        I                                                 1
                                                                                                          L:= C-Channel       C-Channel                        multi-
                                                                   1                                    1
                                                                                                        I
                                                                                                          -==  processor

                                                                                                        - - - -. I.,. - -
                                                                                                        1
                                                                                                        I
                                                                                                                              processor

                                                                                                                             -j~..,
                                                                                                                                                          1
                                                                                                                                                          I   interface
                                                                                                                                                                card
                                                                                                                                                          J configura tion
                                                                                                                               (~)
                                                                                                                               C~)

                                                                                                                               1        r


                                                                                                                     Other interface cards

                                                                   Figure 23 - ADSL entrance unit block diagram




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                                                                                                                                     ANSI T1.413·1995


                         10              Electrical characteristics

                         10.1            dc characteristics

                         All requirements of this standard shall be met in the presence of all POTS loop currents from 0
                         mA to 100 mA. Splitters shall pass POTS tip-to-ring dc voltages of 0 V to 105 V and ringing
                         signals of 40 V to 150 V rms at any frequency from 15.3 Hz to 68 Hz with a dc component in the
                         range from 0 V to 105 V.

                         The dc resistance from tip-to-ring at the PSTN interface with the U-C interface shorted, or at the
                         POTS interface with the U·R interface shorted, shall be less than or equal to 25 ohms. The dc
                         resistance from tip to ground and from ring to ground at the PSTN interface with the U-C interface
                         open, or at the POTS interface with the U-R interface open shall be greater than or equal to 5
                         megohms.

                         10.2 Voice-band characteristics

                         10.2.1 Metallic (differential mode)

                         A common test setup shall be used for measurement of the voice-band insertion loss, attenuation
                         distortion, delay distortion, return loss, and noise and distortion. All measurements shall be
                         performed between the PSTN and POTS interfaces of the ATU-C and ATU-R, respectively, with a
                         variety of reference loops between the U-C and U-R reference pOints. The following loops shall
                         be used:

                                          -    a null loop;
                                          -    ANSI T1.601 resistance-designed loops 7, 9, and 13;
                                          -    Committee T1 TR 28 CSA loops 4,6,7, and 8;
                                          -    26 AWG wire pairs of lengths 0.5 kft, 2.0 kft, and 5.0 kft.

                         Figure 24 defines the test configuration and the value of the test components for all electrical
                         characteristics defined in this clause unless otherwise specified; not all equipment will be required
                         for all tests.

                                                                   V
                                                                   V---.                                    ,....---ISM
                                                                                                            .....---ISM
                                                                                                                      SM




                                                                    I          I                                        I
                                                                   PSTN      U-C               U-R                  POTS
                         Where:
                                         ZTC   = 900 ohms in series with 2.16 ~F for return loss measurements.
                                               = 900 ohms for loss and noise measurements.
                                         ZTR   = 600 ohms.
                                         ZNL-C = 800 ohms in parallel with the series connection of a 100 ohm
                                                 resistor and a 50 nF capacitor.
                                         ZNL-R =1330 ohms in parallel with the series connection of a 348 ohm
                                                 resistor and a 100 nF capacitor (provisional values).

                                               Figure 24 - Test setup for transmission and impedance measurements




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                  10.2.1.1 Insertion loss

                  For each of the test loops specified in 10.1.2, and using the test set-up shown in figure 24, the
                  insertion loss from the PSTN interface to the POTS interface shall be measured with and without
                  the ATU-C and ATU-R connected to the test loop. The impedance of the test equipment at the
                  PSTN interface shall be 900 ohms, and the impedance at the POTS interface shall be 600 ohms.

                  The increase in insertion loss at 1004 Hz on any of the test loops, due to the addition of the
                  splitters shall be :s; 1.0 dB.

                   10.2.1.2 Attenuation distortion

                  The variation of insertion loss with frequency of the combination of both POTS splitters shall be
                  measured using the test setup shown in figure 24. The impedance of the test equipment at the
                  PSTN interface shall be 900 ohms, and the impedance of the test equipment at the POTS
                  interface shall be 600 ohms. The added attenuation distortion of the combined POTS splitters
                  relative to loss at 1 kHz measured using each of the test loops identified above shall be not more
                  than ± 1.0 dB at any frequency between 0.2 kHz and 3.4 kHz.

                   10.2_1_3 Delay distortion

                  The delay distortion of the POTS splitters shall be measured using the test setup of figure 24.
                  The increase in envelope delay distortion between 0.6 kHz and 3.2 kHz caused by the two POTS
                  splitters in each of the test loops shall be less than 200 IlS.

                  10_2.1.4 Return loss

                  The ERL, SRL-Iow and SRL-high shall be measured at the PSTN and POTS interfaces, for each of the 10
                  loops (except the null loop), under the following conditions:

                                  - at the PSTN interface with both the ATU-C and ATU-R splitters installed and the ATU-R
                                  terminated in ZTR;
                                  - at the PSTN interface with the ATU-C splitter installed and the ATU-R terminated in ZTR;
                                  - at the POTS interface with both splitters installed and the ATU-C terminated in ZTC;
                                  - at the POTS interface with the ATU-R splitter installed and the ATU-C terminated in ZTC.

                  The ERL, SRL-Iow and SRL-high for each of these conditions shall exceed the values contained in table
                  29 for each loop.

                                          Table 29 - Minimum voice-band return losses at PSTN and POTS interfaces

                         Measurement                               ATU-C          ATU-R        ERL                SRL-Iow               SRL-high
                           location                                splitter
                                                                   sDlitter       splitter     (dB)                 (dB)                   (dB)
                                                                                                                                          idB)
                             PSTN                                     in             in          8                      5                      5
                             PSTN                                     in            out          8                      5                      5
                             POTS                                     in             in          6                      5                      5
                             POTS                                    out             in          6                      5                      5


                   Furthermore, it is desirable that the mean values of the ERL, SRL-Iow and SRL-high over the full suite of
                   10 loops be degraded as little as possible from the mean values with no splitters present. The
                   permissible amount of degradation is for further study.

                   10.2.1.5            Noise and distortion

                  The distortion contributed by the two POTS splitters shall be measured using the test
                  configuration of figure 24 and the null loop.




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                          With an applied holding tone at -9 dBm, the Signal-to-C-notched noise ratio shall exceed 42 dB,
                          and the second- and third-order intermodulation distortion products shall be at least 57 dB and 60
                          dB, respectively, below the received signal level.

                              NOTE - While these measurements are often made with a holding tone level of -13 dBm, a level of -9
                              dBm is specified for this application because it represents the maximum allowed signal power from a
                              voice-band modem onto a POTS line.

                          10.2.2 Longitudinal (common mode)

                          10.2.2.1 Longitudinal output voltage

                          The ATU-C shall present to the U-C interface, and similarly the ATU-R shall present to the U-R
                          interface, a longitudinal component whose rms voltage in any 4 kHz band averaged in any 1
                          second period, is less than -50 dBv over the frequency range 100 Hz to 1 MHz.

                          Figure 25 defines a measurement method for longitudinal output voltage. For direct use of this
                          test configuration, the ATU shall be able to generate a signal in the absence of a received signal.
                          The ground reference for these measurements shall be the building or green wire ground at the
                          ATU.



                                                                                67.50
                                                                               (See note)
                                                                   ATU                                 ....
                                                                                67.5 0             ~: 3 nn
                                                                                                   ~56.3                   ~         Spectrum
                                                                                                                                     Spectrum

                                                                                                 1~ ~w~er
                                                                                                                                     analyzer
                                                                               (See note)




                                                                                                 l~
                                                       NOTE - These resistors shall be matched to better than 0.1 % tolerance.


                                                      Figure 25 - Measurement method for longitudinal output voltage

                          10.2.2.2 Longitudinal balance

                          Longitudinal balance at the PSTN and POTS interfaces shall be > 58 dB from 0.2 kHz to 1 kHz
                          and >53 dB at 3 kHz, measured in accordance with IEEE Standard 455.

                          10.3 ADSL band

                          10.3.1 Return loss

                          At the U·C and U-R reference points the nominal impedance in the ADSL band shall be 100
                          ohms. The return loss relative to 100 ohms in the frequency range from 30 - 1100 kHz shall be
                          ~ 10 dB.




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                 10.3.2 Longitudinal balance

                 Longitudinal balance at the U-C and U-R interfaces shall be > 40 dB over the frequency range 20
                 kHz to 1100 kHz with the PSTN and POTS interfaces terminated with ZTC and ZTR respectively.
                 Longitudinal balance is given by the equation


                  LBal = 20 log=                    I:JI:~ I dB

                 where:

                                 el = the applied longitudinal voltage (referenced to the building or green wire ground of
                                 the ATU);

                                    =the resultant metallic voltage appearing across a terminating resistor.
                                 em =

                 Figure 26 defines a measurement method for longitudinal balance in the ADSL band. For direct
                 use of this test configuration, measurements shall be performed with the ATU powered up but
                 inactive, driving 0 Volts.



                                                                                50n
                                                                             (see note)
                                          ATU
                                                                                50n
                                                                                                                         Longitudinal
                                                                             (see note)                                  signal
                                                                                                                         generator

                                                                    Measuring set
                                                                   (well balanced)



                                 NOTE - These resistors to be matched to better than 0.03% tolerance


                                     Figure 26 - Measurement method for longitudinal balance above 25 kHz

                 10.4 ADSL noise interference into the POTS circuit

                 10.4.1 Steady state noise

                 The idle channel noise on the POTS circuit shall not exceed 18 dBrnC at either the POTS or the
                 PSTN interfaces with the ADSL system installed whether operating or not operating.

                 The power at any single frequency less than 15 kHz as measured by test equipment with a
                 bandwidth of 30 Hz shall not exceed the greater of 0 dBrn or 10 dB below the measured idle
                 channel noise.

                 10.4.2 Impulse noise

                 During initialization and operation of the ADSL system, with no holding tone applied to the circuit
                 under test, there shall be no more than fifteen counts in fifteen minutes at a threshold of 47
                 dBrnCO at either the PSTN or the POTS interface.


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                                                                                                                                         ANSI T1.413-1995
                          During initialization and operation of the ADSL system, with a -13 dBmO holding tone at 1004 Hz
                          applied to the circuit under test, there shall be no more than fifteen counts in fifteen minutes at a
                          threshold of 65 dBrnCO at either the PSTN or the POTS interface.

                          These impulse noise requirements shall be met with each of the test loops specified in 10.2.1 with
                          the ADSL system forced to re-initialize once per minute during the test interval.

                           11             Operations and maintenance

                           11.1           Embedded operations channel (eoc) requirements

                          An embedded operations channel for communication between the ATU-C and ATU-R shall be
                          used for in-service and out-of-service maintenance, and for the retrieval of a limited amount of
                          ATU-R status information and ADSL performance monitoring parameters. The eoc may also be
                          used in the future to extend maintenance and performance monitoring to the service module(s) at
                          the customer premises. The eoc channel is shared with user channel synchronization control of
                          the fast data buffer. This clause describes the eoc functions, protocol, and commands. Insertion
                          of eoc frames within the ADSL data frames is described in 6.2 and 7.2.

                           11.1.1 eoc organization and protocol

                           The ADSL eoc is organized into eoc frames, which are transmitted within the synchronization
                           control overhead of the fast data buffer, to allow the ATU-C (acting as master of the link) to
                           invoke commands and the ATU-R (acting as slave) to respond to the commands.

                           When it is not required for synchronization control, crc, or fixed indicator bits, the "fast" byte of
                           two successive ADSL frames, beginning with an even-numbered frame as described in 6.2 and
                           7.2, shall be used to transmit one eoc frame, consisting of 13 bits. For the allowable user data
                           configurations (see 5.3), up to 32 eoc frames can be transmitted per ADSL superframe. The eoc
                           channel rate will vary from some minimum rate that will be dependent on the vendor's
                           synchronization control algorithm (to implement the synchronization control described in 6.2) to
                           about 23.7 kbitls.

                           The ATU-C, as master, determines the eoc rate of the ADSL link; therefore only one eoc frame
                           shall be inserted in the upstream direction (by the ATU-R) for each received eoc frame. One
                           exception to this is for the "dying gasp" message, which is the only autonomous message
                           currently allowed from the ATU-R and is inserted as soon as upstream "fast" bytes are available.

                           The 13 bits of the eoc frame are defined in table 30. The assignment of these bits to positions
                           within the "fast byte" is defined in 6.2 and 7.2. The eoc protocol states are defined in 11.1.4.

                                                                               Table 30 - eoc bit functions

                                          Bit                      #Bits   Description                         Notes
                                          position
                                          1,2                      2 Address field                      Can address 4 locations
                                          3                        1 Data (0)     oocode (1) field
                                                                           (O) or opcode                Data used for read/write
                                          4                        1 Byte parity field                  Multibyte transmission
                                                                     Odd (1) or even (0)
                                          5               1          Unspecified for ATU-C (set to Reserved for future use at
                                                                     1) (see note)                      ATU-C
                                                                     Autonomous ATU-R message Used by ATU-R to send
                                                                     (0) or ATU-R response to eoc "dying gasp"
                                                                     protocol (1)
                                          6-13            8          Information field                  58 opcodes, 8 bits data
                                          NOTE - The only autonomous message currently defined for the ATU-R is the "dying gasp"
                                          (11.1.4.4). Other uses of the eoc5 bit are for further study.




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               11.1.2 eoc frame structure

               The eoc frame shall contain 5 fields, defined in the following subclauses.

               11.1.2.1 Address field

               The two bits of the address field can address up to four locations. Only two locations are
               presently defined:

                                - 11 for the ATU-C;
                                - 00 for the ATU-R.

               10 and 01 are reserved for future use.

               11.1.2.2 Data or opcode field

               A 1 in this field indicates that the information field of the current eoc frame contains data; a 0 that
               it contains an operation code for an ADSL eoc message.

               11.1.2.3 Byte parity field

               For the first byte of data that is to be either read or written, this bit shall be set to 1 to indicate
               "odd" byte. For the next byte, it is set to 0 to indicate "even" byte and so on, alternately. This bit
               helps to speed up multi-byte reads and writes of data by eliminating the need for intermediate
               opcodes to indicate to the far end that the previous byte was successfully received.

               11.1.2.4 Unspecified bit (ATU-C) I ATU-R autonomous message field

               At the ATU-C, this field is reserved for future use, and until specified otherwise shall be set to 1 in
               all eoc frames transmitted by the ATU-C. At the ATU-R, a 1 in this field shall designate that the
               current eoc frame is an eoc protocol response (slave) message; a 0 that it is an autonomous
               message that does not disturb the current state of the eoc protocol at either the ATU-C or the
               ATU-R. The only autonomous message currently defined for the ATU-R is the "dying gasp"
               (11.1.4.4).

               11.1.2.5 Information field

               Up to 58 different messages or 8 bits of binary or ASCII data may be encoded in the information
               field.

               The message set is restricted to codes that provide a minimum Hamming distance of 2 between
               all opcodes, and a minimum distance of 3 between certain critical codes and all other codes.

               11.1.3 eoc message sets

               The ATU-C sends commands to the ATU-R to perform certain functions. Some of these
               functions require the ATU-R to activate changes in the circuitry (e.g., to send crc bits that are
               corrupt). Other functions that can be invoked are to read from and write into data registers
               located at the ATU-R. The data registers are used for reading status- or performance-monitoring
               parameters from the ATU-R, or for limited maintenance extensions to the CI wiring distribution
               network or service modules.

               Some of these commands are "latching", meaning that a subsequent command shall be required
               to release the ATU-R from that state. Thus, multiple ADSL eoc-initiated actions can be in effect
               simultaneously. A separate command, "Return To Normal", shall be used to unlatch all latched
               states. This command is also used to bring the ADSL system to a known state, the idle state,
               when no commands are active in the ATU-R location. To maintain the latched state, the
               command "Hold State" shall be continually sent.

               The ATU-C always issues the commands, and the ATU-R responds by acknowledging to the
               ATU-C that the message was received correctly.


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                        11.1.3.1 eoc message set requirements

                        Messages that may be sent by the ATU-R and ATU-C in response to correctly received
                        messages are:

                                       - Hold State: This message shall be sent by the ATU-C to the ATU-R to maintain the
                                       ATU-R eoc processor and any active ADSL eoc-controlled operations (such as latching
                                       commands) in their present state;

                                       - Return to Normal (Idle Code): This message releases all outstanding eoc-controlled
                                       operations (latched conditions) at the ATU-R and returns the ADSL eoc processor to its
                                       initial state. This code is also the message sent during idle states;

                                       - Unable to Comply Acknowledgment: The ATU-R shall send this message when it
                                       receives an ADSL eoc message that it cannot perform either because it does not
                                       recognize or implement the command or because the command is unexpected, given the
                                       current state of the ADSL eoc interface. An example of an unexpected command is one
                                       that indicates that the information field contains data, but that was not preceded by a
                                       "Write Data" command;

                                        - Request Corrupt ere: This message requests the ATU-R to send corrupt crcs to the
                                        ATU-C until canceled by the "Request End of Corrupt crc" or "Return to Normal"
                                        message. In order to allow multiple ADSL eoc-initiated actions to be in effect
                                        simultaneously, the "Request corrupt crc" command shall be latching;

                                        - Request End of Corrupt ere: This message requests the ATU-R to stop sending corrupt
                                        crcs toward the ATU-C;

                                        - Notify Corrupted ere: This message notifies the ATU-R that intentionally corrupted
                                        crcs will be sent from the ATU-C until cancellation is indicated by "Notify End of
                                        Corrupted crc" or "Return to Normal";

                                        - Notify End of Corrupted ere: This message notifies the ATU-R that the ATU-C has
                                        stopped sending corrupted crcs;

                                        - Perform Self Test: This message requests the ATU-R to perform a self test. The
                                        result of the self test is stored in a register at the ATU-R. After the ATU-R self test, the
                                        ATU-C reads the test results from the ATU-R register;

                                        - Write Data (Register #): This message directs the ATU-R to enter the Data Write
                                        Protocol state and receive data in the register specified by the Opcode;

                                        - Read Data (Register#): This message directs the ATU-R to enter the Data Read
                                        Protocol state to transmit data to the ATU-C from the register specified by the Opcode;

                                        - Next Byte: This message is sent by the ATU-C in data read or data write mode after
                                        the ATU-R has acknowledged the previously sent read or write data command. This
                                        message is continually sent by the ATU-C when it is in the data read or data write mode,
                                        toggling bit four for multi-byte data, until all data have been read;

                                        - End of Data: This message is sent by the ATU-C after it has sent all bytes of data to
                                        the ATU-R. This message is also sent by the ATU-R in response to a "Next Byte"
                                        message from the A TU-C that is received after all bytes have been read or written from
                                        the currently addressed ATU-R register;

                                        - Vendor Proprietary Opeodes: Four opcodes have been reserved for vendor
                                        proprietary use. The ATU-C shall read the ID (identification) code register of the ATU-R
                                        to ensure compatibility between the ATUs before using proprietary opcodes;

                                        - Undefined Command Codes: All command codes not defined are reserved for future
                                        use, and shall not be used for any purpose.


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                  11.1.3_2                        eoc opcode messages

                                                                       Table 31 - eoc opcode messages

                   (HEX)                              Opcode meaning                       Notes
                   01                                 Hold state                           To continue sending corrupt crcs
                   FO                                 Return all active conditions to      Also used as "idle code"
                                                      normal
                   02                                 Perform "self test"                  Self test results are stored in register
                   04                                 Unable to comply (UTC)               Unrecognizable command
                   07                                 ReQuest corrupt crc (see note)
                                                      Request
                   08                                 ReQuest end of corrupt crc
                                                      Request
                   08                                 Notitv
                                                      Notify corrupt crc (see note)
                   OD                                 Notify
                                                      Notitv end of corrupt crc
                   OE                                 End of data
                   10                                 Next byte
                   E7                                 Dying Gasp                           Sent by ATU-R only
                   (20,23,25,26)                      Write data register numbers 0
                   (29,2A,2C,2F)                      through F
                   (31,32,34,37)
                   (38,38 3D 3E)
                   (3838
                   (40,43,45,46)     Read data register numbers 0
                   (49,4A,4C,4F)     through F
                   (51,52,54,57)
                   (5858 5D 5E)
                   (19,1A,1C,1F)     Vendor proprietary protocols
                   NOTE - Latching conditions.


                  The eoc opcode messages specified in table 31 guarantee a minimum Hamming distance of 2
                  (by requiring odd parity for all but two critical codes) between all opcodes, a minimum Hamming
                  distance of 3 between the "Return to Normal" (or "idle") code and all other codes, and a minimum
                  Hamming distance of 3 between the "Dying Gasp" code and all other codes.

                  The following hexadecimal codes, which still maintain a minimum Hamming distance of 2, shall
                  not be used unless specified at some future time: 13, 15, 16,80,83,85,86,89, 8A, 8C, 8F.




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                         11.1.3.3 Data registers in the ATU-R

                         Table 32 summarizes the ATU-R data registers and their applications.

                                                                          Table 32 - ATU-R data registers

                        REG # (HEX)                         USE            LENGTH                 DESCRIPTION
                              0                             Read (R)       6 bits                 10 code (ATU-R):
                                                                                                    bits 0-3: vendor IDs 0 through F,
                                                                                                    bits 4,5: reserved for future use (set to
                                                                                                    0)
                                       1                     R             6 bits                 version number:
                                                                                                    bits 0-3: version numbers 0 through F,
                                                                                                    bits 4,5: reserved for future use (set to
                                                                                                    0)
                                      2                      R             256 bits               Serial #
                                      3                      R             1 byte                 Self test results
                                      4                      ReadtWrite    Vendor Defined         Vendor defined
                                                             (R/W)
                                      5                      RtW           Vendor Defined         Vendor defined
                                      6                      R             1 byte                 line attenuation
                                      7                      R             1 byte                 Estimated margin
                                                                                                              marQin
                                      8                      R             30 bytes               ATU-R Configuration (Note 1) :
                                                                                                  one byte each for BF(ASO), B1(ASO),
                                                                                                  B F(AS1), B 1(AS1), B F(AS2), B 1(AS2),
                                                                                                  B F(AS3), B 1(AS3), BF(LSO), B1(LSO),
                                                                                                  B F(LS1), B 1(LS1), B F(LS2), B 1(LS2)
                                                                                                  FS(LS2) (downstream), BF(LSO), B1(LSO),
                                                                                                  B F(LS1), B 1(LS1), B F(LS2), B 1(LS2)
                                                                                                  FS(LS2) (upstream), Rdst      dSf ' ~, 5, S, I
                                                                                                  (downstream), R  Rust,
                                                                                                                   RIl!'.i' Itsi'
                                                                                                                            R",,;,
                                                                                                                     u!'.', Ft .. , 5,
                                                                                                                                     S, I (upstream)
                                       9                     R             4 bits                 Service module maintenance indicators
                                                                                                  (Note 2):
                                                                                                     bit 0: SM downstream sync
                                                                                                     bit 1: SM downstream no sync
                                                                                                     bit 2: SM upstream sync
                                                                                                     bit 3: SM upstream no sync
                               A-F            reserved          reserved
                        NOTES
                                                                         f5(LS2). Root,
                        1 ATU configuration parameter set (B~), ~(), f5(LS2),           11s, itsf'
                                                                                  Root. 11s. Itsf' R.s, s, ~ are defined in 6.2 and 7.2.
                        2 SM sync - no sync indicators defined in 11.5.
                        3 Registers A through F are reserved for future use; ATU-R shall respond UTe (unable to comply) if requested
                        to read or write one of these registers.


                          11.1.4 eoc protocol states

                          The ADSL eoc protocol operates in a repetitive command and response mode. The ATU-C acts
                          as the master and issues commands; the ATU-R acts as slave, and responds to the commands
                          issued by the ATU-C. Three identical properly-addressed consecutive messages shall be
                          received before an action is initiated. Only one command and only three or fewer messages,
                          under the control of the ATU-C, shall be outstanding (Le., unacknowledged) at anyone time.
                          (This restriction on the number of messages guarantees that an ATU-R with fewer opportunities
                          to insert eoc frames into the upstream path will be able to acknowledge all eoc messages from
                          the ATU-C.)




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                  Three types of responses are allowed from the ATU-R; therefore three command and response
                  protocol states are allowed on the ADSL eoc. The three states are:

                                   - message/echo-response protocol state;
                                   - message/unable-to-Comply-response protocol state;
                                   - message/data-response protocol state.

                  In addition to these three states, one autonomous message shall be allowed from the ATU-R to
                  the ATU-C to indicate "dying gasp". This message does not change the protocol state, nor does
                  it count as a response to any ATU-C message; however, other actions (e.g., an automatic reset
                  at the ATU-C) taken as a result of receiving this message may lead to a change of state (e.g.,
                  back to idle).

                 The eoc protocol shall enter the Message/Echo-response protocol state when the ATUs transition
                 from the initialization and training sequence to steady state transmission. The ATU-C shall
                 continuously send an appropriately addressed message. In order to cause the desired action in
                 the addressed location, the ATU-C shall continue to send the message until it receives three
                 identical consecutive eoc frames from the addressed location. The command and response
                 protocol for that message shall be completed before a new message, which may induce a
                 _different protocol state in the ATU-R, may be issued.

                  11.1.4.1 Message I echo-response protocol state

                  To initiate an action at the ATU-R, the ATU-C shall begin sending eoc messages with the
                  Data/opcode set to 0, and with the appropriate message opcode in the information field.

                  The ATU-R shall initiate action when, and only when, three identical, consecutive, and properly
                  addressed eoc frames that contain a message recognized by the ATU-R have been received.
                  The ATU-R shall respond to all received messages. The response shall be an echo of the
                  received ADSL eoc message. The combination of the ATU-C sending an ADSL eoc frame and
                  the ATU-R echoing the frame back comprises the message/echo-response protocol state.

                  For the ATU-C to confirm correct reception of the message by the ATU-R, the message / echo-
                  response ADSL eoc protocol state shall be repeated until the master node receives three
                  identical and consecutive echoes. This serves as an implicit acknowledgment to the ATU-C that
                  the ATU-R has correctly received the transmitted message and is acting on it. This completes
                  the Message / Echo-response protocol mode.

                  Because eoe frames are inserted into ADSL frames only when the "fast byte" is available, the
                  amount of time it takes to complete a message under error-free conditions will depend on the
                  vendor's synchronization control algorithm, on the number of signals allocated to the fast buffer,
                  and on the rates of those signals.

                  The ATU-C may continuously send the activating message after the receipt of the three valid
                  echoes, or alternatively, it may switch to sending the "Hold State" message. If the message was
                  one of the latching commands, then the ATU-R shall maintain the commanded condition until the
                  ATU-C issues the appropriate command that ends the specific latched condition or until the ATU-
                  C issues the "Return to Normal" command (at which time all latched conditions in the ATU-R shall
                  be terminated).

                  11.1_4.2 Message I unable-to-comply response protocol state

                  When the ATU-R does not support a message that it has received three times identically and
                  consecutively, it shall respond with the Unable-To-Comply (UTC) ADSL eoc response message
                  with its own address in lieu of a third identical and consecutive echo. In this manner the ATU-R
                  will switch to the message / UTC-response protocol state.




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                          The transmission by the ATU-R and reception by the ATU-C of three identical, consecutive,
                          properly-addressed Unable-To-Comply messages constitutes notification to the ATU-C that the
                          ATU-R does not support the requested function, at which time the ATU-C may abandon its
                          attempt.

                          11.1.4.3 Message I data-response protocol state

                          The ATU-C can either write data into, or read data from the ATU-R memory.

                          11.1.4.3.1                      Data read protocol

                          To read data from the ATU-R, the ATU-C shall send an appropriate read opcode message to the
                          ATU-R that specifies the register to be read. After receiving three identical and consecutive
                          acknowledgments, the ATU-C shall request the first byte to be sent from the ATU-R by sending
                          "Next Byte" messages with bit four set to 1, indicating a request for an "odd" byte. The ATU-R
                          shall respond to these "Next Byte" messages by echoing them until it has received three such
                          messages consecutively and identically. Beginning with the third such reception, the ATU-R shall
                          respond by sending the first byte of the register in the information field of an ADSL eoc frame with
                          bit four set to 1 to indicate "odd byte" and with bit 3 set to 0 to indicate that the eoc frame is a
                          data frame (as opposed to a frame that contains an opcode in the information field). The ATU-C
                          continues to send the "Next Byte" message with bit four set to "odd byte", and the ATU-R
                          continues to respond with a data frame containing the first byte of data and bit four equal to "odd
                          byte", until the ATU-C has received three consecutive and identical data frames with bit four set
                          to "odd byte".

                           If there are more data to be read, the ATU-C shall request the second byte of data by sending
                           "Next Byte" messages with bit four set to 0 ("even byte"). The ATU-R echoes all messages
                           received until three such "Next Byte" messages have been received, and on the third consecutive
                           and identical "Next Byte" message, the ATU-R starts sending data frames containing the second
                           byte of the register with bit four set to O. The ATU-C continues to send the "Next Byte" message
                           with bit four set to "even byte", and the ATU-R continues to respond with a data frame containing
                           the identical data frames with bit four set to "even byte".

                           The process continues for the third and all subsequent bytes with the value of bit four toggling
                           from "odd byte" to "even byte" or vice versa, on each succeeding byte. Each time bit four is
                           toggled, the ATU-R shall echo for two correct frames, and starts sending the data frame on the
                           third reception. The process ends only when all data in the register have been read.

                           To continue reading data, once the ATU-R is in the data read mode, the only message that the
                           ATU-C is allowed to send is the "Next Byte" message with bit four toggling. To end the data read
                           mode abnormally, the ATU-C shall send either "Hold State" or "Return to Normal", depending on
                           whether any latched states are to be retained. If the ATU-R receives any other message three
                           times consecutively and identically while it is in data read mode, then it shall go into a UTC mode.

                           If, after all bytes have been read from the ATU-R register, the ATU-C continues to send the "Next
                           Byte" message with bit four toggled, then the ATU-R shall send an "End of Data" message (with
                           bit three set to 1 indicating opcode).

                           The data read mode ends either when the ATU-C has received the last requested data byte three
                           times consecutively and identically, or when the ATU-C has received three consecutive "End of
                           Data" messages with bit three set to 1. The ATU-C shall then switch over to a known state with
                           the "Hold State" or "Return to Normal" message, and the ATU-R shall release the register and
                           end the data read mode.




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                  11.1.4.3.2                     Data write protocol

                 To write data to the ATU-R's memory, the ATU-C shall send a "Write Data" opcode message to
                 the ATU-R that specifies the register to be written. When the ATU-R acknowledges with three
                 consecutive echo messages, the ATU-C shall send the first byte of data. The ATU-R shall
                 acknowledge the receipt of the byte with an echo of the message. After the ATU-C is satisfied
                 with three identical and consecutive correct echo responses, it shall start sending the next byte of
                 data. Each time the ATU-C receives three identical and consecutive correct data echo
                 responses, it shall switch to sending the next byte of data. It shall also toggle the "odd/even" bit
                 accordingly. ("Next Byte" messages are not used in the Data Write mode). The ATU-C shall end
                 the write mode with the "End of Data" message indicating to the ATU-R to release the register
                 and end the data write mode.

                  11.1.4.4                        "dying gasp"

                 When circuits in the ATU-R detect that electrical power has been shut off, the ATU-R shall insert
                 eoc frames into the ADSL upstream data to implement a "dying gasp". The "dying gasp" eoc
                 frames shall have bit 5 set to 0 to indicate autonomous message, bit 3 set to 1 to indicate opcode,
                 and shall contain the "dying gasp" opcode (see table 31) in the information field. At least six of
                 these frames are inserted in the next (twelve) available ADSL upstream "fast" bytes beginning
                 with an even-numbered frame, regardless of the number of eoc frames received in the
                 downstream channel.

                 Sending the "dying gasp" shall not cause the ATU-R to change the eoc protocol state, nor shall
                 receiving it cause the ATU-C to immediately change state.

                 11.2            In-service performance monitoring and surveillance

                 The following terminology is used in this standard (see figure 27):

                                 - Near-end: Near-end means performance of the loop-side received signal at the input of
                                 theATUs;

                                 - Far-end: Far-end means performance of the downstream loop-side received signal at
                                 the input of the ATU-R, where this performance is reported to the ATU-C in upstream
                                 overhead indicators (see figure 27). Far-end also means performance of the upstream
                                 loop-side received signal at the input of the ATU-C, where this performance is reported
                                 to the ATU-R in downstream overhead indicators; this case is a mirror image of the
                                 above;

                                 -   Primitives: Primitives are basic measures of performance, usually obtained from digital
                                  signal line codes and frame formats, or as reported in overhead indicators from the far-
                                  end. Performance primitives are categorized as events, anomalies and defects.
                                  Primitives may also be basic measures of other quantities (e.g., ac or battery power),
                                  usually obtained from equipment indicators;

                                 -    Events: Events are bit error related primitives that do not affect service performance
                                  (fec and fecc);

                                 -    Anomalies: Anomalies are bit error related primitives that affect service performance
                                  (crc and febe);

                                 -   Defects: Defects are signal or framing related primitives that are more disruptive to
                                  service than anomalies (los, sef, rdi).




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                                                                                                                 1. Detect near-end primitives
                                                                                                                 atATU-R
                                                                   ADSLLink ~
                                                                   ADSLUnk




                                                                   '"         ~
                                                                                             LOOP
                                                                                                          ~-
                                                                                                                 I - ..              Simplex


                                                                        ~TU-C                                            )                                Service
                              Servers                   Network

                                                                                                                                                 -
                                                                                             plant         ATU-R


                                                 -                 ./
                                                                        '\.


                                                                              ~                           ~~
                                                                                                                            /
                                                                                                                                        Full-

                                                                                                                                      duplex
                                                                                                                                                         Modules




                                1. Detect near-end
                                 primitives at ATU-C
                                                                                               +
                                                                               3. Report indicators
                                                                                                                                \
                                                                                                                         2. Set indicators for reporting

                                4. Detect far-end                                 (including loss of                     of primitives

                                primitives at ATU-C                               ATU-R AC power)                        in overhead

                                from indicators
                                5. Support near-end
                                and far-end monitoring                                 ATU-C <---> ATU-R




                                                                                                                                                .. --
                                atATU-C

                                                                                                                                                Down stream
                          Composite ADSL Digital Signals each with overhead
                          (and embedded operations channel - eoc)
                                                                                                                                                 UP stream


                               Figure 27 -In-service surveillance of the ADSL link shown from the standpoint of the ATU-C

                         11.2.1 Digital transmission related primitives

                         11.2.1.1 Near-end events

                         Two near-end events are defined:

                                         - Forward error correction (fec)-i: An fec-i event occurs when a received FEC code for
                                         the interleaved data stream indicates that errors have been corrected;

                                         - Forward error correction (fec)-ni: An fec-ni event occurs when a received FEC code for
                                         the non-interleaved data stream indicates that errors have been corrected.

                         11.2.1.2 Far-end events

                         Similarly, two far-end events are defined:

                                         - Far-end forward error correction (ffec)-i: ffec-i shall be reported by the fecc-i indicator,
                                         which is coded with one indicator bit (1 indicating that no event is present in the previous
                                         superframe; 0 indicating that an event is present) in the overhead, and reported once per
                                         ADSL superframe.

                                         - Far-end forward error correction (ffec)-ni: ffec-ni shall be reported by the fecc-ni
                                         indicator, which is coded and reported in the same way as an fecc-i.




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                11.2.1.3 Near-end anomalies

                Two near-end anomalies are defined:

                                - Cyclical redundancy check (crc)-i error: A crc-i anomaly occurs when a received CRC-
                                8 code for the interleaved data stream is not identical to the corresponding locally
                                generated code;

                                - Cyclical redundancy check (crc)-ni error: A crc-ni anomaly occurs when a received
                                CRC-8 code for the non-interleaved data stream is not identical to the corresponding
                                locally generated code.

                11.2.1.4 Far-end anomalies

                Similarly, two far-end anomalies are defined:

                                - Far-end block error (tebe)-i: A crc-i anomaly detected at the far-end shall be reported
                                by the febe-i indicator, which is coded with one indicator bit ( 1 indicating that no event is
                                present in the previous superframe; 0 indicating that an event is present) in the overhead,
                                and reported once per ADSL superframe;

                                - Far-end block error (tebe)-ni: A crc-ni anomaly detected at the far-end shall be
                                reported by the febe-ni indicator, which is coded and reported in the same way as an
                                febe-i.

                11.2.1.5 Near-end defects

                Two near-end defects are defined:

                                 - Loss-at-signal (los): A pilot tone reference power shall be established by averaging
                                the ADSL pilot tone power for 0.1 after the start of steady state data transmission (i.e.,
                                after initialization). An LOS defect then occurs when the received ADSL pilot tone power,
                                averaged over a 0.1 s period, is 6 dB or more below the reference power. An LOS defect
                                shall terminate when the received pilot tone power, averaged over a 0.1 s period is less
                                than 6 dB below the reference;

                                - Severely errored trame (set): An sef defect occurs when the content of two
                                consecutively received ADSL synchronization symbols does not match the expected
                                content. An sef defect terminates when the content of two consecutively received ADSL
                                synchronization symbols matches the expected content.

                11.2.1.6 Far-end defects

                                - Loss-at-signal (los): An LOS defect as detected at the far-end shall be reported by the
                                los indicator, which is coded with one indicator bit (1 indicating that no defect is being
                                reported; 0 indicating that a defect is being reported) in the overhead, and reported for six
                                consecutive ADSL superframes;

                                A far-end los defect occurs when 4 or more out of 6 contiguous los indicators are
                                received set to O. A far-end los defect terminates when 4 or more out of 6 contiguously
                                received los indicators are set to 1;

                                - Remote detect indication (rdi): An sef defect is reported by the rdi indicator, which is
                                coded with one indicator bit (1 indicating that no event is present in the previous
                                superframe; 0 indicating that an event is present) in the overhead, and reported once per
                                ADSL superframe. An rdi defect occurs when a received rdi indicator is set to O. An rdi
                                defect terminates when a received rdi indicator is set to 1.




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                        11.2.2 Other primitives

                        11.2.2.1 Other near-end primitives

                       Three other near-end primitives are defined:

                                       - Attenuation (atn): An atn primitive is the difference in dB between the power received
                                       at the near-end and that transmitted from the far-end. Signal power in dBm is the sum of
                                       all active DMT subcarrier powers averaged over a 1 s period. An atn primitive is
                                       expressed as an integer number of dB ranging from a minimum of 0 to a maximum of 60
                                       dB, so as to correspond to a sensible range of atn;

                                       - Signal-to-Noise ratio (snr) margin: An snr margin primitive represents the amount of
                                       increased noise (in dB) relative to the noise power that the system is designed to tolerate
                                       and still meet the target BER of 10-7 , accounting for all coding (e.g., Trellis code, FEe)
                                       gains included in the design. An snr margin primitive is expressed as an integer number
                                       of dB ranging from a minimum of x dB to a max. of y dB, with x and y for further study so
                                       as to correspond to a sensible range of SNR;

                                        - Loss-ot-power (Ipr): An Ipr primitive occurs when ATU power drops to a level equal to
                                        or below the manufacturer-determined minimum power level required to ensure proper
                                        operation of the ATU. An Ipr primitive terminates when the power level exceeds the
                                        manufacturer-determined minimum power level.

                        11.2.2.2 Other far-end primitives

                        Similarly, three other far-end primitives are defined:

                                        - Attenuation (atn): An atn primitive as detected at the far-end shall be reported by the
                                        atn indicator. A far end atn primitive occurs when one atn indicator is received with value
                                        not less than x and not more than y dB, with the values of x and y for further study. The
                                        atn indicator is reported in an eoc message;

                                        - Signal-fo-noise Ratio (snr) margin: An snr margin primitive as detected at the far-end
                                        shall be reported by the snr margin indicator in an eoc message. A far-end snr margin
                                        primitive occurs when one snr margin indicator is received with value not less than x and
                                        not more than y dB, with the values of x and y for further study;

                                        - Loss-ot-power (Ipr): An Ipr primitive as detected at the far-end shall be reported by the
                                        Ipr indicator. A far-end Ipr primitive occurs when 4 out of 6 contiguous Ipr indicators are
                                        received. A far-end Ipr primitive terminates if the near signal remains present, i.e., if the
                                        received 4 out of 6 contiguous Ipr indicators are not followed by any near-end los defects
                                        in the next 0.5 s (see los defect definition in 11.2.1.5);

                                        The Ipr indicator is coded as an 8 bit emergency priority message in the ATU-R to ATU-C
                                        overhead, and is reported in the next 6 available outgoing eoc frames (see the eoc
                                        protocol for "dying gasp" in 11.1.4.4).

                        11.2.3 Failures and failure count parameters

                        11.2.3.1 Near-end failures and failure count parameters

                        At the ATU-R, near-end failures shall be manifested as LOS or LOF failure (e.g., red light), no
                        failures (e.g., green light), and LPR (e.g., no lights); failure count parameters are optional.

                        The following near-end failures and failure count parameters are required at the ATU-C:

                                        - Loss-of-signal (LOS): An LOS failure is declared after 2.5 ± 0.5 seconds of contiguous
                                        los defect, or, if los defect is present when the criteria for LOF failure declaration have
                                        been met (see LOF definition below). An LOS failure is cleared after 10 ± 0.5 seconds of
                                        no los defect. An LOS failure count is the number of occurrences of an LOS failure event,


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                                   where a failure event occurs when the failure is declared, and ends when the failure
                                   clears;

                                  - Loss-ot-trame (LOF): An LOF failure is declared after 2.5 ± 0.5 seconds of contiguous
                                  sef defect, except when an los defect or failure is present (see LOS definition above). A
                                  LOF failure is cleared when LOS failure is declared, or after 10 ± 0.5 seconds of no sef
                                  defect. An LOF failure count is the number of occurrences of an LOF failure event, where
                                  a failure event occurs when the failure is declared, and ends when the failure clears;

                                    - Loss-ot-power (LPR): An LPR failure is declared after the occurrence of an Ipr
                                   primitive, followed by other-to-be determined conditions. This definition is under study.
                                   An LPR failure count is the number of occurrences of an LPR failure event, where a
                                   failure event occurs when the failure is declared, and ends when the failure clears.

                   11.2_3.2                        Far-end failures and failure count parameters

                   The following far-end failures and failure count parameters are required at the ATU-C (ATU-R is
                   at the far-end), and are optional at the ATU-R (ATU-C is at the far-end).

                                  - Loss-ot-signal (LOS): A far-end LOS failure is declared after 2.5 ± 0.5 seconds of
                                  contiguous far-end los defect, or, if far-end los defect is present when the criteria for LOF
                                  failure declaration have been met (see below). A far-end LOS failure is cleared after
                                  10 ± .5 seconds of no far-end los defect. An LOS failure count is the number of
                                  occurrences of an LOS failure event, where a failure event occurs when the failure is
                                  declared, and ends when the failure clears;

                                   - Remote tailure indication (RFI): An RFI failure is declared after 2.5 ± 0.5 seconds of
                                  contiguous rdi defect, except when a far-end los defect or failure is present (see above).
                                  A RFI failure is cleared when far-end LOS failure is declared, or after 10 ± 0.5 seconds of
                                  no rdi defect. An RFI failure count is the number of occurrences of a RFI failure event,
                                  where a failure event occurs when the failure is declared, and ends when the failure
                                  clears;

                                  - Loss-ot-power (LPR): An LPR failure is declared after receiving a far-end Ipr (dying
                                  gasp-like) primitive followed by 2.5 ± 0.5 seconds of contiguous near-end los defect. AN
                                  LPR failure is cleared after 10 ± 0.5 seconds of no near-end los defect. An LPR failure
                                  count is the number of occurrences of an LPR failure event, where a failure event occurs
                                  when the failure is declared, and ends when the failure clears.

                   11.2.4 Quality-of-service (Q05) parameter

                   11.2.4.1 Near-end Q05 parameter

                   The near-end errored-second (ES) parameter is a count of one-second intervals containing one
                   or more crc-i or crc-ni anomalies, or one or more los or sef defects. It is required at the ATU-C,
                   and is optional at the ATU-R.

                   11.2.4.2 Far-end Q05 parameter

                   The far-end errored-second (ES) parameter is a count of one-second intervals containing one or
                   more febe-i or febe-ni anomalies, or one or more far-end los or rdi defects. It is required at the
                   ATU-C (ATU-R is at the far-end), and is optional at the ATU-R (ATU-C is at the far-end).

                   11.2.5 Test parameters

                   The attenuation (ATN) and signal-to-noise ratio (SNR) margin test parameters apply to on-
                   demand test requests; e.g., to check for adequate physical media performance margin at
                   acceptance and after repair verification, or at any other time following the execution of
                   initialization and training sequence of the ADSL system. ATN and SNR, as measured by the
                   receivers at both the ATU-C and the ATU-R shall be externally accessible from the ATU-C, but
                   they are not required to be continuously monitored.


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                         11.2.5.1 Near-end test parameters

                         The following near-end test parameters are required at the ATU-C, and are optional at the
                         ATU-R.

                                          - Attenuation (A TN): An atn primitive is the difference in dB between transmitted and
                                         received signal power. Signal power in dBm is the sum of all active DMT subcarrier
                                         powers averaged over a 1 s period. An atn primitive is expressed as an integer number
                                         of dB ranging from a min. of x to a max. of y dB, x and y for further study so as to
                                         correspond to a sensible range of atn. An attenuation parameter is an instance of an atn
                                         primitive in response to an on-demand ATN test request;

                                         - Signal-to-noise ratio (SNR) margin: An instance of an snr primitive (dB), in response to
                                         an on-demand SNR margin test request.

                         11.2.5.2 Far-end test parameters

                         The following far-end test parameters are required at the ATU-C (ATU-R is at the far-end), and
                         are optional at the ATU-R (ATU-C is at the far-end):

                                          - Attenuation (A TN): An instance of a far-end atn primitive (dB);

                                          - Signal-fa-noise rafio (SNR) margin: An instance of a far-end atn primitive (dB).

                         11.2.6 Performance monitoring functions

                         Near-end functions are required at the ATU-C, and are optional at the ATU-R. Far-end functions
                         are required at the ATU-C (ATU-R is at the far-end), and are optional at the ATU-R (ATU-C is at
                         the far-end).

                         11.2.6.1 Performance data storage

                         The following data registers are defined:

                                              A current 15 minute and a current 1 day register shall be provided for each near-end
                                         and for each far-end failure count and QOS parameter;
                                              A previous 15 minute and a previous 1 day register shall be provided for each near-
                                         end and for each far-end failure count and QOS parameter;
                                              A current and a previous register shall be provided for each near-end and for each
                                         far-end test parameter;
                                              A shared resource of 96 individual 15-minute registers per failure count and QOS
                                         parameter shall be assignable on-demand to a specific ADSL link. These registers shall
                                         not exceed about 10 % of the total dedicated failure count and QOS parameter memory
                                         resource requirements for all links over which this resource is shared.

                                         NOTES
                                              Register sizes shall either accommodate maximum event counts or values, or have a minimum
                                         size of 16 bits;
                                              Register operation (e.g., pegging at the maximum value, resetting, setting of invalid data flag,
                                         etc.) shall comply with clause 9 of ANSI T1.231;
                                              Register invalid data flags shall be set if the ATUs are powered down during all or part of the
                                         accumulation interval (15 minutes or one day).




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                   11.2.6.2 Performance data reporting

                   Performance data shall be reportable on demand (not scheduled) when queried by an operations
                   entity.

                   11.3            Metallic testing

                   For further study

                   11.4            Out-of-service testing

                   For further study

                   11.5            Requi rements to support OAM of the segment between ATU-R and SM

                   Requirements are expressed in terms of various indications for each direction of the segment
                   between ATU-R and SM (downstream ATU-R to SM, and upstream SM to ATU-R). Downstream
                   indications are also reported upstream from SMs to the ATU-R.

                   OAM of the ATU-R/ SM segment is null for SMs integrated in the ATU-R. For non-integrated
                   SMs, requirements are as shown in figure 28.
                                                                                                                               Downstream Sync. and
                                                                               Report of downstream Sync.                     No Sync. visual indications
                                                                               and No Sync. status (2 bits)
                                                                       (with simple format in existing return path)             JI           Initiate upstream
                                                                                                                            ~          - ' " test signal (if no
                                                     Upstream Sync. and No Sync. visual indications
                                                                                                                            ,.....:...-..u..,
                                                                                                                            r-'--.......,~
                                                                                                                            r  -----, ~       _ upstream continuous
                                                                                                                                            service or idle signal)


                                                                                                   '-*
                                                                                                   '-*
                                                              (each OR'd across all SMs) ~
                                    Downstream Sync. and No Sync. visual indications (optional) ~
                                                  (each OR'd across all SMs)



                                    Network
                                                               ATU-C              .....
                                          eoc report of memory     ~
                                        content (4 bits) in response
                                          to ATU-C eocsoc request      ATU-R memory (4 bits) for:
                                                                       - upstream Sync. and No Sync. status
                                                                         (each OR'd across all SMs)
                                                                       - downstream Sync. and No Sync. status
                                                                         (each OR'd across all SMs)
                                             Downstream ~
                                             Upstream   ~    1
                                                        ......
                                                               •
                                                              ~-
                                                               --              OR'd Sync. "1   r
                                                                                          "1 r OR'd No Sync.            General local
                                                                                                                  distribution architecture
                                                                                 upstreamm
                                                                              Downstream   rn
                       NOTE - Visual indicators are shown as an example; not all implementations may provide them.

                         Figure 28 - OAM capabilities for the segment between ATU-R and the service module

                   11.5.1 SM requirements

                   The requirements for the service module (SM) are:

                                   a) It shall detect separate downstream sync and no sync conditions. No sync is detected
                                   after 2.5 ± 0.5 seconds of persistent inability to acquire sync. Sync is detected after sync
                                   acquisition followed by 10 ±± .5 seconds of perSistent retention of sync;
                                   b) It shall provide downstream sync and no sync indications, with corresponding
                                   interpretations. Exemplary interpretations are shown in table 33;




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                                          C) It shall report separate downstream sync and no sync status from SM to ATU-R (2 bits)
                                          in a simple format (for further study) on an existing return path (for further study) (e.g.,
                                          control channel). For a single SM, the 2 bits shall have the interpretation specified in table
                                          34. These interpretations are consistent with the indications in SM requirement (b) above;


                                                             Table 33 - Sync and no sync interpretation (downstream)

                                            Sync                            No sync                  Interpretation
                                            off                             off                      SM not powered
                                            off                             on                       SM powered but not
                                                                                                     synchronized
                                            on                             off                       SM synchronized
                                            on                             on                        Invalid



                                                              Table 34 - Sync and no sync interpretation for single SM

                                            Sync bit                        No sync bit              Interpretation
                                            0                               0                        SM not powered
                                            0                               1                        SM powered but not
                                                                                                     synchronized
                                            1                               0                        SM synchronized
                                            1                               1                        Invalid

                                          d) For services with upstream signals to which the ATU-R cannot continuously
                                          synchronize, the SM shall be able to send either an idle signal, or a locally-initiated test
                                          signal to the ATU-R for a (for further study) (e.g., 5) minute time-out period. The formats
                                          of these signals shall enable the ATU-R to synchronize to them in the same manner as
                                          for upstream service signals;

                                          e) It shall be able to send a control channel (CC) acknowledge (ACK) message to the
                                          network in response to a CC query message from the network. Message formats are for
                                          further study.

                           11.5.2 ATU-R requirements

                          The requirements for the ATU-R are:

                                          a) It shall detect separate upstream sync and no sync conditions (see requirement (d)
                                          below). No sync is detected after 2.5 ± 0.5 seconds of persistent inability to acquire sync.
                                          Sync is detected after sync acquisition followed by 10 ± 0.5 seconds of persistent
                                          retention of sync. Sync conditions from all SMs shall be logically OR'd into 1 bit, and no
                                          sync conditions from all SMs shall be logically OR'd into another bit;

                                          b) It shall store the upstream OR'd sync. and OR'd no sync status (2 bits). For multiple
                                          SMs, the two bits shall have the interpretation specified in table 35;




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                                                 Table 35 - Sync and no sync interpretation for multiple SMs

                                  Sync bit
                                  Svncbit                          No sync bit
                                                                   Nosvnc                 Interpretation
                                  0                                0                      No SMs powered
                                  0                                1                      At least 1 SM powered but not
                                                                                          synchronized
                                  1                                0                      At least 1 SM synchronized
                                  1                                1                      Some SMs synchronized,
                                                                                          others powered but not
                                                                                          synchronized

                                 c) It shall provide upstream OR'd sync and OR'd no sync indications (see requirement
                                 (d) below), consistent with the bit interpretations in ATU-R requirement (b) above. One
                                 example is:

                                                Sync             No. Sync.        Interpretation
                                                off              off              No SMs powered
                                                off              on (e.g., red)   At least 1 SM powered but not synchronized
                                                on (e.g., green) off              At least 1 SM synchronized
                                                on (e.g., green) on (e.g., red)   Some SMs synchronized, others powered
                                                                                  but not synchronized

                                d) Sync and no sync indications in ATU-R requirements (a) to (c) in this list apply to
                                upstream service signals to which the ATU-R can continuously synchronize. Otherwise,
                                an upstream idle signal, or the test signal in SM requirement (d) of 11.5.1 above shall be
                                detected. With upstream idle signals, ATU-R detection, storage and indications and
                                interpretations are as per ATU-R requirements (a) to (c) above. The same is true with
                                the upstream test signal, during the time the test signal is being sent;

                                e) It shall detect separate downstream sync and no sync status reports from SMs, and
                                logically OR each across all SMs, where OR'ing is as described in ATU-R requirement (a)
                                in this list;

                                f) It shall store the downstream OR'd sync and OR'd no sync status (2 bits). For multiple
                                SMs, the 2 bits shall have the same interpretation as for the upstream case in ATU-R
                                requirement (b) in this list;

                                g) It shall provide downstream OR'd sync and OR'd no sync indications consistent with
                                ATU-R requirement (c) in this list;

                                h) In response to an eoc request message from the ATU-C, it shall send a single eoc
                                report of the upstream and downstream OR'd sync and OR'd no sync status to the ATU-
                                C (4 bits).

                11.5.3 ATU-C requirements

                As per the ATU-R requirement 11.5.2(h), when requested by the network, the ATU-C shall be
                able to send an eoc message to retrieve the upstream and downstream OR'd sync and OR'd no
                sync status (4 bits), and to receive the corresponding eoc status report from the ATU-R.




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                         12 Initialization


                          12.1 Overview

                          12.1.1 Basic functions of initialization

                          ADSL transceiver initialization is required in order for a physically connected ATU-R and ATU-C
                          pair to establish a communications link. Establishment may be initiated by the ATU-C or the
                          ATU-R as follows:

                                         - An ATU-C, after power-up or loss of signal, and an optional self-test, may transmit
                                         activation tones (12.2) and await a response from the ATU-R (12.3.3). It shall make no
                                         more than two attempts; if no response is received it shall wait for an activation request
                                         from the ATU-R (12.3.1) or an instruction from the network to retry;

                                          - An ATU-R, after power-up and an optional self-test, may repeatedly transmit activate
                                          request (12.3). If, however, the ATU-R receives C-TONE it shall remain silent for
                                          approximately one minute (12.3.2), unless it detects an activation signal (12.2.2).

                          In order to maximize the throughput and reliability of this link, ADSL transceivers shall determine
                          certain relevant attributes of the connecting channel and establish transmission and processing
                          characteristics suitable to that channel. The time line of figure 29 provides an overview of this
                          process. In figure 29 each receiver can determine the relevant attributes of the channel through
                          the transceiver training and channel analysis procedures. Certain processing and transmission
                          characteristics can also be established at each receiver during this time. During the exchange
                          process each receiver shares with its corresponding far-end transmitter certain transmission
                          settings that it expects to see. Specifically, each receiver communicates to its far-end transmitter
                          the number of bits and relative power levels to be used on each DMT sub-carrier, as well as any
                          messages and final data rates information. For highest performance these settings shall be
                          based on the results obtained through the transceiver training and channel analysis procedures.

                          ATU-C
                            Activation and                         Transceiver training   Channel analysis                    Exchange
                            acknowledgment
                            (12.2)                                 (12.4)                 (12.6)                              (12.8)

                          ATU-R
                            Activation and                         Transceiver training   Channel analysis                    Exchange
                            acknowledgment
                            (12.3)                                 (12.5)                 (12.7)                               (12.9)

                                          time~
                                                                    Figure 29 - Overview of initialization

                          Determination of channel attribute values and establishment of transmission characteristics
                          requires that each transceiver produce, and appropriately respond to, a specific set of precisely-
                          timed signals. This clause describes these initialization signals, along with the rules that
                          determine the proper starting and ending time for each signal. This description is made through
                          the definition of initialization states in which each transceiver will reside, and the definition of
                          initialization signals that each transceiver will generate.
                          A state and the signal generated while in that state have the same name, which may sometimes,
                          for clarity, be prefixed by "state" or "signal".

                          The sequence of generated downstream and upstream signals for a successful initialization
                          procedure is shown by the time-lines of figures 30 - 33. The dashed arrow indicates that the
                          change of state is caused by a successful reception of a specific signal. For example, in figure 32
                          ATU-R shall stay in state R-REVERB3 until it finishes receiving C-CRC2, at which point it shall
                          move to R-SEGUE2 after an appropriate delay (see 12.7.2).



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                                                           ANSI T1.413 95 . . 0724150 0526191 167 . .

                ANSI Tl.413-1995

                The description of a signal will consist of three parts:

                                - The first part is a description of the voltage waveform that the transmitter shall produce
                                at its output when in the corresponding state;

                                The output voltage waveform of a given initialization signal is described using the DMT
                                transmitter reference model shown in figure 2. Figure 2 is not a requirement or
                                suggestion for building a DMT transmitter. Rather, it is a model for facilitating accurate
                                and concise DMT signal waveform descriptions. In figure 2 X k is DMT sub-carrier k
                                (defined in the frequency domain), and xkis the kth IDFT output sample (defined in the
                                time domain). The DAC and analog processing block of figure 2 construct the continuous
                                transmit voltage waveform corresponding to the discrete digital input samples. More
                                precise specifications for this analog block arise indirectly from the analog transmit signal
                                linearity and power spectral density specifications of 10.1. The use of figure 2 as a
                                transmitter reference model allows all initialization signal waveforms to be described
                                through the sub-carrier sequence X kn required to produce that signal. Allowable
                                differences in the characteristics of different digital to analog and analog processing
                                blocks will produce somewhat different continuous-time voltage waveforms for the same
                                initialization signal. However, a compliant transmitter will produce initialization signals
                                whose underlying DMT sub-carrier sequences match exactly those provided in the signal
                                descriptions of 12.2 to 12.9;

                                - The second is a statement of the required duration, expressed in DMT symbol periods,
                                of the signal. This signal duration may be a constant or may depend upon the detected
                                state of the far end transceiver. The duration of a single DMT symbol period depends on
                                whether the cyclic prefix is being used; some initialization signals contain a cyclic prefix,
                                and some do not. ATU-C signals up to and including C-SEGUE1 are transmitted without
                                a cyclic prefix; those from C-RATES1 on are transmitted with a prefix. Similarly, ATU-R
                                signals up to and including R-SEGUE1 do not use a prefix; those from R-REVERB3 on
                                do. The duration of any signal in seconds is therefore the defined number of symbol
                                periods times the duration of the symbol being used;

                                - The third part of a signal's description is a statement of the rule specifying the next
                                state.


                12.1.2 Transparency to methods of separating upstream and downstream signals.

                Manufacturers may choose to implement this standard using either frequency-division-
                multiplexing (FDM) or echo canceling (EC) to separate upstream and downstream Signals. The
                initialization procedure described here ensures compatibility between these different
                implementations by specifying all upstream and downstream control signals to be in the
                appropriate, but narrower, frequency bands that would be used by an FDM transceiver, and by
                defining a time period during which an EC transceiver can train its echo canceler.

                12.1.3 Resetting during initialization and data transmission

                If errors or malfunctions are detected or timeout limits are exceeded at various points in the
                initialization sequence, the ATU-C and ATU-R shall return to the initial states C-OUIET1 and R-
                ACT-REO, respectively, for retraining. Furthermore, some errors detected during data
                transmission (Le., after a successful initialization) may also require retraining. An example of an
                overall state diagram is shown in annex A, but the specific retraining procedures are for further
                study.




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                                                    ANSI T1.413 95 . . 0724150 0526192 OT3 . .

                                                                                                                                  ANSI T1.413-1995


                                         ATU-C

                                                   C-IDLE IC-QUIET1      C-ACT1, 2, 3, or 4          C-QUIET2
                                                   IC-TONE


                                                       __________________________
                                                        ________________________- r____________
                                                                                   ____________


                                                                                                  Ii
                                         ATU~-R~
                                         ATU~-R~
                                         ATU~-~R
                                                        ________________________    __________~~                                   ~
                                                                                                                                   ~
                                                                                                                                   ~




                                                I  R-ACT-REQlR-QUIET 1
                                                   R·ACT·REQIR·QUIET                                 R·ACKl or R-ACK2
                                                                                                     R-ACK1    R·ACK2

                                                         time

                                            Figure 30 - Timing diagram of activation and acknowledgment (12.2-12.3)


                          12.2           Activation and acknowledgment - ATU-C

                          A host controller may be used to monitor the ATU-C activities and keep track of the state of the
                          ATU-C if errors or malfunctions occur that require resetting to C-QUIET1, and retraining.

                          12.2.1 Pre-activate states

                          There are three mandatory pre-activation states at the ATU-C:

                                           - C-QUIET1;
                                           - C-IDLE;
                                           - C-TONE.

                          The transitions between these and other vendor-optional states are shown in figure A.1, and
                          described in annex A.

                          12.2.1.1 C-QUIET1

                          Upon power-up and after an optional self-test the ATU-C shall enter state C-QUIET1.

                              NOTE - QUIET and IDLE signals are defined as zero output voltage from the DAC of figure 2.

                          When the ATU-C is in C-QUIET1, either a command from the host controller or a successful
                          detection of A-ACT-AEQ (defined as detecting 128 consecutive symbols of active A-ACT-AEQ
                          signal followed by silent symbols) shall cause it to go to state CoACT (see 12.2.2). To ensure full
                          compatibility between FDM and EC systems, the ATU-C transmitter shall remain in state C-
                          QUIET1 until the ATU-C receiver no longer detects the A-ACT-AEQ signal. (Le., detects the first
                          symbol of A-QUIET1).

                          Alternatively, the host controller may command the ATU-C to enter C-IDLE.

                          12.2.1.2 C-IDLE

                          The ATU-C shall enter C-IDLE from C-QUIET1 in response to a host command. The difference
                          between states C-QUIET1 and C-IDLE is that the ATU-C receiver reacts to A-ACT-AEQ in C-
                          QUIET1, but ignores it in C-IDLE.

                          If A-ACT-AEQ is detected while in C-IDLE state, the host controller may elect to go to state C-
                          TONE.




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                                                            ANSI T1.413 95 . . 0724150 0526193 T3T . .

                ANSI T1.413-1995

                The ATU-C shall stay in C-IDLE indefinitely until the host controller issues the appropriate
                command to go to either state C-TONE (12.2.1.3), C-QUIET1 (12.2.1.1), CoACT (12.2.2), or C-
                SELFTEST.

                    NOTE - C-SELFTEST is not defined herein; it is a vendor-option that does not affect compatibility.

                12.2.1.3 C-TONE

                The ATU-C shall transmit C-TONE to instruct the ATU-R not to transmit R-ACT-REQ. C-TONE is
                                                       = 310.5 kHz.
                a single frequency sinusoid at fC-TONE =

                 Referring to figure 2, C-TONE is defined as

                 X =={O, k *" 72, °:s k ~ 256
                        k
                                    AC-TONE,k -                    72

                where ACoTONE shall be such that the transmit power level is -4 dBm (approximately -40 dBm/Hz
                over 4.3125 kHz) for the first 64 symbols, and -28 dBm for the second 64 symbols. This signal
                shall be transmitted for 128 consecutive symbols, and no cyclic prefix is used. C-IDLE
                immediately follows C-TONE.

                12.2.2 C-Activate

                To allow for inter-operability between FDM and EC systems, and among different vendors with
                different implementation of such systems, four activate Signals, C-ACT1 to C-ACT4 are defined.
                These shall be used to distinguish different system requirements for loop timing and use of a pilot
                tone. These four signals are mutually exclusive; any given ATU-C shall transmit one and only
                one. Throughout the remainder of this document the generic term CoACT will refer to the
                appropriate state and signal.

                Loop timing is defined as the combination of the slaving of an ADC clock to the received signal
                (Le., to the other transceiver's DAC clock), and tying the local DAC and ADC clocks together.
                Only one of the two transceivers can perform loop timing.

                12.2.2.1 C-ACT1

                The ATU-C shall transmit C-ACT1 to initiate a communication link to the ATU-R when the ATU-C
                will perform loop-timing, and the ATU-C cannot accept a pilot during R-QUIET3IR-PILOT1.

                                                                 =207 kHz. Referring to figure 2, C-ACT1 is
                C-ACT1 is a single frequency sinusoid at fC-ACTl =
                defined by

                 X k = {O'k *" 48,0:S k_:S 256
                                     AC-ACT1' k - 48


                where A C-ACTl shall be such that the transmit power level is -4 dBm (approximately -40
                dBm/Hz over 4.3125 kHz) for the first 64 symbols, and -28 dBm for the second 64 symbols. This
                signal shall be transmitted for 128 consecutive symbols without a cyclic prefix. C-QUIET2
                immediately follows C-ACT1.

                12.2.2.2 C-ACT2

                The ATU-C shall transmit C-ACT2 to initiate a communication link to the ATU-R when the ATU-C
                will not perform loop-timing, and the ATU-C cannot accept a pilot during R-QUIET3/R-PILOT1.




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                                                    ANSI T1.413 95 . . 0724150 0526194 976 . .

                                                                                                                             ANSI T1.413-1995

                                                                        = 189.75 kHz, defined by
                       C-ACT2 is a single frequency sinusoid at fC-ACT2 =

                                   _ {O,k"# 44,0 S; k S; 256
                         Xk- AC-ACT2' k-44
                                       -


                       The level and duration of C-ACT2 shall be the same as those of C-ACT1. C-QUIET2 immediately
                       follows C-ACT2.

                       12.2.2.3 C-ACT3

                       The ATU-C shall transmit C-ACT3 to initiate a communication link to the ATU-R when the ATU-C
                       will perform loop-timing, and the ATU-C requests a pilot from the ATU-R during R-QUIET3/R-
                       PILOT1. The decision whether to transmit R-PILOT1 is at the discretion of the vendor of the ATU-
                       R

                                                                         = 224.25 kHz, defined by
                        C-ACT3 is a single frequency sinusoid at fC-ACT3 =

                                   _ {O,k "# 52,0 S; k S; 256

                         X     k -          AC-ACT3,k == 52
                        The level and duration of C-ACT3 shall be the same as those of C-ACT1.

                        12.2.2.4 C-ACT4

                        The ATU-C shall transmit C-ACT4 to initiate a communication link to the ATU-R when the ATU-C
                        will not perform loop-timing, and the ATU-C requests a pilot from the ATU-R during R-QUIET3/R-
                        PILOT1. The decision whether to transmit R-PILOT1 is at the discretion of the vendor of the ATU-R.

                                                                         =258.75 kHz, defined by
                        C-ACT4 is a single frequency sinusoid at fC-ACT4 =

                         X k =={O, k "# 60,0 S; k ~ 256
                               k

                                   AC-ACT4,k - 60
                        The level and duration of C-ACT4 shall be the same as those of C-ACT1.

                         12.2.3 C-QUIET2

                        The purpose of C-QUIET2 is to allow the detection of R-ACK1 without the need to train the ATU-
                        C echo canceller. The duration of C-QUIET2 is 128 symbols.

                        After C-QUIET2, ATU-C shall enter one of three states:

                                        - C-REVEILLE: If the ATU-C detects R-ACK (see 12.3.3) it shall enter the state C-
                                        REVEILLE. Even if the ATU-C detects R-ACK in fewer than 128 symbols, the full
                                        duration of C-QUIET2 shall be maintained;
                                        - C-ACT: If the ATU-C fails to detect R-ACK, and the state C-ACT has not been entered
                                        more than twice the ATU-C shall enter the state C-ACT. (A counter, which is reset upon
                                        entering C-QUIET1, should keep track of how many times ATU-C goes from C-QUIET2
                                        and back to CoACT);
                                        - C-QUlET1: If the ATU-C does not detect R-ACK after returning twice to C-ACT it shall
                                        return to C-QUIET1.




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                                                          ANSI T1.413 95 II 0724150 0526195 802 II

                  ANSI T1.413·1995
                  12.3            Activation and acknowledgment - ATU-R

                  As in the ATU·C, a host controller may be used to monitor the ATU·R activities, and keep track of
                  the state of the ATU-R if errors or malfunctions occur that require resetting to R-ACT·REO.

                  12.3.1 R-ACT-REQ

                  R-ACT·REO is used when it is desirable for the ATU·R to initiate a communication link to the
                  ATU·C. One example is when a customer at ATU·R requests a service. R·ACT·REO is
                  transmitted after power-up and an optional successful self·test (see annex A). It is a single
                                         =34.5 kHz, which, referring to figure 3, is defined by
                  sinusoid at fR.ACT.REO =

                   X == {{ 0, k *" 8,0 :::; k :::; ~2
                          k

                                   AR-ACT -REO' k - 8

                  where AR-ACT-REO shall be such that the transmit power level is -2 dBm (approximately -38
                  dBmlHz over 4.3125 kHz) for the first 64 symbols and -22 dBm for the second 64 symbols, and
                             = 0 for the next 896 symbols. This signal is transmitted for 1024 consecutive symbols.
                  AR-ACT-REO =

                  The ATU·R shall stay in R·ACT-REO indefinitely (Le., transmitting the single tone signal for 128
                  symbols, then shutting the signal off for 896 symbols, and then repeating the process) until either

                                  - a successful detection of C·ACT signal from the ATU·C, in which case the ATU-R shall
                                  enter R-ACK as soon as the full duration of C·ACT signal has been detected;
                                  - a successful detection of C·TONE signal from the ATU·C, in which case the ATU·R
                                  shall enter R-OUIET1.

                  12.3.2 R-QUIET1

                  The duration of R-OUIET1 depends upon whether the ATU·R detects C·ACT:

                              if the ATU·R detects C·ACT it shall immediately enter R·ACK;
                              if it does not, it shall remain quiet for 240,000 symbols (approximately 60 seconds) and
                          then re-enter R-ACT·REO.

                  12.3.3 R-Acknowledge

                  R·Acknowledge is transmitted by the ATU·R, as an acknowledgment of the detection of C·ACT,
                  in order to continue initiating a communication link to the ATU·C. Three acknowledge signals are
                  defined. The uses of R-ACK1 and R·ACK2 are defined; the use of R-ACK3 is for further study.
                  Throughout the rest of this document the generic term R-ACK will refer to the appropriate state
                  and Signal.

                   12.3.3.1 R-ACK1

                  R-ACK1 signifies that the ATU-R cannot accept a pilot during C'OUIET3, C-OUIET4, or C-
                                                             =43.125 kHz defined by
                  OUIET5. It is a single sinusoid at fR.ACK1 =




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                                                                                                                                        ANSI T1.413-1995

                          where AR-ACK1 shall be such that the transmit power level is -2 dBm (approximately -38 dBm/Hz
                          over 4.3125 kHz) for the first 64 symbols and -22 dBm for the second 64 symbols. This signal
                          shall be transmitted for 128 consecutive symbols. R-QUIET2 follows immediately after R-ACK1.

                          12.3.3.2 R-ACK2

                          R-ACK2 signifies that the ATU-R requires a pilot during C-QUIET3, C-QU/ET4, and C-QUIET5. It
                          is a single sinusoid at fR.•ACK2 = 34.5 kHz defined by




                          The level and duration of R-ACK2 shall be the same as those of R-ACK1.

                          12.3.3.3 R-ACK3

                                                                                                                   = 60.375 kHz
                          R-ACK3 is reserved for future initialization options. It is a single sinusoid at fR-ACK3 =
                          defined by

                           X
                           X =={O, k # 14,0 ::; k_::; 32
                                  k

                                             AR-ACK3,k -14


                          The level and duration of R-ACK3 shall be the same as those of R-ACK1.

                          12.4            Transceiver training - ATU-C

                          This subclause and 12.5 define the signals transmitted during transceiver training by the ATU-C
                          and ATU-R, respectively. Synchronization of the mutual training begins with the transmission of
                          R-REVERB1 (see 12.5.2), and is maintained throughout training by both transceivers counting
                          the number of symbols from that point on. Thus C-REVEILLE always coincides with R-QUIET2,
                          C-QUIET5 or C-PILOT3 coincides with R-ECT, and so on.


                           ATU-C

                    C-                          C-                  C-        C-       C-ECT     C-                     C-QUIET5                 C-REVERB3
                    REVEILLE                    QUIET3              REVERB1   QUIET4             REVERB2                or
                                                or C-                         or C-                                     C-PILOT3
                                                PILOT1                        PILOT2

                           ATU-R

                     R-QUIET2                 R-REVERB1                                R-QUIET3 or R-                  R-ECT                     R-REVERB2
                                                                                       PILOT 1



                                                          Figure 31 - Timing diagram of transceiver training (12.4-12.5)

                           12.4.1 C-REVEILLE

                                                                                    =241.5 kHz. Referring to figure 2, C-
                           C-REVEILLE is a single frequency sinusoid at fC-REVEILLE =
                           REVEILLE is defined by

                                           O,k      '* 56,0:S; k:S; 256
                            Xk= { AC-REVEIUE,k -_ 56

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                  where AC-REVEILLE shall be such that the transmit power level is -4 dBm for the first 64 symbols,
                  and -28 dBm for the second 64 symbols. C-REVEILLE shall be used as an acknowledgment of
                  the detection of R-ACK and as a transition to C-QUIET3 or C-PILOT1; it shall be transmitted for
                  128 consecutive symbols without cyclic prefix.

                  If the R-ACK1 was detected earlier the ATU-C shall enter C-QUIET3; if R-ACK2 was detected it
                  shall enter C-PILOT1

                  12.4.2 C-QUIET3

                  During C-QUIET3, or C-PILOT1 as appropriate, the ATU-C shall measure the aggregate received
                  upstream power on sub-carriers 7 - 18 of R-REVERB1, and thereby calculate a downstream
                  PSD.

                  Upon detection of the first symbol of R-REVERB1 the ATU-C shall start a timer: this establishes
                  synchronization of the subsequent transitions between states at ATU-C and ATU-R. After 512
                  symbols the ATU-C shall go to C-REVERB 1. Thus the minimum duration of C-QUIET3 is 512
                  symbols, but it will exceed this by the round-trip propagation and signal-processing time plus the
                  amount of time required by ATU-R to detect C-QUIET3 and respond by transmitting R-REVERB1
                  (see 12.5.2).

                  C-REVERB1 follows C-QUIET3.

                  12.4.3 C-PILOT1

                  C-PILOT1 is a single frequency sinusoid at fC-PILOT1 = 276 kHz, defined by

                                  O,k:# 64,0::;; k::;; 256
                   X= { AC-PIWTl,k = 64
                        k



                  where AC-PILOT1 shall be such that the transmit power level is -4 dBm.

                  The duration of C-PILOT1 shall be defined in the same way as that of C-QUIET3. C-REVERB1
                  follows C-PILOT1.

                  12.4.4 C-REVERB1

                  C-REVERB1 is a signal that allows the ATU-R receiver to adjust its automatic gain control (AGC)
                  to an appropriate level. The data pattern used in C-REVERB1 shall be the pseudo-random
                  downstream sequence (PRO), d n for n = 1 to 512, defined in 6.9.3 and repeated here for
                  convenience:

                                                                                       for n = 1 to 9
                                                                                       for n =10 to 512

                 The bits shall be used as follows: the first pair of bits (d 1 and d2 ) is used for the dc and Nyquist
                 sub-carriers (the power assigned to them is, of course, zero, so the bits are effectively ignored);
                 then the first and second bits of subsequent pairs are used to define the XI and Vi. for i = 1 to 255
                 as follows:

                                                                   d2i+1, d2i+2            Xi, Vi.
                                                                      o 0                   + +
                                                                      o 1                   + -
                                                                      1    0                - +
                                                                      1    1




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                                                      ANSI T1.413 95 . . 0724150 0526198 511 . .

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                              NOTES
                              1 The period of PRD is only 511 bits, so dS1 = d1•
                              2 The d1 to dg are re-initialized for each symtol, so each symbol of C-REVERB1 uses the same data.

                                                                                = 64), shall be overwritten by {O,O}:
                          Bits 129 and 130, which modulate the pilot carrier (i =
                          generating the {+,+} constellation.

                         The nominal transmit PSD for C-REVERB1 is --40 dBm/Hz. If, however, the total upstream power
                         measured on sub-carriers 7 -18 is greater than 3 dBm, then the PSD for C-REVERB1 and all
                         subsequent downstream signals shall be as follows:

                              Upstream received power                 <3   4   5   6   7   8   9                               dBm
                              Max downstream PSD                     -40 -42 -44 -46 -48 -50 -52                               dBrn/Hz

                          This chosen level shall become the reference level for all subsequent gain calculations.

                          The duration of C-REVERB1 is 512 (repeating) symbols without cyclic prefix. If the R-ACK1 was
                          detected earlier the ATU-C shall then enter C-QUIET4; if R-ACK2 was detected it shall enter C-
                          PILOT2.

                          12.4.5 C-QUIET4

                          The duration of C-QUIET4 is 3072 symbols. C-ECT follows C-QUIET4.

                          12.4.6 C-PILOT2

                          The C-PILOT2 signal is the same as C-PILOT1 ; the duration is 3072 symbols.

                          12.4.7 C-ECT

                          C-ECT is a vendor-defined signal that is used to train the echo canceller at ATU-C for EC
                          implementations. Vendors of FDM versions have complete freedom to define their C-ECT signal.
                          The duration of C-ECT, however, is fixed at 512 symbols. The receiver at ATU-R should ignore
                          this signal. C-REVERB2 follows C-ECT.

                              NOTE - The level of the ADSL signal in the frequency band from 0 to about 10kHz that leaks through the
                              POTS low-pass filter is tightly limited (see 10.4). Therefore it is recommended that sub-carriers 1 - 4 not
                              be used for C-ECT, or, at least, that they be transmitted at a much lower level.

                          12.4.8 C-REVERB2

                          C-REVERB2 is a signal that allows the ATU-R receiver to perform synchronization and to train
                          any receiver equalizer. C-REVERB2 is the same as C-REVERB1 (see 12.4.3). The duration of
                          C-REVERB2 is 1536 (repeating) symbols without cyclic prefix. If the R-ACK1 was detected
                          earlier the ATU-C shall enter C-QUIET5; if R-ACK2 was detected it shall enter C-PILOT3

                          12.4.9 C-QUIETS

                          The duration of C-QUIET5 is 512 symbols. C-REVERB3 follows C-QUIET5.




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                 12.4.10 C-PILOT3

                 C-PILOT3 is the same as C-PILOT1 (12.4.3).

                 12.4.11 C-REVERB3

                 C-REVERB3 is a second training signal, which allows the ATU-R receiver to perform or maintain
                 synchronization and to further train any receiver equalizer. C-REVERB3 is the same as C-
                 REVERB2 (see 12.4.6). The duration of C-REVERB3 is 1024 (repeating) symbols without cyclic
                 prefix. This is the last segment of transceiver training. C-SEGUE1 follows immediately.


                 12.5 Transceiver training - ATU-R

                 12.5.1 R-QUIET2

                 The minimum duration of R-QUIET2 is 128 DMT symbols. The ATU-R shall progress to R-
                 REVERB1 only after it has detected the whole of C-REVEILLE and any part of the following C-
                 QUIET3 or C-PILOT1 that is needed for reliable detection. The time for detection of these signals
                 shall not exceed 128 symbols each. If the ATU-R does not detect both signals within 128 symbols
                 each it shall reset to R-ACT-REQ.

                 12.5.2 R-REVERB1

                 R-REVERB1 is used to allow the ATU-C to

                                  - measure the upstream wideband power in order to adjust the ATU-C transmit power
                                 level;
                                  - adjust its receiver gain control;
                                  - synchronize its receiver and train its equalizer.

                 The data pattern used in R-REVERB1 shall be the pseudo-random upstream sequence PRU
                 defined in 7.9.3 and repeated here for convenience:

                                                                                =1 to 6
                                                                          for n =
                                                                                = 7 to 64
                                                                          for n =

                 The bits are used as follows: the first pair of bits (d 1 and d2 ) is used for the dc and Nyquist sub-
                 carriers (the power assigned to them is, of course, zero, so the bits are effectively ignored); then
                 the first and second bits of subsequent pairs are used to define the X; and Y;. for i = 1 to 31 as
                 defined for C-REVERB1 in 12.4.4.
                     NOTES

                     1 The period of PRD is only 63 bits, so d64 = d1 •
                     2 The d 1 to ds are re-initialized for each symbol, so each symbol of R-REVERB1 uses the same data .

                .Bits 33 and 34, which modulate the pilot carrier (i = 16), shall be overwritten by {O,O}: generating
                 the (+ +) constellation.

                 The nominal transmit PSD for R-REVERB1 and all subsequent upstream signals is -38 dBmlHz.

                 R-REVERB1 is a periodic signal, without cyclic prefix, that is transmitted consecutively for 4096
                 symbols. The first 512 symbols coincide with C-QUIET3 or C-PILOT1 signal in time, the second
                 512 symbols coincide with C-REVERB1, and the last 3072 symbols coincide with C-QUIET4 or
                 C-PILOT2.




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                        If C-ACT1 or C-ACT2 was detected earlier the ATU-R shall enter R-QUIET3 immediately after R-
                        REVERB1; if C-ACT3 or C-ACT4 was detected the ATU-R may enter R-PILOT1 or R-QUIET3 at
                        the vendor's discretion.

                        12.5.3 R-QUIET3

                       The duration of R-QUIET3 is nominally 2048 symbols, of which the first 512 symbols coincide
                       with C-ECT in time, and the next 1536 symbols coincide with C-REVERB2. The final symbol of R-
                       QUIET3 may be shortened by any number of samples that is an integer multiple of four in order to
                       accommodate transmitter to receiver frame alignment. R-ECT immediately follows R-QUIET3.

                        12.5.4 R-PILOT1

                                                                            = 69 kHz, defined by
                        R-PILOT1 is a single frequency sinusoid at 'R-PILon =

                                  _ {O'k:t 16,0 ~ k ~ 256
                         Xk -  k -         AR_PILOT1,k = 16        =

                        where AR-PILOTl shall be such that the transmit power level is -2 dBm.

                        The nominal duration of R-PILOT1 is the same as that of R-QUIET3, but it may be shortened by
                        any number of samples that is an integer multiple of four in order to accommodate transmitter to
                        receiver frame alignment. R-ECT immediately follows R-PILOT1.

                        12.5.5 R-ECT

                        R-ECT, similar to C-ECT, is a vendor-defined signal that may be used to train an echo canceller
                        at ATU-R. Vendors of FDM versions have absolute freedom to define the R-ECT signal. The
                        duration of R-ECT, however, is fixed at 512 DMT symbols. The receiver at ATU-C should ignore
                        this signal. R-REVERB2 follows R-ECT.

                            NOTE - The level of the ADSL signal in the frequency band from 0 to about 10kHz that leaks through the
                            POTS low-pass filter is tightly limited (see 10.4). Therefore it is recommended that sub-carriers 1 - 4 not
                            be used for R-ECT, or, at least, that they be transmitted at a much lower level.

                        12.5.6 R-REVERB2

                        The signal R-REVERB2 is the same as R-REVERB1 (see 12.5.2); it can be used by ATU-C to
                        perform timing recovery and receiver equalizer training.

                             NOTE - Some implementations of ATU-R transmitters may change the symbol timing between R-
                             REVERB1 and R-REVERB2 (see 12.5.3 and 12.5.4); this would require a corresponding shift of any
                             receiver timing acquired during R-REVERB1.

                        The duration of R-REVERB2 is 1024 symbols. This signal is the last segment of transceiver
                        training. ATU-R then begins channel analysis, and starts transmitting R-SEGUE1.




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                    ATU-C
                                              C-RATES1,
                                              C-CRC1,              C-MEDLEY                                                             C-REVERB4
              C-SEGUE1                        C-MSGS1, and
                                              C-CRC2

                    ATU-R
                                                                                    R-RATES1,
                                                                                    R-CRC1,
              R-SEGUE1                        R-REVERB3            R-SEGUE2         R-MSGS1,              R-MEDLEY                      R-REVERB4
                                                                                    and
                                                                                    R-CRC2


                                                      Figure 32 - Timing diagram of channel analysis (12.6-12.7)

                    12.6 Channel analysis (ATU-C)

                    During channel analysis the synchronization between ATU-C and ATU-R may be broken during
                    R-REVERB3, which has an indefinite duration; this potential timeout is described in 12.7.2.
                    Furthermore, if during channel analysis any CRC check sum indicates an error in any of the
                    control data, this shall trigger a reset to C-QUIET1.

                    12.6.1 C-SEGUE1

                    Except for the pilot tone, C-SEGUE1 is generated from a tone-by-tone 180 degree phase reversal
                    of C-REVERB1 (Le. + maps to -, and -maps to +, for each of the 4-QAM signal constellation).
                    The duration of C-SEGUE1 is 10 (repeating) symbol periods. Following C-SEGUE1, ATU-C
                    enters state C-RATES1.

                    12.6.2 C-RATES1

                    C-RATES1 is the first ATU-C signal for which a cyclic prefix (defined in 6.10) is used. The
                    purpose of C-RATES1 is to transmit four options for data rates and formats to the ATU-R. Each
                    option consists of three fields:

                                    - BF lists the number of bytes in the fast buffer for each of ASO, AS1, AS2, AS3, LSO,
                                    LS1, LS2, LSO (upstream), LS1 (upstream), LS2 (upstream) channels, in that order; BF
                                    has a total of 80 (= 10 x 8) bits. The first 8 bits of BF specify the number of bytes in ASO,
                                    the second 8 bits specify the number of bytes in AS1, and so on. Each byte of BF is
                                    transmitted with least significant bit first;

                                     - BI similarly lists the number of bytes in the interleaved buffer;

                                     - {RF.~. S,I,FS(LS2)} is a ten-byte quantity comprising
                                             - R F , the number of parity bytes per symbol in the fast buffer (downstream);
                                             - ~,the number of parity bytes per symbol in the interleave buffer (downstream);
                                             - S, the number of symbols per codeword (downstream);
                                             - I, the interleave depth (downstream) in codewords for the interleave buffer;
                                             - FS(LS2), the frame size (in bytes) of the bearer service transported in the LS2
                                                      channel;
                                            - the same five quantities {RF ~ S,I,FS(LS2)} in the upstream direction (one-byte
                                                      each, in that order). . .




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                         The four options are transmitted in order of decreasing preference. C-RATES1 is preceded by a
                         4-byte prefix of [01010101 01010101 01010101 01010101]. Figure 33 summarizes C-RATES1
                         and R-RATES1 (see 12.7.4).

                           C-RATES1                                Prefix        Option 1          Option
                                                                                                   OJ)tion 2               Option 3                   Option
                                                                                                                                                      Olltion 4
                                                                            BF        I RRSI BF 1I BI IIRRSI
                                                                                 I BI lRRSI                  BF I BI I RRSI BF ILBI I RRSI
                                                                                                        RRSI BFt
                           Number of bytes                           4      10 1101 10           10 1101 10            10110 1 10                10110 1 10

                           R-RATES1                                Prefix        Option 1          Option 2                Option 3                   Option 4
                                                                            BF     BI I RRSI BF I BI I RRSI BdBI
                                                                                 I BII                      BF I BI IIRRSI
                                                                                                                      RRSI BF ILBI I RRSI
                           Number of bytes                           4      3 I
                                                                              1 3 1         5    3 1 3 1 5              31315                     3 L
                                                                                                                                                    1 3 I1 5

                                                              Figure 33 - C-RATES1 and R-RATES1 (12.6.2 and 12.7.4)

                         Only one bit of information is transmitted in each symbol of C-RATES1: a zero bit is encoded to
                         one symbol of C-REVERB1 and a one bit is encoded to one symbol of C-SEGUE1. Since there
                         are a total of 992 bits of C-RATES1 information, the duration of C-RATES1 is 992 symbols. The
                         992 bits are to be transmitted in the order shown in figure 33, with the least significant bit first.
                         That is, the least significant bit of option 1, BF, is to be transmitted during the 33rd symbol of C-
                         RATES1, after the prefix. Following C-RATES1, the ATU-C shall enter state C-CRC1.

                         12.6.3 C-CRC1

                         C-CRC1 is a cyclic redundancy code for detection of errors in the reception of C-RATES1 at the
                         ATU-R. The CRC bits are computed from the C-RATES1 bits using the equation:

                                              = a(D) D 16 modulo g(D),
                                         c(D) =
                         where
                                        =ao D959 EEl a1 D958 ... EEl a959
                                   a(D) =
                         is the message polynomial formed from the 960 bits of C-RATES1, with a o the least significant bit
                         of the first byte of C-RATES1 (i.e., option 1 B F);

                                      = D16 E9 D 12 EEl D5 EEl 1
                                 g(D) =
                         is the CRC generator polynomial, and

                                      = CaD15 EEl c1 D14 ..... E9 C14 D EEl C15
                                 c(D) =
                         is the CRC check polynomial.

                         The 16 bits Co - C15 are transmitted (GJ first and C15 last) in 16 symbol periods using the method
                         described in 12.6.2. Following C-CRC1, the ATU-C shall enter state C-MSGS1.

                         12.6.4 C-MSGS1

                         C-MSGS1 transmits a 48-bit message signal to the ATU-R. This message includes vendor
                         identification, ATU-C transmit power level used, trellis code option, echo canceller option, etc.
                         The message, m, is defined by:




                         with mo being transmitted first. The message components are defined in the following sub-
                         clauses, and their assigned positions within the composite message, m, are defined in table 36.

                         A total of 48 symbol periods are used to communicate the 48-bit message, using the encoding
                         method described in 12.6.2. Following C-MSGS1, the ATU-C shall enter state C-CRC2.




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                                                                    Table 36 - Assignment of 48 bits of C-MSGS1

                                   Suffix(ces) of m l                              Parameter

                                   47-44                                           reserved for future use
                                   43-28                                           vendor identification
                                   27,26                                           reserved for future use
                                   25-18                                           version number
                                   17                                              constellation coding option
                                   16                                              echo canceling option
                                   15,14                                           reserved for future use
                                   13,12
                                   1312                                            maximum possible transmit PSD
                                   11,10,9                                         reserved for future use
                                   8,76
                                   876                                             transmit PSD during initialization
                                   54                                              reserved for future use
                                   3-0                                             maximum numbers of bits per sub-carrier
                                                                                   supported
                                                                                   sUQQorted
                                  NOTES
                                  1 All bits "reserved for future use" shall be set to 0 until defined.
                                  2 Within the separate fields the least significant bits have the lowest subscripts.

                   12.6.4.1 Vendor identification - Bits 43 - 28

                  The vendor ID is binarily coded. Thirty-seven codes have so far been assigned; they are defined
                  in annex D. Bits 47 - 44, the most significant bits (MSBs), may be used to identify more vendors
                  in the future.

                  12.6.4.2 Version number - Bits 25 -18

                  To facilitate upgrades in the future, six bits are reserved to allow any vendor to include a version
                  number for each unit. When an ATU-C connects to an ATU-R with the same vendor ID, this may
                  serve to simplify upgrades, diagnostics, maintenance, etc.

                  12.6.4.3 Constellation coding option - Bit 17

                   m17 ;;;;; 0 shall indicate no trellis coding capability, ~7;;;;; 1 shall indicate trellis coding capability.

                   12.6.4.4 Echo cancellation option - Bit 16

                   m16 ;;;;; 0 shall indicate no echo cancellation, m16 ;;;;; 1 shall indicate echo cancellation.

                  12.6.4.5 Maximum possible transmit PSD - Bits 13,12

                  As defined in 6.13.3, the ATU-C may transmit, under some circumstances and in some frequency
                  bands, at a PSD as high as -34 dBmlHz. The ability to do this shall be signaled to the ATU-R so
                  that it may calculate the optimum loading. The coding rules for m13, m12 are

                                                                   m13 m12     Max. PSD
                                                                                dBmlHz

                                                                   1   1           -34
                                                                   1   0           -36
                                                                   0   1           -38
                                                                   0   0           -40




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                          12.6.4.6 Transmit PSD during initialization - Bits 8,7,6

                          The ATU-C shall report the level of C-REVERB1 chosen as a result of the calculation described
                          in 12.4.3. The encoding rules for ma, m7 , ms are:

                                                                   f11a m7 ms
                                                                   f11a           PSD
                                                                                 dBmlHz

                                                                   1   1    1    -40
                                                                   1   1    0    -42
                                                                   1   0    1    -44
                                                                   1   0    0    -46
                                                                   0   1    1    -48
                                                                   0   1    0    -50
                                                                   0   0    1    -52

                          12.6.4.7 Maximum numbers of bits per sub-carrier supported - Bits 3 - 0

                          The Ndownmax (transmit) capability shall be encoded onto {m3 - 17b} with a conventional binary
                                                     =13)
                          representation (e.g., 1101 =

                          The maximum number of bits for the upstream d.ata, Nuprnax ' that the ATU-C receiver can support
                          need not be signaled to the ATU-R; it will be implicit in the bits and gains message, C-B&G, which
                          is transmitted after channel analysis.


                          12.6.5 C-CRC2

                          C-CRC2 is a cyclic redundancy code for detection of errors in the reception of C-MSGS1 at the
                          ATU-R. The CRC polynomial is generated in the same way as defined in 12.6.3. These 16 bits
                          shall be transmitted in 16 symbol periods using the method described in 12.6.2. Following C-
                          CRC2, the ATU-C shall enter state C-MEDLEY.

                          12.6.6 C-MEDLEY

                          C-MEDLEY is a wideband pseudo-random signal used for estimation at the ATU-R of the
                          downstream SNR. The data to be transmitted shall be derived from the pseudo-random
                          sequence, PRO, and modulated as defined in 6.9.3 and 12.4.4. In contrast to C-REVERB1,
                          however, the data sequence continues from one symbol to the next (i.e., d 1 to d9 are not re-
                          initialized for each symbol); since PRO is of length 511, and 512 bits are used for each symbol,
                          the sub-carrier vector for C-MEDLEY therefore changes from one symbol period to the next. The
                          pilot sub-carrier is over-written by the (+,+) signal constellation.

                           C-MEDLEY shall be transmitted for 16384 symbol periods. Following C-MEDLEY the ATU-C
                           shall enter the state C-REVERB4.

                           12.6.7 C-REVERB4

                           C-REVERB4 is similar to C-REVERB2 (see 12.4.6), the only difference being the addition of a
                           cyclic prefix on every symbol. C-REVERB4 continues into the exchange procedure, and its
                           duration is not fixed. The timeout features of C-REVERB4 are defined in 12.8.1




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                12_7            Channel analysis - ATU-R

                During channel analysis there are two situations where the ATU-R will reset itself to R-ACT-REO:
                a timeout and a detected error in the received control data. A timeout occurs if the time in R-
                REVERB3 exceeds the limit of 4000 symbols. Also, if any C-CRC checksum indicates there is an
                error in the received control data, then it shall trigger a reset to R-ACT-REO.

                12.7.1 R-SEGUE1

                Except for the pilot tone, R-SEGUE1 is generated from a tone-by-tone 180 degree phase reversal
                of R-REVERB1 (Le. + maps to -, and -maps to +, for each of the 4-0AM signal constellation).
                The duration of R-SEGUE1 is 10 symbol periods. Following R-SEGUE1 the ATU-R shall enter
                state R-REVERB3.

                12.7.2 R-REVERB3

                R-REVERB3 is similar to R-REVERB 1 (see 12.5.2); the only difference is the addition of a cyclic
                prefix to every symbol. The duration of R-REVERB3 is not fixed but has a maximum of 4000
                symbols. If C-SEGUE1 is not detected within 4000 symbols the ATU-R shall timeout and reset to
                R-ACT-REO. After detection of C-SEGUE1 through C-CRC2, the ATU-R shall continue to send
                R-REVERB3 for 20 additional symbols before entering R-SEGUE2.

                12.7.3 R-SEGUE2

                The signal R-SEGUE2 is the same as R-SEGUE1 (see 12.7.1). The duration of R-SEGUE2 is
                10 symbol periods. Following R-SEGUE2 the ATU-R shall enter state R-RATES1.


                12.7.4 R-RATES1

                The purpose of R-RATES1 for the upstream channel is the same as that of C-RATES1 for the
                downstream channel (see 12.6.2). Each option consists of three fields:

                                - BF lists the number of bytes in the fast buffer for each of LSO, LS1, LS2, in that order;
                                BF has a total of 24 (= 3 x 8) bits. The first 8 bits of BF specify the number of bytes in
                                LSO, the second 8 bits specify the number of bytes in LS1, and so on. Each byte of BF is
                                transmitted with least significant bit first;

                                 - BI similarly lists the number of bytes in the interleaved buffer;

                                   {RF.~.
                                 - {RF ~ S,/,FS(LS2)} is a five-byte quantity comprising
                                         - ~,
                                      . :... ~, the number of parity bytes per symbol in the fast buffer (upstream);
                                         - ~, the number of parity bytes per symbol in the interleave buffer (upstream);
                                         - S, the number of symbols per codeword (upstream);
                                         - /, the interleave depth (upstream) in codewords for the interleave buffer;
                                         - FS(LS2), the frame size (in bytes) of the bearer service transported in the LS2
                                                 channel.

                The four options are transmitted in order of decreasing preference. Figure 33 defines R-RATES1
                as well as C-RATES1. For the present issue of the standard, ATU-C has control over all the data
                rates, so R-RATES1 is copied from the appropriate fields of C-RATES1.

                Only one bit of information shall be transmitted during each symbol period of R-RATES1: a zero
                bit is encoded to one symbol of R-REVERB1 and a one bit is encoded to one symbol of R-
                SEGUE1. Since there are a total of 384 bits of RATES1 information, the length of R-RATES1 is
                384 symbols. The 384 bits are to be transmitted in the order shown in figure 33, with the least
                significant bit first. That is, the least significant bit of option 1, BF (see table 32), is to be
                transmitted during the 33rd symbol of R-RATES1, after the prefix. Following R-RATES1, the
                ATU-R shall enter state R-CRC1.


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                        12.7.5 R-CRC1

                        R-CRCl is a cyclic redundancy code intended for detection of an error in the reception of R-
                        RATESl at the ATU-C. The CRC polynomial c(O) and generator polynomial g(O) are the same
                        as for C-CRCl (see 12.6.3). The 16 bits Co to c 15 are transmitted (co first and C15 last) in 16
                        symbol periods using the same method as R-RATESl (see 12.7.4). Following R-CRC1, the
                        ATU-R shall enter state R-MSGS 1.

                        12.7.6 R-MSGS1

                         R-MSGSl transmits a 48-bit message signal to the ATU-C. This message includes vendor
                         identification, trellis code option, echo canceller option, etc. The message, m, is defined by:

                                          = {m47 , f11:D, ...... , m1 , mol
                                         m=

                         with mo' the least significant bit, being transmitted first. The message components are defined in
                         the following subclauses, and their assigned positions within the composite message, m, are
                         defined in table 37.

                         A total of 48 symbol periods shall be used to communicate the 48-bit message, using the
                         encoding method described in 12.6.2 Following R-MSGS1, the ATU-R shall enter state R-
                         CRC2.

                                                                   Table 37 - Assignment of 48 bits of R-MSGS1

                                             Suffix(ces) of m I                       Parameter
                                             47-44                                    Reserved for future use
                                             43-28                                    Vendor Identification
                                             27,26                                    Reserved for future use
                                             25-18                                    Version Number
                                             17                                       Constellation codin!:!
                                                                                                    coding option
                                             16                                       Echo cancellino
                                                                                            cancelling option
                                             15-4                                     Reserved for future use
                                             3-0                                      Maximum numbers of bits per sub-carrier
                                                                                      supported
                                                                                      sUlmorted
                                              NOTES
                                              1 All bits "reserved for future use" shall be set to 0 until defined.
                                             2 Within the separate fields the least significant bits have the lowest subscripts.


                         12.7.6.1 Vendor identification - Bits 43 - 28

                         The vendor 10 is coded in binary as defined in 12.6.4.1

                         12.7.6.2 Version number - Bits 25 -18

                         The version number is encoded as defined in 12.6.4.2

                         12.7.6.3 Trellis coding option - Bit 17

                             = 0 shall indicate no trellis coding capability; m17 == shall 1 indicate trellis coding capability.
                         m17 =

                         12.7.6.4 Echo cancellation option - Bit 16

                                 =                                                        =
                         ~6 = 0 shall indicate no echo cancellation; m16 = 1 shall indicate echo cancellation.




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                12_7.6.5 Maximum numbers of bits per sub-carrier supported - Bits 3 - 0

                The Nuprnax (transmit) capability shall be encoded onto {m3 - mo}with a conventional binary
                representation (e.g., 1101 == 13)
                    NOTE - The maximum number of bits for the downstream data, Ndownmax , that the ATU-R receiver can
                    support need not be signaled to the ATU-C; it will be implicit in the bits and gains message, R-B&G, which
                    is transmitted after channel analysis.

                12.7.7 R-CRC2

                R-CRC2 is a cyclic redundancy code for detection of errors in the reception of R-MSGS1 at the
                ATU-C. The CRC polynomial is generated in exactly the same way as described in 12.6.3.
                These 16 bits are transmitted in 16 symbol periods using the method described in 12.7.4.
                Following R-CRC2, the ATU-R shall enter state R-MEDLEY.

                12.7.8 R-MEDLEY

                R-MEDLEY is a wideband pseudo-random signal used for estimation of the upstream SNR at the
                ATU-C. The data to be transmitted are derived from the pseudo-random sequence PRU defined
                in 12.5.2, continuing from one symbol to the next. Because the sequence is of length 63, and 64
                bits are used for each symbol, the sub-carrier vector for R-MEDLEY changes from one symbol
                period to the next. The pilot sub-carrier is over-written by the (+,+) signal constellation. R-
                MEDLEY is transmitted for 16384 symbol periods. Following R-MEDLEY the ATU-R shall enter
                state R-REVERB4.


                12.7.9 R-REVERB4

                R-REVERB4 is the same as R-REVERB3 (see 12.7.2). The duration of R-REVERB4 is 128
                symbols. This signal marks the end of channel analysis, and R-SEGUE3 immediately follows R-
                REVERB4.




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                                                                                                                                             ANSI T1.413-1995


                           ATU-C
                                                                                   C-MSGS2,
                                                                                   C-CRC3,
                                                                                   C-RATES2,
                         C-REVERB4                                      C-SEGUE2   C-CRC4,         C-REVERB5                            C-SEGUE3
                                                                                   C-B&G,
                                                                                   and
                                                                                   C-CRC5




                          ATU-R
                                                                   n~
                                                                   Ii


                                                                                               ,
                                                                                               I
                                                                                               I                                    •+ ,                   I
                                                                                                                                                           I


                                                R-MSGS2,
                                                R-CRC3,
                          R-                    R-RATES2, R-REVERB5                                R-                 R-B&G              R-REVERB6 R-
                          SEGUE3                and                                                SEGUE4             R-CRC5                       SEGUE5
                                                R-CRC4


                                                                   Figure 34 - Timing diagram of exchange (12.8-12.9)

                          12.8 Exchange - ATU-C

                          During exchange there are two events that shall cause the ATU-C to reset to C-QUIET1: timeouts
                          and error detection by a CRC checksum. The exchange procedure is partly synchronized
                          between ATU-C and ATU-R, and partly interactive. During the interactive part (C-REVERB4 and
                          C-REVERBS) a timeout shall occur when the time in that state exceeds 4000 symbols.

                          12.8.1 C-REVERB4

                          If the ATU-C does not detect R-SEGUE3 within 4000 symbols, it shall timeout and reset to C-
                          QUIET1. After detection of R-SEGUE3 and R-MSGS2, R-CRC3, R-RATES2, and R-CRC4, the
                          ATU-C shall continue to transmit C-REVERB4 for another 80 symbols before progressing to state
                          C-SEGUE2 (see 12.8.2).

                          12.8.2 C-SEGUE2

                          The signal C-SEGUE2 is the same as C-SEGUE1 (see 12.6.1). The duration of C-SEGUE2 is
                          10 symbol periods. Following C-SEGUE2 the ATU-C shall enter state C-MSGS2.

                          12.8.3 C-MSGS2

                          C-MSGS2 transmits a 32-bit message signal to the ATU-R. This message includes the total
                          number of bits per symbol supported, the estimated upstream loop attenuation, and the
                          performance margin with the selected rate option. The message, m, is defined by:



                          with      no
                                  being transmitted first. The message components are defined in the following sub-
                          clauses, and their assigned positions within the composite message, m, are defined in table 38




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                 ANSI T1.413-1995
                                                                   Table 38 - Assignment of 32 bits of C-MSGS2

                                      Suffix(ces) of m I                            Parameter
                                      31-26                                  Estimated average      loo~ attenuation
                                                                                          averaQe loop
                                                                                          avera!le
                                      25-21                                  Reserved for future use
                                      20-16                                  Performance marain
                                                                                             margin with selected rate option
                                                                                                                       cmtion
                                      15-9                                   Reserved for future use
                                      8-0                                                            s~orted
                                                                             Total number of bits supported
                                      NOTES
                                      1 All bits "reserved for future use" shall be set to 0 until defined.
                                      2 Within the separate fields the least si!lnificant
                                                                             siQnificant bits have the lowest subscripts.

                 A total of 4 symbol periods shall be used to communicate the 32 bit message, with 8 bits
                 transmitted on each symbol. Two bits are encoded onto each of the sub-carriers numbered 43
                 through 46 using the 4QAM constellation labeling given in 6.9.3 (for the synchronization symbol)
                 and 12.4.3 (for C-REVERB1). The same two bits are also encoded in the same way onto a set of
                 backup carriers, namely, sub-carriers 37 through 40. The least significant byte of the message is
                 transmitted in the first symbol of C-MSGS2, with the two least significant bits of each byte
                 encoded onto carriers 43 and 37. In addition, the pilot, sub-carrier 64, shall be modulated with
                 (+,+). Following C-MSGS2, the ATU-C shall enter state C-CRC3.

                 12.8.3.1 Estimated average upstream loop attenuation

                 During channel analysis the ATU-C estimates the upstream channel gain in preparation for
                 computing the SNR for each tone; it shall also calculate the average loop attenuation. This
                 attenuation, rounded to the nearest 0.5 dB, is then encoded into bits 31 - 26 of C-MSGS2 as the
                 integer binary representation of twice the attenuation (e.g., if the average attenuation is 16.5 dB
                 then {f11a1 - f11:zs}= 100001).

                 12.8.3.2 Performance margin with selected rate option

                 The ATU-C receiver shall calculate the performance margin for each of the rates options sent
                 from the ATU-R during R-RATES1, and then select one of the options with a satisfactory margin.
                 This margin (rounded to the nearest dB) is encoded into bits 20 - 16 of C-MSGS2 using a
                 conventional binary representation (e.g., if the margin is 9 dB then {~- ~6} == 01001).
                 12.8.3.3 Total number of bits per symbol supported

                 The ATU-C receiver shall also calculate the maximum number of bits per symbol that the
                 upstream channel can support with a performance margin of 6 dB at an error rate of 10-7 . This
                 number is encoded into bits 8 - 0 using a conventional binary representation (e.g., if the
                 maximum number of bits that can be supported is 127 (data rate = = 508 kbiVs), {ma - fTb}=
                 001111111).

                 12.8.4 C-CRC3

                 C-CRC3 is a cyclic redundancy code for detection of errors in the reception of C-MSGS2 at the
                 ATU-R. The CRC polynomial c(O)
                                              c(D) and generator polynomial g(O)
                                                                              g(D) are the same as for CRC1, as
                 defined in 12.6.3. These bits are transmitted in 2 symbol periods using the method described in
                 12.8.3. Following C-CRC3, the ATU-C shall enter state C-RATES2.

                 12.8.5 C-RATES2

                 C-RATES2 is the reply to R-RATES1 (see 12.7.4). It combines the downstream rate information
                 contained in R-RATES2 (in the form of one selected option) with the option number of the highest
                 upstream data rate that can be supported based on the measured SNR of the upstream channel.
                 It thus transmits the final decision on the rates that will be used in both directions. The length of
                 C-RATES2 is equal to 8 bits, and the bit pattern for C-RATES2 is shown in table 39. Other bit
                 patterns that are not specified in the table are reserved for future use. If none of the options
                 requested during C-RATES1 and R-RATES1 can be implemented, ATU-C shall transmit the all-

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                         options-fail code defined in table 39, and then return to C-QUIET1 for retraining. One symbol
                         period is used to transmit these 8 bits using the method described in 12.8.3. Following C-
                         RATES2, the ATU-C shall enter state C-CRC4.

                                                                   Table 39 - Bit pattern for C·RATES2

                      Downstream
                      Downstream, upstream)                                   Bit pattern for C·RATES2 (MSB first) (note 1)
                      option 1, option 1                                      00010001
                      option 1, option 2                                      00010010
                      option 1, option 3                                      00010100
                      option 1, option 4                                      00011000
                      option 2, option 1                                      00100001
                      option 2, option 2                                      00100010
                      option 2, option 3                                      00100100
                      option 2, option 4                                      00101000
                      option 3, option 1                                      01000001
                      option 3, option 2                                      01000010
                      option 3, option 3                                      01000100
                      option 3, option 4                                      01001000
                      option 4, option 1                                      10000001
                      option 4, option 2                                      10000010
                      option 4, option 3                                      10000100
                      option 4, option 4                                      10001000
                     all options fail (Note 2)                                00000000
                     NOTES
                     1 All other bit patterns that are not shown are reserved for future use.
                     2 If it is determined that none of the four options can be implemented with the connection the ATU-C shall return
                     to C-QUIET1 for retraining.


                         12.8.6 C·CRC4

                         C-CRC4 is a cyclic redundancy code for detection of errors in the reception of C-RATES2 at the
                         ATU-R. Its relation to C-RATES2 is the same as that of C-CRC3 to C-MSGS2. Following C-
                         CRC4, the ATU-C shall enter state C-B&G.

                          12.8.7 C·B&G

                         C-B&G shall be used to transmit to the ATU-R the bits and gains, {b 1, g1' b2• g2' ..... b3/' g3P}'
                         that are to be used on the upstream carriers. b j indicates the number of bits to be coded by the
                         ATU-R transmitter onto the ith upstream carrier; gj indicates the scale factor, relative to the gain
                         that was used for that carrier during the transmission of R-MEDLEY, that shall be applied to the
                         ith upstream carrier. Because no bits or energy will be transmitted at dc or one-half the sampling
                         rate, b(}1 go' b32 • and g32 are all presumed to be zero and shall not transmitted.

                          Each b; shall be represented as an unsigned 4-bit integer, with valid b,s lying in the range of zero
                          to Nupmax• the maximum number of bits that the ATU-R is prepared to modulate onto any sub-
                          carrier, which is communicated in R-MSGS1.

                          Each g; shall be represented as an unsigned 12-bit fixed-point quantity, with the binary point
                          assumed just to the right of the third most significant bit. For example, a g; with binary
                          representation (most significant bit listed first) 010000000000 would instruct the ATU-R to scale
                          the constellation for carrier i, by a gain factor of 2, so that the power in that carrier shall be 6 dB
                          higher than it was during R-MEDLEY.




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                 For sub-carriers where no data are transmitted and the receiver will never allocate bits (e.g., out-
                 of-band channels), both b; and g; shall be set to zero (0000 and 00000000 000, respectively).
                 For sub-carriers where no data are currently to be transmitted, but the receiver may allocate bits
                 later (e.g., as a result of an SNR improvement), the b j shall be set to zero (OOOO) and the gj to 1
                 (00100000 OOOO).

                 A total of 62 bytes of bits and gains information is to be transmitted during C-B&G, and a total of
                 62 symbol periods is required, using the method described in 12.8.2. Following C-B&G the ATU-
                 C enters state C-CRCS.

                 12.8.8 C-CRCS

                 C-CRCS is a cyclic redundancy code for detection of errors in the reception of C-B&G at the ATU-
                 R. Its relation to C-B&G is the same as that of C-CRC3 to C-MSGS2. Following C-CRCS, the
                 ATU-C shall enter state C-REVERBS.

                 12.8.9 C-REVERBS

                 C-REVERBS is the same as C-REVERB4 (see 12.6.7). The duration of C-REVERBS depends
                 upon the state of the ATU-R and the internal processing of the ATU-C. The ATU-C shall transmit
                 C-REVERBS until it has received, checked the reliability of, and established the downstream bits
                 and gains information contained in R-B&G. The ATU-C shall enter state C-SEGUE3 as soon as it
                 i$ prepared to transmit according to the conditions specified in R-B&G.

                 12.8.10 C-SEGUE3

                 C-SEGUE3 is used to notify the ATU-R that the ATU-C is about to enter the steady-state state C-
                 SHOWTIME. The signal C-SEGUE3 is the same as C-SEGUE1 (see 12.6.1). The duration of
                 C-SEGUE3 is 10 symbol periods. Following C-SEGUE3 the ATU-C has completed initialization
                 and enters state C-SHOWTIME.

                 12.9            Exchange - ATU-R

                 During exchange there are two cases where the ATU-R shall reset itself: timeouts and error
                 detection by a CRC checksum. Both shall trigger a reset to R-ACT-REQ. The exchange
                 procedure is partly synchronized between ATU-C and ATU-R, and partly interactive. During the
                 interactive parts (R-REVERBS and R-REVERB6) a timeout shall occur when the time in either
                 state exceeds 4000 symbols.

                   12.9.1 R-SEGUE3

                 The signal R-SEGUE3 is the same as R-SEGUEl (see 12.7.1). The duration of R-SEGUE3 is
                 10 symbol periods. Following R-SEGUE3 the ATU-R shall enter state R-MSGS2.

                 12.9.2 R-MSGS2

                 R-MSGS2 transmits a 32-bit message signal to the ATU-C. This message includes the total
                 number of bits per symbol supported, the estimated upstream loop attenuation, and the
                 performance margin with the selected rate option. The message, m, is defined by:

                                                                   m= {11l.31'~' ...... m" f1b}
                 with f1b being transmitted first. The message components are defined in the following sub-
                 clauses, and their assigned positions within the composite message, m, are defined in table 40.




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                                                                                                                                         ANSI T1.413-1995

                                                                   Table 40 - Assignment of 32 bits of R-MSGS2

                                                             mj
                                              Suffix(ces) of m                        Parameter
                                              31 -25                                  Estimated average loop attenuation
                                              24-21                                   Reserved for future use
                                              20-16                                   Performance margin with selected rate option
                                              15-12                                   Reserved for future use
                                              11 -0                                   Total number of bits supported
                                              NOTES
                                              1 All bits "reserved for future use" shall be set to 0 until defined.
                                              2 Within the separate fields the least significant bits have the lowest subscripts.


                         A total of 4 symbol periods shall be used to communicate the 32 bit message, with 8 bits
                         transmitted on each symbol. Two bits are encoded onto each of the sub-carriers numbered 6
                         through 9 using the 4QAM constellation labeling given in 6.9.3 (for the synchronization symbol)
                         and 12.4.3 (for C-REVERB1). The same two bits are also encoded in the same way onto a set of
                         backup carriers, namely, sub-carriers 10 through 13. The least significant byte of the message is
                         transmitted in the first symbol of R-MSGS2, with the two least significant bits of each byte
                         encoded onto carriers 6 and 10. In addition, the pilot, sub-carrier 16, shall be modulated with
                         (+,+). Following R-MSGS2, the ATU-R shall enter state R-CRC3.

                          12.9.2.1 Estimated average (upstream) loop attenuation

                          During channel analysis the ATU-R receiver estimates the downstream channel gain in
                          preparation for computing the SNR for each tone; it shall also calculate the average loop
                          attenuation. This attenuation, rounded to the nearest 0.5 dB, is then encoded into bits 31-25 of
                          R-MSGS2 as the integer binary representation of twice the attenuation (e.g., if the average
                          attenuation is 21.5 dB then {m31 , ... !%}= 0101011}.

                          12.9.2.2 Performance margin with selected rate option

                         The ATU-R receiver shall calculate the performance margin for each of the rates options sent
                         from the ATU-C during C-RATES1, and then select one of the options with a satisfactory margin.
                         This margin (rounded to the nearest dB) is encoded into bits 20 - 16 of R-MSGS2 using a
                                                                                                          =01001).
                         conventional binary representation (e.g., if the margin is 9 dB then {~, ... ~6} =

                          12.9.2.3 Total number of bits per symbol supported

                         The ATU-R receiver shall also calculate the maximum number of bits per symbol that the
                         downstream channel can support with a performance margin of 6 dB at an error rate of 10-7 .
                         This number is encoded into bits 11-0 using a conventional binary representation (e.g., if the
                         maximum number of bits that can be supported is 1724 (data rate = 6896 kbitls), {m 11 , ... 17b} =
                         11010111100}.

                          12.9.3 R-CRC3

                          R-CRC3 is a cyclic redundancy code for detection of errors in the reception of R-MSGS2 at the
                          ATU-C. The CRC polynomial c(D) and generator polynomial g(D} are as described in 12.6.3.
                          These bits are transmitted in 2 symbol periods using the method described in 12.9.2. Following
                          R-CRC3, the ATU-R shall enter state R-RATES2.




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                  12.9.4 R-RATES2

                  R-RATES2 is the reply to C-RATES1 based on the results of the downstream channel analysis.
                  Instead of listing the BF, BI as in C-RATES1, the ATU-R sends back only the option number of the
                  highest data rate that can be supported based on the measured SNR of the downstream channel.
                  As in C-RATES2, 4 bits are used for the option number. A total of 8 bits are used for R-RATES2,
                  and the bit patterns are shown in table 41. Other bit patterns that are not specified in the table
                  are reserved for future use. If none of the options requested during C-RATES1 can be
                  implemented, ATU-R then returns to R-ACT-REO for retraining. One symbol period is used to
                  transmit these 8 bits using the method described in 12.9.2. Following R-RATES2, the ATU-R
                  shall enter state R-CAC4.

                                                                   Table 41 - Bit pattern for R-RATES2

             Downstream                                                           Bit pattern for R-RATES2 (MSB first) (note 1)
             option 1                                                             00010001
             option 2                                                             00100010
             option 3                                                             01000100
             option 4                                                             10001000
             all options fail (note 2)                                            00000000
              NOTES
             1 All other bit patterns that are not shown are reserved for future use.
             2 If it is determined that none of the four options can be implemented with the connection, the ATU-R shall return
             to R-ACT-REQ for retraining.

                  12.9.5 R-CRC4

                  A-CRC4 is a cyclic redundancy code for detection of errors in the reception of R-AATES2 at the
                  ATU-C. Its relation to R-RATES2 is the same as that of A-CRC3 to A-MSGS2. Following R-
                  CAC4, the ATU-A shall enter state A-REVEAB5.

                  12.9.6 R-REVERBS

                  A-REVERB5 is the same as R-AEVEAB3 (see 12.7.2). The duration of A-AEVEAB5 depends
                  upon the state of the ATU-C and the internal processing of the ATU-A, but has a maximum of
                  4000 symbols. The ATU-R shall transmit A-AEVEAB5 until it has received and checked the
                  reliability of the upstream bits and gains information contained in C-B&G. After the ATU-R has
                  received C-CAC5, it shall continue to transmit A-REVERB5 for another 64 symbols. It shall then
                  enter A-SEGUE4. If it has not successfully detected all the control signals within 4000 symbols it
                  shall timeout and reset to A-ACT -AEO.

                  12.9.7 R-SEGUE4

                  The purpose of A-SEGUE4 is to notify the ATU-C that the ATU-R is about to enter R-B&G. A-
                  SEGUE4 is the same as R-SEGUE3 (see 12.9.1). The duration of A-SEGUE4 is 10 symbol
                  periods. Following A-SEGUE4 the ATU-R enters state R-B&G.

                  12.9.8 R-B&G

                  The purpose of R-B&G is to transmit to the ATU-C the bits and gains information, {btl gt. b2• g2'
                  ..... b255 • g255}' to be used on the downstream sub-carriers. b; indicates the number of bits to be
                  coded by the ATU-C transmitter onto the Ilh downstream sub-carrier g; indicates the scale factor
                  that shall be applied to the ith downstream sub-carrier, relative to the gain that was used for that
                  carrier during the transmission of C-MEDLEY. Because no bits or energy will be transmitted at
                  DC or one-half the sampling rate, b o' go. b256 • and g256 are all presumed to be zero, and are not
                  transmitted.




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                           Each b j is represented as an unsigned 4-bit integer, with valid b j lying in the range of zero to
                           Ndownmax. the maximum number of bits that the ATU-C is prepared to modulate onto any sub-
                           carrier, which is communicated in C-MSGS1.

                           Each gj is represented as an unsigned 12-bit fixed-point quantity, with the binary point assumed
                           just to the right of the third most significant bit. For example, a gj with binary representation
                           (most significant bit listed first) 0100 0000 0000 would instruct the ATU-C to scale the
                           constellation for carrier i by a gain factor of 2, so that the power in that carrier shall be S dB higher
                           than it was during C-MEDLEY.

                           For sub-carriers where no data are transmitted and the receiver will never allocate bits (e.g., out-
                           of-band channels), both b j and gj will be set to zero (0000 and 00000000 000, respectively). For
                           sub-carriers where no data are currently to be transmitted, but the receiver may allocate bits later
                           (e.g., as a result of an SNR improvement), the b j will be set to zero (0000) and the gj to 1
                           (00100000 0000)

                           A total of 510 bytes of bits and gains information is to be transmitted during R-B&G, so that a total
                           of 510 symbol periods is required. The transmission format is the same as described in 12.9.2.
                           Following R-B&G the ATU-R shall enter state R-CRC5.

                           12.9.9 R-CRCS

                           R-CRC5 is a cyclic redundancy code for detection of errors in the reception of R-B&G at the ATU-
                           C. Its relation to R-B&G is the same as that of R-CRC3 to R-MSGS2. Following R-CRC5, the
                           ATU-R shall enter state R-REVERBS.

                           12.9.10 R-REVERB6

                           R-REVERBS is the same as R-REVERB3 (see 12.7.2). The duration of R-REVERBS depends
                           upon the state of the ATU-C and the internal processing of the ATU-R, but has a maximum of
                           4000 symbols. The ATU-R shall transmit R-REVERBS until it has detected all ten symbols of C-
                           SEGUE3; it shall then enter R-SEGUE5. If it has not successfully detected C-SEGUE3 within
                           4000 symbols it shall timeout and reset to R-ACT-REQ.

                           12.9.11 R-SEGUES

                           The purpose of R-SEGUE5 is to notify the ATU-C that the ATU-R is about to enter the steady-
                           state state R-SHOWTIME. R-SEGUE5 is identical to R-SEGUE3 (see 12.9.1). The duration of
                           R-SEGUE5 is 10 symbol periods. Following R-SEGUE5 the ATU-R has completed initialization
                           and shall enter state R-SHOWTIME.




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                 13              On-line adaptation and reconfiguration

                 13.1            The ADSL overhead control (aoc) channel

                 As stated in 6.2 and 7.2, when any bearer data streams appear in the interleave buffer, then the
                 aoc channel data is carried in the LEX byte, and the "synch" byte shall designate when the LEX
                 byte contains aoc channel data and when it contains a data byte from the bearer data streams.
                                                                                                            =0 and
                 When no bearer data streams are allocated to the interleave data buffer (Le., all BI (ASX) =
                 all BI (LSX) = 0 for the downstream case or all BI (LSX) = 0 for the upstream case, respectively),
                 then the "synch" byte carries the aoc channel data directly, because the LEX byte does not exist
                 in the interleave buffer in this case.

                 13.1.1 aoc message header

                 The type and length of an aoc message is determined by a byte-length header. In particular, the
                 aoc channel sends all binary zeros in the idle mode, and a valid aoc message always begins with
                 a non-zero byte. Table 42 summarizes the current valid aoc message headers. For example, in
                 the case of a bit swap, the aoc header "11111111" will be detected, and the next byte of aoc data
                 shall determine whether the message is a bit swap request or a bit swap acknowledge (see 13.2).
                 In the case when a standardized function, such as a bit swap, is requested but cannot be
                 performed by either the ATU-C or the ATU-R for whatever the reason, an unable to comply
                 message ("11110000") is issued. Future aoc headers can be added when new aoc
                 messages/functions are identified. Also, a block of aoc header values ("11 OOxxxx") is set aside
                 for vendor specific aoc messages.

                                                                       Table 42 - aoc message headers

                                                             Value          Interpretation
                                                             00000000       Idle mode
                                                             00001111       ReconfiQuration
                                                                            Reconfiguration commands
                                                             1100xxxx       Reserved for vendor specific
                                                                            commands
                                                             11110000       Unable to comply
                                                             11111100       Extended bit swap request
                                                             11111111       Bit swap commands

                 13.1.2 aoc protocol

                 All aoc messages are transmitted 5 consecutive times for extra security. A transceiver unit shall
                 only act on an aoc message if it has received three identical messages in a time period spanning
                 5 of that particular message. When a receiving unit detects an unrecognizable command, no
                 action shall be taken by the receiving unit. The transmitting unit (the originating unit of the aoc
                 command) is responsible for any time outs and/or local recovery schemes, when no
                 acknowledgment to its request has been detected over a reasonable period of time. Individual
                 vendors of ADSL transceivers may implement any recovery scheme(s) of their choice.

                 13.2            High-level on-line adaptation - Bit swapping

                 Bit swapping enables an ADSL system to change the number of bits assigned to a subcarrier, or
                 change the transmit energy of a subcarrier without interrupting data flow.

                 Either ATU may initiate a bit swap; the swapping procedures in the upstream and downstream
                 channels are independent, and may take place simultaneously.




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                                                                                                                                            ANSI T1.413-1995

                         13.2.1 Bit swap channel

                         The bit swap process uses the aoc channel, described in 13.1. All bit swap messages shall be
                         repeated five consecutive times over this channel.

                         13.2.2 Superframe counting

                         The transceivers coordinate the bit swaps as follows:

                                         - The ATU-C and ATU-R transmitters shall start their counters immediately after
                                         transmitting C-SEGUE3 and R-SEGUES, respectively; this marks the transition between
                                         initialization and steady state operation;
                                         - Each transmitter shall increment its counter after sending each ADSL superframe (see
                                         6.2);
                                         - Correspondingly, each receiver shall start its counter immediately after receiving C-
                                         SEGUE3 or R-SEGUES, respectively, and then increment it after receiving each
                                         superframe.

                         Synchronization of the corresponding transmitter and receiver superframe counters is maintained
                         using the synch symbol in the ADSL frame structure. Any form of restart that requires a transition
                         from initialization to steady state shall reset the superframe counter.

                         13.2.3 Bit swap request


                            Message                    Message field 1        Message field 2        Message field 3        Message field 4
                             header                         (16 bits)              (16 bits)              (16 bits)              (16 bits)
                            11111111                                                   ~ubchanne
                                                                                       Subchanne Command Subchannel Command Subchann
                                                    Command Subchannel Command rUbchanne
                             (8 bits)                (8 bits)        index  (8 bits)        index  (8 bits)        index  (8 bits)        index
                                                                    (8bits)                (8bits)                (8bits)                (8bits)

                                                                   Figure 35 - Format of the bit swap request message

                         The receiver shall initiate a bit swap by sending a bit swap request back to the transmitter via the
                         aoc channel. This request tells the transmitter what subcarriers are to be modified. Figure 3S
                         illustrates the format of the bit swap request message, which contains the following:

                                          - an aoc message header consisting of 8 binary ones;

                                         - message fields 1 - 4, each of which each consists of an eight bit command followed by
                                         a related eight-bit subchannel index. Valid eight-bit commands for the bit swap message
                                         shall be as shown in table 43. The eight-bit subchannel index is counted from low to high
                                         frequencies with the lowest frequency subcarrier having the number zero.

                                                                         Table 43 - Bit swap request commands

                                                  Value                 Interpretation

                                                  00000000              Do nothing
                                                                            nothino
                                                  00000001              Increase the allocated number of bits by one.
                                                  00000010              Decrease the allocated number of bits by one.
                                                  00000011                                            b~ the factor + 1 dB
                                                                        ChanQe the transmitted power by
                                                                        Change
                                                  00000100              Change the transmitted power by the factor +2 dB
                                                  00000101              Change
                                                                        Chanoe the transmitted power by
                                                                        ChanQe                        bv the factor +3 dB
                                                  00000110              Change the transmitted power by the factor -1 dB
                                                                        ChanQe
                                                  00000111              Chanoe the transmitted power by
                                                                        Change
                                                                        ChanQe                        ~ the factor -2 dB
                                                  00001 xxx             Reserved for vendor specific commands




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                  The bit swap request message (Le., header and message fields) is transmitted five consecutive
                  times.

                  13.2.4 Extended bit swap request

                  Because a single-bit sub-carrier is not allowed, an extended bit swap request containing 6 fields
                  shall be used when decreasing the number of bits on a sub-carrier from 2 to 0, or when
                  increasing the number of bits on a sub-carrier from 0 to 2. The format of this extended bit swap
                  request is similar to that of the bit swap request (13.2.3), but the number of message fields is
                  increased to 6, and, as shown in table 44, the message header is 11111100.

                                                                       Table 44 - Extended bit swap request

                          Message                   Message          Message      Message     Message            Message             Message
                          Header                    Field #1         Field #2     Field #3    Field #4           Field #5            Field #6
                          (8 bits)                  (16 bits)        (16 bits)    (16 bits)   (16 bits)          (16 bits)           (16 bits)
                          11111100                            I           I              I           I                   I                   I

                  The extended bit swap request is transmitted 5 consecutive times

                  13.2.5 Bit swap acknowledge


                                          Message header                      Command                 Bit swap superframe
                                          (8 bits)                            (8 bits)                counter number
                                          11111111                            11111111                (8 bits)


                                                               Figure 36 - Format of the bit swap acknowledge

                  The transmitter shall act on a bit swap request when it has received three identical bit swap
                  request messages. The transmitter shall then send a bit swap acknowledge. Figure 36 shows
                  the format of the bit swap acknowledge message, which contains the following:

                           -     an aoc message header containing 8 binary ones;

                          - one message field that consists of eight binary ones followed by the eight bit superframe
                          counter number, which indicates when the bit swap is to take place. In particular, the new bit
                          and/or transmit energy table{s) shall take effect starting from the first frame (frame 0) of an
                          ADSL superframe, after the specified superframe counter number has been reached. In
                          other words, if the bit swap superframe counter number contained in the bit swap
                          acknowledge message is n, then the new table(s) shall take effect starting from frame 0 of the
                          (n+
                          {n+ 1)th ADSL superframe.

                  The bit swap acknowledge is transmitted five consecutive times.

                  13.2.6 Bit swap - Receiver

                  The receiver shall act on a bit swap request when it has received three identical bit swap
                  acknowledge messages. The receiver shall then wait until the superframe counter equals the
                  value specified in the bit swap acknowledge. Then, beginning with frame 0 of the next ADSL
                  superframe the receiver shall

                          - change the bit assignment of the appropriate subcarriers, and perform tone re-ordering
                          based on the new sub-carrier bit assignment;

                          - update applicable receiver parameters of the appropriate subcarriers to account for a
                          change in their transmitted energy



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                                                                                                                               ANSI T1.413-1995
                        13.2.7 Bit swap - Transmitter

                        After transmitting the bit swap acknowledge, the transmitter shall wait until the superframe
                        counter equals the value specified in the bit swap acknowledge. Then, beginning with frame 0 of
                        the next ADSL superframe, the transmitter shall

                                        - change the bit assignment of the appropriate subcarriers, and perform tone re-ordering
                                        based on the new sub-carrier bit assignment;

                                        - change the transmit energy in the appropriate subcarriers by the desired factor.

                        13.3            Changes to data rates and reconfiguration

                        Specification of changes to data rates and reconfiguration on demand is for further study.


                        14              Signaling requirements
                        ADSL supports both simplex and duplex bearer channels in a variety of configurations (see 5.1).

                        Bearer service is defined as the CI to CI service (e.g., 1.536 MbiVs unrestricted digital
                        information) that is selected and is carried over a particular bearer channel on an ADSL system.
                        ADSL bearer channels may support a variety of bearer services.

                        Two methods of signaling protocols for controlling bearer service are recognized for ADSL:

                                        - In-band signaling: This is defined as a signaling protocol controlling a bearer service
                                        carried over an ADSL bearer channel, where the signaling protocol is within the same
                                        ADSL bearer channel as the bearer service. For example, a data protocol stack, such as
                                        TCP/IP or OSI, may employ network layer and higher layer signaling protocols within a
                                        bearer service transported over ADSL. In-band signaling protocols are carried
                                        transparently, and are neither affected nor interpreted by the ADSL system;

                                        - Out-of-band signaling: This is defined as a signaling protocol controlling a bearer .
                                        service carried over an ADSL bearer channel, where the signaling protocol is carried in a
                                        different ADSL bearer channel than the bearer service. In this case, the ADSL C channel
                                        shall be used to carry the signaling protocol.

                        When the LS1 duplex channel is used to carry an ISDN BRA (2B+D+overhead) payload, the
                        ISDN BRA multiplex is carried transparently. For the ISDN bearer services carried on the BRA,
                        the signaling is within the BRA 0 channel and is neither affected nor interpreted by the ADSL
                        system.




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                   15              Loop plant, impairments, and testing

                   The methods in this clause test ADSL system transmission performance. These laboratory
                   methods evaluate a system's ability to minimize digital bit errors caused by interference from:

                                    -    crosstalk coupling from other systems;
                                    -    background noise;
                                    -    impulse noise;
                                    -    POTS signaling.

                   These potential sources of impairment are simulated in a laboratory set-up that includes test
                   loops, test sets, and interference injection equipment, as well as the test system itself. Figure 37
                   shows the general arrangement for testing.



                                                          ATU.c                                                                ATU-R


                                                                                   Test loop
                        BERtest set                                                                                                                   BERtest set




                                                                                               Interferenre
                                                                                               injection

                                        CO line 1 ------1
                                                1-----......1                                                                                 Telephone
                                        cirwit                                                                                                Set

                                                                   Figure 37 - Overview of test setup

                   The crosstalk and impulse noise interfering signals are simulations that are derived from a
                   consideration of real loop conditions and measurements. The test procedure is to inject the
                   interference into the test loops and measure the effect on system performance by a bit error test
                   simultaneously run on the system information channels.

                   For crosstalk an initial, or reference, power level for the interference represents the expected
                   worst case. If the interference power can be increased without exceeding a specified error
                   threshold, the system has a positive performance margin. Performance margin, expressed in dB,
                   is the difference between the interference level at which the error threshold is reached, and the
                   reference (or 0 dB) level.

                   The specified error threshold with crosstalk interference is a BER of 10-7 ; the minimum
                   performance margin is 6 dB.

                   In the case of impulse noise, an increasing interference level is similarly applied up to the error
                   threshold, and the estimated performance is computed from this information. Because the
                   impulse noise characteristics of the loop plant are not completely understood, the estimation
                   method is based on measured data from several sites. The estimated number of error-causing
                   impulses is compared to a 0.14 % errored-seconds (ES) criterion. The test procedure makes
                   separate determinations of crosstalk margins and impulse error thresholds, although a
                   background crosstalk interference is applied during impulse tests.

                   The digital channel BER measurement shall be made while including impairments such as POTS
                   signaling interference and crosstalk from other telephone lines. Tests shall be performed using
                   signaling and alerting activities done with an electro-mechanical telephone set and either CO
                   lines or a CO simulator.




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                                                                                                                                     ANSI T1.413-1995

                         15.1            Test loops

                         ADSL transmission at 1.536 Mbitls is assessed in terms of performance against an objective of
                         coverage over all copper loops without load coils conforming to Revised Resistance Design
                         (RRD) rules as defined in Bellcore SR-TSV-002275. For test purposes, the RRD loops are
                         represented by loops 7,9 and 13 specified in 4.5.1 and figure 8 of ANSI T1.601. The primary
                         cable constants are listed in tables G1 - G8 of ANSI T1.601. An additional loop (Loop #0) with a
                         length of less than 10 feet is added to the T1.601 test loops.

                         ADSL transmission at 6.144 Mbitls is assessed in terms of performance against an objective of
                         coverage over loops that conform to Carrier Serving Area (CSA) design rules (a subset of RRD
                         loops). For testing purposes, the CSA loops are represented by loops 4, 6, 7, and 8 shown in
                         figures 13 and 14 of Committee T1 Technical Report No. 28.

                         For 10 or 24 disturber NEXT interference from T1 lines in adjacent binder groups, ADSL
                         transmission is assessed with a mid-CSA loop.

                         The ADSL control channel and other duplex channels are evaluated with all test loops.

                         For convenience the configurations of the test loops are shown in figure 38, and their attenuation
                         characteristics are given in annex E.

                         Table 45 describes a classification that ties together transport payload and loop range based on
                         whether certain options available for the ATU transceivers are used. Category I (basic) describes
                         loop ranges and transport payloads using basic transceivers with no options required. Category II
                         (enhanced) describes loop ranges and transport payloads using options for trellis coding, transmit
                         power boost, and echo cancellation.

                                                                   Table 45 - ATU classification by category

                           Characteristics                                      Category I                       Category II
                                                                             (basic)                             (optional)
                           Performance (see note 1)                      see note 2                            see note 2
                           Trellis option                                off                                   on required
                           EC/FDM                                        optional                              EC
                           Power boost                                   off                                   required capable

                                   NOTES
                                   1 Performance is defined as loop reach shown as a function of bit rate in table 46 and crosstalk as
                                   shown in tables 47-52.
                                   2 The specific combinations of loops and rates shown in table 46, and crosstalk shown in tables 47 -
                                   52 shall be tested for either category I or category II ATUs, as indicated.

                                       Table 46 - Loop sets and maximum rates for category I and category II testing

                                           Loop sets                         ATU                Maximum rate (kbitls)
                                                                           category          Simplex          Duplex
                                           T1.601 (7,13)                       I              1544           16 + 160
                                           CSA (4,6,7), Mid-CSA                I              6144           64 + 160
                                           T1.601 (7,9 13)
                                                  (7,9,13)                     II             1544           16 + 160
                                           CSA (4,6,8), Mid-CSA                II             6144           64 + 576




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                                                                                                13500'
                    T1.601 Loop #7                      ~ AlU-e ~                               26AWG
                                                                                                                                            ~ AlU-R
                                                                              1500'                           1500'                             1500'
                                                                            26AWG                           26AWG                               26AWG

                                                                          3000'                  6000'                           1500'
                   T1.601 Loop #9                                                                                                                 AlU-R
                                                                          26AWG                 26AWG                          26AWG




                                                                                  9000'          2000'
                                                                                                               '!~
                                                                                                               ~!~
                 T1.601 Loop #13                       I AlU-e ~              26AWG
                                                                                          0
                                                                                                24AWG                      24           24
                                                                                                                                                  AlU-R

                                                                                                                          AING         AWG




                                                                                                                               ~
                                                                                                                               1~,
                                                                              400'                                   800'




                     CSA Loop #4
                                                            AlU-e
                                                                    ~ 26AWG
                                                                            26AWG

                                                                          550'
                                                                                      11        6250'

                                                                                                26AWG
                                                                                                                  26AWG



                                                                                                                                 26AWG
                                                                                                                                             ~ AlU-R

                                                                                                9000'
                     CSA Loop #6
                                                            AlU-e   t-o                         26AWG
                                                                                                                                             ~ AlU-R
                                                                                                 10700 '                            ~'&
                                                                                                                                    800'
                                                                                                                                 24AWG  &
                     CSA Loop #7                            AlU-e   ~                           24AWG
                                                                                                                                                   AlU-R


                                                                                                12000'
                     CSA Loop #8
                                                            AlU-e   ~                           24AWG
                                                                                                                                             ~ AlU-R
                                                                                                 6000'
                     mid-CSA Loop                          AlU-e    ~                           26AWG
                                                                                                                                            ~ AlU-R
                                                                                                 < 10'
                     CSA Loop #0                           AlU-e    ~                           26AWG
                                                                                                                                            ~ AlU-R
                     NOTES

                     1     AWG = = American Wire Gauge.
                     2     Distances are in feet (') : 100'

                                                                          Figure 38 - Test loops




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                                                                                                                                ANSI T1.413-1995

                          15.2            Impairments and their simulation in testing

                          15.2.1 Crosstalk

                          Crosstalk spectral compatibility is tested using simulations of the interference caused by coupling
                          from other transmission systems sharing the same cable. Four combinations of white noise and
                          NEXT from the following systems are used:

                                           -    DSL;
                                           -    HDSL;
                                           -    ADSL;
                                           -    T1 line (adjacent binder group).

                          For each of these the Power Spectral Density (PSD) of the transmitted signal and of the induced
                          crosstalk is calculated for the appropriate number of disturbers and crosstalk model. The detailed
                          analysis of the PSD and the model are provided in annex B.

                          The interferers used for the tests are

                                           - 10 or 24 disturber DSL NEXT;

                                           - 10 or 20 disturber HDSL NEXT;

                                           - 10 or 24 disturber ADSL NEXT and FEXT;

                                           - 4, 10 or 24 disturber T1 NEXT (adjacent binder group).

                          The resulting noise power spectra for these interferers are shown in annex B, where the
                          derivation of the spectrum is described for each of these sources.

                          15.2.2 Impulse noise

                          There are two impulse waveforms defined for testing. These are reconstructions of actual
                          recorded impulses observed in field tests, and represent the single most likely waveforms at
                          specific sites. These waveforms are shown in figures 39 and 40 as approximations only. The two
                          impulse waveforms for testing purposes are described in annex C with the amplitudes specified at
                          160 nanosecond intervals.




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                              20




                              10
                   A
                   m
                   p
                   I
                                0                                                                   """,I'
                    u
                  d
                  e
                (mV) -10




                            - 20


                                        0.125                      0.130      0.135         0.140       0.145               0.150
                                                                                Time (msec)

                                                                   Figure 39 - Test impulse #1




                             40 -


                   A         20 -
                   m



                                                                           ~-v--
                   p
                   I



                                        IV~
                                o0 -
                    u
                  d
                  e  -_ 20
                        20 -
                (mV)


                            - 40 -

                                             I                       I          I             I             I                  I
                                         0.125                 0.130          0.135         0.140        0.145              0.150
                                                                              Time (msec)

                                                                   Figure 40 - Test impulse #2




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                                                                                                                                      ANSI T1.413-1995

                         15.3            Test procedures

                         15.3.1 Test setup

                         Figure 41 shows the test setup for measuring performance margins on ADSL systems. The test
                         system consists of a central office transceiver (ATU-C), a remote end transceiver (ATU-R), and
                         associated POTS splitters. The two transceivers are connected together by the test loop.
                         Calibrated simulated crosstalk is injected through a high impedance network across the tip and
                         ring of the loop at the input of one of the transceivers. Impulse noise from a waveform generator
                         is similarly injected. Crosstalk and impulses are injected at the ATU-R for simplex channel tests,
                         and at both the ATU-C and ATU-R for duplex channel tests.

                         Pseudo-random binary data from the transmitter of the bit error ratio (SER) test set is presented
                         at the simplex channel input of the ATU-C, and the received clock and data outputs from the
                         ATU-R are connected to the receiver of the same or a similar BER test set. The test set
                         measures for BER or errored-seconds (ES), as needed. Similar error testing is done in both
                         directions for the duplex channels at the rates needed for the particular system under test.

                          A telephone set is connected to the telephone jack of the splitter at the ATU-R end, and a working
                          telephone line circuit is connected to the telephone jack on the splitter at the ATU-C end.


                             Simplex                                                                                                              Simplex
                             channel                         ATU-C                                                        ATU-R                   channel
                             error test                                                                                                           error test
                                                                             Test loop
                          (Illustrative error                        Splitterl-------...~
                                                                                        ~                     Splitter
                          test arran ement)
                              Duplex                                                                                                              Duplex
                              channels                                                                                                            channels
                              error test                                                                                                          error test




                                           CO line                                                                                       POTS
                                           circuit                                                                                       Set
                                                                                                     attenuator



                                                                                             Impulse
                                                                            Crosstalk        waveform
                                                                            or Noise          enerator

                                          Figure 41 - Laboratory test setup for measuring performance margins

                          15.3.1.1                        Crosstalk noise injection

                          Simulated crosstalk, XT (NEXT and/or FEXT) is introduced into the test loop at the ATU-R so as
                          to achieve the appropriate voltage level without disturbing the impedance of the test loop or the
                          transceiver. This is done with a balanced series feed of high impedance. One method for both
                          test and calibration is shown in figure 42. The Thevenin impedance of all noise-coupling circuits
                          connected to the test loop shall be greater than 4000 ohms.

                          The simulated XT should ideally have the power and spectral density defined by the equations for
                          PNEXT or PFEXT in annex B. It is acknowledged, however, that if the method of generating the
                          simulated XT is similar to that shown in figure 42, then its accuracy will depend on the design of
                          the filter used to shape the white noise. Therefore a calculated XT PSD may be defined for which
                          a tolerance on to of +2 % is allowed at each null. Then the accuracy of the simulated XT shall be


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                within +1 dB of the calculated XT for all frequencies at which the calculated value is less than 45
                dB below the peak value. The total power of the simulated XT shall be within +0.5 dB of the
                specified value using the same calibration termination.

                The crest factor of the simulated XT shall be equal to or greater than 5.

                The simulated XT PSD shall be verified using the calibration termination shown in figure 42 and a
                selective voltmeter or true RMS meter with a bandwidth of approximately 3 kHz. For DSL and
                HDSL crosstalk the circuit shall be calibrated for 1.3 dB less crosstalk than specified in annex B,
                in order to compensate for the use of 100 ohm terminations instead of 135 ohms.

                                                                                        high impedance coupling circuit
                                                                                     <•....................
                                                                                      •••••••••••••••••••.•>
                                         bandwidth                  attenuator



                                     tt 0
                               12kHz-2MHz
                 ,....-_ _---,12kHz-2MHz


                 L......IO==~ n II ~
                 .------.<l5dBm    ~t
                                   ~
                 ,....------, < 15 dBm
                                          <15 dBm
                                          75         unbal          Oto 120 dB
                                                                                                                                         tip
                                                                                                                                            ....,        To
                                                                                                                                                         test
                                                                    0.5 dB steps                                                          ring           loop
                                                                                       75 n unbaI
                                                                                            unhal                       5.1 kn
                                                                                   -=- 1800 n hal
                                                                                                                                               2=11.2 k n


                                                                                   c.t;b<ation   _in"'.."I~:
                                                                                   00""", iM"", of " "


                                                Figure 42 - High impedance crosstalk injection circuit

                The characteristics of the white noise generator in figure 42 are crucial to the accuracy of the
                tests; consideration should be given to the following factors:

                                - The probability distribution of the peak amplitude: The noise shall be Gaussian within
                                all frequency bands;

                                - Crest factor: This is an indication of the number of standard deviations to which the
                                noise follows a Gaussian distribution; the required minimum is for further study, but is
                                provisionally set at 5;

                                - The frequency spectrum: If the noise is generated using digital methods the sequence
                                repetition rate will affect the correlation of the samples, and hence the frequency
                                spectrum.

                 15.3.1.2 Impulse noise injection

                The same coupling circuit as is used in 15.3.1.1 is used for impulse noise injection. The amplitude
                level of the impulses may be measured with an oscilloscope.

                 15.3.1.3 Error testing

                The error test set(s) shall be capable of testing at all channel rates available in the test system
                (see clause 5). A test pattern of length 223 _1 shall be used.




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                          15.3.2 Test conditions

                          15.3.2.1 Crosstalk interference

                          Tables 47 and 48 show the combinations of test loops, numbers of interferers, and data rates to
                          be tested for category I and category II ATUs, respectively.

                                                                           Table 47 - Crosstalk tests for category I

                           Test loops                       Maximum          Maximum      Margin                          Crosstalk (note
                                                            simplex          duplex       (dB)          ADSL            HDSL           DSL            T1 NEXT
                                                            rate             rate                       NEXT            NEXT           NEXT           adj.
                                                            (Mbitls)         (kbitls)                   and                                           binder
                                                                                                        FEXT
                            T1.601 (7,13)       1.544        16 + 160            6         -                  -
                                                                                                              24          -  -                                -
                            GSA 4              6.144         64 + 160            6        24          -       24          -  -                                -
                            GSA 6              6.144         64 + 160            6         -         20       --          -
                            GSA~7
                            GSA  [7            6.144         64 + 160            6         10         -       10          -                                   -
                            Mid-GSA loop       6.144         64 + 160            3         -          -        -         10                 -
                            NOTE - The indicated interferers for each test are summed together with AWGN with PSD of - 140
                            dBm/Hz to form a composite power spectral density.


                                                                           Table 48 - Crosstalk tests for category II

                            Test loops                      Maximum           Maximum     Margin                         Crosstalk (note 1)
                                                            simplex           duplex      (dB)           ADSL           HDSL     DSL      T1 NEXT
                                                            rate              rate                       NEXT           NEXT     NEXT     adj.
                                                            (Mbitls)          (kbitls)                   and                              binder
                                                                                                         FEXT
                            T1.601                                 1.544       16 + 160        6            -                -             24                 -
                            (7,9,13)
                            CSA (4,6,8)                            6.144       64+ 576         6             10             10             24                 -
                            CSA (6)                                6.144       64+ 576         0              -              -              -          4 (note 2)
                            Mid-CSA loop                           6.144       64+ 576         6              -              -             10              24
                            NOTES
                            1 The indicated interferers for each test are summed together with AWGN with PSD of -140 dBm/Hz to
                            form a composite power spectral density.
                            2 In this case the higher transmit power option may be used.

                          15.3.2_2                        Impulse test

                          Tables 49 and 50 show the combinations of test loops, interferers, and data rates to be tested.




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                              Table 49 - Test loops, interferers, and data rates for impulse tests for category I

                             Test loops                            Duplex rate   Simplex rate                           Interferers
                                                                    (Mbitls)       (kbitls)            Impulse            Impulse crosstalk
                                                                                                             1               2      (note)
                T1.601 (7,13)                                         1.544        16 + 160                  Y               Y        Y
                CSA (4,6,7)                                           6.144        64 + 160                  Y               Y
                                                                                                                             Y        Y
                Mid~CSA (6 kft)                                       6.144        64 + 160                  Y               Y        Y

                NOTE - The type of crosstalk interierence applicable for each test is taken from the corresponding test in
                tabl~ 47. The total power of the applied interierence shall be fixed at 4 dB below the reference level.

                        ..



                             Table 50 - Test loops, interferers, and data rates for impulse tests for category II

                             Test loops                            Duplex rate   Simplex rate                           Interferers
                                                                    (Mbitls)       (kbitls)            Impulse           Impulse crosstalk
                                                                                                             1               2      (note)
                        (7,9,13)
                T1.601 (7,9
                T1.60117,913}13)                                      1.544        16 + 160                  Y               Y          Y
                CSA(4,68}
                CSA (4,6,8)
                     (4,6 8)                                          6.144        64 + 576                  y               Y
                                                                                                                             Y        '1Y
                                                                                                                                        Y
                Mid-CSA (6 kft)                                       6.144        64+ 576                   y
                                                                                                             Y               Y
                                                                                                                             Y          Y
                                                                                                                                        Y
                NOTE - The type of crosstalk interierence applicable for each test is taken from the corresponding test in
                table 48. The total power of the applied interierence shall be fixed at 4 dB below the reference level.




                 15.3.2.3 POTS

                The interference due to POTS service on the same line is generated by use of actual telephones
                and central office circuits connected in the normal way to the system under test. The following
                POTS signaling and alerting activities shall be performed:

                                  - call phone at ATU-R and allow to ring 25 times;

                                  - pick up ringing phone at ATU-R, 25 times;

                                  - perform off-hook and on-hook activity on phone at ATU-R, 25 times;

                                  - perform pulse and tone dialing.

                 Tables 51 and 52 show the combinations of test loops, interferers, and data rates to be tested for
                 categories I and II.




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                                           Table 51 - Test loops, interferers, and data rates for POTS tests category I

                                Test loops                            Maximum        Maximum                      Interferers
                                                                   simplex rate    duplex rate        POTS signaling
                                                                                                           sianalina Crosstalk (note)
                            ANSI (7,13)                            1.544 MbiVs     16 + 160                       Y                               Y
                                                                                   kbiVs
                            GSA (4,6,7)                            6.144 MbiVs     64 + 160                       Y                               Y
                                                                                   kbiVs
                             Mid-GSA loop                          6.144 MbiVs     64 + 160                       Y                               Y
                                                                                   kbiVs
                             NOTE - The type of crosstalk interference applicable for each test is taken from the corresponding test
                             in table 46. The total power of the applied interference shall be fixed 4 dB below the reference or 0 dB
                             margin level.

                                           Table 52 - Test loops, interferers, and data rates for POTS tests category II

                                Test loops                            Maximum        Maximum                      Interferers
                                                                    simplex rate    duplex rate            sianalina Crosstalk (note)
                                                                                                      POTS signaling
                             ANSI (7,9,13)                         1.544 MbiVs     16 + 160                       Y                               Y
                                                                                   kbiVs
                             GSA (4,6,8)                           6.144 MbiVs     64 + 576                       y                               Y
                                                                                   kbiVs
                             CSA (6)                               6.144 MbiVs     64 + 576                       y                               Y
                                                                                   kbiVs
                             Mid-CSA loop                          6.144 MbiVs     64+ 576                        y                               Y
                                                                                   kbiVs
                             NOTE - The type of crosstalk interference applicable for each test is taken from the corresponding test
                             in table 48. The total power of the applied interference shall be at a fixed level of 4 dB down from the
                             reference or 0 dB margin level.

                          15.3.3 Test methods

                          With the test set-up as shown in figure 42, the test combinations described in 15.3.2 shall be
                          tested as follows:

                          15.3.3.1 Crosstalk

                          Before testing, the ADSL units are trained with the crosstalk interference specified in 15.2.2 and
                          15.3.2.1 present. The simulated crosstalk power is injected at the appropriate reference level.
                          The power levels given in 15.2.1 for each type of crosstalk are considered the 0 dB margin for
                          that type and number of disturbers. For example, the 0 dB margin level for 24-disturber DSL
                          crosstalk was -52.6 dBm. Margin measurements are made by changing, in whole dB steps, the
                          power level of the crosstalk injected at the transceiver and monitoring the BER over the test
                          loops. A tested system has positive margin for a given type of crosstalk on a given loop if the
                          system was able to operate at a BER :s; 1E-7 with injected crosstalk power greater than the 0 dB
                          margin level.

                          The criteria for margin level determination shall include a check that the ADSL unit can train at
                          the margin level.

                          The minimum testing times to determine BERs with 95% confidence are shown in table 53.




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                                                                   Table 53 - Minimum test time for crosstalk

                                           Bit rate                                       Minimum test time
                                           above 6 Mbitls                                 100 seconds
                                           1.544 Mbitls to 6 Mbitls                       500 seconds
                                           less than 1.544                                20 minutes

                 15.3.3.2 Impulse noise

                 Before testing, the ADSL units are trained with the crosstalk interference specified in 15.3.2.2
                 present. The test procedure consists of injecting the selected impulse waveform at varying
                 amplitude levels and random phase. At each level the impulse is applied 15 times with a spacing
                 of at least one second while an error measurement is made on the ADSL channels. The
                 amplitude (ue) in millivolts at which half the impulses cause an error is determined for each
                 waveform

                 Using the above amplitude determinations, the following equation gives the estimated probability
                 that a second will be errored:

                 E = 0.0037 P(u>ue 1) + 0.0208 P(u>ue2)

                                   25                                     for 5 mV~ U ~40 mV
                                = -2-
                 where: p(u>ue) =     ,                                                   e
                                                        ue

                                  p(u>U )         = 0.625 ,               for Ue> 40 mV
                                       e                  u
                                                              e
                                  ue1 refers to waveform 1
                                  ue2 refers to waveform 2

                 The resulting value shall be less than the es criterion of 0.14%.

                 15.3.3.3 POTS interference

                 Before testing, the ADSL units are trained with the crosstalk interference specified in 15.3.2.3
                 present. Signaling disturbances are created through use of the CO line connected to the splitter
                 at the ATU-C, and the telephone set connected to the telephone jack of the splitter at the ATU-R.
                 During these activities, monitor the ADSL channels while noting any test conditions that cause
                 errored seconds.




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                          16              Physical characteristics

                          16.1            Wiring polarity integrity

                          ADSL operation shall be independent of the polarity of the pair of wires connecting the ATU-C and
                          ATU-R.

                          16.2            Connector

                          For single mountings, the connection of the POTS splitter to the existing CI wiring interface shall
                          be as specified in table 54 and shown in figure 43 using an a-pin plug and jack (RJ31X) equipped
                          with shorting bars. In this configuration the cord connecting the POTS splitter and ATU-R unit
                          shall be hard wired. The use of a separate POTS splitter physically separated from the ATU-R is
                          not precluded by this standard. The layer 1 requirements for the ATU-R-to-splitter interface may
                          be defined in a later issue of the standard. For multiple mountings, other connection
                          arrangements may be appropriate.

                                               Table 54 - Pin assignments for a-position jack and plug (RJ31X) at U-R

                         Pin no.                            Assignment for jack                                                       Assignment for plug
                         1                                         rinQ to POTS distribution
                                                            Tip or ring                                                               Tip or rino
                                                                                                                                             rinQ to POTS splitter (out)
                         2                                  No connection                                                             No connection
                         3                                  No connection                                                             No connection
                         4                                  Tip or ring from network interface                                        Tip or ring to POTS splitter (in)
                         5                                  Tip or ring from network interface                                               rinQ to POTS splitter (in)
                                                                                                                                      Tip or ring
                         6                                  No connection                                                             No connection
                         7                                  No connection                                                             No connection
                         8                                  Tip or rino
                                                                   rinQ to POTS distribution                                                 rinQ to POTS splitter (out)
                                                                                                                                      Tip or rino




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                           To U-R                                              ......     ......
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                           interface
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                                                                                                        ...                      f-
                                             *NOTE
                                             *NO   TE - Shorts from pins 1
                                             and 5 to 4 and 8, respect-
                                             ively
                                             ivel   are removed upon
                                                  yare
                                                                                                   IN   --        Splitter       r--       OUT

                                             insertion
                                             inse  rtion of the plug.
                                                                                                                  ATU-R



                                                           Figure 43 - Interface on the customer premises side of the U-R




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                  16.3            Wiring requirements for a remotely located POTS splitter/ATU-R

                  It is recommended for a remotely located POTS splitter/ATU-R unit that the plug and jack
                  arrangement specified in 16.2 be used. The connections between plug 1 and jack 2 are as
                  specified in table 55, and illustrated in figure 44. The pin connections for plug 2 shall be as
                  specified in table 54. In this configuration the cord connecting the POTS splitter and ATU-R unit
                  shall be hard wired.

                          Table 55 - Pin assignments for 8-position jack and plug at remote location

                                                   Pin no.             Assignment for iack 2
                                                   1                   From pin 1 of plug 1 to pin 1 of jack 2
                                                   2                   No connection
                                                   3                   No connection
                                                   4                   From pin 4 of plug 1 to pin 4 of jack 2
                                                   5                                 pluQ 1 to pin 5 of jack 2
                                                                       From pin 5 of plug
                                                   6                   No connection
                                                   7                   No connection
                                                   8                   From pin 8 of plug
                                                                                     pluQ 1 to pin 8 of jack 2

                                                            Plug and Jack              Plug and Jack

                                                                                                     in (4,5)               Splitter
                                       U-R                                                                                  and
                                       interface                                                    out(1,8)                ATU-R



                                                                   ' - - - - - - POTS Service

                                                Figure 44 - Wiring for a remotely located POTS splitter/ATU-R

                  16.4            Maximum distance for a remotely located unit

                  The distance between plug and jack 1 and the remotely located POTS splitter and ATU-R unit
                  shall not exceed (for further study) feet when the two pairs, (4,5) and (1,8), are in a common
                  sheath.




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                        17              Environmental conditions

                        17.1            Protection

                         Material referring to protection may be found in annex F of this standard.

                        17.2             Electromagnetic compatibility

                         Material referring to electromagnetic compatibility may be found in annex F of this standard.




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                                                                               AnnexA
                                                                              (normative)

                                                                    ATU-C and ATU-R state diagrams

                      A.1 Introduction

                  This annex provides state diagrams for the ATU-C and ATU-R, some portions of which are mandatory to
                  guarantee interworking between different manufacturers' units, and some portions of which are presented
                  here as an example only - their functions may be required or desired, but the implementation is left to the
                  vendor.

                   A.2 Definitions

                  The following terms and abbreviations are used in this annex. Where states or events have been
                  defined elsewhere in this standard, the definitions are referenced here for convenience.

                  -    C-ACT:                See 12.2.2.
                  -    C-TONE:               See 12.2.1.3.
                  -    R-ACT-REO: See 12.3.1.
                  -    R-ACK:                See 12.3.3.
                  -    lof-rs:               Loss of ADSL frame synchlresync event. This event occurs when some
                                             algorithm, which may be vendor-specific, determines that a resync
                                             attempt is required. Note that this lof-rs event is probably (but not
                                             required to be) related to the sef (severely errored frame) defect defined
                                             for operations and maintenance (11.3).
                  -    LOF:                  Loss of ADSL frame synchronization declared after sef time-out (near-
                                             end severely errored frame defect, defined in 11.3).
                  -    LOS;                  Loss of received signal at "U" interface declared after los time-out (near-
                                             end loss of received signal defect, defined in 11.3).
                  -    high SER:             High bit error rate in received data: detected by thresholding #crc errors
                                             (near-end crc-8i and crc-8ni error anomalies, defined in 11.3) over some
                                             period of time.
                  -    host control channel: An ATU-C configuration control channel from some host controller, such
                                             as an ACOT (ADSL Central Office Terminal), which controls one or
                                             more ATU-C line units. Note that this channel has no relationship or
                                             direct interworking with the 64 or 16 kbitls "C" bearer channel, which is
                                             sometimes also called a control channel.
                  -    reconfig1:            A channelization reconfiguration that can be accomplished without
                                             resetting certain key portions of the data framing, transmitter, or receiver
                                             functions (clauses 6 and 7), and thus can be performed without
                                             disrupting channels that would not change as a result of the
                                             reconfiguration. For example, if four 1.536 Mbitls simplex channels are
                                             currently active and are all allocated to the interleave data buffer, then a
                                             reconfiguration that requires two of them to remain active, and the other
                                             two to be replaced by a 3.088 Mbitls channel would qualify as a
                                             reconfig1.
                  -    reconfig2:            A channelization reconfiguration that requires resetting of some key
                                             portion of the data framing, transmitter, or receiver functions (clauses 6
                                             and 7), and which thus cannot be achieved without loss of some user
                                             data. This reconfiguration request will require a fast retrain. Examples
                                             are:
                                               - a change from the default bearer channel rates to optional rates,
                                               such as a request for a reconfiguration from a single 6.144 Mbitls
                                               simplex bearer to a 6.312 Mbitls simplex bearer, which requires a
                                               change in aggregate transmitted bit rate, FEC codeword size, and
                                               resetting the interleave/deinterleave functions;
                                               - if four 1.536 Mbitls simplex channels are currently active and are all
                                               allocated to the interleave data buffer, then a reconfiguration that
                                               requires one or more of them to move to the fast data buffer would

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                                                                   require a fast retrain to allocate the extra AEX byte for the fast data
                                                                   buffer, to change the FEC codeword parameters of the interleaved
                                                                   data buffer, and to reset the interleave/deinterleave functions.

                         A.3 State diagrams

                        State diagrams are given in figure A.1 for the ATU-C, and in figure A.2 for the ATU-R. States are
                        indicated by ovals, with the name of the state given within the oval. The states are defined in
                        table A.1 for the ATU-C and in table A.2 for the ATU-R. Transitions between states are indicated
                        by arrows, with the event causing the transition listed next to the arrow. For some events, the
                        source of the event is indicated with letter(s) and a colon preceding the event name; a key to the
                        source events is provided at the bottom of each figure. Mandatory states and events are
                        indicated with boldface type; those states and events in normal face type are provided here as
                        an example, with the form of their implementation left to the vendor.

                        In the state diagram for the ATU-C, a C-IDlE state would be desired to guarantee a quiet mode,
                        which may be useful prior to provisioning, to allow certain tests (e.g., MlT), or to discontinue
                        service. A selftest function is desirable, but it may be a vendor/customer option to define when
                        selftest occurs (e.g., always at power-up or only under CO control), and which transition to take
                        after successfully completing selftest (e.g., enter C-IDlE, or enter C-QUIET1, or enter C-
                        Activate/( nitIT rain).

                        A variety of "host controller" commands (events preceded by "c:") are shown as non-mandatory in
                        the ATU·C state diagram to provide example events and transitions between states. The way in
                        which these events are implemented is left to the vendor, since many options are possible (e.g.,
                        separate host controller port on the ATU-C, switches or other front-panel controls, fixed options).

                        A "Retrain" state is shown as non-mandatory in both state diagrams (fast retrain is still under
                        study). A "Resync" state is shown as non-mandatory in both state diagrams, to be left as a
                        vendor option that may use vendor proprietary algorithms.




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                                                                                                                                    c:activate




                                                                            LOFor
                                                                             LOS




                   Key--Event Sources:
                   . c:__ host controller command
                     r: __ received from ATU-R

                   State Definitions in table A.1
                   Terms defined in clause A.1

                                                                   Figure A.1 - State diagram for the ATU-C




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                                                                                                                                       ANSI T1.413-1995

                                                                   Power on




                          Key -- Event Sources:
                            r:     received from ATU-C
                            eoc: embedded operations channel command
                            aoc: ADSL overhead control channel command

                         State Definitions in table A.2
                         Terms defined in clause A.1

                                                                         Figure A.2 - State diagram for the ATU-R




                                                                                                                                                            133
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                                           ANSI T1.413 95 . . 0724150 052b237 091 . .

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                                                                     Table A.1 - ATU-C state definitions

               State name                                          Description

               C-SELFTEST                                          Unit performs selftest. Transmitter and receiver off (quiet at U-C
                                                                   interface); no response to host control channel (e.g., ACOT)

               C-UNIT-FAIL                                         (selftest failed)
                                                                   Monitor host control channel if possible (could allow ATU host
                                                                   controller to retrieve selftest results)

              C-IDLE                                               Transmitter and receiver off (no response to R-ACT-REO).
              (12.2.2)                                             Monitor host control channel
              (Idle; ignore
              lIdle;
              1(ldle; ienore ATU-R)
              C-TONE                                               Transmit C-TONE tone and transition back to C-IDLE

               C-QUIET1                                            Transmitter off
               (12.2.1)                                            Receiver on, monitoring for R-ACT-REO; if detected, transition to
               (Idle; monitor ATU-R)                               C-Activate/lnitlTrain state
                                                                   Monitor host control channel

               C-ActivatellnitlTrain                               Initialize Train_Try_Counter
               (Starts with State C-ACT                            while (--Train_Try_Counter >= 0)
               of 12.2; includes 12.2,                             { Transmit C-ACT (12.2.2)
               12.4,12.6,12.8)                                     Start timer
                                                                   If receive R-ACK before timer expires
                                                                            proceed with initializationltraining
                                                                            If successful, transition to C-ACTIVE
                                                                   }
                                                                   Transition to C-OUIET1

               C-ACTIVE                                            Perform steady state bit pump functions (user data channels active)
               (Steady State Data                                  Allow bit swaps and non-intrusive reconfigurations (reconfig1)
               Transmission;                                       Monitor host control channel
               6, 11.2, 11.3, 13)                                  Monitor alarms, eoc, aoc
                                                                   If LOS or LOF event, transition to C-Activate/lnitlTrain

               C-Resync                                            (State is entered when some algorithm, possibly based on loss of
               (non-mandatory; vendor                              ADSL synch framing, determines that resync is required)
               proprietary)                                        Declare sef (defined in 11.3) - user data transmission has been
                                                                   disrupted
                                                                   If signal present (Le., not los)
                                                                   Attempt to find synch pattern and realign (vendor proprietary)
                                                                   If successful, remove sef and transition to C-ACTIVE
                                                                   else time-out on sef, declare LOF event, transition to C-
                                                                   Activate/lnitlTrain
                                                                   else time-out on los, declare LOS event, transition to C-
                                                                   Activate/lnitfT rai n




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                                                                                                                                       ANSI T1.413-1995

                                                                                  Table A.1 (concluded)
                        C-Retrain                                  (State can only be entered if received signal is still present and if
                        (fast retrain for further                  ADSL frame synch is still maintained)
                        study)                                     Declare sef (defined in 11.3) - user data transmission has been
                                                                   disrupted
                                                                   If signal present (Le., not los)
                                                                   ChannellD
                                                                   Channel    10 and bit allocation calculation
                                                                   Reset Data Framing and V-interface circuits
                                                                   If successful, remove sef and return to C-ACTIVE
                                                                   else time-out on sef, declare LOF event, transition to C-
                                                                   Activate/lnitfTrain
                                                                   else time-out on los, declare LOS event, transition to C-
                                                                   Activate/lnitfTrain


                                                                         Table A 2 - ATU-R state definitions
                           State name                              Description

                            R-SELFTEST                             Unit performs selftest. Transmitter and receiver off (quiet at U-R
                                                                   interface)
                                                                   If selftest passes, transition to R-ACT-REO
                                                                   else transition to R-UNIT-FAIL

                            R-UNIT-FAIL                            (selftest failed - no exit from this state, except to cycle power)

                            R-ACT-REQ                              Receiver on, monitoring for C-ACT or C-TONE
                            (12.3.1)                               while (C-ACT not received AND C-TONE not received)
                                                                   { Transmit R-ACT-REO for 128 symbols (see 12.3.1)
                                                                        No transmission for 896 symbols
                                                                   }
                                                                   If (C-ACT was received) transition to R-lnitfTrain
                                                                   If (C-TONE was received) transition to R-OUIET1

                            R-QUlET1                               Transmitter off;
                            (12.3.2)                               Receiver on, monitoring for C-ACT
                            (Idle; monitor ATU-C)                      Start timer (60 seconds, see 12.3.2)
                                                                       At timeout transition to R-ACT -REO

                            R-lnitITrain (Starts with
                            R-lnitlTrain                           Transmit R-ACK
                            State R-ACK of 12.3;                   Proceed with Initialization and Training Sequence
                            includes 12.3, 12.5,                   If successful, transition to R-ACTIVE
                            12.7,12.9)                             else transition to R-ACT -REO

                           R-ACTIVE                                Perform steady state bit pump functions (user data channels active)
                           (Steady State Data                      Allow bit swaps and non-intrusive reconfigurations (reconfig1)
                           Transmission;                           Monitor alarms, ece,
                                                                                   eoc, aoc
                           7,11.2,11.3,13)                         If LOS or LOF event, transition to R-ACT -REO

                            R-Resync                               (State is entered when some algorithm, probably based on loss of
                            (non-mandatory; vendor                     ADSL synch framing, determines that resync is required)
                            proprietary)                           Declare sef (defined in 11.3) - user data transmission has been
                                                                       disrupted
                                                                   If Signal present (Le., not los)
                                                                       Attempt to find synch pattern and realign (vendor proprietary)
                                                                       If successful, remove sef and transition to R-ACTIVE
                                                                       else time-out on sef, declare LOF event, transition to R-ACT-REO
                                                                   else time-out on los, declare LOS event, transition to R-ACT-REO




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                                                                            Table A.2 (concluded)
                   R-Retrain                                       (State can only be entered it received signal is still present and it
                   (fast retrain for further                           ADSL frame synch is still maintained)
                   study)                                          Declare set (defined in 11.3) - user data transmission has been
                                                                       disrupted
                                                                   Reset Data Framing and T-interface circuits
                                                                   It signal present (Le., not los)
                                                                       ChannellD and bit allocation calculation
                                                                        11 successful, remove set and transition to R-ACTIVE
                                                                       else time-out on se1, declare LOF event, transition to R-ACT-REQ
                                                                   else time-out on los, declare LOS event, transition to R-ACT-REQ




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                                                                                                    Annex B
                                                                                                    (normative)

                                                                   Power spectral density of crosstalk disturbers

                        Crosstalk margin measurements were made for four types of disturbers, DSLs, HDSLs, T1 sand
                        AOSL lines. OSL, HDSL, and ADSL crosstalk is from pairs within the same binder group; T1
                        crosstalk is from pairs in an adjacent binder group.

                         B.1             Simulated DSL power spectral density and induced NEXT

                        The power spectral density (PSO) of Basic Access OSL disturbers is expressed as:




                         PSD DSL-Disturber = K DSL x -       =
                                                                         2
                                                                             x
                                                                                       n(1 Jrr
                                                                                  [,i[Sin(i.)r
                                                                                  [Sin(i.)      2     x
                                                                                                                   1I
                                                                                                                             4 '         hdB = 80 kHz, 0 ~ 1 < 00
                                                                        10          (f",./'o)
                                                                                      10J                 1+ (
                                                                                                             ( 1 )
                                                                                                                 hdB
                                                                             v2
                         wherelo =80 kHz, KDSL = 1x-L, Vp =2.50 Volts and R = 135 Ohms
                                                     9   R
                        This equation gives the single-sided PSO; that is, the integral of PSD, with respect to f, from 0 to
                        infinity, gives the power in Watts. PSDOSL-Oisturber is the PSO of an 80 kbaud 2B1Q signal with
                        random equiprobable levels, with full-baud square-topped pulses and with 2nd order Butterworth
                        filtering (f 3cI3 = 80 kHz).

                         The PSD of the DSL NEXT can be expressed as:


                          PSDr,SL-Nru<T = PSD
                          PSDo'L-NexT               =
                                          PSDosL-o;,._[
                                             OSL _ Di ...."" (               xJ~
                                                                             x.f~))                 o~ 1 <   00,    =1, 10, 24. 49
                                                                                                                   n=

                                  = 0.882 x 10 -14 X N O.6
                         where xN =

                         The integration of PSDOSL-Oisturber and PSDOSL-NEXT over various frequency ranges of interest are
                         presented in table B.1 .




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                                                            Table B_1 - DSL transmit and induced NEXT power

                              Frequency                                   Transmit Power                      Next Power                         NEXT Power
                              Range                                            dBm                               dBm                                 dBm
                                                                                                             10 disturbers                       24 disturbers
                              0- 0.16 MHz                                          13.6                          -54.9                               -52.6
                              0-0.32 MHz                                           13.6                          -54.9                               -52.6
                              0-1.544 MHz                                          13.6                          -54.9                               -52.6


                  Figure B.1 shows the theoretical PSD of 24 Disturber DSL NEXT.

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                                      o                    0.1                   0.2                0.3               0.4                0.5                 0.6
                                                                                         Frequency (MHz)
                                                                            Figure B.1 - 24-disturber DSL NEXT




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                         B.2             Simulated HDSL power spectral density and induced NEXT
                         The PSD of HDSL disturbers is expressed as:




                                                                                                           f 3dB ==196 kHz, 0 ~ f <             00




                                                     5                      v2
                                  = 392kHz, KHDSL ==-- x ----E.... Vp ==2.70 Volts. and R ==135 Ohms
                          wherefo =
                                                     9     R


                         This equation gives the single-sided PSD; that is, the integral of PSD, with respect to t, from 0 to
                         infinity, gives the power in Watts. PSDHDsL-Disturoeris the PSD of a 392 kbaud 2B1Q signal with
                         random equiprobable levels, with full-band square-topped pulses and with 4th order Butterworth
                                         =196 kHz).
                         filtering ( t:w =

                         The PSD of the HDSL NEXT can be expressed as:


                          PS0msL-NEXT
                          PS,,"DSL-NEXT                PS0msL-"",","" (X"f~)'
                                                      =PS""DSL-o;,,,,,,,, [XJ i ),          f <~, n =1, 10, 24, 49
                                                                                         0$ f            t, 10, 24, 49

                         where X1 , x'o, X 24 , and X49 are defined in B.1

                         The integration of PSDHDsL-Disturber over various frequency ranges of interest is presented in table
                         B.2 along with the induced NEXT power.

                                                                   Table B.2 - HDSL transmit and induced NEXT power
                                                                                                NEXT Power                             NEXT Power
                                                                         Transit power          10 disturbers                          20 disturbers
                             Freauency range
                             Frequency                                       dBm                     dBm                                    dBm
                              0- 0.196 MHz                                   13.4                   -46.9                                  -45.1
                              0-0.392 MHz                                    13.6                   -46.3                                  -44.5
                              0-0.784 MHz                                    13.6                   -46.3                                  -44.5
                              0-1.544 MHz                                    13.6                   -46.3                                  -44.5
                              0-1.568 MHz                                    13.6                   -46.3                                  -44.5




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                                                Figure B.2. shows the theoretical PSD of 1O-Disturber HDSL NEXT.
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                                       0               0.1            0.2         0.3         0.4       0.5             0.6            0.7            0.8
                                                                                        Frequency (MHz)

                                                                       Figure B.2 - 10-disturber HDSL NEXT




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                         B.3             Simulated T1 line power spectral density and induced NEXT
                        The PSD of the T1 line disturber is assumed to be the 50% duty-cycle random Alternate Mark
                        Inversion (AMI) code at 1.544 Mbitls. The single-sided PSD has the following expression:


                                                        sin( 7if)]2
                                          v 2 2 Sin(;J]2
                                                                                     ;1. 1+(l.J                    +
                                       = ----.E... x _2      /0     sin 2 (( _"J_
                                                                              -rrF
                                                                              -rrF )) X    11          /2
                         PSD
                                 n-D"'~'"
                            n-"'''"m'' = R,"
                         PSDn_D","m"      R" x fo
                                          R:         I.
                                                     I.                 (X)
                                                                        (1)
                                                                        (i.)
                                                                    ,in' 2/.              (/;dJ'
                                                                             2fo x I+(f;",,)'
                                                                                        1+
                                                                                                ---,,-""':""--.,,-
                                                                                              X ---:<'"-"--;;-
                                                                                                I' + l,dB'
                                                                                              x f'+
                                                                                                I'      l,dB'
                                                                                                        J,dB' '',
                                                                                                                                             0$./<00



                         The total power of the transmit T1 signal is computed by:
                                                  2
                                              1 V
                          P               -- '4 RP
                            Tl-Iolai      -   '4 RLL
                         It is assumed that the transmitted pulse passes through a low-pass shaping filter. The shaping
                         filter is chosen as a third order low-pass Butterworth filter with 3 dB pOint at 3.0 MHz. The filter
                         magnitude squared transfer function is:




                         In addition, the coupling transformer is modeled as a high-pass filter with 3 dB pOint at 40 kHz as:




                                                            = 3.6 Volts, RL == 100 Ohms, and to == 1.544 MHz.
                         Furthermore, it is assumed that Vp =

                         The PSD of the T1 NEXT can be expressed as:


                          PSDr'-NEXT
                          PSD         = PSDTI_o;""",, [
                             TI _NEXT =                            x./~ J'
                                                     PSDn_o;"~,,,,('off),              f
                                                                                    0 <1 < -, nn =
                                                                                                 = 4, 10, 24


                         where x" X1D ' , and X 24 , are defined in B.1

                         The T1 transmit and induced NEXT powers using n-crosstalk models (Xn) are presented in table
                         B.3, and the PSDs of 4, 10, and 24 T1 NEXT disturbers are shown in figure B.3.

                           Table B.3 - T1 transmit and induced NEXT power with shaping and coupling transformer
                               Frequency                           Transmit Power    NEXT Power              NEXT Power                   NEXT Power
                                 Range                                  dBm          4 disturbers            10 disturbers                24 disturbers
                                                                                         dBm                      dBm                          dBm
                            0-1.544 MHz                                 14.1            -50.2                    -47.8                        -45.5
                              0-3 MHz                                   14.6            -48.3                    -45.9                        -43.6
                             0-10 MHz                                   14.6            -48.0                    -45.6                        -43.3


                         For testing, the T1 NEXT powers in table B.3 and PSD curves in figure B.3 have been adjusted
                         downward by a total of 15.5 dB to take account of (a) the reduced coupling from an adjacent
                         binder group (10 dB) and (b) an average separation between disturbing T1 transmitter and ADSL
                         receiver (5.5 dB)




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                            -100           --- ---         -1- ----- --- --------- --- ---- --- ---,--- --- --1- --- --- ----
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                      N
                     J:                                      1-------1-------~-------r-------r------~-------i--
                                                             ~------i-------i-------~-------~------i-------i--
                     E
                     CO                                      1I
                                                                     I
                                                                      1I
                                                                             I
                                                                                  II
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                                                                                              1I
                                                                                                     I       I
                                                                                                               II              II                        ~



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                     CI
                     C/)
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                                           -      ----~-------~-------,-------r-------r------~-------,-----
                                                               I      I       I       I       I       I
                                                             I         I          I           I                I               I                I

                           -150            J-----~-------~-------~-------~-------~------~-------~ ____ _
                                           I                 I        :           :I          :                :               :               :


                                               ------~------~-------i-------~-------~------~-------i-----
                                               ------~------i-------i-------~-------~------i-------i-----
                                                             I        I           I           I                I               I               I
                                               ------~------~-------1-------r-------r------~-------1- ----
                                                                                                               I
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                                                      I _______
                                                           ~          ~                                        ~              ~




                           -160                              I        I            I          I                I               I               I
                                                                                  1I                                           1
                                                                                                                               I               1I




                                      o                  0.2         0.4        0.6          0.8            1.0             1.2             1.4
                                                                                       Frequency (MHz)


                                                                   Figure B.3 - 4 and 2Q-disturber
                                                                                      2o-disturber T1 NEXT




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                        BA              Simulated ADSL power spectral density and induced FEXT
                        The PSD of ADSL disturbers is expressed as:


                         PSD
                         .        ADSl-D;''''''''
                                  ADSL,,",""",
                                                             K
                                                         = ADSL X t, x
                                                                           2   [ 5if
                                                                                  (    rr
                                                                                Si{(~~T,T.))   x
                                                                                                   1LPF(f) 12
                                                                                                           I' x 1HPF(t) 12
                                                                                                                        I' ,                      O~f<oo




                                  = 2.208 x 106 Hz, K ADSL == 0.11 04Watts,
                         where fo =

                        This equation gives the single sided PSD, where K ADSL is the total transmitted power in Watts for
                        the downstream ADSL transmitter before shaping filters, and is set such that the ADSL PSD will
                        not exceed the maximum allowed PSD. fo is the sampling frequency in Hz and


                         ILPF(ft =
                                                         )8 '      8   '


                                                     ( f)
                                                     f
                                               1+ -
                                                 ( f3dB

                        is a fourth order low pass filter with a 3 dB point at 1104 kHz, and




                        is a fourth order high pass filter with a 3 dB point at 20 kHz, separating ADSL from POTS. With
                        this set of parameters the PSD ADSL is the PSD of a downstream transmitter that uses all the
                        channels.

                        The FEXT loss model is:

                        IIitxr (f)J2 = IHchanneI «()12 x k x Ix (2

                        where HChannel (f) is the channel transfer function, k is the coupling constant and is 3.083x10 - 20
                        for 10, 1% worst-case disturbers, I is the coupling path length in feet and equals 9000 ft for CSA
                        #6, and f is in Hz. The FEXT noise PSD is therefore:

                                        = PSD ADSl.. x I H FEXT (f) 2
                        PSD ADSL _ FEXT =

                        The integration of PSD ADSL and PSD ADSL-FEXT over the various frequency ranges is shown in
                        table B.4.

                                Table 8.4 - PSDADSL and PSDADSL-FEXT power with shaping and coupling transformer
                                                                                                          FEXT Power                           FEXTpower
                                                                           Transmit power                10 disturbers                        24 disturbers
                             Frequency range                                    dBm                           dBm                                  dBm
                             0-1.104 MHz                                       19.0                          -69.6                                -67.3
                             0-2.204 MHz                                       19.2                          -69.6                                -67.3
                             0-4.416 MHz                                       19.2                          -69.6                                -67.3




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                  Figure B.4 shows the theoretical PSD of 10-disturber downstream ADSL FEXT on CSA loop #6.



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                                -95                                                             ·
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                                                                   I                            I           I                          I                      I
                               -100        ----------r----------r----------r----------r----------I
                                           ----------r----------r----------r----------r---------
                                                                   I                            I           I                          I

                                                                   •I                           I           I                          I
                               -105        ----------r----------r----------~----------~---------


                     N         -110
                                                                   I
                                           ----------r----------r----------~----------~---------
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                                           ----------r----------r----------~----------~----------.
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                    I.......

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                    0- 120
                    Cf)
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                               -125
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                                                                    L __________
                                                         __________ L                       _____ _

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                                             _________ L __________
                                             _________ L
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                                                                    L __________
                                                         __________ L
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                                                                   •                                                                   •
                               -150

                                       0                      200000                   400000         600000                    800000                 1000000
                                                                                           Frequency (Hz)

                                                              Figure 8.4 - Theoretical 1D-disturber ADSL FEXT




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                       8.5 Simulated ADSL-induced NEXT into the downstream signal

                       The upstream ADSL signal nominally occupies the band from 25 to 138 kHz, but the upper
                       sidelobes of the pass-band signal beyond 138 kHz may also contribute to the NEXT into the
                       downstream signal. Their effect will depend on the method of anti-aliassing used in the remote
                       transmitter, which issue is addressed in 7.12.3. The PSD of the upstream ADSL NEXT can be
                       expressed as:




                       where x10 is defined in B.1. PSD ADSL,us.disturber is difficult to define precisely because of the
                       various side lobes of the passband signals. For simplicity, the transmit PSD mask given in 7.12
                       will be used; i.e., - 38 dBm/Hz from 28 kHz to 138 kHz, - 62 dBm/Hz at 181.125 kHz, and - 86
                       dBm/Hz at 224.25 kHz, with a straight-line fit on a logarithmic scale for the transmit PSDs
                       between 138 kHz and 181.125 kHz, and between 181.125 kHz and 224.25 kHz. This transmit
                                                                         '0
                       PSD is multiplied by the (sinc)2 term with = 276 kHz to get the final PSD ADSL,us.<Jisturbef" In
                       particular, PSD ADSL,us-disturber can be expressed as:




                        where         '0 ==276 x 103 Hz,
                        K mask == -- 38 dBmlHz                        28 kHz::::;'::::; 138 kHz

                                          - 38 - 24(' - 138000) dBm/Hz
                                                       43125
                                                                               ,>   138 kHz




                                                                                                                                                      145
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                  Figure 6.5 shows the theoretical PSD of 10-disturber ADSL NEXT.



                                                                        ADSL NEXT (Upstream into Downstream)
                             -90

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                                              !                    •                                              •
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                              0                              0.5                               1.5                2                  2.5                    3
                                                                                         Frequency (Hz)                                                X 105
                                                                                                                                                       X


                                                              Figure 8.5 - Theoretical10-disturber ADSL NEXT




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                                                                                  AnnexC
                                                                                  (normative)

                                                                   Characteristics of test impulse waveforms


                         The two test impulse waveforms specified in clause 15 of the standard are described in tables
                         C.1 and C.2 with the impulse wave amplitude given in millivolts at 160 nanosecond time intervals.
                         The specific means of generating these waveforms for test purposes is left to the implementor.




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                                                                   Table C_1 - Impulse number 1

           Interval #                 AmplitudemV                   Interval #     AmplitudemV         Interval #            AmplitudemV
                1                        0.0000                         51          -6.3934               101                   0.1598
               2                         0.0000                         S2            1.7582              102                 -1.7582
               3                         0.0000                         53            2.2377              103                   0.1598
               4                         0.0000                         54          -4.9549               104                   0.4795
                5                        0.0000                         55            2.2377              105                 -1.2787
                6                        0.0000                        56             1.7582              106                   0.7992
                7                        0.0000                        51           -5.5943               107                   1.2787
               8                         0.0000                        58             1.4385              108                 -0.7992
                9                        0.0000                        !:II           2.3975              109                   0.0000
               10                        0.9590                        00           -3.6762               110                 -0.3197
               11                      -0.4795                         61             1.4385              111                 -2.2377
               12                      -1.2787                         62             0.4795              112                 -1.1188
               13                      -1.1188                         m            -5.7541               113                 -0.7992
               14                      -1.4385                          64          -0.4795               114                 -1.5984
               15                      -1.5984                          EO            0.3197              115                   0.1598
               16                      -2.2377                          ffi         -3.3566               116                   0.4795
               17                      -1.4385                          fiT           2.3975              117                 -0.9590
               18                        7.6721                         6!3           2.3975              118                   0.0000
               19                        6.7131                         m           -3.1967               119                 -0.3197
                 2)                   -16.6229                          70            0.7992              120                 -1.5984
                 21                   -12.9467                          71            0.6393               121                  0.0000
                 22                     18.7008                         72          -3.5164               122                   0.4795
                 23                      9.5902                         7J            1.1188              123                 -0.7992
                 24                   -13.5861                          74            1.7582              124                   0.4795
                 25                    -5.2746                          75          -2.3975               125                   0.7992
                 26                    -6.3934                          76            1.2787              126                 -0.9590
                 'Z1                   -1.9180                          77            0.9590              127                 -0.9590
                 2B                     23.0164                         78          -3.3566               128                 -0.4795
                 29                      3.9959                         79            0.0000              129                 -0.6393
                 3)                   -23.4959                          00            0.1598              130                   0.4795
                 31                    -3.1967                          81          -3.0369                131                  1.1188
                 ~                       4.3156                         82            1.1188              132                   0.0000
                 33                    -3.0369                          83            1.5984              133                   0.0000
                 34                     10.7090                         84          -2.0779               134                   0.0000
                 35                      2.2377                         ffi           0.1598              135                   0.0000
                 ::6                  -12.9467                          86            0.3197              136                   0.0000
                 :J7                     3.1967                         ff1         -2.5574               137                   0.0000
                 38                      1.9180                         88            0.1598              138                   0.0000
                 :B                    -9.9098                          ffi           0.1598              139                   0.0000
                 40                      5.5943                         00          -2.0779               140                   0.0000
                 41                      5.9139                         91            0.6393
                 42                    - 6.7131                         ~             0.9590
                 43                      2.3975                         ro          -1.7582
                 44-                     1.2787                         94          -0.1598
                 45                    - 8.4713                         g;
                                                                        95          -0.6393
                 46                      2.5574                         93          -3.0369
                 Lf1                     2.8771                         CJl         -0.3197
                 48                    -6.0738                          93            0.4795
                 49                      2.2377                         g::)        -1.4385
                 ED                      1.7582                        100            0.4795




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                                                                     Table C.2 - Impulse number 2

                             Interval #                AmplitudemV    Interval #     AmplitudemV             Interval #        AmplitudemV
                                  1                       0.0000          51            0.6404                  101                0.6404
                                 2                        0.0000          52           15.5295                  102                0.6404
                                 3                        0.0000          53           18.8916                  103              -0.4803
                                 4                        0.0000          54          -3.8424                   104              -0.3202
                                  5                       0.0000          55          -3.0419                   105              -0.9606
                                  6                       0.0000          !Xi          11.6872                  106              -2.8818
                                  7                       0.0000          Sl          -0.3202                   107              -2.5616
                                  8                       0.0000          58          -7.5246                   108              -0.8005
                                  9                       0.0000          ~            13.4483                  109              -0.4803
                                 10                     -0.6404           ro           18.4113                  110              -0.8005
                                 11                       0.9606          61          -0.4803                   111              -0.4803
                                 12                       0.1601          62          -3.0419                   112              -0.9606
                                 13                     -5.4433           63            9.7660                  113              -1.1207
                                 14                    -12.3276           64           11.2069                  114              -0.6404
                                 15                    -12.1675           €X)           4.0025                  115              -0.4803
                                 16                       0.0000          ffi           0.6404                  116              -0.9606
                                 17                       5.2832          fJl           0.6404                   117             -1.4409
                                 18                       0.1601          ffi           1.7611                   118             -1.6010
                                 19                    -20.8128           00            3.3621                   119             -1.2808
                                   2)                  -45.3078           70            5.6034                   120             -0.9606
                                   21                  -46.7487           71            7.8448                   121             -0.9606
                                   22                  -28.9778           72            2.5616                   122             -1.2808
                                   23                  -13.4483           73          -4.6428                    123             -1.1207
                                   24                     0.6404          74            0.6404                   124             -1.1207
                                   25                     0.9606          75           10.7266                   125             -1.4409
                                   2)                  -14.4089           76            8.3251                   126             -1.4409
                                  'Zl                  -13.7685           77            1.9212                   127             -1.4409
                                   28                   -9.4458           78            3.6823                   128             -2.0813
                                   29                  -17.4507           79            4.3227                   129             -2.4015
                                   3)                   -2.5616           00            0.3202                   130             -1.9212
                                   31                    26.5763          81            2.7217                   131             -1.4409
                                   32                    16.1699          82            7.2044                   132             -1.1207
                                   :I3                 -17.7709           83            3.2020                   133             -1.2808
                                   34                  -17.1305           84          -2.7217                    134             -1.9212
                                   35                    13.6084          ffi         -1.4409                    135             -2.2414
                                   35                    27.0566          ffi           1.2808                   136             -2.2414
                                   :r1                   18.0911          ff1           1.4409                   137             -2.5616
                                   38                    14.2488          88            0.8005                   138             -3.0419
                                   3:}                    5.6034          00            0.1601                   139             -3.0419
                                   40                   -8.1650           00            0.0000                   140             -2.5616
                                   41                    12.4877          91            1.1207                   141             -1.2808
                                   42                    37.3029          92            1.1207                   142             -0.1601
                      ..           43                     9.6059          ffi           0.6404                   143             -0.6404
                                   44                  -18.8916           94            1.1207                   144             -2.5616
                                   45                     5.1231          g;            0.6404                   145              -3.2020
                      ....         46                    22.2537          00          -1.1207                    146             -3.0419
                                   41                     1.1207          'ill        -0.8005                    147             -2.5616
                                   48                   -0.9606           93            0.1601                   148             -2.0813
                                   49                    20.4926          9:}         -1.2808                    149              -1.4409
                                   00                    14.2488         100          -1.4409                    150              -1.6010




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                                                                       Table C_2 (continued)

                       Interval #                  AmplitudemV      Interval #   Amplitude mV           Interval #         Amplitude mV
                          151                       -1.9212            201        -0.8005                  251               -1.2808
                          152                       -1.9212            202        -0.9606                  252               -1.6010
                          153                       -2.0813            203        -1.6010                  253               -1.6010
                          154                       -2.4015            204        - 2.4015                 254               -1.4409
                          155                       -2.5616            205        -2.5616                  255               -0.4803
                          156                       -2.5616            206        -2.8818                  256                 0.4803
                          157                       -1.9212            207        -2.7217                  257                 0.4803
                          158                       -1.6010            208        -1.9212                  258               -0.4803
                          159                       -1.6010            209        -1.1207                  259               -0.9606
                          160                       -1.9212            210        -0.9606                  260               -1.1207
                          161                       -1.9212            211        -1.1207                  261               -1.4409
                          162                       -2.0813            212        -1.4409                  262               -1.2808
                          163                       -2.2414            213        -1.7611                    263             - 0.1601
                          164                       -2.5616            214        -2.4015                    264               0.3202
                          165                       -2.7217            215        -2.5616                    265               0.0000
                          166                       -2.2414            216        -2.2414                    266             -0.4803
                          167                       -1.2808            217        -1.7611                    267             -0.4803
                          168                       -1.2808            218        -1.7611                    268             -0.4803
                          169                       -2.2414            219        -1.4409                    269             -0.6404
                          170                       -3.0419            220        -0.9606                    270             -0.4803
                          171                       -2.8818            221        -0.8005                    271             -0.1601
                          172                       -2.5616            222        -0.9606                    272               0.0000
                          173                       -2.2414            223        -1.6010                    273               0.0000
                          174                       -1.9212            224        -2.2414                    274             -0.1601
                          175                       -1.9212            225        -2.4015                    275             -0.1601
                          176                       -2.2414            226        -2.2414                    276             -0.4803
                          177                       -2.5616            227        -1.9212                    277             -0.6404
                          178                       -2.7217            228        -1.4409                    278             -0.3202
                          179                       -2.5616            229        -0.4803                    279               0.1601
                          180                       -2.4015            230          0.0000                   280               0.4803
                          181                       -2.2414            231        -0.6404                    281               0.3202
                          182                       -2.0813            232        -1.6010                    282             -0.1601
                          183                       -1.7611            233        -1.7611                    283             -0.3202
                          184                       -1.6010            234        -1.6010                    284             -0.4803
                          185                       -1.7611            235        -1.9212                    285             -0.6404
                          186                       -2.2414            236        -1.9212                    286             -0.4803
                          187                       -3.0419            237        -1.4409                    287               0.1601
                          188                       -3.2020            238        -0.4803                    288               0.6404
                          189                       -2.7217            239          0.0000                   289               0.6404
                           190                      -1.9212            240          0.0000                   290               0.4803
                          191                       -1.2808            241        -0.6404                    291               0.0000
                          192                       -0.9606            242        -1.6010                    292             -0.6404
                          193                       -1.1207            243        -2.4015                    293             -0.6404
                          194                       -2.0813            244        -1.9212                    294             -0.4803
                          195                       -2.8818            245        -0.9606                    295             -0.1601
                          196                       -3.0419            246        -0.4803                    296               0.4803
                          197                       -2.7217            247        -0.1601                    297               0.6404
                          198                       -2.7217            248        -0.1601                    298               0.4803
                          199                       -2.0813            249          0.0000                   299               0.6404
                          200                       -1.4409            250        -0.8005                    300               0.4803




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                                                                                                                                ANSI T1.413-1995

                                                                        Table C.2 (continued)

                           Interval #             AmplitudemV        Interval #   Am~itudemV
                                                                                  AmplitudemV              Interval #        AmplitudemV
                              301                   -0.1601             351           0.8005                  401                0.9606
                              302                   -0.9606             352           1.4409                  402                0.6404
                              303                   -0.9606             353           1.6010                  403                0.4803
                              304                   -0.1601             354           1.2808                  404                0.6404
                              305                     0.6404            355           0.6404                  405                0.6404
                              306                     0.8005            356           0.0000                  406                0.4803
                              307                     0.8005            357         -0.4803                   407                0.3202
                              308                     0.4803            358         -0.6404                   408                0.1601
                              309                     0.1601            359           0.0000                  409                0.3202
                              310                   - 0.1601            360           0.8005                  410                0.4803
                              311                   -0.3202             361           1.4409                  411                0.9606
                              312                   - 0.1601            362           1.6010                  412                1.2808
                              313                     0.0000            363           1.2808                  413                0.9606
                              314                     0.1601            364           0.6404                  414                0.1601
                              315                     0.6404            365           0.0000                  415              -0.1601
                              316                     0.8005            366         -0.4803                   416                0.0000
                              317                     0.6404            367         -0.1601                   417                0.4803
                              318                     0.4803            368           0.1601                  418                0.8005
                              319                     0.0000            369           0.9606                  419                0.6404
                              320                   -0.4803             370           1.4409                  420                0.4803
                              321                   -0.4803             371           1.6010                  421                0.8005
                              322                     0.1601            372           1.1207                  422                0.8005
                              323                     0.8005            373           0.3202                  423                0.4803
                              324                     0.8005            374         -0.4803                   424                0.1601
                              325                     0.6404            375         -0.4803                   425                0.0000
                              326                     0.1601            376           0.1601                  426                0.0000
                              327                     0.4803            377           0.8005                  427                0.1601
                              328                     0.4803            378           1.1207                  428                0.3202
                              329                     0.3202            379           1.1207                  429                0.6404
                              330                   -0.3202             380           0.9606                  430                0.9606
                              331                   -0.4803             381           0.6404                  431                0.8005
                              332                     0.0000            382           0.1601                  432                0.3202
                              333                     0.6404             383          0.0000                   433               0.1601
                              334                     1.1207             384          0.1601                  434                0.0000
                              335                     1.2808             385          0.6404                  435                0.1601
                              336                     0.6404             386          1.1207                  436                0.1601
                               337                    0.1601             387          0.9606                  437                0.1601
                               338                  -0.1601              388          0.6404                  438                0.1601
                               339                    0.0000             389          0.6404                  439                0.6404
                               340                    0.0000             390          0.6404                  440                1.1207
                               341                    0.1601             391          0.3202                   441               0.9606
                               342                    0.3202             392          0.0000                   442               0.4803
                               343                    0.8005             393          0.4803                   443               0.0000
                               344                    1.2808             394          1.1207                   444             -0.3202
                               345                    1.2808             395          1.1207                   445             -0.3202
                               346                    0.9606             396          0.6404                   446               0.0000
                               347                    0.1601             397          0.1601                   447               0.1601
                               348                  -0.8005              398          0.0000                   448               0.6404
                               349                  -0.9606              399          0.1601                   449               0.9606
                               350                  - 0.1601             400          0.8005                   450               0.8005




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                                                                       Table C.2 (concluded)

                     Interval #                AmplitudemV         Interval #   AmplitudemV            Interval #          AmplitudemV
                          451                      0.6404               461         0.0000                  471                 0.0000
                          452                      0.0000               462       -0.9606                   472                 0.0000
                          453                    -0.8005                463       -1.1207                   473                 0.0000
                          454                    -0.8005               464        -0.4803                   474                 0.0000
                          455                      0.0000              465          0.4803                  475                 0.0000
                          456                      0.4803              466          1.1207                  476                 0.0000
                          457                      0.6404              467          1.1207                   4n                 0.0000
                          458                      0.6404              468          0.6404                   478                0.0000
                             459                   0.8005              469          0.0000                   479                0.0000
                             460                   0.6404              470          0.0000                   480                0.0000




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                                                                                                                               ANSI T1.413-1995


                                                                             Annex D
                                                                            (normative)

                                                                   Vendor identification numbers

                        Sixteen bits (hex coded from 0000 to FFFF) are reserved for vendor identification; these shall be
                        used by the ATU-C in C-MSGS1 (see 12.6.4), and by the ATU-R in R-MSGS1 (see 12.7.6). The
                        numbers (with 0000 and 0001 reserved) were randomly assigned to the thirty-seven initially
                        identified companies as follows:

                                        Numerical (hexadecimal) order                     Alphabetical order for the first 37

                        0002            Westell, Inc.                              Adtran                         0012
                        0003            ECI Telecom                                Alcatel Network System, Inc.   0022
                        0004            Texas Instruments                          Amati Communications Corp. 0006
                        0005            Intel                                      Analog Devices                 001 C
                        0006            Amati Communcations Corp.                  ADC Telecommunications         0014
                        0007            General Data Communications (GDC) Inc.     AT&T Network Systems           OOOA
                        0008            Level One Communications                   AT&T - Paradyne                0011
                        0009            Crystal Semiconductor                      AWA                            0021
                        OOOA            AT&T - Network Systems                     Aware, Inc.                    OOOB
                        OOOB            Aware, Inc.                                Brooktree                      ooOC
                        oooC            Brooktree                                  Crystal Semiconductor          0009
                        0000            NEC                                        DSC                            0018
                        OOOE            Samsung                                    ECI Telecom                    0003
                        QOOF            Northern Telecom, Inc.                     Ericsson Systems               001E
                        0010            PairGain Technologies                      Exar Corporation               001A
                        0011            AT&T - Paradyne                            Fujitsu Network Trans. Systems 0026
                        0012            Adtran                                     GDC, Inc.                      0007
                        0013            INC                                        IBM Corp.                      0016
                        0014            ADC Telecommunications                     INC                            0013
                        0015            Motorola                                   Intel                          0005
                        0016            IBM Corp.                                  Italtel                        0024
                        0017            Newbridge Networks Corp.                   Level One Communications       0008
                        0018            DSC                                        Motorola                       0015
                        0019            Teltrend                                   National Semiconductor         0023
                        001A            Exar Corp.                                 NEC                            0000
                        001 B           Siemens Stromberg-C arlson                 Newbridge Networks Corp.       0017
                        001 C           Analog Devices                             Nokia                          0010
                        0010            Nokia                                      Northern Telecom, Inc.         OooF
                        001 E           Ericsson Systems                           Orckit Communications, Inc.    0020
                        001 F           Tellabs Operations, Inc.                   PairGain Technologies          0010
                        0020            Orckit Communications, Inc.                Samsung                        OOOE
                        0021            AWA                                        Siemens Stromberg-Carlson      001 B
                        0022            Alcatel Network Systems, Inc.              SAT                            0025
                        0023            National Semiconductor Corp.               Tellabs Operations, Inc.       001 F
                        0024            Italtel                                    Teltrend                       0019
                        0025            SAT - Societe Anonyme de Telecommunications Texas Instruments             0004
                        0026            Fujitsu Network Transmission Systems       Westell, Inc.                  0002
                        0027            MITEL                                      MITEL                          0027
                        0028            Conklin Instrument Corp.                   Conklin Instrument Corp.       0028




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                                                                                      Annex E
                                                                                    (informative)

                                       Resistance and insertion loss characteristics of typical telephone cables

                   The tables E.1, E.2, and E.3 provide the calculated resistance and insertion loss between 100
                   ohm terminations of the loops shown in figure 36.

                   NOTE - The primary constants of both polyethylene insulated cable (PIC) and pulp insulated cable, at O'F,
                   70'F, and 120'F, are specified in annex G of ANSI T1.601.

                                         Table E.1 - Resistance and insertion loss values for test loops at 70°F

                    Loop #                     Resist                                               Insertion loss
                                               -ance                                                      dB
                                               ohms                                                   Frequency
                                                                                                           kHz
                                                                   20     40     100    200    260       300       400        500       600       780       1100
               T1.601 # 7                   1127                   29.6   36.7   45.2   52.6   57.3      60.2      67.7       74.6      61.7      93.0      110
               T1.601 # 9                   6n                     27.6   36.4   52.5   47.5   55.7      62.0      60.3       71.5      72.2      62.7      96.2
               T1.601 #13                   909                    26.6   34.1   47.9   46.3   55.7      61.3      62.2       71.4      74.1      65.3      100
               CSA#4                        634                    17.6   22.0   29.6   39.6   40.1      42.5      49.2       50.2      53.6      55.7      70.7
               CSA#6                        751                    20.0   24.4   30.1   35.2   36.2      40.2      45.1       49.9      54.4      62.0      73.6
               CSA#7                        562                    17.3   20.9   26.6   39.3   37.6      36.6      43.1       49.9      57.9      60.2      72.7
               CSA#6                        630                    19.2   22.6   27.7   34.4   36.3      40.6      46.9       52.4      57.4      65.4       n.6
               Mid-CSA                      501                    13.3   16.2   20.0   23.4   25.4      26.6      30.1       33.2      36.3      41.3      49.1


                                            Table E,2 - Resistance and insertion loss in dB for test loops gO°F

                    Loop #                     Resist                                               Insertion loss
                                               -ance                                                     dB
                                               ohms                                                   Frequency
                                                                                                           kHz
                                                                   20     40     100    200    260       300       400        500       600       780       1100
               T1.601 # 7                   1176                   30.6   37.9   46.9   54.6   59.1      62.1      69.6       76.6      63.4      95.0      113
               T1.601 # 9                   915                    26.4   37.5   53.4   49.1   57.2      63.1      61.9       72.6      73.6      64.2      96.1
               T1.601 # 13                  946                    27.4   35.2   49.0   49.9   57.2      62.5      63.7       72.6      75.6      67.0      102
               CSA#4                        656                    16.0   22.6   30.4   40.3   41.0      43.5      50.0       50.9      54.3      56.6      71.6
               CSA#6                        764                    20.5   25.2   31.2   36.4   39.4      41.4      46.4       51.1      55.6      63.3      75.2
               CSA#7                        566                    17.9   21.6   27.7   40.0   36.7      39.5      44.1       50.9      56.6      61.4      74.0
               CSA#6                        657                    19.6   23.6   26.7   35.4   39.3      41.6      47.9       53.5      56.6      66.6      79.4
               Mid-CSA                      523                    13.6   16.7   20.7   24.2   26.2      27.6      30.9       34.0      37.1      42.2      50.1




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                                                                                                                                           0
                                               Table E.3 - Resistance and insertion loss in dB for test loops 120 F

                  Loop #                       Resist                                            Insertion loss
                                               -ance                                                     dB
                                               ohms                                                Frequency
                                                                                                      kHz
                                                                   20     40     100    200    260     300       400        500        600  780             1100
                  T1.601 # 7                   1250                31.9   39.6   49.4   57.4   61.8    64.8      72.3       79.3       86.1 97.9            116
                  T1.601 # 9                   972                 29.5   39.1   54.7   51.5   59.5    65.5      64.1       74.7       75.7 86.4            101
                  T1.601 # 13                  1008                28.5   36.8   50.7   52.3   59.5    64.5      66.0       74.9       n.9 89.4             105
                  CSA#4                        704                 18.9   23.8   32.2   41.9   42.8    45.2      51.5       52.8       56.0 58.7            74.1
                  CSA#6                        833                 21.4   26.3   32.8   38.2   41.2    43.2      48.2       52.9       57.4 65.3            n.5
                  CSA#7                        623                 18.7   22.6   29.1   41.2   40.0    40.9      45.5       52.5       60.2 63.2            76.0
                  CSA#8                        699                 20.7   24.8   30.2   36.7   40.8    43.3      49.4       55.1       60.4 68.8            81.7
                  Mid-CSA                      555                 14.4   17.5   21.8   25.5   27.5    28.8      32.1       35.2       38.3 43.5            51.6




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                                                                                  AnnexF
                                                                                (informative)

                                                                   Overvoltage, surge protection, and EMC
                    This standard describes the electrical characteristics of the ADSL access signals appearing at the
                    NI, and the physical interface between the network and the CI . Phenomena such as lightning and
                    overvoltages due to inductive interference or power crosses lie beyond the scope of this
                    standard. However, these and other topics are discussed in the following readily available
                    documents.

                     - ANSIIIEEE C62.42-1986, Guide for the application of gas tube arrester low-voltage surge-
                     protective devices;

                    - Technical reference TR-EOP-000001, Lightning, radio frequency and 60-Hz disturbances at
                    the Bell operating company network interface, Issue 2, Bellcore, Piscataway, N.J., June 1987.

                    Both the above documents contain useful information on the application of surge arresters and
                    the loop electrical environment.

                    - ANSI/EIAfTIA 571-1991, Environmental considerations for telephone terminals.
                    This standard discusses the normal operating environment of the telephone terminal equipment,
                    fire hazards, and protection.

                    - ANSI/UL 1459-1992, Standard for telephone equipment. This standard deals with safety
                    considerations for telephone equipment.

                    - Bodle, D.W. ; Gresh, P.A. Lightning surges in paired telephone cable facilities. Bell Syst. Tech.
                    J. 40: 1961 March.

                    - Gresh, P.A. Physical and transmission characteristics of customer loop plant. Bell Syst. Tech.
                    J. 48: 1969 December.

                    - Heirman, Donald N. Time variations and harmonic content of inductive interference in
                    urban/suburban and residentiallrural telephone plants. IEEE, 1976 Annals No. 512C0010.

                    - Carrol, R. L.; Miller, P. S. Loop transients at the customer station. Bell Syst. Tech. J. 59(9):
                    1980 November.

                    - Carrol, R. L. Loop transients measurements in Cleveland, South Carolina. Bell Syst. Tech. J.
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                    - Measurement of transients at the subscriber termination of a telephone loop, CCITT, COM V-
                    No. 53 (November 1983)

                    - Batorsky, D. V.; Burke M.E., 1980 Bell system noise survey of the loop plant. AT&T Bell Lab.
                    Tech. J. 63(5): 1984 May-June.

                    - Koga, Hiraki; Motomitsu, Tamio Lightning-induced surges in paired telephone subscriber cable
                    in Japan. IEEE Trans. Electromag. Compo EMC-27: 1985 August.

                    - Clarke, Gord; Coleman, Mike. Study sheds light on overvoltage protection. Telephony. 1986
                    November 24.

                    The power emitted by the ADSL is limited by the requirements in this standard. Notwithstanding
                    any information contained or implied in this standard, it is assumed that the ADSL will comply with
                    applicable FCC requirements on emission of electromagnetic energy. These requirements may
                    be found in the Title 47, Code of Federal Regulations, Part 15 and Part 68, and other FCC
                    documents.




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                                                                                      Annex G
                                                                                    (informative)

                                                                   Examples of ADSL services and applications

                      G.1             Services and applications

                      Figure G.1 presents a basic network architecture for ADSL.

                     The market for ADSL services and applications can be segmented in various ways. Some
                     potential application groups include: entertainment, educational/institutional, telecommuting, small
                     businesses and gaming.




                                                                              MTS network
                                                                                                                   ADSL Mux
                                                                              VDT network
                                                                                                                 IATU-cI
                                                                                                                    ATU-cI                         ATU-R


                                                                         C     ISDN networV


                      VDT - Video-dialtone
                      VIP - Video information Provider

                                                                   Figure G.1 - Basic network architecture for ADSL

                      ADSL based services can offer users one major new innovation: real-time interactive multimedia
                      services. In addition, the ability to support other application groups is important given that many
                      homes are limited to a single copper pair.

                      The digital video revolution is opening opportunities for new classes of residential applications.
                      Some of the potential applications can be grouped into the following categories, with examples of
                      each group:

                      - Entertainment:
                             - movies on demand: end-user dials into a service provider's network to access a listed
                              movie;
                             - music on demand: end-user dials into a service provider's network to access listed
                              music;
                             - interactive TV: end-user can access live and/or stored video/graphics, search with the
                              help of pull-down menus, select a channel or channels of choice, and view more than one
                              channel.

                      - Educational/Institutional:
                             - distant classrooms: end-user can participate in a class remotely and interactively;
                            - on-line books and manuals: end-user can access books and manuals on-line with the
                            capability to turn pages, go to a certain page, search with key words or subjects, highlight
                            the lines on-line, or make scratch-notes on the side of the book or on a scratchpad;
                            - medical and health consultation: end-user (hospital, say) can consult with, and transmit
                             medical images to, a doctor at a remote site.




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                     - Telecommuting:
                                     - work-at-home: end-user (an employee, say) can access employer's workstations,
                                      printers, facsimile machines on LANsIWANs etc.;
                                     - video-conferencing: end-user can participate in a video-conference remotely with video
                                     in downstream and audio in upstream along with the workstation and screen-sharing
                                     access.

                     - Small businesses:
                                     - video-conferencing: similar characteristics as Telecommuting;
                                     - credit-card picture/signature verifications: small businesses can access a bank's or
                                     credit-card company's authorization database, which transmits the card-holder's picture
                                     and signature to avoid fraud.

                     - Games:
                                     - interactive games (user-to-server): end-user is able to playa game interactively from a
                                      remote server with various controls;
                                     - interactive games (user-to-user): one end-user is able to playa game interactively with
                                     another distant end-user with various controls;
                                     - off-track betting: an individual can bet remotely on a live event from home.

                     G.2              ADSL applications characteristics

                     For the ADSL services listed in G.1, it is assumed that POTS will always be available with a
                     control channel (C) and asymmetric channel (approximately 1.5, 3 or 6 Mbitls). User will be able
                     to subscribe to 28 + 0 and 384 kbitls services. Some of the characteristics for the above listed
                     services and applications are listed below for information only:

                     - Entertainment:
                                     - movies on demand:
                                                     - high-quality video (~ 1.5 Mbitls) plus audio (~ 64 kbitls) downstream;
                                                     - remote control with pause, forward, reverse capability (approx. 100 bitS/s)
                                                     upstream;
                                     - music on demand:
                                                     - high-quality audio (384 kbitls compressed or 1.5 Mbitls with 16 bits PCM)
                                                     downstream;
                                                     - remote control with pause, forward, reverse capability (approx. 100 bitS/s)
                                                     upstream;
                                     - interactive TV:
                                                     - high-quality video (~ 1.5 Mbitls) plus normal audio (~ 64 kbitls) downstream;
                                                     - mouse or jockey control (~ 16 kbitls) upstream;

                     -Educational/Institutional:
                                      - distant classrooms:
                                                     - high-quality video (> 3 Mbitls) plus audio (384 kbitls) downstream;
                                                     - audio (384 kbitls) upstream;
                                     - on-line books and manuals:
                                             - high-quality video (> 3 Mbitls) plus data downstream;
                                                     - mouse control for pull-down menus (max. of 64 kbitls) upstream;
                                      - medical and health consultation:
                                                     - high-quality video (> 1.5 Mbitls) plus voice plus data downstream;
                                                     - mouse-like controls to zoom-in and out on the graphical image being
                                                     transmitted (~ 64 kbitls) upstream;




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                         - Telecommuting:
                                - work-at-home:
                                       - high-quality video (> 1.5 Mbitls) plus voice plus data downstream;
                                       - audio (384 kbitls) plus data upstream;
                                - video-conferencing:
                                       - medium-quality video (~ 1.5 Mbitls) plus graphics plus data plus voice
                                       downstream;
                                       - graphics plus data plus voice (384 kbitls total) upstream;

                        - Small businesses:
                                - screen-sharing:
                                       - high-quality graphics (384 kbitls) plus data plus voice downstream;
                                       - voice plus graphics (384 kbitls) plus data upstream;
                               - video-conferencing:
                                       - medium-quality video (1.5 Mbitls) plus graphics plus data plus voice
                                       downstream;
                                       - video (1.5 Mbitls) plus graphics plus data plus voice upstream;
                               - credit-card picture/signature verifications:
                                       - high-quality graphics plus data plus voice (384 kbitls for all together)
                                       downstream;
                                       - voice plus graphics plus data (384 kbitls total) upstream;

                        - Games:
                              - interactive games (user-to-server and user-to-user):
                                       - high-speed video (~ 3 to 6 Mbitls) plus audio downstream;
                                       - speech-recognition, audio, jockey or mouse controls (:5 64 kbitls) upstream;
                              - off-track betting:
                                       - high-quality video (~ 3 to 6 Mbitls) plus audio plus data downstream;
                                       - audio plus data plus control (:516 kbitls) upstream.

                        Figure G.2 shows a mapping of downstream and upstream channel capacities with the services
                        that can be supported.

                                                                   6 Mbitls



                                                                   1.5 Mbitls



                                                                   384 kbitls




                                                             log scales
                                                                                     64   128      384
                                                                                Upstream Channel capacity
                                                                                (from user)


                                   Figure G.2 - Applications based on upstream and downstream channel capacity




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                                                                              Annex H
                                                                            (informative) 3 )

                              Aspects of ADSL systems based on data rates at multiples of 2.048 Mbitls

                    H.1             Scope
                    This annex provides clarification on options within the main body of the standard that relate to
                    systems operating in a 2.048 Mbitls environment (hereafter referred to as 2.048 Mbitls
                    applications). Note that only transport class 2M-3 is considered here.

                    H.2             Bearer channel allocations
                    The transport class and configuration of those allocations that are appropriate for 2.048 Mbitls
                    applications are shown in table H.1. The noise models and test loops presented in this annex are
                    for bearer channel allocations as shown in table H.1.

                                            Table H.1 - Bearer channel allocations for 2.048 Mbitls applications

                                            Transport class 2M-3          Simplex downstream                 Duplex rate(s)
                                               configuration                      rate                          (kbitls)
                                                                                (kbitls)
                                                                   1             2048                         160 (Note)
                                                                                                                16 (C)
                                                                                                               analog POTSt
                                                                                                         (inc. analoQ  POTS)
                                                                   2              2048                          16 (C)
                                                                                                               analog POTS)
                                                                                                         (inc. analoQ

                           NOTE - This rate is designed to accommodate ISDN-BRA (2B + 0 + overhead). Some carriers use a
                           concatenated concept of V ref. points (e.g. concatenation of V 1 + V   r). Therefore, it might be desirable
                                                                                                Vfj).
                           to limit the latency to a value of 1.25 ms per digital section and per ADSL system.

                    H.3             Noise models
                    Two noise sources are described for the testing of ADSL systems. These are frequency-domain
                    sources that model the steady-state operating environment caused by crosstalk from adjacent
                    wire pairs due to differing transmission systems. The two models differ because of the need to
                    cater to countries that mayor may not have HDB3-based primary rate systems operating at
                    2048 kbitls in their access networks. Model A is for the case where no such interferors exist,
                    while model B includes the crosstalk coupling effects of these types of systems.

                    H.3.1           Injection method

                    Test noise is applied as described in 15.3.1 .1.

                    H.3.2           Crosstalk noise sources

                   The power spectral density of the crosstalk noise sources used for performance testing is given in
                   figure H.1 for model A, and in figure H.2 for model B. Model A includes discrete tones, which
                   represent radio frequency interference that is commonly observed, especially on wire pairs routed
                   above ground. Further details of the specification of these noise models are shown in tables H.2
                   to H.4.

                   The resulting wideband noise power over the frequency range 1 kHz to 1.5 MHz for model A is
                    - 49.4 ± 0.5 dBm and for model B is - 43.0 ± 0.5 dBm.

                    The noise probability density function shall be approximately Gaussian with a crest factor ~ 5.


                   ~ This is an informative annex. However, the minimum requirements for performing the tests described in
                   this informative annex are indicated by the word "shall."

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                         The accuracy of the power spectral density shall be within ±1 dB over the frequency range 1 kHz
                         to 1.5 MHz, when measured with a resolution bandwidth of 1 kHz.

                            PSD (dBmlHz)                                                                       10 discrete tones

                         -100


                         -110

                         -120                                                                 /"
                                                                             -40 dB/decade slope
                         -130

                         -140

                         -150
                                            1                           10                         100                                  1000
                                                                                Freq. (kHz)
                                       Figure H.1 - Single-sided noise power spectral density into 100 n for model A


                                                                   Table H.2 - Coordinates for noise model A

                                                                             Freq.       PSD                     PSD
                                                                              kHz       dBmlHz                  uV/-JHz
                                                                               1         -100                    3.16
                                                                             79.5        -100                      3.16
                                                                             795         -140                      0.03
                                                                             1500        -140                      0.03




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                                                       Table H.3 - Tone frequencies and powers for noise model A

                                                                                Freq.               Power
                                                                                   kHz               dBm
                                                                                    99                -70
                                                                                   207                -70
                                                                                   333                -70
                                                                                   387                -70
                                                                                   531                -70
                                                                                   603                -70
                                                                                   711                -70
                                                                                   801                -70
                                                                                   909                -70
                                                                                   981                -70

                      PSD (dBm/Hz)
                     -70

                     -80                                     -20 dB/decade slope


                     -90

                    -100
                                                                                                                                          -40 dB/decade slope

                    -ItO
                    -110


                    -120

                    -130

                                                                           to
                                                                           10                       tOO
                                                                                                    100                                      tOoo
                                                                                                                                             tOOO
                                                                                                                                             1000
                                                                                    Freq. (kHz)
                                   Figure H.2 - Single sided noise power spectral density into 100 n for model B

                                                                         Table H.4 - Co-ordinates for noise model B

                                                                            Freq.            PSD                    PSD
                                                                             kHz           dBmlHz                mVtvHz
                                                                              1              -80                   31.62
                                                                              10            -100                    3.16
                                                                             300            -100                    3.16
                                                                            711             -115                    0.56
                                                                            1500            -115                    0.56




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                         H.4            Test loops
                        To test the performance of the ADSL system incorporating the bearer channel capabilities
                        outlined in clause H.2, the test loops specified in figure H.3 shall be used. The power spectral
                        density of the ADSL downstream transmission shall be as described in 6.13 of the standard with
                        the exception that the power boost option shall not be used for test purposes.

                         The variation of the primary line constants (R, Land C) with frequency for the different reference
                         cable types are given in tables H.9 - H.13. Note that the capaCitance, e, is constant with
                         frequency, and the conductance, G, is assumed zero. The RLe values are quoted per km at a
                                            0
                         temperature of 20 e and are measured values that have been smoothed.

                         Note also that there are adjustable sections (marked 'X') in figure H.3. The nominal lengths of
                         these sections, which are shown in tables H.5 - H.8, are calculated from the reference RLe
                         values for each cable type shown in tables H.9 - H.13. For repeatability of measurement
                         results, however, the lengths of these sections shall be adjusted for each individual test loop to
                         give the overall insertion loss shown in tables H.5 - H.8. Insertion loss is measured at 300 kHz
                         with 100 n (balanced resistive) source and termination impedances.




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                                       ATU-R (note 1)                                                                               ATU-C (note 1)
                                  loop # 0                                                 o km; null loop


                                  loop # 1                                                      Xkm

                                                                                                O.4mm


                                  loop # 2                                                      Xkm

                                                                                                0.5mm


                                                                             1.5 km                                Xkm
                                  loop # 3
                                                                                                   •              O.4mm
                                                                             0.5mm


                                  loop #4                          0.5km              1.5 km               Xkm                   0.2km

                                                                   0.63mm
                                                                               • 0.5mm •                  O.4mm
                                                                                                                          •      0.32 mm


                                                                   0.5km              0.5 km             .75 km                  Xkm
                                  loop # 5
                                                                   0.9mm
                                                                               • 0.63mm • 0.5mm • O.4mm
                                  loop # 6                          0.5 km                     1.25 km                         Xkm

                                                                    0.63mm
                                                                                      •        0.5mm
                                                                                                                  •           0.4 mm


                                                                   4.0km                       Xkm                    0.2km
                                  loop #7
                                                                   0.9mm
                                                                                      •        O.4mm
                                                                                                                 • 0.32mm

                                  loop # 8                         Om         1.1 km                                  Xkm

                                                                              O.4mm                                O.4mm

                                                                        0.5 km BT                    0.5 km BT
                                                                        O.4mm                        O.4mm

                                    NOTES
                                    1 These test loops are shown with the ATU-Rs on the left; this is in contrast to fig. 38,
                                    where the ATU-Rs are on the right.
                                    2 All cable is Polyethylene insulated.
                                    3 1 km = 3.28 kft.
                                    4 BT = Bridged tap (Le., section of unterminated cable).

                                              Figure H_3 - Test loop set for transport class 2M-3 configuration
                                                            1 or 2 operation with noise model A or B




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                                                              Table H.5 - Loop-set insertion loss and nominal lengths
                                                                        for 2M-3 configuration 1 (noise model A)

                                                                          Nominal value of      Loop insertion loss at
                                                                   Loop # adjustable length           300 kHz
                                                                                  'X'
                                                                                  km                          dB
                                                                     1           3.45                        49.0
                                                                     2           4.55                        49.0
                                                                     3           2.30                        49.0
                                                                     4           1.80                        49.0
                                                                     5           2.40                        49.0
                                                                     6           2.25                        49.0
                                                                     7           1.35                        49.0
                                                                     8           1.50                        43.0


                                                                   Table H.6 - Loop-set insertion loss and nominal length
                                                                            for 2M-3 configuration 2 (noise model A)

                                                                            Nominal value of     Loop insertion loss at
                                                                   Loop #   adjustable length          300 kHz
                                                                                   'X'
                                                                                   km                          dB
                                                                     1            3.60                        51.0
                                                                     2            4.80                        51.0
                                                                     3            2.50                        51.0
                                                                     4            2.00                        51.0
                                                                     5            2.55                        51.0
                                                                     6            2.40                        51.0
                                                                     7            1.55                        51.0
                                                                     8            2.10                        51.0


                                                               Table H.7 - Loop-set insertion loss and nominal lengths
                                                                        for 2M-3 configuration 1 (noise model B)

                                                                            Nominal value of     Loop insertion loss at
                                                                   Loop #   adjustable length          300 kHz
                                                                                   'X'
                                                                                   km                           dB
                                                                      1           2.45                         35.0
                                                                      2           3.20                         34.0
                                                                      3           1.30                         35.0
                                                                      4           0.80                         35.0
                                                                      5           1.40                         35.0
                                                                      6           1.25                         35.0
                                                                      7           0.40                         35.0
                                                                      8           1.00                         35.0




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                                                       Table H.8 - Loop-set insertion loss and nominal lengths
                                                                 for 2M-3 confiQuration
                                                                          configuration 2 (noise model B)
                                                                 Nominal value of      Loop insertion loss at
                                                        Loop # adjustable length              300 kHz
                                                                       'X'
                                                                       km                         dB
                                                              1       2.55                       36.0
                                                              2       3.40                       36.0
                                                              3       1.40                       36.0
                                                              4       0.90                       36.0
                                                              5       1.50                       36.0
                                                              6       1.35                       36.0
                                                              7       0.50                       36.0
                                                              8       1.10                       36.0


                                Table H.9 - RLe values for 0.32, 0.4, and 0.5 mm PE cables

                                                  0.32 mm cable                   0.4 mm cable                        0.5mmcable
                                                   C =40 nF/km                     C = 50 nF/km                        C = 50 nF/km
                        Freq                      R             L                R              L                    R              L
                        kHz                     .Q/km        IlHlkm
                                                             JlHlkm            .Q/km         IlHlkm
                                                                                             JlHlkm                .Q/km         IlH/km
                                                                                                                                 JlH/km
                           O.                  409.000      607.639           280.000       587.132               280.000       587.132
                          2.5                  409.009      607.639           280.007       587.075               280.007       587.075
                         10.                   409.140      607.639           280.110       586.738               280.110       586.738
                         20.                   409.557      607.639           280.440       586.099               280.440       586.099
                         30.                   410.251      607.639           280.988       585.322               280.988       585.322
                         40.                   411.216      607.639           281.748       584.443               281.748       584.443
                         SO.                   412.447      607.639           282.718       583.483               282.718       583.483
                      100.                     422.302      607.631           290.433       577.878               290.433       577.878
                      150.                     437.337      607.570           302.070       571.525               302.070       571.525
                      200.                     456.086      607.327           316.393       564.889               316.393       564.889
                      250.                     477.229      606.639           332.348       558.233               332.348       558.233
                      300.                     499.757      605.074           349.167       551.714               349.167       551.714
                      350.                     522.967      602.046           366.345       545.431               366.345       545.431
                      400.                     546.395      596.934           383.562       539.437               383.562       539.437
                      450.                     569.748      589.337           400.626       533.759               400.626       533.759
                      500.                     592.843      579.376           417.427       528.409               417.427       528.409
                      550.                     615.576      567.822           433.904       523.385               433.904       523.385
                      600.                     637.885      555.867           450.027       518.677               450.027       518.677
                      650.                     659.743      544.657           465.785       514.272               465.785       514.272
                      700.                     681.138      534.942           481.180       510.153               481.180       510.153
                      750.                     702.072      526.991           496.218       506.304               496.218       506.304
                      800.                     722.556      520.732           510.912       502.707               510.912       502.707
                      850.                     742.601      515.919           525.274       499.343               525.274       499.343
                      900.                     762.224      512.264           539.320       496.197               539.320       496.197
                      950.                     781.442      509.503           553.064       493.252               553.064       493.252
                     1000.                     800.272      507.415           566.521       490.494               566.521       490.494
                     1050.                     818.731      505.831           579.705       487.908               579.705       487.908
                     1100.                     836.837      504.623           592.628       485.481               592.628       485.481

                           = 0 at all frequencies.
                  NOTE - G =




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                                                                                                                                     ANSI T1.413-1995

                                                               Table H.10 - RLC values for 0.63 and 0.9 mm PE cables

                                                                       0.63 mm cable                        0.9 mm cable
                                                                        C==45 nFlkm                      C==40 nF/km
                                   Freq                               R               L               R                L
                                    kHz                              ntkm          ~Hlkm
                                                                                   u.Hlkm            ntkm           ~Hlkm
                                                                                                                    u.Hlkm
                                       O.                          113.000        699.258           55.000         750.796
                                       2.5                         113.028        697.943           55.088         745.504
                                      10.                          113.442        693.361           56.361         731.961
                                      20.                          114.737        687.008           59.941         716.775
                                      30.                          116.803        680.714           64.777         703.875
                                      40.                          119.523        674.593           70.127         692.707
                                      50.                          122.768        668.690           75.586         682.914
                                     100.                          143.115        642.718          100.769         647.496
                                     150.                          164.938        622.050          121.866         625.140
                                     200.                          185.689        605.496          140.075         609.652
                                     250.                          204.996        592.048          156.273         598.256
                                     300.                          222.961        580.960          170.987         589.504
                                     350.                          239.764        571.691          184.556         582.563
                                     400.                          255.575        563.845          197.208         576.919
                                     450.                          270.533        557.129          209.104         572.237
                                     500.                          284.753        551.323          220.365         568.287
                                     550.                          298.330        546.260          231.081         564.910
                                     600.                          311.339        541.809          241.326         561.988
                                     650.                          323.844        537.868          251.155         559.435
                                     700.                          335.897        534.358          260.615         557.183
                                     750.                          347.542        531.212          269.745         555.183
                                     800.                          358.819        528.378          278.577         553.394
                                     850.                          369.758        525.813          287.138         551.784
                                     900.                          380.388        523.480          295.452         550.327
                                     950.                          390.734        521.352          303.538         549.002
                                   1000.                           400.816        519.402          311.416         547.793
                                   1050.                           410.654        517.609          319.099         546.683
                                   1100.                           420.264        515.956          326.602         545.663

                         NOTE - G = 0 at all frequencies.




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                  ANSI T1.413·1995

                  H.5             ADSUPOTS splitter impedances

                  The design impedance for the POTS port of the splitter is application specific, and therefore
                  outside the scope of this informative annex. Of particular importance are return loss and resultant
                  sidetone levels. It is expected that some 2.048 MbiVs applications will require that the splitter
                  matches to a complex telephony impedance. Significant differences may exist between particular
                  applications; examples are:

                                  - telephony impedances;
                                  - telephony return loss;
                                  - out of (POTS) band signalling systems (e.g., subscriber private metering 11 kHz to
                                  50 kHz);
                                  - low frequency telemetry.

                  H.6             Testing

                  Performance testing is outlined in the main body of the standard (see clause 15). Note that
                  differences exist here with respect to the crosstalk noise sources (see H.3.2) and the test loops
                  (see clause H.4), and the addition of a maximum stress linearity test (see H.6.1). Further details
                  appropriate for testing are given in the main body of the standard.

                  H.6.1           Maximum stress linearity test

                  This test stresses the ADSL system to ensure that adequate linearity is achieved in
                  implementations. A modified Loop #1 from the loop·set given in figure H.3 is used for this test.
                  The modification is detailed in table H.14. An additive white Gaussian noise source with a power
                  spectral density of - 140 ±1 dBm/Hz over the frequency range 1 kHz to 1.5 MHz is applied at the
                  ATU-R in place of the crosstalk source. A resolution bandwidth of 1 kHz is used for calibration of
                  the power spectral density.

                                                   Table H.11 - Insertion loss (and nominal length) for Loop #1

                                        Transport class 2M-3            Nominal value of          Loop insertion loss at
                                           configuration             adjustable length 'X' of            300 kHz
                                                                            Loop #1                        dB
                                                                               km
                                                             1                4.35                               62.0
                                                             2                4.70                               67.0




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                                                                              Annex I
                                                                            (informative)

                                                                       Items for further study

                        The following is a partial list of items in the text of the standard that are indicated as being for
                        further study

                                        - the nature of the premises distribution (e.g., bus or star, type of media);

                                         - the use of upstream simplex bearer(s) (downstream simplex bearers are already
                                        specified);

                                        - switching on demand among the configurations allowed by a given transport class and
                                        on-line reassignment of bearer channels;

                                        - the entire framed 2.048 Mbitls (optional) structure is treated as a bearer data stream;
                                        the use of a lower payload rate is for further study;

                                        - support of the 576 kbitls optional duplex rate in the default mode of transport classes
                                        2, 3, and 2M - 2;

                                         - other uses of the eoc5 bit besides the presently defined ATU-R "dying gasp";

                                         - the use of R -ACK3;

                                         - the effects of the POTS splitter on voice-band performance;

                                         - other payload data rates;

                                         - location of the POTS splitters separate from the ATUs;

                                         - on-line change of data rates and reconfigurations;

                                         - sensitivity of pilot tones to single-frequency interference;

                                         - further definition of impulse noise performance requirements;

                                          - the impact of ADSL signal transfer delay on ISDN transport.




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                                                         ANSI T1.413 95 II 0724150 0526273 022 II

                    ANSI T1.413-1995


                                                                          AnnexJ
                                                                        (informative)

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                                                                                                    ON COMMUNICATIONS, VOL. 44.
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                                                                                                                                NO. IO,
                                                                                                                                    10, OCTOBER
                                                                                                                                        OCTOBER 1996
                                                                                                                                                1996




                                   of Clipping in DMT-Based Transceivers
A Method to Reduce the Probability of
                                                Denis J. G. Mestdagh and Paul M. P. Spruyt



   Abstract-A new method allowing a reduction in
   Abstract-A                                     in the probabil-
                                                     the probabil-                  been analyzed in the literature [6], [7] and methods based
                                                                                    been                                                             based
                             rnultitone (DMT)-based
     of clipping in discrete multitone
ity of                                  (DMT)-based transceivers                    on encoding the input data in order to reduce the peak-to-
    described.·
    described. The method does not use any kind of
is described.                                          of precod-                   average power ratio of   of the DMT signal have been proposed
ing and can easily be implemented within conventional DMT-
transceivers. The main advantage of the proposed method is an                       [SI,
                                                                                    [8], [9].
                                                                                          [9]. The coding methods, however, require an increase in
improvement of system performance in terms of    of overall signal-                 data rate and hence a reduction of    of the energy per bit for the
to-noise ratios
          ratios (SNR’s):
                 (SNR's): with the simplest implementation option                   same transmit power, resulting in performance degradation in
of the proposed method, up to about 8 dB improvement in the                         terms ofof information handling capacity of   of the communication
SNR as compared with previously
                          previously reported brute force clipping                  system.
methods can be achieved.
                                                                                       In this letter, an alternative method is proposed. Since N is
                                                                                    usually large (say N 2       128), A(t) can be accurately modeled
                                                                                                             ::: 128),
                            I. INTRODUCTION
                               INTRODUCTION                                         as a Gaussian random process (central-limit theorem) with a
                                                                                    zero mean and a variance o2   (j2 equal to the total signal power. Its

T     HE discrete multitone (DMT) modulation technique is                                                         (J'2

      emerging as a very powerful technique for applications                        probability density function (pdf), denoted as p(s),   p( x), is given
ranging from asymmetric
               asymmetric digital subscriber line (ADSL), dig-                           [6]
                                                                                    by 161
ital audio broadcast (DAB)
                       (DAB) to interactive video on demand
                                                                                                                    1
(IVOD)                          [l]-[3].
(IVOD) over CATV networks [1]-[3].                                                                      p(x) "" - - .                                   (2)
                                                                                                                 (J'V2K
   A DMT signal is the sum of N independently quadrature
amplitude modulated (QAM)
                        (QAM) signals
                               signals each being carried over
                                                                                       Therefore, large amplitude spikes arise very rarely (thanks to
a distinct carrier frequency,
                   frequency. The frequency separation of
                                                        of the
                                                                                    statistical averaging) so that by applying a specific
                                                                                                                                    specific processing
                          IT where T is the time duration of
N carriers is equal to 11/T                               of a
                                                                                    (no coding) only on DMT signals whose amplitudes exceed a
DMT symbol.
       symbol. The real part of the complex envelope of of the
                                                                                                       A Clip , one can obtain a DMT symbol stream
                                                                                    given amplitude &lip,
generated DMT signal can be expressed as
                                                                                    with almost no amplitudes
                                                                                                      amplitudes exceeding Aclip.
                                                                                                                               A C1ip '
               +00 N-1                               }                                                                follows. Section I1
                                                                                       The paper is organized as follows.                  II presents the
  A(t) = Rc { m~oo ~ [r~ 'e
                         , ej21r (k/T)t 'u(t
                                        , u(t - mT)]                        (1)     basics of the proposed method.
                                                                                                                 method. In Section 111,III, the resulting
                                                                                    improvement of system performance in terms of            of signal-to-
                                                                                    noise ratio (SNR) is derived.
                                                                                                               derived. Conclusions are reported in
where r~ r i denotes the QAM-phasor of carrier k (at frequency                      Section IV.
k IT)
   / T ) of the m-th DMT symbol       symbol and (u)t  ( u ) t is a rectangular
transmit pulse of duration T.          T.
    In a practical transceiver,
                    transceiver, the DMT symbol     symbol (1) is generated                            11. THE
                                                                                                       II. THE PROPOSED
                                                                                                               PROPOSED METHOD
                                                                                                                        METHOD
by means
     means of an inverse fast Fourier transform (IFFT) on the                           The basic idea behind the proposed method can be described
complex phasors {r~}, { r k ~ }kIC , EE [0, N -- 1]
                                        [0, N      11 [4],
                                                       [4].                          as follows. Assume that the maximum amplitude of       of the clipped
    Fig.
    Fig. 11 shows       instantaneous amplitude A(t)
             shows the instantaneous                        A ( t )of two DMT                signal, AClip,
                                                                                     DMT signal,       ACllp. is chosen so that the probability of
symbols generated
symbols      generated with two    two distinct
                                           distinct sets
                                                      sets of QAM-phasors
                                                                  QAM-phasors                                              specified value.
                                                                                     amplitude clipping is lower than a specified     value. In the DMT
                {~i}~,
{r~h and {r~h, and N =                   = 256. For both symbols,
                                         =                                   16-
                                                                   symbols, 16-      transmitter, the symbols
                                                                                     transmitter,      symbols generated by the IFFT are analyzed by
QAM carrier modulation
QAM              modulation is     is assumed.
                                       assumed. A noticeable feature  feature of     a peak detector which provides an indication of the presence
      symbol in Fig.
the symbol        Fig. l(b)
                        l(b) as
                             as compared with the one in Fig. lea)          l(a)        absence of amplitude
                                                                                     or absence      amplitude clipping. According to this indication,
                                                                                                                                                indication,
is            exhibits large
is that it exhibits     large amplitude
                                  amplitude spikes
                                                 spikes which arise when             two distinct actions are taken:
                                                                                                                 taken:
several frequency
several    frequency components
                      components add in-phase. in-phase. These spikesspikes may                   If the amplitude of the DMT symbol
                                                                                              a: If
                                                                                        Case a:                                    symbol never exceeds
have a serious
have      serious impact on the design complexity and feasibility     feasibility    Acllp, then the symbol is sent to the transmitter front-end
                                                                                     AClip,
          transceiver’s analog
of the transceiver's      analog front-end
                                       front-end (i.e.,
                                                    (Le., high resolution of                        change.
                                                                                     without any change.
D/A-A/D convertors
D/A-AID       convertors and line drivers  drivers with a linear behavior               Case b:
                                                                                        Case      If the generated DMT symbol has at least one
                                                                                              b: If
over a large
over       large dynamical
                 dynamical range),range). In In addition,
                                                  addition, regulations
                                                                regulations can      sample whose amplitude
                                                                                     sample            amplitude exceeds
                                                                                                                  exceeds AAcllp,
                                                                                                                             C1ip , then it is not passed
        the peak envelope
limit the          envelope power or the        the probability of clipping                                         front-end. Instead,
                                                                                     directly to the transmitter front-end.     Instead. the phasor of
[SI. The
[5].  The effect
            effect of amplitude
                      amplitude clipping
                                       clipping in in DMT transceivers
                                                                transceivers has           QAM-modulated carrier is changed by means of a fixed
                                                                                     each QAM-modulated                                               fixed
  Paper approved
  Paper  approved by S.S.Benedetto,
                           Benedetto, the
                                       the Editor for Signal
                                           Editor for Signal Design,
                                                             Design, Modulation,     phasor-transformation and a new DMT symbol
                                                                                     phasor-transformation                       symbol is generated by
and Detection
and                 the IEEE
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                                 Communications Society.
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                                                                                     the IFFT.                selection of the phasor-transformation,
                                                                                                                                 phasor-transformation,
March
March 31,
       31, 1995;
            1995; revised
                  revised September
                            September 11,
                                        11, 1995.
                                            1995.                                    the probability of clipping this new symbol
                                                                                                                             symbol (second
                                                                                                                                       (second pass) will
  The authors
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                are with
                     with tbe
                          the Alcatel
                               Alcatel Corporate
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                                                   Research Center,
                                                             Center, Antwerp,
                                                                     Antwerp, B-
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20 18 Belgium.                                                                                 low. (The
                                                                                     be very low.     (The resulting
                                                                                                           resulting overall clipping probability will  will
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                                                                                           Cisco v. TQ Delta, IPR2016-01020
                                                                                                                  Page 1 of 5
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IEEE TRANSACTIONS ON COMMUNICATIONS, VOL,         10, OCTOBER 1996
                                                              1996                                                                            1235




                            o                                                                                                T
                                                                          (a)




                            o0                                                                                               T
                                                                                                                             T

                                                                          (b)

Fig. L                          A((t)t ) of two DMT symbols generated with two distinct sets of phasors {r~}
     1. Instantaneous amplitude A
                                A(t)                                                                    { r i }I and
                                                                                                                 ~ {&}2.         = 2·';6.
                                                                                                                           and N :::: 256.


   The receiver at the far-end is informed about the application                given by
(or not) of the phasor-transformation at the transmitter, and                                          +00
applies the inverse transformation (Case b) or not (Case      (Case                      P     2·                 dx = 1    erf               (3)
                                                                                                    ./ A C1ip
                          QAM-modulated carriers,
a) after demapping the QAM-modulated           carriers. This extra
information requires only one bit per DMT symbol.    symbol. This
                                                               This             where erf(t) is the error function defined by
bit could be provided by modulation of the pilot tone that
otherwise carries no information and that is permanently used                                   ?       j.t       dy   1-
             synchronization. Forward error correction coding
to maintain synchronization.                                                                   VIr' 0
andor duplication of this information over another or several
and/or                                                       several               Assuming 2N  2N independent samples per DMT symbol, the
tones can be envisaged to improve the reliability of this data                  probability that the symbol
                                                                                                     symbol must be clipped after the first pass
recovery.                                                                       (Le., at least one sample has an absolute amplitude larger than
                                                                                (i.e.,
   Many phasor-transformations can   ean be used. An easy-to-                   AClip) is given by
                                                                                Aclip)
            fixed random phasor transformation (known at the
implement fixed
                                                                                                    PClip/l     = 1
                                                                                                                =     (1- P y .
                                                                                                                  1 - (1                      (4)
                                                                                                                                              (4)
receiver) will be considered in what follows.
                                           follows. Several other
(more involved) transformations
                  transformations can be used as wen  well without                 The validity of (4) has been confirmed with great accuracy
affecting the main results presented here.                                      (better than 1%) by extensive computer simulations.
                                                                                                                            simulations.
   The overall probability of clipping with the "two-pass"
                                                         "two-pass"                We assume that due to the random phasor-transform (with
method described above can readily be obtained using (2).       (2).            large N ) , the probability that the symbol must be clipped
The probability that a given sample in the DMT symbol has                       after the second-pass, Pclip,2,
                                                                                                           PClip/2, is equal to Pclip/l.
                                                                                                                                  PClip/I' This is
an absolute amplitude larger than A         (Aclip > 0)
                                       Clip (AClip
                                     AcliP             0) is simply             particularly the case if the transformation is a random bijection

                                                                                                                   CSCO-1023
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                                                                                                                    Page 2 of 5
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                          Nee, "OFDM            forpeak-to
                                         codes for
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                               Jedwub,          o-meannpower
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                                        (' Peak-to-mean         cont.rol     error correcti
                                                                         and error
                                                                control and
                                                         power control       error          on for
                                                                                   correction   for
 [71]
       OFDM transmi
       OFOM
       OFDM      transmission
                         ssion using    Golay sequenc
                                  using Golay  sequen ces
                                               sequences   and Reed-M
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                                  E. Jones,              isation of tthe
                                              "Minimisation          t.he       to mean
                                                                       he peak to         envelopee
                                                                                   mean envelop
      power ratio
      power           multicarrier
                      mullicarrier
             ratio of multica                ssion
                                    transmission
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                              rrier transmi          schemess by block
                                                ion scheme                 coding,"" in
                                                                   block coding,
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line of any length, a POSITA would not have considered Shively’s bit-spreading

technique to be limited to being used on only long lines.

V.    Likelihood of phase alignment of random data and data using Shively’s
bit spreading technique
        15.     DMT systems generally sought to randomize the data being

transmitted to reduce the likelihood of phase alignment among the multiple carriers

used to transmit data. To do so, they typically employed a bit-scrambler that

would apply an exclusive-OR operation between each bit being transmitted and a

bit generated by pseudorandom number generator. The resulting stream of bits

encodes the desired data but is mathematically pseudorandom. The ANSI T1.413-

1995 standard describes a typical arrangement in Section 6.3. See ANSI T1.413-

1995, p. 35. A corresponding pseudorandom number generator in the receiver and

another exclusive-OR operation could then be used to recover the original data

bits.

        16.     When a bit-scrambled data stream is transmitted, the bits are mapped

to QAM symbols that then specify the phase of each carrier. Since the bits are

pseudorandom, the QAM symbols are pseudorandom, and the resulting carrier

phases are pseudorandom.1 This makes the amount of phase-alignment among the


1
    To be exact, the phase of each carrier is pseudorandomly selected from a discrete

number of possible phase values, which depend on the modulation scheme. QAM-

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carriers also be pseudorandom, so that the sum of the signals (representing the

power required to transmit the summed signal) can be appropriately approximated

using a Gaussian random variable. When the carriers’ phase-alignment is not

random (or pseudorandom), then the Gaussian approximation does not hold and

should not be used. Shively’s bit-spreading technique causes multiple carriers to

be intentionally aligned, and therefore the likelihood of their alignment is no longer

randomized. A system using Shively’s bit-spreading technique cannot be

reasonably approximated by a Gaussian random variable. Thus, Dr. Short was not

correct in applying the Gaussian approximation to a system using Shively’s bit-

spreading technique. See Ex. 2003, ¶66.

      17.     The likelihood that a given number of carriers transmitting random

symbols will all be phase-aligned depends on the number of carriers. Basically,

with an increasing number of carriers, it becomes less likely that all of those

carriers will be phase-aligned. The examples below further explain this concept.

      18.     First, consider the case in which single bits are transmitted by

modulating the phases of individual carriers. This modulation scheme is known as

4, for example, has four phase values. In systems with a sufficient number of

carriers (such as the 256 carriers called for in ANSI T1.413-1995), the difference

between (a) each carrier having one of a set number of possible phases and (b)

each carrier having any phase value, is not significant.

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binary phase shift keying (“BPSK”), because each carrier has one of two phase

values. For example, the bit value of “0” can correspond to a sine wave, while the

bit value of “1” can correspond to a sine wave with a 180º phase shift. If two bits

are modulated onto two distinct carriers, the carriers will have the same phase

when they encode the same bit values. As shown in Table I below, there are four

possible combinations of bit values. In two of those combinations, the bit values

are the same (either both “1” or both “0”). If all four possible combinations are

equally likely (e.g., because the bit values are random), then the likelihood that

both bits have the same value, and hence the likelihood of both carriers having the

same phase, is 2 in 4, or 50%.

                                           Table 1

                  Carrier #1          Carrier #2       Phases Aligned?
                   Bit = 0             Bit = 0            Aligned
                  Phase = 0º          Phase = 0º
                   Bit = 0             Bit = 1            Not aligned
                  Phase = 0º         Phase = 180º
                   Bit = 1             Bit = 0            Not aligned
                 Phase = 180º         Phase = 0º
                   Bit = 1             Bit = 1               Aligned
                 Phase = 180º        Phase = 180º


      19.    When three carriers are phase-modulated with three bits (one bit on

each carrier), there are 23 = 8 possible combinations of bit values on the carriers.

The bits will all be the same only if they are all 0’s or all 1’s. Thus, the likelihood


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of all three carriers carrying the same value, and therefore having the same phase,

is 2 in 8, or 25%. This is illustrated using the Table 2 below:

                                          Table 2

              Carrier #1        Carrier #2       Carrier #3       Phases Aligned?
               Bit = 0           Bit = 0          Bit = 0            Aligned
              Phase = 0º        Phase = 0º       Phase = 0º
               Bit = 0           Bit = 0          Bit = 1           Not aligned
              Phase = 0º        Phase = 0º      Phase = 180º
               Bit = 0           Bit = 1          Bit = 0           Not aligned
              Phase = 0º       Phase = 180º      Phase = 0º
               Bit = 0           Bit = 1          Bit = 1           Not aligned
              Phase = 0º       Phase = 180º     Phase = 180º
               Bit = 1           Bit = 0          Bit = 0           Not aligned
             Phase = 180º       Phase = 0º       Phase = 0º
               Bit = 1           Bit = 0          Bit = 1           Not aligned
             Phase = 180º       Phase = 0º      Phase = 180º
               Bit = 1           Bit = 1          Bit = 0           Not aligned
             Phase = 180º      Phase = 180º      Phase = 0º
               Bit = 1           Bit = 1          Bit = 1            Aligned
             Phase = 180º      Phase = 180º     Phase = 180º


      20.    Similarly, when four carriers are phase-modulated with one bit per

carrier, there are 24 = 16 possible combinations of bit values. The likelihood of all

four carriers carrying the same bit value, and thus having the same phase, is 2 in

16, or 12.5%. This is illustrated using the Table 3 below:

                                          Table 3

  Carrier #1      Carrier #2       Carrier #3        Carrier #4      Phases Aligned?
   Bit = 0         Bit = 0          Bit = 0           Bit = 0           Aligned
  Phase = 0º      Phase = 0º       Phase = 0º        Phase = 0º


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  Carrier #1       Carrier #2      Carrier #3       Carrier #4     Phases Aligned?
   Bit = 0          Bit = 0         Bit = 0          Bit = 1         Not aligned
  Phase = 0º       Phase = 0º      Phase = 0º      Phase = 180º
   Bit = 0          Bit = 0         Bit = 1          Bit = 0          Not aligned
  Phase = 0º       Phase = 0º     Phase = 180º      Phase = 0º
   Bit = 0          Bit = 0         Bit = 1          Bit = 1          Not aligned
  Phase = 0º       Phase = 0º     Phase = 180º     Phase = 180º
   Bit = 0          Bit = 1         Bit = 0          Bit = 0          Not aligned
  Phase = 0º      Phase = 180º     Phase = 0º       Phase = 0º
   Bit = 0          Bit = 1         Bit = 0          Bit = 1          Not aligned
  Phase = 0º      Phase = 180º     Phase = 0º      Phase = 180º
   Bit = 0          Bit = 1         Bit = 1          Bit = 0          Not aligned
  Phase = 0º      Phase = 180º    Phase = 180º      Phase = 0º
   Bit = 0          Bit = 1         Bit = 1          Bit = 1          Not aligned
  Phase = 0º      Phase = 180º    Phase = 180º     Phase = 180º
   Bit = 1          Bit = 0         Bit = 0          Bit = 0          Not aligned
 Phase = 180º      Phase = 0º      Phase = 0º       Phase = 0º
   Bit = 1          Bit = 0         Bit = 0          Bit = 1          Not aligned
 Phase = 180º      Phase = 0º      Phase = 0º      Phase = 180º
   Bit = 1          Bit = 0         Bit = 1          Bit = 0          Not aligned
 Phase = 180º      Phase = 0º     Phase = 180º      Phase = 0º
   Bit = 1          Bit = 0         Bit = 1          Bit = 1          Not aligned
 Phase = 180º      Phase = 0º     Phase = 180º     Phase = 180º
   Bit = 1          Bit = 1         Bit = 0          Bit = 0          Not aligned
 Phase = 180º     Phase = 180º     Phase = 0º       Phase = 0º
   Bit = 1          Bit = 1         Bit = 0          Bit = 1          Not aligned
 Phase = 180º     Phase = 180º     Phase = 0º      Phase = 180º
   Bit = 1          Bit = 1         Bit = 1          Bit = 0          Not aligned
 Phase = 180º     Phase = 180º    Phase = 180º      Phase = 0º
   Bit = 1          Bit = 1         Bit = 1          Bit = 1            Aligned
 Phase = 180º     Phase = 180º    Phase = 180º     Phase = 180º


      21.     Likewise, when eight carriers are phase modulated with one bit per

carrier, there are 28 = 256 possible combinations of bit values. The likelihood of all

eight carriers having the same phase is 2 in 256, or 0.78%.


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      22.     In general, when n bits are modulated on n carriers, there are 2n

possible combinations of bit values. There are only two possible ways for all of

the bit values to be the same (either all 0’s or all 1’s), so the likelihood of n carriers

all having the same phase is:

                                             ଶ
                                                                                    Eq. 1
                                             ଶ೙




      23.     Shively’s technique changes the likelihood of multiple carriers having

the same phase significantly. When Shively’s bit-spreading technique is applied to

the carriers, the bits on these carriers are no longer independent of one another.

Instead, Shively’s bit spreading technique intentionally modulates multiple carriers

with the same bit, which results in these carriers having the same phase.

      24.     Shively suggests using groups of 4 carriers. Ex. 1011, 13:49-52. This

means that the 4 carriers in each group will carry the same data and be modulated

using the same symbol. Shively contemplates that the 4 carriers will collectively

transmit a single bit of data, and thus they will have a 1-bit symbol. The phase-

modulation of a single bit of data is known as BPSK. If 4 carriers use Shively’s

technique, the likelihood that these 4 carriers will phase-align is 100%. It is a stark

contrast to 12.5% chance of phase alignment when the 4 carriers carry random bits.

If 8 carriers use Shively’s technique (two groups of 4), then the likelihood of all 8


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carriers being phase-aligned is 50%. Again, it is a stark contrast to the 0.78%

chance if these same carriers carried random bits.

                                            25.   In general, when n bits are modulated onto n carriers that are divided

into groups of 4, and each group carries the same bit values, there are 2n/4 possible

combinations of bit values. So, the likelihood of n carriers all having the same

phase if they are employing Shively’s technique is:

                                                                                    ଶ
                                                                                   ೙                                    Eq. 2
                                                                                  ቀ ቁ
                                                                                 ଶ ర

                                            26.   Graphing equations #1 and #2 illustrates that probability of n-carriers

having perfect phase alignment when carriers carry random bits and bits using

Shively’s bit spreading technique is never close, and only grows further apart as

the number of carriers increase:

                                                                           Graph 1
    likelihood of perfect phase alignment




                                                                        number of carriers


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      27.     As illustrated above, the probability of carriers phase-aligning is

radically different between the random-data case (equation #1) and the Shively’s

bit spreading technique case (equation #2).

      28.     The enormity of the differences also becomes apparent when

considering how often the phases of carriers align in a multicarrier system, such as

ADSL as defined by the ANSI T1.413-1995 standard. ADSL transmits 4000 DMT

symbols per second. ANSI T1.413-1995, p. 24. Table 4 below summarizes the

frequency with which n carriers will have a perfect phase alignment when a given

number of carriers carry random BPSK data (equation #1) and when they carry

BPSK data using Shively’s bit spreading technique (equation #2). To determine the

frequency with which a set of carriers have perfect phase alignment, the

likelihoods of equation #1 and equation #2 are multiplied by the DMT symbol rate

(4000 symbols/second).

                                        Table 4

Number of phase-            Random data frequency       Shively frequency
aligned carriers
          4                 500 times per second        4000 times per second
          8                 31 times per second         2000 times per second
          16                Once every 8 seconds        500 times per second
          24                Once every 35 minutes       125 times per second
          32                Once every 6 days           31 times per second
          48                Once every 1100 years       2 times per second
          52                One every 17,850 years      Once per second


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      29.     In his analysis of an 18,000 foot cable, Dr. Short determined that a

maximum of 16 carriers (4 groups of 4) carried bits using Shively’s bit spreading

technique. Ex. 2003, ¶66. Dr. Short’s analysis is flawed because, in assuming a

Gaussian approximation, he treats Shively’s carriers as if they carried random data

and thus grossly underestimates the likelihood that those carriers will have their

phases align. Dr. Short erroneously assumed that Shively’s bit spreading technique

will, on average, cause all 16 carriers to have the same phase about once every 8

seconds. But Table 4 demonstrates that Shively’s bit spreading technique will

cause all 16 carriers to align approximately 500 times per second. Thus, Dr. Short’s

numerical analysis is based entirely on an erroneous assumption and is unreliable.

VI.  The 12,000 foot cable example shows how Shively’s technique increases
PAR and the likelihood of signal clipping
      30.     Dr. Short stated that his analysis of an 18,000 foot narrow gauge and

high loss (AWG26) cable without crosstalk is based in part on Figure 6 in Exhibit

2009. Ex. 1027, 32:2-8. Figure 6, replicated below, shows line attenuation for five

different cable lengths.




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Ex. 2009, p. 31, Fig. 6.

      31.    Figure 6 shows line attenuation in the frequency band from 0 kHz to

1100 kHz, which generally corresponds to the frequency range used for

communication in the ANSI T1.413-1995 standard. The ANSI standard employs

256 carriers, with each carrier spaced 4.3125 kHz apart. ANSI T1.413-1995, p. 46.

Because low frequency carriers, such as carriers #1 through #6, are often reserved

for analog voice and a guardband, ADSL services typically start with carrier #7.

Ex. 1016, p. 187. Thus, out of 256 carriers there may be 250 downstream carriers




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that can carry ADSL data.2 It is appropriate to focus on the use of Shively’s

technique in the downstream direction because it generally uses more carriers than

the upstream direction, so the engineering considerations regarding signal power

and PAR are generally greater for the downstream direction.

        32.    In his analysis of an 18,000 foot cable, Dr. Short categorizes the

carriers into three groups:

              Unimpaired carriers are those carriers above a threshold that can be

               used for ordinary ADSL communication (i.e., above the 2-BIT

               THRESHOLD (DMT) shown in Figure 6). Unimpaired carriers can

2
    The availability of 250 downstream carriers is for systems employing echo

cancellation, allowing the upstream subchannels to also be used for downstream

data. If echo cancellation is not used, then there will be fewer carriers used for

downstream data. See ANSI T1.413-1995, p. 46:

        The channel analysis signal defined in 12.6.6 allows for a maximum
        of 255 carriers (at frequencies nΔf , n = 1 to 255) to be used. If echo
        cancelling (EC) is used to separate downstream and upstream signals,
        then the lower limit on n is determined by the ADSL/POTS splitting
        filters; if frequency division multiplexing (FDM) is used the lower
        limit is set by the down – up splitting filters. The cut-off frequencies
        of these filters are completely at the discretion of the manufacturer
        because, in either case, the range of usable n is determined during the
        channel estimation.
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               carry data with high probability of success. Ex. 2003, ¶¶ 27-28; Ex.

               1027, 27:9-16.

              Impaired carriers are those carriers that cannot be used for ordinary

               ADSL communication (i.e., below the 2-BIT THRESHOLD) but are

               above the -140 dBm/Hz background noise floor. Impaired carriers

               can carry data using Shively’s bit spreading technique. Ex. 2003, ¶¶

               49-50; Ex. 1027, p. 22:24-23:7 and 90:12-14.

              Unusable carriers are those carriers below the noise floor (-140

               dBm/Hz). Unusable carriers are not used to carry data. Ex. 2003, ¶51;

               Ex. 1027, 28:17-20.

      33.     Below I have applied Dr. Short’s categories to the 12,000-foot

example shown in Dr. Short’s source for attenuation information. To assist with

applying Dr. Short’s categories, I have annotated Fig. 6 with a horizontal line

at -135 dBm/Hz, which approximates the minimum received signal strength

required to reliably use a carrier to transmit one bit, when that carrier is part of a

group of four carriers employing Shively’s bit-spreading technique. I arrived at the

-135 dBm/Hz value as follows: First, the 1-bit threshold would normally lie about

11.3 dBm/Hz above the -140 dBm/Hz noise floor, or at about -128.7 dBm/Hz.

That value is approximately where Dr. Short drew his 1-bit threshold on Fig. 6.

See Ex. 2003, ¶59. The annotated Figure 6 below shows the 1-bit threshold as a

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dashed red line. Using Shively’s bit-spreading technique across four carriers

provides approximately 6 dB of coding gain, meaning that the 1-bit threshold when

using Shively’s technique is 6 dBm/Hz lower, at about -135 dBm/Hz.3




                                                          1-bit (non-repeating)
                                                          threshold


                                                          1-bit, 4-carrier-
                                                          repeating threshold



                          Unimpaired      Impaired Unusable
                           Carriers        Carriers Carriers


Ex. 2009, Fig. 6 (annotated).
3
    This analysis does not take into account a ± 3dB ripple permitted in the ANSI

T1.413 power spectral density mask. See ANSI T1.413-1995, p. 48, Fig. 17. The

power spectral density mask allows slightly more power (up to 3dB) to be put into

carriers whose attenuated signal strength would be close to the -135 dBm/Hz

threshold. By exploiting the ±3dB ripple, a transmitter could potentially extend the

application of Shively’s bit-spreading technique to even more carriers.

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      34.    In effect, consideration of the minimum signal strength required to

reliably transmit one bit when using Shively’s technique (i.e., the -135 dBm/Hz

threshold) differs from Dr. Short’s description of the delineation between

“impaired” and “unusable” carriers. Dr. Short’s description would categorize

carriers between -135 dBm/Hz and -140 dBm/Hz as “impaired,” whereas I am

categorizing them as “unusable” when Shively’s technique is applied to groups of

four carriers. However, using Shively’s bit-spreading on these “unusable” carriers

(for example, by spreading over more than 4 carriers to achieve greater coding

gain) would only cause PAR to climb even higher.

      35.    When I apply Dr. Short’s carrier categories to the 12,000 foot

AWG26 attenuation graph, the carriers with frequencies from 0 to approximately

810 kHz are “unimpaired” carriers that can carry random data using ordinary

ADSL modulation (e.g., QAM-4). The carriers with frequencies from

approximately 810 kHz to approximately 1040 kHz are “impaired” carriers that

could carry data using Shively’s bit spreading technique. The carriers with

frequencies approximately 1040 kHz to 1104 kHz are “unusable” carriers when

Shively repeats one bit on four carriers.

      36.    To determine the number of unimpaired carriers, I divide the carriers

in the unimpaired frequency range (0 kHz to 810 kHz) by the frequency width of




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each carrier (4.3125 kHz). This analysis demonstrates that the 12,000 foot cable

has approximately 188 unimpaired carriers (810 kHz / 4.3125 kHz = 188).

      37.     To determine the number of impaired carriers, I divide the carriers in

the impaired frequency range (810 kHz to 1040 kHz, or 230 kHz) by the frequency

width of each carrier (4.3125 kHz). This analysis demonstrates that the 12,000 foot

cable has approximately 53 impaired carriers (230 kHz / 4.3125 kHz = 53.3).

Using a similar approach, I calculate that the unusable frequencies between 1040

kHz and 1104 kHz correspond to approximately 15 unusable carriers: (1104 kHz –

1040 kHz) / 4.3125 = 14.8 carriers.

      38.     As I mentioned previously, the six lowest-frequency carriers were

commonly left unused to avoid potential interference with ordinary analog voice

communications. Thus, the 12,000 foot cable would use approximately 182

unimpaired carriers (188 – 6 = 182). Shively suggests an example that uses the bit-

spreading technique with carriers arranged in groups of four, which would allow

for 52 of 53 impaired carriers to carry repeated data (arranged in 13 groups of 4

carriers each). The leftover, 53rd carrier would be unused.

      39.     When 52 carriers (13 groups of 4) carry repeated data, varying

numbers of carriers will align at different DMT symbols, thereby creating a spike

in the transmission signal amplitude. For example, Table 4 illustrates that:




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                any 8 carriers4 (2 groups of 4) will perfectly align 2000 times per

                  second;

                any 16 carriers (4 groups of 4) will perfectly align 500 times per

                  second;

                any 24 carriers (6 groups of 4) will perfectly align 125 times per

                  second;

                any 32 carriers (8 groups of 4) will perfectly align 31 times per

                  second;

                any 40 carriers (10 groups of 4) will perfectly align 8 times per

                  second;

                any 48 carriers (12 groups of 4) will perfectly align 2 times per

                  second; and

                all 52 carriers (13 groups of 4) will perfectly align about once per

                  second.

         40.     Because multiple carriers will align numerous times per second, these

carriers will generate spikes in amplitude and lead to a significant increase in PAR.


4
    That is to say, for any selected two groups of four carriers, the likelihood of those

two groups having the same phase is 50%, and thus at 4000 symbols per second,

they will be exactly phase-aligned 2000 times per second.

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       41.     Dr. Short stated that in the 18,000 foot cable example he considered,

less than half of the carriers are usable. Because less than half of the carriers can

transmit data, Dr. Short stated that the transmitter transmitting a signal over an

18,000 foot cable operates at less than half average power. This is not the case for

a 12,000 foot cable. The 12,000 foot cable does has very few (15) unusable

carriers. Thus, most of the available carriers could be transmitting data on a 12,000

foot cable. Thus, the transmitter transmitting data on all carriers could operate at

close to full average power. Because Shively’s technique increases the frequency

with which a large number of carriers will be aligned and create a spike in signal

amplitude, Shively’s technique significantly increases PAR. For a transmitter that

was designed to transmit a random signal multicarrier signal, attempting to

transmit a signal using Shively’s bit-spreading technique will cause a significant

increase in signal clipping.

VII. A simulation of a transmitter shows that Shively’s technique increases
PAR and the likelihood of clipping
       42.     Because Shively’s technique transmits the same bits on multiple

carriers, a POSITA would have intuitively known that Shively’s technique would

significantly increase the likelihood of carriers’ phases aligning, and therefore

increase PAR.

       43.     A POSITA would also have known that quantifying the exact level of

increase in PAR could not be calculated using a simple Gaussian approximation.
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Instead, quantifying the increase in PAR would have called for running numerical

simulations of a transmitter. Such simulations were commonly created and run by

engineers in the 1990s to investigate the impact of proposed modulation techniques

on a communication system’s performance. A POSITA would have known how to

create and run a simulation of Shively’s bit-spreading technique. In order to

quantify the increase in PAR, I designed and wrote a simulation of an ADSL

transmitter that calculates the clipping probability of a DMT symbol for different

values of PAR under different simulation conditions.

      44.     Exhibit 1034, provided with this declaration, is a true and accurate

copy of the code for the simulation that I wrote, which runs in MathWorks Matlab

or GNU Octave.

      45.     My simulation takes into account different scenarios that can occur

when data is transmitted in an ADSL system. Equations #1 and #2 show the

likelihood that all carriers will phase-align perfectly and generate a spike in power

in a system that has n carriers. However, spikes can also occur when various

carriers are only partially phase-aligned. Furthermore, the amplitude of a spike

will depend in part on the specific frequencies of the carriers that are phase-

aligned. Shively describes replicating data (a k-bit symbol) over adjacent carriers.

Ex. 1011, 11:16-19.




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      46.       In short, the PAR for any specific signal (and the likelihood that the

signal will cause clipping) depends on the phase and amplitude of all of the

carriers, not just those (for example) that are employing Shively’s bit-spreading

technique. My simulation takes all of these considerations into account by

simulating the processing that a transmitter would perform on a random data

stream, including:

    mapping the data for each subcarrier to a QAM symbol,

    grouping QAM symbols into a DMT symbol, and

    performing an inverse discrete Fourier transform on the DMT symbol to

      compute a time-domain signal.

The simulation then calculates the PAR of that time-domain signal. The

simulation repeats this process for millions of transmission cycles (DMT symbols),

aggregating the results to produce a graph showing the relationship between PAR

and the likelihood that a time-domain signal with that PAR will cause clipping.

This is a type of graph that a POSITA would have created in the 1990s to evaluate

Shively’s impact on PAR. Indeed, this is the type of graph that I presented in my

PhD dissertation to show how the PAR reduction techniques I developed could

achieve better-than-Gaussian performance. See, e.g., Ex. 1025, p. 79, Fig. 4.2 & p.

93, Fig. 4.5.



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      47.     Graph 2 shows the simulation results for four distinct scenarios, based

in part on the attenuation of a 12,000 foot cable in TQ Delta’s Exhibit 2009, p. 31,

Fig. 6:

    Scenario #1: An all-carriers baseline simulates an ADSL transmitter

      employing QAM-4 modulation of random data on all 250 available

      downstream carriers. Because all 250 downstream carriers are modulated

      with random data the transmitter is operating on full average power. This

      simulates an ADSL transmitter where all carriers can be used, for example,

      the 9,000 foot cable and attenuation curve shown in Fig. 6 above.

    Scenario #2: A Gaussian distribution with the same power as the all-carriers

      baseline scenario. Note that the Gaussian curve is very close to the all-

      carriers baseline discussed above, which confirms that a Gaussian

      approximation can closely estimate the power required for a transmitter to

      transmit random data on all 250 downstream carriers with QAM-4

      modulation.

    Scenario #3: A 12,000 foot baseline simulates an ADSL transmitter

      employing QAM-4 modulation of random data on 182 carriers. Because

      only 182 out of 250 downstream carriers are modulated with random data

      the transmitter is operating on approximately 73% of the full average power.

      This simulates the operating conditions of an ordinary ADSL transmitter

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        operating on a 12,000 AWG26 cable with no crosstalk, and the attenuation

        curve shown in Ex. 2009, p. 31, Fig. 6 (as discussed above).

      Scenario #4: A Shively 12,000 foot scenario simulates an ADSL transmitter

         employing QAM-4 modulation of random data on 182 carriers, and using

         Shively’s bit-spreading technique to transmit an additional 13 bits of random

         data spread across 52 additional carriers (in 13 groups of 4 carriers each).

         Because 234 out of 250 carriers (182 + 52) carry data, the transmitter is

         operating on close to full average power. This scenario simulates the

         operating conditions of an ADSL transmitter employing Shively’s technique

         on a 12,000 AWG26 line with no crosstalk, and the attenuation curve shown

         in Ex. 2009, p. 31, Fig. 6 (as discussed above).

         48.     In reading the graph, consideration must be made to the difference

between the clipping requirement of the ANSI T1.413-1995 standard (which is 10-7

applied to the samples of the time domain signal, see ANSI T1.413-1995, p. 48)

and the clipping probability shown in the graph (which reflects the probability of

clipping a DMT symbol). For each DMT symbol, the transmitter’s inverse fast-

Fourier transform (IFFT) will produce 512 time domain samples,5 so the ANSI

T1.413-1995 standard corresponds approximately to a DMT symbol clipping rate

of 512 × 10-7 = 5.1×10-5. I have annotated a line on the graph at that clipping rate.

5
    This represents the minimum sampling rate, also called the Nyquist rate.

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                                      Graph 2




                                                                         5.1 x 10-5
                                                                         clipping
                                                                         threshold




      49.    The simulation shows that for a transmitter to transmit data on all 250

carriers (Scenario #1) with a DMT symbol clipping rate of 5.1 x 10-5, the

transmitter must be designed to handle a PAR of approximately 14.2 dB. The

impact of Shively’s bit-spreading technique can be observed by comparing

Scenario #3 (which does not use it) to Scenario #4 (which uses Shively’s bit-

spreading technique, but is otherwise equivalent to Scenario #3). If only 182

carriers carry data (Scenario #3), then PAR is approximately 12.9 dB. But when

Shively’s technique is applied to the 52 of the impaired carriers grouped into

groups of 4 (Scenario #4), PAR increases to approximately 15.5 dB. This increase

in PAR is significant, and a POSITA in the 1990s would have considered a PAR

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increase of 2.6 dB relative to not using Shively’s technique to be very large

(approximately 82%). That means that a transmitter requires 82% more power to

handle Scenario #4 than to handle Scenario #3, which would increase the

transmitter’s component cost, power consumption, and waste heat generation.

      50.     The significance can further be appreciated by comparing Scenario #4

to Scenario #1. Scenario #1 corresponds to transmitting random data on 250

carriers. The difference in PAR values is 15.5 – 14.2 = 1.3 dB, which represents

an increase of approximately 35%. That means that a transmitter designed to

handle this scenario would have to handle 35% more power, which would increase

the transmitter’s component cost, power consumption, and waste heat generation.

Furthermore, if a transmitter designed to handle the signal of Scenario #1 (i.e., an

ordinary ADSL transmitter able to handle a PAR of 14.2 dB without clipping)

were presented with the signal of Scenario #4, such a transmitter would have a

clipping rate of approximately 10-3. That clipping rate is roughly two orders of

magnitude greater than the maximum permitted DMT symbol clipping rate of

5.1×10-5, and would correspond to a clipping event occurring, on average,

approximately 4 times per second. Thus, a transmitter designed to handle an

ordinary ADSL transmission would not meet the clipping requirement of ANSI

T1.413-1995 when presented with a signal employing Shively’s technique under

the conditions of Scenario #4 (e.g., line length, wire gauge, noise levels, etc.).

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      51.    To be clear, the presented analysis for Scenario #4 is specific to an

AWG26 line of approximately 12,000 with no crosstalk noise. Other scenarios,

which might consider other line lengths and potential crosstalk or other noise

sources, would present conditions in which the impact of Shively’s bit-spreading

technique would be even worse.

      52.    Thus a correct analysis of Shively’s bit-spreading technique confirms

what a POSITA would have intuitively recognized without performing

mathematical calculations: Shively’s bit-spreading technique significantly

increases PAR.

VIII. A POSITA would have wanted to reduce to cost of a transmitter
employing Shively’s bit-spreading technique
      53.    I previously opined that “Market forces would have motivated a

POSITA to use the data transmission techniques described by Shively and Stopler

to provide high-speed Internet access and video services in order to meet demands

of consumers for such services.” Ex. 1009, ¶80.

      54.    Shively’s bit-spreading technique increases data transmission rate by

transmitting more bits in each DMT symbol. Increasing the data transmission rate

was considered desirable by telecommunications companies and their customers.

However, Shively’s bit-spreading technique also increases PAR. Designing a

transmitter to handle an increase in PAR leads to a transmitter with a higher

component cost, more power consumption, and greater waste heat generation.
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through column 12, lines 18 to 36, is to QAM symbols. Thus, when Stopler states

that “the phase scrambler is applied to all symbols” (Ex. 1012, 12:26-27), it is

describing the phase scrambling of QAM symbols.

      57.    Second, Stopler explicitly states that the purpose of the phase

scrambler is to “randomize the overhead channel symbols” (Ex. 1012, 12:24),

which a POSITA would have understood as a reference to the fact that Stopler’s

overhead channel symbols are non-random, and therefore they suffer from an

increased likelihood of being phase-aligned. Since overhead channel symbols are

generally QAM symbols in a DMT system, the only way to randomize the

overhead channel symbols is to randomize the QAM symbols. Applying phase

randomization to DMT symbols, as TQ Delta and Dr. Short interpret Stopler,

would not break up any structure or phase alignment of the overhead channel

symbols, and thus would not randomize the overhead channel symbols. The

interpretation by TQ Delta and Dr. Short would not achieve Stopler’s stated

purpose for the phase scrambler.

      58.    Third, Stopler states that the phase scrambler could be followed by a

CDMA modulator. Ex. 1012, 12:55-57. CDMA does not use DMT symbols, and

therefore it would make no sense for the phase scrambler to be operating on a

DMT symbol that is not used by CDMA. In contrast, CDMA does employ QAM

symbols. Thus, the only logically and technically coherent reading of Stopler’s

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description is that Stopler’s phase scrambler applies a pseudorandomly selected

phase rotation on a QAM symbol-by-QAM symbol basis. This is the natural

interpretation of Stopler’s description of the phase scrambler that a POSITA would

have had.

X.    Stopler does not require diagonalization
      59.     I understand that Dr. Short has opined that a POSITA would not have

combined Shively and Stopler because Stopler’s diagonalization technique would

cause an unacceptable amount of latency in Shively’s communication system. I

disagree.

      60.     First, Dr. Short’s opinion was based on the incorrect premise that the

combination of Shively and Stopler would necessarily employ diagonalization.

Stopler makes statements like “regardless of whether diagonalization is being

used.” Ex. 1012, 10:17. Thus, Stopler considers diagonalization to be optional.

Notably, diagonalization is not required for Stopler’s phase scrambler to operate.

Accordingly, Stopler’s description of diagonalization is not relevant to the

combination of Shively and Stopler.

      61.     Second, Stopler describes how the slope of his diagonalization

technique can be selected to adjust the amount of latency that it causes. Stopler

states that “[o]ther slopes may be used” and advises “taking into account trade-offs

between latency and noise immunity.” Ex. 1012, 8:35 & 12:47-48. Thus, even if


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·1· · · · ·UNITED STATES PATENT AND TRADEMARK OFFICE
·2
·3· · · · ·BEFORE THE PATENT TRIAL AND APPEAL BOARD
·4
·5· ·CISCO SYSTEMS, INC.,· · · · )
·6· · · · · · · · · · · · · · · ·) Case No.
·7· · · · · · · · Petitioner,· · ) IPR2016-01020
·8· · · · · · · · · · · · · · · ·)· · ·-and-
·9· · · · · · ·vs.· · · · · · · ·) Case No.
10· · · · · · · · · · · · · · · ·) IPR2016-01021
11· ·TQ DELTA, LLC,· · · · · · · )
12· · · · · · · · · · · · · · · ·) U.S. Patent No.
13· · · · · · · Patent Owner.· · ) 9,014,243
14
15· · · · · · · The deposition of ROBERT T. SHORT,
16· ·Ph.D., called as a witness for examination, taken
17· ·before VICTORIA C. CHRISTIANSEN, a Certified
18· ·Shorthand Reporter of the State of Illinois, CSR
19· ·No. 84-3192, at Suite 3500, 500 West Madison
20· ·Street, Chicago, Illinois, on the 27th day of
21· ·April, A.D. 2017, at 9:17 a.m.
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·1· ·which -- which helps linearize the transmitter
·2· ·system.· So those are things I can think of right
·3· ·off.
·4· · · · Q.· · When you talk about changing the phase
·5· ·of the symbols that are scattered through the band,
·6· ·what do you mean?
·7· · · · A.· · Well, in a multicarrier system, the
·8· ·primary contributor to peak-to-average occurs when
·9· ·the symbols all have the same -- all have the same
10· ·value, and if you just change the value, which
11· ·usually you do by changing -- just by rotating the
12· ·symbols, then you can reduce the peak-to-average
13· ·ratio.
14· · · · Q.· · Is that something that you're familiar
15· ·with?
16· · · · A.· · Yes.
17· · · · Q.· · And is that something that you've done
18· ·in your -- in your work as a consultant?
19· · · · A.· · Yes.
20· · · · Q.· · About how many times?
21· · · · A.· · I'm not sure I know -- I'm not sure I
22· ·remember.· I can think of three systems where we --
23· ·where we did that.
24· · · · Q.· · Okay.· And what kind of systems were
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·1· · · · A.· · Ask the question again.
·2· ·BY MR. EMERSON:
·3· · · · Q.· · Okay.· Do you see in this paragraph
·4· ·where they talk about symbols, for example, A1, A2,
·5· ·B1, B2, et cetera?
·6· · · · A.· · Yes.
·7· · · · Q.· · Can those be QAM symbols?
·8· · · · A.· · Yes, I think that's correct.
·9· · · · Q.· · Okay.· Let's go to your -- the
10· ·declaration now.
11· · · · A.· · Okay.
12· · · · Q.· · All right.· Would you turn to Paragraph
13· ·44, please?
14· · · · A.· · Okay.
15· · · · Q.· · And there you're talking about Shively
16· ·discussing long loop systems where the cable length
17· ·is at least 18,000 feet, right?
18· · · · A.· · Right.· I'm -- I'm quoting Shively here.
19· · · · Q.· · Understood.· Shively's technique could
20· ·be used with shorter cable lengths, couldn't it?
21· · · · A.· · I don't see any reason to -- he never
22· ·taught that, he never even mentioned that it could
23· ·be, so I don't see any reason to make that
24· ·conclusion.
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·1· · · · Q.· · And my question isn't whether there's a
·2· ·reason to do it or not; my question is this:· Could
·3· ·you use Shively's bit-spreading technique on a
·4· ·system having a cable length less than 18,000 feet?
·5· · · · A.· · I haven't really done that analysis just
·6· ·because he very specifically says that it works at
·7· ·18,000 feet or more loops.· I didn't -- I didn't
·8· ·try to analyze that situation.
·9· · · · Q.· · So do you have any opinion at all on
10· ·whether Shively's technique could be used on a
11· ·system with a cable length of less than 18,000
12· ·feet?
13· · · · A.· · Not without making the proper analysis.
14· ·I did not do that analysis.
15· · · · Q.· · So it is not your opinion that it would
16· ·not be possible to use Shively's technique on a
17· ·shorter cable length?
18· · · · A.· · There are a lot of negatives in that.
19· ·Would you repeat that question?
20· · · · Q.· · Sure.· You are not expressing an opinion
21· ·that Shively cannot be used with cable lengths less
22· ·than 18,000 feet?
23· · · · A.· · I will express an opinion that that
24· ·isn't a useful thing to do, but I -- other than
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·1· ·the signal is too low compared to the noise?
·2· · · · A.· · That's a good definition of
·3· ·"impairment."
·4· · · · Q.· · So using that definition, would you
·5· ·agree with me that there are other kinds of
·6· ·impairments that can affect communication systems?
·7· · · · A.· · Yes.
·8· · · · Q.· · So since we're talking about signal and
·9· ·noise, noise can be a problem leading to impairment
10· ·in a communication system, right?
11· · · · A.· · True.
12· · · · Q.· · True.· Near-end crosstalk can be an
13· ·impairment in a communication system, right?
14· · · · A.· · In these types of communication systems,
15· ·yes.
16· · · · Q.· · Because that increases the noise, right?
17· · · · A.· · Correct.
18· · · · Q.· · Increasing the noise decreases the
19· ·signal-to-noise ratio?
20· · · · A.· · Correct.
21· · · · Q.· · Which is an impairment?
22· · · · A.· · Correct.
23· · · · Q.· · Okay.· Likewise, far-end crosstalk can
24· ·be an impairment, right?
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·1· · · · A.· · Correct.
·2· · · · Q.· · Because that increases the noise, right?
·3· · · · A.· · Correct.
·4· · · · Q.· · And that decreases the signal-to-noise
·5· ·ratio?
·6· · · · A.· · Correct.
·7· · · · Q.· · Now, these same issues can affect
·8· ·communication systems where the cable length is
·9· ·less than hundred -- or 18,000 feet, correct?
10· · · · A.· · Correct.
11· · · · Q.· · It can apply to any kind of
12· ·communication system?
13· · · · A.· · Near-end and far-end crosstalk don't
14· ·appear in any kind of communication system.
15· · · · Q.· · Fair enough.· You're right.
16· · · · · · · Problems associated with increasing
17· ·noise levels can be a problem with any kind of
18· ·communication system, right?
19· · · · A.· · Correct.
20· · · · Q.· · Because signal-to-noise ratios are
21· ·always an issue, right?
22· · · · A.· · Correct.
23· · · · Q.· · And you want -- it's best to have a
24· ·higher -- it's better to have a higher
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·1· ·threshold, correct?
·2· · · · A.· · Correct.
·3· · · · Q.· · And the figure on Page 29 of your
·4· ·declaration talks about a 1-bit threshold, right?
·5· · · · A.· · Correct.
·6· · · · Q.· · And I'm just wondering:· Why did you
·7· ·change that?
·8· · · · A.· · Well, because Shively talks about
·9· ·transmitting a single bit.
10· · · · Q.· · So you did that to make it consistent
11· ·with Shively?
12· · · · A.· · Correct.
13· · · · Q.· · Okay.· So using the figure in Exhibit
14· ·1021 for a 12,000-foot loop, could you do the same
15· ·calculations that you did for the 18,000-foot loop?
16· · · · A.· · I don't know why I would because Shively
17· ·talks about 18,000-foot curves, but I could do
18· ·similar calculations.
19· · · · Q.· · Okay.· So that -- and that was my
20· ·question, whether you could and not whether in your
21· ·opinion someone would, okay?
22· · · · · · · So just to be clear, could you do the
23· ·same calculations for a 12,000-foot loop?
24· · · · A.· · I see no reason why not.
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·1· ·together such that there's a high peak, right?
·2· · · · A.· · That is a fundamental cause of high
·3· ·peak-to-average.
·4· · · · Q.· · Right.
·5· · · · A.· · Pardon me.· I don't generally like
·6· ·acronyms, so I will say "peak-to-average."
·7· · · · Q.· · Now, if -- and when I say "PAR," you
·8· ·understand that to mean the same thing, right?
·9· · · · A.· · I do.
10· · · · Q.· · Okay.
11· · · · A.· · Yes.
12· · · · Q.· · So fair enough.· I understand what you
13· ·mean and you understand what I mean, right?
14· · · · A.· · Correct.
15· · · · Q.· · So you would agree with me, right, that
16· ·one way that an engineer could address high PAR in
17· ·a communication system would be to use transceiver
18· ·components that could handle higher peak
19· ·transmission values?
20· · · · A.· · Correct.
21· · · · Q.· · And a problem with that, though, is that
22· ·those components can be expensive, right?
23· · · · A.· · Expensive, power hungry.· There's --
24· ·there's a variety of things that could be a
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·1· ·problem, but yes.
·2· · · · Q.· · Okay.· So you mentioned those components
·3· ·can be expensive, right?
·4· · · · A.· · Correct.
·5· · · · Q.· · And they could be power hungry?
·6· · · · A.· · Correct.
·7· · · · Q.· · What -- and those are problems, right,
·8· ·issues?
·9· · · · A.· · Those are issues, yeah.
10· · · · Q.· · What other issues do you see with using
11· ·components -- you said that there were several, so
12· ·we talked about expense, power.
13· · · · · · · What other issues are there associated
14· ·with using equipment that can handle higher
15· ·transmission values?
16· · · · A.· · Just simple component size could be an
17· ·issue, so...
18· · · · Q.· · Which could make the equipment larger?
19· · · · A.· · Correct.
20· · · · Q.· · What else?
21· · · · A.· · I'm not thinking of any others at the
22· ·moment.
23· · · · Q.· · So given those issues, would you agree
24· ·with me that, you know, system designers or
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·1· ·engineers would be interested in using techniques
·2· ·that could reduce PAR?
·3· · · · A.· · Correct.
·4· · · · Q.· · And these problems associated with high
·5· ·PAR were known before 1999, right?
·6· · · · MR. McANDREWS:· Objection, foundation.
·7· ·BY THE WITNESS:
·8· · · · A.· · That's a way general question.
·9· ·BY MR. EMERSON:
10· · · · Q.· · Okay.
11· · · · A.· · In what con- -- in what context?
12· · · · Q.· · How about in ADSL.
13· · · · A.· · ADSL.· I actually don't know the answer
14· ·to that question.· I -- certainly nothing on the
15· ·record suggests that the problem was known at -- in
16· ·the context of ADSL, at least not that I recall
17· ·seeing, and in my own experience, I don't -- I
18· ·don't remember whether we were worried about that.
19· · · · Q.· · And by "that," we mean high
20· ·peak-to-average?
21· · · · A.· · Correct.
22· · · · Q.· · Okay.· What about in other contexts?
23· ·Were you aware of that being an issue, high
24· ·peak-to-average, in other communication contexts?
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·1· ·that it wasn't an issue in multicarrier systems
·2· ·before 1999?
·3· · · · A.· · I'm telling you I don't remember,
·4· ·correct.
·5· · · · Q.· · All right.· Let's turn to Page 10 of
·6· ·your declaration and I'm going to look at Paragraph
·7· ·22.
·8· · · · A.· · Okay.
·9· · · · Q.· · And in the first sentence, you state, "A
10· ·high PAR can occur when a large number (or
11· ·percentage) of the carriers have the same phase."
12· · · · · · · Do you see that?
13· · · · A.· · Correct.
14· · · · Q.· · What do you -- what do you mean exactly
15· ·by a large number or a large percentage?
16· · · · A.· · That's a very relative thing.· The more
17· ·of the carriers that have the same phase, the
18· ·greater the peak-to-average in the -- in that --
19· ·the -- yeah, the greater the peak-to-average in
20· ·that waveform.
21· · · · · · · So it's a relative thing.· If half of
22· ·them have the same phase and the others don't have
23· ·the same phase, then you'll have a certain
24· ·peak-to-average.· If you double the number of
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·1· ·carriers that have the same phase, then the
·2· ·peak-to-average will increase.
·3· · · · Q.· · All right.· And so to reduce the number
·4· ·of carriers having the same phase, one way to
·5· ·address that is to randomize the phases of
·6· ·individual carriers within a multicarrier system,
·7· ·right?
·8· · · · A.· · Yes.
·9· · · · Q.· · And would you agree with me that this
10· ·concept of randomizing the phases of individual
11· ·carriers within a multicarrier signal to reduce PAR
12· ·was known in the prior art?
13· · · · A.· · I don't know that.
14· · · · Q.· · You don't know that.
15· · · · A.· · I don't know that.
16· · · · Q.· · Was that -- was this idea of
17· ·randomization known in your experience before 1999?
18· · · · A.· · I don't know that.
19· · · · Q.· · You don't know that?
20· · · · A.· · I don't know that.
21· · · · Q.· · You don't know that.· Okay.
22· · · · · · · It's not your opinion that it wasn't
23· ·known, though, correct?
24· · · · A.· · I see nothing in the record or in my
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·1· ·may be the same as that used in ADSL.· In order to
·2· ·randomize the overhead channel symbols, a phase
·3· ·scrambling sequence is applied to the output
·4· ·symbols."
·5· · · · · · · Randomizing the overhead channel symbols
·6· ·was a known thing at this time, I remember that,
·7· ·but what you're doing is randomizing in time, not
·8· ·frequency, because the channel -- the known channel
·9· ·symbols, you know, are adjacent in time, and so the
10· ·only thing that he's saying is that you're trying
11· ·to randomize in time by virtue of the fact that
12· ·he's trying to randomize the overhead channel
13· ·symbols.
14· · · · · · · So there's -- there's no reason in this
15· ·case to randomize in frequency, as well.· There's
16· ·no reason based on his rationale here.
17· · · · Q.· · Okay.· At the beginning of that
18· ·paragraph, Stopler states, "The input to the QAM
19· ·mapper is data in the form of m-tuples which are to
20· ·be mapped into QAM symbols, for example, ranging
21· ·from QPSK to 256-QAM, tone by tone."
22· · · · · · · Do you see that?
23· · · · A.· · I do.
24· · · · Q.· · Okay.· And when they're talking about
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·1· ·symbols there, they're talking about QAM symbols,
·2· ·right?
·3· · · · A.· · Correct.
·4· · · · Q.· · Okay.· Pilot tones are overhead symbols,
·5· ·right?
·6· · · · A.· · Pilot tones would be a form of overhead,
·7· ·yes.
·8· · · · Q.· · And are there other kinds of overhead
·9· ·symbols?
10· · · · A.· · I don't know.
11· · · · Q.· · You don't know one way or the other?
12· · · · A.· · I don't know.
13· · · · Q.· · Okay.· And pilot tones are QAM
14· ·modulated, right?
15· · · · A.· · Typically.· You know, I don't remember
16· ·the ADSL standard specifically.· They're a known --
17· ·a known -- they're a symbol at a known phase, but
18· ·QAM would be a good way to do that, yes.
19· · · · Q.· · Okay.· And when Stopler talks about
20· ·overhead channel symbols, he's referring to QAM
21· ·symbols, right?
22· · · · A.· · I believe that's right.· Yeah, I don't
23· ·believe he says, but that -- I think that's a
24· ·reasonable discussion point.
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·1· · · · A.· · No, that -- that does not.
·2· · · · Q.· · Okay.
·3· · · · A.· · In fact, it's really kind of irrelevant
·4· ·to the rest of this discussion.· It's just a
·5· ·mechanism for doing scrambling.
·6· · · · Q.· · Well, so -- but you agree QAM symbols
·7· ·are input to the phase scrambler?
·8· · · · A.· · One or more QAM symbols are.
·9· · · · Q.· · Now, does Stopler state anywhere that a
10· ·phase scrambler groups multiple QAM symbols into a
11· ·DMT symbol?
12· · · · A.· · I don't believe he says that.
13· · · · Q.· · So what's the output of the phase
14· ·scrambler?
15· · · · A.· · The output for the phase scrambler is
16· ·the input rotated by whatever the phase scrambling
17· ·algorithm is.
18· · · · Q.· · Okay.· And those would be QAM symbols?
19· · · · A.· · It would be -- in the case of CDMA, it
20· ·would be a QAM symbol.· In the case of OFDM -- I'll
21· ·use OFDM generally rather than DMT --
22· · · · Q.· · Okay.
23· · · · A.· · -- but with OFDM, it would be the bank.
24· ·It would be -- based on what he's saying, it would
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·1· ·be the bank, the entire OFDM symbol.
·2· · · · Q.· · When you say "based on what he's
·3· ·saying," what are you referring to in particular?
·4· · · · A.· · I'm referring specifically to the
·5· ·statement that he's randomizing the overhead
·6· ·channel symbols.· It would make no -- it would not
·7· ·be valuable to randomize the overhead channel, and
·8· ·follow that by -- let me find the line.
·9· · · · · · · "However, to simplify implementation,
10· ·the phase scrambler is applied to all symbols," not
11· ·just the overhead symbols, so he is implying that
12· ·he's rotating the entire bank of symbols.
13· · · · · · · Simplicity would not drive you to
14· ·scramble individual subcarriers one by one.· You'd
15· ·want to -- based on what he's saying,
16· ·oversimplification in doing the -- the pilot
17· ·symbols, the overhead symbols, you'd do the whole
18· ·bank.· There would be no reason to do anything
19· ·else.
20· · · · Q.· · But that's something you are concluding
21· ·from this?
22· · · · A.· · It's something I'm concluding from this.
23· · · · Q.· · It's not something that Stopler tells
24· ·us?
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·1· · · · A.· · Stopler is not clear.· Stopler does not
·2· ·teach anything but what I said.· He does teach what
·3· ·I said.
·4· · · · Q.· · Well, Stopler -- Stopler doesn't teach
·5· ·applying the phase scrambler to the DMT as a whole,
·6· ·correct?
·7· · · · A.· · I think he does, but --
·8· · · · Q.· · Not expressly.
·9· · · · A.· · I will -- I will say that it's somewhat
10· ·ambiguous.
11· · · · Q.· · Well, you would agree with me that he
12· ·doesn't expressly teach applying the phase
13· ·scrambler to the DMT as a whole?
14· · · · A.· · I would agree with that.
15· · · · Q.· · In that sentence, however, to simplify
16· ·what you read --
17· · · · A.· · Yes.
18· · · · Q.· · -- it says it applies to all symbols,
19· ·right?
20· · · · A.· · Correct.
21· · · · Q.· · And those symbols are QAM symbols?
22· · · · A.· · Correct.
23· · · · Q.· · And the only dispute is whether they're
24· ·done individually or to the entire DMT?
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·1· · · · Q.· · In Shively, the DSL receiver will
·2· ·compute the signal-to-noise ratio on a per-tone
·3· ·basis, right?
·4· · · · A.· · Shively assumes that that's known, so
·5· ·okay, yes.
·6· · · · Q.· · So that's a yes?
·7· · · · A.· · Yeah, that's a yes.
·8· · · · Q.· · Okay.· Let's turn back to your
·9· ·declaration and let's go to Paragraph 77.
10· · · · A.· · Okay.
11· · · · Q.· · Just in general, would you agree that
12· ·within the field, the meaning of -- when we're
13· ·talking about "rotating," we're talking about
14· ·changing the phase of the carrier?
15· · · · A.· · I didn't get -- hear the question.
16· · · · Q.· · Well --
17· · · · A.· · Maybe I just misunderstood it.
18· · · · Q.· · Sure.· We talk about -- we talk about
19· ·rotation in this context, right?
20· · · · A.· · Correct.
21· · · · Q.· · All right.· And, in fact, in Paragraph
22· ·77, you talk about phase rotation, right, or at
23· ·least you quote some -- a question that refers to
24· ·phase rotation, correct?
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·1· · · · A.· · Correct.
·2· · · · Q.· · When we talk about phase rotation, we're
·3· ·talking about changing the phase of a carrier,
·4· ·right?
·5· · · · A.· · Correct.
·6· · · · Q.· · Okay.· And phase rotation and phase
·7· ·scrambling are referring essentially to the same
·8· ·thing, right?
·9· · · · A.· · Not necessarily.
10· · · · Q.· · How would they be different?
11· · · · A.· · A phase rotation -- phase scrambling
12· ·would tend to be somewhat of a pseudo-random
13· ·thing -- in other words, somewhat unpredictable --
14· ·where phase rotation would be totally predictable.
15· ·It may not have the same connotation at all.
16· · · · Q.· · Okay.· So when we're doing -- when we're
17· ·referring to "phase scrambling," we're doing phase
18· ·rotation on a pseudo-random basis?
19· · · · A.· · That -- that's a reasonable thing to do,
20· ·yes.
21· · · · Q.· · Okay.
22· · · · A.· · I want to be careful not to make -- say
23· ·that that's the only thing, but it's -- it's a
24· ·reasonable thing.
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·1· ·tone is a tone that's impaired because its signal
·2· ·has been dropped for some reason such as
·3· ·attenuation.
·4· · · · A.· · Okay.
·5· · · · Q.· · All right?· And by a noise-impaired
·6· ·tone, I mean a tone that's impaired because you've
·7· ·got more noise in the channel.
·8· · · · A.· · Okay.· I mean, that's not the way
·9· ·Shively describes it, but that -- I can agree with
10· ·what you're saying.
11· · · · Q.· · Well, Shively doesn't limit impairment
12· ·to attenuation-related impairment, does it?
13· · · · A.· · Well, he -- his entire concept is -- is
14· ·a sloped attenuation model, if you will, so the
15· ·attenuation is decreasing at some slope -- some
16· ·monotonic slope, and that is -- I would infer that
17· ·to mean it's a -- it's a signal -- it's the signal
18· ·falling below the noise floor rather than the noise
19· ·magically getting bigger.
20· · · · Q.· · Okay.· But his technique is not limited
21· ·to those situations where the impairment is caused
22· ·by a decrease in signal rather than increasing
23· ·noise, is it?
24· · · · A.· · I would think you could apply his
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·1· ·technique elsewhere, but I don't believe he teaches
·2· ·such a thing.
·3· · · · Q.· · Understood.· But you -- you would agree
·4· ·that you could use his technique on other kinds of
·5· ·impaired tones?
·6· · · · A.· · Okay, yes.
·7· · · · Q.· · You would agree with that?
·8· · · · A.· · I agree with that.
·9· · · · Q.· · Okay.
10· · · · MR. KARP:· Telephone people, please put your
11· ·phones on mute.· Thanks.
12· ·BY MR. EMERSON:
13· · · · Q.· · Let's go to your declaration, please.
14· · · · A.· · Okay.
15· · · · Q.· · All right.· Let's go to Page 11.
16· · · · A.· · Okay.
17· · · · Q.· · And you see you have a figure there on
18· ·the top of Page 11?
19· · · · A.· · Yes.
20· · · · Q.· · On the right side of that figure, you
21· ·have a graph that represents the sum of these 25
22· ·carriers?
23· · · · A.· · Correct.
24· · · · Q.· · That's a multicarrier signal, right?
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      ADSL Modulation
                  Although CAP modulation is well-understood and relatively inexpensive, some argue that it is
                  difficult to scale because it is a single-carrier modulation technique and is susceptible to
                  narrowband interference. DMT uses multiple carriers and is standardized by the ANSI
                  committee TlE1.4 (document T1.413) and lTV G.992.l, or G.dmt.
                  This standard calls for 256 subbands of 4 kHz each, thereby occupying 1.024 GHz. Each
                  subband can be modulated with QAM 64 for clean subbands, down to QPSK. If each of the
                  subbands can support QAM-64 modulation, then the forward channel supports 6.1 Mbps. On
                  the return path are 32 subbands, with a potential for 1.5 Mbps.



      CAP and DMT Compared
                  CAP is a single-carrier technique that uses a wide passband. DMT is a multiple-carrier
                  technique that uses many narrowband passbands as individual carriers. The two have a number
                  of engineering differences, even though they ultimately can offer similar service to the network
                  layers discussed previously.


      Adaptive Equalization
                 Adaptive equalizers are amplifiers that shape frequency response to compensate for attenuation
                 and phase error. Adaptive equalization requires that the modems learn line characteristics-and
                 do so by sending probes and looking at the return signals. The equalizer then knows how it must
                 amplify signals to get a nice flat frequency response. The greater the dynamic range, the more
                 complex the equalization. ADSL requires 50 dB of dynamic range, making adaptive equali-
                 zation complicated. Only with recent advances in digital signal processing (number crunching)
                 has it become possible to have such equalization in relatively small packaging.
                 Adaptive equalization is required for CAP because noise characteristics vary significantly
                 across the frequency passband. Adaptive equalization is not needed for DMT because noise
                 characteristics do not vary across any given 4 kHz subband. A major issue in comparing DMT
                 with CAP is determining the point at which the complexity of adaptive equalization surpasses
                 the complexity ofDMT's multiple Fourier transform calculations. This is determined by further
                 implementation experience.


      Power Consumption
                 Although DMT clearly scales to RBB and does not need adaptive equalization, other factors
                 must be considered. First, with 256 channels, DMT has a disadvantage regarding power
                 consumption (and, therefore, cost) when compared with CAP. DMT has a high peak to average
                 power ratio because the multiple carriers can constructively interfere to yield a strong signal.
                 DMT has higher computational requirements, resulting in more transistor in the transceiver
                 chips. Numbers are mostly proprietary at this point, but it is estimated that a single transceiver




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                                                                                     Asymmetric DSL          177   I>
                                                                                                                   I




            will consume 5 watts of power, even with further advances. Power consumption is important
            because hundreds or thousands (as carriers dearly hope) of transceivers might be at the CO. This
            would require much more heat dissipation than CAP requires.


Speed
            DMT appears to have the speed advantage over CAP. Because narrow carriers have relatively
            few equalization problems, more aggressive modulation techniques can be used on each
            channel. For CAP to achieve comparable bit rates, it might be necessary to use more bandwidth,
            far above 1 MHz. This creates new problems associated with high frequencies on wires and
            would reduce CAP's current advantage in power consumption.


Licensing
            DMT is a public, open standard. Globespan Technologies (formerly ATT Paradyne) is the
            licensing agent for CAP. As of this writing, 20 companies have been issued licenses. Among the
            licensees are Bellcore, Westell, Nokia (Finland), and NEC (Japan). One of the marketing
            difficulties of CAP is that system providers are reluctant to license the intellectual property
            from a single source; it makes them feel vulnerable. If there were more licensors of the
            technology, perhaps CAP would have fared better.


Overview of CAP Versus DMT Summary
            This discussion has tried to fairly represent the CAPIDMT debate. Without a doubt, advances
            will be made in both technologies, which will narrow the various technical gaps. Table 4-3
            summarizes the important differences as they exist at the time of this writing.
Table 4-3   Comparison of CAP and DMT for ADSL
                                            CAP                              DMT
            Power consumption               Lower, fewer gates               Higher peak/average, but will
                                                                             likely narrow gap
            Forward carriers                                                 256
            Return carriers                                                  32
            Increment                       320Kb                            32Kb
            Adaptive equalizers             Needed                           None
            Licensing                       Globespan                        Many sources
            Standardization                 In process                       ITUandANSI
            Key competitors                 Globespan, Paradyne, Westell     Conexant, Cisco, Alcatel, Amati
                                                                             (now Texas Instruments),
                                                                             Westell, Efficient Networks




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                           Signals with Low Peak-to-Average Power Ratio
                       DMT Signals


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                         Abstract                                        2. The Proposed Method to reduce PAR
This
This contribution
      contribution proposes a new family of  of methods to
reduce the Peak-to-Average power Ratio (PAR)      (PAR) in                  The basic characteristic of DMT is that the data are
                       (DMlJ and Orthogonal Frequency
          Multi-Tone (DMT)
Discrete Multi-Tone                              Frequency               modulated             subcamers X k, (k
                                                                         modulated on N QAM subcarriers         (k = 0,    ...,,N -I)
                                                                                                                     0, 1, ...    - 1)
Division Multiplexing
          Multiplexing (OFDM)       systems. This
                         (OFDM) systems.       This method                    of equal bandwidth.
                                                                         each of       bandwidth. This frequency
                                                                                                       frequency multiplexing
                                                                                                                 multiplexing can
avoids an use of     of extra Inverse Fast Fourier                       easily be implemented by using an Inverse
                                                                                                             Inverse Fast Fourier
Transformations
Transformations (IFFTs)
                  (IFFTs) as was done in some previously                 Transform (IFFT) in the modulator that transforms
                                                                                                                   transforms the
published techniques,
             techniques, but instead is based on
transformations in the time domain
transformations                 domain of of the original
                                                                         subcarrier vector X =
                                                                         subcarrier            [X,
                                                                                             = [X 0,,XI,.
                                                                                                     X \ , ...            ]’ , with
                                                                                                            ..,,X NN-\- , Y
sequence available at the output ofof the IFFT processor.                 Xi =X~-i+2 for i=2,
                                                                          Xi =X;-,.+*                ...,,N/2
                                                                                             i = 2 , ...  N / 2 and t denotes the
The
The improved statistics ofof peak power in the optimized                 transpose and * the complex conjugate,
                                                                         transpose                            conjugate, into the time
transmit
iransmit signal are demonstrated by simulation
                                      simulation results.
                                                 results.                domain. This results in the discrete time representation
                                                                            = [xo,x\
                                                                         xx =          ...,XN_\
                                                                              [xo,x,,, ...       r
                                                                                           ,xN-l ]’ with
                                                                                    1 N-\
                                                                                    1   N-I     /lrfcn
                                                                                                /If fen
                                                                                                j2Ek,
1. Introduction                                                               xn =
                                                                              x, =- r.;     Xke
                                                                                            X ke N      n=0,1,  ...,,N-I
                                                                                                        n=O,I, ...   N-1        (1)
                                                                                                                                (1)
                                                                                     fi
                                                                                   ""N k=O
                                                                                       k=O
   Multi-carrier modulation
   Multi-carrier   modulation has recently being used for                   The sequence x iiss real and is often referred to as a
        applications such as high-speed
many applications             high-speed voice
                                          voice band modems                            It’s well known that for large N, the output
                                                                               symbol. It's
                                                                         DMT symbol.
                             systems (xDSL).
and digital subscriber line systems   (xDSL). These systems
                                                       systems           time vector distribution can be well approximated
                                                                                                               approximated by a
use DMT over wire media and OFDM for wireless          wireless          Gaussian distribution and has a relatively large PAR
                                                                         Gaussian
communication.
communication.                                                           defined as:
                                                                         defined
          amplitude distribution of a DMT signal
   The amplitude
random input data is approximately
random                    approximately Gaussian
                                                  signal with
                                                      for large
                                           Gaussian for                                  PAR(X) =
                                                                                                      X
                                                                                                = I[xmax
                                                                                         PAR(x) =    maxl   I*2
                                                                                                                                      (2)
                                                                                                                                      (2)
                                                                                                       (j 2
                          Therefore the DMT signal
number of carriers. Therefore                      signal will
                                                           wilI                                        0,
                                                                                                        x
occasionally present very high peaks. These peaks require
occasionally                                                             where xxmax
                                                                                 ,   and (j
                                                                                         0,x are respectively
                                                                                                 respectively the maximum value of
          dynamic range of the ADC (analog to digital
a high dynamic                                                           x n and the root-mean square value of x over all possible
                                                                         x,
converter) and analog front end in absence of any clipping
converter)
            reduction technique.
or peak reduction       technique. This would result in                  symbols.
                                                                         symbols.
                                                                            The real sequence given by Eq. (1)     (1) can also be
             amplifiers (with excessive
inefficient amplifiers          excessive power dissipation)
                                                   dissipation)
                                                                         obtained by using a complex IFFT of the modulated
     expensive transceivers.
and expensive
                                                                         carriers which are organized in the form ofof the following
                                                                                                                           following
   Recently, there has been a variety
   Recently,                     variety of proposed methods
   reduce PAR [2]-[6], but none of these methods
to reduce                                     methods is able            complex sequence Y(n):
                                                                                             Y(n):
   achieve simultaneously
to achieve   simultaneously a large reduction
       complexity, without
low complexity,
                                      reduction in PAR with
                      without performing
                                performing an extra IFFT
                                                                                       rX(n)       for n = 0, N
                                                                                            2                  2
                        loss in data rate, without
calculations, without loss                 without increase
                                                    increase in                                                 N
                 average power and without
the transmitter average               without decrease
                                              decrease in the                                         O < nn <-
                                                                                                      0<
                                                                              Y ( n ) = { X ( n ) for O<n    < -N                     (3)
                                                                                                                                      (3)
            distance or equivalently
minimum distance           equivalently without    loss in the
                                         without loss                                                           2
noise margin
noise                                                                                                  N
                 proposes a new technique
   This paper proposes
            achieve all these goals.
which can achieve
                                    technique based on [I],
                               goals.
                                                            [l],                       10              N- <<n-:'N-l
                                                                                                  for --<n-:'N-l
                                                                                                        2
                                                                                                            n<N-l




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                        0 1999

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clear all
format compact

M = 4; %repetitions per bit
N = 256; %max number of tones or subcarriers
Zl = 6; %number of low freq zero tones
Zs = 13*M; %number of Shively tones
ZH = 15; %number of unused high freq tones
P = round(Zs/M) %number of repeating bits


K = 3*10^7 %number of DMT symbols to simulate. 1e-6 is 3min, 1e-7 is 30min
PAR = zeros(1,K);
PARz = zeros(1,K); %Zero tones
PARs = zeros(1,K); %Shively
PARg = zeros(1,K);

tic
for k=1:K
    if mod(k,10^6)==0
        k
        toc
        tic
    end

      bits = sign(randn(1,P));
      repeat_bits = kron(bits,ones(1,M));

      X = .707*(sign(randn(1,N-Zl)) + j*sign(randn(1,N-Zl))); %random 4QAM symbols
      X(64-Zl) = 1; %model constant pilot

      Xz = X;
      Xz(end-Zs-ZH+1:end)=0;
      Xs = Xz;
      Xs(end-Zs-ZH+1:end-ZH)=repeat_bits;


      Y = [zeros(1,Zl), X, 0, fliplr(conj(X )), zeros(1,Zl-1)];
      Yz = [zeros(1,Zl), Xz, 0, fliplr(conj(Xz)), zeros(1,Zl-1)];
      Ys = [zeros(1,Zl), Xs, 0, fliplr(conj(Xs)), zeros(1,Zl-1)];
      y = ifft(Y);
      yz = ifft(Yz);
      ys = ifft(Ys);

      Ave = (y*y')/length(y);

      Peak = max(y.*y);
      Peakz = max(yz.*yz);
      Peaks = max(ys.*ys);


      PAR(k) = 10*log10(Peak);     %PAR for 4QAM IFFT output
      PARz(k) = 10*log10(Peakz);    %PAR for 4QAM IFFT output with zero tones
      PARs(k) = 10*log10(Peaks);    %PAR for 4QAM IFFT output with Shively tones
      PARg(k) = 10*log10(max(randn(1,2*N).^2)); %PAR of a Gaussian symbol with 2*N points

end



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PAR = real(PAR + 10*log10(2*N)); %normalize to correct for Matlab IFFT power loss of 2N
PARz = real(PARz + 10*log10(2*N));
PARs = real(PARs + 10*log10(2*N));
PARg = real(PARg + 10*log10((N-Zl)/N)); %normalize Guassian power to N-Zl tones out of N


Axis = 6:0.4:20;

Np = hist(PAR,Axis);
Ng = hist(PARg,Axis);
Nz = hist(PARz,Axis);
Ns = hist(PARs,Axis);

figure(2)
semilogy(Axis,1-cumsum(Np)/K,':o','LineWidth',2,'MarkerSize',9,Axis,1-
cumsum(Ng)/K,'r-','LineWidth',2,'MarkerSize',10,Axis,1-cumsum(Nz)/K,'b-*',
'MarkerSize',12,'LineWidth',2,Axis,1-cumsum(Ns)/K,'-+',
'LineWidth',2,'MarkerSize',10)
set(gca,'fontsize',18)
xlabel('PAR (dB)','fontsize',18)
ylabel('Clipping Probability per DMT symbol','fontsize',18)
leg = legend('Scenario 1: 250 QAM4 Carriers','Scenario 2: Gaussian process',
'Scenario 3: 182 QAM4 Carriers',
'Scenario 4: 182 QAM4 Carriers & 52 Shively Carriers')
set(leg,'fontsize',18)
grid on,shg
axis([7 17 32/K 1])




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                                                                                    Page 14
 1          A.   Yes.
 2          Q.   Okay.      Can you tell me, does the Shively
 3   reference include any discussion of PAR?
 4          A.   I don't remember seeing it.
 5          Q.   Okay.      Does Shively include any explanation
 6   that it's spreading invention causes an increase in
 7   PAR?
 8          A.   I don't remember seeing that.
 9          Q.   Does Shively explain anywhere that its
10   spreading invention would cause a PAR problem?
11          A.   I don't remember seeing that.
12          Q.   Okay.      So the Shively reference itself does
13   not indicate that its invention creates any issue
14   with PAR; right?
15          A.   I didn't see it.
16          Q.   And when I say "spreading invention," do you
17   understand generally what I'm referring to?
18          A.   Yes.     Replicating a bit multiple times on
19   multiple carriers which will increase PAR.
20          Q.   We're going to talk about that in a little
21   more detail in a second here.
22               MR. McANDREWS:              So let's mark the next
23   exhibit here.        Actually, I'm going to mark two
24   exhibits.     So the first exhibit I'm going to mark is
25   the declaration of Jose Tellado in matter Number

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 1              MR. McANDREWS:              Sure.
 2              (Off the record.)
 3   BY MR. McANDREWS:
 4       Q.     I'm going to shift gears just slightly here.
 5   So I want to talk just briefly about pilot tones.
 6              Are you familiar with what a pilot tone is
 7   in an ADSL system, for example?
 8       A.     The pilot, the concept of pilot tones in
 9   multicarrier systems, yes, I know the concept of a
10   pilot tone.
11       Q.     Okay.      So in an ADSL system, according to
12   the T1.413 standard, for example, there's a single
13   pilot tone; correct?
14       A.     I don't know that.
15       Q.     You don't know that.                    Okay.
16              You don't know whether there's a single
17   pilot tone or multiple pilot tones?
18       A.     I have worked on multiple multicarrier
19   systems.    They typically have many pilot tones.
20       Q.     But are you aware of multicarrier systems
21   that have a single pilot tone?
22       A.     I don't know of any that has one.                             I know of
23   what the carrier systems with many pilot tones.
24       Q.     Okay.      And what do you mean by "tone" there?
25       A.     Subcarrier.

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                                                                                   Page 91
 1       Q.     Okay.      So there's a -- so when I say a
 2   single pilot tone, I'm referencing a single
 3   subcarrier.
 4       A.     Yes.
 5       Q.     So there's a subcarrier that carries a
 6   pilot.
 7       A.     Okay.
 8       Q.     Okay.
 9       A.     Uh-huh.
10       Q.     And you're saying you're not familiar with
11   any systems that use only a single carrier for the
12   pilot?
13       A.     Well, you just told me one.                           Now I do.
14       Q.     Well, did you know that?                           Did you know that?
15       A.     I didn't know that ADSL only had one
16   subcarrier, but that's fine.
17       Q.     Okay.
18       A.     There's many systems with multiple
19   subcarriers that are used for pilot or that have
20   symbols.
21       Q.     Okay.      Are you familiar with the technique
22   of scrambling pilot tones from one DMT symbol to the
23   next?
24       A.     Am I familiar with -- say it again.
25       Q.     Okay.      So are you familiar with a system in

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                                                                                      Page 95
 1   from one carrier to the next.
 2         A.      Uh-huh.
 3         Q.      Can you think of a reason why you would be
 4   doing that; that is, addressing an issue that exists
 5   when you have only a single as opposed to multiple
 6   pilot tones?
 7         A.      If you had only one pilot and the reason to
 8   not send the same value over and over again would be
 9   to not create a DC bias.
10         Q.      Okay.      And can you explain what a DC bias
11   is?
12         A.      The average -- if you took the average of
13   your modulator output, if the symbols were random,
14   the mean of all those symbols will be zero.                                  If one
15   tone always has a constant in it, that's modulated
16   output would have a mean because one tone is a
17   constant, it's not random.
18         Q.      Okay.      Let me ask it this way.                       Were you
19   aware that in the T1.413 standard --
20         A.      Uh-huh.
21         Q.      -- the single pilot tone was not randomized
22   from one DMT symbol to the next.                            Were you aware of
23   that?
24         A.      I didn't know that.
25         Q.      Okay.      And were you aware that in subsequent

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                                                                                   Page 97
 1   involved in this matter; correct?
 2       A.     No.
 3       Q.     And you didn't go find it on your own;
 4   correct?
 5       A.     No.     It was given to me.
 6       Q.     Okay.      And Stopler does not mention
 7   peak-to-average power ratio, does it?
 8       A.     I did not see it.
 9       Q.     Okay.      And it doesn't state anywhere that
10   it's addressing a PAR issue; correct?
11       A.     I didn't see that.
12       Q.     And it doesn't say anywhere that its
13   teachings could potentially reduce PAR; correct?
14       A.     I didn't see it.
15       Q.     Okay.      Would you be surprised if I told you
16   that the Stopler reference doesn't even mention the
17   word "power"?
18       A.     I didn't see it.                I'm not surprised.
19       Q.     Okay.      So why was Stopler selected to be
20   combined with Shively?
21       A.     My declaration lists a number of reasons to
22   combine.    The first one is it would have been
23   obvious for a POSITA to combine Shively and Stopler
24   because the combination is merely the use of a known
25   technique to provide a similar device, method, or

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                                                                                    Page 100
 1          Q.   Okay.      Are there other techniques for
 2   reducing PAR or reducing problems associated with
 3   PAR?
 4          A.   Another idea in my thesis is use a bigger
 5   constellation alphabet and use points in a bigger
 6   constellation space to eliminate the peaks in the
 7   time domain, which is a modulator output.
 8          Q.   Okay.      Can you think of any others?
 9          A.   So when I did my thesis, the most popular
10   were phase-scrambling based so those were common.
11   In the back of my thesis, there's many references to
12   prior art that explains how to do phase scrambling
13   to reduce PAR.         My thesis is different and it does
14   not use phase scrambling.                   Phase scrambling was
15   probably the most popular way.
16               My thesis, I turned it in September 1999 and
17   I did my oral defense late 1998 and I started
18   working early '99.             So the content of my thesis and
19   my publications are -- you can look on my CV, but a
20   lot of the paper submittals were done '98 or before
21   that.
22          Q.   Okay.      And those papers were describing?
23          A.   My inventions, and they would have in the
24   citation a list to references that used phase
25   scrambling to reduce PAR.

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                                                                                   Page 107
 1               symbols, a phase scrambling sequence is
 2               applied to the output symbols."
 3               If they were truly random to start with, why
 4   would -- I believe he's concerned about structure
 5   and that's why chooses a randomizing of the overhead
 6   channel symbols.
 7       Q.      But you didn't take into consideration when
 8   you interpreted that, that it may be talking about
 9   randomizing overhead channels from 1 DMT symbol to
10   the next, did you?
11       A.      The natural interpretation, since Stopler is
12   teaching how to randomize plural overhead channel
13   symbols, the natural interpretation is that each
14   symbol would have a different phase rotation.
15       Q.      So you're suggesting that each symbol from
16   one symbol to the next would have a different phase
17   rotation?
18       A.      No.    No.      Individual QAM symbols within the
19   same modulation block.
20       Q.      Where does it say that?
21       A.      If you read the paragraph, "The input to the
22   QAM mapper 82" -- we're on column 12, line 21.
23               "The input to the QAM mapper 82 is data in
24               the form of m-tuples which are to be mapped
25               into QAM symbols" -- basically getting

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                                                                                   Page 108
 1              m-tuples, mapping them to one QAM symbol --
 2              "for example, ranging from QPSK to 256-QAM
 3              tone by tone."
 4              So in the context of QAM mapper 82, which is
 5   in Figure 5, this block is processing at the QAM
 6   symbol by the QAM symbol, so each QAM symbol is
 7   processed individually.                The constellation mapping
 8   may be the same as that used in ADSL.                            So again, it
 9   uses ADSL as an example.
10              "In order to randomize the overhead channel
11              symbols, a phase scrambling sequence is
12              applied to the output symbols."
13              It's in the context of QAM mapper 82 mapping
14   m-tuples groups of bits into QAM symbols, one symbol
15   at a time, tone by tone, inserting overhead channel
16   symbols, which are plural, and phase scrambling is
17   applied to these symbols.                  My interpretation has
18   been applied on a QAM symbol by QAM symbol.
19       Q.     Okay.      But your interpretation was without
20   knowledge that at the time pilot tones were being
21   randomized from DMT symbol to DMT symbol; correct?
22              MR. EMERSON:            Form.
23              THE WITNESS:            There are multiple
24   multicarrier systems.              You've just given me one
25   example.    Stopler's teachings do not apply only to

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Declaration Of Robert Short, Ph.D.
IPR2016-01020

real individual, but rather a hypothetical individual having the qualities reflected

by the factors discussed above.

      16.     For purposes of this declaration only, I have adopted Dr. Tellado’s

definition of a person of ordinary skill in the art. In particular, Dr. Tellado stated

that a person having ordinary skill in the art would have “(i) a Master’s degree in

Electrical and/or Computer or equivalent training, and (ii) approximately five years

of experience working with multicarrier communications systems.” Ex. 1009 at ¶

18. It is through this hypothetical person’s eyes that I have reviewed the prior art

and the ’243 patent.

V.    INTRODUCTION TO “MULTICARRIER” COMMUNICATIONS
      TECHNOLOGY AND PEAK-TO-AVERAGE RATIO (“PAR”)
      A.      Multicarrier Systems
      17.     The ’243 patent discloses a system that communicates using

multicarrier signals. Ex. 1001 at 1:26–29. A multicarrier signal includes a number

of carrier signals (or carriers) each operating at a different frequency. Each carrier

is modulated to encode one or more bits (i.e., “1” or “0”). Each carrier effectively

serves as a separate sub-channel for carrying data. The carriers are combined as a

group to produce a transmission signal, which is transmitted across a transmission

medium (e.g., phone lines, coaxial cable, the air, etc.) to a receiver.




                                           7
                                       Appx3934
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      18.     In an example illustrated below, four carriers—Carrier 1, Carrier 2,

Carrier 3, and Carrier 4—are combined simultaneously into one transmission

signal.




      19.     Multicarrier systems may use the phase of carriers to encode different

bit values. In the example above, a carrier with a phase of zero represents a bit

value of “0”; conversely, a carrier with a phase-shift of π (or 180°) represents a bit

value of “1”. In this example, Carriers 1, 2, and 4 have a phase-shift of π, and

therefore each represent a “1”. Carrier 3 has as phase of zero, and therefore

represents a “0”. Together, these four carriers encode input bits having binary

values of 1, 1, 0, and 1. This information is transmitted as a single transmission

signal—that is, the irregular waveform shown above on the right side of the figure.

In practice, a multicarrier transmission signal will typically comprise a



                                          8
                                      Appx3935
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combination of many more than four carriers (e.g., hundreds or even thousands of

carriers) and in this way can substantially increase the “speed” or data carrying

capacity of the system.

      B.      Peak-to-Average Power Ratio (“PAR”)
      20.     A multicarrier transmission signal can be characterized by a metric

known as “PAR,” which stands for peak-to-average ratio or peak-to-average power

ratio. Ex. 1001 at 1:60–65.       As the ’243 patent explains, “The PAR of a

transmission signal is the ratio of the instantaneous peak value (i.e., maximum

magnitude) of a signal parameter (e.g., voltage, current, phase, frequency, power)

to the time-average value of the signal parameter.” Id. at 1:65–2:2 (emphasis

added). References to PAR herein relate to PAR for the power of a transmission

signal.

      21.     In the following illustration, a signal (blue) has a peak power (red

line) and an average power (black line). The ratio of the peak power to the average

power of the signal is the PAR.




                                         9
                                     Appx3936
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      22.     A high PAR can occur when a large number (or percentage) of the

carriers have the same phase. The ’243 patent recognized that: “If the phase of the

modulated carriers [in a transmission signal] is not random, then the PAR can

increase greatly.”    Id. at 2:15–16.    The phases of the carriers would not be

“random,” for example, when the underlying data being modulated is repetitive

(e.g., a long string of 0s or a long string of 1s), or where the same data is purposely

sent in a redundant manner on multiple carriers. In the example below, all 25 of

the carriers have the same phase of zero. Because the carrier signals are “in-

phase,” their amplitudes will add together to create a transmission signal

(illustrated on the right side of the figure below) having large spikes in amplitude

and, therefore, a high PAR.



                                          10
                                        Appx3937
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      C.      PAR “Problem”
      23.     Because a multicarrier transmission signal is the sum of many carrier

signals, the transmission signal is expected to have a significant PAR.

Conventional multicarrier systems, therefore, were designed to accommodate PAR.

There is only a “problem” with PAR, however, when an undue amount of PAR-

induced distortion occurs in a multicarrier transmitter, creating additional errors in

the receiver above the normal noise-induced errors.

      24.     Electronic components in a multicarrier transceiver are ideally

designed to process multicarrier signals without distortion. Distortion occurs when

a signal exceeds the capacity (or dynamic range) of an electronic component, such

as an amplifier, a digital-to-analog converter, or an analog-to-digital converter.




                                         11
                                      Appx3938
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When the maximum dynamic range of a component is exceeded, the signal will

become distorted or will “clip.”




       25.     As a result of clipping, the portion of the signal exceeding the

component’s dynamic range is truncated and the information in the cut off signal

portion is lost.

       26.     One way to reduce clipping is to use transceiver components that have

larger dynamic ranges. Such components, however, can be expensive and may

consume a relatively large amount of power. Increasing the dynamic ranges of the

components, therefore, can be impractical.

       27.     Instead of demanding ideal circuitry, multicarrier systems are

designed to actually allow a certain amount of clipping. One design criterion is



                                          12
                                      Appx3939
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specified as a “clipping rate.” One such multicarrier system is digital subscriber

line (“DSL”). In DSL at the time of the invention (“ADSL-1995”) the maximum

allowable clipping rate is one in every 107 (ten million) samples, which

corresponds to a clipping probability of 10-7 (or one in ten million). Ex. 1017 at p.

48, § 6.11.1. This exact clipping probability is also referenced in the ’243 patent.

See Ex. 1001 at 2:6–8.

      28.     DSL is subject technology in the ’243 patent (Ex. 1001 at 3:25–26),

Shively (Ex. 1011 at 1:4–5), Stopler (Ex. 1012 at 12: 23–24), and Gerszberg (Ex.

1013 at 1:19–26). A particular DSL standard in use at the time of the invention is

defined in Exhibit 1017—ANSI standard T1.413-1995 (“ADSL-1995”).                 The

ADSL-1995 standard is described in Shively (Ex. 1011 at 1:51–53 and 2:12–24).

      29.     In ADSL-1995, the ideal sampling rate is approximately 2.2 million

samples/second. Given this sampling rate and a clipping probability of 10-7, there

would be a clipping error when processing a transmission signal about once every

4.55 seconds on average. This clipping rate is deemed acceptable because, at this

rate, error correction methods are capable of fixing the errors cause by clipping.

      30.     A PAR “problem” exists when the actual clipping rate exceeds the

maximum allowable rate. In the example above, if there is a clipping error once

every 3 seconds (on average), then a PAR problem exists—because 3 seconds is

less than 4.55 seconds. As the inventor of the ’243 patent recognized, “If the phase



                                         13
                                      Appx3940
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of the modulated carriers is not random, then the PAR can increase greatly.” Ex.

1001 at 2:15–16. “An increased PAR can result in a system with high power

consumption and/or with high probability of clipping the transmission signal.” Id.

at 2:25–27. Contrarily, if the clipping probability does not increase, then there is

no PAR problem.

      31.     One way to decrease the impact of PAR and reduce the probability of

clipping is by reducing the overall signal power below the maximum overall signal

power for which the system was designed, as depicted below.




      32.     The system disclosed in Shively is an example of a system in which

the overall signal power is reduced below the maximum overall signal power for




                                        14
                                     Appx3941
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which the system was designed. Such power reduction is shown by Shively, and it

results in a system with virtually no clipping at all.

      D.      A Note On Terminology
      33.     There is some overlap and apparent inconsistency with certain

terminology in the art. Particularly confusing is the use of “symbol.” Generally,

“symbol” can have two meanings.           First, “symbol” can refer to information

transmitted on one carrier. Second, “symbol” can refer to all of the information

transmitted in a “symbol period.” In the case of a multicarrier symbol, there are

multiple carrier “symbols” but only one collective “symbol.”             The individual

carrier symbols are often referred to as “QAM symbols,” where “QAM”

(Quatrature Amplitude Modulation) is a commonly-used type of modulation used

to modulate a carrier symbol onto a carrier. A multicarrier “symbol” (i.e., the

collection of multiple carrier symbols) in a DMT system is often referred to as a

“DMT symbol,” where “DMT” (Discrete Multitone) is a type of multicarrier

technology.

      34.     In   order    to   keep   things    clear   and     to   avoid    apparent

inconsistency/overlap with the term “symbol,” this declaration employs the terms

“carrier” and “symbol” as follows:

      •       “carrier” means a carrier symbol (e.g., a QAM symbol); and




                                           15
                                        Appx3942
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      •       “symbol” means a collective multicarrier symbol in a single symbol

period (e.g., a DMT symbol).

      35.     This declaration also uses appropriate editorializing to distinguish

between a “carrier” and a “symbol” in the references of record and Petitioners’

expert’s declaration.

      36.     Further adding to potential confusion is that the terms “carrier,”

“subcarrier,” “band,” “sub-band,” “bin,” “channel,” and “tone” are often used

interchangeably. Ex. 1011 at 1:42–43 (“sub-bands or frequency bins”); id. at 1:48

(“sub-band channels”); id. at 5:13–15 (“carrier”); id. at 10:40–41 (“subcarriers”);

id. at 12:39 (“bin (channel)”); Ex. 1012 at 1:41 (“tones or bands”).             For

consistency, “carrier” is used as much as possible in this declaration.

VI.                     —“SCRAMBLING…A PLURALITY OF
      CLAIM CONSTRUCTION—
      CARRIER PHASES”
      37.     In the context of the ’243 patent, “scrambl[e/ing]…a plurality of

carrier phases”—or the variant “scramble…a plurality of phases”—should be

construed to mean “adjusting the phases of a plurality of carriers in a single

multicarrier symbol by pseudo-randomly varying amounts.” This construction is

fully supported by the specification of the ’243 patent, and it clarifies that phase

scrambling is performed amongst individual carrier phases in a single multicarrier




                                         16
                                      Appx3943
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symbol. In other words, phase scrambling is not met if the phase adjustment only

occurs over time from one symbol to the next.

      38.     The ’243 patent is directed exclusively to multicarrier modulation

systems. See Ex. 1001 at 1:26–29 (“This invention relates to communications

systems using multicarrier modulation. More particularly, the invention relates to

multicarrier communications systems that lower the peak-to-average power ratio

(PAR) of transmitted signals.”); 3:32–37 (“Although described with respect to

discrete multitone modulation, the principles of the invention apply also to other

types of multicarrier modulation, such as, but not limited to, orthogonally

multiplexed quadrature amplitude modulation (OQAM), discrete wavelet multitone

(DWMT) modulation, and orthogonal frequency division multiplexing (OFDM).”).

Furthermore,     every   independent   claim    is   directed   to   a   “multicarrier

communications transceiver” (claims 1, 7, and 20) or a “multicarrier transmitter”

(claim 13). The ’243 patent discloses several multicarrier techniques and uses

“discrete multitone modulation” (“DMT”) as an example. Id. at 3:32–37.

      39.     A multicarrier signal includes the combination of a plurality of

carriers, where each carrier is transmitted at a different frequency and has its own

phase. In the embodiment of the ’243 patent, each of the plurality of carriers

corresponds to a different QAM symbol. See, e.g., id. at 4:13–14 (“The modulator

46 modulates each carrier signal with a different QAM symbol 58.”). Each carrier



                                         17
                                       Appx3944
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(or QAM symbol) has its own phase or phase characteristic. See, e.g., id. at 4:7–9

(“The QAM symbols 58 represent the amplitude and the phase characteristic of

each carrier signal.”). The combination of these carriers (or QAM symbols) is

referred to as a DMT symbol (which is an exemplary type of multicarrier symbol).

See, e.g., id. at 9:8–9 (“…a set of QAM symbols 58 produces a DMT symbol

70….”).

      40.     The term “phase characteristic” in the ’243 patent is interchangeable

with “phase.” See, id., at 1:40–42 (“The DMT transmitter typically modulates the

phase characteristic, or phase, and amplitude of the carrier signals….”).

      41.     The ’243 patent repeatedly discloses a “phase scrambler” that

scrambles the phases or phase characteristics of carriers within a single DMT

symbol. See, id., at 6:52–8:13.

      42.     There is no disclosure in the ’243 patent of scrambling carrier phases

amongst different symbols. As the ’243 patent explains, it is the adjustment of a

plurality of carrier phases within a single DMT symbol that reduces the PAR of the

transmission signal. Ex. 1001 at 4:35–38 and 6:48–53. If the carrier phases were

only adjusted from one DMT symbol to the next, PAR would not be reduced.




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                                      Appx3945
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VII. OVERVIEW OF ASSERTED REFERENCES—SHIVELY AND
     STOPLER

      A.      Shively
      43.     Shively discloses a concept that is intended to increase the useable

bandwidth in a multicarrier communications system. Ex. 1011 at 1:5–20. Shively

teaches a theoretical way to transmit data over a transmission medium having high

signal attenuation at frequencies corresponding to a significant number of carriers.

      44.     To appreciate Shively’s teachings, it necessary to understand such

impaired transmission mediums.         Shively specifically describes “long loop”

systems, where the length of cable between transmitting and receiving DSL

modems is at least 18,000 feet (about 3.4 miles):

      Referring to FIGS. 1 and 2, a transmitting modem 31 is connected to a
      receiving modem 32 by a cable 33 having four twisted pairs of
      conductors. In long loop systems where cable 3 is of length of the
      order 18,000 feet or more, high signal attenuation at higher
      frequencies (greater than 500 kHz) is usually observed. This
      characteristic of cable 33 is represented graphically by curve A in
      FIG. 1.

Id. at 9:63–10:2 (emphasis added). See also id. at 11:11–12 (“Such noisy and/or

highly attenuated sub-bands can occur for example in long-run twisted pair

conductors.”).

      45.     FIG. 1 of Shively, which is annotated with color below, is illustrative:




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                                       Appx3946
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      46.     FIG. 1 of Shively shows carriers at increasing frequencies along the x-

axis. Each carrier is delineated by vertical lines. Power level is indicated along the

y-axis. Green line (A) represents an attenuation/noise floor, which increases as a

function of frequency. Id. at 2:1–12. Shively explains that attenuation at higher

frequencies is a problem across long cables. Id. at 9:65–10:2 (“In long loop

systems where cable 3 is of length of the order 18,000 feet or more, high signal

attenuation at higher frequencies (greater than 500 kHz) is usually observed.”).

Green line (A) is a characteristic of a communications channel, and it does not

illustrate a transmitted signal. Id. at 10:61–11:12.




                                          20
                                       Appx3947
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       47.      Blue line (B) is the minimum power margin above the

attenuation/noise floor (green line (A)) that is required to transmit a single bit. Id.

at 2:8–10. Red line (C) illustrates a “spectral density mask,” which is a type of

power limit imposed by system design. Id. at 2:10–12 (“Curve C represents the

limits imposed by a power spectral density mask imposed by an external

communications standard.”). Power transmitted in a given carrier cannot exceed

red line (C).

       48.      As FIG. 1 illustrates, blue line (B) is below red line (C) for the carriers

shaded in purple. In these purple-shaded carriers, there is sufficient headroom to

transmit a signal representing at least one bit without exceeding a power limit. For

the carriers shaded in orange, however, blue line (B) exceeds red line (C). Because

the noise and attenuation for these orange-shaded carriers is too high (A), a bit

cannot be reliably transmitted without exceeding the imposed spectral density

mask. In other words, the minimum required power margin (B) is greater than the

spectral density mask (C). Id. at 10:65–11:3.

       49.      Shively proposes a way to transmit data on some of the orange-shaded

carriers.     Specifically, replicated data is sent across multiple orange-shaded

(impaired) carriers using power or energy levels at or below the spectral density

mask—i.e., red line (C). Because red line (C) is lower than blue line (B), the

power level on a given orange-shaded carrier is too low to reliably transmit a bit.



                                             21
                                         Appx3948
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Shively makes use of this available power by “spreading” a single bit of data

across multiple impaired carriers.

        50.     Shively’s concept combines (adds) these otherwise too-low-power

signals (that were sent on the impaired carriers) at the receiver to recover the

information.       “According to the invention, digital modulator 14 replicates

(‘spreads’) a k-bit symbol over multiple adjacent bands with correspondingly less

energy in each band. At the receiving end, detector 49 coherently recombines

(‘despreads’) the redundant symbols in the noisy/attenuated sub-bands. In

recombining the symbols, the symbols are simply arithmetically added. Because

the noise is incoherent while the signal is coherent, the noise tends to be averaged

out while the signal is reinforced by the addition process.” Id. at 11:16–24.

        51.     Although not explicitly depicted in FIG. 1, one having ordinary skill

in the art understood that there are carriers in addition to those shaded in purple

and orange that are completely unusable under any circumstance—even with

Shively’s concept. According to this reality, FIG. 1 can be expanded to look like

this:




                                           22
                                       Appx3949
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      52.     The pink-shaded carriers are at frequencies higher than the orange-

shaded carriers. The pink-shaded carriers are completely unusable because the

noise/attenuation floor (green line (A)) is greater than the imposed spectral density

mask power limit (red line (C)).

      53.     Shively discloses two different modes of operation for ADSL-1995:

(1) a normal mode and (2) a “power-boost” mode. The normal mode is referenced

by Shively’s statement that: “The other limit is on the aggregate power, also

defined by an external communication standard, e.g., ANSI Standard T1.413-1995

[(ADSL-1995)] limits the total power for all sub-bands to 100 mWatts.” Ex. 1011

at 2:12–15. When referring to the cited standard, one having ordinary skill in the




                                         23
                                      Appx3950
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art would have understood that this aggregate power limit corresponds to the

normal mode. The normal mode has an aggregate power limit of 20.4 dBm, which

is about 109.6 mW (approximately 100 mW). Ex. 1017 at p. 65. § 6.13.3 (“The

normal aggregate power level shall not exceed…20.4 dBm if all sub-carriers are

used[].”).

      54.      The power-boost mode of ADSL-1995 is also described by Shively:

      The power spectral density mask may be dictated by the standard used
      in a particular country implementing the standard (such as A.N.S.I.
      standard T1.413-1995 [(ADSL-1995)])…For example, the power
      limit for frequencies or tones between 0 and 200 kilohertz must be
      less than -40 dBm/Hz (a power level referenced to one milliwatt over
      1 Hz bandwidth). Above 200 kHz (to frequencies in the megahertz of
      spectrum), the constraint may be -34 dBm/Hz.

Ex. 1011 at 1:51–65. When referring to ADSL-1995, one having ordinary skill in

the art would have understood that this spectral density mask scheme—lower

power (-40 dBm/Hz) at lower frequencies and higher power (-34 dBm/Hz) at

higher frequencies—describes the ADSL-1995 power-boost mode.

      55.      The power-boost mode is illustrated below in a figure excerpted from

the ADSL-1995 standard, Ex. 1017 at p. 66:




                                         24
                                      Appx3951
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Note, in the figure above, “PSD” stands for power spectral density, which

corresponds to the spectral density mask power limit. See Ex. 1017 at p. 61, § 6.8.

      56.     While the normal mode has an aggregate power limit of

approximately 110 mW, the aggregate limit of the power-boost mode is

approximately 344 mW. See Ex. 1017 at p. 66 (“a power boost…total power = the

sum of the powers (-4 + 10log(ncdown1)) and (2 + 10log(ncdown2)), where

ncdown1 and ncdown2 are the number of subcarriers used in the sub-bands i = 0 to

50, and i = 51 to 255, respectively.”). Petitioners’ expert, however, misunderstood

Shively by imagining that a 100 mW aggregate power limit would be used in the

power-boost mode. In particular, during cross-examination regarding the bases for




                                        25
                                     Appx3952
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his opinions regarding Shively, Dr. Tellado testified that he interpreted Shively as

disclosing a single mode in which the spectral density mask is -40 dBm/Hz for

carriers in the frequency band up to 200 kHz and -34 dBm/Hz for carriers in the

frequency band above 200 kHz and an aggregate power limit of approximately 100

mW. Ex 2002 at 43:7–25. But this is wrong because it is inconsistent with the

ADSL-1995 standard to which Shively’s disclosure is directed.

      57.     In fact, having such a low aggregate power limit (less than 1/3 of the

actual limit) would defeat the purpose of having a power-boost mode. One having

ordinary skill in the art would have readily paired the correct aggregate power limit

and spectral density mask for a particular mode when consulting the ADSL-1995

standard to which Shively’s disclosure is directed. To the extent Shively is

incorrectly interpreted as disclosing a single mode in which the spectral density

mask is -40 dBm/Hz for carriers having frequencies up to 200 kHz and -34

dBm/Hz for frequencies above 200 kHz (as is the case for boosted mode of ADSL-

1995) and a total power limit of approximately 100 mW (as is the case for the

normal mode of ADSL-1995), one of skill in the art would recognize this as an

obvious error.

      58.     In Shively’s proposed system using normal mode for ADSL-1995

across 18,000 foot cables, about 34% of the carriers are unimpaired, about 6% of

the carriers are impaired, and about 60% of the carriers are unusable. Thus, more



                                         26
                                      Appx3953
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than half of the carriers cannot be used at all. Consequently, the power of a

transmitted signal will be reduced by 60%, thereby resulting in power levels only

40% of maximum.

      59.     The Figure below (extracted and modified from Exhibit 2009) shows

a different view of the concept illustrated in Shively’s FIG 1, with additional

technical detail added. This curve shows the power level at the receiver in an

ADSL system using an 18,000 foot loop as described in Shively. The noise level

in the receiver is constant (a known fact from the physics of materials) and is

approximately -140dBm/Hz and shown by the dashed green line.                  This is

consistent with Shively, FIG 1. As known to a person of ordinary skill in the art,

in order to demodulate a single bit with a probability of error of 10-7, the signal

power must be at least 11.3dB above the noise floor (i.e., at least -128.7 dB). This

level is shown by the dashed red line. Thus only the frequencies with power levels

above the dashed red line are capable of carrying a single bit or more. On the other

hand, as the signal power approaches the noise floor, the carriers become

completely unusable since there is not enough power to coherently combine with

the other carriers, nor is there sufficient signal to make adequate phase estimates to

make the coherent combining possible.         Shively’s technique only applies to

frequencies in between the unimpaired carriers (i.e., those to the left of the

intersection with the black/blue line and the dashed red line) and the unusable



                                         27
                                      Appx3954
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carriers (i.e., those below the noise floor where the black line crosses the dashed

green line). Thus, only the carriers in the blue shaded region are usable for

Shively’s method.     By comparing the unusable frequencies with the usable

frequencies, even with Shively, less than 40% of the carriers are usable, and the

total power will be reduced proportionately.




                                        28
                                     Appx3955
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      60.     In Shively’s proposed system using power-boost mode for ADSL-

1995 across 18,000 foot cables, about 43% of the carriers are unimpaired, about

6% of the carriers are impaired, and about 51% of the carriers are unusable.

Again, more than half of the carriers cannot be used at all. Consequently, the



                                       29
                                     Appx3956
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power of a transmitted signal will be reduced by 51%, thereby resulting in power

levels only 49% of maximum.

      61.      The Figure below (extracted and modified from Exhibit 2009) shows

a different view of the concept illustrated in Shively’s FIG 1, with additional

technical detail added. In this case the additional power in power boost mode is

shown in the Figure. This curve shows the power level at the receiver in an ADSL

system using an 18,000 foot loop using power-boost mode as described in Shively.

As before, the noise floor is the dashed green line and the single bit threshold is the

dashed red line. And, as before, only the carriers in the blue shaded region are

usable for Shively’s method. As before we see that somewhat less than ½ the

carriers are usable, even with Shively, and the total power will be reduced

accordingly.




                                          30
                                       Appx3957
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      62.     While Shively’s “spreading” idea will cause a small uptick in clipping

probability, any increase is negated many times over by the enormous reduction in

clipping achieved by reducing signal power by more than half. Based on worst-




                                         31
                                      Appx3958
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case assumptions regarding Shively’s spreading idea, the clipping probability for

both normal and power-boost modes is virtually zero.

      63.     While Shively’s “spreading” idea will cause a small uptick in clipping

probability, any increase is negated many times over by the enormous reduction in

clipping achieved by reducing signal power by more than half. Based on worst-

case assumptions regarding Shively’s spreading idea, the clipping probability for

both normal and power-boost modes is virtually zero.

      64.     Using techniques that are well known to persons of ordinary skill in

the art, in a system with 256 carriers as described in Shively, the clipping

probabilities may be computed as follows. The normal mode has an aggregate

power limit of 20.4 dBm, which is about 109.6 mW (approximately 100 mW). Ex.

1017 at p. 65. § 6.13.3 (“The normal aggregate power level shall not exceed…20.4

dBm if all sub-carriers are used[].”). The aggregate limit of the power-boost mode

is approximately 344 mW. See Ex. 1017 at p. 66 (“a power boost…total power =

the sum of the powers (-4 + 10log(ncdown1)) and (2 + 10log(ncdown2)), where

ncdown1 and ncdown2 are the number of subcarriers used in the sub-bands i = 0 to

50, and i = 51 to 255, respectively.”). It is well known that a multicarrier signal

may be approximated by a Gaussian random variable with zero mean and variance

Ps. Thus the probability of clipping is P{|s(t)|<T}<10-7, where T is the clipping

threshold of the transmitter system and s(t) is the multicarrier signal. Using



                                         32
                                      Appx3959
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standard, well-known, statistical techniques we find that T=5.3*sqrt(Ps). Since the

modem must be designed to accommodate all conditions, including both short and

long loops the clipping threshold must be set to at least 5.3*sqrt(Ps).

      65.     Now consider the case for a long loop. From the Figure above, there

is approximately 380kHz of unimpaired bandwidth, which is equivalent to 88

carriers. Since each carrier is limited to the same value of Pc as in the long loop,

the resulting transmitted signal has power Ps’=88 * 0.43125 = 37.95mW and may

be reasonably modeled as a Gaussian random variable with a variance of Ps’. The

probability of clipping in this case is P{|s’(t)|<T}=1.4*10-19. This probability is far

below the required probability of 10-7 and so there is no PAR problem with this

this system. In other words the clipping rate is miniscule.

      66.     If we add Shively carriers in groups of 4 as Shively teaches, we find

that, with a maximum of 16 (4 groups of 4) Shively carriers, the total average

power in the resulting signal is Psh = 37.95mW + 16*0.43125 = 44.85mW, and

may be approximated by a Gaussian random variable with variance Psh. In this

case, the probability of clipping is 8.3*10-17. Assuming a sampling rate of 2.2

MHz for ADSL-1995, this would result in a clipping error once every 173.7 years,

on average. Thus Shively does not contribute significantly to clipping and PAR is

not a problem using the Shively technique. Note that it could be argued that adding

4 groups of 4 subcarriers will not result in a Gaussian signal, but in fact the



                                          33
                                      Appx3960
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Gaussian approximation is still quite reasonable since there are a small number of

Shively carriers compared to the total. .

      67.     In the case of power boost mode, the computations are nearly

identical, except that the total power is increased. In the power boost mode, there

are 111 usable subcarriers (480kHz/4.3125kHz). The first 51 carriers transmit

0.43125mW and the next 60 carriers transmit 4 times (6dB) more for a total power

of 125.5mW. If we assume that the system was designed for 256 (51 non-boosted

and 205 boosted) carriers so the total power is 344mW and the clipping threshold

is T=5.3*sqrt(344). The total power in the 111 usable carriers is 125.5mW and the

probability of clipping is 1.1*10-18. Adding the Shively carriers as before we find a

clipping probability of 1.4*10-15. Assuming a sampling rate of 2.2 MHz, this would

result in a clipping error once every 10.3 years, on average. So once again the

system described in Shively has no PAR problem.

      68.     For cable lengths longer than 18,000 feet, an increasing number of

carriers becomes unusable (pink-shaded), resulting in even greater reductions in

clipping probabilities. Not surprisingly, Shively does not mention anything about

clipping or PAR.

      B.      Stopler
      69.     Unlike Shively, Stopler proposes an idea for use with both

multicarrier systems and “single-carrier” systems. Unlike multicarrier systems



                                            34
                                      Appx3961
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(which transmit a signal with multiple phases), a single-carrier system transmits a

signal using only one carrier, which has only one phase.

       70.     Stopler specifically teaches that his concept can be used with single-

carrier code-division multiple access (“CDMA”) systems. See, e.g., Ex. 1012 at

12:58–63 (“The framing scheme according to the present invention may also be

performed in a CDMA system, in which case the modulator (not shown) may, for

example, be a CDMA-type modulator in accordance with the TIA/EIA/IS-95

‘Mobile Station Compatibility Standard for Dual Mode Wideband Spread

Spectrum Cellular System.’”).

       71.     As Petitioners’ expert explained during cross-examination, some

CDMA techniques can be used in a multicarrier system. Ex. 2002 at 110:20–25.

However, Stopler only refers to CDMA techniques that are disclosed in two

references: (1) TIA/EIA/IS-95; and (2) “Proakis, ‘Digital Communications,’

Chapter 15.”. Ex. 1012 at 3:37–47 and 12:58–63. Both TIA/EIA/IS-95 and

Proakis are incorporated by reference into Stopler. Id. at 3:37–47. Both describe

single-carrier CDMA techniques, exclusively. See Ex. 2005; Ex. 2006.

       72.     FIG. 5, which shows Stopler’s “framing scheme” (Ex. 1012. at 8:54–

55), is illustrative:




                                          35
                                       Appx3962
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      73.     Significantly, there is a block missing from FIG. 5—namely, a block

downstream from the QAM Mapper/Phase Scrambler 82.

      74.     The missing block would specify the type of “modulation” to be used,

whether the modulation be single-carrier or multicarrier. See id. at 12:55–57 (“The

output from the QAM mapper 82 is provided to a modulator (not shown) which

implements the particular signal modulation desired, e.g., VCMT, CDMA,

etc.”)(emphasis added).

      75.     VCMT stands for “variable constellation multitone.” See id. at 2:9.

This is a type of multicarrier technique.

      76.     The missing block downstream from the QAM Mapper/Phase

Scrambler 82 could be a multicarrier modulator or a single-carrier modulator. In



                                            36
                                       Appx3963
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either case, Stopler’s phase scrambling scheme must at least be compatible with

single-carrier CDMA. This fact is reflected in Stopler’s claims. For example,

claim 25 of Stopler recites a “method of arranging and transmitting data in a

CDMA system.” Ex. 1012 at 16:4–5 (emphasis added). And claim 31, which

depends from claim 25, recites “phase scrambling”: “31. The method of claim 25,

wherein prior to said utilizing step, said method includes the step of phase

scrambling said upper level data and said second encoded data in accordance with

said second encoded data.”      Id. at 16:45–48 (emphasis added).      So, plainly,

Stopler’s phase scrambling idea must be compatible with single-carrier CDMA.

      77.     Petitioners’ expert asserted (during cross-examination) that Stopler’s

phase scrambling is not performed over time from symbol-to-symbol. Ex. 2002 at

107:15–18 (“Q. So you're suggesting that each symbol from one symbol to the next

would have a different phase rotation? A. No. No. Individual QAM symbols within

the same modulation block.”). This is wrong.

      78.     Single-carrier CDMA must be operable with Stopler’s phase

scrambling. Single-carrier systems have only one carrier with only one phase. It is

nonsensical to scramble phases within a symbol because there is only one phase in

each symbol. Phase scrambling in a single-carrier system only makes sense when

it is performed over time from symbol-to-symbol.




                                         37
                                      Appx3964
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      79.     There are various reasons that would have been recognizable to one

having ordinary skill in the art for performing phase scrambling from symbol-to-

symbol.     For example, Petitioners’ expert suggested that pilot tones could be

scrambled over time “not to create a DC bias.” Ex. 2002 at 95:7–9.

      80.     Another example for phase scrambling from symbol-to-symbol is

detailed in U.S. Pat. No. 6,370,156 (“the ’156 patent”), which has a priority date of

January 31, 1997 (which is before the November 9, 1999 priority date of the ’243

patent). The ’156 patent identifies a problem of “narrowbanded” interference in

ADSL-1995. Ex. 2004 at 1:55–2:16. This identical problem is also discussed in

Stopler, as depicted in FIG. 4:




                                         38
                                     Appx3965
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      81.     Stopler further explains: “One type of noise is ingress or narrowband

interference which typically occurs at a fixed frequency and lasts for a long time.”

Ex. 1012 at 1:36–38.        Stopler claims that his “invention” “allows efficient

operation in multipoint to point channels which are affected by ingress

(narrowband noise) and impulsive (burst) interference.”          Id. at 5:10–14.     But

Stopler does not explicitly explain how he addresses the problem of narrowband

noise, despite that narrowband noise is flagged as an issue.

      82.     Stopler addresses narrowband noise in two ways. First, as shown in

Figure 4, a given carrier (e.g., carrier E) is assigned to a first user (e.g., User 1) at

some times and to a different user (e.g., User 2) at other times. If narrowband

noise corrupts carrier E, the resulting bit errors have reduced impact on each user

compared to a system in which a given carrier is always assigned to a single user.

This solution works for data, but it will not work for an overhead pilot carrier

because such a pilot must be received by all users at all times to allow the receiver

of each user to remain synchronized with the system. Thus, narrowband noise at

the frequency of pilot tones must be addressed differently. Stopler addresses

narrowband noise at the frequency of an overhead pilot carrier by scrambling the

phase of the pilot carrier over time from one DMT symbol to the next, i.e., by

inter-symbol phase scrambling.




                                           39
                                        Appx3966
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      83.     The teachings of the ’156 patent reveal how Stopler’s inter-symbol

phase scrambling concept reduces the problem of narrowband noise that interferes

with a pilot carrier. The ’156 patent explains that ADSL-1995 has one carrier that

is assigned to be a pilot. Ex. ___ at 1:61–63 (“As is indicated in [the ADSL-1995

standard], one of the carriers is reserved as a pilot carrier.”). Then, the technique

of phase scrambling the pilot carrier from symbol-to-symbol is explained: “In a

particular implementation of the present invention, the pilot carrier is modulated as

a random or pseudo-random signal. In this way, by modulating a randomised

signal on the pilot carrier, the state of the pilot carrier in the constellation scheme

will change randomly so that the demodulation will have a good averaging effect

resulting in an increase of the interference immunity.” Id. at 4:39–47. “It is to be

remarked that, to have significant immunity against interferers, the data elements

which are modulated on the pilot carrier, [have] to be sufficiently random so that

the pilot carrier reaches all states in the constellation scheme and a good averaging

of the interference is obtained by demodulation. This can be obtained by

scrambling.” Id. at 5:11–17 (emphasis added).

      84.     Petitioners’ expert’s argument that Stopler discloses phase scrambling

within one symbol is based on the premise that the symbol can have multiple pilot

tones. Yet Petitioners’ expert’s declaration do not discuss or allude to even one

system or standard that uses multiple pilot tones in a single symbol. Instead,



                                          40
                                      Appx3967
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Petitioners’ expert identifies only ADSL(Ex. 1009 at ¶ 58). But ADSL has exactly

one pilot tone in a symbol, not multiple pilot tones. Ex. 1017 at p. 62, § 6.9.1.2.

      85.     Petitioners’ expert highlights the ADSL standard and admits that it is

implemented in Stopler. CITE (“Stopler also explains that its signal transmission

scheme may implement techniques of DSL standards such as ‘ADSL (Asymmetric

Digital Subscriber Line).’”). Starting with the next sentence, Petitioners’ expert

further states: “Stopler also explains that some of the available carriers may be

reserved for the transmission of overhead signals, such as pilot tones. Ex. 1012,

10:60-62 & 12:51-54. To randomize these overhead channels, Stopler employs a

phase scrambler. Ex. 1012, 12:24-26. A POSITA would have understood that the

values transmitted in an overhead channel may not be random, and in fact, may be

highly structured. Ex. 1009, p. 24. Without the phase scrambler, the structured

nature of the overhead channel could contribute to an increase in the peak-to-

average power ratio of the transmitter. Ex. 1009, pp. 24-25.” Ex. 1009 at ¶ 59.

Petitioners’ expert, upon cross-examination, clarified that “highly structured”

means that multiple pilot tones are present in single symbol. Ex. 2002 at 105:11–

20 (“Q. …What do you mean by ‘highly structured’? A. For example, if the pilot

tone is the same value in all overhead channels, that's an example of structured;

repeating the same value multiple times.”); and 109:1–5 (“A.…[Stopler]

specifically says ‘overhead symbols,’ which could be interpreted to having two or



                                          41
                                       Appx3968
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more overhead symbols in one block. And that was my interpretation. It still is

my interpretation.”). But Petitioners’ expert did not realize that ADSL has only

one pilot tone. Ex. 2002 at 90:11–14 (“Q. Okay. So in an ADSL system, according

to the T1.413 standard, for example, there's a single pilot tone; correct? A. I don't

know that.”). Petitioners’ expert’s declaration is based on incomplete information

about ADSL.

      86.     Instead of understanding that ADSL has only one pilot tone,

Petitioners’ expert based his opinion on the fact that Stopler refers to “overhead

carriers” and that these multiple symbols must be in one symbol. Ex. 2002 at

109:1–5. Petitioners’ expert specifically testified: “[Stopler] specifically says

‘overhead symbols,’ which could be interpreted to having two or more overhead

symbols in one block.        And that was my interpretation.          It still is my

interpretation.” Ex. 2002 at 109:1–5. To clarify a matter of terminology, (1)

“overhead symbols” corresponds to “carriers,” and (2) “block” corresponds to

“symbol” as used in this declaration. But the correct interpretation of Stopler’s

reference to plural “overhead carriers” is that (a) there is one overhead carrier per

symbol and (b) there are multiple symbols.         Ergo, Stopler refers to multiple

overhead carriers.

      87.     As demonstrated by the ’156 patent, it was known by those with skill

in the art to scramble the phases on a pilot carrier from one single-carrier symbol to



                                         42
                                      Appx3969
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the next in order to reduce the problem of narrowband noise. Petitioners’ expert’s

uninformed view, by contrast, is that Stopler’s phase scrambling would be

performed within one multicarrier symbol to reduce PAR. Ex. 1009 at ¶ 60.

Stopler, however, is silent on issues related to PAR, and, in fact, does not mention

the word “power” or PAR, or teach that its disclosure could be used to resolve

PAR problems, as confirmed by Petitioners’ expert:

      Q. Okay. And Stopler does not mention peak-to-average power ratio,

      does it?

      A. I did not see it.

      Q. Okay. And it doesn't state anywhere that it's addressing a PAR

      issue; correct?

      A. I didn't see that.

      Q. And it doesn't say anywhere that its teachings could potentially

      reduce PAR; correct?

      A. I didn't see it.

      Q. Okay. Would you be surprised if I told you that the Stopler

      reference doesn't even mention the word “power”?

      A. I didn't see it. I'm not surprised.

Ex. 2002 at 97:6–18.




                                           43
                                        Appx3970
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      88.     There is no reason that Stopler would discuss PAR because his

technique of scrambling phases from one symbol to the next does not reduce PAR.

      89.     Instead of Petitioners’ theory about reducing PAR, Stopler sheds some

light as to why he suggests performing “phase scrambling.” Stopler’s only stated

reason for scrambling phases is “to randomize the overhead channel symbols”

plural. Ex. 1012 at 12:24–26. Because Stopler must be compatible with single-

carrier CDMA, the only reasonable conclusion is that Stopler’s reference to

“overhead channel symbols” plural refers to scrambling phases from symbol-to-

symbol.

      90.     Furthermore, Stopler states that the phase scrambler is “applied to all

symbols, not just the overhead symbols” in order “to simplify implementation.”

But performing phase scrambling according to Petitioners’ interpretation—i.e.,

each carrier is scrambled within a symbol such that the carriers have a random

distribution of phases—would add complexity to Stopler’s system. The sensible

interpretation of Stopler’s statement is that all of the carriers within a symbol are

rotated by the same phase shift with the phase shift changing from symbol to

symbol, but NOT carrier to carrier. Instead, the only simplifying way to execute

Stopler’s directive is to rotate the phases of each carrier by the same amount.




                                         44
                                      Appx3971
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                Alcatel, Paris
                         Paris (FR)                                                                      (List continued
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                                                                                       Primary Examiner---Hassan
                                                                                               Examiner—Hassan Kizou
                                                                                                                 Kizou
(22) Filed:
(22) Filed:      Apr. 18,
                 Apr. 18, 1997
                          1997                                                         Assistant Examiner-John
                                                                                                 Examiner—John Pezzlo
                                                                                        (74) Attorney,
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                                                                                       demodulated pilotpilot carriers
                                                                                                              carriers reduces
                                                                                                                         reduces the    effect of
                                                                                                                                   the effect   of the
                                                                                                                                                   the interfer-
                                                                                                                                                        interfer
                  U.S. PATENT DOCUMENTS                                                ence induced on the non-constantly modulated pilot carrier,
                                                                                       ence  induced    on  the  non-constantly     modulated     pilot   carrier,
                                                                                       the degradation of the synchronisation between transmitter
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                                                                                       (TX)   and   receiver  (RX)    is  reduced   significantly.
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                                                              370/468                                    12 Claims,
                                                                                                         12 Claims, 11 Drawing
                                                                                                                       Drawing Sheet
                                                                                                                               Sheet


                                              ,-                                                                   r----
                                                                                                                   r   -
         DATA                                               S                         TM                      S'                                    I DATA
                                                                                                                                                      DATA.
                          MOD           f-+ TI                                                                         RI    ~        DMOD
                                              -                                                                    -
                            i                                                                                                            i
                          TPT                                                                                                          RPT
                                                             TX                                          RX




                                                                               1               TQ Delta Exhibit 2004
                                                                                               Cisco Systems, Inc. v. TQ Delta LLC
                                                                                               IPR2016-01020
                                                                  Appx3977
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                                                      Appx3978
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u.s.
U.S. Patent
     Patent                                            Apr. 9,2002
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                                                                   US 6,370,156 B2
                      1                                                                                                      2
         MODULATION/DEMODULATION OF A                                              represented by a single point. On the transmission medium,
         PILOT CARRIER, MEANS AND METHOD                                           e.g. on a telephone line interconnecting the ADSL transmit-       transmit
             TO PERFORM THE MODULATION/                                            ter and
                                                                                       and ADSL
                                                                                             ADSL receiver
                                                                                                      receiver in in the known
                                                                                                                          known system, the   the pilot carrier
                                                                                                                                                        carrier
                          DEMODULATION                                             thus represents a sine or cosine which does not change in
                                                                                5 phase, amplitude or frequency in time (in case a guard bond
                          TECHNI CAL FIELD
                          TECHNICAL                                                or cyclic prefix is added whose length does not contain an
                                                                                              number of periods of the pilot tone, the pilot tone
   The present invention relates to a method for transmitting integer
data elements from   from a transmitter to a receiver,
                                                    receiver, wherein
                                                               wherein the  the    might be
                                                                                   might    be discontinuous
                                                                                                discontinuous atat the the edges
                                                                                                                            edges ofof the
                                                                                                                                         the DMT
                                                                                                                                             DMT symbol).
data  elements      are  modulated     on  at least   one  carrier;
data elements are modulated on at least one carrier; wherein 10      wherein          A
                                                                                      A   well-known
                                                                                           well-known      source
                                                                                                           source      of
                                                                                                                       of  narrowbanded
                                                                                                                           narrowbanded        or
                                                                                                                                               or single fre-
                                                                                                                                                            fre
a pilot carrier is used for synchronisation between the 10 quency                  quency disturbances
                                                                                               disturbances isis aa radio
                                                                                                                        radio amateur
                                                                                                                               amateur or   or an
                                                                                                                                                an AM
                                                                                                                                                    AM radio
                                                                                                                                                          radio
transmitter and  and the receiver
                          receiver which
                                     which isis multiplexed
                                                 multiplexed with       the atat station, which broadcasts radio signals at frequencies close
                                                                  with the
least one carrier; and  and wherein
                            wherein the the at least
                                                least one carrier and the   the    to carrier frequencies. Forward error correction techniques,
pilot
pilot carrier      are transmitted
         carrier are    transmitted overover aa transmission         medium well-known
                                                   transmission medium             well-known in    in the
                                                                                                        the art,
                                                                                                            art, can
                                                                                                                   can reduce
                                                                                                                        reduce the     effect of
                                                                                                                                 the effect    of such
                                                                                                                                                  such distur-
                                                                                                                                                        distur
interconnecting the transmitter and the receiver.                                  bances on
                                                                                   bances    on  data
                                                                                                 data  carried
                                                                                                       carried   by the
                                                                                                                 by  the  affected
                                                                                                                          affected  carriers.
                                                                                                                                    carriers.  An
                                                                                                                                               An  alternative
                                                                                                                                                   alternative
                                                                                15
   It isis also
   It            directed to
           also directed   to aa transmitter
                                 transmitter adapted
                                                adapted to to transmit    data 15 way
                                                              transmit data        Peter
                                                                                          to protect data against such interferers, proposed by
                                                                                           S. Chow et al. in the article "A    “A multicarrier E1-HDSL
elements to    to aa receiver
                       receiver via
                                  via a transmission
                                           transmission medium,
                                                              medium, the   the
transmitter comprising modulation
                                modulation means
                                               means to  to a first input
                                                                     input ofof Transceiver
                                                                                   Transceiver System
                                                                                   authors    Peter
                                                                                                     System with
                                                                                                     S.
                                                                                                                 with Coded
                                                                                                         Chow, Noafal
                                                                                                                        Coded Modulation"
                                                                                                                  NoafaIAl-Dhahir,
                                                                                                                                  Modulation” from
                                                                                                                                          John  M.
                                                                                                                                                    from the the
                                                                                                                                                    Cioffi and
                                                                                                                                                            and
which the data elements are applied, the modulation means JohnA.
which      the  data  elements    are  applied,   the  modulation      means       authors    Peter  S.  Chow,             Al-Dhahir,     John  M.  Cioffi
being     adapted to
being adapted        to modulate
                        modulate thethe data
                                         data elements
                                               elements on      at least
                                                            on at   least one
                                                                          one      John A. C. Bingham published in issue No.3         No. 3 May/June 1993
                                                                                20 of the
carrier, and toto multiplex
                     multiplex the atat least
                                         least one carrier with          pilot 20 of
                                                                with a pilot           the Journal
                                                                                            Journal of of European
                                                                                                           European Transactions on        on Telecommuni-
                                                                                                                                               Telecommuni
carrier used
           used for synchronisation between the transmitter and bitswapping:       cations and
                                                                                   cations   and Related
                                                                                                   Related Technologies
                                                                                                             Technologies (ETT),           pages 257-266,
                                                                                                                                (ETT), pages      257–266, isis
the receiver; pilot information means, adapted to generate                                           bit and energy allocations are updated so that
information to identify the pilot carrier, and to apply the                        the affected
                                                                                   the   affected carriers
                                                                                                    carriers carry
                                                                                                               carry less
                                                                                                                        less data
                                                                                                                              data bits
                                                                                                                                    bits then
                                                                                                                                           then before.
                                                                                                                                                 before. This
                                                                                                                                                           This
                                                                                   technique requires an additional communication between
information to a second input    input of the
                                            the modulation
                                                modulation means;
                                                                means; and 25   25
line interface
        interface means,
                     means, coupled betweenbetween an output of the         the transmitter and receiver.
modulation means and an input of the transmission medium
modulation       means    and  an  input  of  the  transmission      medium           Although data transmitted over the telephone line from
and adapted to condition the at least    least one
                                                one carrier and the      pilot the
                                                                     the pilot     the transmitter
                                                                                        transmitter toto the
                                                                                                          the receiver
                                                                                                               receiver maymay be
                                                                                                                                be protected
                                                                                                                                    protected by by one
                                                                                                                                                    one of
                                                                                                                                                         of the
                                                                                                                                                            the
carrier to be transmitted over the transmission medium.                            above mentioned techniques, the presence of noise or an
   It is additionally directed to a receiver adapted to receive 30
   It                                                                              interferer, for
                                                                                30 interferer,
                                                                                30
                                                                                                  for instance
                                                                                                       instance aa radio
                                                                                                                      radio amateur
                                                                                                                             amateur signals
                                                                                                                                         signals with
                                                                                                                                                   with aa fre-
                                                                                                                                                            fre
a signal transmitted
             transmitted thereto by   by aa transmitter
                                             transmitter via       transmis quency
                                                            via aa transmis-                  in the vicinity of the frequency of the pilot carrier,
sion  medium, the
sion medium,             receiver comprising:
                    the receiver   comprising: line  line interface
                                                          interface means,         may still
                                                                                   may
                                                                      means, senting            cause an
                                                                                          still cause    an offset
                                                                                                            offset between
                                                                                                                     between the the received
                                                                                                                                       received point
                                                                                                                                                  point repre-
                                                                                                                                                         repre
                                                                                             the pilot carrier in the above defined vector plane and
coupled to an output of the transmission medium and the
coupled       to  an   output    of  the   transmission       medium       and
                                                                                   the expected
                                                                                        expected point.
                                                                                                     point. IfIf this
                                                                                                                  this offset
                                                                                                                        offset in
                                                                                                                                in the
                                                                                                                                   the vector
                                                                                                                                         vector plane isis not
                                                                                                                                                            not
adapted to condition the signal to be applied to components 35 sufficiently                           random, it biases the synchronisation
of the
    the receiver;
           receiver; demodulating
                       demodulating means,
                                         means, an inputinput of which
                                                                    which isis 35 mechanism, resulting           in a performance degradation. This is
coupled
coupled to    to an
                  an output
                       output of of the
                                      the line
                                            line interface
                                                   interface means,
                                                                means, the the e.g. the case if the instantaneous
demodulating means being adapted to demultiplex in the                             e.g. the case if the instantaneous phase      phase of of the
                                                                                                                                             the interferer
                                                                                                                                                  interferer isis
signal a pilot carrier from at least                         whereon data very
                                       least one carrier whereon                          slowly varying in time with respect to the duration of
elements are modulated, and to demodulate the data ele-                            the
                                                                                   the DMT       symbol or
                                                                                        DMT symbol         or ifif this
                                                                                                                   this interferer
                                                                                                                         interferer isis constant.
                                                                                                                                         constant.
elements are modulated, and to demodulate the data ele
ments from
ments   from the    at least
                the at least one
                              one carrier;
                                  carrier; and
                                           and pilot
                                               pilot information
                                                     information 40
                                                                  40                                  SUMMARY OF THE INVENTION
means, adapted to generate information to identify the pilot
carrier, and toto apply
                  apply the information
                             information to a second input
                                                     input of
                                                           of the
                                                              the                   It isis an
                                                                                    It      an object
                                                                                                 object ofof the
                                                                                                              the present
                                                                                                                  present invention
                                                                                                                              invention to  to provide
                                                                                                                                                provide aa method
                                                                                                                                                              method
demodulation means.                                                              for transmitting
                                                                                 for  transmitting data   data elements
                                                                                                                 elements and  and related
                                                                                                                                      related equipment
                                                                                                                                                equipment of    of the
                                                                                                                                                                    the
   It
   It isis still further directed
                            directed toto aa transmission
                                             transmission system        com known
                                                              system com-        known type,  type, but     wherein the
                                                                                                      but wherein       the immunity
                                                                                                                              immunity of    of the
                                                                                                                                                  the pilot
                                                                                                                                                        pilot carrier
                                                                                                                                                               carrier
prising aa transmitter,
prising       transmitter, aa receiver     and aa transmission
                                receiver and      transmission medium,           from interference
                                                                   medium, 45 from          interference isis increased
                                                                                                                   increased significantly, and         and conse-
                                                                                                                                                               conse
coupled     between an
coupled between         an output    of the
                             output of  the transmitter
                                             transmitter andand an         of quently wherein the degradation of the synchronisation
                                                                     input of
                                                                 an input
the receiver,
     receiver, wherein
                   wherein the the transmitter
                                   transmitter and
                                                 and receiver
                                                        receiver are ofof the
                                                                          the    mechanism between transmitter and receiver is reduced.
above described type.   type.                                                       According to the present invention, this object is achieved

             BACKGROUND OF THE INVENTION
                                                                                 by  aa method
                                                                                           method for  for transmitting
                                                                                                             transmitting data data elements
                                                                                                                                       elements from from aa trans-
                                                                                                                                                                 trans
                                                                              50 mitter
                                                                              50 mitter to  to aa receiver,
                                                                                                  receiver, wherein
                                                                                                               wherein the the data
                                                                                                                                data elements
                                                                                                                                       elements are  are modulated
                                                                                                                                                          modulated
   Such a method
   Such         method for for transmitting data data elements,       such a on
                                                         elements, such          on atat least
                                                                                           least one
                                                                                                   one carrier;
                                                                                                         carrier; aa pilot
                                                                                                                       pilot carrier
                                                                                                                               carrier used
                                                                                                                                         used forfor synchronisa-
                                                                                                                                                       synchronisa
transmitter and
transmitter      and receiver,    and such
                      receiver, and    such aa transmission               are tion between
                                                                 system are
                                                transmission system                     between the   the transmitter
                                                                                                            transmitter and and the
                                                                                                                                  the receiver
                                                                                                                                        receiver isis multiplexed
                                                                                                                                                        multiplexed
already known in the art, e.g. from the specifications of the                    with the
                                                                                 with     the atat least
                                                                                                   least one
                                                                                                           one carrier;
                                                                                                                 carrier; thethe atat least
                                                                                                                                      least one
                                                                                                                                             one carrier
                                                                                                                                                    carrier and
                                                                                                                                                              and the
                                                                                                                                                                    the
ANSI (American
ANSI      (American National
                         National Standards
                                      Standards Institute,
                                                    Institute, Inc.)
                                                                 Inc.) Stan-     pilot carrier
                                                                        Stan 55 pilot      carrier areare transmitted
                                                                                                            transmitted over  over aa transmission
                                                                                                                                         transmission medium medium
dard on ADSL, ADSL, the approved
                               approved version
                                            version of  of which
                                                            which has            interconnecting the
                                                                     has the 55 interconnecting           the transmitter
                                                                                                                transmitter and  and the
                                                                                                                                       the receiver,
                                                                                                                                             receiver, character-
                                                                                                                                                           character
reference T1E1.413-1995 and title “Network     "Network and Customer             ized
                                                                                 ized inin that
                                                                                             that the
                                                                                                   the pilot
                                                                                                        pilot carrier
                                                                                                                carrier isis modulated
                                                                                                                             modulated with with aa non-constant
                                                                                                                                                       non-constant
Installation Interfaces,
                  Interfaces, Asymmetric DigitalDigital Subscriber Line          signal before
                                                                         Line signal        before itit isis transmitted.
                                                                                                              transmitted.
(ADSL)
(ADSL) Metallic
             Metallic Interface".         Therein, data
                          Interface”. Therein,                elements are
                                                       data elements      are       It
                                                                                    It isis also
                                                                                              also achieved
                                                                                                     achieved by  by aa transmitter,
                                                                                                                           transmitter, adapted
                                                                                                                                            adapted to   to transmit
                                                                                                                                                             transmit
modulated on a set of carriers. In case of discrete multi tone                   data
                                                                                 data elements
                                                                                        elements to     to aa receiver
                                                                                                               receiver viavia aa transmission
                                                                                                                                    transmission medium,
                                                                                                                                                       medium, the  the
(DMT)       modulation, these
(DMT) modulation,            these carriers   have equidistant
                                    carriers have    equidistant frequen         transmitter comprising:
                                                                    frequen- 60 transmitter        comprising: modulation
                                                                                                                    modulation means   means to  to aa first
                                                                                                                                                       first input
                                                                                                                                                              input of
                                                                                                                                                                     of
cies. As As isis indicated
                 indicated in  in paragraphs 6.9.1.2 and 7.9.1.2 on which        which the  the data
                                                                                                  data elements
                                                                                                         elements are are applied,
                                                                                                                            applied, the modulation
                                                                                                                                              modulation means  means
pages 46 and 58 of       of the
                             the above cited
                                           cited standard, published
                                                               published inin being adapted adapted toto modulate
                                                                                                            modulate the the data
                                                                                                                               data elements
                                                                                                                                      elements on   on atat least
                                                                                                                                                            least one
                                                                                                                                                                   one
1995,
1995, one one ofof the
                    the carriers
                        carriers isis reserved
                                      reserved as as aa pilot
                                                         pilot carrier.
                                                               carrier. This
                                                                         This    carrier, and
                                                                                 carrier,     and toto multiplex
                                                                                                        multiplex the the atat least
                                                                                                                                least one
                                                                                                                                        one carrier
                                                                                                                                             carrier with
                                                                                                                                                        with aa pilot
                                                                                                                                                                  pilot
pilot
pilot carrier
      carrier is  is used
                     used for
                            for synchronisation
                                 synchronisation between
                                                     between transmitter
                                                                 transmitter     carrier used
                                                                                 carrier     used for
                                                                                                    for synchronisation
                                                                                                         synchronisation between between the  the transmitter
                                                                                                                                                   transmitter and and
and receiver
      receiver and  and isis modulated
                              modulated by                      signal. In aa 65 the receiver;
                                            by a constant signal.                      receiver; pilotpilot information
                                                                                                               information means,means, adapted
                                                                                                                                           adapted to generate
                                                                                                                                                             generate
vector plane,
           plane, wherein
                    wherein the modulation
                                     modulation constellation                    information toto identify
                                                                         rep information
                                                     constellation isis rep-                             identify thethe pilot carrier,
                                                                                                                                     carrier, and
                                                                                                                                                and to to apply
                                                                                                                                                           apply thethe
resented
resented by  by aa collection
                     collection of of points,   the pilot
                                      points, the     pilot carrier   is thus
                                                             carrier is  thus    information
                                                                                 information to     to aa second
                                                                                                           second input
                                                                                                                     input of of the
                                                                                                                                  the modulation
                                                                                                                                       modulation means; means; andand


                                                                                4


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                             3                                                                                                           4
line interface means, coupled between an output of the                                        on one
                                                                                              on  one single        state in
                                                                                                          single state     in the
                                                                                                                              the modulation
                                                                                                                                    modulation constellation
                                                                                                                                                       constellation scheme
                                                                                                                                                                          scheme as  as
modulation  means and
modulation means   and an input of
                       an input  of the
                                    the transmission
                                        transmission medium,
                                                     medium,                                  a result of which the transmission system according to the
and adapted to condition the at least
                                least one
                                      one carrier and the
                                                      the pilot
                                                          pilot                               present invention has a significantly increased immunity for
carrier to be transmitted over the transmission medium,                                       narrowband interferers,
                                                                                                                   interferers, compared
                                                                                                                                     compared toto the    the above
                                                                                                                                                                above described
                                                                                                                                                                          described
characterised in       in that the modulation
                                       modulation means means isis further adapted
                                                                                 adapted 5 known system.
to modulate
    modulate the     the pilot carrier with   with a non-constant
                                                         non-constant signal.                    It is noted that the implementation of the synchronisation
   It isis still
   It       still further
                  further achieved
                               achieved by  by aa receiver,
                                                   receiver, adapted
                                                                 adapted to       receive means can be simplified if the constellation points of the
                                                                             to receive
a signal transmitted
               transmitted thereto by       by aa transmitter
                                                     transmitter via  via aa transmis-
                                                                              transmis pilot           carrier are
                                                                                              pilot carrier       are well
                                                                                                                       well chosen,
                                                                                                                              chosen, e.g.e.g. ifif all
                                                                                                                                                      all points
                                                                                                                                                          points have
                                                                                                                                                                    have the
                                                                                                                                                                           the same
                                                                                                                                                                                same
sion medium,
        medium, the     the receiver
                              receiver comprising
                                           comprising line   line interface
                                                                    interface means,
                                                                                  means, amplitude.
                                                                                              amplitude.
coupled to an output of the transmission medium and 10                                     10
adapted to condition the signal to be applied to components                                      It isis further
                                                                                                 It      further toto be be noticed
                                                                                                                             noticed that
                                                                                                                                        that the the term    “comprising” used
                                                                                                                                                      term "comprising"          used
of the receiver; demodulating means, an input of which is the means                           in
                                                                                              in the
                                                                                                 the    claims,
                                                                                                        claims,     should
                                                                                                                    should    not
                                                                                                                              not   be
                                                                                                                                    be  interpreted
                                                                                                                                        interpreted       as
                                                                                                                                                          as  being limitative
                                                                                                                                                              being    limitative toto
coupled to an output of the line interface means, the                                              means listedlisted thereafter.
                                                                                                                        thereafter. Thus, the scope of         of the expression
                                                                                                                                                                         expression
demodulating means being adapted to demultiplex in the "a                                     “a device
                                                                                                  device comprising
                                                                                                               comprising means means AA and   and B"B" should
                                                                                                                                                          should notnot bebe limited
                                                                                                                                                                              limited
signal a pilot carrier from at least          least one carrier whereon whereon data 15    15
                                                                                              to devices consisting only of components A                      A   and B. It means
elements are     are modulated,
                       modulated, and     and to to demodulate the       the data ele-ele     that with respect to the present invention, the only relevant
ments from the at least one carrier; and pilot information
ments       from     the    at  least   one    carrier;    and    pilot    information
                                                                                              components of the device are A                   A and B.
means, adapted to generate information to identify the pilot                                     Similarly, itit isis to
                                                                                                 Similarly,               to be    noted that
                                                                                                                              be noted         that the
                                                                                                                                                     the term
                                                                                                                                                           term “coupled”
                                                                                                                                                                   "coupled" also also
carrier, and toto apply apply the information
                                       information to a second  second input
                                                                           input of of the    used     in
                                                                                                      in   the
                                                                                                           the   claims,
                                                                                                                 claims,   should     not
                                                                                                                                      not
                                                                                       the to direct connections only. Thus, the scope of thebe
                                                                                                                                             be   interpreted
                                                                                                                                                 interpreted      as
                                                                                                                                                                  as being limited
                                                                                                                                                                              limited
                                                                                                                                                                        expression
demodulation means,     means, characterised
                                    characterised in   in that
                                                           that the
                                                                  the demodulating
                                                                        demodulating 20    20 "a device A coupled to a device B" should not be limited to
means further is adapted to demodulate a non-constant devices or systems wherein an output of device AA islimited
means         further     is   adapted      to   demodulate          a   non-constant         “a  device       A  coupled     to  a  device      B?’  should    not   be             to
signal from from thethe pilot
                          pilot carrier and to    to use
                                                      use the
                                                            the demodulated
                                                                 demodulated pilot   pilot connected to on input of device B. It means that theredirectly
carrier for synchronisation.                                                                  connected to on input of device B. It means that there exists                     exists
                                                                                              a path between an output of A and an input of B which may
   It is still further achieved by a transmission system be a path including other devices or means.
   It     is   still   further      achieved      by    a    transmission         system
comprising aa transmitter, aa receiver          receiver and   and aa transmission
                                                                         transmission 25 AA remark  remark isis also  also that,
                                                                                                                            that, inin view
                                                                                                                                        view of   of the
                                                                                                                                                      the present invention,
                                                                                                                                                                       invention, itit
medium, coupled between       between an output output of  of the
                                                                the transmitter and is not                              whether the frequency of the pilot carrier is
an input of the receiver, the transmitter comprising: modu-                        modu a fixedimportant  one or not. The pilot carrier may change in frequency
lation
lation meansmeans to    to aa first     input of
                                first input           which data
                                                 of which        data elements
                                                                         elements are  are whenever            the transmitter
                                                                                                                    transmitter or   or receiver
                                                                                                                                         receiver concludes
                                                                                                                                                       concludes that that the
                                                                                                                                                                            the pilot
applied, the modulation means being adapted to modulate frequency the                                           is laying within a frequency bond with too much
the data
     data elements
               elements on atat least least one carrier,
                                                   carrier, and to   to multiplex
                                                                         multiplex the the 30 interference.
at  least one
at least      one carrier
                     carrier withwith aa pilot
                                           pilot carrier
                                                   carrier usedused for     synchroni negotiate a newThepilottransmitter
                                                                       for synchroni-                                                           and receiver then have to
                                                                                                                               tone frequency More details about this
sation      between       the   transmitter      and   the    receiver;     pilot   infor-
sation between the transmitter and the receiver; pilot infor technique are irrelevant in view of the present invention but
mation means, means, adapted
                          adapted toto generate information
                                                         information to identify identify        is stressed here that changing the frequency of the pilot
      pilot carrier, and toto apply the information
the pilot                                              information toto a second ittone       tone  and modulating
                                                                                                    and      modulating the   the pilot
                                                                                                                                    pilot tone
                                                                                                                                             tone with
                                                                                                                                                    with non-constant
                                                                                                                                                           non-constant signals
                                                                                                                                                                              signals
input      of   the   modulation         means;      and    line
input of the modulation means; and line interface means, are two   interface      means,   35
                                                                                                            techniques      which      may      be   applied   independently         to
coupled betweenbetween an output of the modulation    modulation means  means and  and an
                                                                                        an improve interference immunity of the synchronisation
input of the transmission medium,        medium, and   and adapted toto condition
                                                                              condition between              transmitter and
                                                                                              between transmitter             and receiver.
                                                                                                                                     receiver. TheseThese techniques
                                                                                                                                                             techniques may  may be be
the at
the   at least     one carrier
           least one      carrier andand the
                                           the pilot    carrier to
                                                pilot carrier      to be
                                                                       be transmitted
                                                                            transmitted used complementary
over     the   transmission         medium,      and   the    receiver     comprising:                                         or may be applied separately.
over the transmission medium, and the receiver comprising:                                       In a particular implementation of the present invention,
line interface
       interface means,means, coupled
                                    coupled to  to anan output of the transmis-
                                                                              transmis 40  40
sion medium
          medium and     and adapted to      to condition a signal received                   the
                                                                                              the pilot
                                                                                received signal.             carrier isis modulated
                                                                                                   pilot carrier          modulated as    as aa random
                                                                                                                                                   random or  or pseudo-random
                                                                                                                                                                  pseudo-random
therefrom to be applied to components of the receiver;
therefrom         to    be    applied     to   components          of   the    receiver;
demodulating means, an input of which is coupled to an                                           In this way, by modulating a randomised signal on the
output of    of the
                 the line
                       line interface
                               interface means,
                                            means, the  the demodulating
                                                               demodulating mean    mean pilotpilot carrier,
                                                                                                       carrier, the     state of
                                                                                                                   the state    of the   pilot carrier
                                                                                                                                    the pilot      carrier inin the
                                                                                                                                                                 the constellation
                                                                                                                                                                      constellation
being adapted to demultiplex in the signal the pilot carrier 45 scheme                        scheme will   will change
                                                                                                                   change randomly
                                                                                                                             randomly so that      that the
                                                                                                                                                         the demodulation
                                                                                                                                                              demodulation will   will
from the
from       the atat least
                     least oneone carrier,
                                     carrier, andand to     demodulate data
                                                       to demodulate          data ele-
                                                                                      ele     have a good averaging effect resulting in an increase of the
ments from the       the at least
                                least one
                                        one carrier;
                                               carrier; andand pilot       information interference immunity.
                                                                  pilot information
means, adapted to generate information to identify the pilot                                     In another implementation of the present invention, the
carrier, and
carrier,     and to to apply
                        apply the the information
                                       information to    to aa second
                                                                second input
                                                                           input of    the pilot carrier is modulated with a predefined sequence that
                                                                                    of the
demodulation means,
demodulation             means, characterised
                                     characterised in     in that
                                                               that the     modulation 50 ensures
                                                                     the modulation                          sufficient alternations
                                                                                              ensures sufficient            alternations of      of the     states of
                                                                                                                                                      the states      of the
                                                                                                                                                                           the pilot
                                                                                                                                                                                 pilot
means isis further
                further adapted to modulate modulate the pilot carrier with                   carrier.
                                                                                   with a carner.
non-constant signal; and the demodulating means is adapted                                       In
                                                                                                 In this
                                                                                                       this way,
                                                                                                              way, ifif the
                                                                                                                         the averaged
                                                                                                                              averaged effect effect ofof interference
                                                                                                                                                           interference over over all
                                                                                                                                                                                    all
to demodulate
to  demodulate the       the non-constant
                               non-constant signalsignal fromfrom thethe pilot
                                                                           pilot carrier
                                                                                   carrier visited states in the constellation scheme is zero after
and to use  use the demodulated pilot carrier for              for synchronisation.
                                                                    synchronisation. demodulation,
                                                                                              demodulation, the       the best results
                                                                                                                                   results will will be
                                                                                                                                                      be obtained
                                                                                                                                                          obtained in   in terms
                                                                                                                                                                            terms ofof
   In this way, by modulating the pilot carrier with a non-                          non 55 improvement of the interference immunity. Indeed, when
constant
constant signal,
               signal, the the pilot
                                pilot carrier
                                        carrier appears
                                                  appears on             transmission each
                                                                    the transmission
                                                                on the                        each state has   has anan equal
                                                                                                                         equal probability
                                                                                                                                  probability and    and the
                                                                                                                                                           the constellation
                                                                                                                                                                constellation has  has
medium as       as aa sine or or cosine withwith non-constant
                                                     non-constant phase  phase and/or aa symmetrysymmetry around   around zero,
                                                                                                                              zero, the
                                                                                                                                      the effect
                                                                                                                                              effect ofof interference
                                                                                                                                                            interference will       be
                                                                                                                                                                              will be
amplitude. Demodulation
                    Demodulation of such         such aa pilotpilot carrier at the     the compensated for completely after demodulation. As an
receiver's side,
receiver’s        side, re-generates
                           re-generates the   the unmodulated
                                                     unmodulated pilot   pilot carrier,
                                                                                  carrier,    example, the constellation might contain only two points
i.e.
i.e. aa sine
         sine or or cosine
                     cosine withwith non
                                       non varying
                                             varying phase
                                                         phase and/or        amplitude 60 with the same amplitude but with opposite phases. Succes
                                                                   and/or amplitude                                                                                          Succes-
from the transmitted
                 transmitted modulated
                                    modulated pilot  pilot carrier.
                                                              carrier. For      interfer sive
                                                                          For interfer-       sive pilots
                                                                                                    pilots would would then
                                                                                                                          then have
                                                                                                                                  have alternate
                                                                                                                                          alternate phases.
                                                                                                                                                         phases.
ence induced
          induced on the modulated modulated pilot carrier, this demodu       demodu-            It isis remarked
                                                                                                 It        remarked that  that the
                                                                                                                                 the proposed techniquetechnique con  con be usedused
lation
lation has  has anan averaging
                       averaging effecteffect asas will
                                                     will bebe explained
                                                                 explained in        more whether
                                                                                in more       whether or      or not
                                                                                                                  not the     predefined sequence
                                                                                                                        the predefined           sequence isis knownknown at   at the
                                                                                                                                                                                   the
detail
detail later
           later onon in in the
                             the description.
                                   description. The         effect of
                                                     The effect       of an
                                                                          an interferer
                                                                              interferer receiver.
                                                                                              receiver. If    If the
                                                                                                                  the sequence
                                                                                                                        sequence isis unknown,
                                                                                                                                          unknown, the      the receiver
                                                                                                                                                                  receiver has has toto
on different states of the modulation constellation is thus 65 demap the                                  the received
                                                                                                                received pilot, i.e. i.e. itit has
                                                                                                                                               has to map
                                                                                                                                                        map the received
                                                                                                                                                                    received point
averaged by demodulation.
                      demodulation. The final       final effect
                                                           effect of an interferer
                                                                              interferer on   on aa constellation
                                                                                                         constellation point. point. TheThe decision
                                                                                                                                                  decision is   is then
                                                                                                                                                                     then used
                                                                                                                                                                            used toto
after demodulation is far less than the effect of the interferer                              generate the unmodulated pilot.




                                                                                       5


                                                                           Appx3981
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                               5                                                                                                        6
   In yet another implementation of the present invention,                               ADSL modem of which only the receiving part RX 30 is
the pilot carrier
the pilot         is modulated
          carrier is modulated part
                               part of
                                    of the data elements
                                       the data          to be
                                                elements to be                            drawn, and a copper twisted pair telephone line TM 40
transmitted.                                                                              coupling the
                                                                                          coupling       the two
                                                                                                               two ADSL
                                                                                                                      ADSL modems.modems. The    The first
                                                                                                                                                         first ADSL
                                                                                                                                                                 ADSL modem modem
   This implementation has the additional advantage that it                               may
                                                                                          may for for instance
                                                                                                          instance be   be located
                                                                                                                              located in    in aa remote
                                                                                                                                                     remote terminalterminal and  and
provides an enlarged bandwidth for transport of data ele                        ele- 5 modulates data DATA 21 to be transmitted over the tele-                                   tele
ments. Indeed, in the already cited ADSL system for phone                                 may
                                                                                          may
                                                                                                   line TM 40 towards
                                                                                                   line
                                                                                                 for
                                                                                                 for   instance
                                                                                                       instance
                                                                                                                      towards the
                                                                                                                     be
                                                                                                                     be   located
                                                                                                                          located
                                                                                                                                    the second
                                                                                                                                      in
                                                                                                                                      in
                                                                                                                                         second ADSL
                                                                                                                                          aa central
                                                                                                                                              central
                                                                                                                                                      ADSL modem
                                                                                                                                                          office.
                                                                                                                                                          office.
                                                                                                                                                                  modem which
                                                                                                                                                                      Both
                                                                                                                                                                      Both
                                                                                                                                                                              which
                                                                                                                                                                              ADSL
                                                                                                                                                                              ADSL
instance, the pilot carrier may be modulated with an 8 kbit/s modems respect the specifications of the ADSL Standard
instance,   the  pilot   carrier   may    be  modulated       with    an  8  kbit/s
datastream by allocating two bits to it.              it. IfIf this
                                                                this additional
                                                                       additional TlE1.413.
                                                                                          T1E1.4.13.
bandwidth is used for transporting data elements, the aggre                 aggre-
                                                                                             The transmitting part TX 20 of the first ADSL modem
gate   bit   rate   between       transmitter       and     receiver      will    be  10
gate bit rate between transmitter and receiver will be contains between a data        10
                                                                                                                                         DATA21
                                                                                                                                input DATA          21 and a signal output
increased with an equivalent amount. It is to be remarked SS 25
increased    with    an   equivalent      amount.     It  is  to  be    remarked
                                                                                             25  the
                                                                                                 the    cascade
                                                                                                        cascade      connection
                                                                                                                     connection        of
                                                                                                                                       of  aa discrete
                                                                                                                                               discrete     multitone
                                                                                                                                                            multitone (DMT)  (DMT)
that, to have significant immunity against interferers, the                               modulator MOD 22 and a line interface TI 24. In addition,
data elements
      elements which
                   which areare modulated
                                 modulated on the pilot carrier, hove         hove pilot tone identifying means TPT 26 are included and have
to be sufficiently random so that the pilot carrier reaches all
states  in the
states in   the constellation
                 constellation schemescheme and  and aa good
                                                         good averaging
                                                                  averaging of        15 an output coupled to an additional input of the DMT
                                                                                  of 15   modulator MOD 22.
the interference
     interference isis obtained by      by demodulation. This can be                         The receiving
                                                                                             The     receiving port  port RXRX 30       of the
                                                                                                                                    30 of     the second
                                                                                                                                                    second ADSL  ADSL modem  modem
obtained by scrambling.                                                                   contains between a signal input S' 35 and a data output
   An additional feature of the present      present invention
                                                        invention isis that that itit DATA' 37 the cascade connection of a line interface RI 32
may bebe applied
           applied in in the
                          the field
                               field of ADSL
                                           ADSL and VDSL so that          that the 20     and
                                                                                          and aa discrete
                                                                                                  discrete multitone
                                                                                                                multitone (DMT) (DMT) demodulator
                                                                                                                                            demodulator DMOD      DMOD 34.     34. In
                                                                                                                                                                                    In
transmitter and receiver constitute a discrete multitone trans-              trans 20 addition,         pilot tone identifying means RPT 36 are included
ceiver according to the Asymmetric Digital Subscriber Line                                and have an output coupled to an additional input of the
            TlE1.413.
standard T1E1.413.                                                                        DMT demodulator DMOD 34.
   Indeed, systems wherein wherein data elements are transmitted     transmitted             In FIG.
                                                                                             In   FIG. 1,  1, anan embodiment
                                                                                                                     embodiment of         of the
                                                                                                                                                the transmission
                                                                                                                                                      transmission system    system
over copper telephone lines such as ADSL (Asymmetric 25                               25 according to the present invention is thus drawn in terms of
Digital   Subscriber Line),
Digital Subscriber        Line), VDSL
                                    VDSL (Very         High Bitrate
                                              (Very High        Bitrate Digital
                                                                           Digital functional blocks: TX, RX, TM, MOD, TI, TPT, RI, DMOD
Subscriber Line)
Subscriber      Line) or or the
                             the like
                                   like are     subjected toto interference
                                          are subjected             interference and      and RPT.
                                                                                                RPT. The   The working
                                                                                                                   working of     of each
                                                                                                                                      each of   of these
                                                                                                                                                     these blocks
                                                                                                                                                               blocks will  will bebe
such as radio amateur signals. ItIt is therefore likely to protect described sufficiently detailed in the following paragraphs.
such systems with the technique according to the present From                             From thisthis functional
                                                                                                           functional description,
                                                                                                                            description, itit will  will be be obvious
                                                                                                                                                                   obvious for  for aa
invention.                                                                            30 person skilled in the art of designing telecommunication
   Furthermore, aa characteristic
                        characteristic feature
                                            feature of the present inven-   inven devices how embodiments of these blocks can be manufac-                                manufac
tion is
tion is where
        where thethe data
                      data elements
                             elements modulated
                                           modulated on        the pilot
                                                           on the   pilot carrier
                                                                            carrier tured tured with
                                                                                                  with well-known
                                                                                                            well-known electronic
                                                                                                                                electronic components.
                                                                                                                                                 components. AA detailed    detailed
are operation channel
                    channel data elements or          or overhead
                                                            overhead control
                                                                           control architecture of the contents of the functional blocks drown
channel data elements such as data elements used for                                      in
                                                                                          in FIG.
                                                                                              FIG. 11 hence
                                                                                                          hence isis notnot given
                                                                                                                              given here.
                                                                                                                                        here.
maintenance or
maintenance       or indicating
                      indicating aa modification
                                         modification of    of the
                                                                the number
                                                                      number of   of 35
                                                                                      35     In
                                                                                             In the    transmitting part
                                                                                                 the transmitting          part TXTX ofof the     first ADSL
                                                                                                                                            the first   ADSL modem,  modem, data data
bits modulated on a carrier of the at least one carrier.                                  DATA are
                                                                                          DATA      are applied
                                                                                                           applied to   to aa data
                                                                                                                               data input
                                                                                                                                       input DATADATA of    of thethe modulator
                                                                                                                                                                        modulator
   As described
   As    described in      in the        already mentioned
                                the already           mentioned ADSL       ADSL MOD       MOD to    to bebe modulated
                                                                                                              modulated thereby  thereby on   on aa setset of      carriers. ItIt isis
                                                                                                                                                             of carriers.
specification,
specification, the      DMT symbols
                  the DMT                    contain user
                                symbols contain         user data
                                                                data andand over
                                                                             over-        noticed
                                                                                          noticed thatthat inin FIG.
                                                                                                                 FIG. 1, 1, the    some reference
                                                                                                                             the some       reference DATA  DATA is     is used
                                                                                                                                                                           used forfor
head data,
       data, e.g. operation channel channel data or    or overhead control the            the incoming
                                                                                               incoming data   data andand the      terminal of
                                                                                                                              the terminal         of the
                                                                                                                                                      the modulator
                                                                                                                                                             modulator MOD     MOD
channel data
           data such as operation
                            operation and maintenance
                                                 maintenance commands, 40 where           where the the data
                                                                                                           data areare applied
                                                                                                                         applied to. to. Furthermore
                                                                                                                                           Furthermore itit isis remarkedremarked
vendor specific
vendor   specific commands,
                     commands, bit     bit swap
                                           swap information,
                                                   information, and    and so
                                                                            so on.
                                                                                 on. that that the
                                                                                                the applied
                                                                                                      applied data data DATA
                                                                                                                          DATA may   may be  be user
                                                                                                                                                  user data
                                                                                                                                                          data received
                                                                                                                                                                   received fromfrom
The   embedded operations
The embedded           operations channel
                                        channel (eoc)
                                                    (eoc) and and the the ADSL
                                                                            ADSL the      the outside
                                                                                               outside worldworld as  as well
                                                                                                                           well as as overhead
                                                                                                                                       overhead data, data, forfor instance
                                                                                                                                                                      instance bit bit
overhead control (aoc) channel are          are described respectively
                                                                respectively in allocationallocation information
                                                                                                           information generated inside           inside the          first ADSL
                                                                                                                                                              the first       ADSL
paragraphs 11.1 11.1 13.1
                        13.1 on pages
                                    pages 71 and   and 112112 of the earlier modem.       modem. The   The modulator
                                                                                                              modulator MOD    MOD then  then performs bit         bit allocation,
                                                                                                                                                                        allocation,
mentioned
mentioned specification.
               specification. This         information may
                                  This information           may forfor instance
                                                                         instance 45 i.e. the modulator MOD allocates a certain number of data
be modulated
    modulated on   on the pilot
                             pilot carrier.
                                      carrier.                                            bits to
                                                                                                to each
                                                                                                      each one  one of of thethe carriers,
                                                                                                                                    carriers, selects an         an appropriate
                                                                                                                                                                       appropriate
                                                                                          modulation
                                                                                          modulation        type
                                                                                                            type    for
                                                                                                                    for  each
                                                                                                                         each     one
                                                                                                                                  one   of
                                                                                                                                        of  the
                                                                                                                                             the  carriers
                                                                                                                                                   carriers    so
                                                                                                                                                               so    that
                                                                                                                                                                     that  the
                                                                                                                                                                           the right
                                                                                                                                                                                right
        BRIEF DESCRIPTION OF THE DRAWINGS                                                 amount of
                                                                                          amount      of bits
                                                                                                           bits can
                                                                                                                  can be be modulated
                                                                                                                              modulated thereon,thereon, and  and thenthen modu-
                                                                                                                                                                              modu
   The above                                                                              lates the carriers. The carriers are transformed from fre-                              fre
   The   above mentioned
                  mentioned and  and other
                                        other objects
                                               objects and and features
                                                                 features of of the
                                                                                 the 50 quency       to  time    domain      by   the  modulator         MOD        and   extended
invention    will  become      more    apparent     and   the  invention
invention will become more apparent and the invention itself cyclically       itself      quency     to  time    domain      by    the modulator         MOD        and   extended
will be best understood by referring to the following descrip            descrip-         cyclically so   so as
                                                                                                              as to
                                                                                                                  to minimise
                                                                                                                      minimise intersymbol
                                                                                                                                     intersymbol interference
                                                                                                                                                          interference effectseffects
                                                                                          due
                                                                                          due toto transmission
                                                                                                     transmission over     over the the telephone
                                                                                                                                          telephone line   line TM.  TM. The The so so
tion of an
         an embodiment
             embodiment taken in         in conjunction
                                            conjunction with  with the    accom-
                                                                     the accom
panying drawings wherein:                                                                 obtained symbols,
                                                                                          obtained      symbols, called called discrete
                                                                                                                                   discrete multitone
                                                                                                                                                multitone symbols,symbols, con-  con
   FIG. 1 represents a transmission system including a 55 which                           tain one
                                                                                          tain  one carrier
                                                                                                        carrier which
                                                                                                                    which isis assigned
                                                                                                                                    assigned to    to be
                                                                                                                                                       be pilot
                                                                                                                                                             pilot carrier
                                                                                                                                                                       carrier andand
                                                                                          which    will
                                                                                                   will    be
                                                                                                           be  used
                                                                                                               used    at
                                                                                                                       at  the
                                                                                                                           the   receiver's
                                                                                                                                 receiver’s      side
                                                                                                                                                 side   for
                                                                                                                                                        for  synchronisation.
                                                                                                                                                              synchronisation.
transmitter TX and a receiver RX according to the present The
transmitter    TX    and   a  receiver      RX   according       to  the  present
                                                                                          The modulator
                                                                                                 modulator MOD      MOD modulates
                                                                                                                               modulates this    this pilot
                                                                                                                                                         pilot carrier
                                                                                                                                                                   carrier inin an  an
invention; andand                                                                         alternating
                                                                                          alternating        way.
                                                                                                            way.      This
                                                                                                                      This     means
                                                                                                                               means       that,
                                                                                                                                           that,     when
                                                                                                                                                     when       22 bits
                                                                                                                                                                     bits cancan be
   FIG. 2 represents a constellation scheme for modulating modulated
   FIG.   2  represents     a  constellation      scheme       for  modulating
                                                                                          modulated on      on the
                                                                                                                 the pilot
                                                                                                                       pilot carrier
                                                                                                                                carrier via via 44 QAMQAM modulation,
                                                                                                                                                                  modulation, 44
a pilot carrier in a particular embodiment of the present different                       different     states
                                                                                                        states    are
                                                                                                                  are   transmitted
                                                                                                                       transmitted        in
                                                                                                                                          in   an
                                                                                                                                               an   alternating
                                                                                                                                                    alternating        way. The
                                                                                                                                                                       way.    The 44
invention, and  and illustrates               influence of interference
                       illustrates the influence                   interference 60 states states  of
                                                                                                  of   the
                                                                                                       the  44 QAM
                                                                                                               QAM       modulation
                                                                                                                         modulation         technique
                                                                                                                                            technique       are
                                                                                                                                                            are    drawn
                                                                                                                                                                   drawn     in
                                                                                                                                                                             in FIG.
                                                                                                                                                                                 FIG.
induced on
induced    on the
                the modulated
                     modulated pilot  pilot carrier.
                                             carrier.                                    22 and
                                                                                             and represented
                                                                                                  represented there   there byby Sl,S1, S2,
                                                                                                                                         S2, S3 S3 and
                                                                                                                                                     and S4.S4. EachEach of of these
                                                                                                                                                                                these
         BEST MODE FOR CARRYING OUT THE                                                   states corresponds
                                                                                          states  corresponds to       to aa sine wave
                                                                                                                                     wave signal
                                                                                                                                              signal on  on the
                                                                                                                                                              the transmission
                                                                                                                                                                     transmission
                                                                                          line TM, and has its particular phase and amplitude. The
                               INVENTION                                                  frequency of this sine wave signal is defined by the pilot tone
   The transmission
         transmission system drawn     drawn in  in FIG.
                                                    FIG. 11 includes
                                                                includes aa first
                                                                                first 65 information
                                                                                          information means  means TPT. TPT. The pilot tone      tone information
                                                                                                                                                          information means   means
Asymmetric DigitalDigital Subscriber
                              Subscriber Line  Line (ADSL) modem of TPT may for example be a simple register containing on
which
which only      the transmitting
         only the    transmitting part  part TX
                                              TX 20 20 isis drawn,
                                                             drawn, aa second
                                                                           second         indication of
                                                                                          indication       of thethe fixed
                                                                                                                        fixed frequency
                                                                                                                                  frequency of      of thethe pilot
                                                                                                                                                                  pilot tone,
                                                                                                                                                                           tone, or or


                                                                                       6


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                              7                                                                    8
alternatively, may be a device negotiating with the pilot tone          A first remark is that, although the signal S in the above
information means RPT in the second modem which fre-                 described embodiment is transported over a telephone line
quency will be reserved for the pilot tone. Modulating the           TM, the applicability of the present invention is not
pilot carrier in an alternating way implies that in successive       restricted by the transmission medium via which the signal
DMT symbols, the pilot carrier is represented by sine waves 5 S is transported. In particular, any connection between the
SI, S2, S3, S4, SI, S2, . . . , and so on, or by another             transmitter TX and receiver RX, e.g. a cable connection, a
(predefined) sequence that visits all states in an alternating       satellite connection, a radio link through the air, and so on,
way. This is different from what is specified in the draft           may be affected by norrowbanded interference, and thus can
ADSL standard. Therein, the pilot carrier should be modu-            be protected by the method according to the present inven-
lated With a constant signal, e.g. (0,0) which may be 10
                                                                     tion. The invention also is not only related to ADSL
represented by the point in the first quadrant of the earlier
mentioned vector plane in case of 4 QAM modulation. This             (Asymmetric Digital Subscriber Line) or similar systems
means that on ADSL modem, operating according to the                 wherein DMT (Discrete Multi Tone) modulation is used. A
ADSL standard, transmits one single sine, SI for instance, in        person skilled in the art will be able to adopt the above
successive DMT symbols as the pilot carrier.                         described embodiment so that it is applicable to any other
    In FIG. 2 it is supposed that a radio amateur signal affects 15 system wherein a pilot carrier is transmitted from transmitter
the pilot tone carrier in the above described embodiment             TX to receiver RX for synchronisation purposes. U.S. Pat.
according to the present invention. The interference com-            No. 5,546,190 for instance describes an optical communi-
ponent added to the states SI, S2, S3 and S4 in successive           cation system wherein a pilot tone is multiplexed with
DMT symbols is 11, 12, 13 and 14 respectively. Instead of            multiple subcarriers, having frequencies which are integer
a sine wove whose amplitude and phase is determined by the 20 multiples of the pilot tone frequency, and U.S. Pat. No.
vector P in FIG. 2, the receiver RX thus receives a sine wave        5,548,344 describes an HDTV system wherein a pilot sine
whose amplitude and phase correspond to that of PI.                  wave signal is multiplexed with the HDTV carriers.
Similarly, the sine wave received by the receiver RX in                 Another remark is that the origin of the narrowbanded
symbols wherein states S2, S3, or S4 are transmitted, differs        interference is of no importance for applicability of the
in phase and amplitude from the transmitted sine wave in an 25 present invention. Whether the disturbing signals are trans-
amount determined by the respective vectors 12, 13 and 14.           mitted by a radio amateur, as supposed in the above
    The affected signal S' enters the receiving part RX of the       described example, by a taxi, by the police, or are originat-
central office modem and is applied to the line interface RI         ing from yet another source is not relevant. Whenever the
to be conditioned: transmission line coupling, front-end             transmitter TX expects that the pilot carrier may be affected
filtering and analogue to digital conversion for instance are 30 by an interferer, he can protect the synchronisation between
performed with the appropriate levels of linearity and noise         transmitter TX and receiver RX by modulating the pilot
in RI. The conditioned and digitised signal then is applied to       carrier.
                                                                     carner.
the demodulator DMOD which equalises the signal in time                 It is noticed that in an alternative embodiment, the pilot
domain to compensate for intersymbol interference, which             tone is modulated randomly instead of in an alternating way.
removes the cyclic prefix, converts the time domain signal 35 This means that, referring to FIG. 2, a random sequence of
into a frequency domain signal via fast fourier transforma-          the states SI, S2, S3 and S4 is transmitted instead of a
tion and equalises the signal in frequency domain to com-            predetermined alternating sequence.
pensate for phase and amplitude errors in the received
                                                                        In yet another alternative embodiment, the pilot carrier
carriers. The demodulator DMOD also regenerates the pilot
                                                                     may be modulated with scrambled data. Scrambling part of
carrier from the successive states SI, S2, S3, S4. The 40
                                                                     the data DATA in FIG. 1 has a randomising effect. Such
demodulation thereto leaves SI unaffected, rotates S2 in the
                                                                     randomised data then may be modulated on the pilot carrier.
next DMT symbol over 90 degrees clockwise, rotates S3 in
                                                                     Since the states SI, S2, S3 and S4 will randomly be
the next DMT symbol over 180 degrees clockwise, rotates
                                                                     transmitted, demodulation in the receiver and averageing
S4 in the next DMT symbol over 270 degrees clockwise, and
                                                                     will again reduce the effect of the induced interference.
so on. All states are thus rotated to the first quadrant so that 45
                                                                     Apparently, the latter embodiment has the advantage of an
a continuous pilot carrier at the frequency indicated by the
                                                                     increased capacity, since the bandwidth occupied by the
pilot frequency indicating means RPT is constituted. Due to
                                                                     pilot carrier also is used for transmission of data. In case of
the interference 11, 12, 13 and 14 induced on SI, S2, S3 and
                                                                     ADSL transmission, overhead information such as the aoc-
S4 respectively, the sine wave in successive DMT symbols
                                                                     data or eoc-data may be used to modulate the pilot carrier.
representing the pilot carrier, differs in phase and amplitude 50
from the originally transmitted phase and amplitude deter-              While the principles of the invention have been described
mined by the vector P. When turned back to the first                 above in connection with specific apparatus, it is to be
quadrant, the phase and amplitude of the sine waves                  clearly understood that this description is made only by way
received in successive DMT symbols is given by the vectors           of example and not as a limitation on the scope of the
P+11, P+12', P+13' and P+14'. As is seen from FIG. 2, the 55 invention.
interference component induced on SI, i.e. 11, compensates              What is claimed is:
for the interference effect 13' for the interference effect 14'         1. A method for transmitting data elements (DATA) from
induced on S4. Regenerating the pilot carrier in the demodu-         a transmitter (TX) to a receiver (RX), wherein
lation DMOD and averaging over successive DMT symbols                   a. said data elements (DATA) modulate on at least one
thus reduces the effect of the interference, if the pilot carrier 60       carrier;
is transmitted over the transmission line TM as a sequence              b. a pilot carrier used for synchronisation between said
of alternating modulation states. Theoretically, the pilot                 transmitter (TX) and said receiver (RX) is multiplexed
carrier can be regenerated perfectly so that synchronisation               with said at least one carrier;
between the transmitter TX and receiver RX is not disturbed             c. said at least one carrier and said pilot carrier are
by the radio amateur. As a consequence, the data DATA' can 65              transmitted over a transmission medium (TM) inter-
be retrieved by demodulation of the other carriers in a                    connecting said transmitter (TX) and said receiver
perfect way.                                                               (RX), characterized




                                                               7


                                                      Appx3983
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                                                                            US 6,370,156 B2
                                  9                                                                                                          10
in that
in      said pilot
   that said pilot carrier
                    carrier isis modulated
                                 modulated with
                                           with aa non-constant
                                                   non-constant                                     said demodulating means (DMOD) being adapted to
signal before it is transmitted so as to produce a pilot carrier                                    demultiplex in said signal (S') a pilot carrier from at
having a sine
          sine or cosine
                   cosine waveform
                           waveform with
                                       with non-constant
                                            non-constant phase
                                                          phase                                     least one carrier modulated with data elements
and/or amplitude wherein said non-constant signal consists                                          (DATA'),
                                                                                                    (DATA'), and       and toto demodulate
                                                                                                                                     demodulate said        said datadata elements
                                                                                                                                                                               elements
of   part of
of part    of said
                said data
                       data elements
                              elements (DATA) (DATA) to       be transmitted
                                                           to be   transmitted for for 5            (DATA')
                                                                                                    (DATA)         from
                                                                                                                   from      said
                                                                                                                             said   at
                                                                                                                                    at  least
                                                                                                                                        least     one
                                                                                                                                                  one   carrier,
                                                                                                                                                        carrier,    characterised
                                                                                                                                                                    characterised          in
                                                                                                                                                                                           in
enlarging bandwidth for transport of said data element, and                                         that  said pilot
                                                                                                    that said      pilot carrier
                                                                                                                            carrier isis modulated
                                                                                                                                            modulated with    with aa non-constant
                                                                                                                                                                         non-constant
   d. said part of said data elements is sufficiently random in                                     signal so
                                                                                                    signal    so as as to produce a sine or cosine waveform with
        time thereby improving immunity of said pilot carrier                                       non-constant phase and/or amplitude wherein said non-                              non
        to interference.                                                                            constant
                                                                                                    constant       signal
                                                                                                                   signal      consists
                                                                                                                               consists       of
                                                                                                                                              of   part
                                                                                                                                                   part    of
                                                                                                                                                           of  said   data
                                                                                                                                                               said data        elements
                                                                                                                                                                               elements
   2. AA method
            method according
                        according toto claim 1,        1, characterised in    in that 1010
said non-constant signal is a random or pseudo-random
                                                                                                    (DATA) toto be transmitted
                                                                                                    (DATA)                   transmitted for     for enlarging
                                                                                                                                                       enlarging bandwidth
                                                                                                                                                                      bandwidth for       for
signal.                                                                                             transport
                                                                                                    transport       of
                                                                                                                    of    said
                                                                                                                         said     data
                                                                                                                                 data      elements,
                                                                                                                                           elements,        wherein
                                                                                                                                                            wherein       said     part
                                                                                                                                                                                   part    of
                                                                                                                                                                                           of
                                                                                                    said
                                                                                                    said     data
                                                                                                            data       elements
                                                                                                                       elements         is
                                                                                                                                       is     sufficiently
                                                                                                                                              sufficiently random random         in
                                                                                                                                                                                 in    time
                                                                                                                                                                                       time
   3. AA method
            method according
                        according toto claim 1,        1, characterised in    in that               thereby improving immunity of said pilot carrier to
said non-constant signal is an alternating signal, subse                      subse-
quently alternating between different states of the modula
quently      alternating     between        different     states   of  the  modula-     15
                                                                                        15          interference, and
                                                                                                    interference,          and said        demodulating means
                                                                                                                                  said demodulating                means (DMOD)(DMOD)
tion constellation.                                                                                 further
                                                                                                    further     is
                                                                                                                is   adapted
                                                                                                                     adapted      to
                                                                                                                                  to   demodulate
                                                                                                                                       demodulate           the
                                                                                                                                                            the   non-constant
                                                                                                                                                                  non-constant          sig
                                                                                                                                                                                        sig-
                                                                                                    nal
                                                                                                    nal from
                                                                                                          from said said pilot
                                                                                                                            pilot carrier
                                                                                                                                    carrier and  and to to use
                                                                                                                                                             use the
                                                                                                                                                                   the demodulated
                                                                                                                                                                         demodulated
   4. AA method
            method according
                        according toto claim  claim 1, 1, characterised in    in that               pilot carrier for synchronisation.
said transmitter
said    transmitter (TX) (TX) and  and said
                                          said receiver
                                                  receiver (RX)
                                                              (RX) constitute
                                                                        constitute aa
discrete multitone
              multitone (DMT) transceiver    transceiver according toto the        the 20 includeThe
                                                                                               10.            receiver of claim 9, wherein said data elements
                                                                                                         user data.
Asymmetric Digital Subscriber Line standard T1E1.413.                 TIEl.413.
   5.
   5. A A method
            method according
                        according toto claim  claim 1, 1, characterized
                                                           characterized in   in that
                                                                                  that         11. AA transmission
                                                                                               11.       transmission system   system comprising
                                                                                                                                             comprising aa transmitter
                                                                                                                                                                  transmitter (TX),  (TX),
said    data elements
said data      elements (DATA)             modulated on
                             (DATA) modulated               on said    pilot carrier
                                                                 said pilot   carrier      aa receiver
                                                                                              receiver (RX)  (RX) and   and aa transmission
                                                                                                                                 transmission medium    medium (TM), coupled     coupled
are operation channel data          data elements               overhead control between
                                             elements or overhead                          between an     an output
                                                                                                                output of   of said     transmitter (TX)
                                                                                                                                said transmitter            (TX) and and an an input
                                                                                                                                                                                 input of  of
channel data elements such as data elements used for                                       said receiver
                                                                                           said     receiver (RX),(RX), said  said transmitter
                                                                                                                                     transmitter (TX) comprising: comprising:
maintenance or
maintenance         or indicating
                         indicating aa modification
                                             modification of    of the
                                                                    the number
                                                                         number of      25
                                                                                    of 25
bits modulated on a carrier of said at least one carrier.
                                                                                               a modulation means (MOD)
                                                                                               a.                                  (MOD) toto aa first  first input
                                                                                                                                                               input of of which
                                                                                                                                                                            which data  data
                                                                                                    elements
                                                                                                    elements        (DATA)         are
                                                                                                                                   are    applied,
                                                                                                                                          applied,      said    modulation
                                                                                                                                                                modulation          means
                                                                                                                                                                                    means
   6. The method of claim 1,                1, wherein said data elements                           (MOD) being
                                                                                                    (MOD)                    adapted toto modulate
                                                                                                                  being adapted                 modulate said   said data
                                                                                                                                                                       data elements
                                                                                                                                                                                elements
include user data.                                                                                  (DATA)
                                                                                                    (DATA)        on
                                                                                                                  on    at
                                                                                                                        at  least
                                                                                                                            least   one
                                                                                                                                    one     carrier,
                                                                                                                                            carrier,     and
                                                                                                                                                         and   to  multiplex
                                                                                                                                                                   multiplex        said atat
                                                                                                                                                                                    said
   7. A transmitter (TX), adapted to transmit data elements 30
   7.   A  transmitter      (TX),      adapted      to  transmit     data  elements                 least
                                                                                                    least   one
                                                                                                            one     carrier
                                                                                                                    carrier     with
                                                                                                                                with     aa pilot carrier
                                                                                                                                                      carrier    used
                                                                                                                                                                 used    for
                                                                                                                                                                         for    synchro
                                                                                                                                                                                synchro-
(DATA) to
(DATA)       to aa receiver
                   receiver (RX)(RX) via via aa transmission
                                                 transmission medium           (TM), 30
                                                                    medium (TM),                    nisation between                 said transmitter              (TX) and            said
                                                                                                    nisation        between said               transmitter (TX)               and said
said transmitter
        transmitter (TX) comprising:
                                  comprising:                                                       receiver
                                                                                                    receiver (RX);(RX); and   and
   aa. modulation means  means (MOD) toto a first      first input
                                                             input of which
                                                                         which said            b.b. line
                                                                                                    line interface
                                                                                                          interface means  means (TI),
                                                                                                                                     (TI), coupled
                                                                                                                                               coupled between
                                                                                                                                                             between an    an output
                                                                                                                                                                               output of   of
        data elements (DATA) are              are applied, said modulation                          said
                                                                                                    said    modulation
                                                                                                            modulation           means (MOD)
                                                                                                                                 means        (MOD)         and
                                                                                                                                                            and    an
                                                                                                                                                                   an   input
                                                                                                                                                                        input     of
                                                                                                                                                                                  of said
                                                                                                                                                                                        said
        means (MOD) being adapted to modulate said data 35
        means      (MOD)        being      adapted      to  modulate       said  data   35
                                                                                                    transmission medium    medium (TM),   (TM), and  and adapted
                                                                                                                                                             adapted toto condition
                                                                                                                                                                              condition
        elements (DATA)
        elements      (DATA) on     on atat least
                                              least one
                                                      one carrier,
                                                            carrier, and
                                                                       and toto mul-
                                                                                mul                 said
                                                                                                    said    at
                                                                                                            at   least
                                                                                                                 least     one
                                                                                                                           one    carrier
                                                                                                                                  carrier       and
                                                                                                                                                and    said
                                                                                                                                                        said   pilot
                                                                                                                                                               pilot    carrier
                                                                                                                                                                        carrier      to
                                                                                                                                                                                     to bebe
        tiplex said at leastleast one
                                    one carrier
                                           carrier with
                                                      with a pilot carrier used  used               transmitted
                                                                                                    transmitted         over
                                                                                                                        over    said transmission
                                                                                                                                said    transmission          medium
                                                                                                                                                              medium         (TM), and
                                                                                                                                                                             (TM),       and
        for synchronisation between   between said transmitter
                                                           transmitter (TX) and                     said receiver
                                                                                                    said   receiver (RX)   (RX) comprising:
                                                                                                                                    comprising:
        said receiver
        said               (RX); and
               receiver (RX);         and
                                                                                               c.
                                                                                               c.   line
                                                                                                    line   interface
                                                                                                          interface        means
                                                                                                                           means      (RI), coupled
                                                                                                                                      (RI),      coupled toto an  an output
                                                                                                                                                                       output of   of said
                                                                                                                                                                                        said
   b. line
        line interface
              interface means
                           means (TI), coupled coupled between
                                                           between an output
                                                                           output of 40 40          transmission
                                                                                                    transmission medium   medium        (TM)
                                                                                                                                        (TM) and   and     adapted
                                                                                                                                                           adapted     to
                                                                                                                                                                       to   condition
                                                                                                                                                                            condition       aa
        said    modulation        means       (MOD)
        said modulation means (MOD) and an input of said  and    an  input   of  said               signal
                                                                                                    signal     (S')
                                                                                                               (S')    received
                                                                                                                       received      therefrom
                                                                                                                                     therefrom         to   be
                                                                                                                                                            be  applied
                                                                                                                                                                applied      to
                                                                                                                                                                             to   compo
                                                                                                                                                                                  compo-
        transmission mediummedium (TM), and adapted toto condition                                  nents of
                                                                                                    ments    of said       receiver (RX);
                                                                                                                   said receiver          (RX); and  and
        said at least
                    least one
                            one carrier and     and said pilot
                                                             pilot carrier to be    be         d.
                                                                                               d.    demodulating
                                                                                                     demodulating            means
                                                                                                                             means        (DMOD),           an input
                                                                                                                                                            an   input of of which
                                                                                                                                                                                which isis
        transmitted      over    said   transmission
        transmitted over said transmission medium (TM), charmedium      (TM),   char-
        acterised      in  that    said     modulation
        acterised in that said modulation means (MOD) is 45   means      (MOD)       is 45
                                                                                                    coupled
                                                                                                    coupled       to   an
                                                                                                                       an   output
                                                                                                                            output     of
                                                                                                                                       of    said   line
                                                                                                                                                    line    interface
                                                                                                                                                            interface      means
                                                                                                                                                                          means       (RI),
                                                                                                                                                                                      (RI),

        further adapted toto modulatemodulate said pilot carrier    carrier with
                                                                              with a
                                                                                                    said
                                                                                                    said    demodulating
                                                                                                            demodulating            means
                                                                                                                                    means         (DMOD)
                                                                                                                                                  (DMOD) being               adapted
                                                                                                                                                                  being adapted            to
                                                                                                                                                                                           to

        non-constant signal so as to produce a pilot carrier                                        demultiplex
                                                                                                    demultiplex          in
                                                                                                                         in   said    signal
                                                                                                                                      signal      (S)     said
                                                                                                                                                  (S') said      pilot
                                                                                                                                                                 pilot    carrier
                                                                                                                                                                         carrier      from
                                                                                                                                                                                      from
                                                                                                    said
                                                                                                    said atat least
                                                                                                                 least oneone carrier,
                                                                                                                                 carrier, and   and to to demodulate
                                                                                                                                                            demodulate data     data ele-
                                                                                                                                                                                        ele
        having aa sine
        having        sine or or cosine
                                   cosine waveform
                                               waveform with  with non-constant
                                                                      non-constant                  ments      (DATA')         from     said     at  least    one    carrier,     charac-
        phase and/or amplitude wherein said non-constant sig
        phase    and/or    amplitude        wherein      said   non-constant      sig-              ments      (DATA)          from     said     at  least    one    carrier,     charac
                                                                                                    terized
                                                                                                    terized in  in that
                                                                                                                    that said
                                                                                                                            said modulation
                                                                                                                                   modulation means    means (MOD)(MOD) isis further
                                                                                                                                                                                   further
        nal consists
        nal  consists of  of part
                              part ofof said
                                         said data
                                                 data elements       (DATA) to
                                                        elements (DATA)         to be
                                                                                    be 50
        transmitted for enlarging
                                enlarging bandwidth for           for transport of
                                                                                        50          adapted
                                                                                                    adapted        to
                                                                                                                   to    modulate
                                                                                                                         modulate          said
                                                                                                                                           said    pilot
                                                                                                                                                   pilot     carrier
                                                                                                                                                             carrier     with aa non-
                                                                                                                                                                         with          non
        said   data   elements,       and    said  part   of  said   data  elements                 constant signal so as
                                                                                                    constant                          as to  to produce aa sine or            or cosine
                                                                                                                                                                                    cosine
        said data elements, and said part of said data elements                                     waveform
                                                                                                    waveform with      with non-constant
                                                                                                                                non-constant phase     phase and/or
                                                                                                                                                                  and/or amplitude
                                                                                                                                                                              amplitude
        is sufficiently random in time thereby improving immu-                immu                  wherein said
                                                                                                    wherein       said    non-constant
                                                                                                                          non-constant          signal
                                                                                                                                                signal     consists
                                                                                                                                                           consists     of
                                                                                                                                                                        of part
                                                                                                                                                                            part ofof said
                                                                                                                                                                                        said
        nity ofof said
                   said pilot carrier toto interference.
                                                  interference.                                     data
                                                                                                    data    element
                                                                                                            element        (DATA)          to
                                                                                                                                           to   be   transmitted
                                                                                                                                                     transmitted        for
                                                                                                                                                                        for   enlarging
                                                                                                                                                                              enlarging
   8.   The    transmitter      of  claim     7,  wherein     said
   8. The transmitter of claim 7, wherein said data elements 55      data  elements     55
include user data.                                                                                  bandwidth for      for transport
                                                                                                                             transport of    of said
                                                                                                                                                  said data
                                                                                                                                                         data elements,
                                                                                                                                                                 elements, wherein
                                                                                                                                                                                 wherein
                                                                                                    said
                                                                                                    said   part
                                                                                                           part    of
                                                                                                                   of   said
                                                                                                                        said   data
                                                                                                                               data    elements
                                                                                                                                       elements        is
                                                                                                                                                       is  sufficiently      random
                                                                                                                                                           sufficiently random             in
                                                                                                                                                                                           in
   9. AA receiver
             receiver (RX), adapted to receive           receive a signal (S)     (S')              time thereby improving immunity of said pilot carrier
transmitted       thereto    by   a  transmitter       (TX)
transmitted thereto by a transmitter (TX) via a transmission  via   a transmission
medium
medium (TM),  (TM), saidsaid receiver
                               receiver (RX) (RX) comprising:
                                                      comprising:                                   to interference,
                                                                                                    to  interference, and     and said
                                                                                                                                    said demodulating
                                                                                                                                             demodulating means     means (DMOD)
                                                                                                    is
                                                                                                    is  adapted
                                                                                                        adapted       to
                                                                                                                      to  demodulate
                                                                                                                          demodulate           said
                                                                                                                                              said    non-constant
                                                                                                                                                      non-constant         signal from
                                                                                                                                                                           signal     from
   aa. line
        line interface
               interface means
                            means (RI), coupled coupled toto an an output of  of said 6060          said
                                                                                                    said    pilot carrier
                                                                                                            pilot      carrier     and
                                                                                                                                   and      to
                                                                                                                                            to   use
                                                                                                                                                  use    the
                                                                                                                                                         the   demodulated
                                                                                                                                                                demodulated           pilot
                                                                                                                                                                                      pilot
        transmission       medium         (TM)      and
        transmission medium (TM) and adapted to condition  adapted    to   condition                carrier for synchronisation.
        and signal (S') toto be applied    applied to components of said                       12.
                                                                                               12. The The transmission
                                                                                                              transmission system    system of          claim 11,
                                                                                                                                                   of claim       11, wherein
                                                                                                                                                                        wherein said    said
        receiver (RX);
        receiver     (RX); and and                                                         data elements include user data.
   b.b. demodulating
         demodulating means   means (DMOD),
                                          (DMOD), an           input of
                                                          an input          which isis
                                                                       of which
        coupled to an    an output of said line    line interface means means (RI),                                             * * * * *




                                                                                          8


                                                                              Appx3984
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                     IN THE UNITED STATES DISTRICT COURT
                                             DELAWARE
                         FOR THE DISTRICT OF DELAWARE




TQDELTA,
TQ DELTA, LLC,

            Plaintiff,

      v.                                   Civil Action No.1
                                                        No. 1::15-cv-00611-RGA
                                                               15-cv-00611-RGA

COMCAST CABLE COMMUNICATIONS,
LLC

            Defendant.


TQ DELTA, LLC,

            Plaintiff,

      v.
                                           Civil Action No. 1:15-cv-00612-RGA
COXCOM LLC and COX
COMMUNICATIONS INC.,


            Defendants.



TQ DELTA, LLC,

            Plaintiff,

      v.
                                           Civil Action No.1:
                                                        No. 1:15-cv-00613-RGA
                                                              15-cv-00613-RGA
DIRECTV, LLC,


            Defendant.




                                       1          TQ Delta Exhibit 2007
                                                  Cisco Systems, Inc. v. TQ Delta LLC
                                                  IPR2016-01020
                                  Appx6129
      Case: 18-1766       Document: 49-2   Page: 232     Filed: 11/21/2018


Case 1:15-cv-00611-RGA Document 214 Filed 11/30/16 Page 2 of 31 PageID #: 8987




TQ DELTA, LLC,

            Plaintiff,

      v.

DISH NETWORK CORPORATION, DISH
                                           Civil Action No. 1:15-cv-00614-RGA
                                                            1:15-cv-00614-RGA
NETWORK LLC, DISH DBS
CORPORATION, ECHOSTAR
CORPORATION, and ECHOSTAR
TECHNOLOGIES, LLC


            Defendants.



TQ DELTA, LLC,

            Plaintiff,

      v.
                                           Civil Action No. 1:15-cv-00615-RGA
TIME WARNER CABLE INC. and TIME
WARNER CABLE ENTERPRISES LLC,


            Defendants.



TQ DELTA, LLC,

            Plaintiff,

      v.
                                           Civil Action No. 1:15-cv-00616-RGA
                                                            1:15-cv-00616-RGA
VERIZON SERVICES CORP.,


            Defendant.




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                                 MEMORANDUM OPINION

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           Presently before the Court is the issue of claim construction of multiple terms in U.S.

Patent Nos. 8,718,158 (''the '158 patent"), 9,014,243 ("the '243 patent"), 8,61-1,404 ("the '404

patent"), 9,094,268 ("the '268 patent"), 7,835,430 ("the '430 patent"), and 8,238,412 (''the
                                                                                      ("the '412

patent"). The Court has considered the Parties' Joint Claim Construction Brief. (Civ. Act. No.

15-611-RGA, D.L                                 D.L 141; Civ. Act. No. 15-613-RGA, D.L
            D.I. 144; Civ. Act. No. 15-612-RGA, D.I.                               D.I.

                               D.I. 135; Civ. Act. No. 15-615-RGA, D.L
141; Civ. Act. No. 15-614-RGA, D.l.                                D.I. 141; Civ. Act. No.

                 146). 1 The Court heard oral argument on October 18, 2016. (D.I.
            D.I. 146).1
15-616-RGA; D.L                                                             (D.!. 158).

I.         BACKGROUND

           Plaintiff filed these actions on July 17, 2015, alleging infringement of eight patents. (D.I.
                                                 17,2015,                                          (D.L

            14, 2016, Plaintiff dismissed two of these patents with prejudice. (D.I.
1). On July 14,2016,                                                           (D.L 102). The

parties divide the remaining contested patents into three groupings: the phase scrambling patents,

the low power mode patents, and the diagnostic mode patents. The phase scrambling patents,

which include the '158 and '243 patents, claim methods for reducing the peak to average power

ratio of a multicarrier transmission system. The low power mode patents, which include the' 404
                                                                                       the '404

and '268 patents, claim methods for causing a multicarrier communications system to enter a low

power mode while storing state information for full power mode to enable a rapid start up

without the need for reinitialization. The diagnostic mode patents, which include the '430 and

'412 patents, claim both an apparatus and method for the reliable exchange of diagnostic and test

information over a multicarrier communications system.




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1   Unless otherwise specifically noted, all references to the docket refer to Civil Action No. 15-611-RGA.



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 II.    LEGALSTANDARD
        LEGAL STANDARD

        "It is a bedrock principle of patent law that the claims of a patent define the invention to

 which the patentee is entitled the right to exclude." Phillips v. AWH
                                                                   A WH Corp., 415 F.3d 1303, 1312

 (Fed. Cir. 2005) (en bane)                                     '"[T]here
                      banc) (internal quotation marks omitted). '" [T]here is no magic formula or

 catechism for conducting claim construction.' Instead, the court is free to attach the appropriate

 weight to appropriate sources 'in light of the statutes and policies that inform patent law."'
                                                                                         law. ",

 SoftView LLC v. Apple Inc., 2013 WL 4758195, at *1 (D. Del. Sept. 4, 2013) (quoting Phillips,

 415 F.3d at 1324) (alteration in original). When construing patent claims, a court considers the

 literal language of the claim, the patent specification, and the prosecution history. Markman v.

                                     967, 977-80 (Fed. Cir. 1995) (en bane),
 Westview Instruments, Inc., 52 F.3d 967,977-80                       banc), aff'd, 517 U.S. 370

.· (1996). Ofthese
           Of these sources, "the specification is always highly relevant to the claim construction

 analysis. Usually, it is dispositive; it is the single best guide to the meaning of a disputed term."

               F.3d
 Phillips, 415 F .3d at 1315 (internal quotation marks omitted).

         "[T]he words of a claim are generally given their ordinary and customary meaning ....

 [Which is] the meaning that the term would have to a person of ordinary skill in the art in

 question at the time of the invention, i.e., as of the effective filing date of the patent application."

 Id. at 1312-13 (citations and internal quotation marks omitted). "[T]he ordinary meaning of a

 claim term is its meaning to [an] ordinary artisan after reading the entire patent." Id. at 1321

 (internal quotation marks omitted). "In some cases, the ordinary meaning of claim language as

 understood by a person of skill in the art may be readily apparent even to lay judges, and claim

 construction in such cases involves little more than the application of the widely accepted

 meaning of commonly understood words." Id. at 1314.




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       When a court relies solely upon the intrinsic evidence-the
                                                     evidence--the patent claims, the

specification, and the prosecution history-the court's construction is a determination oflaw.

See Teva Pharm. USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831, 841 (2015). The court may also

make factual findings based upon consideration of extrinsic evidence, which "consists of all

evidence external to the patent and prosecution history, including expert and inventor testimony,

dictionaries, and learned treatises." Phillips, 415 F.3d at 1317-19 (internal quotation marks

omitted). Extrinsic evidence may assist the court in understanding the underlying technology,

the meaning of terms to one skilled in the art, and how the invention works. Id. Extrinsic

evidence, however, is less reliable and less useful in claim construction than the patent and its

prosecution history. Id.

       "A claim construction is persuasive, not because it follows a certain rule, but because it

                             of the whole patent." Renishaw PLC v. Marposs Societa'
defines terms in the context ofthe                                                  per
                                                                           Societa 'per

Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1998). It follows that "a claim interpretation that would

exclude the inventor's device is rarely the correct interpretation:" Osram GMBH v. Int
                                                                                   Int'l'l Trade

Comm 'n, 505 F.3d 1351, 1358 (Fed. Cir. 2007) (citation and internal quotation marks omitted).

III.   CONSTRUCTION OF DISPUTED TERMS

A.     The Phase Scrambling Patents

       The' 158 patent is directed to a method for scrambling the phase characteristics of carrier
       The '158

signals in a multicarrier communications system. Claim 1 is representative and reads as follows:

       1. In a multicarrier modulation system including a first transceiver in
       communication with a second transceiver using a transmission signal having a
       plurality of carrier signals for modulating a plurality of data bits, each carrier
       signal having a phase characteristic associated with at least one bit of the plurality
       of data bits, a method for scrambling the phase characteristics ofthe carrier signals
       comprising:
               transmitting the plurality of data bits from the first transceiver to the second
       transceiver;


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                                                                                                         f
               associating a carrier signal with a value detennined
                                                           determined independently of any
       bit of the plurality of data bits carried by the carrier signal, the value associated             f
                                determined by a pseudo-random number generator;
       with the carrier signal detennined                                                                ~
                                                                                                         t
               determining a phase shift for the carrier signal at least based on the value
       associated with the carrier signal;
               modulating at least one bit of the plurality of data bits on the carrier signal;
                                                                                                         I!
               modulating the at least one bit on a second carrier signal of the plurality of            f
       carrier signals.
                                                                                                         I
(' 158 patent, claim 1) (disputed tenns
('158                             terms italicized).
                                                                                                         I
       The '243 patent is also directed to a method for scrambling the phase characteristics of

carrier signals in a multi carrier communications system. Claim 1 is representative and reads as
                     multicarrier                                                                        I
                                                                                                         I




follows:
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       1. A method, in a multicarrier communications transceiver comprising a bit
       scrambler followed by a phase scrambler, comprising:
                                                                                                         I
               scrambling, using the bit scrambler, a plurality of input bits to generate a
       plurality of scrambled output bits, wherein at least one scrambled output bit is
       different than a corresponding input bit;
               scrambling, using the phase scrambler, a plurality of carrier phases
       associated with the plurality of scrambled output bits;
               transmitting at least one scrambled output bit on a first carrier; and
               transmitting the at least one scrambled output bit on a second carrier.

('243 patent, claim 1) (disputed tenns
                                 terms italicized).

1.      "carrier signal" and "carrier"
                             "carrier"

        a.       Plaintiff's proposed construction: "plain meaning"

        b.                   proposed construction: "wave that can be modulated to carry data"
                 Defendants''proposed
                 Defendants

        c.       Court's construction: "signal that can be modulated to carry data"

        The parties agree that "carrier signal" and "carrier" should have the same construction.

(D.I. 144 at 36). Defendants argue strenuously that the proper construction for this term
                                                                                     tenn requires

that the carrier signal be a wave and that this cOnstruction
                                                construction is supported by the specification itself
                                                                                               itself.

(Id. at 33). Contrary to Defendants' assertion, however, neither "wave" nor "wavefonn"
(ld.                                                                        "waveform" appear

anywhere in the specification. To require that the carrier be a wave, therefore, would be to import

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a term that itself requires construction.     Plaintiff argues that the wave Defendants refer to

throughout their briefing and during oral argument is simply the time domain representation of a

                                                                              (Id. at 21,33,35;
signal that exists only after the carrier signals are modulated and combined. (ld.    21, 33, 35; D.l.
                                                                                                  D.I.

158 at 70:12-18). The specification supports Plaintiffs position, describing the carrier signals as

being modulated in the frequency domain prior to being combined into the time domain

transmission signal. ('158 patent at 4:12-24). While I find support for Plaintiffs opposition to

using the word "wave" in the construction of this term, I agree with Defendants that some

construction is needed, so I will adopt Defendants' construction modified as follows: "signal that

can be modulated to carry data."

2.       "determin[e/ing] a phase shift for the carrier signal"

         a.       Plaintiff's proposed construction: "plain meaning"

         b.       Defendants' proposed construction: "use/using an equation to compute the
                  degrees or radians that the phase of the carrier signal can be shifted"

         c.       Court's construction: "comput[e/ing] an amount by which the phase of the carrier
                  signal will be shifted"

         As an initial matter, the parties disagree as to whether the phase shift must be determined

in units of degrees or radians. There is no support in the intrinsic record for Defendants' attempt

to import these terms into the claim. Degrees and radians are merely units of measure, akin to feet

or meters. I see no reason to limit this claim term to require specific units of measure for the phase

shift.

         Defendants next argue that this term should be construed to limit the meanmg
                                                                               meaning of

"determine" to mean compute. Defendants cite the invention as described in the "Summary of the

Invention" section of the specification as support and argue that the invention as a whole is

described using the word "compute" with respect to how the phase shift is determined. (D.I.
                                                                                      (D.l. 144



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at 38). I agree with Defendants. The specification, in describing the "present invention," states

that "[a] phase shift is computed for each carrier signal." ('158 patent at 2:39-40). Every reference

to the phase shift in the Summary of the Invention section reflects that the shift is "computed."

See id. at 2:43, 2:58-59, 2:63-64. "When a patent thus describes the features of the 'present

                                                         of the invention." Verizon Servs. Corp. v.
invention' as a whole, this description limits the scope ofthe

Vonage Holdings Corp., 503 F.3d 1295, 1308 (Fed. Cir. 2007).

       Defendants further argue that "by definition, to 'compute' is to use an equation." (D.I. 144

at 39). Plaintiff counters that the definition of compute is broader and that Defendants are

"attempting to import a limitation from an example embodiment." (Id. at 39-40). On this point I

agree with Plaintiff. Although the example embodiments do employ an equation to compute the

phase shifts, the specification disclaims reliance on any particular method, stating that "additional

and/or different phase shifting techniques can be used by the phase scrambler." ('158 patent at

8:14-15).
8: 14-15). Defendants also cite to the provisional application as further support for their argument;

however, the provisional application also disclaims reliance on any particular method for

determining the phase shifts, stating that "[t]he fundamental principle used in this invention is to

use known parameters at the transmitter and the receiver to randomize the phase of the tones in a

multicarrier system." (D.I. 146 at A355).

       Therefore, I decline to adopt either Plaintiff's
                                            Plaintiffs or Defendants' proposed constructions.

Instead I construe the term "determin[e/ing] a phase shift for the carrier signal" to mean

"comput[e/ing] an amount by which the phase of
                                            ofthe
                                               the carrier signal will be shifted."

3.     "phase scrambler"

       a.       Plaintiff's proposed construction: "a component operable to adjust the phases of
                Plaintiffs
                the carriers, by pseudo-randomly varying amounts"




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       b.      Defendants' proposed construction: "component that adjusts the phases of
               modulated carrier signals by pseudo-randomly varying amounts"

       c.      Court's construction: "component operable to adjust the phases of the carrier
               signals, by pseudo-randomly varying amounts"

       "scrambling the phase characteristics of the carrier signals"

       a.      Plaintiff's proposed construction: "adjusting the phase characteristics ofthe
                                                                                       of the
               carrier signals by pseudo-randomly varying amounts"

       b.      Defendants   proposed construction: "adjusting the phases of the modulated
               Defendants''proposed
               carrier signals by pseudo-randomly varying amounts"

       c.      Court's construction: "adjusting the phase characteristics of the carrier signals by
               pseudo-randomly varying amounts"

       The parties' only dispute with respect to these two claim terms is whether the carrier signals

are modulated before or after phase scrambling occurs. Plaintiff argues that in every embodiment

disclosed in the specification phase scrambling occurs before modulation.         (D.1.
                                                                                  (D.I. 144 at 42).

Defendants counter that the specification requires "adding
                                                   '''adding phase shifts to modulated carrier

signals." (Id. at 43). I find that Plaintiff's
                                   Plaintiffs position is supported by the patent. For example, the

specification describes the process that takes place in the transmitter as "adjusting the phase

characteristic of each carrier signal and combining these carrier signals to produce the transmission

signal." ('158 patent,S: 16-19). The specification also provides descriptions of several different
               patent, 5:16-19).

phase shifting examples, and then states, "The DMT transmitter 22 then combines (step 130) the

                                                     (Id. at 8:17-19). Defendants' attempt to parse
carrier signals to form the transmission signal 38." (ld.

phrases such as "method that scrambles the phase characteristics of the modulated carrier signals

in a transmission signal" to require that the signals be modulated before phase scrambling is

unavailing. (D.1.
            (D.I. 144 at 48-49). This phrase, taken from the Summary ofthe
                                                                     of the Invention, is nothing

more than a high-level description of the transmission signal as being composed of modulated

carrier signals whose phases have been scrambled. Nothing in the claims or the descriptions of

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example embodiments supports Defendants' argument that the phase scrambling occurs after

modulation. I will adopt Plaintiff's construction.

4.      "transceiver"

        a.       Plaintiff's proposed construction: "a communications device capable of
                 transmitting and receiving data over the same physical medium wherein the
                 transmitting and receiving functions are implemented using at least some common
                 circuitry"

        b.       Defendants' proposed construction: "communications device with a transmitter
                 and receiver"

        c.       Court's construction: "communications device capable of transmitting and
                 receiving data wherein the transmitter portion and receiver portion share at least
                 some common circuitry"

        This term appears in all six of the asserted patents and the parties agree that the term should

                                          (D.l. 144 at 22). The parties also agree that a transceiver
have the same construction in each claim. (D.I.

is a device that can both transmit and receive data. The parties dispute, however, whether the

transmission and reception must occur over the same physical medium, e.g., over cable or air, and

whether the transmitter and receiver components of the transceiver must share common circuitry.

As to the first point of dispute, there is no support in either the intrinsic or extrinsic record for the

limitation that the transmission and reception of data occur over the same physical medium.

Plaintiff cites only to an expert declaration to support its contention that a person of ordinary skill

in the art would understand that the transmitting and receiving must occur over the same physical

medium.       (D.I. 144 at 25).
              (D.!.               However, nothing in the claims or specification supports this

construction and Plaintiff has not pointed to any dictionary definitions or evidence other than the

expert declaration to support its construction. I decline to import this limitation into the claim

term.




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        As to the common circuitry limitation, the only information to be gleaned from the claim

language itself is that the transceiver contemplated by these patents must be able to both transmit

and receive data. (See, e.g., '158 patent, claim 1). The specifications do not provide an explicit

definition of transceiver. In the phase scrambling patents, the specification and figures indicate

that the transceiver as described is a singular device housing both a transmitter portion and a

receiver portion. (Id. at 33:31-33).
                            :31-33). These patents do not provide any specific indication that any

circuitry is shared between the two. In the low power mode patents, however, the specification

and figure do indicate the presence of shared components. For example, the clock, controller, and

frame counter are shared by the transmitter and receiver portions of the transceiver. ('
                                                                                      (,404
                                                                                         404 patent

at Fig. 1).
        I).

        The parties provide five different dictionary definitions for transceiver, three of which

include a limitation that the transmitter and receiver share common circuitry. (D.I. 146 at A423,

A433, A444, A891, A938-39). Evaluating the intrinsic evidence in light of these dictionary

definitions suggests that the transmitter and receiver portions do share common circuitry or

components. Therefore, I will construe transceiver to mean "a communications device capable of

transmitting and receiving data wherein the transmitter portion and receiver portion share at least

some common circuitry."

5.      "multicarrier"
        "multicarrier"

        a.       Plaintiff's proposed construction: "having multiple carrier signals that are
                 combined as a group by simultaneous modulation to produce a transmission
                 signal"

        b.       Defendants' proposed construction: "having multiple carrier signals that are
                 combined to produce a transmission signal"

        c.       Court's construction: "having multiple carrier signals that are combined to
                 produce a transmission signal"



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       The parties' only disagreement is whether this term should be construed to specify a

particular method by which the carrier signals are combined. Plaintiffs
                                                             Plaintiff's opposition to Defendants'

broader construction appears to stem from its disagreement with Defendants' proposed

construction of "carrier." (D.I. 158 at 30:20-31 :7). Since I have rejected Defendants' proposed

limitations on "carrier," this concern is unwarranted. As discussed above, I have concluded that

the patents disclose combination and modulation of carrier signals in the frequency domain, that

is, before a time domain signal, or wave, exists. Turning to Plaintiffs
                                                             Plaintiff's proposed limitation, I fmd
                                                                                                find

that the claim language itself does not impose any limitation on how the carrier signals are to be

combined.    Nor does the specification provide such limitations.           Therefore, I will adopt

Defendants' proposed construction.

6.     "bit scrambler"

       a.      Plaintiff's proposed construction: "a component that pseudo-randomly changes
               the value of a bit"

       b.      Defendants' proposed construction: "component that pseudo-randomly inverts the
               bits in a byte of data one bit after another"

       c.      Court's construction: "component that pseudo-randomly changes the value of a
               bit"

       The parties disagree on two points in their proposed constructions of this term: first,

whether the bit scrambler operates on a byte of data; and second, whether the bits are scrambled

in sequence, one after another. The parties' disagreement appears to center around whether a

person of ordinary skill in the art would find that a bit scrambler is different from a byte scrambler.

I do not think it is necessary to resolve this disagreement as the patent itself provides sufficient

guidance as to the meaning of "bit scrambler."

       The word "byte" does not appear in either the claims or specification of the '243 patent.

The patent refers to "scrambling, using the bit scrambler, a plurality of input bits." ('243 patent,


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      1). A plurality of input bits simply means more than one input bit. A byte of data is
claim 1).

commonly understood to consist of eight bits of data. See, e.g., OXFORD ENGLISH DICTIONARY

(2d ed. 1989), available at http://www.oed.com/oed2/00030648 (defining byte as "[a] group of

eight consecutive bits operated on as a unit in a computer"). There is no basis in the claim itself

or in the specification for requiring that the "plurality of input bits" consist of a byte, or eight bits,

of data. Nor is there any indication in the patent that the data must be presented to the scrambler

a byte at a time. Rather, as Defendants themselves point out, the data is presented a bit at a time.

Defendants cite the ADSL standards as
                                   as extrinsic evidence of what a person of ordinary skill would

understand a "bit scrambler" to be. (D.I.
                                    (D.L 144 at 52-53). The device described in the standards,

however, is simply called a "scrambler," not a "bit scrambler." (D.L
                                                                (D.I. 145 at A503). Furthermore,

the standards show that data is input to this scrambler a byte at a time, not as a serial bit stream.

(Id.). This is inconsistent with the bit scrambler described in the specification.

        As to Defendants' argument that the scrambling must be performed sequentially, the claim

language does not support such a limitation. The claim itself is indifferent to whether the

scrambling is sequential, stating that the bit scrambler scrambles "a plurality of input bits to

generate a plurality of output bits." (Id.). The specification states that the bit scrambler "receives

the input serial bit stream" and, after scrambling, passes the bits to the QAM encoder. (ld.
                                                                                        (Id. at 5:6-

9). The QAM encoder is described as "receiving an input serial data bit stream." (!d.    3:63-64).
                                                                                 (Id. at 3:63-64),

This seems to indicate that the input and output of the bit scrambler are both serial. This does not

mean, however, that the scrambling itself necessarily takes place sequentially. Therefore, the

intrinsic evidence does not support Defendants' proposed limitations and I will adopt Plaintiffs

construction.




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B.     The Low Power Mode Patents

       The '404 patent is directed to a multi carrier transmission system with low power sleep
                                        multicarrier

mode and rapid-on capability. Claim 6 is representative and reads as follows:

        1. An apparatus comprising a transceiver operable to:
                 receive, in a full power mode, a plurality of superframes, wherein the
       superframe comprises a plurality of data frames followed by a synchronization
       frame;
                 receive, in the full power mode, a synchronization signal;
                 transmit a message to enter into a low power mode;
                 store, in the low power mode, at least one parameter associated with the
       full power mode operation wherein the at least one parameter comprises at least
        one ofa fine gain parameter and a bit allocation parameter;
                 receive, in the low power mode, a synchronization signal; and
                 exit from the low power [sic] and restore the full power mode by using the
        at least one parameter and without needing to reinitialize the transceiver.

C
(,404
  404 patent, claim 6) (disputed terms italicized).
('404

       The '268 patent is also directed to a multi carrier transmission system with low power
                                             multicarrier

sleep mode and rapid-on capability. Claim 4 is representative and reads as follows:

       4. A method, in a multicarrier transceiver, comprising:
               transmitting or receiving a message to enter a low power mode;
                entering the low power mode, wherein a transmitter portion of the
       transceiver does not transmit data during the low power mode and a receiver portion
       of the transceiver receives data during the low power mode; and
               storing, during the low power mode, at least one parameter associated with
       a full power mode.

('268 patent, claim 4) (disputed terms italicized).
(,268

1.     "low power mode"

       a.      Plaintiff's proposed construction: "a state of operation in which power is
               consumed, but the amount of power consumed is less than when operating in a
               state with full data trans~ission capabilities"

       b.      Defendants' proposed construction: "state of operation in which available power
               is reduced"




                                                 12
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                                             Appx6143
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       c.       Court's construction: "state of operation in which power is consumed, but the
                amount of power consumed is less than when operating in a state with full data
                transmission capabilities"

       The primary dispute between the parties with respect to this term appears to center on

whether low power mode requires that less power be supplied to the circuitry or whether less power

is consumed by the device. The parties also disagree about whether the claimed "low power mode"

includes both the "sleep mode" and "idle state/mode" described in the specification.

       Neither sleep mode nor idle state/mode are mentioned in any of the claims. Defendants
                                                                                                         ~.
expended significant effort both in briefing and at oral argument to argue that "idle state" is not a

low power mode. I disagree. The specification states in a number of different places that the

invention could be incorporated into a computer and that it would be desirable in that situation that
                                                                                                         Ii
it could "enter a 'sleep' mode in which it consumes reduced power." ('404
                                                                    (,404 patent at 6:2-3). The

specification describes this as an "'idle' state ... similar in many ways to the sleep mode state."

        6: 19:24). Defendants argue that it is significant that the specification sometimes calls this
(Id. at 6:19:24).

                               (D.I. 158 at 21:10-22:3).
a "state" instead of a "mode." (D.!.        21 :10-22:3). I do not think so. Elsewhere in the

specification, the same idle state is referred to as an "idle mode." ('404
                                                                     (,404 patent at 8:63). It seems

to me that sleep mode and idle state/mode are both low power modes implemented in different

contexts.

       The dispute over whether low power mode is achieved through lower power consumption

or lower power supply is readily resolved by looking to the claim language. Low power mode

appears in independent claims 1, 6, 11, and 16 of the '404 patent. Although claim 1 of the '404

patent is not asserted, "we look to the words of the claims themselves, both asserted and

                                 of the patented invention." Vitronics Corp. v. Conceptronic, Inc.,
nonasserted, to define the scope ofthe

90 F.3d 1576, 1582 (Fed. Cir. 1996). Claims 1 and 11 read, in part, "[enter/entering] into the low



                                                 13
                                                   16


                                             Appx6144
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                                                                                                      t




power mode by reducing a power consumption of at least one portion of a transmitter." (,404
                                                                                      (' 404
                                                                                                      I
                                                                                                      f
                                                                                                      I
                                                                                                      I
                 & 11). Claims 6 and 16 do not include this phrase describing how low power
patent, claims 1 &

mode is achieved. "Unless the patent otherwise provides, a claim term cannot be given a different     I
meaning in the various claims of the same patent." Georgia-Pac. Corp. v. U.S. Gypsum Co., 195

F.3d 1322, 1331 (Fed. Cir. 1999). Read in the context of the specification, I find no reason why

the term should be given different meaning in claims 6 and 16 than it has in claims 1 and 11, which
                                                                                                      I
indicate that low power mode is achieved through lower consumption of power.

       Finally, the parties dispute whether low power mode includes, as Defendants argue, a state

in which the device is completely off. (D.1. 144 at 61). Defendants' argument on this point is

inconsistent with the claims and specification. While in low power mode, the transceiver must be

                                                             (,404 patent, claims 1 and 6). The
able to either transmit or receive a synchronization signal. ('404

argument that some power is consumed by the transceiver even in low power mode is supported

by the specification. (Id. at 7:44-56). For these reasons, I will adopt Plaintiffs construction.

2.                       [a/the] low power mode, at least one parameter"
       "stor[ e/ing], in [althe]

       a.       Plaintiff's proposed construction: "maintaining in memory at least one parameter
                associated with a mode of operation with full data transmission capabilities, while
                in a low power mode"

       b.       Defendants' proposed construction: "maintain[ing] in memory throughout a/the
                                                                                       althe
                low power mode, at least one parameter"

       c.       Court's construction: "maintain[ing] in memory, while in low power mode, at
                least one parameter"

       The parties first dispute whether the construction should include the limitation that the

parameter must be associated with full power mode. Defendants argue that this limitation already

appears in the claim language and including this in the claim construction would be superfluous.

(D.1. 144 at 66). Plaintiff did not reply to this argument. I agree with Defendants. The claim
(D.!.



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                                            Appx6145
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language includes this limitation already when it calls for storing "at least one parameter associated

                                     ('404 patent, claim 6). It would be redundant to include this
with the full power mode operation." (,404

in the court's construction of this term.

       The parties also disagree about whether the parameter must be maintained throughout the

duration of the low power mode. Plaintiff argues that there is no support in the claim language for

requiring a particular duration for how long the parameter is stored. (D.I. 144 at 65). Defendants

counter that it is a "fundamental requirement" of the invention that the parameter be stored for the

entire duration of the low power mode. (Id.). Reading the claim as a whole, I find it is unnecessary

to include this requirement in the construction of this term. The claim specifies that the device

will "exit from the low power mode and restore the full power mode by using the at least one

            (' 404 patent, claim 6). Therefore, the rest of the claim itself
parameter." (,404                                                            implies that the parameter
                                                                      itselfimplies

is stored at least until the device exits from low power mode. This is captured by the court's

construction of "maintain [ing] in memory, while in low power mode, at least one parameter."
             of"maintain[ing]

3.      "wherein the at least one parameter comprises at least one of a fine gain parameter and a
bit allocation parameter"

        a.     Plaintiff's proposed construction: "wherein the at least one parameter includes a
               fine gain parameter andlor
                                   and/or a bit allocation parameter"

       b.                                            ~~wherein the at least one parameter includes
               Defendants' proposed construction: "wherein
               both a fine gain parameter and a bit allocation parameter"

        c.     Court's construction: "wherein the at least one parameter includes a fine gain
               parameter and/or a bit allocation parameter"

        Plaintiff argues that its construction follows the plain language of the claim and notes that

the parameters listed in the claim are not categories but rather two parameters from a list of

parameters that may be stored. (D.!.
                               (D.I. 144 at 90-92). Defendants argue that the phrase "at least one

of' modifies both terms, requiring that both a fine gain and a bit allocation parameter must be



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                                              Appx6146
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. stored, citing Federal Circuit case law in support of their position. (Id. at 91).
                                                                                91 ). Defendants are

 correct that the Federal Circuit has previously construed this same phrase to require one of each of

     terms in the list as a matter of grammatical construction. SuperGuide Corp. v. DirecTV
 the tenns

 Enterprises, Inc., 358 F.3d 870, 886 (Fed. Cir. 2004). As a number of district courts have

 recognized, however, "SuperGuide did not erect a universal rule of construction for all uses of 'at

 least one of in all patents." Fujifilm Corp. v. Motorola Mobility LLC, 2015 WL 1265009, at *8

 (N.D. Cal. Mar. 19,2015).
                 19, 2015).

        I find that this phrase is readily construed by looking at the full context of the claim itself,

 without having to resort to grammatical arguments. The relevant portion of the claim reads

 "storing, in the low power mode, at least one parameter associated with the full power mode

 operation wherein the at least one parameter comprises at least one of a fine gain parameter and a
                                                                                                           f
                                                                                                           I

                            ('404 patent, claim 11 (emphasis added)). The phrase "at least one
 bit allocation parameter." (,404

 parameter" indicates that the patent contemplates a situation where only one parameter would be

 stored. Defendant's construction would require a minimum of two parameters to be stored and is,

 therefore, inconsistent with the plain language of the claim. For this reason, I will adopt Plaintiffs

 construction.

 4.     "fine gain parameter"

        a.       Plaintiff's proposed construction: "a parameter used to determine power level on
                 a per subcarrier basis"

        b.       Defendants' proposed construction: "Indefinite"

        c.       Court's construction: "parameter used to detennine
                                                          determine power level on a per
                 subcarrier basis"

        Defendants only argument with respect to this term is that "fine" is a word of degree and,

                                                 (D.I. 144 at 68). I disagree. The claim language does
 therefore, this term is necessarily indefinite. (D.!.



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                                              Appx6147
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not instruct that anything be measured or adjusted, as in, "make a fine adjustment to the gain," for

example. Rather, the claim instructs that a specific parameter, named the "fine gain parameter,"

is to be stored. Although the claim language itself does not provide specific guidance as to the

meaning of this term, the specification supports Plaintiffs construction, particularly when

considered in the context of the extrinsic evidence Plaintiff presents to show that a person of

                                                "fine gain" refers to the gain on a subchannel. For
ordinary skill in the art would understand that '''fme

example, the specification discusses the requirements of initialization, and in doing so

distinguishes between "setting the channel gains" and "adjusting the fine gains on the

subchannels." (,404
              ('404 patent at 3:12-14). This distinction is substantially supported by the ITU-T

G.992.1 Standards Plaintiff referenced in its briefing and presented at oral argument as evidence

of what a person of ordinary skill in the art would understand "fine gain" to mean. 2 (D.I. 144 at

70; D.L
    D.I. 190 at 121:17-122:5). Therefore, I will adopt Plaintiffs construction.

5.         "bit allocation parameter"

           a.     Plaintiff's proposed construction: "parameter used to determine a number of bits
                  to be carried by a subcarrier on a per subcarrier basis"

           b.     Defendants' proposed construction: "parameter specifying the number of bits to
                  be carried by a subchannel"

           c.     Court's construction: "parameter used to determine a number of bits to be carried
                  by a sub carrier on a per subcarrier basis"
                       subcarrier

           The parties have two disputes in construing this term. First, they disagree on whether the

parameter is used to determine the number of bits or whether it specifies the number of bits.

Second, they dispute whether the parameter provides the number of bits carried by a single

subcarrier or whether it provides the number of bits on a per subcarrier basis, i.e. whether the Bit



2
2 The relevant time period for this understanding is January 26, 1998, the priority date of both the '404 and '268
patents.

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                                                     Appx6148
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Allocation Table referenced in the specification is itself a bit allocation parameter. As to the first

dispute, limiting the term to mean "specifying" would encompass how the number of bits is

determined when a Bit Allocation Table is used, as described in the exemplary embodiment. The

word "determine" also encompasses the use of a table to perform this task. Defendants argue that

using "determine" unduly broadens the definition. I disagree. Only if I were to limit the claim to

require that the only form of a bit allocation parameter be a Bit Allocation Table would

Defendants' argument carry the day. The specification describes a method for constructing the Bit

Allocation Table. But it is a parameter and not the Table itself that is claimed. It is not difficult

to imagine other methods of determining the number of bits to be carried that do not involve a Bit

Allocation Table being the parameter that is stored. Thus, I do not limit the construction to the

exemplary embodiment.

       The second dispute is readily resolved by turning to the specification. The patent lists some

of the requisite parameters for waking from sleep mode and "Bit Allocation Tables" is included in

that list. (,404
           ('404 patent at 8:6-12). It seems to me that a full Bit Allocation Table is one example of

the bit allocation parameter referenced in the claims. Therefore, Defendants' argument that a bit

allocation parameter is nothing more than a single entry in a Bit Allocation Table must fail.

Plaintiffs position that the number of bits must be specified for each subcarrier, not just a single

subcarrier, is supported by the specification and comports with the purpose of the invention, i.e.,

allowing a transceiver to wake from sleep mode without reinitializing. Furthermore, the claim

does not limit the form of the parameter to only a Bit Allocation Table. Therefore, I will adopt

Plaintiff's construction.

6.     "synchronization frame"

        a.     Plaintiff's proposed construction: "a frame that indicates a superframe boundary"



                                                 18
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                                             Appx6149
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       b.       Defendants' proposed construction: "frame that carries no user or overhead bit-
                level data and is inserted to establish superframe boundaries"

       c.       Court's construction: "frame that indicates a superframe boundary"

       The parties agree that synchronization frames indicate or establish superframe boundaries.

The parties disagree, however, as to whether the synchronization frame must be limited to that

               ITU Document G922.2. Defendants insist that it must be so limited, pointing to the
defined in the lTV

specification, which references this lTV           (,404 patent at 5:5-12). There are two
                                     ITU Document. ('404

problems with Defendants' argument, however. First, the reference to the lTV
                                                                         ITU document is made

after the reference to data frames and is also given specifically as an example ("data frames (e.g.,

sixty-eight frames for ADSL as specified in ITU
                                            lTV Document G.992.2)"). No reference is made to

    lTV document after the synchronization frame is mentioned. Second, this is a simply an
the ITU

exemplary embodiment and I find no evidence to support limiting the claim to one exemplary

embodiment. Therefore, I will adopt Plaintiff
                                    Plaintiffss construction.

7.     "synchronization signal"

       a.       Plaintiff's proposed construction: "an indication used to establish or maintain a
                timing relationship between transceivers"

       b.       Defendants' proposed construction: "reference wave used to establish or maintain
                a timing relationship between transceivers"

       c.       Court's construction: "signal used to establish or maintain a timing relationship
                between transceivers"

       The only dispute between the parties with respect to this term is whether the signal is "an

indication" or a "reference wave." Defendant argues strenuously that the signal must be a wave,

                 of the examples of synchronization signals given in the specification are "reference
arguing that all ofthe

waves." (D.I. 144 at 81). Defendant does not explain, however, what exactly a reference wave is

in this context.   The phrase "reference wave" does not appear anywhere in the patent and



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                                             Appx6150
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Defendant has offered no definition. I will not construe this claim term to include a phrase that

adds ambiguity and uncertainty to the meaning of the term. Plaintiff's
                                                           Plaintiff
                                                           Plaintiffss proposal of "indication,"

however, is little better as the word "indication" could easily be deemed to include things that are

not "signals." It seems to me that "signal" is a well-understood term that has a plain meaning to                     I
                                                                                                                      (
those skilled in the art. I see no need to substitute a different word that would introduce ambiguity

into the meaning of the term. Therefore, II will adopt Plaintiffs proposed construction, modified

as follows: "signal used to establish or maintain a timing relationship between transceivers."

8.      "apparatus comprising a transceiver operable to"

        a.       Plaintiff's proposed construction: "See above for the construction of
                 'transceiver'; otherwise plain meaning"

        b.       Defendants' proposed construction: "The preamble is limiting33 and this is a
                                                     '"transceiver" is the CPE transceiver depicted
                 means-plus-function limitation. The "transceiver"
                 in Figure 2"

        c.       Court's construction: "plain meaning with 'transceiver' as previously construed"

        Defendants argue that this element from the preamble of several claims is limiting as a

                                                              if 6 because the word transceiver
                                                          112,6
means-plus-function claim element governed by 35 U.S.C. § 112

                                    (D.I. 144 at 85). Plaintiff responds that transceiver has a well-
does not impart definite structure. (DJ.

understood structural meaning in the art. (Id. at 86). When the word "means" does not appear in

the claim element, there is a presumption that the element is not means-plus-function. Williamson

v. Citrix Online, LLC, 792 F.3d 1339, 1349 (Fed. Cir. 2015). "[T]he
V.                                                           "[T]hepresumption
                                                                    presumption can be overcome

and § 112, para. 6 will apply if the challenger demonstrates that the claim term fails to 'recite

sufficiently definite structure' or else recites 'function without reciting sufficient structure for

performing that function."'
                function. '" Id.



3
3 Defendants argue only that the preamble provides a functional
                                                     functionallirnitation.
                                                                limitation. Therefore, I decline to address whether
the preamble is otherwise limiting.

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                                                   Appx6151
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                  that§§ 112 ii
       I conclude that       ~ 6 does not apply to this claim element. The word "means" does not


appear in the claim element, so I begin with the presumption that § 112 ii
                                                                        ~ 6 does not apply.


Defendants have not overcome this presumption. Although "apparatus" is a non-structural term,

the word "transceiver" imparts sufficient structure to the claim element. Transceiver is not a

generic term like module or device. ld.
                                    Id. at 1350. Rather, transceiver is the name of a device well

known in the field of communications and, furthermore, the claimed transceiver is sufficiently

described in the specification. (See '404 patent at 4:14-5:36). I will adopt Plaintiffs construction.

9.     "data"

       a.       Plaintifj"s proposed construction: "non-control information"
                Plaintiff's

       b.       Defendants' proposed construction: "digital information"

       c.       Court's construction: "content"

       Plaintiff initially argued that this term should be construed to have its plain meaning. (D.1.
                                                                                                (D.I.

144 at 87-88). Plaintiff proposed "non-control information" in response to Defendants' initial

                                      (Id. at 89). At oral argument, Defendants proposed to
proposed construction, "information." (ld.

narrow their construction to "digital information." (D.I.
                                                    (D.1. 190 at 144:21). I am not persuaded that

any of these constructions provide any clarity as to the meaning of the term "data." At oral

argument, I proposed construing the term to mean "content." (ld.
                                                            (Id. at 151:21).
                                                                    151 :21). Plaintiff agreed to

this proposed construction. (ld.
                            (Id. at 155:9-156:1).

       Defendants, however, argue that construing data to mean "content" would impermissibly

narrow the meaning of "data" in some of the claims because "user data" is used in other claims.

(Id. at 156:4-12). According to Defendants, user data is content. This position is contradicted by
(Jd.

the patent specification, however. The specification provides that during sleep mode, "user data

provided by the CO transceiver will be benign idle data such as ATM IdleCells or HDLC Flag



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                                             Appx6152
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octets." ('268 patent at 7:34-36). Although this infonnation
                                                 information is defined to be user data by the patent

itself, it is not content. Therefore, I will construe data to mean content.

       c.
       C.      The Diagnostic Mode Patents

            430 patent is directed to multicarrier modulation messaging for frequency domain
       The''430
       The

                            information. Claim 1 is representative and reads as follows:
received idle channel noise infonnation.

       1. A transceiver capable of transmitting test information over a communication
       channel using multicarrier modulation comprising:
              a transmitter portion capable of transmitting a message, wherein the
       message comprises one or more data variables that represent the test information,
       wherein bits in the message are modulated onto DMT symbols using Quadrature
       Amplitude Modulation (QAM) with more than 1 bit per subchannel and wherein at
       least one data variable of the one or more data variables comprises an array
                    frequency domain received idle channel noise information.
       representingfrequency
       representing

('430 patent, claim 1) (disputed terms
                                 tenns italicized).

             412 patent is directed to multi
       The ''412                             carrier modulation messaging for power level per
                                       multicarrier

           information. Claim 1 is representative and reads as follows:
subchannel infonnation.

        1. A transceiver capable of transmitting test information over a communication
        channel using multicarrier modulation comprising:
               a transmitter portion capable of transmitting a message, wherein the
        message comprises one or more data variables that represent the test information,
      . wherein bits in the message are modulated onto DMT symbols using Quadrature
        Amplitude Modulation (QAM) with more than 1 bit per subchannel and wherein at
        least one data variable of the one or more data variables comprises
                                                                    compnses an array
        representing power level per subchannel information.

('412 patent, claim 1) (disputed terms
                                 tenns italicized).

1.      "[transmitting/receiving]
        "[                              information over a communication channel"
           transmitting/receiving] test infonnation

        a.     Plaintiff's proposed construction: "plain meaning"

        b.     Defendants' proposed construction: "transmitting/receiving test infonnation
                                                                               information
               to/from a central office modem"

        c.      Court's construction: "plain meaning"




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                                                      25


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                                                                                                         I!
       Defendants seek to import a limitation into this claim requiring that the test information
                                                                                      infonnation be

transmitted either to or from a central office modem. This limitation is unsupported by either the

claims or the specification.   The specification does indicate that the receiving transceiver is

"typically located" at the central office, but typically does not mean always. C
                                                                               (' 412 patent at 1:53).

Defendants argue that the patent is directed to the solution of a particular problem: diagnosing

problems without the need to dispatch a technician to the customer's home. (D.l.
                                                                           (D.I. 144 at 97). This

may be a problem identified in the specification that is solved by this patent, but the solution to

the problem is not so limited. I find no basis for importing this limitation into the claim. I agree

                         term should be given its plain meaning. Defendants are prohibited from
with Plaintiff that this tenn

arguing that the term is limited to communications over a channel that includes the central office

modem.

2.           information"
       "test infonnation"

       a.                                          "information relating to a measured
                Plaintiff's proposed construction: "infonnation
                characteristic of a communication channel"

       b.       Defendants' proposed construction: "infonnation
                                                   "information relating to a disturbance in the
                communication channel"

       c.                             "information relating to a characteristic of a communication
                Court's construction: "infonnation
                channel or the communications equipment operating on that channel"

                                            information must be measured and whether the
       The parties dispute whether the test infonnation

information must relate to a disturbance in the communications channel. I find that neither of these
infonnation

limitations is supported by the intrinsic evidence.

       Defendants contend that the description of the invention as a whole in the specification is

                       information must therefore be limited to infonnation
limiting and that test infonnation                              information "relate[d]
                                                                            "relate[d] to the

diagnosis and resolution of communications problems caused by a disturbance on a

communications channel."       (D.I. 144 at 102).          Defendants' argument is unavailing.    The


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                                                      26


                                             Appx6154
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specification states, "The systems and methods of this invention are directed toward reliably

exchanging diagnostic and test information between transceivers over a digital subscriber line in

                                     and/or other disturbances." ('430
the presence of voice communications andlor                      (' 430 patent at 1:44-47).

Nothing in this description provides any limitation on the definition of test information. The

reference to disturbances means only that the invention provides a method for the exchange of test

information when there is a disturbance on the line. The specification later provides an extensive,

but not exhaustive, list of what test information might include. (Id. at 2:24-43). Many ofthe
                                                                                        of the items

in this list are unrelated to disturbances. It would be inappropriate to limit the definition of test

information when nothing in the specification indicates such a limitation.

       With respect to whether the information must be measured, Plaintiff argues that a person

of ordinary skill in the art would recognize that the test information as claimed must be measured.

(D.I. 144 at 105). Defendants counter that the specification includes a list of categories of
(D.l.

information that may be included as the test information and that a number of the items on the list,    I
such as Chip Type, do not require measurement to determine.            (Id. at 104).   I agree with
                                                                                                        I
Defendants. Although some types of test information, as defined in the specification, must be

measured, other types are simply characteristics of the communications system.
                                                                                                        II
       Defendants further challenge Plaintiff's
                                    Plaintiff s construction as improperly limiting the test            I(
                                                                                                        J
information to characteristics of a communications channel. (Id.) Defendants point out that             i
information such as Chip Type and Vendor ID are characteristics of the modems, not of the

communications channel itself.
                       itself (Id.). I agree with Defendants. The test information defined in

the specification appears to more broadly encompass information related not only to the

communications channel itself, but also to the equipment used at one end of the channel.

Therefore, I will adopt the following construction for test information: "information relating to a



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                                             Appx6155
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characteristic of a communication channel or the communications equipment operating on that

channel."

3.     "array representing frequency domain received idle channel noise information"

       a.       Plaintiff's proposed construction: "ordered set of values representative of noise in
                the frequency domain measured on respective subchannels while no input signals
                are being transmitted on the subchannels"

       b.       Defendants' proposed construction: "ordered set of values representative of noise
                in the frequency domain that was received by a transceiver on a channel in the
                absence of a transmission signal"

       c.       Court's construction: "ordered set of values representative of noise in the
                frequency domain that was received by a transceiver on respective subchannels in
                the absence of a transmission signal"

       The parties have three disputes with respect to this term: whether the values must be

measured; whether the values represent noise on a subchannel
                                                  sub channel basis; and whether the idle channel

noise corresponds to "no input signals" being transmitted or simply "the absence of a transmission

signal." The first and third disputes are readily resolved. There is no indication, either in the

claims or in the specification, as to how these values are obtained. Certainly the values may be

measured, but I cannot find support in the intrinsic evidence to limit the construction to measured

values only. Furthermore, Plaintiff's
                          Plaintiffs own extrinsic evidence, and the only evidence presented with

respect to the meaning of "idle channel noise," indicates that Defendants propose the better

                                                      th
construction. See NEWTON'S TELECOM DICTIONARY 410 (15
                                                  (15th  ed. 1999) (defining idle channel

noise as "[n]oise which exists in a communications channel when no signals are present"). There

is no support for limiting idle channel noise to noise present in the absence of "input signals."

Therefore, as to these two disputes, I adopt Defendants' proposed construction.

       As to the dispute over whether the values are measured on respective subchannels, I find

Defendants' arguments unavailing. Defendants are correct to point out that the applicants used the



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phrase "per subchannel" explicitly in the
                                      the''412
                                           412 patent. ('412 patent, claim 1). However, the "array"

terms of the two patents are differently worded. Thus, the absence of this phrase in the claims of

the
the''430
     430 patent does not necessarily render the phrase superfluous in the
                                                                      the''412
                                                                           412 patent. Furthermore,

the fact that what is claimed is an "array" implies that more than one value is included. Therefore,

I decline to adopt either party's proposed construction and instead will construe this term to mean

"ordered set of values representative of noise in the frequency domain that was received by a

transceiver on respective subchannels in the absence of a transmission signal."

4.                                         subchannel
       "array representing power level per sub channel information"

       a.       Plaintiff's proposed construction: "ordered set of values representative of power
                levels measured on respective subchannels"

       b.       Defendants' proposed construction: "ordered set of values representative of
                power levels of respective subchannels"

       c.       Court's construction: "ordered set of values representative of power levels of
                respective subchannels"

       The parties' only dispute with respect to this term is whether the values must be measured.

Plaintiff argues that without specifying that the values are measured, the term could be understood

to mean that the values represent power level settings. (D.I.
                                                        (D.1. 144 at 115). Plaintiff further argues

that the very definition of test information requires that the values be measured. (Id. at 116). I

have already rejected the argument that all test information must be measured, however. Plaintiff

cites to dependent claims specifying that the power levels are "based on a Reverb signal" and,

therefore, must be measured. (Id.). Plaintiff further points to the specification, which provides

that the power levels are "detected during the ADSL Reverb signal." (Id.).
                                                                    (ld.). Defendants counter

that detecting is not the same as measuring and that nothing in the claims or specification require

that "the only way to obtain power level information is to measure it." (Id. at 117). Defendants




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further argue that there is a presumption that a limitation present in a dependent claim is not present

in the independent claim. (/d.).
                          (Id.).

       As an initial matter, I reject Defendants' argument that detect and measure have different

meanings in this context. I do, however, agree with Defendants argument that the limitation in the

                                                                   Plaintifrs citations to the
dependent claim should not be imported into the independent claim. Plaintiffs

specification describe a preferred embodiment which, it seems to me, directly corresponds with

the dependent claims. While I do not see any reason these power levels could not be measured, or

that they must be obtained in any particular way, I also do not see any support for requiring that

they be measured. Therefore, I will adopt Defendants' proposed construction.

5.     "Reverb signal"

       a.        Plaintiff's proposed construction: "a signal generated by modulating carriers in a
                 multicarrier system with a known pseudo-random sequence to generate a
                 wideband modulated signal"

       b.        Defendants' proposed construction: "any 'REVERB' signal defined in the ITU
                                                                                        lTD or
                 ANSI ADSL standards in existence as of January 8, 2001"

        c.       Court's construction: "signal generated by modulating carriers in a multi carrier
                 system with a known pseudo-random sequence to generate a wideband modulated
                 signal"

        The primary dispute between the parties with respect to this construction is whether, as

Defendants argue, the Reverb signal is limited to that defined in the referenced standards.

Defendants find support for this limitation both in the fact that the term is capitalized, which

Defendants take to indicate a reference to the REVERB 1 signal from the standards, as well as from

the reference to the standards in the specification. (D.L
                                                     (D.I. 144 at 112-13). I find Defendants'

argument unconvincing. Although the term "Reverb" is capitalized in the claims, it is not spelled

                                                           "1" at the end. Everywhere the specific
out in all capital letters, nor does it include the number "l"

standard is mentioned in the specification, it is given as "REVERBl."
                                                           "REVERBI." ('412 patent at 3:57-4:3).


                                                  27
                                                    30


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                                                                                                      I
If the applicant had meant to claim the specific REVERB 1 signal from the relevant standards, it
                                                                                                      II
seems likely he would have named that specific signal in the claim. The specification refers to the

REVERB 1 signal from the standards when describing an exemplary embodiment and there is no

evidence in the specification of any disclaimer of other ways of generating a Reverb signal.

       Plaintiffs proposed construction, on the other hand, is drawn directly from the

specification. (Id. at 3:62-64). The applicant chose to define how the Reverb signal was to be

generated. Having found no compelling reason to impose additional limitations on the meaning

of this term, I will adopt Plaintiff
                           Plaintiffss construction.

IV.    CONCLUSION

       Within five days the parties shall submit a proposed order consistent with this

Memorandum Opinion suitable for submission to the jury.




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       DESIGN IDEAS

ADSL Line Driver/Receiver
Design Guide, Part 1                                                                                                                           by Tim Regan
Introduction
Consumer desire for faster Internet             greatly improving the timeliness of                                 phone line. This allows the modem to
access is driving the demand for very           conventional information access.                                    be connected at all times and not
high data rate modems. A digital sub-              One very important feature of DSL                                interfere with the use of the same line
scriber line (DSL) implementation               technology is that the connection is                                for normal incoming and outgoing
speeds data to and from remote serv-            handled through a normal telephone                                  phone calls or faxes.
ers with data rates of 512Kbps to               line; therefore, no special high speed                                 The real “magic” of DSL technology
8Mbps, much faster than current                 cables or fiber optic links are required                            stems from the application of digital
56Kbps modem alternatives. This                 and every home and office is most                                   signal processing (DSP) algorithms
speed of data communication is pro-             likely DSL ready. Another feature is                                and data coding schemes. The imple-
viding the Internet with the capability         that the data interface can operate                                 mentations have built-in intelligence
to transfer information in new for-             simultaneously with normal voice                                    to accommodate the wide variations
mats such as full-motion video, while           communication over the same tele-                                   of data transmission signal conditions

                                                                      15V


                                                                       2, 19 10
                                                           9
                                                                  +          SHDN
                                                                                                        RBT 12.4Ω
                                                                                3
                                                                  1/2 LT1795
                                                           8
                                                                  –

                                                                                                                           1:2
                                                                                                                     6,7         4
                                                                      RF 1k
                                                         RG                                                                      MIDCOM           100Ω
                                                         2k                                                                      50215            PHONE
                                                                      RF 1k                                                                       LINE
                                                                                                                    9,10         2



                                                           13     –
                                                                                       18               RBT 12.4Ω
                                                                  1/2 LT1795
                                  Tx FILTER               12      +                    11
                                                                                       SHDNREF
             5V OR 3.3V                                                                 RADJ
                                                               4–7,                     64.9k
                                                              14–17
                                                                  –15V
                                                                                                                                     POSITIVE SUPPLY
                AFE                                                                                                         15V
                                                                            15V
                                                                                                                                              +
                                                                                                                            0.1µF                  10µF
                                                                            8          3
                                                                                   +                                                                   +
                                                           1                                                                                               10µF
                                                                      1/2 LT1361
                                    Rx FILTER                                           2        2R 2k                                        +
                                                                                   –                                         0.1µF                 10µF

                                                                                                                           –15V
                                                                                                 R 1k
                                                                                                                                  NEGATIVE SUPPLY
                                                                      RFRX 3k

                                                                      RFRX 3k                    2R 2k



                                                                                   –    6        R 1k

                                                              7
                                                                      1/2 LT1361
                                                                                   +    5

                                                                            4


                                                                            –15V


                                                  Figure 1. Central-office ADSL transceiver


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                                                                                1                         TQ Delta Exhibit 2009
                                                                                                          Cisco Systems, Inc. v. TQ Delta LLC
                                                                                                          IPR2016-01020
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                                                                                                              DESIGN IDEAS
                                                                      SYMBOL RATE
                                                                      (SYMBOLS/s)                             CODE            LEVELS
                                                                                                                                            VECTOR
                                                                                                              I   Q    I (2MSB) Q (2LSB)     MAG   ANGLE (°)
                                             IN-PHASE     AMPLITUDE                                          00   00     –3            –3    4.2      225
                                               DATA       CONVERTER
                                                fB/2                                                         00   01     –3            –1    3.2      198
                                                                                                             00   10     –3            1     3.2      162
                INCOMMING                                              TONE                         QAM      00   11     –3            3     4.2      135
                       DATA
                 BIT RATE fB
                                      BIT-RATE
                                      DIVIDER
                                                                 (CARRIRER)
                                                                      INPUT
                                                                                 PHASE
                                                                                SPLITTER     Σ      OUTPUT
                                                                                                    SIGNAL
                                                                                                             01   00     –1            –3    3.2      252
                    (BITS/s)                                                                                 01   01     –1            –1     1.4     225
                                                                                                             01   10     –1            1      1.4     135
                Q 90°                   QUADRATURE        AMPLITUDE
                                                                                                             01   11     –1            3      3.2     108
                                    (90° PHASE-SHIFTED)   CONVERTER
               11                         DATA fB/2                                                          10   00      1            –3     3.2     288
                                                                                                             10   01      1            –1     1.4     315
                                                                      SYMBOL RATE
               10                                                                                            10   10      1            1      1.4     45
                                                                      (SYMBOLS/s)
                        45°           I                                                                      10   11      1            3      3.2     72
  180°
                                      0°, 360°                                                               11   00      3            –3     4.2     315
         00   01        10     11
                01
                                                                                                             11   01      3            –1     3.2     342
                                                                                                             11   10      3            1      3.2     18
               00                                                                                            11   11      3            3      4.2     45
                 270°



                                                            Figure 2. Quadrature amplitude modulation

encountered with each connection                          nology’s broad line of high speed power           This first installment will provide
through the telephone switching net-                      amplifiers for the driver and high             an overview of the requirements of
work. Sophisticated ASICs have been                       speed, low noise dual amplifiers for           ADSL and how it is done, as well as a
developed to provide small modems                         the receiver. Using either current feed-       discussion of the circuit topology and
for PCs and handheld devices and the                      back or voltage feedback topologies,           the requirements for the components
ability to compact many DSL lines on                      the family of drivers consists of              used for implementation.
a single PCB card for telephone cen-                      amplifiers with bandwidths from
tral-office deployment.                                   35MHz to 75MHz, slew rates in excess           The Requirements for ADSL
   However, as is the case with almost                    of 200V/µs with output current                 The full specifications for ADSL are
any system, DSL still requires funda-                     capability from 125mA to over 1 amp.           contained in two ITU (International
mental operational amplifier functions                    The receiver family combines similar           Telecommunications Union) docu-
to put the signal on to the phone line                    high speed performance with low                ments called G.992.1, for systems
and to pick off the small signals                         noise, less than 10nV/√Hz, and low             often referred to as Full-Rate ADSL or
received at the other end. Although                       quiescent operating current, less than         G.dmt, and G.992.2, a lower data rate
many system designers are compe-                          10mA. The devices shown in Figure 1            approach often called G.Lite. Both
tent and comfortable with DSP and                         are the LT1795 500mA output cur-               systems use a technique called
all things digital, they often find their                 rent, 50MHz bandwidth dual op amp              discrete multitone, or DMT, for trans-
understanding of analog issues to be                      and the LT1361 50MHz dual ampli-               mitting data. With DMT, a frequency
a bit rusty when it comes to imple-                       fier with input noise voltage of               band up to 1.2MHz is split up into
menting the physical connection to                        9nV/√Hz and total supply current of            256 separate tones (also call sub-
and from the telephone line. This                         only 10mA.                                     carriers) each spaced 4.3125kHz
series of articles will provide an over-                     Although there are several varia-           apart. With each tone carrying sepa-
view of the requirements placed on                        tions of DSL technology (SDSL, HDSL,           rate data, the technique operates as if
the amplifiers and provide guidelines                     HDSL2, VDSL and ADSL, to name a                256 separate modems were running
to component selection and the impli-                     few) the requirements placed on the            in parallel. To further increase the
cations on distortion performance and                     amplifiers for these different stan-           data transmission rate, each indi-
power consumption and dissipation,                        dards are very similar. The major              vidual tone is quadrature amplitude
the most important system issues                          difference between the approaches,             modulated (QAM). As shown in Fig-
related to the analog components.                         as they affect the line driver, is the         ure 2, the data to be transmitted is
   Figure 1 shows a complete central                      amount of power actually put on to             used to create a unique amplitude
office DSL line driver/receiver. This is                  the phone line by the line-driver              and phase-shift characteristic for each
the basic circuit topology that pro-                      amplifier. For simplicity, these articles      carrier tone, through the combina-
vides differential transmit signal drive                  will focus on the most recently                tion of I and Q data, called a symbol.
to the line and detection of the differ-                  approved standard, ADSL (asymmet-              The symbols represented by each tone
ential received signal. The full                          ric DSL), but the concepts discussed           are updated at a 4kHz rate or 4000
requirements of DSL are easily met by                     apply equally to any of the other              symbols per second. Full Rate ADSL
using devices from Linear Tech-                           standards.                                     uses up to 15 bits of data to create

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       DESIGN IDEAS
                                                                                                              route to and from the central office.
                                                                                                              The total power required can be
                           –37dBm/Hz                                                                          determined from the following
                                                                  –40dBm/Hz                                   equation:
                                                                                                              LINE POWER (dBm) = PSD (dBm/Hz)
        POTS               UPSTREAM                          DOWNSTREAM
                                                                                                              + 10 • Log(FMAX – FMIN)
                                                                                                                 The downstream power require-
                                                                                                              ments are much higher than the
                                                                                                              upstream requirements because of
                        26kHz          130kHz   134kHz                 552kHz            1.104MHz             the wider bandwidth used for the
                                BOTH                     G.LITE                                               transmission. For this reason, Full
                                                                    FULL RATE                                 Rate ADSL requires more line power
                                                                                                              than G.Lite for downstream trans-
                            Figure 3. DMT channel allocation                                                  missions. Upstream power is the same
                                                                                                              for both Full Rate and G.Lite
each symbol. This results in a theo-
                                                                                          Table 1. ADSL requirements
retical maximum of 60Kb/s for each
tone. If all 256 tones are used in                                                                                                      Full Rate ADSL
parallel, the total theoretical data rate                                                       Full Rate ADSL         ADSL G.Lite         or G.Lite
can be as fast as 15.36Mb/s. For                                  Parameter                      Downstream            Downstream         Upstream
G.Lite, only 8 bits are used per sym-                                         Channels Used           31 to 256         31 to 128           6 to 30
bol with only half of the carrier tones                                   Frequency Band
used for a theoretical maximum data                                                                 133.7 to 1104      133.7 to 552      25.8 to 129.4
                                                                               (kHz)
rate of 4.096Mb/s.
                                                                  Bandwidth (kHz)                      970.3               418.3             103.5
   In an actual DSL application, the                Characteristics
tones are allocated for use depending                             Power Spectral
on the direction of communication,                                  Density, PSD                        –40                 –40               –37
as shown in Figure 3. Most of the                                     (dBm/Hz)
tones are used for communication                                     Line Power
                                                                                                         20                16.3                13
from the central office (CO) to an end                                  (dBm)
user’s PC modem (often referred to as                                 RMS Line
                                                                                                        100                 43                 20
the CPE or customer premises                                        Power (mW)
equipment). This direction of com-                                Line Impedance
                                                                                                        100                 100               100
munication is called “downstream.”                                        (Ω)
The direction of communication from                                   RMS Line
                                                                                                         3.1                 2                1.4
a PC modem to the central office (and,                               Voltage (V)
ultimately, to an Internet server) is                                 RMS Line
                                                                                                         31                 21                 15
called “upstream.” The use of more                                 Current (mA)
tones for the downstream direction                     Electrical Peak-to-Average
                                                                                                         5.3                5.3               5.3
makes sense from an Internet-access                  Requirements    Ratio, PAR
point of view, because most users                                     Peak Line
download more information than they                                                                     16.5                11                7.6
                                                                     Voltage (V)
upload. Most upstream communica-                                   Peak-to-Peak
tion with a server is simply to request                                                                  33                 22                15.2
                                                                  Line Voltage (V)
information to be sent quickly down-                                  Peak Line
stream. This difference in data rates                                                                   170                 110                76
                                                                   Current (mA)
up- and downstream is the reason                                      Peak Line
ADSL is called asymmetric DSL.                                                                          2725               1175               580
                                                                    Power (mW)
   Also indicated in Figure 3 is the                                                                                                       15 (Full)
power spectral density (PSD) of all of                                          Bits/Symbol              15                  8
                                                                                                                                           8 (G.Lite)
the tones used. This determines the
                                                                               Bits/Channel                                                60 (Full)
amount of signal power that needs to                Theoretical Data                                     60                 32
                                                                                 (KBits/s)                                                32 (G.Lite)
be put on to the phone line. The power                  Rates
                                                                              Max Data Rate
levels are restricted to minimize cross-                                       for Channels           13.5Mb/s           3.1Mb/s
                                                                                                                                        1.4Mb/s (Full)
talk and interference into other phone                                                                                                 768Kb/s (G.Lite)
                                                                                   Used
lines contained in wire bundles en

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                                                                                3                               Linear Technology Magazine • February 2000

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                                                                                                     DESIGN IDEAS
implementations. As will be seen, the            Although the data rates shown in               which channels are best suited for
line power requirement is the most           Table 1 are impressively fast, they                use. The DSP algorithms will auto-
significant factor in designing a line       are, indeed, theoretical. In an actual             matically pack the most data into the
driver for a particular application.         connection over the phone line, all                best transmission channels to maxi-
   Table 1 is a summary of the char-         manner of interference sources will                mize the data rate for a particular
acteristics, electrical requirements         alter the frequency response over the              connection. Figure 4 illustrates a typi-
and maximum data rates for ADSL              1.2MHz band. These interference                    cal line spectrum during a training-up
modems.                                      sources can contaminate or attenu-                 interval in a G.Lite example, as mea-
   The following are important items         ate many of the carrier tones to render            sured at the central office end.
to note:                                     them completely unusable, or useful
   The phone line characteristic             but with less than the maximum pos-                A Typical ADSL Line Driver/
impedance for ADSL is 100Ω. This is          sible number of data bits encoded.                 Receiver Circuit
used to determine the voltage and            Additionally, higher frequency tones               Referring to Figure 1, the compo-
current required to provide the proper       are attenuated more than the lower                 nents shown will implement a Full
line-power level.                            ones, particularly over longer lengths             Rate ADSL central office (downstream)
   The term PAR stands for peak-to-          of phone line used to make the                     port. A discussion of the circuit topol-
average ratio. This term is similar to       connection.                                        ogy and aspects important for
the more common term of crest fac-               Another issue that can render par-             component selection follow.
tor. This determines the peak value of       ticular tones unusable or create
the voltage put on the line over time        transmission errors is distortion from             Transformer Coupling
with respect to the RMS voltage level:       the amplifier driving the line. Distor-            A transformer is used to connect the
                                             tion products, whether harmonic,                   transceiver to the phone line, mainly
VPEAK = PAR • VRMS
                                             intermodulation or from signal clip-               to provide isolation from the line. The
   The DMT signal placed on the line         ping, from any of the carrier tones,               turns ratio of the transformer can be
looks basically like white noise,            create signal energy in the frequency              used to provide gain to the transmit-
because many different frequencies           spaces used by other tones. This                   ted signal. This turns ratio has a
of rapidly changing amplitude and            energy also contaminates the data                  major effect on the power supply volt-
phase are combined simultaneously.           content of the tones and can result in             ages for the line-driver amplifiers. By
The changes of each tone are consid-         fewer tones being used for data trans-             stepping up the signal from the driver
ered random as they result from an           mission. If many tones are unusable                to the line via the transformer, the
arbitrary sequence of data bits com-         or their data handling capability is               amount of voltage swing needed by
prising the transmitted information.         reduced, the actual data rate for any              the amplifiers is reduced. As an ideal
Over time, the signals can align and         given connection can be significantly              transformer has equal power in the
stack up to create a large peak signal.      less than the theoretical maximum.                 primary and secondary, while the
If this large peak is not processed              One of the best features of a DSL              voltage is stepped up, the current is
cleanly (for example, if the line-driver     modem is the intelligence built in to              stepped down. The consequences of
amplifier clips) data errors can occur,      obtain the fastest data rate for any set           using a step-up transformer are ben-
which must be detected and resent.           of line conditions. When a connection              eficial in that lower, more conventional
Transmission errors, particularly over       between a modem and the telephone                  supply voltages can be used, but the
a noisy environment such as phone            central office is initiated, the first             amplifiers must have higher current
lines, are inevitable. These errors are      action to occur is called “training-               driving capability.
identified by a term called the bit-         up.” During this interval, both ends                  The limit on the turns ratio is
error rate (BER); an acceptable level        transmit maximum power in each                     primarily a function of the sensitivity
to maintain fast and accurate data           channel in an effort to determine                  of the receive circuitry. Step-up
transmission is one error per every                                                             transformers will, unfortunately, step-
107 symbols. The PAR is determined             –20dBm
                                                                                                down the signal received from the
by the probability of the random line                                                           phone line. Further attenuation of
signal reaching a certain peak voltage                                                          the received signal by the transformer
during the time interval required for                                                           in addition to the inherent transmis-
107 symbols. For the DMT signal, this
                                                10dBm/DIV




                                                                                                sion line attenuation can cause the
peak value is 5.3 times the RMS sig-                                                            receiver to stop functioning. If this
nal level. This factor is very important                                                        occurs, the modem will disconnect
in determining both the minimum                                                                 from the line.
supply voltage required to prevent                                                                 A transformer should be selected
clipping of the signal and also the                                                             for a flat, distortion-free frequency
                                              –120dBm
peak output current capability of the                0Hz              56kHz/DIV        560kHz   response from 20kHz to 2MHz to cover
line driver.                                         Figure 4. G.Lite training-up spectrum      the full frequency spectrum for an

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               DESIGN IDEAS
                                                                                                              11V
                              22V                                                                                      VO+
                     R2                                                                                               22VP-P
                                     44VP-P                                                +E
     +
                R1                                                                              IN        +
         EIN              +                   RBT
                                                                                                                                RBT       11VP-P
                                                         1:1                                                   A1
                               A1
                R3                                                                                        –
     –
     EIN                  –                                           ZLINE
                                                22VP-P
                                                                      22VP-P
                                                                                                              –11V                        1:1
                              –22V
                                                                                                               RF
                               R4                                                                                                                  ZLINE
                                                                                                     RG               VO DIFF    22VP-P            22VP-P
  Figure 5a. A single-ended driver requires a high supply voltage to produce                                   RF
  the desired peak-to-peak swing of the DMT signal on the phone line.                                         11V

                                                                                                          –
ADSL transmission. Minimal inser-                    and the transformer turns                                               RBT
tion loss in the transformer over the                ratio. The turns ratio, n, is                          A2
                                                                                                         +
same frequency range is also desir-                  defined by the number of –EIN
able. Insertion loss, usually specified              turns of the winding con-                                         V O_
                                                                                                                     22VP-P
in dBm, is power lost in the trans-                  nected to the phone line                              –11V

former. The driver amplifier must                    (the secondary) divided by               Figure 5b. A differential driver achieves the same swing
                                                                                              with half the supply voltage of the single-ended driver.
provide this additional power in order               the number of turns of the
to maintain the required signal power                driver side winding (the primary). To proper value, one-half of the power
level on the phone line.                             make the modem impedance match delivered by the amplifiers is dissi-
                                                     the line impedance, the total imped- pated in these resistors. To deliver
Transformer                                          ance across the primary winding is 100mW of signal power to the phone
Termination Resistors                                d e t e r m i n e d b y t h e f o l l o w i n g line, for example, requires the driver
The two resistors (called back-termi-                relationship:                                       amplifiers to output at least 200mW
nation resistors) shown between the                                                                      of power.
                                                                     ZLINE
amplifier outputs and the primary of                 RPRIMARY =
the transformer are inserted for two                                  ni2                                Why Differential Drive?
reasons: to provide a means for                          To provide balanced drive to the Two amplifiers configured as a differ-
detecting the received signal and to                 primary of the transformer, so that ential gain stage are typically used to
make the impedance of the modem                      each power amplifier shares the work provide signal drive to the primary of
match the impedance of the phone                     load evenly, each termination resis- the transformer. There are two rea-
line. The receiver circuit is two differ-            tor is set to a value of one-half of sons for this configuration: it reduces
ence amplifiers that provide gain to                 RPRIMARY.                                           the supply voltage to the amplifiers by
the small signals that appear across                     This value of termination resis- a factor of two and also cancels any
the termination resistors. The con-                  tance on the primary is also optimal even harmonic distortion nonlinear-
nection and scaling of the input                     for receiving maximum power from ity contributed by the amplifiers.
resistors to the receiver amplifiers are             the line. The received signal on the                    With single-ended drive of the pri-
purposely set to provide a first-order               phone line, eRX, driving the secondary mary, the supply voltage for the
cancellation of the simultaneously                   through the line impedance, ZLINE amplifier must be large enough to
occurring transmit signal. This                      (nominally 100Ω) will develop signal provide the full peak-to-peak signal
technique is called “echo cancellation”              power in the primary per the follow- swing of the DMT signal placed on to
and the circuit topology is called a “2-             ing relationship:                                   the phone line. With differential drive,
wire to 4-wire hybrid” (the 2-wire                                                                       each amplifier contributes just one-
phone line interfaces with four wires,               RECEIVED PRIMARY POWER =                            half of the peak signal amplitude;
the two differential driver lines and                                     eRX 2                          therefore, the total supply voltage is
the two receive signal lines). The can-                                                                  only one half the peak-to-peak volt-
cellation of the transmitted signal from                  ZLINE2                                         age level placed on the line. This is
                                                                       + 2 • ZLINE + ni2 • RPRIMARY      shown conceptually in Figure 5. This
the received signal path is not perfect.               2
                                                     ni • RPRIMARY
Due to signal phase shifts and resis-                                                                    reduction in supply voltage allows
tor mismatching, a factor of 6dB to                  which is also at a maximum when                     the use of the standard power supply
20dB of attenuation is typical, with                                 ZLINE                               voltages available in computers for
higher frequencies being cancelled                   RPRIMARY =                                          the high speed DSL modem card.
less. The amount of transmitted sig-                                  ni2                                    A differential amplifier will ideally
nal that remains is cancelled digitally                  While the termination resistors cancel all even harmonic distortion
by DSP echo-canceling algorithms.                    serve an important purpose, they also products. This is due to the applica-
   The value of the termination resis-               create significant signal and power tion of a signal that is the difference
tors is a function of the line impedance             loss. With the resistors set to their between two signals, one signal being

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                                                                                                                              DESIGN IDEAS
                                                                                                                              –50
an inverted version of the other, to the     maximum frequency to be processed                                                –60
                                                                                                                                                  2-BIT THRESHOLD (DMT)




                                                                                           POWER SPECTRAL DENSITY (dBm/Hz)
                                                                                                                                                  –140dBm/Hz BACKGROUND NOISE
primary of the transformer. This can         by the amplifiers is also a function of                                          –70
be shown mathematically by repre-            the standard being applied; this, in                                             –80
senting the linear output signals of         turn, sets the minimum bandwidth                                                 –90
the amplifiers as a power series:            required. As a rule of thumb, the gain                                          –100
   Each output is a linear function of       bandwidth product specification of                                              –110
                                                                                                                                                                           9000'

the input signal:                            the amplifiers used should be at least                                          –120
                                             five times the required value to                                                                                         12,000'
VO = f(EIN)                                                                                                                  -130
                                             maintain linear accuracy over the                                               –140
                                                                                                                                        21,000'
                                                                                                                                                                 15,000'
which, represented as a power series,        transmitted signal spectrum. This                                                            18,000'
                                                                                                                             –150
is                                           specification provides an indication                                                   0      200      400   600   800    1000        1200
                                                                                                                                                    FREQUENCY (kHz)
VO = a1EIN + a2EIN2 + a3EIN3 + a4EIN4 +      of the distortion-free, high speed sig-
                                             nal processing capability of the                                                 Figure 6. Typical received signal power
a5EIN5 …                                                                                                                      spectral density, AWG26 loops
                                             amplifier. For example, a Full Rate
  The inputs to the differential             ADSL downstream transmitter with a           power spectral density of –140dBm/
amplifier are EIN+ and EIN–; therefore:      gain of four and a maximum frequency         Hz. This is equivalent to a noise volt-
VO(+) = a1EIN + a2EIN2 + a3EIN3 + a4EIN4     of 1.1MHz requires a gain-bandwidth          age of 31nV/√Hz. The receiver
+ a5EIN5 …                                   of 4.4MHz; therefore, amplifiers             amplifier should have a noise spec-
                                             should be chosen that have a gain-           tral density in the band between
and                                          bandwidth specification of at least          20kHz and 1MHz lower than this level.
VO(–) = –a1EIN + a2EIN2 – a3EIN3 +           22MHz. Parts with higher bandwidths          Linear Technology provides several
a4EIN4 – a5EIN5 …                            are even better for preserving excel-        fast amplifiers with noise voltage spec-
                                             lent gain and phase shift matching           tra of less than 10nV/√Hz. Lower noise
The differential output of the ampli-        over the 1.1MHz band of operation.           is required in inverse proportion to
fier stage is                                    The slew rate of the amplifiers used     the turns ratio of the transformer
VODIFF = VO(+) – VO(–)                       is not so critical, because the signal       used to address the attendant reduc-
                                             spectrum is typically band-limited by        tion in both the noise floor and the
therefore:                                   filter networks. The step response of        received signal.
VODIFF = 2a1EIN + 2a3EIN3 + 2a5EIN5 + …      these filters slows down the rise and           The amount of signal received is a
                                             fall times of the signals presented to       function of the length of phone line
which does not contain any even har-
                                             the amplifiers. A slew rate of at least      used to make the connection, as
monic products. The complete
                                             10V/µs is usually adequate. How-             shown in Figure 6. This is referred to
cancellation of even harmonics
                                             ever, very fast slew rates are essentially   as the loop length. Very long loop
depends on the gain and phase-shift
                                             free in wideband amplifier designs.          lengths can severely attenuate the
matching of the amplifiers and the
                                             Internal biasing currents charging           transmitted signal, particularly at the
signal paths over the frequency range
                                             and discharging internal compensa-           higher channel frequencies. The
of concern.
                                             tion capacitors and individual node          greater the attenuation of a channel,
                                             capacitances of the circuit determine        the fewer data bits can be transmitted
Bandwidth, Slew Rate                         the slew rate of an amplifier. To pro-       in that channel, which affects the
and Noise Requirements                       duce a high frequency amplifier,             overall communication data rate. As
of the Amplifiers                            circuit-biasing currents are increased       a rule of thumb, a received signal-to-
High speed amplifiers with band-             to minimize impedances at critical           noise ratio of 18dB allows two data
widths much wider than the                   circuit nodes and small geometry tran-       bits to be used in a channel. With
transmitted signal bandwidth should          sistor structures are used to minimize       each 3dB of additional signal above
be used to maintain flat gain and            stray capacitance. This results in very      the noise floor, an extra bit of data can
constant phase shift of the DMT sig-         fast slew rates for the amplifier as an      be used. With 45dB to 50dB signal-
nals. The amount of gain required in         inherent byproduct of a high gain-           to-noise ratio, a full 12 bits of data
the transmit power amplifiers is             bandwidth product characteristic.            can be exchanged in one channel
dependant on the signal levels pro-          Faster slew rates ensure very fast           frequency.
vided by the analog front end (AFE),         dynamic response and reduced sig-               The next installment in this series
which is a circuit block that provides       nal distortion.                              will provide the design calculations to
the interface between the line trans-            Low noise characteristics, together      determine the minimum requirements
ceiver and the DSP processor. The            with a wide gain bandwidth capabil-          for supply voltage, current drive
gain must be sufficient to put the           ity are most important for the               capability and resultant power con-
proper amount of power on the phone          amplifiers used in the receive cir-          sumption and dissipation. In addition,
line for the DSL standard being imple-       cuitry. On a typical connection, a           heat management issues will be
mented (refer to Table 1). The               phone line will have a noise floor           discussed.

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                                                                 6                                                                                                                    31

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                                           07:56:10    2 017
                                                     0 2017                      1
clear all
format compact
M
M     4;           %repetitions pe perr bit
N     256;         %max number of tones or subcarriers
Zl    6;
      6;           %number of low freq zero tone toness
Zs   4<14""M;
          *M;
          "M;     %number
                  %numbe  r of
                  %nunilier o f Shively
                                Shivel y tones
ZH   146 ;
     146;           %number of unus
                                  unu sed
                                       ed            t o nes
                                       e d high freq tones
P
P    round ( Zs/M) %number
                   %numbe r of repeating bits
K
K    3*10"7        %number of DMT symbols to simUlate
                                                  simulate.. 1e-6
                                                  simulate   le-6 is 3min, 1e-7
                                                                           le- 7 is
                                                                                 i s 30min

PAR               (1, K) ;
           zeros(1,K)
           zeros
           zeros(l,K)
PARz       zeros(l,K)
           zeros(1,K) ; %Ze ro
                            r o tones
PARs       zeros (l,K)
                   I,K) ; %Shively
                 ((1,K)
                   l,K)
PARg       zeros (l,K)
                  (1,K) ;
tic
      k=ll:K
f o r k=
for   k=I  :K
           :K
    if mod(k,10"6)
       mod(k ,10"6) ==0==O
       k
       toc
       t ic
       tic
       fflush
       ff   l ush
            lu       (st  dout
                          dout));;
                 sh (stdout
                          dout
                     (stdout
    en d
   end
   bits == sign(randn ( lI , P »;           ));
     epeat_bits = kron(bits,ones (l,M»;
   rrepeat_bits                                        ((1l ,M»;
                                                       (l,M));
                                                       (l
   X = .707*(sign(randn(l,N-ZI»
            .707*(sign(randn(1,N-Zl) ) + j*sign(randn ((1l , N-Zl »)
            .707*(sign(randn(1,N-Zl»                                                         ))) ; %random 4QAM symbols
                                                                                             »);
   X(64-ZI) == 1; %model constant pilot
   X(64-Zl)
   X(64-Z1)
   Xz == X;    x;
               X
   Xz(end-Zs
   Xz(end               ZH+l
                 - Zs - ZH+
                        ZH+1 1l : end)=O;
                                  end)=O
                                  end) ==00;;
                                        =O;
   Xs == Xz;   Xz ;
   Xs (e nd-ZZs-Z
   Xs(end-Zs-ZH+l
   Xs(end-Zs-ZH+1
   Xs(end-          s-Z H+H+l1 : end-ZH)=repeat_bits ;
   Y == [zeros(l,ZI),
            [zer os(l ,Zl), X, 0,
            [zeros(l,Zl),
            [zeros(1,Zl),                   0 , fliplr(conj
                                                  fliplr(co n j (X »,  )), zeros (1  ( I , ZI
                                                                                     (l    Zl - 1lI ) ] ;i
   yz =  =     [zeros(l,ZI)
               [ze ros (l,Zl) , xz
               [zeros(1,Zl)
               [zeros(l,Zl)             Xz , 0 , fliplr       (conj((Xz)
                                                              (conj
                                                    flip lr (conj(X    Xz»,
                                                                         z»,
                                                                      (Xz»,  ) , zeros (l(1,
                                                                                         (l,   Zl-1)];
                                                                                               Zl-l)]i
                                                                                         ( l , ZI-l)]i
                                                                                               Zl-l
                                                                                               Zl-l)];   )];
   Ys = [zeros(l,Zl)
               [zeros (1, Zl) , Xs , 0,
               [zeros(l,ZI)                     0 , fliplr (conj
                                                              (conj(X      » , zeros
                                                                      (Xss »,
                                                                           )),   zeros((1,
                                                                                 zeros(l (l,   Zl-I ) ]i
                                                                                           l,, ZI-l
                                                                                               Zl-l        ];
   y = H   iifft
             f ff t (Y);
                     (Y) ;
   yz =  = ifft (yz)   (Yz) ;i
   ys == Hft    f f t (Ys) ;
              iifft
   Ave           (y*y
   Av e == (y*y')/length' )/length
                        ')/lengt
                 (y* y ')/le     ngth h (y);
                                         (y ) ;
   P eak =
   Peak           max(y
              = max(y.*y
                  max(    y..*y);
                          y.*y);  );
                              *y );
   Peakz == max(yz.*yz);
   Peaks =      = max(ys.*ys);
                    max (ys.*ys);
   PAR(k) = 10*logI0(Peak);
                      10*log10(Peak);                %PAR for 4QAM IFFT output
   PARz (k) (k )        10*loglO(Peakz);
                        10*log10(Peakz);
                        lO*10g10(Peakz); %PAR for 4QAM IFFT
                        10*logI0(Peakz);                                    IFF! output with zero tones
   PARs (k)             10*log10(Peaks);
                        10*10g10(Peaks);
                        1 0*log10(Peaks); %PAR for 4QAM IFFT                       out put with Shively tones
                                                                            IFF! output
   PARg (k)             10*log10(max(randn(1,2
                        10*10g10 (max (randn (1, 2 *N) ."2)
                        10*10g10(max(randn(1,2
                        10*log10(max(randn(l,2
                        10*log10(max(randn(I,2                   ."" 2»» ) ; %PAR of a Gaussian symbol with
                                                                 .."2
                                                                   "2»                                                wi th 2*N points
end
PAR           real (PAR + 10*log10(2*N»   0g10(2*N» ; %normalize to correct for Matlab
                                   10*10g10(2*N»
                                   10* 1l oglO(2*N))                                                        Matlab IFFT
                                                                                                                   IFF! power lo  ss of 2N
                                                                                                                               l oss
PARz         real (PARz + 10*log10(2*N»
                                     10*10g10(2*N»
                                     10* 10g10(2
                                     10*loglO(2*N)
                                          log10 (2*N»*N» );;
PARs         real (PARs + 10*log10(2*N»;
             real(PARs               10*log10(2*N) ) ;
PARg         real (PARg + 10*log10                   N-ZI)/N»;
                                     10*loglO « N-Zl)/N)
                                                     N-Zl)/N»;   ) ; %normalize Guassian power to N-Zl               N-ZI tones out of N
Axis          6:0.4:20;
              6:0
              6 : 0 .4:20;
                    . 4:20 ;
Np      hisi s t (PAR,Axis) ;
           ist
        hhist
Ng      hist
        h ist (PARg,
                   (PARg , Axis) ;
        hist(PARg,Axis)
Nz      hist(PARz,Axis)
        hist(PARz
        hist       (PARz,,Axis)
                             Axis) ;
Ns      hist
        hist(PARs  (PARs,  , Axis) ;
                   (PARs ,Axis)

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figure
semilogy(Axis,l-cumsum(Np)
semilogy(Axis,l-cumsum(Np)/K,'        /K,' :0'         LineWidth' ,2,'MarkerSize'
                                             :0 ' ,,'' LineWidth',2,'MarkerSize'
                                                       LineWidth',2                        , 9,
                                                                          , ' MarkerSize' ,9
              Axis,1-cumsum(Ng)/K,'
              Axis,l-cumsum(Ng)/K,
              Axis,l-cumsum(Ng)/K ,'' r-' , ' LineWidth'
              Axis,l-cumsum(Ng)/K,'r-',
              Axis,l-cumsum(Ng)/K,'                    LineWidth ' ,2,,2 , ' MarkerSize',10 , Axis,1-cumsum(Nz           b-*',,I
                                                                                                Axis,l-cumsum(Nz ) /K, ' b-*'
               'MarkerSize'
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                   neWidth' ,2,'MarkerSize'
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                                                        , 2 ,Axis,l - cumsum(Ns)/K,'-+',
                                                        ,2,Axis,l
                                   ,' LineWidth' ,2,Axis,1
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                                                                          1                 Cisco Systems, Inc. v. TQ Delta LLC
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         ·0 · Scenario 1: 250 QAM4 Carriers
         ·0·
        - Scenario 2: Gaussian process
        ...... Scenario 3: 182 QAM4 Carriers
        ....
        .....
        -+-
        +- Scenario 4: 182 QAM4 Carriers & 52 Shively Carriers
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        - Scenario 5: 88 QAM4 Carriers & 16 Shively
        -Scenario                            Shively_Carriers
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                                                                                               1                                       Cisco Systems, Inc. v. TQ Delta LLC
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                                              Page 42                                                          Page 43
 1       A. Yes.                                                  1          You said, "I could have selected many other
 2       Q. Okay. And you referenced Figure 6 on page             2   combinations."
 3   18 of your declaration as being one of the                   3      A. So I'm modeling a relationship between
 4   considerations you used to select 182 random                 4   random carriers and structured carriers, and there
 5   carriers and 52 Shively carriers; right?                     5   is many combinations of attenuation and crosstalk
 6       A. Ask the question again.                               6   that justify those selections.
 7       Q. You reference Figure 6 on page 18 of your             7      Q. Okay.
 8   declaration as one of the bases for your selection           8      A. And Figure 6 includes a cable that
 9   of 182 random carriers and 52 Shively carriers;              9   justifies that selection.
10   correct?                                                    10      Q. But you didn't point to any of the other
11       A. I was looking to model a loop for which the          11   examples that justify that selection, did you?
12   relationship between attenuation and crosstalk was          12      A. I give examples of crosstalk, which I could
13   such that Shively is impactful, interesting, useful.        13   have used to justify those selections. I didn't
14   And there is many combinations of crosstalk in              14   specifically point out to any combination of
15   attenuation I could have selected. I wanted to find         15   crosstalk and loss that will justify those, outside
16   some parameters that showed the benefits of Shively         16   that one.
17   and, at the same time, show the weakness of Shively.        17          I only justified my simulation based on
18          And I picked one example from Figure 6 to            18   one, but it applies to many other cases.
19   justify the selection of parameters, but I could            19      Q. So the noise profiles that you referenced
20   have selected many other combinations of attenuation        20   in your paragraphs 9 through 13, you didn't actually
21   and crosstalk that also included by my simulation.          21   use those in selecting your Shively carriers, did
22       Q. Okay. So you said -- what you just said              22   you?
23   is, "I could have selected many other combinations          23      A. Repeat the question.
24   of attenuation and crosstalk that included" --              24      Q. The noise profiles that you reference in
25   strike that.                                                25   your paragraphs 9 through 13, you didn't actually

                                              Page 44                                                          Page 45
 1   apply those in selecting your 182 random carriers            1         THE WITNESS: Can you repeat the question?
 2   and 52 Shively carriers, did you?                            2   BY MR. McANDREWS:
 3       A. ADSL transceivers have to work over many              3      Q. The one that you picked, which is a
 4   combinations of loops, gauges, crosstalk                     4   12,000-foot loop, not taking into consideration any
 5   attenuation. I didn't go through all the                     5   noise other than the noise floor, that's not the one
 6   combinations. I just picked one combination to               6   that Dr. Short used; correct?
 7   justify my simulation.                                       7         MR. McDOLE: Objection; form.
 8         I only need to find one example to justify             8         THE WITNESS: Ask the question again.
 9   a simulation. There is many other combinations.              9   BY MR. McANDREWS:
10       Q. And do you believe that the one 12,000-foot          10      Q. The one that you picked, which is a
11   attenuation curve that you picked justifies your            11   12,000-foot loop attenuation curve and not taking
12   selection of those carriers?                                12   into consideration any noise other than the noise
13       A. So my simulation shows that 182 QAM random           13   floor, that's not the one that Dr. Short used;
14   carriers, 52 structured carriers has high PAR               14   right?
15   implementing Shively's techniques.                          15         MR. McDOLE: Objection; form.
16         To come up with 182 and the 52, I need to             16         THE WITNESS: I don't agree with the
17   justify where I get the 182 and 52, and I could have        17   question. I want it rephrased.
18   done it through combinations of loss and crosstalks.        18   BY MR. McANDREWS:
19   There is infinite number of combination. I pick one         19      Q. Do you know which attenuation and noise
20   to justify it, and then it applies more generally.          20   characteristics Dr. Short relied on in choosing his
21       Q. Okay. The one you picked, though, the                21   random and Shively carriers and unusable carriers?
22   12,000-foot loop, and not taking into consideration         22      A. Yes. Please repeat that question.
23   any noise other than the noise floor, that's not the        23      Q. Do you know which attenuation and noise
24   one that Dr. Short used; correct?                           24   characteristics Dr. Short relied on in choosing his
25         MR. McDOLE: Objection to form.                        25   random, Shively and unusable carriers?



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 1       A. I believe Dr. Short used Figure 6 or                 1   than -- than Dr. Short said.
 2   variants of it, and he selected one of these                2       Q. How much worse?
 3   high-attenuation loops, and I believe he used the           3       A. I don't recall. It was significantly
 4   thin-gauge, high-loss AWG26 that's marked 18,000 in         4   worse.
 5   this figure.                                                5       Q. You don't recall.
 6       Q. Okay. Did you run a simulation taking that           6          Did you run a simulation?
 7   same attenuation characteristic and noise                   7       A. I said I ran a quick estimate to see if the
 8   characteristic into consideration?                          8   Gaussian approximation was good, and it was not.
 9       A. Repeat the question.                                 9       Q. How did you do that quick estimation?
10       Q. Did you run a simulation --                         10       A. Using similar techniques to the ones that I
11       A. Yes.                                                11   provided.
12       Q. -- using an 18,000-foot loop with the               12       Q. Where is that simulation?
13   attenuation characteristics shown in Figure 6 on           13       A. So when I started working the declaration,
14   page 18 of your declaration?                               14   I just did a quick estimate to see if the Gaussian
15       A. So in this AWG26 loop of 18,000 feet, I did         15   approximation was correct, and I determined it was
16   a quick estimate.                                          16   not.
17       Q. But you didn't run a full simulation on it?         17       Q. Did you use MATLAB for that?
18       A. Not a full simulation.                              18       A. Yes.
19       Q. And what did you determine from your quick          19       Q. Where are the results of that MATLAB?
20   estimate?                                                  20       A. I don't have them.
21       A. Repeat the question.                                21       Q. Why don't you have them?
22       Q. What did you determine from your quick              22       A. I just did a quick test, and then I just
23   estimate?                                                  23   moved on.
24       A. That Dr. Short's approximation of a                 24       Q. You didn't record the results of that
25   Gaussian approximation was poor. It was worse              25   MATLAB simulation?

                                             Page 48                                                          Page 49
 1      A. No.                                                   1       Q. And did you run the simulation long enough
 2      Q. Did you keep the script that you used?                2   to get a result?
 3      A. I don't recall. I keep changing the code              3       A. It was quick enough to see that the
 4   and adding things, and I don't know if I have that          4   Gaussian approximation that Dr. Short had was not
 5   version. I don't have revision control on that              5   good.
 6   code.                                                       6       Q. How did you see that?
 7      Q. You said you don't have version control on            7       A. Because you see the Gaussian approximation
 8   that --                                                     8   estimate, because I'm simulating Gaussian, and I see
 9      A. I don't have a revision control. The one              9   what's happening to the Short example, and it was
10   you have is the last version.                              10   diverging.
11      Q. So what do you do? You just copied over              11       Q. Explain that to me. How do you see that
12   the one that you used to estimate Dr. Short's              12   it's diverging?
13   version of this?                                           13       A. Can you see graph 2? You see the solid red
14      A. Repeat the question.                                 14   line?
15      Q. Did you just copy over the one that was              15       Q. Yes.
16   used for this quick simulation?                            16       A. That is the Gaussian process. You see
17      A. I keep modifying the code to add more                17   Scenario 1 with 250 QAM-4 carriers? Doesn't it look
18   things to it, and that's the latest incarnation of         18   very similar to the Gaussian process, the round,
19   the code.                                                  19   blue circles?
20      Q. Okay. So what happened to the version that           20       Q. Yes.
21   you used to simulate the 18,000-foot loop?                 21       A. So I call this following a Gaussian
22      A. When you write code, you could change it             22   process.
23   and save it over the same file. It gets                    23           What about the cyan Scenario 4 curve? Does
24   overwritten. I mean, it gets written on top of the         24   it -- is it tight with the Gaussian process Scenario
25   old version.                                               25   2 curve? It's diverging. It's worse than. The



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 1   Gaussian process has a lower PAR than Scenario 4.            1      A. Are you going to ask me the same question
 2   It's not a good model.                                       2   you asked before, or are you going to change the
 3          This shows you a Scenario 4 that has                  3   question? You changed the question at least once or
 4   Shively carriers cannot be modeled accurately with a         4   twice along the way.
 5   Gaussian process in Scenario 2.                              5      Q. Earlier, you said you observed this quick
 6       Q. Are you suggesting that Dr. Short's -- if             6   simulation diverging from something.
 7   you had run a full simulation on Dr. Short's                 7         Did you say that earlier?
 8   18,000-foot loop, assuming the 88 usable carriers            8      A. Dr. Short makes the statement that you
 9   and 16 Shively carriers and the remainder unusable,          9   could approximate -- I forget his exact number of
10   are you telling me that that would be worse than            10   carriers and Shively carriers -- and he said that
11   your Scenario 1 here?                                       11   you could approximate it with the Gaussian process.
12       A. I didn't say that. I just said it was                12         You asked me if I checked that case. And I
13   diverging relative to a Gaussian process.                   13   said I checked it, and it showed it was not a good
14       Q. A Gaussian process assuming what?                    14   approximation.
15          MR. McDOLE: Objection; form.                         15      Q. And how did you do that?
16   BY MR. McANDREWS:                                           16      A. I generated -- MATLAB has a function that
17       Q. Is this the Gaussian process you assumed?            17   generates Gaussian process, and then I checked the
18       A. So Dr. Short's --                                    18   output of a Shively transmitter with Short's
19          MR. McDOLE: Objection; form.                         19   parameters, and it wasn't close to a Gaussian
20          THE WITNESS: Please ask the question                 20   process. It was worse than a Gaussian process.
21   again.                                                      21      Q. How many carriers did you assume for the
22   BY MR. McANDREWS:                                           22   Gaussian process in this quick simulation?
23       Q. You said it was diverging from something.            23      A. Whatever Short had in his -- in his
24          What did you use for your Gaussian process           24   declaration.
25   curve that you were watching it diverge from?               25      Q. So it's 88 --

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 1      A. Okay.                                                  1   for 88 plus 16?
 2      Q. -- random carriers --                                  2      A. I ran -- I compared a Gaussian process
 3      A. Okay.                                                  3   versus the 88 plus 16 Shively.
 4      Q. -- I think you called them.                            4      Q. So you ran a Gaussian process for 104
 5      A. Mm-hmm.                                                5   carriers?
 6      Q. Or we've called them usable carriers.                  6      A. Yes, mm-hmm.
 7         Do you agree with that?                                7      Q. And so --
 8      A. Okay.                                                  8      A. 88 plus 16 is not equal to 104 Gaussian.
 9      Q. And 16, what we've been calling Shively                9      Q. And you said you observed that?
10   carriers.                                                   10      A. I ran a similar layer. I could see they
11         Do you understand that?                               11   were diverging, and I just said, "Okay. It's not a
12      A. Say that again.                                       12   good approximation."
13      Q. We've been calling them Shively carriers,             13      Q. What do you mean by "they were diverging"?
14   right?                                                      14   This is something where you cut off the simulation
15      A. Yeah, Shively carriers.                               15   midstream?
16      Q. And we've also referenced them as impaired            16      A. No. When you do a simulation, you could
17   carriers?                                                   17   run it to -- you could run a billion points, a
18      A. There is a little bit of a difference                 18   gazillion points. Depending on the number of
19   between those two, but keep going.                          19   points, the differences typically increase.
20      Q. And then there is unusable carriers?                  20      Q. How many points did you run?
21      A. Yes. Dr. Short's naming convention, yes.              21      A. I don't recall. I have graph 2. You can
22      Q. Okay. And you adopted that naming                     22   just get a sense for how many DMT symbols were run
23   convention; right?                                          23   for this simulation. But I don't recall how many I
24      A. Yes.                                                  24   ran for that.
25      Q. Okay. So did you run a Gaussian process               25      Q. If we were to -- if we were to plot that



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 1   simulation -- this quick simulation you did, if we          1   carriers and 16 Shively carriers, where would that
 2   were to plot it on the same graph that you have on          2   show up on graph 2 on page 30 of your declaration?
 3   page 30 --                                                  3       A. The Gaussian approximation or the actual
 4          First of all, where would the Gaussian for           4   simulation?
 5   the 106 carriers -- where would that be on this             5       Q. The actual simulation.
 6   graph?                                                      6       A. The actual simulation, I don't remember
 7          MR. McDOLE: Objection; form.                         7   where it crossed over.
 8          THE WITNESS: Ask the question again.                 8       Q. Well, would it be to the left of the
 9   BY MR. McANDREWS:                                           9   Scenario 1 line that you show here in graph 2?
10       Q. If we were to run a Gaussian on the 104             10       A. I don't recall.
11   carriers that you ran this quick simulation on,            11         It also is a function of how many points
12   where would that line show up in graph 2 on your --        12   you run. For example, if you look at the blue
13   page 30 of your declaration?                               13   Scenario 3 and the red Scenario 2, they look
14       A. The Gaussian process?                               14   parallel. They are parallel because they are both
15       Q. Mm-hmm.                                             15   Gaussian-like processes. But the cyan, Scenario 4,
16       A. The Gaussian process would be proportional          16   doesn't have the same slope. It's diverging. The
17   to the power of 104 carriers.                              17   gap is increasing as you go to lower and lower
18       Q. Okay. So would it be to the left of the             18   probabilities of clipping. They are not parallel.
19   Gaussian process for the 250 carriers that you used        19         So when you have a Gaussian process, it
20   for --                                                     20   drops like the red line; if you have a non-Gaussian
21       A. Yes.                                                21   process, it could have a different slope. And it
22       Q. -- graph 2?                                         22   could look better at very high clipping rates, but
23       A. Uh-huh. Yes.                                        23   it could be worse at low clipping rates.
24       Q. And the simulation -- so using your                 24         So I don't remember exactly where it
25   simulation and your MATLAB script on 88 random             25   crossed. It didn't have the same slope as a

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 1   Gaussian process. That's why I said the Gaussian            1       Q. And you didn't save the script?
 2   approximation was not a good approximation.                 2       A. The script, I am improving it and adding
 3       Q. I'm not talking about the Gaussian                   3   things to it, and I am overwriting the same program.
 4   approximation. I'm talking about your simulation.           4       Q. Did you share the results with anyone?
 5       A. Yeah. So it had a different slope than a             5       A. I don't recall now. I don't recall.
 6   Gaussian process. It was diverging. I don't                 6       Q. Were the results ever recorded in
 7   remember where it crossed.                                  7   electronic or paper form?
 8         MR. McDOLE: I object to that question to              8       A. So my computer ran a quick simulation, and
 9   form.                                                       9   it showed me a plot. I looked at it, and I said,
10   BY MR. McANDREWS:                                          10   "It's diverging. Now, let me focus on a case that's
11       Q. Do you believe that it crossed to the left          11   more interesting," because I see the Gaussian
12   of your Scenario 1, shown on graph 2 on page 30?           12   approximation is not a good approximation.
13       A. I don't recall.                                     13       Q. Did you save that plot?
14       Q. Based on your expertise, do you believe it          14       A. I don't -- I don't recall.
15   would have crossed the clipping threshold to the           15       Q. You understand you're under oath; right?
16   left of your Scenario 1 in graph 2?                        16       A. I know. I know. I don't know if I saved
17       A. I don't want to guess.                              17   that plot.
18       Q. You don't have any idea where that would            18          MR. McDOLE: Counsel, with all due
19   show up?                                                   19   respect --
20       A. I don't like that question that way. I              20          THE WITNESS: I don't like that.
21   said I don't want to guess.                                21          MR. McDOLE: Why don't we take a break, if
22       Q. So you ran this quick simulation; right?            22   you need to calm yourself down, but making
23       A. Mm-hmm.                                             23   implications that the witness is -- is violating
24       Q. And you didn't save the results; right?             24   his --
25       A. No.                                                 25          MR. McANDREWS: Spoliating evidence? I



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 1   think we've got some pretty good evidence of that            1      Q. So the answer is no?
 2   here. So, yes, I am implying that.                           2         MR. McDOLE: Objection; form.
 3          MR. McDOLE: Let's take a break.                       3         THE WITNESS: Can you ask the question
 4          MR. McANDREWS: Yes.                                   4   again?
 5          MR. McDOLE: You can calm down a little                5   BY MR. McANDREWS:
 6   bit, Counsel. When you are ready and calmed down,            6      Q. Do you currently have, in any form, your
 7   let us know.                                                 7   MATLAB simulation script for the 18,000-foot loop
 8          (Recess taken)                                        8   scenario?
 9   BY MR. McANDREWS:                                            9         MR. McDOLE: Objection; asked and answered.
10       Q. So Dr. Tellado, did you save, in any form,           10         THE WITNESS: So what I did say last time?
11   your MATLAB simulation script for the 18,000-foot           11   I don't recall what I have. I believe you have the
12   loop scenario?                                              12   same thing I have. That's what I recall.
13          MR. McDOLE: Objection; asked and answered.           13   BY MR. McANDREWS:
14          THE WITNESS: I don't recall.                         14      Q. And what I have is your MATLAB simulation
15   BY MR. McANDREWS:                                           15   script for the 12,000-foot loop scenario; right?
16       Q. Do you currently have, in any form, your             16      A. What you have -- no. No. Well, I don't
17   MATLAB simulation script for the 18,000-foot loop           17   know exactly what you have. You are pointing at
18   scenario?                                                   18   something. I don't know what that is.
19       A. I have the script you have. That's my                19         What the exhibit has is a model of what
20   latest version.                                             20   happens to a transmitter when 182 carriers are
21       Q. Do you have -- do you currently have, in             21   pseudorandom or random -- pseudorandom and 52
22   any form, your MATLAB simulation script for the             22   Shively carriers that are structured. And that
23   18,000-foot loop scenario?                                  23   applies to many combinations of high attenuations
24       A. The form I have now is the one that you              24   and/or crosstalk.
25   have.                                                       25      Q. Okay.


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 1       A. There is no channel loop simulation in that           1   including with your counsel, the output of your
 2   code.                                                        2   MATLAB simulation of 88 usable carriers and 16
 3       Q. Okay. Do you currently have, in any form,             3   Shively carriers?
 4   your MATLAB simulation script for a scenario in              4        A. Didn't you ask me that question already?
 5   which there are 88 random carriers and 16 Shively            5        Q. No. I asked you whether you had it in your
 6   carriers?                                                    6   possession. Now I'm asking whether you shared it
 7       A. I don't recall. I believe I overwrote that            7   with anybody.
 8   code with newer versions of the code.                        8        A. You said "with lawyers or" -- can you
 9       Q. Did you share with anyone, including your             9   repeat all the questions, because --
10   lawyers, a copy of your MATLAB simulation script for        10        Q. Sure.
11   88 usable carriers and 16 Shively carriers?                 11        A. -- it's the same answer, but...
12       A. I don't recall.                                      12        Q. Did you share with anyone, in any form,
13       Q. Did you save, in any form, the output of             13   including with your lawyers, the output of your
14   your MATLAB simulation of 88 usable carriers and 16         14   MATLAB simulation of 88 usable carriers and 16
15   Shively carriers?                                           15   Shively carriers?
16       A. Repeat the question.                                 16        A. Repeat the question again.
17       Q. Did you save, in any form, the output of             17        Q. Did you share with anyone, in any form --
18   your MATLAB simulation for the 88 random carriers           18   I'll leave out the lawyer part for now.
19   and 16 Shively carriers?                                    19          Did you share with anyone, in any form, the
20       A. I don't recall.                                      20   output of your MATLAB simulation of 88 usable
21       Q. Do you currently have in your possession,            21   carriers and 16 Shively carriers?
22   in any form, the output of your MATLAB simulation           22        A. "Any form" means a plot, a result; right?
23   for the 88 usable carriers and 16 Shively carriers?         23   Not just verbally saying it's not Gaussian?
24       A. I don't recall.                                      24        Q. Correct. Some tangible form, electronic or
25       Q. Did you share with anyone, in any form,              25   paper.



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 1        A. You're saying verbally, because I told my            1   going to request to have a discovery request?
 2   lawyers --                                                   2          MR. McANDREWS: Well, I think I'm going to
 3          MR. McDOLE: You should not disclose any               3   bring it to the Board, yes. I'm going to bring it
 4   conversations that you have had with counsel.                4   to the Panel.
 5          THE WITNESS: Okay.                                    5          MR. McDOLE: Okay. Well, we'll take it
 6          MR. McDOLE: If you can answer otherwise,              6   under advisement.
 7   feel free to do so.                                          7          MR. McANDREWS: Okay.
 8          THE WITNESS: So I do not recall giving                8   BY MR. McANDREWS:
 9   them electronic copy.                                        9       Q. So can you tell me whether a scenario in
10   BY MR. McANDREWS:                                           10   which 88 random carriers are used with 16 Shively
11        Q. Do you recall giving them a paper copy?             11   carriers -- and I'll narrow that a little bit --
12        A. I don't recall giving them a paper copy.            12   it's 16 Shively characters where they are grouped
13          MR. McANDREWS: Okay. So we'd like to make            13   into four groups of four -- can you tell me whether
14   a request. If anybody has this simulation, whether          14   that would have a clipping characteristic that
15   it's the script or the output, we'd like to see it.         15   exceeds the 5.1 to the negative 5 clipping threshold
16          MR. McDOLE: What's your basis?                       16   you show in graph 2?
17          MR. McANDREWS: Because he concludes that             17          MR. McDOLE: Objection; form.
18   it's not correct, the analysis that Dr. Short did,          18          THE WITNESS: Repeat the question.
19   and he provides no basis in his report for that.            19   BY MR. McANDREWS:
20          MR. McDOLE: Does he rely on something that           20       Q. Can you tell me whether a scenario in which
21   you're asking for?                                          21   88 random carriers are used with four groups of four
22          MR. McANDREWS: Yeah, he is relying on his            22   of Shively carriers would have a clipping
23   quick simulation. He just testified to that.                23   characteristic that exceeds 5.1 to the negative 5?
24          MR. McDOLE: Well, we'll take it under                24       A. Repeat the question.
25   advisement. I mean, is there a rule on which you're         25       Q. Can you tell me whether a scenario in which

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 1   88 random carriers are used with four groups of four         1       A. Can you repeat the question?
 2   Shively carriers would have a clipping                       2       Q. So let's do it this way: What are you
 3   characteristic that exceeds the 5.1 to the negative          3   illustrating on page 21 of your declaration?
 4   5 clipping threshold?                                        4       A. What I am illustrating is an example of a
 5       A. As I said, the selection of random                    5   loop that Shively would improve. And by selecting
 6   carriers, the power of the random carriers, the              6   the parameters for this loop, I will demonstrate the
 7   selection of the 16 carriers and the power of the 16         7   Shively technique increases PAR.
 8   Shively carriers and the power increase is a                 8       Q. Okay. And you have brackets there that say
 9   function of many parameters. It is also a function           9   "unimpaired carriers", "impaired carriers," and
10   of which part of the spectrum they are in.                  10   "useable carriers."
11       Q. With 88 random carriers and four groups of           11          MR. McDOLE: Objection; form.
12   four Shively carriers, will the symbol clipping rate        12   BY MR. McANDREWS:
13   exceed 5.1 to the negative 5 when the PAR is                13       Q. What are those intended to show?
14   14.2 dB?                                                    14       A. Can you say that again?
15       A. I don't want to guess there.                         15       Q. You have, in red brackets on page 21, a
16       Q. You don't have any inclination one way or            16   grouping of carriers that you label "unimpaired
17   the other?                                                  17   carriers," you have a grouping you label "impaired
18       A. I'm not going to guess.                              18   carriers."
19       Q. Let's talk about your selection of                   19          Do you see that?
20   carriers. So I believe it's on page 21 where you            20       A. Mm-hmm.
21   illustrate your selection of random carriers,               21       Q. Yes or no?
22   impaired carriers -- which we're calling Shively            22       A. Yes.
23   carriers -- and unusable carriers; correct?                 23       Q. Yes, you see that, okay.
24          Do you see that on page 21 of your                   24          And you have a grouping of carriers you
25   declaration?                                                25   label as "unusable carriers."



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 1   the probability that carriers have the same                  1   model the joint effect of the random ones and the
 2   structure.                                                   2   structured ones.
 3          And this is illustrating the probability              3         This is all random versus all structure.
 4   that a small number of carriers line up -- of                4       Q. Okay. Let's go to your Table 4 on page 16.
 5   course, the MT -- the standard we keep talking about         5   And I believe you're reporting something similar
 6   has many more than 64 carriers. So this is the               6   here.
 7   probability that those carriers line up, the                 7         So when you have, in the right-hand column,
 8   structured ones versus random ones.                          8   that says "Shively frequency," and you intend by
 9          The blue one is random groups, and the red            9   "Shively frequency" to mean the frequency that the
10   is structured groups.                                       10   Shively carriers --
11       Q. Right. But the red groups, the probability           11       A. Perfectly align.
12   of them lining up is only -- the only thing you're          12       Q. -- will perfectly align?
13   reporting here is whether the bits within that group        13       A. Mm-hmm.
14   will line up; correct? I'm sorry.                           14       Q. Okay? So when you say -- so in the first
15       A. No.                                                  15   row, "Number of phase-aligned carriers, 4," you're
16       Q. It's only reporting whether the carriers             16   reporting on one group of four; correct?
17   within that group will line up; correct?                    17       A. Yes, that 4 is one group -- 1-bits across
18       A. All the carriers in that group.                      18   four -- replicated four times.
19       Q. Right.                                               19       Q. Okay. And so when you have one group,
20       A. 64 of them in the case you mentioned. So             20   they'll obviously be aligned all the time; right?
21   that's a probability that all 64 carriers will have         21       A. Yes, you have four lined-up carriers.
22   the -- line up.                                             22       Q. So this isn't a very interesting row, is
23       Q. But, as you pointed out, there will be               23   it?
24   additional carriers other than the Shively carriers.        24       A. The first row just shows the fact that
25       A. That's why I provided a simulation, to               25   Shively has four carriers lined up even with 1-bits,

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 1   and everybody shows the degradation with 1-bits.             1       Q. Okay. And what you're saying is that once
 2       Q. Okay. And the 4,000 times per second is               2   per second those 13 groups of four will align;
 3   simply that there are 4,000 symbols in a second;             3   right?
 4   correct?                                                     4          MR. McDOLE: Object to the form.
 5       A. Yes, every DMT symbol will have that 1-bits           5   BY MR. McANDREWS:
 6   replicated four times, so they will line up every            6       Q. Will perfectly align; right?
 7   time.                                                        7          What you're saying is that once per second
 8       Q. Okay. But that doesn't speak to whether               8   all of the carriers in those 13 groups of four will
 9   those 4 bits will line up with all of -- I'm sorry.          9   align; right?
10   It doesn't speak to whether those four carriers will        10          MR. McDOLE: Object to the form.
11   align with the remaining random carriers; correct?          11          THE WITNESS: Ask the question again.
12       A. This section is to illustrate that when you          12   BY MR. McANDREWS:
13   have structural patterns, the probability of them           13       Q. So are you intending to report that if
14   lining up is much higher than random patterns. And          14   there are 13 groups of four Shively carriers, that
15   then these patterns will be aggregated with the             15   all of the carriers in those 13 groups of four will
16   random ones. And then the simulation on page 30 is          16   align once per second?
17   the one you should use for clipping probabilities in        17       A. Again, this is an illustration of the
18   PAR degradation.                                            18   worst-case alignment.
19         This is an illustration of the side effects           19          The better thing -- to actually see the
20   of structured pilots.                                       20   true side effects of Shively is the plots in page
21       Q. Okay. So when -- so in your last row                 21   30. This is illustrating that those 32 -- if we
22   there, you have 52 phase-aligned carriers; right?           22   pick the subset of 32 carriers, what's the
23   So you have 52 of them, and I assume that's 13              23   probability that they have the same phase if they
24   groups of four?                                             24   were random, and what's the probability they have
25       A. Yes.                                                 25   the same phase if they have groups of four?



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 1          And this illustrates why the simulation              1    break.
 2   shows that Shively degrades PAR. This is just an            2         (Lunch recess taken)
 3   illustration.                                               3
 4          The true PAR, you have to go to putting in           4
 5   random and putting Shively and doing joint                  5
 6   simulation.                                                 6
 7       Q. So one of the rows in this table reports on          7
 8   32 Shively carriers; is that right?                         8
 9       A. I see 32.                                            9
10       Q. Okay. But you didn't use 32 Shively                 10
11   carriers in your simulation; right?                        11
12       A. I don't recall using 32. As you can see,            12
13   this table is mostly incrementing by 4 or 8. It's          13
14   just giving a sense of some examples. It doesn't           14
15   have every example. It has 4, 8. It's missing 12.          15
16   It has 16. It's missing 20. It has 24. It's                16
17   missing 28. It has 32. It's missing 36. It's               17
18   missing 40. It's missing 44. Then it has 48.               18
19          It has just a subset of groups of four              19
20   between 4 and 52, just to keep the table a little          20
21   bit smaller.                                               21
22          Probably going to have to take a break.             22
23       Q. Just let me make sure -- I think we can             23
24   probably break here.                                       24
25          MR. McANDREWS: Okay. Why don't we take a            25


                                            Page 104                                                       Page 105
 1            AFTERNOON SESSION                                  1         THE WITNESS: Please ask the question
 2                                                               2   again.
 3   BY MR. McANDREWS:                                           3   BY MR. McANDREWS:
 4       Q. So I'm going to put in front of you a                4       Q. You wrote the code to do what?
 5   couple of exhibits. So we have what was previously          5         MR. McDOLE: Same objection. Objection to
 6   marked as Cisco Exhibit CSCO 1034, and then we have         6   form.
 7   two new exhibits, Exhibit 2010 and 2011. Put those          7         THE WITNESS: I wanted to model the effect
 8   in front of you.                                            8   of having Shively tones.
 9          (Exhibit 1034 previously marked for                  9   BY MR. McANDREWS:
10          identification was referenced herein)               10       Q. Okay. And in this particular -- is this a
11          (Deposition Exhibits 2010 and 2011 were             11   MATLAB script?
12          marked for identification)                          12       A. It runs on MATLAB. It also runs on Octave,
13   BY MR. McANDREWS:                                          13   with a slight difference in compatibility.
14       Q. I want to refer to these kind of as a               14       Q. And which one did you write it on?
15   group.                                                     15       A. I ran it on -- I wrote it on MATLAB, and I
16          Sorry, can I see that?                              16   tested it in MATLAB.
17          All right. So do you recognize Exhibit              17       Q. Okay. And can you tell me what the
18   1034?                                                      18   variables are at the top of the first page of 1034?
19       A. Yes.                                                19       A. So variable capital N equals 4 is the
20       Q. Can you tell me what that is?                       20   number of repetitions per bits. It's the Shively
21       A. That's my MATLAB I wrote.                           21   replication rate.
22       Q. And this is the MATLAB code you wrote to            22       Q. So this is the situation where you use four
23   simulate -- well, why don't you tell me. You wrote         23   tones to replicate a single bit?
24   it to do what?                                             24       A. Mm-hmm.
25          MR. McDOLE: Objection; form.                        25       Q. Okay. And what is --



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 1      A. Capital N equals 256 is the max number of            1   of four Shively tones; is that right?
 2   tones of subcarriers for 512 real valued DMT               2        A. Yes.
 3   system --                                                  3        Q. And then the output was what we looked at
 4      Q. Okay.                                                4   in your declaration, the, I guess, bluish-green
 5      A. -- which is what is used in the ADSL                 5   curve in the far right; is that correct?
 6   standard.                                                  6        A. So there is four different scenarios. This
 7      Q. Okay.                                                7   code executes four different scenarios at the same
 8      A. Zl, little L, equals 6 is the number of low          8   time.
 9   frequency tones that would be set to 0.                    9        Q. And what are the four different scenarios?
10      Q. Okay.                                               10        A. So Scenario 1 has 250 pseudorandom
11      A. Capital Z little S is, in this case, 13             11   carriers. Scenario 2 is a Gaussian process using
12   times capital M. Capital M being the Shively              12   the MATLAB library function. Scenario 3 is the case
13   replication rate selected for this example.               13   of having 182 QAM-4 carriers. And Scenario 4 has
14      Q. And those -- that corresponds to the tones          14   182 QAM-4 carriers and the 13 times 4, or 52,
15   that we have been referring to today as either            15   Shively carriers.
16   Shively tones or impaired tones?                          16        Q. Okay. And where I do look on this page to
17      A. Yes. The code itself has a common saying,           17   find the four different scenarios that it runs at
18   Shively tones, yes.                                       18   the same time?
19      Q. Okay.                                               19        A. So before the 4 loop, which generates
20      A. So it's basically 13 times capital M                20   capital K number of DMT symbols, there is actually 4
21   Shively tones. Capital Z of capital H equal 15 is         21   vectors denoted PAR, PAR little Z, PAR little S, PAR
22   the number of unused high frequency tones.                22   little G. That vector is going to keep track of the
23      Q. Okay. And so these variables correspond to          23   PAR of each one of the four scenarios. So as the
24   the scenario you used in your reply declaration,          24   code is running, it will start loading the peak
25   where you looked at 182 random tones and 13 groups        25   power for each one of those four scenarios and try

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 1   capital K times -- simulated capital K times.              1       A. I see an F flash. No.
 2          So that's the initialization. Then there            2          I cannot. It's difficult like this. This
 3   is a 4 loop that goes from little K equals 1 to            3   is not how people write software. They have tools
 4   capital K, and it's going to go and generate all           4   that do these things for them.
 5   four interleaved. As it's executing, it's doing            5       Q. Okay. Let me refer you to Exhibit 2011.
 6   each one of the four, and then it starts again.            6       A. Okay.
 7       Q. Okay. Now, could you, like, take a look at          7       Q. So you wouldn't be able to confirm for me,
 8   Exhibit 2010.                                              8   sitting here today, one way or the other whether the
 9          And I'll represent to you that you haven't          9   code in 2010 is -- runs the same functions as your
10   seen this before, but can you take a brief look           10   code in 1034; you wouldn't be able to do that?
11   through this script and tell me whether it appears        11       A. No, I wouldn't be able to do that, no.
12   to follow your script?                                    12       Q. Okay. Can you look at Exhibit 2011.
13       A. I could not say that. Anybody that's               13       A. Yes.
14   written code before knows that a comma -- anything        14       Q. Okay. Can you compare 2011 to your -- the
15   could change the behavior of a code. So it's not          15   figure that you provide on page 30 of your
16   possible for me, looking at this, to know it's            16   declaration?
17   equivalent.                                               17       A. Yes.
18       Q. Okay. Do you see at the top there are two          18       Q. Does the graph in 2011 for scenarios one,
19   lines highlighted in yellow?                              19   two, three and four -- does it look like it
20       A. Yes.                                               20   accurately corresponds to your scenarios one, two,
21       Q. And I'll represent to you that that was            21   three and four?
22   intended to indicate the only two variables that          22       A. I can't say accurately. It has a similar
23   were changed in this script with respect to yours.        23   look.
24       A. I see there is new instructions added.             24       Q. Do each of the curves for Scenarios 1, 2,
25       Q. Where do you see that?                             25   3, and 4 look to be approximately the same as your



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 1   curves 1, 2, 3, and 4?                                       1   approximately the same as the curves in the figure
 2         MR. McDOLE: Objection; form.                           2   on page 30?
 3         THE WITNESS: I would actually like to have             3      A. They look similar.
 4   the numerical quantities compared against these              4      Q. Okay. Now, I'm going to represent to you
 5   numerical quantities to say if they are the same or          5   that Scenario 5 was run using the script in 2010.
 6   approximately the same or kind of the same.                  6         Does that curve look like a good
 7   BY MR. McANDREWS:                                            7   approximation of what would result from running your
 8      Q. But your graph on page 30 doesn't report               8   script using 16 Shively tones and 88 random
 9   numerical quantities, does it?                               9   carriers?
10      A. I have given you the code.                            10         MR. McDOLE: Objection; form.
11      Q. Right. But the graph itself doesn't report            11         THE WITNESS: I would not want to guess
12   numerical quantities, does it?                              12   that.
13      A. It does. I gave you differences of PAR                13   BY MR. McANDREWS:
14   degradation from turning on Shively tones. That was         14      Q. So you wouldn't -- let me ask it this way:
15   a numerical amount. I say how much dB's and what            15   Would you know intuitively that 88 random carriers
16   percentage. Those were numerical values picked on           16   and 16 Shively carriers would be to the left on the
17   the plots.                                                  17   graph of Scenario 2?
18      Q. No, but I'm asking about the graph, the               18         MR. McDOLE: Objection; form.
19   graph itself.                                               19         THE WITNESS: As I mentioned earlier, the
20      A. But the comments I make about the graph are           20   repeating -- the repeating -- the replicated bits
21   how much worse the Shively carriers are than not            21   that Shively introduces has a non-Gaussian behavior
22   having Shively carriers, and I have numerical values        22   and it separates from the Gaussian decay. So I
23   for those points.                                           23   cannot tell if this is correct.
24      Q. Okay. But you can't tell me, sitting here             24   BY MR. McANDREWS:
25   today, whether these curves in Exhibit 2010 are             25      Q. You don't know, just intuitively, that a


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 1   scenario with 88 QAM carriers and 16 Shively                 1       A. I'm not going to guess.
 2   carriers would be to the left of the Gaussian                2       Q. You're not going to guess at whether you
 3   process, Scenario 2?                                         3   would know intuitively?
 4          MR. McDOLE: Objection; form, asked and                4          MR. McDOLE: Objection; form.
 5   answered.                                                    5          THE WITNESS: I'm not going to -- I'm not
 6          Go ahead.                                             6   going to give an intuitive answer to a problem like
 7          THE WITNESS: I said many times, when you              7   this one.
 8   introduce structured carriers, it generates trouble.         8   BY MR. McANDREWS:
 9          I cannot tell you here whether this thing             9       Q. You don't know one way or the other
10   has modeled the increase in PAR from the Shively            10   intuitively whether it would be to the left?
11   carriers correctly. I cannot tell.                          11          MR. McDOLE: Objection; form.
12   BY MR. McANDREWS:                                           12          THE WITNESS: I'm not going to guess.
13       Q. I'm not asking you about whether this is             13   BY MR. McANDREWS:
14   modeled. I'm asking you intuitively, intuitively.           14       Q. Do you know?
15       A. I'm not going to guess.                              15       A. As I mentioned several times today, the 16
16       Q. You don't know intuitively?                          16   repeating carriers have a structure that make the
17       A. I'm not going to guess.                              17   clipping probability higher than a Gaussian.
18          MR. McDOLE: Objection; form.                         18       Q. So you don't know?
19   BY MR. McANDREWS:                                           19          MR. McDOLE: Objection; form.
20       Q. I'm not asking you to guess. You have                20          THE WITNESS: I don't -- I don't know what?
21   mentioned the word "intuitively" numerous times in          21   BY MR. McANDREWS:
22   your declaration.                                           22       Q. You don't know intuitively whether the
23          Would you know -- would you know                     23   curve for 88 QAM carriers and 16 Shively carriers
24   intuitively that 88 random carriers and 16 Shively          24   would be to the left of Scenario 2?
25   carriers would be to the left of Scenario 2?                25          MR. McDOLE: Objection; form.



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 1         THE WITNESS: Can you rephrase the                      1   or not. I want to know if you know intuitively.
 2   question?                                                    2         MR. McDOLE: Objection; form.
 3   BY MR. McANDREWS:                                            3   BY MR. McANDREWS:
 4      Q. Do you know intuitively whether Scenario 5,            4      Q. Do you know intuitively what the answer to
 5   with 88 QAM carriers and 16 Shively carriers, would          5   that question is?
 6   be to the left of Scenario 2, the Gaussian curve?            6         MR. McDOLE: Objection; form.
 7         MR. McDOLE: Objection; form.                           7         THE WITNESS: I'm not going to guess.
 8         THE WITNESS: With 16 structured Shively                8   BY MR. McANDREWS:
 9   carriers, I could not guess if it's going to be to           9      Q. You're not going to guess at my question of
10   the left or the right of that curve you mentioned.          10   whether you know or not?
11   BY MR. McANDREWS:                                           11         MR. McDOLE: Objection; form.
12      Q. Do you know intuitively whether 88 random             12         THE WITNESS: I don't know.
13   carriers and 16 Shively carriers would have a lower         13         MR. McDOLE: Harassing the witness.
14   probability of clipping than Scenario 2?                    14         MR. McANDREWS: I'm not harassing the
15         MR. McDOLE: Objection; form.                          15   witness.
16         THE WITNESS: No, I'm not going to guess.              16         MR. McDOLE: Yes, you are, Counsel.
17   BY MR. McANDREWS:                                           17   BY MR. McANDREWS:
18      Q. So you don't know intuitively the answer to           18      Q. No. I'm not asking you to guess at what
19   that question?                                              19   you know. I'm asking you to tell me what you know
20      A. I'm not --                                            20   and what you don't know.
21         MR. McDOLE: Objection; form.                          21         MR. McDOLE: Objection to form, harassing
22         THE WITNESS: I'm not -- sorry. I'm not                22   the witness.
23   going to guess the answer to that question.                 23   BY MR. McANDREWS:
24   BY MR. McANDREWS:                                           24      Q. Do you know intuitively -- do you know one
25      Q. I'm not asking you whether you will guess             25   way or the other intuitively whether Scenario 5

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 1   would present a lower chance of clipping than                1   your knowledge. I'm not asking you to guess whether
 2   Scenario 2?                                                  2   it is or isn't. I'm asking whether you know.
 3          MR. McDOLE: Objection; form, asked and                3       A. I don't know.
 4   answered, harassing the witness.                             4       Q. Do you know intuitively? You don't know
 5          THE WITNESS: What I do know is the plots              5   intuitively?
 6   that I modeled, those are in the record, and those           6          MR. McDOLE: Objection; form.
 7   are accurate.                                                7   BY MR. McANDREWS:
 8   BY MR. McANDREWS:                                            8       Q. You don't know intuitively. So let me
 9       Q. Okay. Do you know one way or the other --             9   state it the other way.
10   either you know it intuitively or you don't know it         10          You're telling me that you don't know
11   intuitively -- whether Scenario 5 presents a lower          11   intuitively whether Scenario 5 presents a lower
12   chance of clipping than Scenario 2?                         12   chance of clipping than Scenario 2; is that right?
13          MR. McDOLE: Objection; form, harassing the           13          MR. McDOLE: Objection; form.
14   witness.                                                    14          THE WITNESS: I have to guess at an answer
15          THE WITNESS: Can you repeat the question?            15   to know if intuitively I could get it.
16   You've said it too many times.                              16   BY MR. McANDREWS:
17   BY MR. McANDREWS:                                           17       Q. If you could take a look at -- we're back
18       Q. Do you know intuitively whether Scenario 5           18   in Exhibit 1026, your declaration. If you could
19   presents a lower chance of clipping than Scenario 2?        19   take a look at paragraph 57.
20       A. I don't want to guess.                               20          So is it your opinion that, in Stopler,
21          MR. McDOLE: Objection; form.                         21   that QAM symbols are randomized one with respect to
22   BY MR. McANDREWS:                                           22   the other within a single DMT symbol?
23       Q. I don't know what you're guessing at.                23       A. Ask the question again.
24       A. I don't want to guess at the question.               24       Q. Is it your opinion that -- in Stopler, that
25       Q. I'm asking about your knowledge. This is             25   QAM symbols are randomized one with respect to the



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 1   portion of a symbol to user one and a portion of a           1      Q. Okay. And the inventors listed there
 2   symbol to user two?                                          2   are -- include Jose Tellado of Mountain View.
 3      A. A DMT transmitter has to know where the                3         Is that you?
 4   boundaries of the DMT symbols are to transmit them.          4      A. That's me.
 5   But to phase-scramble all of the symbols in the same         5      Q. This is your patent?
 6   DMT symbol by the same amount, the phase scrambler           6      A. Yes.
 7   has to be synchronized with that circuit, which I            7      Q. And it's you and John Cioffi?
 8   don't see and I don't recall seeing.                         8      A. Yes, that's my Ph.D. advisor from Stanford.
 9      Q. At the time of the invention of the '158               9      Q. Do you recall this patent?
10   and '243 patents, were there multiple ways of               10      A. Yes. I don't remember all the details. It
11   reducing PAR that were known to those of skill in           11   was 20 years ago.
12   the art?                                                    12      Q. If you can turn to column 1 of that patent.
13      A. Yes.                                                  13   And starting on about line, let's call it, 47 of
14         MR. McANDREWS: Can we mark this as 2012.              14   column 1.
15         (Deposition Exhibit 2012 was marked for               15      A. 47. Okay. Column 1, line 47.
16         identification)                                       16      Q. I'm going to read this to you, and I want
17         MR. McDOLE: Thank you.                                17   you to confirm that I have accurately read it.
18   BY MR. McANDREWS:                                           18         So it states:
19      Q. Exhibit 2012 has been placed in front of              19         "One method randomly shuffles" --
20   you, Dr. Tellado.                                           20      A. Wait. Wait. Wait. You said column 1?
21         Can you tell me what Exhibit 2012 is?                 21      Q. Column 1, about line 47.
22      A. This one says United States Patent by                 22      A. Yes.
23   Tellado, et al, and it's titled "Peak to Average            23      Q. It says:
24   Power Ratio Reduction," and it's filed April 20th,          24         "One method randomly shuffles the phase of
25   1998.                                                       25         the signals 10(1)-10(n) at each carrier

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 1         frequency f(1)-f(n). Random shuffling does             1                 EXAMINATION
 2         not completely eliminate the problem,                  2   BY MR. McDOLE:
 3         although randomizing has been shown to                 3      Q. Dr. Tellado, my name is Jamie McDole. I
 4         somewhat reduce the peak to average power              4   represent Cisco. I have a couple of questions I'd
 5         ratio to an extent. Random shuffling also              5   like to ask you.
 6         requires performing an additional IFFT. In             6         Do you recall earlier in your testimony
 7         addition to not completely reducing the                7   discussion about your thesis?
 8         peak to average power ratio to a practical             8      A. Yes.
 9         point, that particular method also requires            9      Q. What was the subject matter of your thesis?
10         that additional information, side                     10         MR. McANDREWS: Objection; outside the
11         information, be sent along with the                   11   scope. Objection; relevance.
12         transmitted signal. In order for the                  12         THE WITNESS: Peak-to-average power
13         receiver to be able to decode the                     13   reduction for multicarrier modulation.
14         transmitted signal the receiver must also             14         MR. McDOLE: Can I have those?
15         know how the signals 10(1)-10(n) were                 15         (Exhibit 1025 previously marked for
16         randomized. Thus, the randomization scheme            16         identification was referenced herein)
17         requires extra bandwidth to transmit the              17   BY MR. McDOLE:
18         side information and does not effectively             18      Q. I'm going to hand you what's been
19         reduce the peak to average power ratio."              19   previously marked as Exhibit 1025.
20         Do you see that?                                      20         Dr. Tellado, can you please describe what
21      A. Yes.                                                  21   Exhibit 1025 is?
22      Q. Did I accurately read that?                           22      A. Oh. I can't possibly look through all 154
23      A. I believe so.                                         23   pages. But scanning through it, I believe -- I
24         MR. McANDREWS: Thank you. No further                  24   believe it's a copy of my thesis.
25   questions.                                                  25      Q. Okay. I'd like to have you turn to page



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 1   166 of -- or 152 of your thesis marked as Exhibit            1   objection to relevance.
 2   1025.                                                        2          THE WITNESS: The page numbers and the
 3          MR. McANDREWS: I'm just going to lodge a              3   title and the author match, so I believe it's the
 4   continuing objection that is this outside the scope          4   same.
 5   and it's not relevant to the proceedings.                    5   BY MR. McDOLE:
 6          THE WITNESS: What page?                               6       Q. Okay. Now, is it okay if I refer to
 7   BY MR. McDOLE:                                               7   Exhibit 1023 as the Mestdagh reference? Will you
 8       Q. 152.                                                  8   understand I'm referring to Exhibit 1023?
 9       A. Yes.                                                  9       A. Yes.
10       Q. Do you see reference 77 at the bottom of             10       Q. Does the Mestdagh reference discuss phase
11   your thesis marked as Exhibit 1025?                         11   scrambling to reduce PAR?
12       A. Citation 77, you said?                               12          MR. McANDREWS: Objection; leading.
13       Q. Yes.                                                 13   Objection; outside the scope, relevance.
14       A. I see it.                                            14          THE WITNESS: (Witness reviewing document.)
15          Do you want me to read it to you?                    15          Okay. So I'm reading from column 2 of page
16       Q. I'm going to hand you a document that's              16   1234, the bottom paragraph, starting on line 3:
17   been previously marked as Cisco -- or Exhibit 1023.         17          "Instead, the phasor of each QAM-modulated
18          (Exhibit 1023 previously marked for                  18          carrier is changed by means of a fixed
19          identification was referenced herein)                19          phasor-transformation and a new DMT symbol
20   BY MR. McDOLE:                                              20          is generated by the IFFT. By careful
21       Q. Dr. Tellado, can you confirm whether                 21          selection of the phasor-transformation, the
22   Exhibit 1023 is the same citation that is at                22          probability of clipping this new
23   citation 77 of your thesis marked as Exhibit 1025?          23          symbol...will be very low."
24          MR. McANDREWS: Again, same objection.                24          Another paragraph from page 1235, column 1,
25   Exhibit 1023 is outside the scope. Also an                  25   the third paragraph:


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 1         "Many phasor-transformations can be used.              1   Objection; outside the scope, relevance, foundation,
 2         An easy-to-implement fixed random phasor               2   competence.
 3         transformation (known at the receiver) will            3         THE WITNESS: So Mestdagh starts with -- it
 4         be considered in what follows. Several                 4   does multiple phase transformations, so that it gets
 5         other (more involved) transformations can              5   better-than-Gaussian performance. It tries to beat
 6         be used as well without affecting the main             6   the Gaussian performance by repeating the process
 7         results presented here."                               7   multiple times.
 8         Is that enough?                                        8   BY MR. McDOLE:
 9   BY MR. McDOLE:                                               9       Q. I'd like to have you go back to your thesis
10      Q. Dr. Tellado, are the passages you've just             10   and turn to page 153 of your thesis, and
11   read out of the Mestdagh reference in relation to           11   specifically have you look at reference 82.
12   phase-scrambling to reduce PAR?                             12       A. Yes.
13         MR. McANDREWS: Objection; leading.                    13       Q. I'm going to hand you a document that's
14   Objection; outside the scope, relevance.                    14   been previously marked as Exhibit 1024.
15         THE WITNESS: My interpretation of "the                15         MR. McDOLE: Counsel?
16   phasor of each QAM-modulated carrier is changed by          16         (Exhibit 1024 previously marked for
17   means of a fixed phasor-transformation and a new DMT        17         identification was referenced herein)
18   symbol is generated" -- I interpret that as each            18   BY MR. McDOLE:
19   QAM-modulated carrier within a DMT symbol has a             19       Q. Dr. Tellado, could you compare Exhibit 1024
20   phase transformation to reduce PAR.                         20   and state whether Exhibit 1024 is the same reference
21   BY MR. McDOLE:                                              21   as reference 82 of your thesis, which has been
22      Q. Does the Mestdagh reference provide an                22   marked as Exhibit 1025?
23   example of people trying to beat Gaussian-level             23         MR. McANDREWS: Continuing objection to
24   performance in peak-to-average ratio in the 1990s?          24   Exhibit 1024 as being outside the scope of either of
25         MR. McANDREWS: Objection; leading.                    25   Dr. Tellado's attempts at direct testimony and



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                                             Page 150                                                        Page 151
 1   either cross-examination that's been taken of him.           1   the Figure 2 is entitled?
 2   Relevance.                                                   2      A. Figure 2 is called "PAR Reduction in
 3          THE WITNESS: The authors match, the titles            3   PTS-OFDM."
 4   match, the page numbers match. So I believe it's             4         And "OFDM" stands for "orthogonal frequency
 5   the same reference.                                          5   division multiplexing."
 6   BY MR. McDOLE:                                               6      Q. Is the Muller reference another example of
 7       Q. Okay. If I refer to Exhibit 1024 as the               7   people trying to beat Gaussian-level performance in
 8   Muller reference, will you understand I'm referring          8   peak-to-average ratio in the 1990s?
 9   to Exhibit 1024?                                             9         MR. McANDREWS: Objection; foundation,
10       A. Yes.                                                 10   relevance, leading.
11       Q. Dr. Tellado, does the Muller reference               11         THE WITNESS: So if you look at Figure 3 or
12   disclose phase-scrambling to reduce PAR?                    12   Figure 4 -- Figure 3, called "Probability that the
13          MR. McANDREWS: Objection; leading.                   13   PAR of a randomly generated 128-carrier OFDM
14   Objection; outside the scope, foundation.                   14   transmit sequence exceeds X0 for U IDFTs in SLM and
15          THE WITNESS: Yes. If you look at -- for              15   V IDFTs in PTS with W equals 4."
16   example, at Figures 1 or Figures 2 -- for example,          16         And this plots in the X axis is the
17   let's start with Figure 1 -- it has a bit source            17   amplitude of the PAR, and the Y axis is the
18   going to a serial-to-parallel conversion, a use of          18   probability of clipping.
19   bit stream coding and interleaving and mapping.             19         And if you look at the rightmost plots,
20   BY MR. McDOLE:                                              20   they have the theory, which I don't have time to
21       Q. And is Figure 1 entitled?                            21   read, but my assumption is, theory would be the
22       A. "PAR reduction in SLM-OFDM," which is a              22   ideal distribution of either Gaussian or Rayleigh.
23   multicarrier flavor.                                        23         And then there is another one that's just
24       Q. And if I could have you turn to Figure 2 on          24   hugging it, which is the case for a random OFDM
25   the Muller reference, could you please state what           25   symbol. And then all Muller's algorithms are better


                                             Page 152                                                        Page 153
 1   than the vanilla original pseudorandom OFDM case.            1   BY MR. McDOLE:
 2   And he has multiple variations of these two                  2       Q. Okay. If I could have you turn to Figure 6
 3   algorithms that use phase rotations to reduce PAR            3   on page 18 of your declaration.
 4   below Gaussian distribution.                                 4       A. Sorry, which page?
 5   BY MR. McDOLE:                                               5       Q. Figure 6 of page 18 of your declaration,
 6       Q. Is Figure 3 of the Muller reference similar           6   which has been marked as Exhibit 1026.
 7   to the plots of the simulations that you provided in         7         Are you there?
 8   your declaration?                                            8       A. Page 18, Figure 6, yes.
 9          MR. McANDREWS: Objection; leading,                    9       Q. Holding all variables constant, if you
10   relevance, outside the scope.                               10   change only the maximum transmission power, would
11          THE WITNESS: So my simulations are based             11   the lines on Figure 6 change?
12   on a DMT transmitter where the output are                   12       A. Yes.
13   real-valued.                                                13       Q. Dr. Tellado, you were asked a lot of
14          This paper was -- as opposed to the                  14   questions about the Shively reference today.
15   Mestdagh one, this one has been done for a                  15         Do you recall that?
16   multicarrier system that is complex-valued. And             16       A. Yes.
17   this is what the wireless community uses, and they          17       Q. Did counsel for TQD ever provide you a copy
18   call it OFDM.                                               18   of the Shively reference when you requested it?
19          So the distribution will be slightly                 19       A. I don't -- no.
20   different, but the comparison of random or                  20       Q. If I could have you turn to Exhibit 2010.
21   pseudorandom theoretical and then how much the PAR          21   And if I could have you also have Exhibit 2011 out.
22   reduces with these techniques is a similar type of          22       A. This is all the exhibits I got today;
23   plots, except that all these techniques, the                23   right?
24   performance is better than just random phase --             24       Q. Yes. So this is 2010. This is 2011.
25   phased OFDM.                                                25   There you go.



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                                                  Page 154                                                            Page 155
 1          Now, starting with Exhibit 2010, can I draw               1       Q. And those are represented by five lines;
 2    your attention down to the bottom of the page with              2    correct?
 3    one of the code lines that's -- the first word is               3       A. Five scenarios, five lines, yes.
 4    semilogy.                                                       4       Q. Is there any way the code depicted on
 5       A. Yes, I see that line.                                     5    Exhibit 2010 could have plotted all five lines on
 6       Q. Semilogy, that line refers to an axis.                    6    Exhibit 2011?
 7          What is an axis?                                          7          MR. McANDREWS: Objection; foundation.
 8       A. Axis is the vector I use to generate the                  8          THE WITNESS: So I don't see the legend for
 9    histogram of the PAR points. Further up, there's --             9    Scenario 5. I don't see the axis for Scenario 5.
10    you see the axis equals 6:0.4:20. So it's a vector             10    So this code cannot generate this plot.
11    I use to bend the PAR samples to make this plot.               11          MR. McDOLE: No further questions.
12       Q. How many axes are identified in the code                 12          MR. McANDREWS: Let's take a brief break
13    for semilogy on Exhibit 10- -- 2010?                           13    here.
14       A. These lines are wrapping around, but I only              14          (Recess taken)
15    see four.                                                      15          MR. McANDREWS: We have no further
16       Q. If I could have you turn now to Exhibit                  16    questions at this time.
17    2011.                                                          17          MR. McDOLE: We'll reserve signature.
18          How many scenarios did Counsel provide                   18          MR. McANDREWS: Thank you, Dr. Tellado.
19    you -- strike that.                                            19          (Time noted: 3:38 p.m.)
20          If I could have you turn to Exhibit 2011.                20
21       A. Yes, I have that.                                        21
22       Q. How many scenarios are represented on                    22
23    Exhibit 2011?                                                  23
24       A. I see one, two, three, four and five. So a               24
25    total of five scenarios.                                       25



                                                  Page 156                                                            Page 157
 1        DECLARATION UNDER PENALTY OF PERJURY                        1              REPORTER'S CERTIFICATE
 2                                                                    2         I, CYNTHIA MANNING, a Certified Shorthand
 3       I, JOSE TELLADO, Ph.D., do hereby certify                    3   Reporter of the State of California, do hereby
 4   under penalty of perjury that I have read the                    4   certify:
 5   foregoing transcript of my deposition taken on June              5         That the foregoing proceedings were taken
 6   20, 2017; that I have made such corrections as                   6   before me at the time and place herein set forth;
 7   appear noted herein in ink, initialed by me; that my             7   that any witnesses in the foregoing proceedings,
 8   testimony as contained herein, as corrected, is true             8   prior to testifying, were placed under oath; that a
 9   and correct.                                                     9   verbatim record of the proceedings was made by me
10                                                                   10   using machine shorthand which was thereafter
11       DATED this          day of                                  11   transcribed under my direction; further, that the
12   2017, at                 , California.                          12   foregoing is an accurate transcription thereof.
13                                                                   13         I further certify that I am neither
14                                                                   14   financially interested in the action, nor a relative
15                                                                   15   or employee of any attorney of any of the parties.
16                   JOSE TELLADO, Ph.D.                             16         Before completion of the deposition, review
17                                                                   17   of the transcript [X] was [ ] was not requested. If
18                                                                   18   requested, any changes made by the deponent (and
19                                                                   19   provided to the reporter) during the period allowed
20                                                                   20   are appended hereto.
21                                                                   21          In witness whereof, I have subscribed my
22                                                                   22   name this 21st day of June 2017.
23                                                                   23
24                                                                   24        ________________________________________
25                                                                   25        CYNTHIA MANNING, CSR No. 7645, CCRR, CLR




                                                                                                                                 40
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However, the specification of the ’158 patent describes a “conventional

multicarrier communications system” as using a “combination of multiple

carriers.” Ex. 1001, 1:33-47. Consistent with the specification’s description and for

the purposes of this proceeding, a POSITA would have understood that the

broadest reasonable interpretation of “multicarrier” includes “multiple carriers.”

Ex. 1009, p. 20.

             2.    “transceiver” (claims 1-28):

      The ’158 patent does not expressly define a transceiver. Ex. 1009, p. 21. But

the ’158 specification states that “DMT transceiver 10 includes a DMT transmitter

22 and a DMT receiver 26.” Ex. 1001, 3:27-39. The ’158 specification also states

that a “transceiver” may be a modem. Ex. 1001, 1:42 & 3:30-53. A computer

dictionary defines “transceiver” as “any device that transmits and receives.” Ex.

1014, p. 709. Consistent with the ’158 specification and the dictionary definition

for the transceiver, and for the purposes of this proceeding, a POSITA would have

understood that the broadest reasonable interpretation of “transceiver” includes a

“device, such as a modem, with a transmitter and a receiver.” Ex. 1009, p. 23.

      C.     Statutory Grounds for Challenges

      Challenge #1: Claims 1, 2, 4, 15, 16, and 18 are obvious under 35 U.S.C. §

103(a) over Shively (Ex. 1011) in view of Stopler (Ex. 1012). Shively was filed on

December 31, 1997. See Ex. 1011. Stopler was filed on February 26, 1999. See Ex.



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1012. Accordingly, both Shively and Stopler are prior art under § 102(e).

        Challenge #2: Claims 3, 5, 14, 17, 19, and 28-30 are obvious under 35

U.S.C. § 103(a) over Shively in view of Stopler, and further in view of Gerszberg

(Ex. 1013). Gerszberg was filed on December 31, 1997. See Ex. 1013.

Accordingly, Gerszberg is prior art under § 102(e).

        Challenge #3: Claims 6, 9, 10, 12, 20, 23, 24, and 26 are obvious under 35

U.S.C. § 103(a) over Shively in view of Stopler, and further in view of Bremer

(Ex. 1017). Bremer issued on May 8, 1990. See Ex. 1017. Accordingly, Bremer is

prior art under § 102(b).

        Challenge #4: Claims 8, 11, 13, 22, 25, and 27 are obvious under 35 U.S.C.

§ 103(a) over Shively in view of Stopler, further in view of Bremer, and further in

view of Gerszberg.

        Challenge #5: Claims 7 and 21 are obvious under 35 U.S.C. § 103(a) over

Shively in view of Stopler, further in view of Bremer, and further in view of

Flammer. Flammer issued on May 7, 1996, and is prior art under § 102(b). See Ex.

1019.

        D.     Level of Ordinary Skill in the Art

        The level of ordinary skill in the art may be reflected by the prior art of

record. See Okajima v. Bourdeau, 261 F.3d 1350, 1355 (Fed. Cir. 2001); In re

GPAC Inc., 57 F.3d 1573, 1579 (Fed. Cir. 1995). Here, the person of ordinary skill



                                          10
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Ex. 1009, p. 43; Ex. 1012, Fig. 5 (annotated).

      Second, as analyzed above in portions [1.1] and [1.2], Shively teaches

modulating each of multiple carriers using quadrature amplitude modulation

(QAM). It would have been obvious to a POSITA to employ Stopler’s phase

scrambling techniques in Shively’s transmitter. Ex. 1009, p. 45. Thus, Shively

and Stopler render obvious “a method for scrambling the phase characteristics of

the carrier signals.” Ex. 1009, p. 45.

[1.4] “transmitting the plurality of data bits from the first transceiver to the
second transceiver;”

      Shively and Stopler each render this limitation obvious.

      First, as analyzed above in portion [1.0], Shively teaches a transmitting

modem that is a “first transceiver” and a receiving modem that is a “second

transceiver.” Ex. 1009, pp. 45. Shively further teaches that the transmitting

modem sends digital data to the receiving modem:

        [T]he invention provides a transmitting modem receiving digital
        data from a data source, modulating carriers to represent the
        digital data, and applying a resulting modulated signal to a channel
        connectable to a receiving modem.
Ex. 1011, 8:56-60.

      As analyzed above in portion [1.1], it would have been obvious to a POSITA

that Shively’s digital data are “data bits.” Ex. 1009, p. 46. Thus, Shively renders



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Trials@uspto.gov                                                 Paper 7
571-272-7822                                    Entered: November 4, 2016

       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                         CISCO SYSTEMS, INC.,
                               Petitioner,

                                      v.

                             TQ DELTA, LLC,
                              Patent Owner.
                              ____________

                            Case IPR2016-01021
                            Patent 8,718,158 B2
                              ____________


Before SALLY C. MEDLEY, KALYAN K. DESHPANDE, and
TREVOR M. JEFFERSON, Administrative Patent Judges.

MEDLEY, Administrative Patent Judge.



                                  DECISION
                      Institution of Inter Partes Review
                              37 C.F.R. § 42.108




                                  Appx6402
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IPR2016-01021
Patent 8,718,158 B2

                           I.   INTRODUCTION
      Cisco Systems, Inc. (“Petitioner”) filed a Petition requesting an inter
partes review of claims 1‒30 of U.S. Patent No. 8,718,158 B2 (Ex. 1001,
“the ’158 patent”). Paper 2 (“Pet.”). TQ Delta, LLC (“Patent Owner”) filed
a Preliminary Response. Paper 6 (“Prelim. Resp.”). Institution of an inter
partes review is authorized by statute when “the information presented in the
petition . . . and any response . . . shows that there is a reasonable likelihood
that the petitioner would prevail with respect to at least 1 of the claims
challenged in the petition.” 35 U.S.C. § 314(a); see 37 C.F.R. § 42.108.
Upon consideration of the Petition and Preliminary Response, we conclude
the information presented shows there is a reasonable likelihood that
Petitioner would prevail in establishing the unpatentability of claims 1–30 of
the ’158 patent.
                            A. Related Proceedings
      Petitioner indicates that the ’158 patent is the subject of several
pending judicial matters. Pet. 1.
                          B. The ʼ158 Patent (Ex. 1001)
      The ’158 patent relates to multicarrier communications systems that
lower the peak-to-average power ratio (PAR) of transmitted signals.
Ex. 1001, 1:28‒31. A value is associated with each carrier signal, and a
phase shift is computed for each carrier signal based on the value associated
with that carrier signal. Id. at 2:38‒41. The value is determined
independent of the input bit value carried by the carrier signal. The
computed phase shift value is combined with the phase characteristic of that
carrier signal to substantially scramble the phase characteristics of the carrier



                                        2

                                     Appx6403
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signals. Id. at 2:38‒45. Figure 1 illustrates the multicarrier communication
system and is reproduced below:




      Figure 1 illustrates the multicarrier communication system, digital
subscriber line (DSL) communication system 2, which includes discrete
multitoned (DMT) transceiver 10 communicating with remote transceiver 14
over communication channel 18 using transmission signal 38 having a
plurality of carrier signals. Id. at 3:27‒31. DMT transceiver 10 includes
DMT transmitter 22 and DMT receiver 26. Id. at 3:31‒32. Remote
transceiver also includes transmitter 30 and receiver 34. Id. at 3:32‒34.
DMT transmitter 22 transmits signals over communication channel 18 to
receiver 34. Id. at 3:40‒42.
      DMT transmitter 22 includes a quadrature amplitude modulation
(QAM) encoder 42, modulator 46, bit allocation table (BAT) 44, and phase

                                      3

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scrambler 66. Id. at 3:53‒56. QAM encoder 42 has a single input for
receiving serial data bit stream 54 and multiple parallel outputs to transmit
QAM symbols 58 generated by QAM encoder 42 from bit stream 54. Id. at
3:65‒4:1. Modulator 46 provides DMT modulation functionality and
transforms QAM symbols 58 into DMT symbols 70. Id. at 4:12‒14.
Modulator 46 modulates each carrier signal with a different QAM symbol
58, and, therefore, this modulation results in carrier signals having phase and
amplitude characteristics based on QAM symbol 58. Id. at 4:15‒18.
Modulator 46 also includes phase scrambler 66 that combines a phase shift
computed for each QAM-modulated carrier signal with the phase
characteristics of that carrier signal. Id. at 4:31‒34.
                             C. Illustrative Claim
      Petitioner challenges claims 1‒30 of the ’158 patent. Claims 1 and 15
are independent claims. Claims 2‒14 and 29 depend, either directly or
indirectly, from claim 1, and claims 16‒28 and 30 depend, either directly or
indirectly, from claim 15. Claim 1 is reproduced below.

      1.     In a multicarrier modulation system including a first
      transceiver in communication with a second transceiver using a
      transmission signal having a plurality of carrier signals for
      modulating a plurality of data bits, each carrier signal having a
      phase characteristic associated with at least one bit of the
      plurality of data bits, a method for scrambling the phase
      characteristics of the carrier signals comprising:

            transmitting the plurality of data bits from the first
      transceiver to the second transceiver;

            associating a carrier signal with a value determined
      independent of any bit of the plurality of data bits carried by the


                                        4

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        carrier signal, the value associated with the carrier signal
        determined by a pseudo-random number generator;

              determining a phase shift for the carrier signal at least
        based on the value associated with the carrier signal;

               modulating at least one bit of the plurality of data bits on
        the carrier signal; and

               modulating the at least one bit on a second carrier signal
        of the plurality of carrier signals.

Ex. 1001, 10:59–11:11.
                   D. The Alleged Grounds of Unpatentability
        The information presented in the Petition sets forth proposed grounds
of unpatentability of claims 1‒30 of the ’158 patent under 35 U.S.C.
§ 103(a) as follows (Pet. 9‒10):1
                                                       Claims
             References
                                                      Challenged
      Shively2 and Stopler3                     1, 2, 4, 15, 16, and 18
      Shively, Stopler, and
                                             3, 5, 14, 17, 19, and 28‒30
    Gerszberg4
      Shively, Stopler, and
                                           6, 9, 10, 12, 20, 23, 24, and 26
    Bremer5
      Shively, Stopler, Bremer,
                                               8, 11, 13, 22, 25, and 27
    and Gerszberg


1
  Petitioner supports its challenges with the Declaration of Dr. Jose Tellado.
Ex. 1009.
2
  U.S. Patent No. 6,144,696; issued Nov. 7, 2000 (Ex. 1011) (“Shively”).
3
  U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012)
(“Stopler”).
4
  U.S. Patent No. 6,424,646 B1; issued July 23, 2002 (Ex. 1013)
(“Gerszberg”).
5
  U.S. Patent No. 4,924,516; issued May 8, 1990 (Ex. 1017) (“Bremer”).
                                        5

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                                                      Claims
              References
                                                     Challenged
      Shively, Stopler, Bremer,
                                                      7 and 21
    and Flammer6

                              II.     ANALYSIS
                            A. Claim Construction
        The Board interprets claims of an unexpired patent using the broadest
reasonable construction in light of the specification of the patent in which
they appear. See 37 C.F.R. § 42.100(b); Office Patent Trial Practice Guide,
77 Fed. Reg. at 48,766. Under the broadest reasonable construction
standard, claim terms are given their ordinary and customary meaning, as
would be understood by one of ordinary skill in the art in the context of the
entire disclosure. In re Translogic Tech. Inc., 504 F.3d 1249, 1257 (Fed.
Cir. 2007).
                                    “multicarrier”
        Each of independent claims 1 and 15 recites a “multicarrier.”
Petitioner proposes that we interpret the phrase to include “multiple
carriers.” Pet. 8‒9. Petitioner arrives at its proposed interpretation by
explaining that although the term is not expressly defined, the Specification
of the ’158 patent describes a conventional multicarrier communications
system as using a combination of multiple carriers. Id. at 9 (citing Ex. 1001,
1:33‒47). Patent Owner argues that the term “multicarrier” need not be
interpreted to render a decision on whether to institute trial. Prelim. Resp.
11. We determine that it is not necessary to interpret the term “multicarrier”
for purposes of this decision.


6
    U.S. Patent No. 5,515,369; issued May 7, 1996 (Ex. 1019) (“Flammer”).
                                       6

                                       Appx6407
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                                 “transceiver”
      Each of independent claims 1 and 15 recites a “transceiver.”
Petitioner proposes that we interpret transceiver to include “a device, such as
a modem, with a transmitter and a receiver.” Pet. 9. Petitioner arrives at its
proposed interpretation by explaining that the word “transceiver” is a
combination of the words transmitter and receiver and that the specification
of the ’158 patent refers to transceivers as modems. Id. (citing Ex. 1009, 23;
Ex. 1001, 1:42, 3:30‒53).
      Patent Owner argues that the term “transceiver” need not be
interpreted to render a decision on whether to institute trial. Prelim. Resp.
11. Patent Owner, however, does not submit that Petitioner’s proposed
interpretation of the term “transceiver” is incorrect. Based on the record
before us, at this stage of the proceeding, we adopt Petitioner’s interpretation
of “transceiver” to include “a device, such as a modem, with a transmitter
and receiver.”
             B. Asserted Obviousness over Shively and Stopler
      Petitioner contends that claims 1, 2, 4, 15, 16, and 18 are unpatentable
under 35 U.S.C. § 103(a) as obvious over Shively and Stopler. Pet. 11–32.
Relying on the testimony of Dr. Jose Tellado, Petitioner explains how the
combination of Shively and Stopler allegedly meets all of the claim
limitations. Id. (citing Ex. 1009).
                              Shively (Ex. 1011)
      Shively discloses discrete multitoned transmission (DMT) of data by
digital subscriber loop (DSL) modems and the allocation of bits to the
discrete multitones. Ex. 1011, 1:5‒8. Bit allocation is performed to
optimize throughput within aggregate power and power spectral density

                                        7

                                      Appx6408
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mask limits. Id. at 4:17‒19. The system includes a transmitting modem and
a receiving modem connected by a cable having four twisted pairs of
conductors. Id. at 9:63‒65. The modems include a source encoder, a
channel decoder, and a digital modulator to take in and transmit data from a
data source. Id. at 10:9‒12. The modems also include a digital
demodulator, a channel decoder, and a source decoder to receive the data
and supply it to a data sink. Id. at 10:12‒14. The source encoder
compresses data, applies the compressed data to the channel decoder, which
performs error correction. Id. at 10:15‒19. The error corrected data is
applied to the digital modulator, which acts as the interface with the
communication channel. Id. at 10:15‒22. The digital demodulator
constructs a data stream from the modulated signal and applies it to the
channel decoder, which performs error correction, and then applies the
corrected data to the source decoder, which decompresses the data. Id. at
10:22‒26.
      In the QAM multitoned modulation, the spectrum is broken into
multiple sub-bands or QAM channels. Id. at 10:27‒29. The digital
modulator generates N QAM signal tones, one for each QAM channel.
Id. at 10:29‒30. The serial stream is segmented in to N frames, each having
allocated to it ki bits of data. Id. at 10:30‒31. The multi-carrier modulator
generates N QAM tones, one for each channel, at the same symbol rate but
with a respective constellation for each channel. Id. at 10:35‒37.
                              Stopler (Ex. 1012)
      Stopler discloses a method and apparatus for encoding/framing a data
stream of multitoned modulated signals to improve impulse burst immunity.
Ex. 1012, 1:8‒11. The encoding/framing scheme allows efficient operation

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in multipoint to point channels affected by ingress and impulsive
interference. Id. at 5:11‒14. Two dimensional interleaving is performed,
with one dimension being time and the other dimension being frequency
(tones or sub-channels). Id. at 5:18‒20. Stopler further discloses a
diagonalization scheme, where data packets are spread over time in a
diagonal fashion, such that an impulse noise affects more than one user’s
packets, with the effect on each being reduced. Id. at 5:64‒67.
                                    Analysis
      Claim 1 recites “[i]n a multicarrier modulation system including a first
transceiver in communication with a second transceiver.” Petitioner
contends, for example, that Shively’s description of two communicating
modems meets the first and second transceivers. Pet. 17. Petitioner further
contends that Shively describes a multicarrier modulation system.
Pet. 17 (citing Ex. 1011, 1:5‒7, 1:35‒38).
      Claim 1 further recites “using a transmission signal having a plurality
of carrier signals for modulating a plurality of data bits.” Petitioner
contends, for example, that Shively describes a transmitting modem that
receives digital data from a data source and modulates separate carriers to
represent the digital data, which results in a modulated signal sent to a
receiving modem. Pet. 19 (citing Ex. 1011, 5:22‒26). Petitioner further
contends that Shively explains that the available frequency spectrum is
divided into multiple QAM channels, which a person of ordinary skill in the
art would have understood to be a “plurality of carrier signals for modulating
a plurality of data bits.” See Pet. 19; Ex. 1009, 36.
        Claim 1 recites “each carrier signal having a phase characteristic
associated with at least one bit of the plurality of data bits.” Petitioner

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contends that Shively describes that quadrature amplitude modulation
(QAM), for example, produces a signal whose phase and amplitude convey
the encoded k-bits of information and that a person having ordinary skill in
the art would have understood that the phase of a signal used in QAM to
convey bits is a phase characteristic as claimed. Pet. 20; Ex. 1011, 1:29‒30;
Ex. 1009, 38.
      Claim 1 further recites a “method for scrambling the phase
characteristics of the carrier signals.” Petitioner contends that Stopler
describes a phase scrambler that applies a phase scrambling sequence to data
in the form of m-tuples which are to be mapped into QAM symbols. Pet. 22;
Ex. 1012, 12:20‒28. Petitioner contends that the QAM symbols are then
provided to a modulator which implements the particular signal modulation.
Pet. 22; Ex. 1012, 12:55‒57, Fig. 5; Ex. 1009, 39‒40. Petitioner explains,
with supporting evidence, that it would have been obvious to a person
having ordinary skill in the art that modulating the phase-scrambled QAM
symbols results in the phases of the carrier signals being scrambled. Pet. 22;
Ex. 1009, 44. Petitioner contends that it would have been obvious to a
person having ordinary skill in the art to employ Stopler’s phase scrambling
techniques in Shively’s transmitter. Pet. 22; Ex. 1009, 45.
      Claim 1 also recites “transmitting the plurality of data bits from the
first transceiver to the second transceiver.” Petitioner relies on Shively’s
description of a transmitting modem that transmits data bits to a receiving
modem to meet this limitation. Pet. 23. Claim 1 also recites “associating a
carrier signal with a value determined independently of any bit of the
plurality of data bits carried by the carrier signal, the value associated with
the carrier signal determined by a pseudo-random number generator.”

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Petitioner relies on Stopler to meet this limitation. In particular, Petitioner
contends that Stopler teaches a pseudo random generator that outputs
consecutive output pairs that are converted into numbers 2a+b. Pet. 24;
Ex. 1012, 12:28‒45. The value (2a+b), derived from the pseudo-random
number generator, Petitioner contends, is a “value determined independently
of any bit of the plurality of data bits carried by the carrier signal.” Pet. 24;
Ex. 1009, 48. Petitioner further explains, with supporting evidence, that
because Stopler teaches that the value (2a+b) is associated with a symbol
that is transmitted on a sub-channel having a carrier frequency, the value
(2a+b) is associated with a carrier signal. Pet 25; Ex. 1009, 48‒49.
      Claim 1 recites “determining a phase shift for the carrier signal at least
based on the value associated with the carrier signal.” Petitioner contends
that Stopler teaches that the (2a+b) value is used to determine a phase shift
because the sum (2a+b) is used to select the amount of rotation to be applied
to the symbol, where the phase rotation can be 0, π/2, π, or -π/2. Pet. 25;
Ex. 1012, 12:28‒45; Ex. 1009, 49. Petitioner contends that a person having
ordinary skill in the art would have understood that applying a rotation to the
symbol results in a phase shift in the carrier signal after the symbol is
modulated onto the carrier. Pet. 25‒26; Ex. 1009, 49.
      Claim 1 recites “modulating at least one bit of the plurality of data bits
on the carrier signal” and “modulating the at least one bit on a second carrier
signal of the plurality of carrier signals.” Petitioner points to descriptions in
Shively that describes determining “a respective carrier modulated to
transmit one bit in each of a plurality of multitone subchannels of the
channel” and “modulating a first set of respective carriers to represent
respective unique portions of the data stream.” Pet. 26 (quoting Ex. 1011,

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8:3‒6, 8:5‒13). Petitioner further contends that Shively employs QAM
multitone modulation, and Shively’s multiple sub-bands or QAM channels
correspond to the claimed “plurality of carrier signals.” Pet. 26; Ex. 1009,
51. Petitioner submits that Stopler also teaches using QAM to convey data
bits on carrier signals. Pet. 26‒27. Petitioner explains that it would have
been obvious to a person with ordinary skill in the art to employ the
techniques of Shively and Stopler to modulate at least one bit of the plurality
of data bits on the carrier signal. Id. at 27 (citing Ex. 1009, 52). Petitioner
further argues that Shively discloses modulating a portion of data on
multiple carriers, and, therefore, meets the “second carrier” claim limitation.
Id. at 27‒29.
      Petitioner provides reasonable rationale for combining Shively and
Stopler. Pet. 14‒24. For example, Petitioner argues that “[i]t would have
been obvious for a POSITA to combine Shively and Stopler because the
combination is merely a use of a known technique to improve a similar
device, method or product in the same way.” Id. at 14 (citing Ex. 1009, 27).
Petitioner explains that a person of ordinary skill in the art would have
recognized that “by transmitting redundant data on multiple carriers,
Shively’s transmitter would suffer from an increased peak-to-average power
ratio” because “the overall transmitted signal in a multicarrier system is
essentially the sum of its multiple subcarriers.” Id. (citing Ex. 1009, 27).
Petitioner asserts that a person of ordinary skill in the art “would have
sought out an approach to reduce the [(peak-to-average power ratio)] PAR of
Shively’s transmitter” and “Stopler provides a solution for reducing the PAR
of a multicarrier transmitter.” Id. at 15 (citing Ex. 1009, 29). Petitioner
argues that Stopler discloses “a phase scrambler [that] can be employed to

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randomize the phase of the individual subcarriers” (Id. at 15 (quoting
Ex. 1012, 12:24‒28)) and “[a] POSITA would have recognized that by
randomizing the phase of each subcarrier, Stopler provides a technique that
allows two subcarriers in Shively’s system to transmit the same bits, but
without those two subcarriers having the same phase.” Id. at 15. Petitioner
explains that “[s]ince the two subcarriers are out-of-phase with one another,
the subcarriers will not reach their peak power at the same time,” thereby
reducing the peak-to-average power ratio (PAR) in Shively’s system. Id.
Accordingly, Petitioner argues that “[c]ombining Stopler’s phase scrambler
into Shively’s transmitter would have been a relatively simple and obvious
solution to reduce Shively’s PAR.” Id. at 16 (citing Ex. 1009, 29).
      Independent claim 15 is similar to claim 1. Petitioner has made a
showing with respect to claim 15 similar to its showing with respect to claim
1. See, e.g., Pet. 30‒32. To the extent that claim 15 is different from claim
1, Petitioner has accounted for such differences. We also have reviewed
Petitioner’s showing with respect to dependent claims 2, 4, 16, and 18.
Based on the current record before us, and notwithstanding Patent Owner’s
arguments, which we address below, we determine that there is a reasonable
likelihood that Petitioner would prevail in establishing that claims 1, 2, 4,
15, 16, and 18 would have been obvious over Shively and Stopler.
                         Patent Owner’s Contentions
      Patent Owner argues that “no review should be instituted because
Petitioner has not provided a sufficient rationale to combine Shively and
Stopler.” Prelim. Resp. 13. Specifically, Patent Owner argues (1) Shively
does not suffer from an increased peak-to-average power ratio (PAR),
(2) Shively only uses a small number of carriers and therefore would not

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suffer from a PAR problem, (3) Stopler is ambiguous as to what it teaches,
and (4) Petitioner’s rationale for combining Shively and Stopler suffers from
hindsight bias. Id. at 13‒21.
       We are not persuaded by Patent Owner’s attorney arguments because
such arguments do not persuade us that Petitioner’s challenge, which is
based on record evidence is insufficient to institute a trial. For example,
Petitioner explains, through the testimony of Dr. Tellado, that a person with
ordinary skill in the art would have recognized that the combination of
Shively and Stopler is nothing more than the use of a known technique to
improve a similar device, method or product. Pet. 14 (citing Ex. 1009, 27).
Dr. Tellado further explains why a person with ordinary skill in the art
would have recognized that Shively would have suffered from increased
PAR. Ex. 1009, 27. Patent Owner’s attorney arguments regarding Shively’s
lack of increased PAR and Stopler’s ambiguity are not persuasive because
they are not based on evidence of record, such as from a declarant attesting
to how a person of ordinary skill in the art would have understood the
teachings of Stopler and Shively. Furthermore, Dr. Tellado discloses that
the knowledge of the advantages and benefits of the combination were
known at the time of the invention, and, accordingly, we are not persuaded
that Petitioner’s rationale for combining Shively and Stopler is based on
impermissible hindsight. See Pet. 14‒16; Ex. 1009, 27‒30.
        C. Asserted Obviousness over Shively, Stopler, and Gerszberg
      Petitioner contends that claims 3, 5, 14, 17, 19, and 28–30 are
unpatentable under 35 U.S.C. § 103(a) as obvious over Shively, Stopler, and
Gerszberg. Pet. 33–41. Relying on the testimony of Dr. Jose Tellado,



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Petitioner explains how the combination of Shively, Stopler, and Gerszberg
allegedly meets all of the claim limitations. Id. (citing Ex. 1009).
      Gerszberg discloses using a Digital Subscriber Line (DSL) modem,
such as an ADSL modem, to transmit and receive modulated data. Ex. 1013,
11:66‒12:7. The modem uses DMT modulation to transmit data. Id. at
12:7‒9. Gerszberg further describes types of data services that may be
provided to subscriber premises by a DSL modem that uses DMT
modulation, such as high-speed internet access and video services. Id. at
7:44‒60, 8:16‒36, 10:63‒11:3. Gerszberg also describes that a DSL modem
can be used in various DSL communications, such as HDSL, ADSL, SDSL,
and VDSL. Id. at 9:66‒10:3.
      Based on the record before us, Petitioner has accounted sufficiently
for dependent claims 3, 5, 14, 17, 19, and 28–30. Pet. 33–41. For example,
claim 3 depends from claim 1 and recites “wherein one or more of the first
transceiver and second transceiver are VDSL transceivers.” Claim 17,
which depends from independent claim 15, is similar to claim 3. Petitioner
relies on Gerszberg’s description that its “DSL modem may be constructed
using any of the techniques described in the applications incorporated by
reference below” such as “High Speed Digital Subscriber Line (HDSL),
Asymmetric Digital Subscriber Line (ADSL), Symmetrical Digital
Subscriber Line (SDSL) and Very high data rate Digital Subscriber Line
(VDSL).” Pet. 37‒38 (emphasis omitted); Ex. 1013, 9:62‒10:3. Petitioner
contends that it would have been obvious to replace Shively’s ADSL
modems with VDSL modems, as taught by Gerszberg, in order to achieve
higher bandwidth. Pet. 38; Ex. 1009, 67. Moreover, Petitioner provides a



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rational reason for combining Gerszberg with the combined teachings of
Shively and Stopler. Pet. 34‒37.
      We have reviewed Petitioner’s showing with respect to all of claims 3,
5, 14, 17, 19, and 28–30 and determine that there is reasonable likelihood
that Petitioner would prevail in its challenge to those claims. Patent Owner
does not present arguments for any of those claims separate from the
arguments addressed previously.
           D. Asserted Obviousness over Shively, Stopler, and Bremer
      Petitioner contends that claims 6, 9, 10, 12, 20, 23, 24, and 26 are
unpatentable under 35 U.S.C. § 103(a) as obvious over Shively, Stopler, and
Bremer. Pet. 41–50. Relying on the testimony of Dr. Jose Tellado,
Petitioner explains how the combination of Shively, Stopler, and Bremer
allegedly meets all of the claim limitations. Id. (citing Ex. 1009).
      Bremer relates to encoding and decoding techniques for a data signal
that is transmitted over a communications channel. Ex. 1017, 1:41‒67.
Bremer describes using a pseudorandom generator to encode the gain or
phase of a signal prior to transmission, and on the receiving end, uses a
second pseudorandom generator to decode the encoded data signal. Id. at
1:53‒64.
      Based on the record before us, Petitioner has accounted sufficiently
for dependent claims 6, 9, 10, 12, 20, 23, 24, and 26. Pet. 41–50. For
example, claim 6 depends from claim 1 and recites “independently deriving
the values associated with each carrier using a second pseudo-random
number generator in the second transceiver.” Claim 20, which depends from
independent claim 15, is similar to claim 6. Petitioner contends that Bremer
teaches that when a transmitting device includes components causing a

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pseudorandom phase shift to the transmitted signal, a receiving device
requires complementary components to decode the signal. Pet. 45;
Ex. 1017, 1:60–65. Petitioner further contends that Bremer describes
altering gain and phase modifiers of a data signal being transmitted from a
QAM modem based on values from a pseudorandom signal generator, which
generates a pseudorandom number. Pet. 45; Ex. 1017, Abstract, 2:32;
Ex. 1009, 77. Petitioner further contends that the values produced by a
second pseudorandom number generator are independent of the values
produced by a first pseudorandom number generator. Pet. 46; Ex. 1017,
4:10–16, 4:35–36; Ex. 1009, 80. Petitioner provides rational reasoning for
combining Bremer with the combined teachings of Shively and Stopler.
Pet. 42‒44.
      We have reviewed Petitioner’s showing with respect to all of claims 6,
9, 10, 12, 20, 23, 24, and 26 and determine that there is reasonable
likelihood that Petitioner would prevail in its challenge to those claims.
Patent Owner does not present arguments for any of those claims separate
from the arguments addressed previously.
    E. Asserted Obviousness over Shively, Stopler, Bremer, and Gerszberg
      Petitioner contends that claims 8, 11, 13, 22, 25, and 27 are
unpatentable under 35 U.S.C. § 103(a) as obvious over Shively, Stopler,
Bremer, and Gerszberg. Pet. 50–53. Relying on the testimony of Dr. Jose
Tellado, Petitioner explains how the combination of Shively, Stopler,
Bremer, and Gerszberg allegedly meets all of the claim limitations. Id.
(citing Ex. 1009).
      Based on the record before us, Petitioner has accounted sufficiently
for dependent claims 8, 11, 13, 22, 25, and 27. Pet. 50–53. For example,

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claim 11 depends from claim 6, and recites “wherein the first and second
transceivers are VDSL transceivers.” Claim 25, which depends from claim
20, is similar to claim 11. Petitioner relies on Gerszberg’s description that
its “DSL modem may be constructed using any of the techniques described
in the applications incorporated by reference below” such as “High Speed
Digital Subscriber Line (HDSL), Asymmetric Digital Subscriber Line
(ADSL), Symmetrical Digital Subscriber Line (SDSL) and Very high data
rate Digital Subscriber Line (VDSL).” Pet. 37‒38 (emphasis omitted), 52;
Ex. 1013, 9:62‒10:3. Petitioner contends that it would have been obvious to
replace Shively’s ADSL modems with VDSL modems, as taught by
Gerszberg, in order to achieve higher bandwidth. Pet. 38, 52; Ex. 1009, 67,
89. Moreover, Petitioner provides a rational reason for combining
Gerszberg with the combined teachings of Shively and Stopler. Pet. 50‒51.
      We have reviewed Petitioner’s showing with respect to all of claims 8,
11, 13, 22, 25, and 27 and determine that there is reasonable likelihood that
Petitioner would prevail in its challenge to those claims. Patent Owner does
not present arguments for any of those claims separate from the arguments
addressed previously.
     F. Asserted Obviousness over Shively, Stopler, Bremer, and Flammer
       Petitioner contends that claims 7 and 21 are unpatentable under 35
U.S.C. § 103(a) as obvious over Shively, Stopler, Bremer, and Flammer.
Pet. 53–60. Relying on the testimony of Dr. Jose Tellado, Petitioner
explains how the combination of Shively, Stopler, Bremer, and Flammer
allegedly meets all of the claim limitations. Id. (citing Ex. 1009).
      Flammer relates to data transmission between a source node and a
target node, where each node has a transmitter and a receiver. Ex. 1019,

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Abstract. Flammer uses pseudo-random number generators in its
communication system. Flammer describes synchronization between
pseudo-random number generators at different ends of a communication
channel. Id. at 3:49–4:10. As part of the synchronization, an acquisition/
synchronization packet is transmitted that includes a seed value from the
source node to the target node. Id. at 3:52–58. The transmitted seed value is
used to initialize the pseudo-random number generators executing at the
respective source and target nodes. Id. at 3:52–4:9. Once the pseudo-
random number generators at both the source node and the target node have
the same seed value, they can generate identical pseudo-random number
sequences for selecting frequency bands. Id. at 4:42–53.
      Based on the record before us, Petitioner has accounted sufficiently
for dependent claims 7 and 21. Pet. 50–53. Claim 7 depends from claim 6
and recites “using in the first and second transceivers a same seed for the
first and second pseudo-random number generators and the value of the seed
is transmitted from the first transceiver to the second transceiver.” Claim
21, which depends from claim 20, is similar to claim 7. Petitioner contends
that Flammer teaches a transceiver as a node having a transmitter and a
receiver. Pet. 57; Ex. 1019, Abstract. Petitioner further contends that in
Flammer, the source node is the first transceiver and the target node is the
second transceiver. Ex. 1009, 92. Petitioner argues that Flammer teaches
that it was known for the pseudo-random number generators in the source
node and the target node to use the same seed value. Pet. 57; Ex. 1019,
3:52–67; Ex. 1009, 92–93. Petitioner further explains, with supporting
evidence, that Flammer teaches transmitting a value of a seed from a source
node (a first transceiver) to a target node (a second transceiver) when the

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target node receives an acquisition/synchronization packet which contains
information about the node, including a seed value. Moreover, Petitioner
provides a rational reason for combining Flammer with the combined
teachings of Shively, Stopler, and Bremer. Pet. 54‒57.
      We have reviewed Petitioner’s showing with respect to claims 7 and
21 and determine that there is reasonable likelihood that Petitioner would
prevail in its challenge to those claims. Patent Owner does not present
arguments for claims 7 and 21 separate from the arguments addressed
previously.
                                 III. CONCLUSION
      For the foregoing reasons, we determine that the information
presented establishes a reasonable likelihood that Petitioner would prevail in
showing that claims 1–30 of the ’158 patent are unpatentable. At this
preliminary stage, we have not made a final determination with respect to
the patentability of the challenged claims or any underlying factual and legal
issues.
                                  IV. ORDER
      Accordingly, it is:
      ORDERED that pursuant to 35 U.S.C. § 314(a), an inter partes
review is hereby instituted for the following grounds of unpatentability:
 References                       Basis                   Claims
 Shively and Stopler             § 103(a)         1, 2, 4, 15, 16, and 18
 Shively, Stopler, and
                                 § 103(a)       3, 5, 14, 17, 19, and 28‒30
 Gerszberg
 Shively, Stopler, and
                                 § 103(a)     6, 9, 10, 12, 20, 23, 24, and 26
 Bremer
 Shively, Stopler,
                                 § 103(a)        8, 11, 13, 22, 25, and 27
 Bremer, and Gerszberg

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 References                        Basis                    Claims
 Shively, Stopler,
                                 § 103(a)                   7 and 21
 Bremer, and Flammer

      FURTHER ORDERED that no other ground of unpatentability
asserted in the Petition is authorized for this inter partes review; and
      FURTHER ORDERED that pursuant to 35 U.S.C. § 314(c) and
37 C.F.R. § 42.4, notice is hereby given of the institution of a trial; the trial
will commence on the entry date of this decision.


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Trials@uspto.gov                                               Paper 11
571-272-7822                                  Entered: January 19, 2017



       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                        DISH NETWORK, LLC,
                              Petitioner,

                                     v.

                           TQ DELTA, LLC,
                            Patent Owner.
                            ____________

                          Case IPR2017-00255
                          Patent 8,718,158 B2
                            ____________

Before SALLY C. MEDLEY, KALYAN K. DESHPANDE, and
TREVOR M. JEFFERSON, Administrative Patent Judges.

MEDLEY, Administrative Patent Judge.


                                DECISION
                    Institution of Inter Partes Review
                            37 C.F.R. § 42.108
                     Petitioner’s Motion for Joinder
                          37 C.F.R. § 42.122(b)




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                               I. INTRODUCTION
         DISH Network, L.L.C. (“Petitioner” or “Dish”) filed a Petition for
inter partes review of claims 1‒30 of U.S. Patent No. 8,718,158 B2
(Ex. 1001, “the ’158 patent”). Paper 3 (“Pet.”). Concurrently with its
Petition, Dish filed a Motion for Joinder with Cisco Systems, Inc. v. TQ
Delta, LLC, Case IPR2016-01021 (“the Cisco IPR”). Paper 2 (“Mot.”). TQ
Delta, LLC (“Patent Owner”) submits that it does not oppose joinder. See
Paper 8. Patent Owner also elected to waive its Preliminary Response. Id.
         For the reasons explained below, we institute an inter partes review of
claims 1–30 of the ’158 patent and grant Dish’s Motion for Joinder.

                          II. RELATED PROCEEDINGS
         Petitioner and Patent Owner identify several pending judicial matters
as relating to the ’158 patent. Pet. 1; Mot. 2–3; Paper 4, 2–3.
         In the Cisco IPR, we instituted an inter partes review of claims 1–30
of the ’158 patent on the following ground:

    References                     Basis                   Claims
    Shively 1 and Stopler2        § 103(a)          1, 2, 4, 15, 16, and 18
    Shively, Stopler, and
                                  § 103(a)       3, 5, 14, 17, 19, and 28‒30
    Gerszberg 3
    Shively, Stopler, and
                                  § 103(a)     6, 9, 10, 12, 20, 23, 24, and 26
    Bremer 4



1
  U.S. Patent No. 6,144,696; issued Nov. 7, 2000 (Ex. 1011) (“Shively”).
2
  U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012)
(“Stopler”).
3
  U.S. Patent No. 6,424,646 B1; issued July 23, 2002 (Ex. 1013)
(“Gerszberg”).
4
  U.S. Patent No. 4,924,516; issued May 8, 1990 (Ex. 1017) (“Bremer”).
                                       2
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    References                    Basis                    Claims
    Shively, Stopler,
                                 § 103(a)          8, 11, 13, 22, 25, and 27
    Bremer, and Gerszberg
    Shively, Stopler,
                                 § 103(a)                  7 and 21
    Bremer, and Flammer 5

Cisco Systems, Inc. v. TQ Delta, LLC, Case IPR2016-01021, slip op. at 20–
21 (PTAB Nov. 4, 2016) (Paper 7) (“Cisco Dec.”).

                 III. INSTITUTION OF INTER PARTES REVIEW
        The Petition in this proceeding asserts the same grounds of
unpatentability as the ones on which we instituted review in the Cisco IPR.
Compare Pet. 12–63, with Cisco Dec. 20–21. Indeed, Petitioner contends
that the Petition asserts only the grounds that the Board instituted in the
Cisco IPR, there are no new arguments for the Board to consider, and
Petitioner relies on the same exhibits and expert declaration as the Cisco
IPR. Mot. 5.
        For the same reasons set forth in our institution decision in the Cisco
IPR, we determine that the information presented in Dish’s Petition shows a
reasonable likelihood that Petitioner would prevail in showing that
(a) claims 1, 2, 4, 15, 16, and 18 would have been obvious over Shively and
Stopler, (b) claims 3, 5, 14, 17, 19, and 28‒30 would have been obvious over
Shively, Stopler, and Gerszberg, (c) claims 6, 9, 10, 12, 20, 23, 24, and 26
would have been obvious over Shively, Stopler, and Bremer, (d) claims 8,
11, 13, 22, 25, and 27 would have been obvious over Shively, Stopler,
Bremer, and Gerszberg, and (e) claims 7 and 21 would have been obvious
over Shively, Stopler, Bremer, and Flammer. See Cisco Dec. 7–20.


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    U.S. Patent No. 5,515,369; issued May 7, 1996 (Ex. 1019) (“Flammer”).
                                       3
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Accordingly, we institute an inter partes review on the same grounds as the
ones on which we instituted review in the Cisco IPR. We do not institute
inter partes review on any other grounds.

                 IV. GRANT OF MOTION FOR JOINDER
      The Petition and Motion for Joinder in this proceeding were accorded
a filing date of November 11, 2016. See Paper 7. Thus, Petitioner’s Motion
for Joinder is timely because joinder was requested no later than one month
after the institution date of the Cisco IPR, i.e., November 4, 2016. See 37
C.F.R. § 42.122(b).
      The statutory provision governing joinder in inter partes review
proceedings is 35 U.S.C. § 315(c), which reads:
      If the Director institutes an inter partes review, the Director, in
      his or her discretion, may join as a party to that inter partes
      review any person who properly files a petition under section
      311 that the Director, after receiving a preliminary response
      under section 313 or the expiration of the time for filing such a
      response, determines warrants the institution of an inter partes
      review under section 314.

A motion for joinder should (1) set forth reasons why joinder is appropriate;
(2) identify any new grounds of unpatentability asserted in the petition;
(3) explain what impact (if any) joinder would have on the trial schedule for
the existing review; and (4) address specifically how briefing and discovery
may be simplified. See Kyocera Corp. v. Softview LLC, Case IPR2013-
00004, slip op. at 4 (PTAB Apr. 24, 2013) (Paper 15).
      As noted, the Petition in this case asserts the same unpatentability
grounds on which we instituted review in the Cisco IPR. See Mot. 5. Dish
also relies on the same prior art analysis and expert testimony submitted by
the Cisco Petitioners. See id. Indeed, the Petition is nearly identical to the

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petition filed by the Cisco Petitioners with respect to the grounds on which
review was instituted in the Cisco IPR. See id. Thus, this inter partes
review does not present any ground or matter not already at issue in the
Cisco IPR.
      If joinder is granted, Dish anticipates participating in the proceeding
in a limited capacity absent termination of Cisco Petitioner as a party. Id. at
6. Dish agrees to “assume a limited ‘understudy’ role” and “would only take
on an active role if Cisco were no longer a party to the IPR.” Dish further
represents that it “presents no new grounds for invalidity and its presence in
the proceedings will not introduce any additional arguments, briefing or
need for discovery.” Id. Because Dish expects to participate only in a
limited capacity, Dish submits that joinder will not impact the trial schedule
for the Cisco IPR. Id. at 5–6.
      We agree with Petitioner that joinder with the Cisco IPR is
appropriate under the circumstances. Accordingly, we grant Petitioner’s
Motion for Joinder.

                                  V. ORDER
      Accordingly, it is:
      ORDERED that an inter partes review is instituted in IPR2017-
00255;
      FURTHER ORDERED that the Motion for Joinder with IPR2016-
01021 is granted, and DISH Network, L.L.C. is joined as a petitioner in
IPR2016-01021;
      FURTHER ORDERED that IPR2017-00255 is terminated under
37 C.F.R. § 42.72, and all further filings shall be made only in IPR2016-
01021;

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                                    Appx6427
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      FURTHER ORDERED that, subsequent to joinder, the grounds for
trial in IPR2016-01021 remain unchanged;
      FURTHER ORDERED that, subsequent to joinder, the Scheduling
Order in place for IPR2016-01021 (Paper 8) remains unchanged;
      FURTHER ORDERED that in IPR2016-01021, the Cisco Petitioner
and Dish will file each paper, except for a motion that does not involve the
other party, as a single, consolidated filing, subject to the page limits set
forth in 37 C.F.R. § 42.24, and shall identify each such filing as a
consolidated filing;
      FURTHER ORDERED that for any consolidated filing, if Dish
wishes to file an additional paper to address points of disagreement with the
Cisco Petitioner, Dish must request authorization from the Board to file a
motion for additional pages, and no additional paper may be filed unless the
Board grants such a motion;
      FURTHER ORDERED that the Cisco Petitioner and Dish shall
collectively designate attorneys to conduct the cross-examination of any
witness produced by Patent Owner and the redirect of any witness produced
by the Cisco Petitioner and Dish, within the timeframes set forth in 37
C.F.R. § 42.53(c) or agreed to by the parties;
      FURTHER ORDERED that the Cisco Petitioner and Dish shall
collectively designate attorneys to present at the oral hearing, if requested
and scheduled, in a consolidated argument;
      FURTHER ORDERED that the case caption in IPR2016-01021 shall
be changed to reflect joinder of Dish as a petitioner in accordance with the
attached example; and



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      FURTHER ORDERED that a copy of this Decision shall be entered
into the record of IPR2016-01021.




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       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

          CISCO SYSTEMS, INC. and DISH NETWORK, LLC,
                           Petitioner,

                                   v.

                           TQ DELTA, LLC,
                            Patent Owner.
                            ____________

                          Case IPR2016-01021 1
                           Patent 8,718,158 B2
                             ____________




1
  DISH Network, L.L.C., who filed a Petition in IPR2017-00255, has been
joined as a petitioner in this proceeding.




                                Appx6430
          Case: 18-1766    Document: 49-2   Page: 318   Filed: 11/21/2018




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          UNITED STATES PATENT AND TRADEMARK OFFICE
                          _____________

           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                          _____________

             CISCO SYSTEMS, INC. and DISH NETWORK, LLC
                              Petitioners

                                      v.

                               TQ DELTA, LLC
                                 Patent Owner
                                _____________


                           Case No. IPR2016-010211
                             Patent No. 8,718,158
                               _____________


          PATENT OWNER RESPONSE UNDER 37 CFR § 42.120

1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00255, has been joined
as a petitioner in this proceeding.



                                    Appx6431
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                                                                                       Patent Owner Response
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I.    INTRODUCTION
      Patent Owner TQ Delta, LLC submits this Patent Owner Response under 37

CFR § 42.120 to the Petition filed by Cisco, Inc. requesting inter partes review for

claims 1–30 of U.S. Pat. No. 8,718,158 (“the ’158 patent”).

      The Board instituted inter partes review on five grounds:

      1. whether claims 1, 2, 4, 15, 16, and 18 of the ’158 patent are unpatentable
      under 35 U.S.C. § 103(a) over U.S. Pat. No. 6,144,696 (“Shively”) and U.S.
      Pat. No. 6,625,219 (“Stopler”);

      2. whether claims 3, 5, 14, 17, 19, and 20–30 of the ’158 patent are
      unpatentable under 35 U.S.C. § 103(a) over Shively, Stopler, and U.S. Pat.
      No. 6,424,646 (“Gerszberg”);

      3. whether claims 6, 9, 10, 12, 20, 23, 24, and 26 of the ’158 patent are
      unpatentable under 35 U.S.C. § 103(a) over Shively, Stopler, and U.S. Pat.
      No. 4,924,516 (“Bremer”);

      4. whether claims 8, 11, 13, 22, 25, and 27 of the ’158 patent are
      unpatentable under 35 U.S.C. § 103(a) over Shively, Stopler, Bremer, and
      Gerszberg; and

      5. whether claims 7 and 21 of the ’158 patent are unpatentable under 35
      U.S.C. § 103(a) over Shively, Stopler, Bremer, and U.S. Pat. No. 5,515,369
      (“Flammer”).

      After institution, additional parties—including: Dish Network, LLC;

Comcast Cable Communications, LLC; Cox Communications, Inc.; Time Warner

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Cable Enterprises LLC; Verizon Services Corp.; and ARRIS Group, Inc.—filed

petitions that are identical in all substantive respects to the Cisco Petition. See

IPR2017-00255 and IPR2017-00417. These additional parties moved to join as

petitioners, and collectively with Cisco, are referred to herein as “Petitioners.” For

brevity, this Patent Owner response will cite only to the Cisco Petition and its

corresponding exhibits.

      In the Institution Decision, the Board did not reach the merits of Patent

Owner’s arguments in the Patent Owner Preliminary Response, but rather

characterized them as “attorney argument” and accepted Petitioners’ expert

declarant’s testimony as true because Patent Owner did not support it’s argument

with expert testimony. This Patent Owner Response is fully supported by the cited

evidence, including the declaration of Dr. Robert T. Short.

      The Petition fails to prove, by a preponderance of the evidence, that any

claim of the ’158 patent is unpatentable because there is no credible or accurate

evidence demonstrating why one having ordinary skill in the art would have

combined Shively and Stopler.         Petitioners’ rationale for the combination

fundamentally relies on the contention that Shively suffers from a problem (i.e., a

problem with its “peak-to-average power ratio” or “PAR”) that Stopler solves the

purported problem by performing “phase scrambling.” But, Shively does not have

a PAR problem so there would have been no motivation to look for a solution.



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      Additionally, with respect to claims 1–15, Stopler does not disclose phase

scrambling as recited. Furthermore, for claims 6–13, 20–28, and 30, Petitioners

have not asserted a legally recognizable reason for combining Bremer with Stopler

or Shively.     Instead of satisfying their burden, Petitioners misunderstand the

teachings of these references, make unsupported assumptions having no basis in

fact, and, ultimately rely on only hindsight bias to cobble together the references.

      As such, Petitioners’ grounds for alleged obviousness fail. Patent Owner

respectfully requests that the Board issue a Final Written Decision finding that

Petitioners did not meet their burden to prove unpatentability of claims 1–30 of the

’158 patent.

II.   INTRODUCTION TO TECHNOLOGICAL CONCEPTS

      In order to understand the issues at hand in this IPR, it is first necessary to be

able to answer the following questions:

         1) What is a multicarrier system?

         2) What is peak-to-average power ratio, or “PAR”?

         3) Under what conditions does a PAR “problem” occur?

         4) How are the terms “symbol” and “carrier” used in this Patent Owner
               Response and accompanying declaration?

This introduction answers these questions.




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       A.     Multicarrier Systems
       The ’158 patent discloses a system that communicates using multicarrier

signals. Ex. 1001 at 1:28–31. A multicarrier signal includes a number of carrier

signals (or carriers) each operating at a different frequency.      Each carrier is

modulated to encode one or more bits (i.e., “1” or “0”). Each carrier effectively

serves as a separate sub-channel for carrying data. The carriers are combined as a

group to produce a transmission signal, which is transmitted across a transmission

medium (e.g., phone lines, coaxial cable, the air, etc.) to a receiver. See Ex. 2003

at ¶ 17.

       In an example illustrated below, four carriers—Carrier 1, Carrier 2, Carrier

3, and Carrier 4—are combined simultaneously into one transmission signal.




See Ex. 2003 at ¶ 18.


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      Multicarrier systems may use the phase of carriers to encode different bit

values. In the example illustrated above, a carrier with a phase of zero represents a

bit value of “0”; conversely, a carrier with a phase-shift of π (or 180°) represents a

bit value of “1”. In this example, Carriers 1, 2, and 4 have a phase-shift of π, and

therefore each represent a “1”. Carrier 3 has as phase of zero, and therefore

represents a “0”. Together, these four carriers encode input bits having binary

values of 1, 1, 0, and 1. This information is transmitted as a single transmission

signal—that is, the irregular waveform shown above on the right side of the figure.

In practice, a multicarrier transmission signal will typically comprise a

combination of many more than four carriers (e.g., hundreds or even thousands of

carriers) and in this way can substantially increase the “speed” or data carrying

capacity of the system. See Ex. 2003 at ¶ 19.

      B.     Peak-to-Average Power Ratio (“PAR”)

      A multicarrier transmission signal can be characterized by a metric known as

“PAR,” which stands for peak-to-average ratio or peak-to-average power ratio. Ex.

1001 at 1:64–2:4. As the ’158 patent explains, “The PAR of a transmission signal

is the ratio of the instantaneous peak value (i.e., maximum magnitude) of a signal

parameter (e.g., voltage, current, phase, frequency, power) to the time-average

value of the signal parameter.” Id. at 1:67–2:4 (emphasis added). References to

PAR herein relate to PAR for the power of a transmission signal. See Ex. 2003 at


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¶ 20.

        One of the central issues in this IPR relates to PAR. In the following

illustration, a signal (blue) has a peak power (red line) and an average power (black

line). The ratio of the peak power to the average power of the signal is the PAR.




See Ex. 2003 at ¶ 21.

        A high PAR can occur when a large number (or percentage) of the carriers

have the same phase.       The ’158 patent recognized that: “If the phase of the

modulated carriers [in a transmission signal] is not random, then the PAR can

increase greatly.” Ex. 1001 at 2:17–18. The phases of the carriers would not be

“random,” for example, when the underlying data being modulated is repetitive

(e.g., a long string of 0s or a long string of 1s), or where the same bit or bits is/are


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purposely sent in a redundant manner on multiple carriers. In the example below,

all 25 of the carriers have the same phase of zero (which would be the case if the

same bit or bits was/were sent on every carrier). Because the carrier signals are

“in-phase,” their amplitudes will add together to create a transmission signal

(illustrated on the right side of the figure below) having large spikes in amplitude

and, therefore, a high PAR.




See Ex. 2003 at ¶ 22.

      C.     PAR “Problem”
      Because a multicarrier transmission signal is the sum of many carrier

signals, the transmission signal is expected to have a significant PAR.

Conventional multicarrier systems, therefore, were designed to accommodate a

degree PAR. There is only a PAR “problem,” however, when an undue amount of


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PAR-induced errors occur in a multicarrier transmitter. See Ex. 2003 at ¶ 23.

      Electronic components in a multicarrier transceiver are ideally designed to

process multicarrier signals without distortion. Distortion occurs when a signal

exceeds the capacity (or dynamic range) of an electronic component, such as an

amplifier, a digital-to-analog converter, or an analog-to-digital converter. When

the maximum dynamic range of a component is exceeded, the signal will become

distorted or will “clip.”




See Ex. 2003 at ¶ 24.

      As a result of clipping, the portion of the signal exceeding the component’s

dynamic range is truncated and the information in the cut off signal portion is lost.

See Ex. 2003 at ¶ 25.



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       One way to reduce the probability of clipping is to use transceiver

components with larger dynamic ranges.         Such components, however, can be

expensive and may consume a relatively large amount of power. Increasing the

dynamic ranges of the components to eliminate any possibility of clipping,

therefore, can be impractical. See Ex. 2003 at ¶ 26.

       Instead of demanding ideal circuitry, multicarrier systems are designed to

actually allow a certain amount of clipping. This design criterion is specified as a

“clipping rate.” One such multicarrier system is digital subscriber line (“DSL”).2

In DSL at the time of the invention (referred to herein as “ADSL-1995”) the

maximum allowable clipping rate is one in every 107 (ten million) samples, which

corresponds to a clipping probability of 10-7 (or one in ten million). Ex. 1018 at p.

64, § 6.11.1. This exact clipping probability is also referenced in the ’158 patent.


2
    This is an apt example, as DSL is the subject technology of a preferred

embodiment in the ’158 patent (Ex. 1001 at 3:27–28), Shively (Ex. 1011 at 1:4–5),

Stopler (Ex. 1012 at 12: 23–24), and Gerszberg (Ex. 1013 at 1:19–26).               A

particular DSL standard in use at the time of the invention is defined in Petitioners’

Exhibit 1018—ANSI standard T1.413-1995 (“ADSL-1995”). The ADSL-1995

standard is described in Shively (Ex. 1011 at 1:51–53 and 2:12–24) and is

discussed in the Petition at p. 37. See Ex. 2003 at ¶ 28.



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See Ex. 1001 at 2:8–10. See Ex. 2003 at ¶ 27.

      In ADSL-1995, the ideal sampling rate is approximately 2.2 million

samples/second. Given this sampling rate and a clipping probability of 10-7, there

would be a clipping error when processing a transmission signal about once every

4.55 seconds on average. This clipping rate is deemed acceptable because, at this

rate, error correction methods are capable of fixing the errors cause by clipping.

See Ex. 2003 at ¶ 29.

      A PAR “problem” exists when the probability of clipping or average

clipping rate exceeds the maximum allowable rate. In the example above, if there

is a clipping error once every 3 seconds (on average), then a PAR problem exists—

because the rate of clipping is unacceptably high since 3 seconds is less than 4.55

seconds. As the inventor of the ’158 patent recognized, “If the phase of the

modulated carriers is not random, then the PAR can increase greatly.” Ex. 1001 at

2:17–18. “An increased PAR can result in a system with high power consumption

and/or with high probability of clipping the transmission signal.” Id. at 2:27–29

(emphasis added). Contrarily, if probability of clipping or average clipping rate

does not increase above the acceptable rate of the system (e.g., 10-7 or once every

4.55 seconds on average in ADSL-1995), then there is no PAR problem. See Ex.

2003 at ¶ 30.




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      One way to decrease the impact of PAR and reduce the probability of

clipping is by reducing the overall signal power below the maximum overall signal

power for which the system was designed, as depicted below.




See Ex. 2003 at ¶ 31.

      As discussed below in § IV.A, the system disclosed in Shively is an example

of a system in which the overall signal power is reduced below the maximum

overall signal power for which the system was designed. Such power reduction is

shown by Shively, and it results in a system with virtually no clipping at all. See

Ex. 2003 at ¶ 32.

      D.     A Note On Terminology
      There is some overlap and apparent inconsistency with certain terminology


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used by Petitioners and the references of record. Particularly confusing is the use

of “symbol.” Generally, “symbol” can have two meanings. First, “symbol” can

refer to information transmitted on one carrier during a predefined time period (i.e.,

a “symbol period”).      Second, “symbol” can refer to all of the information

transmitted on all of the carriers in a symbol period.        The individual carrier

symbols are often referred to as “QAM symbols,” where “QAM” (Quatrature

Amplitude Modulation) is a commonly-used type of modulation used to modulate

a carrier symbol onto a carrier. A multicarrier “symbol” (i.e., the collection of

multiple carrier symbols) is often referred to as a “DMT symbol,” where “DMT”

(Discrete Multitone) is a type of multicarrier technology. See Ex. 2003 at ¶ 33.

      In order to keep things clear and to avoid apparent inconsistency/overlap

with the term “symbol,” this Patent Owner Response and accompanying

declaration employ the terms “carrier” and “symbol” as follows:

           “carrier” means a carrier symbol (e.g., a QAM symbol); and

           “symbol” means a collective multicarrier symbol in a single symbol

             period (e.g., a DMT symbol).

See Ex. 2003 at ¶ 34. This Patent Owner Response and accompanying declaration

also use appropriate editorializing to distinguish between a “carrier” and a

“symbol” in the references of record, the Petition, and Petitioners’ expert’s

declaration. See id. at ¶ 35.


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       Further adding to potential confusion is that the terms “carrier,”

“subcarrier,” “band,” “sub-band,” “bin,” “channel,” and “tone” are often used

interchangeably. Ex. 1011 at 1:42–43 (“sub-bands or frequency bins”); id. at 1:48

(“sub-band channels”); id. at 5:13–15 (“carrier”); id. at 10:40–41 (“subcarriers”);

id. at 12:39 (“bin (channel)”); Ex. 1012 at 1:41 (“tones or bands”).               For

consistency, Patent Owner has used the term “carrier” as much as possible in this

Patent Owner Response and accompanying declaration. See Ex. 2003 at ¶ 36.

III.   CLAIM CONSTRUCTION

       Petitioners proposed to construe two claim terms: “multicarrier” and

“transceiver.” Patent Owner maintains that it is not necessary to construe either of

these terms to resolve the issues at hand.

       Additionally, Patent Owner proposes to construe “scramble…a plurality of

carrier phases” to mean “scramble a plurality of carrier phases in a single

multicarrier symbol.”

       A.     “Multicarrier”
       With respect to “multicarrier,” the Board agreed with Patent Owner that

there is no need to construe this term for the purposes of the institution decision.

       B.     “Transceiver”
       While the Board opted to construe “transceiver,” Patent Owner maintains

that a construction is not necessary to evaluate the grounds of unpatentability


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presented by the Petitioners. The Board adopted Petitioners’ proposal, namely that

a “transceiver” is “a device, such as a modem, with a transmitter and a receiver.”

Institution Decision, Paper No. 7 at p. 7. In a corresponding district court matter,

Patent Owner proposed to construe “transceiver” to mean “a communications

device capable of transmitting and receiving data over the same physical medium

wherein the transmitting and receiving functions are implemented using at least

some common circuitry.”       Ex. 2007 at p. 8.       The district court construed

“transceiver” to mean “a communications device capable of transmitting and

receiving data wherein the transmitter portion and receiver portion share at least

some common circuitry.”        See id. at pp. 8–9.      Petitioners’ arguments fail

irrespective of which of the foregoing constructions for “transceiver” is used.

      C.     “Scrambling The Phase Characteristics Of The Carrier Signals”
      In the context of the ’158 patent, “scrambling the phase characteristics of the

carrier signals” (claim 1) should be construed to mean “adjusting the phases of a

plurality of carriers in a single multicarrier symbol by pseudo-randomly varying

amounts.” This construction is fully supported by the specification of the ’158

patent, and it clarifies that the claimed phase scrambling must be performed

amongst the individual carrier phases in a single multicarrier symbol. In other

words, the claimed phase scrambling is not met if the phase adjustment only occurs

over time from one symbol to the next. See Ex. 2003 at ¶ 37.


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      The ’158 patent is directed exclusively to multicarrier modulation systems.

See Ex. 1001 at 1:28–31 (“This invention relates to communications systems using

multicarrier modulation. More particularly, the invention relates to multicarrier

communications systems that lower the peak-to-average power ratio (PAR) of

transmitted signals.”); 3:34–39 (“Although described with respect to discrete

multitone modulation, the principles of the invention apply also to other types of

multicarrier modulation, such as, but not limited to, orthogonally multiplexed

quadrature amplitude modulation (OQAM), discrete wavelet multitone (DWMT)

modulation, and orthogonal frequency division multiplexing (OFDM).”).

Furthermore, every independent claim is directed to a “multicarrier modulation

system” (claims 1 and 15).       The ’158 patent discloses several multicarrier

techniques and uses “discrete multitone modulation” (“DMT”) as an example. Id.

at 3:34–39. See Ex. 2003 at ¶ 38.

      As discussed above in § II.A, a multicarrier signal includes the combination

of a plurality of carriers, where each carrier has a different frequency and its own

phase. In the embodiment of the ’158 patent, each of the plurality of carriers

corresponds to a different QAM symbol. See, e.g., Ex. 1001 at 4:15–16 (“The

modulator 46 modulates each carrier signal with a different QAM symbol 58.”).




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Each carrier (or QAM symbol) has its own phase or phase characteristic.3 See,

e.g., id. at 4:9–11 (“The QAM symbols 58 represent the amplitude and the phase

characteristic of each carrier signal.”). The combination of these carriers (or QAM

symbols) is referred to as a DMT symbol (which is an exemplary type of

multicarrier symbol).      See, e.g., id. at 9:8–9 (“…a set of QAM symbols 58

produces a DMT symbol 70….”). See Ex. 2003 at ¶ 39.

       The ’158 patent repeatedly discloses a “phase scrambler” that scrambles the

phases or phase characteristics of carriers within a single DMT symbol. See Ex.

1001 at 6:53–8:13. As the ’158 patent explains, PAR in the transmission signal is

reduced by adjusting the carrier phases within a single DMT symbol. See id. at

6:32–53. If the carrier phases were only adjusted from one symbol to the next,

PAR would not be reduced. See Ex. 2003 at ¶¶ 41–42.

       In a corresponding district court matter, the court construed “scrambling the

phase characteristics of the carrier signals” to mean “adjusting the phase

characteristics of the carrier signals by pseudo-randomly varying amounts.” Ex.


3
    The term “phase characteristic” in the ’158 patent is interchangeable with

“phase.” See Ex. 1001 at 1:42–44 (“The DMT transmitter typically modulates the

phase characteristic, or phase, and amplitude of the carrier signals….”). See Ex.

2003 at ¶ 40.



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2007 at pp. 10–11. During prosecution of a child application to the ’158 patent

(U.S. Pat. No. 9,014,243), the applicant explained that a “scrambler” operates “by

pseudo-randomly selecting bits to invert.” Ex. 2008 at p. 18. There was no

fundamental disagreement between parties that scrambling involves adjusting the

phase characteristics of a carrier signal by pseudo-randomly varying amounts. Ex.

2007 at pp. 10–11.

      Furthermore, when Petitioners’ expert was asked about his application of the

claims to the asserted Stopler reference, he expressed his opinion that the claims

require phase scrambling within a single multicarrier symbol. In his declaration,

he contends that the claims are invalid over a combination of at least Shively and

Stopler. Ex. 1009 at ¶¶ 54, 72, 85, 94, and 98. Pertinently, he alleges that Stopler

discloses the claim recitation of     “scrambling the phase characteristics of the

carrier signals.” Id. at p. 41–45 (element “1.3”).

      During cross-examination, Petitioners’ expert discussed his opinion that

Stopler discloses scrambling within a single multicarrier symbol.       Indeed, he

specifically rejected that Stopler’s phase scrambling could be performed from one

multicarrier symbol to the next. Note, in the transcript excerpt below, a “DMT

symbol” refers to a single multicarrier symbol, while a “QAM symbol” refers to a

single carrier in the DMT (or multicarrier) symbol.

      Q. But you didn't take into consideration when you interpreted that
      [section of Stopler], that it may be talking about randomizing

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         overhead channels from [one] DMT symbol to the next, did you?
         A. The natural interpretation, since Stopler is teaching how to
         randomize plural overhead channel symbols [i.e., “carriers”], the
         natural interpretation is that each symbol [i.e., “carrier”] would have a
         different phase rotation.
         Q. So you're suggesting that each symbol from one symbol to the
         next would have a different phase rotation?
         A. No. No. Individual QAM symbols [i.e., “carrier”] within the same
         modulation block [i.e., “symbol”].
         Q. Where does it say that?
         A. If you read the paragraph, “The input to the QAM mapper 82”—
         we’re on column 12, line 21. “The input to the QAM mapper 82 is
         data in the form of m-tuples which are to be mapped into QAM
         symbols”—basically getting m-tuples, mapping them to one QAM
         symbol—“for example, ranging from QPSK to 256-QAM tone by
         tone.” So in the context of QAM mapper 82, which is in Figure 5, this
         block is processing at the QAM symbol by the QAM symbol, so each
         QAM symbol is processed individually. The constellation mapping
         may be the same as that used in ADSL. So again, it uses ADSL as an
         example. “In order to randomize the overhead channel symbols, a
         phase scrambling sequence is applied to the output symbols.” It’s in
         the context of QAM mapper 82 mapping m-tuples groups of bits into
         QAM symbols, one symbol at a time, tone by tone, inserting overhead
         channel symbols, which are plural, and phase scrambling is applied to
         these symbols. My interpretation has been applied on a QAM symbol
         by QAM symbol [i.e., “carrier by carrier”].
Ex. 2002 at 107:7–108:18 (emphasis added). See, more generally, id. at 104:20–

109:5.

         Thus, Petitioners’ expert has interpreted the claim term “scrambling the

phase characteristics of the carrier signals” to require adjusting the phases of a

plurality of carriers within a single multicarrier symbol. Consequently, the term



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“scrambling the phase characteristics of the carrier signals” should be construed to

mean “adjusting the phases of a plurality of carriers in a single multicarrier symbol

by pseudo-randomly varying amounts.” See Ex. 2003 at ¶ 37.

IV.   OVERVIEW OF ASSERTED REFERENCES—SHIVELY AND
      STOPLER
      In every instance, Petitioners allege that the challenged claims are

unpatentable at least over Shively in view of Stopler.

      A.     Shively
      Shively discloses a concept intended to increase the useable bandwidth in a

multicarrier communications system.      Ex. 1011 at 1:5–20. Shively teaches a

theoretical way to transmit data over a transmission medium having high signal

attenuation at frequencies corresponding to a significant number of carriers. See

Ex. 2003 at ¶ 43.

      To appreciate Shively’s teachings, it necessary to understand such impaired

transmission mediums. Shively specifically describes “long loop” systems, where

the length of cable between transmitting and receiving DSL modems is at least

18,000 feet (about 3.4 miles):

      Referring to FIGS. 1 and 2, a transmitting modem 31 is connected to a
      receiving modem 32 by a cable 33 having four twisted pairs of
      conductors. In long loop systems where cable 3 is of length of the
      order 18,000 feet or more, high signal attenuation at higher
      frequencies (greater than 500 kHz) is usually observed. This
      characteristic of cable 33 is represented graphically by curve A in
      FIG. 1.

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Ex. 1011 at 9:63–10:2 (emphasis added); see also, id., at 11:11–12 (“Such noisy

and/or highly attenuated sub-bands can occur for example in long-run twisted pair

conductors.”). See Ex. 2003 at ¶ 44.

      FIG. 1 of Shively, which is annotated with color below, is illustrative:




FIG. 1 of Shively shows carriers at increasing frequencies along the x-axis. Each

carrier is delineated by vertical lines. Power level is indicated along the y-axis.

Green line (A) represents an attenuation/noise floor, which increases as a function

of frequency. Ex. 1011 at 2:1–12. Shively explains that attenuation at higher

frequencies is a problem across long cables. Id. at 9:65–10:2 (“In long loop

systems where cable 3 is of length of the order 18,000 feet or more, high signal


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attenuation at higher frequencies (greater than 500 kHz) is usually observed.”).

Green line (A) is a characteristic of a communications channel, and it does not

illustrate a transmitted signal. Id. at 10:61–11:12. See Ex. 2003 at ¶ 45–46.

      Blue line (B) is the minimum power margin above the attenuation/noise

floor (green line (A)) that is required to transmit a single bit on a given carrier. Ex.

1011 at 2:8–10. Red line (C) illustrates a “spectral density mask,” which is a type

of power limit imposed by system design. Id. at 2:10–12 (“Curve C represents the

limits imposed by a power spectral density mask imposed by an external

communications standard.”).      Power transmitted on a given individual carrier

cannot exceed red line (C). See Ex. 2003 at ¶ 47.

      As FIG. 1 illustrates, blue line (B) is below red line (C) for the carriers

shaded in purple. In these purple-shaded carriers, there is sufficient headroom to

transmit a signal representing at least one bit without exceeding the power limit

imposed by the spectral density mask (red line (C)). For the carriers shaded in

orange, however, blue line (B) exceeds red line (C). Because the attenuation/noise

(green line (A)) for these orange-shaded carriers is too high, a bit cannot be

reliably transmitted without exceeding the imposed spectral density mask (red line

(C)). In other words, the minimum required power margin (blue line (B)) is

greater than the spectral density mask (red line (C)). Ex. 1011 at 10:65–11:3. See

Ex. 2003 at ¶ 48.



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        Shively proposes a way to transmit data using some of the impaired (orange-

shaded) carriers. Specifically, some of the impaired carriers, although having

insufficient channel quality to transmit a single bit, have some limited power

available between the attenuation/noise floor (green line (A)) and the spectral

density mask (red line (C)).      Shively makes use of this available power by

“spreading” a single bit of data across multiple impaired carriers. See Ex. 2003 at

¶ 49.

        Shively’s receiver combines (adds) the signals that were sent on the

impaired carriers to recover the information:

        According to the invention, digital modulator 14 replicates
        (“spreads”) a k-bit symbol over multiple adjacent bands with
        correspondingly less energy in each band. At the receiving end,
        detector 49 coherently recombines (“despreads”) the redundant
        symbols in the noisy/attenuated sub-bands. In recombining the
        symbols, the symbols are simply arithmetically added. Because the
        noise is incoherent while the signal is coherent, the noise tends to be
        averaged out while the signal is reinforced by the addition process.

Id. at 11:16–24. See Ex. 2003 at ¶ 50.

        Although not explicitly depicted in FIG. 1, one having ordinary skill in the

art understood that there are carriers in addition to those shaded in purple and

orange that are completely unusable under any circumstance—even with Shively’s

spreading concept. According to this reality, FIG. 1 can be expanded to look like

this:




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Ex. 2003 at ¶ 51.

       The pink-shaded carriers are at frequencies higher than the orange-shaded

carriers.    The pink-shaded carriers are completely unusable because the

attenuation/noise floor (green line (A)) is greater than the imposed spectral density

mask power limit (red line (C)). See Ex. 2003 at ¶ 52.

       Shively discloses two different modes of operation for ADSL-1995: (1) a

normal mode; and (2) a “power-boost” mode. The normal mode is referenced by

Shively’s statement that: “The other limit is on the aggregate power, also defined

by an external communication standard, e.g., ANSI Standard T1.413-1995

[(ADSL-1995)] limits the total power for all sub-bands to 100 mWatts.” Ex. 1011

at 2:12–15. When referring to the cited ADSL-1995 standard, one having ordinary

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skill in the art would have understood that this aggregate power limit corresponds

to the normal mode. The standard confirms that the normal mode has an aggregate

power limit of 20.4 dBm, which is about 109.6 mW (or approximately 100 mW).

Ex. 1018 at p. 65. § 6.13.3 (“The normal aggregate power level shall not

exceed…20.4 dBm if all sub-carriers are used[].”). See Ex. 2003 at ¶ 53.

      The power-boost mode of ADSL-1995 is also described by Shively:

      The power spectral density mask may be dictated by the standard used
      in a particular country implementing the standard (such as A.N.S.I.
      standard T1.413-1995 [(ADSL-1995)])…For example, the power
      limit for frequencies or tones between 0 and 200 kilohertz must be
      less than -40 dBm/Hz (a power level referenced to one milliwatt over
      1 Hz bandwidth). Above 200 kHz (to frequencies in the megahertz of
      spectrum), the constraint may be -34 dBm/Hz.

Ex. 1011 at 1:51–65. When referring to ADSL-1995, one having ordinary skill in

the art would have understood that this spectral density mask scheme—lower

power (-40 dBm/Hz) on carriers at frequencies up to 200 kHz and higher power (-

34 dBm/Hz) on carriers at frequencies above 200 kHz—describes the ADSL-1995

power-boost mode. See Ex. 2003 at ¶ 54.

      The power-boost mode is illustrated below in a figure excerpted from the

ADSL-1995 standard, Ex. 1018 at p. 66:




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Note, in the figure above, “PSD” stands for power spectral density, which

corresponds to the spectral density mask power limit. See id. at p. 61, § 6.8. See

Ex. 2003 at ¶ 55.

      While the normal mode has an aggregate power limit of approximately 100

mW, the aggregate limit of the power-boost mode is approximately 344 mW. See

Ex. 1018 at p. 66 (“a power boost…total power = the sum of the powers (-4 +

10log(ncdown1)) and (2 + 10log(ncdown2)), where ncdown1 and ncdown2 are the

number of subcarriers used in the sub-bands i = 0 to 50, and i = 51 to 255,

respectively.”). Petitioners’ expert, however, misunderstood Shively by imagining

that a 100 mW aggregate power limit would be used in the power-boost mode. In



                                      25
                                     Appx6458
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particular, during cross-examination regarding the bases for his opinions regarding

Shively, he testified that he interpreted Shively as disclosing a single mode in

which the spectral density mask is -40 dBm/Hz for carriers in the frequency band

up to 200 kHz and -34 dBm/Hz for carriers in the frequency band above 200 kHz

and an aggregate power limit of approximately 100 mW. Ex 2002 at 43:7–25; see,

more generally, id. at 42:10–46:12. But this is clearly wrong because it is wholly

inconsistent with the ADSL-1995 standard to which Shively’s disclosure is

directed. See Ex. 2003 at ¶ 56.

        Indeed, having such a low aggregate power limit (100 mW, which is less

than 1/3 of the actual 344 mW aggregate power limit of power-boost mode in

ADSL-1995) would defeat the purpose of having a power-boost mode.

Notwithstanding Petitioners’ expert’s mistaken understanding of Shively—which

mixed the aggregate power limit of normal mode with the spectral density mask of

power-boost modes—one having ordinary skill in the art would have readily

paired the correct aggregate power limit and spectral density mask for a particular

mode when consulting the ADSL-1995 standard to which Shively’s disclosure is

directed.4 See Ex. 2003 at ¶ 57.


4
    To the extent Shively is incorrectly interpreted as disclosing a single mode in

which the spectral density mask is -40 dBm/Hz for carriers having frequencies up



                                       26
                                      Appx6459
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      In Shively’s proposed system using normal mode for ADSL-1995 across

18,000 foot wires, and given the average attenuation/noise characteristics of such a

long-loop, about 34% of the carriers would be unimpaired (i.e., would fall into the

purple-shaded region of the figure on page 23 supra), about 6% of the carriers

would be impaired (i.e., would fall into the orange-shaded region of the figure on

page 23 supra), and about 60% of the carriers would be unusable (i.e., would fall

into the pink-shaded region of the figure on page 23 supra). Thus, more than half

of the carriers cannot be used at all. Consequently, the power of a transmitted

signal will be reduced by 60%, thereby resulting in power levels only 40% of

maximum. See Ex. 2003 at ¶¶ 58–59.

      In Shively’s proposed system using power-boost mode for ADSL-1995


to 200 kHz and -34 dBm/Hz for frequencies above 200 kHz (as is the case for

boosted mode of ADSL-1995) and a total power limit of approximately 100 mW

(as is the case for the normal mode of ADSL-1995), one of skill in the art would

recognize this as an obvious error (Ex. 2003 at ¶ 57). See In re Yale, 434 F.2d 666,

668–69 (C.C.P.A. 1970) (“Since it is an obvious error, it cannot be said that one of

ordinary skill in the art would do anything more than mentally disregard [the

incorrect chemical] as a misprint or mentally substitute [the correct chemical] in its

place.”).



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                                       Appx6460
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across 18,000 foot wires, and given the average attenuation/noise characteristics of

such a long-loop, about 43% of the carriers would be unimpaired (purple-shaded),

about 6% of the carriers would be impaired (orange-shaded), and about 51% of the

carriers would be unusable (pink-shaded). Again, more than half of the carriers

cannot be used at all. Consequently, the power of a transmitted signal will be

reduced by 51%, thereby resulting in power levels only 49% of maximum. See Ex.

2003 at ¶ 60–61.

        While Shively’s “spreading” technique will contribute a small uptick in

clipping probability, any increase would be negated by the enormous reduction in

clipping probability achieved by reducing signal power by more than half. Based

on worst-case assumptions regarding Shively’s spreading technique, the clipping

probability for both normal and power-boost modes is virtually zero.5 See Ex. 2003


5
    For the normal mode, the clipping probability is 8.3*10-17. See Ex. 2003 at ¶ 63–

67. Assuming a sampling rate of 2.2 MHz for ADSL-1995, this would result in a

clipping error once every 173.7 years, on average. Id. For the power-boost mode,

the clipping probability is 1.4*10-15. Id. Using the same assumption for sampling

rate, this would result in a clipping error once every 10.3 years, on average. Id.

These numbers are many orders of magnitude larger than the error rate of 4.55

seconds discussed above.



                                         28
                                        Appx6461
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at ¶ 63–67.

      For cable lengths longer than 18,000 feet, an increasing number of carriers

becomes unusable (pink-shaded), resulting in even greater reductions in clipping

probabilities. See Ex. 2003 at ¶ 68.

      Not surprisingly, Shively does not mention anything about clipping or PAR.

Petitioners’ expert agreed:

      Q. Okay. Can you tell me, does the Shively reference include any
      discussion of PAR?

      A. I don't remember seeing it.

      Q. Okay. Does Shively include any explanation it's spreading
      invention causes an increase in PAR?

      A. I don't remember seeing that.

      Q. Does Shively explain anywhere that its spreading invention would
      cause a PAR problem?

      A. I don't remember seeing that.

      Q. Okay. So the Shively reference itself does not indicate that its
      invention creates any issue with PAR; right?

      A. I didn't see it.

Ex. 2002 at 14:2–15.

      B.      Stopler
      Unlike Shively, Stopler proposes an idea for use with both multicarrier

systems and “single-carrier” systems.     While multicarrier systems transmit a

transmission signal that combines multiple carriers each having a phase, a single-


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                                       Appx6462
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carrier system transmits a signal using only one carrier, which has only one phase.

See Ex. 2003 at ¶ 69.

        Stopler specifically teaches that his concept can be used with single-carrier

code-division multiple access (“CDMA”) systems. See, e.g., Ex. 1012 at 12:58–63

(“The framing scheme according to the present invention may also be performed in

a CDMA system, in which case the modulator (not shown) may, for example, be a

CDMA-type modulator in accordance with the TIA/EIA/IS-95 ‘Mobile Station

Compatibility Standard for Dual Mode Wideband Spread Spectrum Cellular

System.’”).6 See Ex. 2003 at ¶ 70.

        FIG. 5, which shows Stopler’s “framing scheme” (Ex. 1012 at 8:54–55), is

illustrative:


6
    As Petitioners’ expert explained during cross-examination, some CDMA

techniques can be used in a multicarrier system.            Ex. 2002 at 110:20–25.

However, Stopler only refers to CDMA techniques that are disclosed in two

references: (1) TIA/EIA/IS-95; and (2) “Proakis, ‘Digital Communications,’

Chapter 15.”     Ex. 1012 at 3:37–47 and 12:58–63.        Both TIA/EIA/IS-95 and

Proakis are incorporated by reference into Stopler. Id. at 3:37–47. Both describe

single-carrier CDMA techniques, exclusively. See Ex. 2005; Ex. 2006; Ex. 2003 at

¶ 71.



                                        30
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See Ex. 2003 at ¶ 72.

      Significantly, there is a block missing from FIG. 5—namely, a block

downstream from the QAM Mapper/Phase Scrambler 82:




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See Ex. 2003 at ¶ 73.

        The missing block would specify the type of “modulation” to be used,

whether the modulation be single-carrier or multicarrier. See Ex. 1012 at 12:55–

57 (“The output from the QAM mapper 82 is provided to a modulator (not shown)

which implements the particular signal modulation desired, e.g., VCMT, CDMA,

etc.”) (emphasis added).7 See Ex. 2003 at ¶ 74. So the missing block downstream

from the QAM Mapper/Phase Scrambler 82 could be a multicarrier modulator:




7
    Note, VCMT stands for “variable constellation multitone.” See id. at 2:9. This is

a type of multicarrier technique. Ex. 2003 at ¶ 74.



                                         32
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      Or the missing block could be a single-carrier modulator:




See Ex. 2003 at ¶ 76.

      In either case, Stopler’s phase scrambling scheme must at least be

compatible with single-carrier CDMA. This fact is reflected in Stopler’s claims.

For example, claim 25 of Stopler recites a “method of arranging and transmitting

data in a CDMA system.” Ex. 1012 at 16:4–5 (emphasis added). And claim 31,

which depends from claim 25, recites “phase scrambling”: “31. The method of

claim 25, wherein prior to said utilizing step, said method includes the step of

phase scrambling said upper level data and said second encoded data in



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                                     Appx6466
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accordance with said second encoded data.” Id. at 16:45–48 (emphasis added).

So, plainly, Stopler’s phase scrambling idea must be compatible with single-carrier

CDMA. See Ex. 2003 at ¶ 76.

      At issue in this IPR is whether Stopler’s phase scrambling is performed

within a single multicarrier symbol, or whether phase scrambling is performed

amongst a plurality of symbols (be they multicarrier or single-carrier), each

transmitted at a different time.    Because Stopler discloses and claims phase

scrambling with a single-carrier CDMA system, one of skill in the art would

understand Stopler to disclose the latter—phase scrambling is performed across

different symbols in time. Phase scrambling is not performed within a single

multicarrier symbol.

      Consider the following illustration of a multicarrier symbol:




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         The symbol includes eight carriers—Carrier1 to Carrier8. Each carrier has

an associated phase.        According to Petitioners’ incorrect argument, Stopler

discloses scrambling the phases of Carrier1–Carrier8. Petition at p. 15 (“Stopler

teaches that a phase scrambler can be employed to randomize the phase of the

individual [carriers].”).

         Consider now that three multicarrier symbols are transmitted at different

times:




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      Petitioners argue that Stopler’s phase scrambling is performed vertically,

within the red box—i.e., within one symbol. Petitioners’ expert further asserted

(during cross-examination) that Stopler’s phase scrambling is not performed

horizontally from symbol-to-symbol—e.g., within the blue box.      Ex. 2002 at

107:15–18 (“Q. So you're suggesting that each symbol from one symbol to the

next would have a different phase rotation? A. No. No. Individual QAM symbols

within the same modulation block.”); see, more generally, id. at 104:20–109:5.

This is wrong. See Ex. 2003 at ¶ 77.

      Petitioners’ flawed reasoning is easy to demonstrate, given that single-

carrier CDMA must be operable with Stopler’s phase scrambling. Single-carrier

systems have only one carrier with only one phase. Consider three single-carrier


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symbols sent at different times:




      It is nonsensical to scramble phases within a symbol because there is only

one phase in each symbol. Phase scrambling in a single-carrier system only makes

sense when it is performed over time from symbol-to-symbol, as illustrated by the

blue box. See Ex. 2003 at ¶ 78.

      There are various reasons that would have been recognizable to one having

ordinary skill in the art for performing phase scrambling from symbol-to-symbol.

For example, Petitioners’ expert suggested that pilot tones could be scrambled over

time “not to create a DC bias.” Ex. 2002 at 95:7–9; see, more generally, id. at

95:3–17. See Ex. 2003 at ¶ 79.



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      Another example for phase scrambling from symbol-to-symbol is detailed in

U.S. Pat. No. 6,370,156 (“the ’156 patent”), which has a priority date of January

31, 1997 (which is before the November 9, 1999 priority date of the ’158 patent).

The ’156 patent identifies a problem of “narrowbanded” interference in ADSL-

1995. Ex. 2004 at 1:55–2:16. This identical problem is also discussed in Stopler,

as depicted in FIG. 4:




See Ex. 2003 at ¶ 80.

      Stopler further explains: “One type of noise is ingress or narrowband

interference which typically occurs at a fixed frequency and lasts for a long time.”

Ex. 1012 at 1:36–38.      Stopler claims that his “invention” “allows efficient



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operation in multipoint to point channels which are affected by ingress

(narrowband noise) and impulsive (burst) interference.” Id. at 5:10–14. See Ex.

2003 at ¶ 81.

      Stopler addresses narrowband noise in two ways. First, as shown in Figure

4 reproduced above, a given carrier (e.g., carrier E) is assigned to a first user (e.g.,

User 1) at some times and to a different user (e.g., User 2) at other times. If

narrowband noise corrupts carrier E, the resulting bit errors have reduced impact

on each user compared to a system in which a given carrier is always assigned to a

single user. See Ex. 2003 at ¶ 82.

      This solution works for data, but it will not work for an overhead pilot

carrier because such a pilot must be received by all users at all times to allow the

receiver of each user to remain synchronized with the transmitter.                 Thus,

narrowband noise at the frequency of pilot tones must be addressed differently.

See Ex. 2003 at ¶ 82.

       According to a second narrowband-noise-reducing technique, Stopler

addresses narrowband noise at the frequency of an overhead pilot carrier by

scrambling the phase of the pilot carrier over time from one DMT symbol to the

next, i.e., by inter-symbol phase scrambling. See Ex. 2003 at ¶ 82.

      The teachings of the ’156 patent reveal how Stopler’s inter-symbol phase

scrambling concept reduces the problem of narrowband noise that interferes with a



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pilot carrier. The ’156 patent explains that ADSL-1995 has one carrier that is

assigned to be a pilot. Ex. 2004 at 1:61–63 (“As is indicated in [the ADSL-1995

standard], one of the carriers is reserved as a pilot carrier.”). Then, the technique

of phase scrambling the pilot carrier from symbol-to-symbol is explained:

      In a particular implementation of the present invention, the pilot
      carrier is modulated as a random or pseudo-random signal. In this
      way, by modulating a randomised signal on the pilot carrier, the state
      of the pilot carrier in the constellation scheme will change randomly
      so that the demodulation will have a good averaging effect resulting in
      an increase of the interference immunity.
Id. at 4:39–47 (emphasis added).

      It is to be remarked that, to have significant immunity against
      interferers, the data elements which are modulated on the pilot carrier,
      [have] to be sufficiently random so that the pilot carrier reaches all
      states in the constellation scheme and a good averaging of the
      interference is obtained by demodulation. This can be obtained by
      scrambling.
Id. at 5:11–17 (emphasis added). See Ex. 2003 at ¶ 83.

      Petitioners’ argument that Stopler discloses phase scrambling within one

symbol is based on the premise that the symbol can have multiple pilot tones. Yet

the Petition and accompanying declaration do not discuss or allude to even one

system or standard that uses multiple pilot tones in a single symbol. Instead,

Petitioners and their expert identify only ADSL (Petition at p. 13; Ex. 1009 at

¶ 58). But, as explained in Petitioners’ own exhibit (Ex. 1018), ADSL has exactly

one pilot tone in a symbol, not multiple pilot tones. Ex. 1017 at p. 62, § 6.9.1.2.

See Ex. 2003 at ¶ 84.


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        Petitioners and their expert highlight the ADSL standard and admit that it is

implemented in Stopler. Petition at p. 13 (“Stopler also explains that its signal

transmission scheme may implement techniques of DSL standards such as ‘ADSL

(Asymmetric Digital Subscriber Line).’”); Ex. 1009 at ¶ 58. Starting with the next

sentence, Petitioners and their expert state:

        Stopler also explains that some of the available carriers may be
        reserved for the transmission of overhead signals, such as pilot tones.
        Ex. 1012, 10:60–62 & 12:51–54. To randomize these overhead
        channels, Stopler employs a phase scrambler. Ex. 1012, 12:24–26. A
        POSITA would have understood that the values transmitted in an
        overhead channel may not be random, and in fact, may be highly
        structured. Ex. 1009, p. 26. Without the phase scrambler, the
        structured nature of the overhead channel could contribute to an
        increase in the peak-to-average power ratio of the transmitter. Id.

Petition at pp. 13–14 (emphasis added); see also Ex. 1009 at ¶ 59. See Ex. 2003 at

¶ 85.

        Petitioners’ expert, upon cross-examination, clarified that what he meant by

“highly structured” is that multiple pilot tones are present in a single symbol. Ex.

2002 at 105:11–20 (“Q. …What do you mean by ‘highly structured’? A. For

example, if the pilot tone is the same value in all overhead channels, that’s an

example of structured; repeating the same value multiple times.”); and 109:1–5

(“A.…[Stopler] specifically says ‘overhead symbols,’ which could be interpreted

to having two or more overhead symbols in one block.              And that was my

interpretation. It still is my interpretation.”); see, more generally, id. at 104:20–



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109:5. See Ex. 2003 at ¶ 85

        But Petitioners’ expert did not even realize that ADSL has only one pilot

tone. Ex. 2002 at 90:11–14 (“Q. Okay. So in an ADSL system, according to the

T1.413 standard, for example, there’s a single pilot tone; correct? A. I don't know

that.”); see, more generally, id. at 90:4–91:16.       At best, Petitioners’ expert’s

declaration is based on incomplete information about ADSL. See Ex. 2003 at ¶ 85.

        Instead of understanding that ADSL has only one pilot tone, Petitioners’

expert based his opinion on the fact that Stopler refers to “overhead carriers” and

that these multiple symbols must be in one symbol. Ex. 2002 at 109:1–5.8 But the

correct interpretation of Stopler’s reference to plural “overhead carriers” is that (a)

there is one overhead pilot carrier per symbol and (b) there are multiple symbols.

Ergo, Stopler refers to multiple overhead carriers. See Ex. 2003 at ¶ 86.

        As demonstrated by the ’156 patent, it was known by those with skill in the


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    Petitioners’ expert specifically testified: “[Stopler] specifically says ‘overhead

symbols,’ which could be interpreted to having two or more overhead symbols in

one block. And that was my interpretation. It still is my interpretation.” Ex. 2002

at 109:1–5.      To clarify a matter of terminology, (1) “overhead symbols”

correspond to “carriers,” and (2) “block” corresponds to “symbol” as used in this

Patent Owner Response. See Ex. 2003 at ¶ 86.



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art to scramble the phases on a pilot carrier from one single-carrier symbol to the

next in order to reduce the problem of narrowband noise, a problem recognized by

Stopler. Petitioners’ expert’s uninformed view, by contrast, is that Stopler’s phase

scrambling would be performed within one multicarrier symbol to reduce PAR.

Ex. 1009 at ¶ 60. Stopler, however, is silent on issues related to PAR, and, in fact,

does not mention the word “power” or PAR, or teach that its disclosure could be

used to resolve PAR problems, as confirmed by Petitioners’ expert:

      Q. Okay. And Stopler does not mention peak-to-average power ratio,
      does it?
      A. I did not see it.
      Q. Okay. And it doesn't state anywhere that it's addressing a PAR
      issue; correct?
      A. I didn't see that.
      Q. And it doesn't say anywhere that its teachings could potentially
      reduce PAR; correct?
      A. I didn't see it.
      Q. Okay. Would you be surprised if I told you that the Stopler
      reference doesn't even mention the word “power”?

      A. I didn't see it. I'm not surprised.

Ex. 2002 at 97:6–18. See Ex. 2003 at ¶ 87.

      Indeed, there is no reason that Stopler would discuss PAR because there is

no basis for concluding that Stopler has a PAR problem, and Stopler’s technique of

scrambling phases from one symbol to the next does not reduce PAR. See Ex.

2003 at ¶ 88.



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      Instead of Petitioners’ theory about reducing PAR, Stopler sheds some light

as to why he suggests performing “phase scrambling.” Stopler’s only stated reason

for scrambling phases is “to randomize the overhead channel symbols” plural. Ex.

1012 at 12:24–26. Because Stopler must be compatible with single-carrier CDMA

as discussed above, the only reasonable conclusion is that Stopler’s reference to

“overhead channel symbols” plural refers to scrambling phases from symbol-to-

symbol. See Ex. 2003 at ¶ 89.

      Furthermore, Stopler states that the phase scrambler is “applied to all

symbols, not just the overhead symbols” in order “to simplify implementation.”

But performing phase scrambling according to Petitioners’ interpretation—i.e.,

every carrier is scrambled within a symbol such that the signals on each of the

carriers within a symbol have a random distribution of phase adjustments—would

add complexity to Stopler’s system. Instead, the only simplifying way to execute

Stopler’s directive is to adjust the phases of all carriers within a single symbol by

the same amount. See Ex. 2003 at ¶ 90.

V.    PETITIONERS HAVE NOT PROVEN UNPATENTABILITY FOR
      THE CLAIMS OF THE ’158 PATENT
      The Petition fails to prove, by a preponderance of the evidence, that any

claim of the ’158 patent is unpatentable because there is no credible or accurate

evidence demonstrating why one having ordinary skill in the art would have

combined Shively and Stopler. Additionally, with respect to claims 1–15, Stopler

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does not disclose phase scrambling as recited. Furthermore, for claims 6–13, 20–

28, and 30, Petitioners have not asserted a legally recognizable reason for

combining Bremer with Stopler or Shively. Instead, Petitioners misunderstand the

teachings of these references, make unsupported assumptions having no basis in

fact, and, ultimately rely on only hindsight bias to cobble together the references.

      A.     Petitioners’ Argued Reasons To Combine Shively And Stopler Are
             Without A Rational Basis, Based On Factual Errors, And Suffer
             From Hindsight Bias
      Every assertion of invalidity (claims 1–30) is based on a combination of

Shively and Stopler. But virtually all of Petitioners’ (and Petitioners’ expert’s)

assumptions regarding reasons to combine Shively and Stopler are without a

rational basis, factually wrong, and suffer from hindsight bias.

             1.    Petitioners Provide No Explanation For The “Use Of
                   A Known Technique To Improve A Similar Device”
                   Rationale To Combine Shively And Stopler
      Petitioners argue that the combination of Shively and Stopler “is merely a

use of a known technique to improve a similar device, method, or product in the

same way.” Petition at p. 14. Petitioners, however, fail to apply this boilerplate

rationale to Shively and Stopler, leaving the following questions unanswered.

What is the “known technique”? What device/method/product is “similar”? How

is the alleged “known technique” used for improvement in the “same way”?

      When relying on this rationale, the USPTO requires much more in the way


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of explanation:

      C. Use of Known Technique To Improve Similar Devices (Methods,
      or Products) in the Same Way

      To reject a claim based on this rationale, Office personnel must
      resolve the Graham factual inquiries. Office personnel must then
      articulate the following:

      (1) a finding that the prior art contained a “base” device (method, or
      product) upon which the claimed invention can be seen as an
      “improvement;”

      (2) a finding that the prior art contained a “comparable” device
      (method, or product that is not the same as the base device) that was
      improved in the same way as the claimed invention;

      (3) a finding that one of ordinary skill in the art could have applied
      the known “improvement” technique in the same way to the “base”
      device (method, or product) and the results would have been
      predictable to one of ordinary skill in the art; and

      (4) whatever additional findings based on the Graham factual
      inquiries may be necessary, in view of the facts of the case under
      consideration, to explain a conclusion of obviousness.

Examination Guidelines for Determining Obviousness Under 35 U.S.C. 103 in

View of the Supreme Court Decision in KSR International Co. v. Teleflex Inc., 72

Fed. Reg. 57,530 (October 10, 2007). As the Board explained:

      Patent Owner argues that “(1) Petitioner NEVER explains what is
      allegedly lacking in the base reference, (2) Petitioner NEVER points
      out the differences between the claimed invention and the base
      reference or cited art, (3) Petitioner NEVER explains how the base
      reference should be allegedly modified, (4) Petitioner NEVER
      explains what modification would have been obvious, and (5)
      Petitioner NEVER explains what modifications to each base
      reference would have allegedly been made.” Prelim. Resp. 47-48.
      We agree.


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Naughty Dog, Inc. v. McRo, Inc., IPR2014-00198, Paper no. 9 at p. 21 (P.T.A.B.

May 18, 2014).

      In the present case, Petitioners’ alleged reason to combine Shively and

Stopler does not provide even basic answers to these questions.

            2.     Petitioners Wrongly Claim That Shively’s
                   Transmitter Suffers From An Increased PAR
      Petitioners contend: “A POSITA would have recognized that by

transmitting redundant data on multiple carriers, Shively’s transmitter would

suffer from an increased peak-to-average power ratio [(PAR)].” Petition at p. 14.

As discussed above in § IV.A, however, this assertion is wrong. Shively does

not suffer from an increased PAR, much less one that would be recognized as a

problem. Rather, Shively’s disclosed embodiment results in a substantially

reduced PAR (and one that is very far below a level that is problematic).

      Petitioners have it backwards. To the extent one having skill in the art

would have even considered the issue of PAR in view of Shively’s disclosure

(which does not itself discuss PAR), they would have concluded that Shively’s

transmitter, in fact, does not suffer from increased PAR. Instead, there would

have been recognition that the transmission signal strength is low due to unusable

carriers, and therefore the clipping probability would be virtually zero. See

§ IV.A above.

      Furthermore, Petitioners’ expert’s declaration states only in relative terms

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that there is an “increase” in PAR. An “increase” of how much? An increase

with respect to what? Petitioners’ expert’s declaration lacks any factual basis for

the claim of “increased” PAR. Petitioners’ expert provides no calculations or

data that illustrate to what degree there is an “increase” in PAR with Shively’s

transmitter. Ex. 1009 at ¶¶ 63–64. See 37 C.F.R. § 42.65(a) (“Expert testimony

that does not disclose the underlying facts or data on which the opinion is based

is entitled to little or no weight.”); In re Am. Acad. of Sci. Tech Ctr., 367 F.3d

1359, 1368 (Fed. Cir. 2004) (explaining that “the Board has broad discretion” to

weigh declarations and “conclude that the lack of factual corroboration warrants

discounting the opinions expressed”); Rohm & Haas Co. v. Brotech Corp., 127

F.3d 1089, 1092 (Fed. Cir. 1997) (“Nothing in the [federal] rules [of evidence] or

in our jurisprudence requires the fact finder to credit the unsupported assertions of

an expert witness.”); Ashland Oil, Inc. v. Delta Resins & Refractories, Inc., 776

F.2d 281, 294 (Fed. Cir. 1985) (“Lack of factual support for expert opinion going

to factual determinations…may render the testimony of little probative value….”).

      By contrast, Dr. Short’s declaration in support of this Patent Owner

Response explains in detail why any arguable “increase” in PAR due to Shively’s

“spreading” scheme is trivial in view of Shively’s drastic reduction in

transmission signal power (which virtually eliminates clipping). See Ex. 2003 at

¶¶ 61–67.



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      Without any supporting calculations or data, and without even a qualitative

discussion of what would constitute a problematic PAR, Petitioners’ expert’s

declaration should not be given any weight. See 37 C.F.R. § 42.65(a).

            3.     Petitioners’ Justification For Combining Shively And
                   Stopler Uses The ’158 Patent As A Roadmap And
                   Suffers From Hindsight Bias

      Petitioners allege that “[h]aving phase-aligned subcarriers causes a high

peak-to-average power ratio (PAR), since all of the subcarriers add up coherently

at the same time.” Petition at p. 15. Yet, as admitted by Petitioners’ expert, this

is not mentioned or even alluded to in Shively or Stopler. Ex. 2002 at 14:2–15

and 97:6–18. Actually, out of all the evidence in this inter partes review, only

the inventor of the ’158 patent recognized the problem of high PAR due to

phase-aligned carriers.

      Besides the say-so of Petitioners’ expert, the only cited evidence—that

high PAR results from transmitting the same data on multiple carriers—is from

the ’158 patent. Petition at p. 15; Ex. 1009 at ¶ 64. Here, Petitioners quite

literally use the ’158 patent as a roadmap for arriving at their theory of

obviousness. This is a textbook case of impermissible hindsight bias. See KSR

Int’l Co. v. Teleflex Inc., 550 U.S. 398, 421 (2007) (“A factfinder should be

aware, of course, of the distortion caused by hindsight bias and must be cautious

of arguments reliant upon ex post reasoning.”); Insite Vision Inc. v. Sandoz, Inc.,


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783 F.3d 853, 859 (Fed. Cir. 2015) (“Defining the problem in terms of its

solution reveals improper hindsight in the selection of the prior art relevant to

obviousness.”) (quoting Monarch Knitting Mach. Corp. v. Sulzer Morat GmbH,

139 F.3d 877, 881 (Fed. Cir. 1998)); Texas Instruments Inc. v. Vantage Point

Tech., Inc., IPR2014-01105, Paper No. 8 at p. 17 (P.T.A.B. January 5, 2015)

(“This is an impermissible use of the ’750 patent’s description of the invention as

a roadmap to piece together the prior art.”) (citing InTouch Technologies, Inc. v.

VGO Commc’ns, Inc., 751 F.3d 1327, 1351 (Fed. Cir. 2014)).

            4.     There Is No Need To Solve Shively’s Non-Existent
                   PAR Problem

      Petitioners state: “Since a high PAR brings numerous disadvantages, a

POSITA would have sought out an approach to reduce the PAR of Shively’s

Transmitter.” Petition at p. 15. As discussed in § IV.A, however, Shively does

not present a problem with PAR. Because Shively does not disclose a system

with a PAR problem, one having ordinary skill in the art would have had no

reason to look for a solution. See Runway Safe LLC v. Engineered Arresting

Systems, IPR2015-01921, Paper No. 9 at p. 11 (P.T.A.B. February 29, 2016)

(“[W]e are not persuaded that a non-uniformity problem exists with Angley

’025’s cellular concrete system, and Petitioner has not provided adequate proof

on that issue. Therefore, we are not persuaded by Petitioner’s rationale for why a

person of ordinary skill in the art would have replaced Angley ’025’s cellular

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concrete blocks with ceramic foam.”).

             5.     Stopler Does Not Reduce PAR In A Multicarrier
                    Transmitter
      Petitioners incorrectly argue that “Stopler provides a solution for reducing

the PAR of a multicarrier transmitter.” Petition at p. 15. As discussed in § IV.B,

Stopler does not reduce PAR because phase scrambling is performed from

symbol-to-symbol and not from carrier-to-carrier.

             6.     Stopler And Shively Could Not Be Combined
      Without any supporting explanation, Petitioners baselessly claim that

“[c]ombining Stopler’s phase scrambler into Shively’s transmitter would have

been a relatively simple and obvious solution to reduce Shively’s PAR.” Petition

at p. 16. This is wrong. Quite the opposite; Shively and Stopler are incompatible.

      It would not be possible to incorporate Shively’s bit-spreading concept into

Stopler. While Shively shows a point-to-point system (one transmitter and one

receiver), Stopler teaches a point-to-multipoint system (one transmitter and

multiple receivers). Figure 4 of Stopler is illustrative:




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See Ex. 2003 at ¶ 91.

      In Stopler’s point-to-multipoint example, User 1 receives data in diagonals

1 and 2, while User 2 receives data in diagonals 3–7. Ex. 1012 at 8:36–39 (“In

the illustrated example, the data packet for User 1 consists of two diagonals 22,

24, while the data packet for User 2 consists of five diagonals, 26, 28, 30, 32 and

34.”). This is depicted in a modified version of Figure 4 below where User 1’s

data is shown in red and User 2’s data is shown in blue:




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See Ex. 2003 at ¶ 92.

      Also depicted in the illustration above along the horizontal time axis are

times (t1–t13) at which successive multicarrier symbols are transmitted. Each

symbol includes carriers A–G as illustrated along the vertical frequency axis,

however, unlike a point-to-point multicarrier system, at t1, only carrier A is

intended for User 1; at t2, only carriers A and B are intended for User 1; at t3, only

carriers B and C are intended for User 1 while carrier A is now intended for User

2, and so on. Stopler refers to this technique as “diagonalization.” Ex. 1012 at

6:20–22 (“FIG. 4 is an illustration of diagonalization in accordance with the

present invention for multitone data transmission as a function of time.”). See Ex.

2003 at ¶ 93.

      If one were to attempt to combine Stopler with Shively’s bit-spreading,


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multiple carriers must be used. Using Shively’s example of four carriers, assume

carriers C, D, E, and F, are used for bit-spreading. These carriers are highlighted

in the pink rectangle:




See Ex. 2003 at ¶ 94.

      Taking the example of a multicarrier symbol transmitted at time t6, a spread

bit over four carriers C–F (pink rhombuses), the spread bit would cross over from

User 1 data to User 2 data. So part of the spread bit would be received by User 1

and not User 2, and conversely, the remaining part of the spread bit would be

received by User 2 and not User 1. Because all of the bit-spreading carriers are

not received by the same user, it would be impossible for User 1’s or User 2’s

receiver to reconstruct the bit. See Ex. 2003 at ¶ 95.

      Additionally complicating the combination of Shively and Stopler is that

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the data intended for User 1 is different than the data intended for User 2. And

further, the attenuation/noise characteristics for the communication channel to

User 1 may be different from that of User 2. Thus, it would be unduly complex,

if not impossible to keep track of what carriers to use for Shively’s spreading. In

other words, Shively’s technique will not work with Stopler. Even Petitioners’

expert, under cross-examination, admitted that Shively and Stopler are

incompatible. Ex. 2002 at p. 144:22–145:1 (“Somebody learning the teachings of

Shively working in the DSL space would not attempt to marry Shively with a

system that each QAM signal goes into a different DMT symbol and has huge

latency.”); see, more generally, id. at 138:24–145:1. See Ex. 2003 at ¶ 96.

            7.     There Were No “Market Forces” In Effect To Prompt
                   The Combination Of Shively’s And Stopler’s
                   Techniques
      Again without support or explanation, Petitioners rely on the following

vague and conclusory justification for combining Shively and Stopler: “Market

forces would have prompted the development of multicarrier communications

devices, such as Digital Subscriber Line (DSL) modems, employing both

redundant bit transmission and phase scrambling.” Petition at p. 16 (emphasis

added). Petitioners and their expert, however, do not identify or explain such

“market forces.” The Petition and the supporting declaration do not identify a

single product or standard that employs any of the ideas disclosed in Shively or


                                      55
                                     Appx6488
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                                                            Patent Owner Response
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Stopler.

      Nor was Petitioners’ expert, upon questioning, aware of any product or

standard that uses Shively’s spreading concept:

      Q. Okay. But let’s focus on the Shively spreading technique that you
      referenced in your declaration which is taking a single bit and
      spreading it across multiple carriers.

      A. So in the context of repeating 1 bit, 1 or more bits little m or more
      times, do I know of any product that uses that concept?

      Q. Correct.

      A. I can't recall.

      Q. Okay. And can you think of any standard that uses that technique?

      A. No. The DSL standards will be useful. It will be a useful
      application for DSL type loops but I don't know if any of them
      actually uses Shively’s ideas.

      Q. But of all those DSL standards, you’re not aware of any of them
      using Shively's spreading technique?

      A. I don’t know of any of them.

      Q. So the answer is no?

      A. No.

Ex. 2002 at 135:11–136:1; see, more generally, id. at 134:24–137:16.

      Without any evidence that Shively’s transmitter ever existed, Petitioners’

argument regarding “market forces” makes no sense. Petitioners allege that it

would have been obvious to modify Shively’s transmitter (i.e., the base product)

by adding Stopler’s phase scrambler. Petition at p. 16; Ex. 1009 at ¶ 68. But how



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would “market forces” apply when there is no evidence that Shively’s

transmitter—the base product—existed? Surely, there must be a “market” in

order for “market forces” to apply.

      When asked about his testimony regarding Shively and “market forces,”

Petitioners’ expert acknowledged that his opinion was speculative:

      Q. What’s your basis for suggesting that Shively’s technique would
      be motivated by market forces, then?

      ***

      A. I believe it’s good technology. It’s a good idea. I would believe
      some people would have tried it or used it. It’s a good technology
      for subchannels that don’t have enough signal to get a bit across. It
      repeats across multiple subchannels, make sure you scramble
      afterwards.

Ex. 2002 at 137:24–138:9 (emphasis added).

      Without any evidence that there was a market for Shively’s concept before

the invention of the ’158 patent (or ever), the notion that market forces would

have prompted the modification of Shively’s transmitter is meaningless.

Petitioners’ expert’s declaration, therefore, is baseless, and the Petition is fact-

free. See 37 C.F.R. § 42.65(a) (“Expert testimony that does not disclose the

underlying facts or data on which the opinion is based is entitled to little or no

weight.”).

      B.       Stopler Does Not Disclose Phase Scrambling
      Claim 1 recites “scrambling the phase characteristics of the carrier signals.”


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As discussed above in § III.C, this term should be construed to mean “adjusting the

phases of a plurality of carriers in a single multicarrier symbol by pseudo-

randomly varying amounts.”

      Petitioners incorrectly allege that Stopler discloses this type of phase

scrambling: “It would have been obvious to a POSITA that modulating the phase-

scrambled QAM symbols results in the phases of the carrier signals being

correspondingly scrambled.” Petition at p. 22. See also Ex. 1009 at p. 41–42

(“Stopler describes a ‘phase scrambler’ that scrambles the phase characteristics of

the data symbols that are subsequently provided to a modulator for signal

modulation on to the carrier frequencies.”).

      As discussed above in § IV.B, however, Stopler only discloses scrambling

phases from one symbol to the next symbol in time, and not with respect to

multiple carriers in a single multicarrier symbol.      Because Stopler must be

compatible with single-carrier CDMA, it makes no sense to argue that his phase

scrambling must be performed within a single multicarrier symbol.

      Because Stopler does not disclose phase scrambling as claimed in the ’158

patent, Petitioners have not demonstrated by a preponderance of evidence that

independent claim 1 is unpatentable. And accordingly, Petitioners’ assertion of

unpatentability for the dependent claims (2–14) also falls short.




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      C.     Petitioners Explanation For Combining Bremer With Shively Or
             Stopler Lacks A Rational Basis
      Petitioner fails to allege a legally sufficient rationale for combining

Bremer’s single-carrier privacy modem system, and for modifying it such that it

would have been compatible, with Shively’s and/or Stopler’s multicarrier schemes.

Claim 6 of the ’158 patent recites “independently deriving the values associated

with each carrier using a second pseudo-random number generator in the second

transceiver.” Accordingly, this claim requires the use of a second pseudo-random

number generator for independently deriving the values used to scramble the

carriers of the multicarrier signal.   Petitioners acknowledge that Shively and

Stopler do not disclose this and instead rely on Bremer. Petition at pp. 44–47.

Petitioners also rely on the same combination of Bremer, Shively, and Stopler for

claim 15 of the ’158 patent. Id. at pp. 48–49.

      But Petitioners’ justification for combining these three very different

references is conclusory and provides no explanation of why or how such a

hypothetical combination would have been made.          Instead, Petitioners merely

allege:

      Although Bremer describes a single-carrier communication system, it
      would have been obvious to a POSITA that Bremer’s teaching of a
      complementary pseudorandom number generator, and performing
      complementary changes on the received signal, would be equally
      applicable to the multicarrier systems of Shively and Stopler. Ex.
      1009, p. 81. Because Stopler’s multicarrier transmitter determines (as
      analyzed above in portions [1.5] and [1.6]) a phase shift for each


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      carrier signal based on a value determined by a pseudo-random
      number generator, it would have been obvious to a POSITA that a
      compatible multicarrier receiver would include a second pseudo-
      random number generator whose output values determine a
      complementary phase shift for each carrier signal.
Petition at pp. 46–47. This allegation, however, presents more questions than it

answers. For example, why would Bremer’s single-carrier teachings be “equally

applicable” to multicarrier systems? As another example, why “would [it] have

been obvious to a POSITA that a compatible multicarrier receiver would include a

second pseudo-random number generator”?

      Petitioners’ expert’s declaration provides no additional guidance and only

states: “Although Bremer describes a single-carrier QAM communication system,

it would have been obvious to a POSITA that Bremer’s teaching of a

complementary pseudo-random number generator, and performing complementary

changes on the received signal, could be applied on a carrier-by-carrier basis to the

multicarrier system of Stopler.” Ex. 1009 at p. 81. This statement provides no

rationale whatsoever. It merely argues that Bremer’s single-carrier scheme “could

be applied” without further explanation, and is, therefore, without rational basis.

      Because claims 7–13 depend from claim 6, and claims 21–28 and 30 depend

from claim 20, Petitioners have not satisfied their burden for proving invalidity of

these dependent claims as well.




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VI.   CONCLUSION
      For at least the foregoing reasons, TQ Delta respectfully requests that the

Board find that Petitioners have not established that any challenged claim is

unpatentable.



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CUSTOMER NUMBER: 23446




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                          CERTIFICATE OF WORD COUNT

      I hereby certify that this Preliminary Patent Owner Response complies with

the word count limit of 37 CFR §42.42. The word count, including footnotes, is

approximately 11,500 words as measured by Microsoft Word.

                          CERTIFICATE OF SERVICE

      I hereby certify that the Patent Owner Preliminary Response to Petition for
Inter Partes Review Pursuant to 35 U.S.C. §§ 42.107 in connection with Inter
Partes Review Case IPR2016-01020 was served on this 24th day of February, 2017
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                                                        Patent Owner Response
                                                                IPR2016-01021

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Trials@uspto.gov                                             Paper 18
571-272-7822                                    Entered: April 3, 2017



       UNITED STATES PATENT AND TRADEMARK OFFICE
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        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

          COMCAST CABLE COMMUNICATIONS, LLC,
                COX COMMUNICATIONS, INC.,
           TIME WARNER CABLE ENTERPRISES LLC,
       VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                        Petitioner,

                                    v.

                           TQ DELTA, LLC,
                            Patent Owner.
                            ____________

                          Case IPR2017-00417
                          Patent 8,718,158 B2
                            ____________

Before SALLY C. MEDLEY, KALYAN K. DESHPANDE, and
TREVOR M. JEFFERSON, Administrative Patent Judges.

MEDLEY, Administrative Patent Judge.


                                DECISION
                    Institution of Inter Partes Review
                            37 C.F.R. § 42.108
                     Petitioner’s Motion for Joinder
                          37 C.F.R. § 42.122(b)


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                             I. INTRODUCTION
      Comcast Cable Communications, L.L.C., Cox Communications, Inc.,
Time Warner Cable Enterprises L.L.C., Verizon Services Corp., and ARRIS
Group, Inc. (collectively “Petitioner”) filed a Petition for inter partes review
of claims 1‒30 of U.S. Patent No. 8,718,158 B2 (Ex. 1001, “the ’158
patent”). Paper 1 (“Pet.”). Concurrently with its Petition, Petitioner filed a
Motion for Joinder with Cisco Systems, Inc. v. TQ Delta, LLC, Case
IPR2016-01021 (“the Cisco IPR”). Paper 3 (“Mot.”). Petitioner represents
that the petitioners in the Cisco IPR—Cisco Systems, Inc. and DISH
Network, L.L.C.1—do not oppose the Motion for Joinder. Mot. 1. TQ
Delta, LLC (“Patent Owner”) submits that it does not oppose joinder. See
Paper 9. Patent Owner also elected to waive its Preliminary Response. Id.
      For the reasons explained below, we institute an inter partes review of
claims 1–30 of the ’158 patent and grant Petitioner’s Motion for Joinder.

                        II. RELATED PROCEEDINGS
      Petitioner and Patent Owner identify several pending judicial matters
as relating to the ’158 patent. Pet. 2–3; Mot. 2–3; Paper 6, 2–4.




1
  DISH Network, L.L.C., who filed a Petition in IPR2017-00255, has been
joined as a petitioner in the Cisco IPR.
                                      2
                                    Appx6498
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        In the Cisco IPR, we instituted an inter partes review of claims 1–30
of the ’158 patent on the following grounds:

    References                     Basis                   Claims
    Shively2 and Stopler3        § 103(a)          1, 2, 4, 15, 16, and 18
    Shively, Stopler, and
                                 § 103(a)        3, 5, 14, 17, 19, and 28‒30
    Gerszberg4
    Shively, Stopler, and
                                 § 103(a)      6, 9, 10, 12, 20, 23, 24, and 26
    Bremer5
    Shively, Stopler,
                                 § 103(a)         8, 11, 13, 22, 25, and 27
    Bremer, and Gerszberg
    Shively, Stopler,
                                 § 103(a)                 7 and 21
    Bremer, and Flammer6

Cisco Systems, Inc. v. TQ Delta, LLC, Case IPR2016-01021, slip op. at 20–
21 (PTAB Nov. 4, 2016) (Paper 7) (“Cisco Dec.”).

                 III. INSTITUTION OF INTER PARTES REVIEW
        The Petition in this proceeding asserts the same grounds of
unpatentability as the ones on which we instituted review in the Cisco IPR.
Compare Pet. 13–62, with Cisco Dec. 20–21. Indeed, Petitioner contends
that the Petition asserts only the grounds that the Board instituted in the
Cisco IPR, there are no new arguments for the Board to consider, and
Petitioner relies on the same exhibits and expert declaration as the Cisco
IPR. Mot. 6.


2
  U.S. Patent No. 6,144,696; issued Nov. 7, 2000 (Ex. 1011) (“Shively”).
3
  U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012)
(“Stopler”).
4
  U.S. Patent No. 6,424,646 B1; issued July 23, 2002 (Ex. 1013)
(“Gerszberg”).
5
  U.S. Patent No. 4,924,516; issued May 8, 1990 (Ex. 1017) (“Bremer”).
6
  U.S. Patent No. 5,515,369; issued May 7, 1996 (Ex. 1019) (“Flammer”).

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      For the same reasons set forth in our institution decision in the Cisco
IPR, we determine that the information presented in the Petition shows a
reasonable likelihood that Petitioner would prevail in showing that
(a) claims 1, 2, 4, 15, 16, and 18 would have been obvious over Shively and
Stopler, (b) claims 3, 5, 14, 17, 19, and 28‒30 would have been obvious over
Shively, Stopler, and Gerszberg, (c) claims 6, 9, 10, 12, 20, 23, 24, and 26
would have been obvious over Shively, Stopler, and Bremer, (d) claims 8,
11, 13, 22, 25, and 27 would have been obvious over Shively, Stopler,
Bremer, and Gerszberg, and (e) claims 7 and 21 would have been obvious
over Shively, Stopler, Bremer, and Flammer. See Cisco Dec. 7–20.
Accordingly, we institute an inter partes review on the same grounds as the
ones on which we instituted review in the Cisco IPR. We do not institute
inter partes review on any other grounds.

                IV. GRANT OF MOTION FOR JOINDER
      The Petition and Motion for Joinder in this proceeding were accorded
a filing date of December 5, 2016. See Paper 5. Thus, Petitioner’s Motion
for Joinder is timely because joinder was requested no later than one month
after the institution date of the Cisco IPR, i.e., November 4, 2016.7 See 37
C.F.R. § 42.122(b).
      The statutory provision governing joinder in inter partes review
proceedings is 35 U.S.C. § 315(c), which reads:
      If the Director institutes an inter partes review, the Director, in
      his or her discretion, may join as a party to that inter partes
      review any person who properly files a petition under section


7
  Because December 4, 2016 fell on a Sunday, the one-month date extended
to the next business day, December 5, 2016. See 37 C.F.R. § 1.7.
                                      4
                                    Appx6500
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      311 that the Director, after receiving a preliminary response
      under section 313 or the expiration of the time for filing such a
      response, determines warrants the institution of an inter partes
      review under section 314.

A motion for joinder should (1) set forth reasons why joinder is appropriate;
(2) identify any new grounds of unpatentability asserted in the petition;
(3) explain what impact (if any) joinder would have on the trial schedule for
the existing review; and (4) address specifically how briefing and discovery
may be simplified. See Kyocera Corp. v. Softview LLC, Case IPR2013-
00004, slip op. at 4 (PTAB Apr. 24, 2013) (Paper 15).
      As noted, the Petition in this case asserts the same unpatentability
grounds on which we instituted review in the Cisco IPR. See Mot. 6.
Petitioner also relies on the same prior art analysis and expert testimony
submitted by the Cisco Petitioner. See id. Indeed, the Petition is nearly
identical to the petition filed by the Cisco Petitioner with respect to the
grounds on which review was instituted in the Cisco IPR. See id. Thus, this
inter partes review does not present any ground or matter not already at
issue in the Cisco IPR.
      If joinder is granted, Petitioner anticipates participating in the
proceeding in a limited capacity absent termination of the Cisco Petitioner as
a party. Id. at 7. Petitioner agrees to “assume a limited ‘understudy’ role”
and “would only take on an active role if Cisco were no longer a party to the
IPR.” Id. Petitioner further represents that it “presents no new grounds for
invalidity and its presence in the proceedings will not introduce any
additional arguments, briefing or need for discovery.” Id. Because
Petitioner expects to participate only in a limited capacity, Petitioner submits
that joinder will not impact the trial schedule for the Cisco IPR. Id. at 6–7.


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                                    Appx6501
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      We agree with Petitioner that joinder with the Cisco IPR is
appropriate under the circumstances. Accordingly, we grant Petitioner’s
Motion for Joinder.

                                  V. ORDER
      Accordingly, it is:
      ORDERED that an inter partes review is instituted in IPR2017-
00417;
      FURTHER ORDERED that the Motion for Joinder with IPR2016-
01021 is granted, and Comcast Cable Communications, L.L.C., Cox
Communications, Inc., Time Warner Cable Enterprises L.L.C., Verizon
Services Corp., and ARRIS Group, Inc. are joined as a petitioner in
IPR2016-01021;
      FURTHER ORDERED that IPR2017-00417 is terminated under
37 C.F.R. § 42.72, and all further filings shall be made only in IPR2016-
01021;
      FURTHER ORDERED that, subsequent to joinder, the grounds for
trial in IPR2016-01021 remain unchanged;
      FURTHER ORDERED that, subsequent to joinder, the Scheduling
Order in place for IPR2016-01021 (Paper 8) remains unchanged;
      FURTHER ORDERED that in IPR2016-01021, the Cisco Petitioner
and Petitioner will file each paper, except for a motion that does not involve
the other party, as a single, consolidated filing, subject to the page limits set
forth in 37 C.F.R. § 42.24, and shall identify each such filing as a
consolidated filing;
      FURTHER ORDERED that for any consolidated filing, if Petitioner
wishes to file an additional paper to address points of disagreement with the

                                      6
                                    Appx6502
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Patent 8,718,158 B2

Cisco Petitioner, Petitioner must request authorization from the Board to file
a motion for additional pages, and no additional paper may be filed unless
the Board grants such a motion;
      FURTHER ORDERED that the Cisco Petitioner and Petitioner shall
collectively designate attorneys to conduct the cross-examination of any
witness produced by Patent Owner and the redirect of any witness produced
by the Cisco Petitioner and Petitioner, within the timeframes set forth in 37
C.F.R. § 42.53(c) or agreed to by the parties;
      FURTHER ORDERED that the Cisco Petitioner and Petitioner shall
collectively designate attorneys to present at the oral hearing, if requested
and scheduled, in a consolidated argument;
      FURTHER ORDERED that the case caption in IPR2016-01021 shall
be changed to reflect joinder of Comcast Cable Communications, L.L.C.,
Cox Communications, Inc., Time Warner Cable Enterprises L.L.C., Verizon
Services Corp., and ARRIS Group, Inc. as a petitioner in accordance with
the attached example; and
      FURTHER ORDERED that a copy of this Decision shall be entered
into the record of IPR2016-01021.




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       Case: 18-1766    Document: 49-2     Page: 392   Filed: 11/21/2018




       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

         BEFORE THE PATENT TRIAL AND APPEAL BOARD
                        ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                     v.

                             TQ DELTA, LLC,
                              Patent Owner.
                              ____________

                           Case IPR2016-010211
                            Patent 8,718,158 B2
                              ____________




1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00255, and
Comcast Cable Communications, L.L.C., Cox Communications, Inc., Time
Warner Cable Enterprises L.L.C., Verizon Services Corp., and ARRIS
Group, Inc., who filed a Petition in IPR2017-00417, have been joined in this
proceeding.


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                                                                    Paper No. __

          UNITED STATES PATENT AND TRADEMARK OFFICE

                               ———————

           BEFORE THE PATENT TRIAL AND APPEAL BOARD

                               ———————

             CISCO SYSTEMS, INC., DISH NETWORK, LLC,
              COMCAST CABLE COMMUNICATIONS, LLC,
                    COX COMMUNICATIONS, INC.,
               TIME WARNER CABLE ENTERPRISES LLC,
           VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                            Petitioner,1

                                       v.

                               TQ DELTA, LLC,
                                Patent Owner.

                               ———————

                            IPR No. IPR2016-01021
                          U.S. Patent No. 8,718,158 B2

                               ———————

                            PETITIONER’S REPLY




1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00255, and Comcast
Cable Communications, L.L.C., Cox Communications, Inc., Time Warner Cable
Enterprises L.L.C., Verizon Services Corp., and ARRIS Group, Inc., who filed a
Petition in IPR2017-00417, have been joined in this proceeding.


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Ex. 1001     U.S. Patent No. 8,718,158 to Tzannes (“the ’158 patent”)

Ex. 1002     Prosecution File History of U.S. Pat. No. 8,718,158

Ex. 1003     Prosecution File History of U.S. Pat. No. 8,090,008

Ex. 1004     Prosecution File History of U.S. Pat. No. 7,769,104

Ex. 1005     Prosecution File History of U.S. Pat. No. 7,471,721

Ex. 1006     Prosecution File History of U.S. Pat. No. 7,292,627

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Ex. 1008     U.S. Provisional Application No. 60/164,134

Ex. 1009     Declaration of Dr. Jose Tellado under 37 C.F.R. § 1.68

Ex. 1010     Curriculum Vitae of Dr. Jose Tellado

Ex. 1011     U.S. Patent No. 6,144,696 to Shively et al. (“Shively”)

Ex. 1012     U.S. Patent No. 6,625,219 to Stopler (“Stopler”)

Ex. 1013     U.S. Patent No. 6,424,646 to Gerszberg et al. (“Gerszberg”)

Ex. 1014     Harry Newton, NEWTON’S TELECOM DICTIONARY, 13th Ed. (1998)
             (selected pages)

Ex. 1015     Kim Maxwell, “Asymmetric Digital Subscriber Line: Interim
             Technology for the Next Forty Years,” IEEE Communications
             Magazine (Oct. 1996).

Ex. 1016     Walter Goralski, ADSL AND DSL TECHNOLOGIES (McGraw-Hill
             1998) (selected pages)


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Ex. 1017     U.S. Patent No. 4,924,516 to Bremer et al. (“Bremer”)

Ex. 1018     American National Standard for Telecommunications, Network and
             Customer Installation Interfaces—Asymmetric Digital Subscribers
             Line (ADSL) Metallic Interface (ANSI T1.413-1995)

Ex. 1019     U.S. Patent No. 5,515,369 to Flammer, III et al. (“Flammer”)

Ex. 1020     Declaration of David Bader

Ex. 1021     Fig. 6 from Ex. 2009 (T. Regan, “ADSL Line Driver/Receiver
             Design Guide, Part 1” (February 2000)).

Ex. 1022     Robert T. Short, “Physical Layer,” in WIMEDIA UWB (2008).

Ex. 1023     Denis J. G. Mestdagh and Paul M. P. Spruyt, “A Method to Reduce
             the Probability of Clipping in DMT-Based Transceivers,” IEEE
             Transactions on Communications, Vol. 44, No. 10, (October 1996).

Ex. 1024     Stefan H. Muller and Johannes B. Huber, “A Comparison of Peak
             Power Reduction Schemes for OFDM,” IEEE Global
             Telecommunications Conference (1997).

Ex. 1025     Jose Tellado-Mourelo, “Peak to Average Power Reduction for
             Multicarrier Modulation,” A dissertation submitted to the
             Department of Electrical Engineering and the Committee on
             Graduate Studies of Stanford University (Sept. 1999)

Ex. 1026     Second Declaration of Dr. Jose Tellado under 37 C.F.R. § 1.68

Ex. 1027     Deposition Transcript of Dr. Robert T. Short

Ex. 1028     T. Starr, J. M. Cioffi, P. J. Silverman, UNDERSTANDING DIGITAL
             SUBSCRIBER LINE TECHNOLOGY (1999) (selected pages).

Ex. 1029     Abe, RESIDENTIAL BROADBAND (2000) (selected pages).

Ex. 1030     Mohamed Zekri, et al., “DMT Signals with Low Peak-to-Average
             Power Ratio,” Proceedings of the IEEE International Symposium
             on Computers and Communications (held July 6-8, 1999).

Ex. 1031     Second Declaration of David Bader


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Ex. 1032     Peter S. Chow, et al., “A Practical Discrete Transceiver Loading
             Algorithm for Data Transmission over Spectrally Shaped
             Channels”, IEEE Transactions on Communications, Vol. 43, No.
             2/3/4 (1995).

Ex. 1033     Kamran Sistanizadeh, et al., “Multi-Tone Transmission for
             Asymmetric Digital Subscriber Lines (ADSL)”, Communications,
             1993. ICC '93 Geneva. Technical Program, Conference Record,
             IEEE International Conference (held May 23-26, 1993)

Ex. 1034     ADSL transmitter simulation program by Dr. Tellado




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I.    Summary

      Patent Owner TQ Delta raises various arguments, but they are all severely

flawed, whether by a misinterpretation of the prior art or a misunderstanding of the

technology involved. The obviousness rationale for combining Shively and

Stopler derives almost entirely from a POSITA’s straightforward consideration of

undisputed facts. The only substantive limitation in dispute—“scrambling”—is

plainly taught by Stopler, which even uses the same “scrambling” terminology to

describe the concept. Accordingly, the Board should issue a Final Written

Decision holding all claims of the ’158 patent unpatentable for obviousness.

II.   Claim Construction

      A.     “scrambling…a plurality of carrier phases”

      TQ Delta proposes construing the phrase “scrambling…a plurality of carrier

phases” to mean “adjusting the phases of a plurality of carriers in a single

multicarrier symbol by pseudo-randomly varying amounts.” Resp., pp.14-19.

      The “scrambling” phrase does not need construction, since the prior art

relied upon—Stopler—uses the same “phase scrambling” terminology to describe

pseudo-random phase changes. CSCO-1012, 12:24-31. Accordingly, the Board

should not adopt TQ Delta’s proposed construction.

      B.     “transceiver”

      TQ Delta notes that a district court—which applies a different claim



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interpretation standard—adopted a different claim construction for “transceiver.”

Resp., pp.13-14. But TQ Delta does not show any error in the Board’s currently-

adopted construction. Accordingly, there is no reason for the Board to modify its

construction.

III.   Combining the teachings of Shively and Stopler would have been
       obvious to a POSITA

       TQ Delta argues that it would not have been obvious to combine the DSL

technologies of Shively and Stopler. Resp., pp.44-45. TQ Delta further alleges that

Cisco’s obviousness rationale suffers from hindsight bias. Id., p.49. But the

obviousness rationale is based on agreed-upon facts and common engineering

sense. As discussed further below, there is no dispute that:

        multicarrier communication systems generate signals with a high peak-

          to-average power ratio (PAR), which is undesirable;

        repeating the same bits on multiple carriers, the technique taught in

          Shively, increases PAR;

        scrambling the phases of individual signal carriers was a known

          technique for reducing PAR; and

        Stopler teaches a phase scrambler.

       In light of these facts, a POSITA would have found it obvious to incorporate

a phase scrambler—like that in Stopler—into Shively’s system to counteract the

increase in PAR caused by Shively’s bit spreading technique. CSCO-1009, ¶¶67-

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68. Rather than hindsight, the combination would have been a straightforward

application of ordinary engineering sense to basic facts known to a POSITA.

CSCO-1009, ¶¶18, 67-68.

      A.     DMT-based communications systems were known to be
             susceptible to challenges caused by signals with high PAR

      There is no dispute that multicarrier systems using discrete multitone

(“DMT”) technology faced issues relating to signals with a high peak-to-average

ratio (“PAR”). See TQ-2003, ¶¶20-22. Similarly, there is no dispute that signals

with high PAR can induce clipping in the transmitter circuitry. See TQ-2003,

¶¶24-25, 30. These facts are succinctly stated in the ANSI T1.413-1995 standard:

             A DMT time-domain signal has a high peak-to-average ratio
             (its amplitude distribution is almost Gaussian), and large values
             may be clipped by the digital-to-analog converter.

CSCO-1018, §6.5 (p.36).

      Cisco’s expert, Dr. Tellado, testified—and TQ Delta has not disputed—that

a POSITA would have known such background information:

             [A]n understanding of the ’158 patent requires… appreciation
             for the potential for such multicarrier signals to have a high
             peak-to-average ratio, causing clipping during transmission.
             Such knowledge would be within the level of skill in the art.

CSCO-1009, ¶18.

      The parties also agree that engineers knew that one way to reduce the


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likelihood of clipping was to design transmitters to handle a greater dynamic range.

TQ-2003, ¶26. But it was also known that such transmitters were more expensive,

less efficient, consumed more electricity, and generated more heat. TQ-2003, ¶26;

CSCO-1027, 45:21-46:6. Thus, engineers would have sought out other techniques

to reduce PAR. CSCO-1027, 46:23-47:3.

      B.     Transmitting the same data on multiple carriers causes a spike in
             signal amplitude and increases PAR

      There is no dispute that when many carriers of a multicarrier signal have the

same phase, the result is a signal with “large spikes in amplitude and, therefore, a

high PAR.” TQ-2003, ¶22. TQ Delta acknowledged that high PAR occurs “where

the same bit or bits is/are purposely sent in a redundant manner on multiple

carriers.” Resp., pp. 6-7; TQ-2003, ¶22; CSCO-1027, 97:13-15. As TQ Delta’s

declarant Dr. Short illustrated in the figure below, when the signal carriers carry

the same bits, they have the same phases, which add coherently to create a

transmission signal with a large spike in amplitude. TQ-2003, ¶22. TQ Delta

admitted that such signal has a “high PAR.” Resp., p.7.




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TQ-2003, ¶18.

        C.     Shively transmits the same data on multiple carriers, which
               increases PAR

        In Shively’s system the same bits are purposely sent in a redundant manner

on multiple carriers, which TQ Delta admits leads to high PAR.2 CSCO-1011,

11:17-18; Resp., p.10; CSCO-1027, 9:7-10. Because the same data (Shively’s “k-

bit symbol”) is modulated on multiple carriers, the carriers will phase align and

will add coherently to create a transmission signal with a spike in amplitude


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    Elsewhere TQ Delta argues that Shively does not suffer from increased PAR

(Resp., pp.47-49), but that argument is based on an erroneous analysis of a

hypothetical 18,000-foot ADSL line. TQ Delta and its expert repeatedly concede

that Shively transmits the same data on multiple carriers, which increases PAR.

Resp., pp.10; TQ-2003, ¶22; CSCO-1027, 96:16-20, 97:10-15, 100:4-7.


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(power). TQ-2003, ¶ 22; CSCO-1027, 97:21-23. This spike would not have

occurred without Shively’s technique, since the carriers would have been deemed

unusable, and no data would have been transmitted on those carriers. CSCO-1026,

¶6. Thus, Shively’s technique creates new amplitude spikes in the multicarrier

signal and causes an increase in PAR. Id.; Resp., pp.6-7.

       D.     Phase scrambling was a known technique for reducing PAR

       A POSITA would have known that one way to reduce PAR is to scramble

phases of individual carriers. As Dr. Tellado stated, “phase scrambling was

probably the most popular way” to reduce PAR. TQ-2002, 100:9:13; CSCO-1027,

9:11-13 (“just by rotating the symbols, then you can reduce the peak-to-average

ratio.”).

       Prior art technical publications confirm that phase scrambling was a known

way to reduce PAR. A 1996 article notes the use of “discrete multitone (DMT)

modulation technique … for applications [such as] asymmetric digital subscriber

line (ADSL).” CSCO-1023, p.1234; CSCO-1031, ¶2. The article describes prior

efforts “to reduce the peak-to average power ratio of the DMT signal,” and

proposes a technique employing a “random phasor transformation.” CSCO-1023,

p.1234-35. Dr. Short agreed that such phasor transformations include phase

scrambling. CSCO-1027, 77:18-20.

       Another 1997 article notes that “it is highly desirable to reduce the PAR” of



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a multicarrier signal. CSCO-1024, p.1; CSCO-1031, ¶3. To do so, the article

describes a transmitter that “constructs its transmit signal with low PAR by

coordinated addition of appropriately phase rotated signal parts” where the signal

parts are subcarriers within a multicarrier vector. CSCO-1024, p.1. This technique

was applied to DMT systems, where the DMT tones (carriers) had a “phase

rotation applied to each tone.” CSCO-1028, p.238; CSCO-1031, ¶7.

      Thus, prior to November 9, 1999 (the earliest claimed priority date of the

’158 Patent), multiple engineers working with DMT-based systems had written

about the use of phase scrambling to reduce PAR. These articles support Dr.

Tellado’s opinion that a POSITA would have been familiar with phase scrambling

as a known technique for reducing PAR. CSCO-1004, ¶¶60, 67; CSCO-1026, ¶54.

      TQ Delta presents no evidence to the contrary. While, TQ Delta’s declarant

Dr. Short agreed that randomizing phases of individual carriers is a way to reduce

PAR, he pointedly declined to provide any opinion regarding the fact that phase

scrambling was known in the prior art. CSCO-1027, 50:3-8, 51:4-11.

      Thus, all of the evidence of record supports the unchallenged conclusion that

a POSITA in the prior art timeframe would have been familiar with phase

scrambling as a technique for reducing PAR in DMT systems.




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       E.      Combining Stopler’s phase scrambler with Shively’s transmitter
               is merely the use of a known technique to improve a similar
               device.

       TQ Delta argues that Cisco failed to sufficiently explain how the Shively

and Stopler combination is the use of a known technique to improve a similar

device in the same way. Resp., pp.45-47. Instead, TQ Delta argues that Cisco

used hindsight bias to make the combination. Resp., pp.49-50. These assertions

are unfounded.

       First, the Petition unambiguously identified the “known technique” as

Stopler’s use of a phase scrambler to randomize the phases of subcarriers, which

improves (reduces) PAR. Pet., p.14.

       Second, the Petition explains that “[c]ombining Stopler’s phase scrambler

into Shively’s transmitter would have been a relatively simple and obvious solution

to reduce Shively’s PAR.” Pet., p.15. Thus, in the combination, the phase

scrambler improves Shively’s transmitter (by reducing PAR) in the same way that

the phase scrambler improves Stopler’s transmitter.

       Finally, the Petition explains that Shively and Stopler describe similar

devices, specifically, “multicarrier communications apparatuses, such as modems.”

Pet., p.17.

       Thus, the combination is merely the use of a known technique (phase

scrambling) to improve a similar device (multicarrier modem) in the same, known



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way (to reduce PAR). CSCO-1009, ¶¶ 62-70.

      F.    Market forces would have prompted a POSITA to combine
            Shively and Stopler

      TQ Delta argues that there were no “market forces” to prompt the

combination of Shively’s and Stopler’s techniques.” Resp., pp.55-57.

      But the most basic of market forces—cost—was recognized at the time as

influencing the development of multicarrier technology. Multiple engineers wrote

of the importance of minimizing cost:

            Cost – This is the dominant factor when dealing with consumer
            markets.

CSCO-1029, p.70; CSCO-1031, ¶8.

            Success of a service (and its underlying technology) depends
            greatly on its price and its relation to available alternatives.
            Service price, in turn, depends greatly on the cost of equipment
            and labor costs for operation….

CSCO-1028, p.17.

      As Dr. Short admitted, an increase in PAR is associated with more

expensive communication equipment. CSCO-1027, 45:15-46:12. The drive to

reduce equipment costs would have motivated a POSITA to include Stopler’s

phase scrambler in Shively’s transmitter to reduce PAR. CSCO-1026, ¶54. Thus,

combining Shively and Stopler would have been obvious for this additional reason.



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IV.     Stopler’s phase scrambler reduces PAR because it scrambles phases of
        individual QAM symbols

        TQ Delta argues that Stopler’s phase scrambler does not reduce PAR

because the phase scrambler is applied to DMT symbols, not to individual QAM

symbols. See Resp., pp.14-18, 57-59.3 But TQ Delta’s argument is based on an

illogical reading of Stopler and undermined by the testimony of its expert.

        A.     Dr. Short admitted that Stopler’s phase scrambler is applied to
               QAM symbols

        Stopler states that “the phase scrambler is applied to all symbols.” CSCO-

1012, 12:26-27. Dr. Short agreed that in this statement, Stopler refers to phase

scrambling QAM symbols:

               A.    …“However, to simplify implementation, the phase
               scrambler is applied to all symbols,” not just the overhead
               symbols, so he is implying that he's rotating the entire bank of
               symbols.…
               Q.    In that sentence, however, to simplify what you read --
               A.    Yes.
               Q.    -- it says it applies to all symbols, right?
               A.    Correct.
               Q.    And those symbols are QAM symbols?
               A.    Correct.

3
    A DMT symbol comprises multiple signal carriers, and signal carriers are also

referred to as QAM symbols.


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CSCO-1027, 59:9-12, 60:15-22 (emphasis added).

      More broadly, Stopler uses the word “symbol” multiple times in describing

the phase scrambler, and Dr. Short agreed that these refer to QAM symbols:

                                                                      CSCO-1027,
                                                                      54:17-55:3.

                                                                      CSCO-1027,
                                                                      55:19-24.


                                                                      CSCO-1027,
                                                                      59:9-12 &
                                                                      60:15-22.

CSCO-1012, 12:20-28 (annotated).

      Furthermore, there is no dispute that the input to Stopler’s phase scrambler is

a sequence of QAM symbols. CSCO-1027, 58:6-8. Thus, there is no dispute that

Stopler’s phase scrambler takes in QAM symbols and applies phase scrambling to

QAM symbols.

      B.     Stopler does not describe phase scrambling DMT symbols

      TQ Delta’s argument—that a POSITA would have understood Stopler as

teaching the phase scrambling of DMT symbols—is illogical and has no basis in

Stopler’s text. Resp., p.34. Indeed, Dr. Short admitted that Stopler does not

describe applying the phase scrambler to a DMT symbol:

             Q.    Well, you would agree with me that [Stopler] doesn't


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             expressly teach applying the phase scrambler to the DMT as a
             whole?
             A.     I would agree with that.

CSCO-1027, 60:11-14.

       Stopler states that the purpose of the phase scrambler is to “randomize the

overhead channel symbols.” CSCO-1012, 12:24. Since overhead channel symbols

are QAM symbols (see CSCO-1027, 55:19-24), Stopler’s intent is to randomize the

phases of QAM symbols. Randomizing DMT symbols—as TQ Delta argues—

would not achieve Stopler’s stated purpose for the phase scrambler. CSCO-1026,

¶57.

       The illogic of TQ Delta’s argument is further demonstrated by the broader

context of the phase scrambler in Stopler’s system. CSCO-1026, ¶¶55-58. Stopler

contemplates that the phase scrambler could be used with either a DMT or CDMA

modulator. CSCO-1012, 12:55-57; see also Resp., pp.32-33. Since a CDMA

modulator does not employ DMT symbols, there is no reason for Stopler’s phase

scrambler to operate on DMT symbols. CSCO-1026, ¶58. In contrast, both DMT

and CDMA modulators employ QAM symbols. Id. Thus the straightforward

reading of Stopler—as applying the phase scrambler to individual QAM

symbols—is the only possible reading that is logically and technically coherent.

Id.



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      C.     Stopler contemplates systems with multiple pilot tones and
             multiple kinds of overhead channel symbols

      TQ Delta argues that Stopler should be understood as phase scrambling

DMT symbols because the phase scrambler’s purpose is to randomize the overhead

channel symbols, and each DMT symbol in the ANSI T1.413-1995 standard has

only one pilot tone. Resp., p.40; see CSCO-1018, p.46. This argument fails for

multiple reasons, including that it ignores the plain text of Stopler.

      First, Stopler does not limit overhead channel symbols to a single pilot tone

per DMT symbol. Indeed, Stopler refers elsewhere to multiple “pilot tones.”

CSCO-1012, 12:51-52. Furthermore, Stopler’s techniques are not limited to ANSI

T1.413-1995 or even DMT, but are applicable to any “particular signal modulation

desired.” CSCO-1012, 12:56-57. As Dr. Short admitted, other multicarrier

technologies can use more than one pilot tone. CSCO-1027, 61:15-18.

      Second, pilot tones are just an example of overhead symbols. See CSCO-

1012, 9:62 (“overhead signals, such as pilot tones”) & 12:51-52 (“overhead bits

(e.g., pilot tones)”) (emphases added). Many other kinds of overhead channel

symbols are also possible. For example, the TIE/EIA-95 Standard referenced in

Stopler describes multiple overhead channels that include one pilot channel, one

sync channel and up to 9 paging channels. TQ-2005, pp.728-729; CSCO-1012,

12:61-63. Thus, the entire logic of TQ Delta’s argument is based on the incorrect

premise that Stopler assumed that the only overhead would be a single ANSI

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T1.413-1995 pilot tone.

      A POSITA would have understood that data in the overhead channel

symbols will probably not be random, but is likely to be highly structured. CSCO-

1009, p.24. In the ANSI T1.413-1995 standard, for example, the bits encoding the

pilot tone are held constant at zero. CSCO-1018, p.64. Such non-random,

structured data increases the likelihood for phases of carriers to align, thereby

increasing PAR. CSCO-1009, ¶59. To break up the structured data, Stopler

employs a phase scrambler that scrambled phases of overhead channel symbols,

and thereby reduces PAR. CSCO-1009, ¶60; CSCO-1026, ¶¶57-58.

      D.     TQ Delta’s arguments about the ’156 patent are moot because it
             changes the phase of individual QAM symbols

      TQ Delta argues that Stopler’s phase scrambler operates on DMT symbols

because it is implementing a noise-immunity technique described in

U.S.6,370,156. Resp., pp.38-40. This argument fails for several reasons.

      First, TQ Delta does not offer any explanation for how Stopler, the inventor,

would have learned of the noise-immunity technique in the ’156 patent, which was

not published before it was granted in 2002. Thus, at the time of the Stopler

patent’s filing in 1999, the inventor Stopler could not have known of the patent

application that resulted in the ’156 patent.

      Second, the ’156 patent does not scramble DMT symbols. Rather, the ’156

patent describes sequencing the pilot carrier—and only the pilot carrier—through

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four different phase values. See TQ-2004, 7:5-6, 7:40-45. Dr. Short agreed that the

’156 Patent rotates only the phase of the pilot carrier (tone), not the phase of an

entire DMT symbol. CSCO-1027, 67:4-9.

      Thus, not even the ’156 patent describes changing the phase of an entire

DMT symbol. Even if Stopler used the ’156 patent’s technique—and the evidence

discussed below suggests that it does not—that fact would still not support TQ

Delta’s assertion that Stopler’s phase scrambler is applied to DMT symbols.

      Third, there are significant technical differences between Stopler’s phase

scrambler and the technique described in the ’156 patent. The ’156 patent changes

the phase of only the pilot carrier. TQ-2004, 7:40-45; CSCO-1027, 67:4-9.

Stopler’s phase scrambler, however, is applied not just to the pilot tone, but to “all

symbols.” CSCO-1012, 12:26-28.

      Stopler and the ’156 patent also differ in their phase rotation sequences. The

’156 patent changes its pilot carrier using a repeating sequence of four rotations.

TQ-2004, 7:40-45; see also CSCO-1027, 76:24-77:5 (explaining that the ’156

patent does not require random phase changes). Stopler, on the other hand, uses a

“phase scrambling sequence… generated by a pseudo-random generator,” making

the phase changes effectively random. CSCO-1012, 12:28-29.

      Thus, there is virtually no similarity between Stopler’s phase scrambler and

the ’156 patent’s technique, and therefore no reason to believe that Stopler’s


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description of the phase scrambler should be read as using ideas from the ’156

patent. And even if it were, the ’156 patent does not rotate the phase of entire

DMT symbols, so there is no reason to disturb the natural reading of Stopler as

applying its phase scrambler to QAM symbols.

V.    TQ Delta’s remaining arguments are without merit

      TQ Delta raises a variety of additional arguments, none of which hold up to

even moderate scrutiny.

      A.     Shively’s technique is not limited to 18,000 foot cables

      In support of its allegation that Shively’s technique does not increase PAR,

TQ Delta presents a supposed analysis of Shively’s PAR for an 18,000 foot cable.

Resp., pp.27-29. While that analysis is deeply flawed—as discussed below—the

entire premise for looking at an 18,000 foot example is illusory. Shively is not

limited to cable lengths of 18,000 feet. Shively merely mentions this length in

passing as an example of where “high signal attenuation… is usually observed.”

CSCO-1011, 9:66-10:1. Notably, the T1.413-1995 standard defines multiple “test

loops,” including loops of ten, 6000, 9000, and 12000 feet. CSCO-1018, p.118;

TQ-2002, 57:3-4 (“modems have to work with different lengths of loops, not only

18,000 feet”).

      TQ Delta’s attempt to pigeonhole Shively’s technique to 18,000-foot cables

is also inconsistent with Shively’s disclosure. Shively describes its bit-spreading



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                                       Appx6527
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technique as a way to use “impaired parts of the frequency band,” and to

“compensate for high attenuation and/or high noise” in such impaired subcarriers.

CSCO-1011, 15:58-59, 15:50. Dr. Short admitted that other impairments—

including crosstalk noise—occur on line lengths of less than 18,000 feet and

agreed that Shively’s technique could be used on lines with noise-induced

impairments. CSCO-1027, 24:8-25:10, 93:11-94:8.

      The ANSI T1.413-1995 standard describes crosstalk as potentially

significant noise source in an ADSL system. There are many sources of crosstalk

and relatively short lines can have significant crosstalk noise. CSCO-1026, ¶7.

The ANSI standard provides multiple graphs showing the potential near-end cross

talk (“NEXT”) noise levels caused by various kinds of adjacent communication

lines. As illustrated below, the NEXT noise levels are above the -140 dBm/Hz

background noise floor:




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                                                       background
                                                       noise floor




                                                        background
                                                        noise floor




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                                                 Petitioner’s Reply, IPR2016-01021




                                                                    background
                                                                    noise floor




CSCO-1026, ¶¶9-11; CSCO-1018, pp.138, 140, 142.

      The ANSI T1.413-1995 standard also provides an example graph showing

potential far-end crosstalk in an ADSL system:




                                      25
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                                                                     background
                                                                     noise floor




CSCO-1026, ¶12; CSCO-1018, p.144.

      These graphs of crosstalk noise levels show that crosstalk noise can be a

significant line impairment, with the crosstalk noise exceeding the -140 dB/Hz

background noise level. CSCO-1026, ¶13. Because crosstalk can be significant on

even short lines, Shively’s technique could be usefully applied to any line length.

CSCO-1026, ¶14. Accordingly, there is no basis for TQ Delta’s attempt to limit

Shively’s technique to only 18,000-foot cables.

      B.     Dr. Short’s analysis of a hypothetical 18,000 foot cable is flawed

      Because Shively’s technique is not limited to 18,000 foot cables, the entire

premise of Dr. Short’s supposed analysis of such an example is baseless. Further,


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Dr. Short makes fundamentally incorrect assumptions that render his results

untrustworthy and meaningless.

      Specifically, Dr. Short assumes that a multicarrier signal is approximately

Gaussian, even when bits are repeated on multiple carriers. TQ-2003, ¶66. This

is a fundamental engineering error, since the Gaussian approximation only holds

when the phases of the individual carriers are random. CSCO-1026, ¶16; CSCO-

1030, p.362 (“The amplitude distribution of a DMT signal with random input data

is approximately Gaussian for large number of carriers.”); CSCO-1031, ¶4; CSCO-

1001, 1:52-55. Shively’s technique breaks that assumption because the bit-

spreading subcarriers are purposely set to the same phase.

      Because a system employing Shively’s technique does not have carriers with

random phases, the signals produced by such a system cannot be reasonably

approximated by a Gaussian random variable. CSCO-1026, ¶16. The following

examples demonstrate this fact and illustrate the enormous errors that resulted from

Dr. Short’s use of the approximation.

      1.     Likelihood of phase alignment for random data

      In a multicarrier signal transmitting random data, the phase of each

subcarrier is essentially random. If two carriers are phase-modulated with one bit

per subcarrier, the likelihood of both bits being equal—and the carriers having the

same phase—is 2 in 4:



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                    Bit #1           Bit #2        Phases Aligned?
                      0                0              Aligned

                       0               1             Not aligned

                       1               0             Not aligned

                       1               1               Aligned



      Thus, if the bits are random, the likelihood of the subcarriers having the

same phase is 50%. CSCO-1026, ¶18. With four bits, the likelihood of four

subcarriers having the same phase is 2 in 16, or 12.5%. CSCO-1026, ¶20. With 8

bits, the likelihood is 2 in 256, or 0.78%. CSCO-1026, ¶21. Generally, the

likelihood of n subcarriers transmitting n random bits all having the same phase is:

                                           ଶ
                                                                                 Eq. 1
                                         ଶ೙

CSCO-1026, ¶22.

      2.     Likelihood of phase alignment using Shively’s bit-spreading
             technique

      Shively’s technique significantly changes the likelihood of multiple carriers

having the same phase because the carriers’ phases are no longer independent of

one another. Instead, multiple carriers are purposely modulated with the same bit,

and thus they have the same phase. Shively suggests using groups of 4 carriers.

CSCO-1011, 13:49-52. Thus, all 4 carriers in a group employing Shively’s



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technique will have the same phase. Their likelihood of phase alignment is

100%—a stark contrast to the 12.5% chance if those 4 carriers were independent of

one another. CSCO-1026, ¶24. If 8 carriers use Shively’s technique (two groups

of 4), the likelihood of all 8 carriers being phase-aligned is 50%; again this is in

stark contrast to the 0.78% chance if those carriers had uncorrelated, random

phases. Id. In general, the likelihood of n carriers all having the same phase if

they are employing Shively’s technique is:

                                           ଶ
                                            ೙                                      Eq. 2
                                           ቀ ቁ
                                         ଶ ర

CSCO-1026, ¶25.

      3.     Comparing the phase-alignment likelihoods for Shively’s
             technique and random data

      Graphing equations 1 and 2 shows that they are never very close, and they

only grow farther apart as the number of subcarriers increases:




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  0.1

0.001

1E‐05

1E‐07

1E‐09                                                                                 Random
                                                                                      (Eq. #1)
1E‐11
                                                                                      Shively
1E‐13                                                                                 (Eq. #2)
1E‐15

1E‐17

1E‐19

1E‐21
        8      16       24       32        40           48       56         64
                                      number of carriers
CSCO-1026, ¶26.

        Thus, the probability of multiple subcarriers having their phases aligned is

radically different between the random-data case and Shively’s technique. The

enormity of the differences is also apparent when considering how frequently a

given number of carriers will be phase-aligned in a system—such as ADSL—that

transmits 4000 symbols/second:

Number of             Frequency of perfect                   Frequency of alignment
carriers              alignment for random data              for Shively’s bit-spreading
         4            500 times per second                   4000 times per second
         8            31 times per second                    2000 times per second
        16            Once every 8 seconds                   500 times per second
        24            Once every 35 minutes                  125 times per second
        32            Once every 6 days                      31 times per second
        48            Once every 1100 years                  2 times per second
        52            One every 17,850 years                 Once per second

CSCO-1026, ¶28.


                                           30
                                          Appx6535
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      Dr. Short used an example of Shively’s technique on 16 carriers. See TQ-

2003, ¶66. A Gaussian probability distribution grossly underestimates the

likelihood of phase alignment—by several orders of magnitude—and thus grossly

underestimates the probability of clipping. CSCO-1026, ¶29. Dr. Short effectively

assumed that all 16 carriers would be phase-aligned only once every 8 seconds. In

reality Shively’s technique will cause them to be phase-aligned 500 times per

second. Id. Because Dr. Short’s numerical analysis is based entirely on an

erroneous assumption, his results are unreliable. Id. Thus, Dr. Short’s opinions

and his analysis regarding Shively’s PAR should not be accorded any weight.

      C.       A rigorous analysis of using Shively’s technique shows that it
               significantly increases PAR and the likelihood of clipping

      Because Shively’s technique causes multiple subcarriers to be purposely set

to the same phase, a system employing Shively’s technique cannot be analyzed

using a Gaussian approximation. While a POSITA would have intuitively known

that Shively’s technique would significantly increase PAR, quantifying the exact

level of increase would have called for running a numerical simulation of the

transmitter. CSCO-1026, ¶42. Such simulations were commonly created and

performed by engineers working on ADSL designs in the 1990s. CSCO-1026,

¶43; see, e.g., CSCO-1030, p.367; CSCO-1032, p.774; CSCO-1033, p.758; CSCO-

1031, ¶¶5-6.

      Consistent with what a POSITA would have done to quantify the effect of

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Shively’s technique on PAR, Dr. Tellado created a simulation based, in part, on

TQ Delta’s Exhibit 2009, Figure 6, shown below:




                                                        1-bit (non-repeating)
                                                        threshold


                                                        1-bit, 4-carrier-
                                                        repeating threshold



                       Unimpaired      Impaired Unusable
                        Carriers        Carriers Carriers


CSCO-2009, Fig. 6 (annotated).

      To show the effect of Shively’s technique on PAR, Dr. Tellado analyzed the

attenuation graph of a 12,000 foot AWG 26 cable. Dr. Tellado’s analysis shows

that the 12,000 foot cable would have approximately 188 unimpaired (with 6 left

unused), 53 impaired, and 15 unusable carriers. CSCO-1026, ¶¶37-38. Because

Shively suggests grouping impaired carriers into groups of four, Dr. Tellado

arranged 52 of the 53 carriers into 13 groups of 4 carriers each. CSCO-1026, ¶38.

      Dr. Tellado simulation uses the above analysis and includes four scenarios:


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             Scenario #1: An all-carriers baseline simulates an ADSL transmitter

               employing QAM-4 modulation of random data on all 250 downstream

               carriers. The transmitter is operating on full average power. CSCO-

               1026, ¶47.

             Scenario #2: A Gaussian distribution with the same power as the all-

               carriers baseline shows that Gaussian approximation can closely

               estimate the power required to transmit data on all 250 carriers. Id.

             Scenario #3: A 12,000 foot baseline simulates an ADSL transmitter

               employing a QAM-4 modulation of random data on 182 out of 250

               downstream carriers. Because only 182 carriers are modulated with

               random data, the transmitter operates on approximately 79% of full

               average power. Id.

             Scenario #4: A Shively 12,000 foot scenario simulates an ADSL

               transmitter employing QAM-4 modulation of random data on the 182

               carriers, and using Shively’s technique to transmit additional 13 bits

               of data spread across 52 impaired carriers (in 13 groups of 4 each). Id.

        The graph below shows the results of the four scenarios.4 The ANSI T1.413-



4
    Such graphs were commonly used in the prior art to evaluate transmitter designs.

CSCO-1026, ¶46; CSCO-1030, p.367; CSCO-1024, p.4.


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                                         Appx6538
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1995 standard’s maximum clipping rate, when expressed in terms of DMT symbol

clipping as graphed, corresponds to a DMT symbol clipping rate of approximately

5.1×10-5. CSCO-1026, ¶48.




                                                                         5.1 x 10-5
                                                                         clipping
                                                                         threshold




CSCO-1026, ¶¶48-49.

      The impact of Shively’s technique is evident in comparing Scenario #3 to

Scenario #4. If only 182 carriers carry data (Scenario #3), the PAR at the clipping

threshold is approximately 12.9 dB. But when Shively’s technique (Scenario #4) is

applied to the 52 impaired carriers (13 groups of four), the PAR increases to

approximately 15.5 dB. This increase in PAR is significant, and a POSITA in the

1990s would have considered a PAR increase of 2.6 dB—representing an 82%

increase in power—to be very large. CSCO-1026, ¶49.


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                                      Appx6539
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      The increase in PAR can also be appreciated by considering response of an

ordinary ADSL transmitter (represented by Scenario #1 that intersects the clipping

threshold at a PAR of 14.2 dB) when presented with a DMT symbol employing

Shively’s technique. A transmitter handling only PAR of 14.2, used in Scenario #4,

would have a clipping rate of 10-3 and incur a clipping event approximately 4 times

per second. CSCO-1026, ¶50. Thus, the ordinary ADSL transmitter would not

meet the clipping requirement of ANSI T1.413-1995 when presented with a DMT

symbol employing Shively’s technique under the conditions of Scenario #4.

CSCO-1026, ¶50.

      Dr. Tellado’s simulation considers only specific scenarios. Shively’s

technique would have an even worse impact on PAR in other scenarios that take

into account additional factors, such as other line lengths and crosstalk noise.

CSCO-1026, ¶51.

      Thus, the correct analysis of Shively’s technique confirms what a POSITA

would have recognized without performing any calculations: that Shively’s

technique significantly increases PAR. CSCO-1026, ¶52. Because (as the parties

agree) an increase in PAR is undesirable in multicarrier systems, a POSITA would

have sought out to pair Shively’s technique with techniques for reducing PAR,

such as phase scrambling taught by Stopler. CSCO-1026, ¶54.




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      D.     High PAR causes more problems than just clipping

      TQ Delta argues that because Shively does not present “a PAR problem”,

there is no need to look for a solution to reduce PAR. Resp., p.50. This argument is

based on TQ Delta’s erroneous 18,000-foot analysis (which is invalid, as discussed

above) and its attempt to limit a “PAR problem” to situations in which a “PAR-

induced error[]” such as signal clipping occurs. Resp., pp.7-8. But a high PAR

was known to cause multiple kinds of problems, not just clipping. Dr. Short

admitted that equipment designed to handle a high PAR signal could be larger,

more expensive, more power hungry, and less efficient. TQ-2003, ¶26; CSCO-

1027, 45:21-46:19. He further admitted that these problems would motivate

engineers to look for ways to reduce PAR. CSCO-1027, 46:23-47:2. Prior art

articles confirm that engineers sought to minimize the equipment cost, power

consumption, and heat generation associated with ADSL’s high-PAR signals. See

CSCO-1029, pp.70 & 176-177; CSCO-1030, p.362.

      In summary, the negative implications of a high-PAR signal are not limited

to signal clipping. The numerous problems associated with high PAR would have

motivated a POSITA to look for ways to reduce the PAR of Shively’s technique.

CSCO-1026, ¶¶3, 54.

      E.     Stopler’s diagonalization technique is optional, not required

      TQ Delta argues that Shively and Stopler cannot be combined because



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                                      Appx6541
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Stopler’s “diagonalization” technique would introduce unacceptable latency.

Resp., pp.51-55. TQ Delta’s argument is meritless.

      First, the obviousness combination does not rely on Stopler’s

diagonalization technique. Rather, the combination incorporates Stopler’s phase

scrambling technique into Shively in order to offset the PAR increase caused by

Shively’s technique. See Pet., p.14. Because the combination does not rely on

diagonalization, TQ Delta’s argument is simply a red herring.

      Second, diagonalization is optional in Stopler, which makes statements like

“regardless of whether diagonalization is being used.” CSCO-1012, 10:17, 13:1-3.

Thus, any incompatibility between diagonalization and Shively is irrelevant.

CSCO-1026, ¶60.

      Finally, TQ Delta’s assertion that the slope of Stopler’s diagonalization

technique causes unacceptable latency is incorrect. Stopler states “[o]ther slopes

may be used” and advises “taking into account trade-offs between latency and

noise immunity.” CSCO-1012, 8:35, 12:47-48. Thus, Stopler’s diagonalization

technique could use a slope that would not cause unacceptable latency. CSCO-

1026, ¶61.




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                                      Appx6542
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        F.     Ground #2: Combining Bremer with Shively and Stopler would
               have been obvious

        Regarding claims 6 and 20,5 TQ Delta asserts that Cisco provided an

insufficient rationale for combining Bremer’s teaching of a complementary

pseudorandom number generator with Shively and Stopler. However, Cisco

provided a detailed explanation of the rationale, supported by the opinion of Dr.

Tellado. See Pet. pp.42-47 (citing CSCO-1009, pp.75-81). Notably, Dr. Short did

not offer any testimony in support of TQ Delta’s position.

        Indeed, Dr. Short largely agrees with Cisco’s position that a POSITA would

have recognized the need for a second pseudorandom number generator (taught

Bremer) in a receiver communicating with Shively’s transmitter. In his book

chapter, Dr. Short explained that when scrambling is performed in a transmitter

based on a pseudorandom sequence (as in Stopler), the receiver needs to use the

same pseudorandom sequence to descramble the data. CSCO-1022, p.93. Dr.

Short also wrote that “Of course, the receiver must use the same seed value as the

transmitter for the descrambling to work properly.” CSCO-1022, p.94. Dr. Short

further confirmed that these concepts would have been known to a POSITA.

CSCO-1026, 89:11-90:5. Thus, Dr. Short’s testimony supports Dr. Tellado’s

opinion that it would have been obvious to a POSITA “that the second transceiver


5
    The Patent Owner Response (p.59) mistakenly refers to claims 6 and 15.


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                                       Appx6543
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                                                 Petitioner’s Reply, IPR2016-01021

of Shively/Stopler (which receives data from the first transceiver) should include a

second pseudo-random number generator, as taught by Bremer.” CSCO-1009,

p.78. Dr. Short also supports Dr. Tellado’s opinion that “it would have been

obvious to a POSITA to incorporate the use of the same seed value at the remote

receiver.” CSCO-1009, p.95.

      Finally, TQ Delta argues that Bremer’s teaching is inapplicable because

Bremer is a single-carrier system, while Shively and Stopler are multicarrier

systems. Resp., pp.60. But as Dr. Tellado explained, Bremer’s concept can be

“applied on a carrier-by-carrier basis” (CSCO-1009, p.81), that is, treating each of

Shively/Stopler’s multiple carriers (QAM symbols) independently. This

application of Bremer’s teachings to a multicarrier system is consistent with

Stopler’s description of applying phase rotations (determined via a pseudorandom

number generator) to individual QAM symbols. CSCO-1012, 12:31-45.

VI.   Conclusion

      None of the TQ Delta’s arguments withstand scrutiny. For the reasons

above and in Cisco’s Petition, the Board should find all claims unpatentable.

                                       Respectfully submitted,

Date: June 8, 2017                     /David L. McCombs
                                       David L. McCombs
                                       Registration No. 32,271
                                       Attorney Docket No.: 43614.265




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                                      Appx6544
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                                                 Petitioner’s Reply, IPR2016-01021

VII.   Certificate of Word Count

       Pursuant to 37 C.F.R. § 42.24, the undersigned attorney for the Petitioner,

Cisco Systems, Inc. (“Cisco”), declares that the argument section of this Petition

(Sections I-VI) has a total of 5599 words, according to the word count tool in

Microsoft Word™.


                                       /David L. McCombs/
                                       David McCombs
                                       Registration No. 32,271




                                        40
                                       Appx6545
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                         CERTIFICATE OF SERVICE

      The undersigned certifies service under 37 C.F.R. §§ 42.6(e) by electronic

mail a true and correct copy of PETITIONER’S REPLY AND EXHIBITS 1021-

1034 on June 8, 2017, upon counsel for the Patent Owner via the listed email

below:

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Dated: June 8, 2017                         Respectfully submitted,

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Trials@uspto.gov                                                Paper 24
571-272-7822                                      Entered: June 22, 2017


        UNITED STATES PATENT AND TRADEMARK OFFICE
                        ____________

         BEFORE THE PATENT TRIAL AND APPEAL BOARD
                        ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                      v.

                             TQ DELTA, LLC,
                              Patent Owner.
                              ____________

               Cases IPR2016-01006 (Patent 7,835,430 B2)1
                  IPR2016-01008 (Patent 8,238,412 B2)
                  IPR2016-01020 (Patent 9,014,243 B2)
                  IPR2016-01021 (Patent 8,718,158 B2)
                            ____________




1
   DISH Network, L.L.C., Comcast Cable Communications, L.L.C., Cox
Communications, Inc., Time Warner Cable Enterprises L.L.C., Verizon
Services Corp., and ARRIS Group, Inc. have been joined in these
proceedings. See, IPR2017-00251, IPR2017-00253, IPR2017-00254,
IPR2017-00255, IPR2017-00417, IPR2017-00418, IPR2017-00419, and
IPR2017-00420. This Order addresses the same issues in the above listed
proceedings. Therefore, we issue one Order to be filed in all of the above
listed proceedings. The parties, however, are not authorized to use this style
of filing in subsequent papers.

                                   Appx6553
       Case: 18-1766      Document: 49-2      Page: 435    Filed: 11/21/2018

IPR2016-01008 (Patent 8,238,412 B2)
IPR2016-01020 (Patent 9,014,243 B2)
IPR2016-0102 (Patent 8,718,158 B2)

Before SALLY C. MEDLEY, KALYAN K. DESHPANDE, and
TREVOR M. JEFFERSON, Administrative Patent Judges.

MEDLEY, Administrative Patent Judge.
                                  ORDER
                          Conduct of the Proceeding
                              37 C.F.R. § 42.5

      On June 21, 2017, a conference call was held involving counsel for
the respective parties and Judges Medley, Deshpande, and Jefferson. The
purpose of the conference call was for Patent Owner to seek authorization to
file a motion to strike Petitioner’s Reply and/or to file a sur-reply to
Petitioner’s Reply in each of the above listed proceedings. Patent Owner
opposed.
      During the conference call, we explained that Patent Owner is not
authorized to file motions to strike or sur-replies. We did authorize,
however, Patent Owner to file a paper, limited to two pages, which provides
an itemized listing, by page and line number, of what statements and
evidence in the Petitioner’s Reply are deemed by Patent Owner to be beyond
the proper scope of a reply. No argument is to be included in the contents of
the submission. We also authorized Petitioner to file a responsive paper,
limited to two pages, which provides an item-by-item response to the items
listed in Patent Owner’s submission. Each item in Petitioner’s responsive
paper would identify that part of Patent Owner’s Response, by page and line
number, to which the corresponding item complained of by the Patent
Owner is provided as a response, if indeed that is the case. No argument is
to be listed in the contents of the submission.

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                                    Appx6554
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IPR2016-01008 (Patent 8,238,412 B2)
IPR2016-01020 (Patent 9,014,243 B2)
IPR2016-0102 (Patent 8,718,158 B2)

      Accordingly, it is
      ORDERED that Patent Owner’s submission in each of the above
listed proceedings is due on June 27, 2017; and
      FURTHER ORDERED that Petitioner’s submission in each of the
above listed proceedings is due on July 3, 2017; and
      FURTHER ORDERED that the party responsible for obtaining the
court reporter shall file a copy of the transcript of the conference call as an
exhibit by June 27, 2017.


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                                      3
                                   Appx6555
Case: 18-1766   Document: 49-2   Page: 437       Filed: 11/21/2018

       IPR2016-01008 (Patent 8,238,412 B2)
       IPR2016-01020 (Patent 9,014,243 B2)
       IPR2016-0102 (Patent 8,718,158 B2)



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       UNITED STATES PATENT AND TRADEMARK OFFICE
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         BEFORE THE PATENT TRIAL AND APPEAL BOARD
                        ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                     v.

                             TQ DELTA, LLC,
                              Patent Owner.
                              ____________

                           Case IPR2016-010211
                            Patent 8,718,158 B2
                              ____________




1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00255, and
Comcast Cable Communications, L.L.C., Cox Communications, Inc., Time
Warner Cable Enterprises L.L.C., Verizon Services Corp., and ARRIS
Group, Inc., who filed a Petition in IPR2017-00417, have been joined in this
proceeding.

                                  Appx6557
          Case: 18-1766        Document: 49-2   Page: 439     Filed: 11/21/2018

Patent Owner Motion For Observation
IPR2016-01021

Patent Owner’s expert, Dr. Short, are based on the long loops with high attenuation

and noise to which Shively’s teachings are directed.

Observation #3

      In Ex. 2013, at 46:10–47:20, Dr. Tellado testified:

   Q. Did you run a simulation --

   A. Yes.

   Q. -- using an 18,000-foot loop with the attenuation characteristics shown
   in Figure 6 on page 18 of your declaration?

   A. So in this AWG26 loop of 18,000 feet, I did a quick estimate.

   Q. But you didn't run a full simulation on it?

   A. Not a full simulation.

                                         ***

   Q. What did you determine from your quick estimate?

   A. That Dr. Short’s approximation of a Gaussian approximation was poor.
   It was worse than -- than Dr. Short said.

   Q. How much worse?

   A. I don't recall. It was significantly worse.

   Q. You don't recall. Did you run a simulation?

   A. I said I ran a quick estimate to see if the Gaussian approximation was
   good, and it was not.

   Q. How did you do that quick estimation?

   A. Using similar techniques to the ones that I provided.

   Q. Where is that simulation?



                                         3
                                       Appx6567
          Case: 18-1766     Document: 49-2     Page: 440   Filed: 11/21/2018

Patent Owner Motion For Observation
IPR2016-01021

   A. So when I started working the declaration, I just did a quick estimate to
   see if the Gaussian approximation was correct, and I determined it was not.

   Q. Did you use MATLAB for that?

   A. Yes.

   Q. Where are the results of that MATLAB?

   A. I don't have them.

      That testimony is relevant to the credibility of, sufficiency of, and factual

basis for Dr. Tellado’s statement, in Ex. CSCO-1026 at ¶ 29 (p. 17), that “Dr.

Short’s analysis is flawed ….” The testimony is relevant because (1) it shows that,

in evaluating Dr. Short’s analysis, Dr. Tellado did not run a “full simulation,” he

does not “recall” the results, and he no longer has the results, and (2) that

simulation would show whether Dr. Short’s analysis is flawed.

Observation #4

      In Ex. 2013, at 50:6–56:17, Dr. Tellado testified:

   Q. Are you suggesting that Dr. Short’s -- if you had run a full simulation on
   Dr. Short’s 18,000-foot loop, assuming the 88 usable carriers and 16
   Shively carriers and the remainder unusable, are you telling me that that
   would be worse than your Scenario 1 here?

   A. I didn't say that. I just said it was diverging relative to a Gaussian
   process.

                                        ***

   Q. If we were to run a Gaussian on the 104 carriers that you ran this quick
   simulation on, where would that line show up in graph 2 on your -- page 30
   of your declaration?



                                        4
                                      Appx6568
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Patent Owner Motion For Observation
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2003 at ¶ 63 (p. 32), that “[w]hile Shively’s ‘spreading’ idea will cause a small

uptick in clipping probability, any increase is negated many times over by the

enormous reduction in clipping achieved by reducing signal power by more than

half. Based on worst-case assumptions regarding Shively’s spreading idea, the

clipping probability for both normal and power-boost modes is virtually zero.”

The testimony is relevant because it shows that Dr. Tellado does not know whether

Dr. Short’s conclusion is flawed.

Observation #5

      In Ex. 2013, at 58:10–60:24, Dr. Tellado testified:

   Q. So Dr. Tellado, did you save, in any form, your MATLAB simulation
   script for the 18,000-foot loop scenario?

   MR. McDOLE: Objection; asked and answered.

   THE WITNESS: I don't recall.

                                        ***

   Q. Did you share with anyone, including your lawyers, a copy of your
   MATLAB simulation script for 88 usable carriers and 16 Shively carriers?

   A. I don't recall.
                                        ***

   Q. Did you save, in any form, the output of your MATLAB simulation for
   the 88 random carriers and 16 Shively carriers?

   A. I don't recall.

   Q. Do you currently have in your possession, in any form, the output of
   your MATLAB simulation for the 88 usable carriers and 16 Shively
   carriers?

                                        6
                                      Appx6570
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Patent Owner Motion For Observation
IPR2016-01021

   A. I don't recall.

      That testimony is relevant to the credibility of, sufficiency of, and factual

basis for Dr. Tellado’s statement, in Ex. CSCO-1026 at ¶ 29 (p. 17), that “Dr.

Short’s analysis is flawed ….” The testimony is relevant because it shows that Dr.

Tellado used a MATLAB simulation to evaluate the 18,000 foot loop scenario that

Dr. Short relied on, but Dr. Tellado “does not recall” whether any record of that

simulation still exists, and that simulation would show whether Dr. Short’s analysis

is flawed.

Observation #6

      In Ex. 2013, at 114:12-16 and 116:18-20, Dr. Tellado testified:

   Q. Do you know intuitively whether 88 random carriers and 16 Shively
   carriers would have a lower probability of clipping than Scenario 2?

   MR. McDOLE: Objection; form.

   THE WITNESS: No, I’m not going to guess.

                                         ***

   Q. Do you know intuitively whether Scenario 5 presents a lower chance of
   clipping than Scenario 2?

   A. I don’t want to guess.

      That testimony is relevant to (1) the scenarios shown on the graph in Ex.

2011 and (2) the credibility of Dr. Tellado’s statement, in Ex. CSCO-1026 at ¶ 52

(p. 32), about “what a POSITA would have intuitively recognized without

performing mathematical calculations.” The testimony is relevant because Ex.

                                         7
                                       Appx6571
          Case: 18-1766   Document: 49-2   Page: 443   Filed: 11/21/2018




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          UNITED STATES PATENT AND TRADEMARK OFFICE
                          _____________

           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                          _____________

             CISCO SYSTEMS, INC., DISH NETWORK, LLC,
              COMCAST CABLE COMMUNICATIONS, LLC,
                    COX COMMUNICATIONS, INC.,
               TIME WARNER CABLE ENTERPRISES LLC,
           VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                             Petitioner,

                                      v.

                              TQ DELTA, LLC
                                Patent Owner
                               _____________

                      Case No. IPR2016-010211
                        Patent No. 8,718,158
                          _____________
PATENT OWNER’S MOTION TO EXCLUDE EXHIBITS 1022, 1023, 1024,
1025, and 1028, PORTIONS OF THE TELLADO TESTIMONY (EX. 2013),
  AND PORTIONS OF THE 2nd TELLADO DECLARATION (EX. 1026)
                  PURSUANT TO 37 C.F.R. § 42.64(c)

1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00255, and Comcast
Cable Communications, L.L.C., Cox Communications, Inc., Time Warner Cable
Enterprises L.L.C., Verizon Services Corp., and ARRIS Group, Inc., who filed a
Petition in IPR2017-00417, have been joined in this proceeding.



                                   Appx6580
             Case: 18-1766   Document: 49-2     Page: 444    Filed: 11/21/2018

                                                    Patent Owner Motion to Exclude
                                                                  IPR2016-01021



I.     INTRODUCTION
       Patent Owner TQ Delta, LLC submits the following motion to exclude. The

exhibits in question should be excluded for Petitioner’s failure to cite documents

that constitute prior art, its untimely introduction of exhibits on Reply that are

irrelevant to the substantive issues and not cited in the Reply, rendering them

irrelevant, and its expert’s failure to retain copies of testing he performed on which

he relies.

II.    EXHIBITS 1022, 1023, 1024, 1025, AND 1028, PORTIONS OF THE
       TELLADO TESTIMONY (EX. 2013) AND PORTIONS OF THE
       SECOND TELLADO DECLARATION (EX. 1026) SHOULD BE
       EXCLUDED

       A.     EXHIBIT 1022 SHOULD BE EXCLUDED UNDER AT LEAST
              FED. R. EVID. 402
       Exhibit 1022 is a chapter and some additional pages from a book titled

WiMedia UWB. Patent Owner timely objected to Exhibit 1025. See Paper 25 at 1.

       Exhibit 1022 was not included with the Petition and it is not cited or

explained in the Reply. It is also not cited in the Second Tellado Declaration

(submitted with the Petitioner Reply). Exhibit 1022 should be excluded for this

reason alone as irrelevant and untimely under Fed. R. Evid. 402, Fed. R. Evid.

403, 37 C.F.R. § 42.23, and/or 37 C.F.R. § 42.61.




                                         2
                                       Appx6581
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                                                    Patent Owner Motion to Exclude
                                                                  IPR2016-01021

      Moreover, Exhibit 1022 should be excluded as irrelevant because it is not

prior art and therefore irrelevant to the knowledge of one of ordinary skill in the art

as of 1999. Both the book itself and the chapter in question (Ch. 3) bear copyright

dates of 2008. See Ex. 1022 at 3, 11. Patent Owner timely objected to Exhibit

1025. See Paper 25 at 2. There is no evidence that the book or the chapter cited

were publicly-available or otherwise constituted prior art as of 1999, the filing date

of the ’158 patent. See Ex. 1001 at cover. In other words, Exhibit 1022 is nine

years too late. Exhibit 1022 is irrelevant to show or evidence the knowledge of

one of ordinary skill as of the date the invention was made.

      The relevant time-frame for patentability is the time of the invention, and no

later than the effective filing date. See Synthon IP, Inc. v. Pfizer, Inc., C.A. No.

1:05cv1267, 2007 U.S. Dist. LEXIS 26115, at *15-17 (E.D. Va. Apr. 6, 2007)

(“[T]he obviousness inquiry asks whether the subject matter ‘would have been

obvious [to one of ordinary skill in the art] at the time the invention was made.’”),

quoting Alza Corp. v. Mylan Labs., Inc., 464 F.3d 1286, 1289 (Fed. Cir. 2006)

(emphasis added in Synthon); Walt Disney Prods. v. Fred A. Niles Communs. Ctr.,

Inc., 369 F.2d 230, 234 (7th Cir. 1966) (“The difference between the subject matter

sought to be patented and the prior art must be such that the subject matter as a

whole would have been obvious to a person having ordinary skill in the art to




                                         3
                                       Appx6582
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                                                      Patent Owner Motion to Exclude
                                                                    IPR2016-01021

which said subject matter pertains, as of the date of the invention.”; explaining that

the use of knowledge from a later date constituted impermissible hindsight).

         Because Exhibit 1022 was nine years too late, it is irrelevant under Fed. R.

Evid. 402, and should be excluded.2

         B.    EXHIBIT 1025 SHOULD BE EXCLUDED AS IRRELEVANT
               UNDER AT LEAST FED. R. EVID. 402
         Exhibit 1025 is a thesis from Petitioner’s Expert. It should be excluded for

multiple reasons. Patent Owner timely objected to Exhibit 1025. See Paper 25 at

2.

         Petitioner submitted Exhibit 1025 (Tellado thesis) for the first time on

Reply. Like Exhibit 1022, the thesis was not cited in either the Petition or the

Reply. Exhibit 1025 should be excluded for this reason alone as irrelevant and

untimely under F.R.E. 402, F.R.E 403, 37 C.F.R. § 42.23, and/or 37 C.F.R. §

42.61.

         Moreover, Exhibit 1025 should be excluded as irrelevant because it is not

prior art and therefore irrelevant to the knowledge of one of ordinary skill in the art

as of 1999. The only expert testimony offered by Petitioner in this case is offered

to show the viewpoint of a person of ordinary skill in the art as of the filing date of

2
    Exhibit 1022 should also be excluded because it is not cited in either the Reply or

the Second Tellado Declaration.


                                           4
                                         Appx6583
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                                                     Patent Owner Motion to Exclude
                                                                   IPR2016-01021

November 9, 1999. See Ex. 1009 ¶ 7. But, like Exhibit 1022, there is no evidence

that the Tellado thesis was publicly accessible as of this filing date. The Tellado

thesis itself lists two dates, without explanation—(1) a copyright date of 2000 (Ex.

1025 at 2); and (2) the statement “September 1999” under the author’s name. Id. at

1. After Patent Owner’s objection to Ex. 1025, Petitioner submitted supplemental

evidence to allege only that the thesis was “catalogued by the Stanford University

Libraries on May 9, 2000 (field 916) and was publicly available from the Stanford

University Libraries since this date.” Ex. 1035 ¶ 2, at 2.

        The proponent of the publication, here Petitioner, bears the burden of

producing sufficient proof of dissemination or sufficient proof that the publication

was otherwise available and accessible. See SRI Int’l, Inc. v. Internet Sec. Sys.,

Inc., 511 F.3d 1186, 1194 (Fed. Cir. 2008); see also Carella v. Starlight Archery &

Pro Line Co., 804 F.2d 135, 139 (Fed. Cir. 1986) (“[O]ne who wishes to

characterize the information, in whatever form it may be, as a ‘printed publication’

should produce sufficient proof of its dissemination or that it has otherwise been

available and accessible to persons concerned with the art to which the document

relates . . . .”).

        To be relevant, a publication must have been publicly accessible as of the

effective filing date. In this case, Petitioner has admitted that the relevant date, and

indeed the only date on which its expert offers his opinions regarding the


                                          5
                                        Appx6584
           Case: 18-1766     Document: 49-2    Page: 448    Filed: 11/21/2018

                                                   Patent Owner Motion to Exclude
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knowledge of a person of ordinary skill is November 9, 1999. See Ex. 1009 ¶ 7.

The supplemental evidence submitted by Petitioner shows, at best, a date of public

accessibility (“catalog[ing]”) of May 9, 2000, which falls after date of knowledge

of a person of ordinary skill (November 9, 1999) proffered by Petitioner’s expert

(see Ex. 1009 ¶ 7). That date, not surprisingly, matches the earliest claimed filing

date for the ’158 patent. See Ex. 1001 at cover; Ex. 1008. Therefore, the Tellado

thesis (Ex. 1025) is too late in time and is irrelevant to the testimony of Tellado,

and irrelevant to this review under Fed. R. Evid. 402.

      C.     ALL OR PORTIONS OF PARAGRAPHS 16, 29, 42
             (INCLUDING HEADER), 43, AND 52 OF THE SECOND
             TELLADO DECLARATION (EX. 1026) AND PAGES 46:19-
             47:16, 49:1-50:13, 51:5-56:23, 57:6-12, AND 61:19-23 OF THE
             TELLADO TRANSCRIPT (EX. 2013) SHOULD BE
             EXCLUDED
      During cross-examination, Petitioners’ expert (Dr. Tellado) testified that he

relied on at least two “MatLab” computer simulations to support his opinions, but

materials relating to only one simulation were provided to Patent Owner. The

materials related to the second simulation were apparently written over, discarded,

and/or withheld from Patent Owner. See Ex. 2013 at 47:9-48:6, 57:6-17, 58:10-14,

59:6-12, 60:3-8, 60:9-20. Patent Owner timely objected to the failure to disclose

or retain evidence and the possible discarding of evidence. See 6/22/17 A. Karp e-




                                        6
                                      Appx6585
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                                                    Patent Owner Motion to Exclude
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mail to counsel; 6/22/17 A. Karp e-mail to Board; Ex. 2013 at 57:25-58:2, 62:13-

63:4.

        In addition to the testing of the 12,000 foot loop that Dr. Tellado performed

and disclosed in connection with his second declaration, Dr. Tellado also

performed an undisclosed simulation using a MatLab script for an “AWG26 loop

of 18,000 feet.” Ex. 2013 at 46:10-18.         But, Dr. Tellado testified on cross-

examination that the MatLab script and simulation results for an 18,000 foot loop

formed the basis of his opinion that Dr. Short’s (Patent Owner’s expert) Gaussian

approximation was “poor.” See, e.g., Ex. 2013 at 46:19-47:8, 51:5-20, 52:25-

53:12. When asked about whether he has or had an electronic or hard copy of the

MatLab script or simulation results, whether he communicated the same to anyone

else, or whether he discarded or deleted the same, Dr. Tellado could only say that

did not recall. See, e.g., id. at 47:9-48:6, 57:6-17, 58:10-14, 59:6-12, 60:3-8, 60:9-

20.

        Without providing Patent Owner with access to the MatLab simulation

result, Dr. Tellado has not disclosed the facts and data underlying his opinion, in

violation of 37 C.F.R. § 42.65(b). Under Rule 65(b), when Petitioner’s expert

relied on a technical test or data from it, he was required to “provide an affidavit

explaining” the test and its underlying data. See 37 C.F.R. § 42.65(b) (setting forth

the requirements of the affidavit); 3D-Matrix, Ltd., v. Menicon Co., Ltd., IPR2014-


                                         7
                                       Appx6586
           Case: 18-1766      Document: 49-2    Page: 450    Filed: 11/21/2018

                                                   Patent Owner Motion to Exclude
                                                                 IPR2016-01021

00398, Paper 11, August 1, 2014. Moreover, it remains impossible to cross-

examine Dr. Tellado regarding his opinions regarding simulations and his

criticisms of Dr. Short, as reflected in at least (1) Exhibit 1026, Second Tellado

Declaration, ¶ 16 (last 2 sentences), ¶ 29, ¶ 42 (including preceding header), ¶ 43

(first sentence), ¶ 52, and (2) Exhibit 2013, Tellado transcript at 46:19-47:16, 49:1-

50:13, 51:5-56:23, 57:6-12, and 61:19-23. See Altaire Pharma., Inc. v. Paragon

Biotek, Inc., PGR2015-00011, Paper 122, November 14, 2016 (“Without the

necessary information prescribed in § 42.65(b), we cannot determine whether the

evidence Petitioner relies on is credible.”).

      Moreover, the unavailable MatLab simulation information was required to

be disclosed as routine discovery at least because (1) it was relied on or cited by

Dr. Tellado during his testimony under 37 C.F.R. §§ 41.51(b)(1)(i); see Lumentum

Holdings, Inc. v. Capella Photonics, Inc., IPR2015-00731, Paper 32, February 5,

2016 (information relied on was required to be disclosed regardless of whether it

was actually called an exhibit in a paper); MaxLinear, Inc., v. Cresta Tech. Corp.,

IPR2015-00594, Paper 35, January 27, 2016 (testimony referencing an exhibit,

although not formally; and (2) it is inconsistent, at least, with Petitioners’ (and

Petitioners’ expert’s) positions regarding the accuracy of Dr. Short’s analysis. 37

C.F.R. §§ 42.51(b)(1)(i), (b)(1)(iii); see also MaxLinear, IPR2015-00594, Paper

35. Therefore, this information should already have been produced.


                                          8
                                        Appx6587
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                                                   Patent Owner Motion to Exclude
                                                                 IPR2016-01021

      As a result of the improper withholding, the following paragraphs of the

Second Tellado Declaration (Ex. 1026) should be excluded under Fed. R. Evid.

702 as being based on insufficient facts or data: ¶ 16 (last 2 sentences), ¶ 29, ¶ 42

(including preceding header), ¶ 43 (first sentence), and ¶ 52. For the same reasons,

the following pages of the Tellado transcript (Ex. 2013) should be excluded under

Fed. R. Evid. 702: 46:19-47:16, 49:1-50:13, 51:5-56:23, 57:6-12, and 61:19-23.

      As a result of Dr. Tellado’s refusal to disclose the underlying facts and data

on cross-examination, the same portions of the Second Tellado Declaration (Ex.

1026) and the Tellado transcript (Ex. 2013) should also be excluded under Fed. R.

Evid. 705.

      For at least these reasons, and due to Dr. Tellado’s withholding of the

simulation data, the above-referenced portions of the Second Tellado Declaration

(Ex. 1026) and Tellado transcript (Ex. 2013) should be excluded under Fed. R.

Evid. 702, 705, 37 C.F.R. §§ 41.51(b)(1)(i) & 41.51(b)(1)(iii), and 37 C.F.R. §

42.65(b).

      D.      EXHIBITS 1023, 1024, AND 1028, AND PORTIONS OF DR.
              TELLADO’S REDIRECT ADDRESSING THE SAME (EX.
              2013) SHOULD BE EXCLUDED UNDER F.R.E. 402, F.R.E 403,
              37 C.F.R. § 42.23, AND/OR 37 C.F.R. § 42.61
      Exhibits 1023, 1024, and 1028, each of which was cited in the Reply for the

first time, should be excluded under F.R.E. 402, F.R.E 403, 37 C.F.R. § 42.23,



                                        9
                                      Appx6588
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                                                                 IPR2016-01021

and/or 37 C.F.R. § 42.61. Patent Owner timely objected to these exhibits. See

Paper 25 at 1-2. Similarly, the portions of Dr. Tellado’s redirect regarding the

same (Ex. 2013 at 146:20-149:7 (Ex. 1023), 149:8-152:25 (Ex. 1024)) should also

be excluded under F.R.E. 402, F.R.E 403, 37 C.F.R. § 42.23, and/or 37 C.F.R. §

42.61. Patent Owner also timely objected to this redirect testimony. See Ex. 2013

at 146:20-149:7, 149:8-152:25

      These exhibits purportedly attempt to fill in a major shortcoming in the

evidentiary record—namely, there is no evidence in the Petition (besides an

unsupported, conclusory allegation by Petitioners’ expert) that a person having

ordinary skill in the art would have recognized that randomizing the phases of

subcarriers in a multicarrier signal would result in a lower peak-to-average power

ratio (“PAR”) in Shively’s system. Both the Petition and Petitioners’ expert’s first

declaration baselessly state: “A POSITA would have recognized that by

randomizing the phase of each subcarrier, Stopler provides a technique that allows

two subcarriers in Shively’s system to transmit the same [one or more] bits, but

without those two subcarriers having the same phase.” Petition at p. 14; Ex. 1009

(Dr. Tellado’s First Declaration) at ¶ 67. No supporting evidence was provided.

      Now, when Patent Owner has no chance to respond, Petitioners seek to

remedy this deficiency in the Petition (and first expert declaration) through

attorney argument regarding these exhibits. Exhibit 1023, Petitioners allege,


                                        10
                                      Appx6589
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                                                    Patent Owner Motion to Exclude
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discloses “random phasor transformation” (Paper 20 at 13)—although they never

explain how such a “phasor” transformation equates to randomizing phases on

each subcarrier to reduce PAR. With respect to Exhibit 1024, Petitioners purport

that it discloses “phase rotated signal parts,” Paper 20 at 13, again with no further

explanation as to how this shows phase scrambling. And regarding Exhibit 1028,

Petitioners merely claim it demonstrates having a “phase rotation applied to each

[DMT] tone.” Paper 20 at 13. Again, no explanation is provided as to how this

equates to phase scrambling to lower PAR.

      Thus, Exhibits 1023, 1024, and 1028 are too late and not relevant to the

timely opinions and art actually raised in this review, and thus inadmissible under

F.R.E. 402, 37 C.F.R. § 42.23, and/or 37 C.F.R. § 42.61. Petitioners should not be

allowed to supplant the record by filling in the gaps left by their Petition and

supporting declaration. Moreover, because Patent Owner has no opportunity to

respond to the new exhibits at this late stage, the danger of unfair prejudice

substantially outweighs any minimal probative value they may have, rendering

them inadmissible under Fed. R. 403.

      Recognizing the shortcoming in its citations, Petitioner took up these topics

on deposition redirect of its own expert also, in an untimely attempt to fill in the

gaps. See Ex. 2013 at 146:20-149:7 (Ex. 1023), 149:8-152:25 (Ex. 1024). Having

failed to address these exhibits in its Petition, first Tellado Declaration, and Second


                                         11
                                       Appx6590
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                                                        Patent Owner Motion to Exclude
                                                                      IPR2016-01021

Tellado Declaration, these exhibits are too late and not relevant to the timely

opinions and art actually raised in this review, and thus inadmissible for the same

reasons under Fed. R. Evid. 402, 403, 37 C.F.R. § 42.23, and/or 37 C.F.R. § 42.61.

III.   CONCLUSION
       For all the foregoing reasons, TQ Delta respectfully requests that the Board

exclude Exhibits:

           Exhibit 1022, WiMedia UWB (including Chapter 3);

           Exhibit 1025, the Tellado thesis;

           Exhibit 1026, the Second Tellado Declaration, ¶ 16 (last 2 sentences),

             ¶ 29, ¶ 42, ¶ 43 (first sentence), ¶ 52;

           Exhibit 2013, the Tellado Transcript, at 46:19-47:16, 49:1-50:13,

             51:5-56:23, 57:6-12, and 61:19-23;

           Exhibit 1023, 1024, and 1028, newly-cited art; and

           Exhibit 2013, The Tellado Transcript, at 146:20-149:7 and 149:8-

             152:25.

Dated: June 30, 2017                           /Peter J. McAndrews/
                                               Peter J. McAndrews
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CUSTOMER NUMBER: 23446

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                                        Appx6591
           Case: 18-1766     Document: 49-2     Page: 455   Filed: 11/21/2018


                           CERTIFICATE OF SERVICE

      I hereby certify that the Patent Owner Motion to Exclude in connection with
Inter Partes Review Case IPR2016-01021 was served on this 30th day of June,
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                                            Patent Owner Motion to Exclude
                                                          IPR2016-01021




Dated: June 30, 2017             /Peter J. McAndrews/
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CUSTOMER NUMBER: 23446




                                  2
                                Appx6593
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          UNITED STATES PATENT AND TRADEMARK OFFICE
                          _____________

           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                          _____________

            CISCO SYSTEMS, INC., DISH NETWORK, LLC,
             COMCAST CABLE COMMUNICATIONS, LLC,
                   COX COMMUNICATIONS, INC.,
              TIME WARNER CABLE ENTERPRISES LLC,
          VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                              Petitioner,
                                   v.
                           TQ DELTA, LLC
                             Patent Owner
                            _____________
             Case No. IPR2016-01020 (Patent No. 9,014,243)1
             Case No. IPR2016-01021 (Patent No. 8,718,158)2
                            _____________
         PATENT OWNER’S MOTION FOR DISCOVERY FILED
                      UNDER 37 C.F.R. § 42.51(b)

1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00254, and Comcast
Cable Communications, L.L.C., Cox Communications, Inc., Time Warner Cable
Enterprises L.L.C., Verizon Services Corp., and ARRIS Group, Inc., who filed a
Petition in IPR2017-00418, have been joined in this proceeding.
2
 DISH Network, L.L.C., who filed a Petition in IPR2017-00255, and Comcast
Cable Communications, L.L.C., Cox Communications, Inc., Time Warner Cable
Enterprises L.L.C., Verizon Services Corp., and ARRIS Group, Inc., who filed a
Petition in IPR2017-00417, have been joined in this proceeding.


                                   Appx6602
             Case: 18-1766     Document: 49-2     Page: 458     Filed: 11/21/2018

IPR2016-01020 and IPR2016-01021
Patent Owner’s Motion For Discovery Filed Under 37 C.F.R. § 42.51(b)
U.S. Patent Nos. 9,014,243 and 8,718,158

         Patent Owner requests that the Board issue an order compelling Petitioner to

serve, within two business days, the documents identified in Ex. 2015.

         The Patent Owner Response, and supporting expert declaration of Dr. Short,

demonstrated that a POSITA would not recognize Shively’s transmitter as

suffering from a problematic increase in peak-to-average power ratio (“PAR”) and,

thus, there is no basis for Petitioner’s asserted motivation to combine Shively with

Stopler. Petitioner’s Reply, based on the testimony of Dr. Tellado, contends that

Dr. Short’s analysis of Shively is wrong. Dr. Tellado’s testimony relied on two

Matlab simulations—an “18,000 foot” simulation (see Ex. 2013 at 45:23–47:18)3

and a “12,000 foot” simulation (see Ex. 1026 at ¶¶ 43-52). Petitioner only served

Patent Owner records for the 12,000 foot simulation. Undoubtedly, Petitioner

withheld the 18,000 foot simulation because it would support Dr. Short and be

inconsistent with Petitioner’s obviousness challenge.

         Because Petitioner’s expert relied on the 18,000 foot simulation, and it is

inconsistent with Petitioner’s assertions, records of the 18,000 foot simulation are

discoverable under 37 C.F.R. § 42.51(b)(1) or 37 C.F.R. § 42.51(b)(2).

I.       BACKGROUND OF THE CASE
         The Board instituted this IPR in reliance on Petitioner’s assertions that



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    For this jointly captioned brief, all citations are to IPR2016-01020.

                                           1
                                         Appx6603
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      “Shively’s transmitter would suffer from an increased peak-to-average

power ratio[,]” and “that a [POSITA] ‘would have sought out an approach to

reduce the [(peak-to-average power ratio)] PAR of Shively’s transmitter’ and

‘Stopler provides a solution for reducing the PAR of a multicarrier transmitter.’”

Paper 7 at 11–12. The purported problem of increased PAR is the sole motivation

proffered by Petitioner to combine Shively and Stopler. Paper 2 at 15

(“Combining Stopler’s phase scrambler into Shively’s transmitter would have been

a relatively simple and obvious solution to reduce Shively’s PAR.”).

      Patent Owner Response: Patent Owner, relying on Dr. Short’s declaration,

rebutted Petitioner’s bald conclusion that “the PAR of Shively’s transmitter”

presented a problem that a POSITA would seek to remedy. Paper 12 at 48. Dr.

Short explained “why any arguable ‘increase’ in PAR due to Shively’s ‘spreading’

scheme is trivial in view of Shively’s drastic reduction in transmission signal

power (which virtually eliminates clipping).” Id. (citing Ex. 2003 at ¶¶ 61–67).

      Dr. Short analyzed an 18,000 foot loop because Shively is expressly directed

to “long loop systems, where the length of cable … is at least 18,000 feet.” Ex.

2003 at ¶ 44 (citing Shively at 9:63–10:2 and 11:11–12)). Dr. Short explained that

multicarrier systems are designed to accommodate significant PAR, and increased

PAR is problematic only if it causes clipping at rate greater than allowed by the



                                        2
                                      Appx6604
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Patent Owner’s Motion For Discovery Filed Under 37 C.F.R. § 42.51(b)
U.S. Patent Nos. 9,014,243 and 8,718,158

relevant communication standard. Ex. 2003 at ¶¶ 23–32. He explained that per

Shively’s teachings “more than half of the carrier cannot be used at all.” Id. at ¶ 58.

Dr. Short continued, “While Shively’s ‘spreading’ idea will cause a small uptick in

clipping probability, any increase is negated many times over by the enormous

reduction in clipping achieved by reducing signal power by more than half” (id. at

¶ 63) and concluded that Shively does not cause a PAR problem . Id. at ¶¶ 62–67.

      Petitioner’s Reply: Petitioner defended its flawed and conclusory

obviousness rationale by disparaging Dr. Short’s analysis of an 18,000 foot loop

and claiming that Dr. Short’s “results are unreliable.” Paper 17 at 31. Petitioner

and Dr. Tellado assert that quantifying the increase in PAR “would have called for

running numerical simulations.” Paper 17 at 34; Ex. 1026 at ¶ 43. “In order to

quantify the increase in PAR, [Dr. Tellado] designed and wrote a simulation of an

ADSL transmitter that calculates the clipping probability of a DMT symbol for

different values of PAR under different simulation conditions.” Ex. 1026 at ¶ 43.

Nevertheless, despite that (1) Shively is directed to “long loop systems … of the

order 18,000 feet or more,” (2) Dr. Short analyzed an 18,000 foot loop, and (3) Dr.

Tellado and Petitioner assert that quantifying any PAR problem with Shively

called for a simulation, Petitioner only served Patent Owner with code for a 12,000

foot simulation (Ex. 1034) and the results (Graph 2 of Ex. 1026 at ¶ 48).



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                                       Appx6605
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      Cross-examination: Dr. Tellado testified that he performed a simulation on

an 18,000 foot loop. Ex. 2013 at 45:23–47:18. Further, when asked what he had

determined from it, Dr. Tellado answered: “That Dr. Short’s approximation of a

Gaussian approximation was poor. It was worse than – than Dr. Short said.” Id. at

46:24–47:1.

      Existence of records of the 18,000 foot simulation: Petitioner does not

deny that it has or at least had the 18,000 foot simulation code and results. When

asked by the Panel whether “there [is] a simulation or some information Dr.

Tellado performed that has not been provided to Patent Owner,” Cisco’s counsel

provided only a self-serving non-answer: “[W]e don’t believe that there is anything

Dr. Tellado has relied on for his analysis that’s not been provided to the Patent

Owner.” Ex. 2016 at 20:4–13. Dr. Tellado was also evasive about the 18,000 foot

simulation code and results, saying he did not “recall” whether he saved them or

shared them with anyone (Ex. 2013 at 57:1–25) and refusing to state whether the

results supported Dr. Short (id. at 53:25–56:21, 64:11–18, and 111:14–114:16).

II.   THE 18,000 FOOT SIMULATION IS “ROUTINE DISCOVERY”

      A.      Petitioner and Its Expert Relied on the 18,000 Foot Simulation
      Dr. Tellado testified that he ran an 18,000 foot simulation. Ex. 2013 at

45:23–47:11. Importantly, Petitioner and Dr. Tellado asserted that a POSITA

would have to do a simulation to quantify whether a PAR problem is created on a

                                         4
                                       Appx6606
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IPR2016-01020 and IPR2016-01021
Patent Owner’s Motion For Discovery Filed Under 37 C.F.R. § 42.51(b)
U.S. Patent Nos. 9,014,243 and 8,718,158

given loop. Paper 17 at 34; Ex. 1026 at ¶ 43. Thus, pursuant to Petitioner and Dr.

Tellado’s own assertions, they necessarily relied on the 18,000 foot simulation to

disparage Dr. Short’s opinions. Id. at 46:22–47:8; see also Ex. 1026 at ¶ 16. Any

contention by Petitioner that Dr. Tellado’s second declaration does not refer to the

18,000 foot simulation—and that therefore it is not an exhibit cited in a paper or in

testimony—is irrelevant. By relying upon the 18,000 foot simulation to disparage

Dr. Short’s opinion, Petitioner “utilized information [resulting from the simulation]

as an exhibit, regardless of whether Petitioner called it an exhibit.” Lumentum

Holdings, Inc. et al. v. Capella Photonics, Inc., IPR2015-00731, Paper 32 at 3

(PTAB Feb. 5, 2016). Accordingly, the Board should order Petitioner to produce

all records of its 18,000 foot simulation under 37 CFR § 42.51(b)(1)(i).

      B.     18,000 Ft. Simulation Is Inconsistent With Petitioner’s Assertions
      In the Reply, Petitioner asserts that Dr. Tellado created and ran a simulation

to determine whether “Shively’s transmitter would suffer from an increased peak-

to-average power ratio” as alleged in the Petition. Paper 17 at 31–34; Paper 2 at

14. Notably, this simulation was created only after Patent Owner demonstrated

that a POSITA would not recognize Shively to disclose a transmitter that would

suffer from a problematic increased in PAR. Patent Owner’s expert analyzed an

18,000 foot loop because Shively is expressly directed to loops “of the order



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                                       Appx6607
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18,000 feet or more.” Ex. 1011 at 9:65–66. Common sense dictates that Petitioner

would submit evidence regarding the 18,000 foot simulation as rebuttal if it was

consistent with Petitioner’s assertions. Instead, Petitioner submitted irrelevant and

improperly new evidence regarding a 12,000 foot simulation. The only

conceivable reason Petitioner withheld the 18,000 foot simulation is that it is

inconsistent with Petitioner’s allegations that Dr. Short is wrong and Shively does

have a PAR problem. Accordingly, records of the 18,000 foot simulation should

be produced under 37 CFR § 42.51(b)(1)(iii).

III.   18,000 FT. SIMULATION IS “ADDITIONAL DISCOVERY”
       The requested discovery should be ordered because it “is in the interests of

justice.” Kingston Tech. Co., Inc. v. Catr Co., Ltd., IPR2015-00149, Paper 24 at 2,

(PTAB June 10, 2015). Further, each of the Garmin factors favors this discovery.

       Garmin Factor 1: There is more than a chance that the discovery will be

useful because it will show whether Dr. Tellado’s assertedly necessary simulation

supports or negates Petitioner’s contention that a POSITA would recognize

Shively as suffering from a problematic increase in PAR. See Corning Inc. v. DSM

IP Assets B.V., IPR2013-00044, Paper 25 at 4 (P.T.A.B. Jun. 21, 2013) (ordering

production of testing documents and the underlying data for the test results).

       Garmin Factor 2: Patent Owner is not seeking Petitioner’s litigation



                                        6
                                      Appx6608
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U.S. Patent Nos. 9,014,243 and 8,718,158

positions, nor has Petitioner made such an assertion.

      Garmin Factor 3: Patent Owner has no ability to generate equivalent

information by other means. Patent Owner should be allowed to use Dr. Tellado’s

simulation against Petitioner as this is the most powerful evidence for which it

cannot deny admissibility or accuracy. Further, although Patent Owner has done

its own 18,000 foot simulation and confirmed that Dr. Short was correct, it has no

meaningful ability to get that information into the record given the Board’s denial

of Patent Owner’s request for a surreply. When shown this simulation code (Ex.

2010) and results (Ex. 2011) during cross-exam, Dr. Tellado refused to testify

regarding its accuracy (Ex. 2013 at 108:7–111:12), although through leading

redirect questions he mistakenly concluded it had errors (he did not realize that the

code in Ex. 2010 was used to generate the Ex. 2011 graph line only for Scenario 5

(18,000 ft. simulation) and not Scenarios 1–3 and 4 (12,000 ft. simulation)).

      Garmin Factor 4: Instructions for the discovery are easily understandable

because the scope is narrow and straightforward: Petitioner is being asked to

provide each unique copy of the 18,000 foot simulation code and results.

      Garmin Factor 5: The requests are not overly burdensome to answer

because the scope is narrow and straightforward, and the documents are

presumptively in the possession of Petitioner, its expert and/or its IPR counsel.



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                                      Appx6609
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IPR2016-01020 and IPR2016-01021
Patent Owner’s Motion For Discovery Filed Under 37 C.F.R. § 42.51(b)
U.S. Patent Nos. 9,014,243 and 8,718,158


Dated: July 14, 2017                       /Peter J. McAndrews/
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CUSTOMER NUMBER: 23446




                                     8
                                   Appx6610
       Case: 18-1766    Document: 49-2     Page: 466   Filed: 11/21/2018


Trials@uspto.gov                                             Paper No. 46
571-272-7822                                     Entered: February 1, 2018

       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

         BEFORE THE PATENT TRIAL AND APPEAL BOARD
                        ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                     v.

                            TQ DELTA, LLC,
                             Patent Owner.
                             ____________

                           Case IPR2016-01021 1
                            Patent 8,718,158 B2
                              ____________


Before SALLY C. MEDLEY, TREVOR M. JEFFERSON, and
MATTHEW R. CLEMENTS, Administrative Patent Judges.

MEDLEY, Administrative Patent Judge.

                               DECISION
                Denying Patent Owner’s Rehearing Request
                            37 C.F.R. § 42.71


1
  DISH Network, L.L.C., who filed a Petition in IPR2017-00255, and
Comcast Cable Communications, L.L.C., Cox Communications, Inc., Time
Warner Cable Enterprises L.L.C., Verizon Services Corp., and ARRIS
Group, Inc., who filed a Petition in IPR2017-00417, have been joined in this
proceeding.

                                  Appx6730
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                           I.   INTRODUCTION
      Pursuant to 37 C.F.R. § 42.71(d), TQ Delta, LLC (“Patent Owner”)
requests rehearing of our Final Written Decision (Paper 44, “Dec.”). Paper
45 (“Req. Reh’g”). Specifically, Patent Owner submits that our construction
of “scrambling the phase characteristics of the carrier signals”
misapprehends or overlooks certain evidence, that Stopler 2 does not disclose
“scrambling the phase characteristics of the carrier signals,” that we
misapprehended or overlooked certain testimony, and that we
misapprehended that Shively 3 would not have an increased or high PAR.
Req. Reh’g passim.
      For the reasons set forth below, Patent Owner’s Request for
Rehearing is denied.

                         II. STANDARD OF REVIEW
      A party requesting rehearing bears the burden of showing that the
decision should be modified. 37 C.F.R. § 42.71(d). The party must identify
specifically all matters we misapprehended or overlooked, and the place
where each matter was addressed previously in a motion, an opposition, or a
reply. Id. With this in mind, we address the arguments presented by Patent
Owner.
                                III. ANALYSIS

      A. “scrambling the phase characteristics of the carrier signals”
      Claim 1 recites “a method for scrambling the phase characteristics of
the carrier signals, comprising.” We adopted Patent Owner’s proposed

2
  U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012)
(“Stopler”).
3
  U.S. Patent No. 6,144,696; issued Nov. 7, 2000 (Ex. 1011) (“Shively”).
                                     2
                                   Appx6731
            Case: 18-1766   Document: 49-2    Page: 468    Filed: 11/21/2018

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construction in part by construing “scrambling the phase characteristics of
the carrier signals” to mean “adjusting the phases of a plurality of carriers in
a single multicarrier symbol.” Dec. 8–11. We did not add to that
construction “by pseudo-randomly varying amounts” because Patent Owner
did not show why that additional language should be included for the
broadest reasonable construction of the term “scrambling the phase
characteristics of the carrier signals.” Id. Patent Owner argues that our
construction is overly broad because it encompasses adjusting the phases of
every carrier in the single multicarrier symbol by the same amount. Req.
Reh’g. 2–3. Such an adjustment, according to Patent Owner, would not
reduce peak-to-average power ratio (“PAR”), which the parties and the panel
all agree scrambling must do. Id. at 3–6. “The FWD misapprehends or
overlooks that, under any proper construction, there must at a minimum be
varying amounts by which the phases are adjusted within a single
multicarrier symbol (i.e., from carrier-to-carrier) such that PAR is reduced.”
Id. at 2.
       Patent Owner presents arguments not presented previously. We could
not have overlooked or misapprehended those arguments presented for the
first time in the rehearing request. Importantly, Patent Owner argues now
for the first time that for any proper construction “there must at a minimum
be varying amounts by which the phases are adjusted within a single
multicarrier symbol (i.e., from carrier-to-carrier) such that PAR is reduced.”
Id. at 2. This proposed construction differs from Patent Owner’s original
proposed construction which included “by pseudo-randomly varying
amounts.” Absent from the new proposed construction is the term “pseudo-
randomly.”

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                                    Appx6732
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      In any event, it is clear from the Decision that we construed the
totality of claim 1, for example, as requiring varying the amount by which
the phase of each carrier is adjusted. See, e.g., Dec. 28. Accordingly, even
if we were to adopt Patent Owner’s new proposed construction, it would not
change the way we applied the prior art to the claim language as a whole.

                  B. Stopler’s Single-Carrier Embodiment
      Patent Owner argues that Stopler’s QAM Mapper and Phase
Scrambler 82 “must be compatible with single-carrier CDMA” because
Stopler teaches that its output can, in one embodiment, be provided to a
CDMA modulator. Req. Reh’g. 7–8. Patent Owner concludes that Stopler’s
phase scrambling “must have a different purpose than the claimed phase
scrambling because [it] . . . cannot reduce PAR.” Id. at 8.
      We addressed this argument and found it unpersuasive. Dec. 23–28.
Mere disagreement with the Board’s conclusion is not a proper basis for
rehearing. It is not an abuse of discretion to have made a conclusion with
which a party disagrees.

          C. Allegedly Misapprehended or Overlooked Testimony
      Patent Owner quotes pages 25 to 26 of our Decision and argues that
“there are several inaccuracies.” Req. Reh’g 8–12. These arguments are
based, in part, on a mischaracterization of our claim construction as
requiring the same amount of rotation of the phase of each of the QAM
symbols in a DMT symbol. See, e.g., id. at 9 (“First, a DMT symbol cannot
be phase scrambled as that term is used in the claims by having its
component QAM symbols rotated by the same amount.”), 9 (“as interpreted
in the FWD (‘i.e., rotates by the same amount, the phase of a plurality of
QAM symbols.’).”). Our construction of “scrambling the phase
                                      4
                                   Appx6733
      Case: 18-1766      Document: 49-2     Page: 470    Filed: 11/21/2018

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characteristics of the carrier signals” does not require rotating by the same
amount. And as we applied the prior art, to the totality of the claim
language, it is clear that we construed the totality of the claim language to
require the phases of the carriers of the multi-carrier signal be rotated by
varying amounts. For example, our Decision states
      Stopler further teaches that, “a phase scrambling sequence is
      applied to the output symbols,” including “all symbols, not just
      the overhead symbols.” Id. at 12:25–28. Patent Owner’s expert,
      Dr. Short, agreed that Stopler is referring to phase scrambling
      QAM symbols. Reply 16–17 (citing Ex. 1027 (Tellado Dep.),
      54:17–55:3, 55:19–24, 58:6–8, 59:9–12, 60:15–22). Stopler
      further teaches that a “scrambling sequence may be generated by
      a pseudorandom generator” that generates pairs whose sum “is
      used to select the amount of rotation to be applied to the symbol,”
      singular; not “symbols” plural. Ex. 1012, 12:28–36. Thus, the
      most intuitive reading of Stopler supports Petitioner’s contention
      that QAM Mapper and Phase Scrambler 82 determines an
      amount of rotation and rotates the phase of a single QAM symbol
      by that amount.
Dec. 26.
      Patent Owner also objects to our characterization of Dr. Short’s
testimony as “admit[ing] that Stopler does not describe phase scrambling
DMT symbols” (Dec. 25 (citing Ex. 1027, 60:11–14)). Req. Reh’g 9
(regarding Ex. 1027, 60:11–14). That testimony is as follows:
      Q. Well, you would agree with me that [Stopler] doesn’t
      expressly teach applying the phase scrambler to the DMT as a
      whole?
      A. I would agree with that.
Ex. 1027, 60:11–14. We acknowledge that Dr. Short testified that he
understands Stopler to be rotating all of the QAM symbols within a
DMT symbol by the same amount, but the point made in our Decision

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                                    Appx6734
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remains: Dr. Short clearly conceded, however, that Stopler does not
expressly teach applying the phase scrambler to the DMT symbol as a
whole. Dec. 25 (citing Ex. 1027, 60:11–14).
      Patent Owner also argues that we misapprehended its argument that
Stopler would adjust the phases of QAM symbols over time in order to
reduce narrowband noise. Req. Reh’g 10 (citing PO Resp. 39 (“According
to a second narrowband-noise-reducing technique, Stopler addresses
narrowband noise at the frequency of an overhead pilot carrier by
scrambling the phase of the pilot carrier over time from one DMT symbol to
the next, i.e., by inter-symbol phase scrambling. See Ex. 2003 at ¶ 82.”).
As we noted in our Decision, however, Stopler teaches and Petitioner relies
“not just on the scrambling of ‘overhead signals, such as pilot tones,’ (Pet.
13) but on the scrambling of all QAM symbols. Because neither Petitioner’s
argument nor Stopler’s teaching of phase scrambling is limited to pilot
tones, Patent Owner’s argument is not persuasive.” Dec. 27.
      Patent Owner also argues that we misapprehended its burden by
noting that “Patent Owner identifies nothing in Stopler to suggest that, in an
alternative embodiment with a multicarrier modulator, QAM Mapper and
Phase Scrambler 82 do not supply a plurality of phase-scrambled QAM
symbols for modulation onto the plurality of carriers in the, e.g., DMT
symbol.” Req. Reh’g 11 (quoting Dec. 25–26). Petitioner has the burden of
persuasion to prove unpatentability by a preponderance of the evidence. See
35 U.S.C. § 316(e); Dynamic Drinkware, LLC v. Nat’l Graphics, Inc., 800
F.3d 1375, 1379 (Fed. Cir. 2015). For this element, we explained how
Petitioner satisfied that burden based, inter alia, on express disclosure in
Stopler. Dec. 26–27. The sentence to which Patent Owner objects merely

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notes that, even assuming Stopler works as Patent Owner argues in an
embodiment with a single-carrier modulator, that does not persuasively rebut
the express disclosure upon which Petitioner relies. Accordingly, we are not
persuaded that we misapprehended Patent Owner’s burden.
      Patent Owner also argues it was denied the opportunity to file a sur-
reply. Req. Reh’g. 11–12. Patent Owner was, however, granted an
opportunity to identify allegedly new arguments and evidence in Petitioner’s
Reply (Paper 25), and we considered the identified portions when reaching
our Decision (Dec. 22 n.8). Although the “listing” format required Patent
Owner to be efficient in its identification and required Petitioner to be
efficient in its responsive paper, these papers provided “the information
necessary to make a reasoned decision” (Ultratec, Inc. v. CaptionCall, LLC,
872 F.3d 1267, 1273 (Fed. Cir. 2017)) about whether the arguments and
evidence raised in reply were outside the scope of a proper reply.

                               D. Shively’s PAR
      Finally, Patent Owner argues that we misapprehended or overlooked
its argument that Shively’s PAR would not be so “increased” or “high” that
it resulted in clipping, as would be needed before a person of ordinary skill
in the art had reason to modify Shively. Req. Reh’g 12–15. We addressed
this argument and found it unpersuasive. Dec. 30–31. Mere disagreement
with the Board’s conclusion is not a proper basis for rehearing. It is not an
abuse of discretion to have made a conclusion with which a party disagrees.
      Moreover, Patent Owner alleges that “the FWD characterizes Shively
as having a ‘high’ or ‘increased’ PAR.” Req. Reh’g. 14 (citing Dec. 30).
That is false. Our Decision states that it is undisputed that Shively’s
technique “will increase PAR” (Dec. 30–31), but does not characterize

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Shively as having a “high” or “increased” PAR. 4 Our Decision relies upon
page 28 of Patent Owner’s Response (Paper 15), which concedes that
“Shively’s ‘spreading’ technique will contribute a small uptick in clipping
probability.” Patent Owner does not dispute, in its Request for Rehearing,
Shively’s technique increases PAR.
      With respect to Patent Owner’s argument that “there is no PAR
problem presented by Shively” (Req. Reh’g. 14) and “the only PAR problem
in this case relates to clipping” (id. at 15), we considered that argument and
found it unpersuasive. Dec. 30–31. As we noted, “Petitioner’s reason to
combine does not depend on the PAR increase exceeding some specific
numeric threshold,” “there also is no dispute that equipment designed to
handle a higher PAR can be larger, more expensive, and more power hungry
than equipment designed to handle a lower PAR,” and, therefore, “a person
of ordinary skill in the art . . . would have been motivated to reduce PAR
regardless of whether Shively’s technique resulted in clipping.” Id. In other
words, as we explained in our Decision, Shively’s PAR need not result in
clipping in order to motivate a person of ordinary skill in the art because we
are persuaded such a person would have been motivated sufficiently to
reduce PAR by the benefit of being able to use smaller, less expensive, less
power hungry components.




4
  In a sentence summarizing Petitioner’s position, our Decision states,
“Petitioner alleges that Shively’s proposed system would have an
‘increased’ or ‘high’ PAR.” Dec. 30 (quoting Pet. 14–15) (emphasis added).
It should be obvious, however, that a summary of Petitioner’s allegation is
not a characterization by the panel.
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                                    Appx6737
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                               IV. ORDER
      Accordingly, it is ORDERED that Patent Owner’s Request for
Rehearing is denied.




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                        Appx6739
         Case: 18-1766    Document: 49-2    Page: 476   Filed: 11/21/2018




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          UNITED STATES PATENT AND TRADEMARK OFFICE
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           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                          _____________


             CISCO SYSTEMS, INC., DISH NETWORK, LLC,
              COMCAST CABLE COMMUNICATIONS, LLC,
                    COX COMMUNICATIONS, INC.,
               TIME WARNER CABLE ENTERPRISES LLC,
           VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                            Petitioners,

                                       v.

                               TQ DELTA, LLC
                                 Patent Owner
                                _____________

                           Case No. IPR2016-010211
                             Patent No. 8,718,158
                               _____________

                 PATENT OWNER’S NOTICE OF APPEAL


1
 DISH Network, L.L.C., who filed a Petition in IPR2017-00255, and Comcast
Cable Communications, L.L.C., Cox Communications, Inc., Time Warner Cable
Enterprises L.L.C., Verizon Services Corp., and ARRIS Group, Inc., who filed a
Petition in IPR2017-00417, have been joined in this proceeding.


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Patent Owner’s Notice of Appeal

      Pursuant to 35 U.S.C. §§ 141, 142, and 319, 37 C.F.R. §§ 90.2, 90.3, and

104.2, and Rule 4(a) of the Federal Rules of Appellate Procedure, Patent Owner

TQ Delta, LLC (“Patent Owner”) hereby appeals to the United States Court of

Appeals for the Federal Circuit from the Decision Denying Request for a

Rehearing (Paper 46) entered by the Patent Trial and Appeal Board on February 1,

2018 and the Final Written Decision (Paper 44) entered by the Patent Trial and

Appeal Board on October 26, 2017, and all rulings leading up to those decisions.

      In particular, and in accordance with 37 C.F.R. § 90.2(a)(3)(ii), Patent

Owner identifies at least the following issues on appeal:

    The Board’s finding that Claims 1, 2, 4, 15, 16, and 18 of U.S. Patent No.

      8,718,158 are unpatentable as obvious over Shively and Stopler;

    The Board’s finding that Claims 3, 5, 14, 17, 19, and 28-30 of U.S. Patent

      No. 8,718,158 are unpatentable as obvious over Shively, Stopler, and

      Gerszberg;

    The Board’s finding that Claims 6, 9, 10, 12, 20, 23, 24, and 26 of U.S.

      Patent No. 8,718,158 are unpatentable as obvious over Shively, Stopler, and

      Bremer;

    The Board’s finding that Claims 8, 11, 13, 22, 25, and 27 of U.S. Patent No.

      8,718,158 are unpatentable as obvious over Shively, Stopler, Bremer, and

      Gerszberg;

                                          1
                                      Appx6741
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    The Board’s finding that Claims 7 and 21 of U.S. Patent No. 8,718,158 are

      unpatentable as obvious over Shively, Stopler, Bremer, and Flammer.

    The Board’s claim construction; and

    Any Board finding, determination, judgment, or order supporting or related

      to the aforementioned issues as well as all other issues decided adversely to

      Patent Owner in any orders, decisions, ruling, and opinions.

      Patent Owner is concurrently filing a copy of this Notice of Appeal with the

Director of the United States Patent and Trademark Office and the Patent Trial and

Appeal Board, and a copy of the same, along with the required fees, with the

United States Court of Appeals for the Federal Circuit.



                                      Respectfully submitted,

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                                      Appx6742
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Patent Owner’s Notice of Appeal

                           CERTIFICATE OF FILING

      The undersigned hereby certifies that, in addition to being electronically

filed through PTAB E2E, a true and correct copy of the above-captioned NOTICE

OF APPEAL is being filed by hand with the Director on April 2, 2018, at the

following address:

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      c/o Office of the General Counsel, 10B20
      Madison Building East
      600 Dulany Street
      Alexandria, VA 22314

      The undersigned also hereby certifies that a true and correct copy of the

above-captioned NOTICE OF APPEAL and the filing fee is being filed via

CM/ECF with the Clerk’s Office of the United States Court of Appeals for the

Federal Circuit on April 2, 2018.



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                                    Appx6743
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Patent Owner’s Notice of Appeal

                             CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing NOTICE OF APPEAL

was served electronically via email on April 2, 2018 in its entirety on the

following:

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Patent Owner’s Notice of Appeal

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                                  Appx6745
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Trials@uspto.gov                                                  Paper 44
571-272-7822                                     Entered: October 26, 2017

       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

         BEFORE THE PATENT TRIAL AND APPEAL BOARD
                        ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                     v.

                             TQ DELTA, LLC,
                              Patent Owner.
                              ____________

                           Case IPR2016-010211
                            Patent 8,718,158 B2
                              ____________


Before SALLY C. MEDLEY, TREVOR M. JEFFERSON, and,
MATTHEW R. CLEMENTS, Administrative Patent Judges.

MEDLEY, Administrative Patent Judge.


                     FINAL WRITTEN DECISION
                 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73


1
  DISH Network, L.L.C., who filed a Petition in IPR2017-00255, and
Comcast Cable Communications, L.L.C., Cox Communications, Inc., Time
Warner Cable Enterprises L.L.C., Verizon Services Corp., and ARRIS
Group, Inc., who filed a Petition in IPR2017-00417, have been joined in this
proceeding.

                                  Appx6746
         Case: 18-1766     Document: 49-2        Page: 483   Filed: 11/21/2018

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                            I.    INTRODUCTION
        In this inter partes review, instituted pursuant to 35 U.S.C. § 314,
Cisco Systems, Inc. (“Petitioner”) challenges claims 1–30 (“the challenged
claims”) of U.S. Patent No. 8,718,158 B2 (Ex. 1001, “the ’158 patent”),
owned by TQ Delta, LLC (“Patent Owner”). We have jurisdiction under
35 U.S.C. § 6. This Final Written Decision is entered pursuant to 35 U.S.C.
§ 318(a) and 37 C.F.R. § 42.73. For the reasons discussed below, Petitioner
has shown by a preponderance of the evidence that the challenged claims are
unpatentable. Patent Owner’s Motion to Exclude is dismissed.

                               A. Procedural History
        Petitioner filed a Petition for inter partes review of claims 1‒30 of the
’158 patent. Paper 2 (“Pet.”). Patent Owner filed a Preliminary Response.
Paper 6 (“Prelim. Resp.”). On November 4, 2016, we instituted an inter
partes review of claims 1–30 of the ’158 patent on the following grounds
(Paper 7 (“Dec.”)):
                                                               Claims
           References                   Basis                 Challenged
      Shively,2 and Stopler3          § 103(a)          1, 2, 4, 15, 16, and 18
      Shively, Stopler, and
                                      § 103(a)        3, 5, 14, 17, 19, and 28‒30
    Gerszberg4
      Shively, Stopler, and                          6, 9, 10, 12, 20, 23, 24, and
                                      § 103(a)
    Bremer5                                                        26
      Shively, Stopler,               § 103(a)         8, 11, 13, 22, 25, and 27

2
  U.S. Patent No. 6,144,696; issued Nov. 7, 2000 (Ex. 1011) (“Shively”).
3
  U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012)
(“Stopler”).
4
  U.S. Patent No. 6,424,646 B1; issued July 23, 2002 (Ex. 1013)
(“Gerszberg”).
5
  U.S. Patent No. 4,924,516; issued May 8, 1990 (Ex. 1017) (“Bremer”).
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                                                              Claims
            References                  Basis                Challenged
    Bremer, and Gerszberg
      Shively, Stopler,              § 103(a)                 7 and 21
    Bremer, and Flammer6

        Thereafter, Patent Owner filed a Patent Owner Response (“PO
Resp.”). Paper 15. Petitioner filed a Reply to the Patent Owner Response
(“Pet. Reply”). Paper 20. Pursuant to an Order (Paper 24), Patent Owner
filed a listing of alleged statements and evidence in connection with
Petitioner’s Reply deemed to be beyond the proper scope of a reply. Paper
25. Petitioner filed a response to Patent Owner’s listing. Paper 32.
        Patent Owner filed a Motion to Exclude, Paper 31 (“PO Mot. Exc.”),
Petitioner filed an Opposition, Paper 36 (“Pet. Opp. Mot. Exc.”), and Patent
Owner filed a Reply, Paper 40. Patent Owner filed a Motion for
Observation, Paper 30 (“PO Mot. Obs.”) and Petitioner filed a Response to
the Motion for Observation, Paper 37 (“Pet. Resp.”).
        We held a consolidated hearing on August 3, 2017, for this case and
related Case IPR2016-01020, and a transcript of the hearing is included in
the record. Paper 42 (“Tr.”).
                             B. Related Proceedings
        The parties indicate that the ’158 patent is the subject of several
pending judicial matters. Pet. 1; Paper 5, 2–3.
                             C. The ʼ158 Patent (Ex. 1001)
        The ’158 patent relates to multicarrier communications systems that
lower the peak-to-average power ratio (PAR) of transmitted signals.

6
    U.S. Patent No. 5,515,369; issued May 7, 1996 (Ex. 1019) (“Flammer”).
                                       3

                                     Appx6748
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Ex. 1001, 1:28‒31. A value is associated with each carrier signal, and a
phase shift is computed for each carrier signal based on the value associated
with that carrier signal. Id. at 2:38‒41. The value is determined
independent of the input bit value carried by the carrier signal. The
computed phase shift value is combined with the phase characteristic of that
carrier signal to substantially scramble the phase characteristics of the carrier
signals. Id. at 2:38‒45. Figure 1 illustrates the multicarrier communication
system and is reproduced below:




      Figure 1 illustrates the multicarrier communication system, digital
subscriber line (DSL) communication system 2, which includes discrete
multitoned (DMT) transceiver 10 communicating with remote transceiver 14
over communication channel 18 using transmission signal 38 having a
plurality of carrier signals. Id. at 3:27‒31. DMT transceiver 10 includes

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DMT transmitter 22 and DMT receiver 26. Id. at 3:31‒32. Remote
transceiver also includes transmitter 30 and receiver 34. Id. at 3:32‒34.
DMT transmitter 22 transmits signals over communication channel 18 to
receiver 34. Id. at 3:40‒42.
      DMT transmitter 22 includes a quadrature amplitude modulation
(QAM) encoder 42, modulator 46, bit allocation table (BAT) 44, and phase
scrambler 66. Id. at 3:53‒56. QAM encoder 42 has a single input for
receiving serial data bit stream 54 and multiple parallel outputs to transmit
QAM symbols 58 generated by QAM encoder 42 from bit stream 54. Id. at
3:65‒4:1. Modulator 46 provides DMT modulation functionality and
transforms QAM symbols 58 into DMT symbols 70. Id. at 4:12‒14.
Modulator 46 modulates each carrier signal with a different QAM symbol
58, and, therefore, this modulation results in carrier signals having phase and
amplitude characteristics based on QAM symbol 58. Id. at 4:15‒18.
Modulator 46 also includes phase scrambler 66 that combines a phase shift
computed for each QAM-modulated carrier signal with the phase
characteristics of that carrier signal. Id. at 4:31‒34.
                               D. Illustrative Claim
      Petitioner challenges claims 1‒30 of the ’158 patent. Claims 1 and 15
are independent claims. Claims 2‒14 and 29 depend, either directly or
indirectly, from claim 1, and claims 16‒28 and 30 depend, either directly or
indirectly, from claim 15. Claim 1 is reproduced below.

      1.    In a multicarrier modulation system including a first
      transceiver in communication with a second transceiver using a
      transmission signal having a plurality of carrier signals for
      modulating a plurality of data bits, each carrier signal having a
      phase characteristic associated with at least one bit of the

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      plurality of data bits, a method for scrambling the phase
      characteristics of the carrier signals comprising:

            transmitting the plurality of data bits from the first
      transceiver to the second transceiver;

             associating a carrier signal with a value determined
      independent of any bit of the plurality of data bits carried by the
      carrier signal, the value associated with the carrier signal
      determined by a pseudo-random number generator;

            determining a phase shift for the carrier signal at least
      based on the value associated with the carrier signal;

             modulating at least one bit of the plurality of data bits on
      the carrier signal; and

             modulating the at least one bit on a second carrier signal
      of the plurality of carrier signals.

Ex. 1001, 10:59–11:11.


                             II.   ANALYSIS
                            A. Principles of Law
   To prevail in its challenge to Patent Owner’s claims, Petitioner must
demonstrate by a preponderance of the evidence that the claims are
unpatentable. 35 U.S.C. § 316(e); 37 C.F.R. § 42.1(d). A claim is
unpatentable under 35 U.S.C. § 103(a) if the differences between the
claimed subject matter and the prior art are such that the subject matter, as a
whole, would have been obvious at the time of the invention to a person
having ordinary skill in the art. KSR Int’l Co. v. Teleflex, Inc., 550 U.S. 398,
406 (2007). The question of obviousness is resolved on the basis of
underlying factual determinations including: (1) the scope and content of
the prior art; (2) any differences between the claimed subject matter and the
                                       6

                                    Appx6751
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prior art; (3) the level of ordinary skill in the art; and (4) objective evidence
of nonobviousness. Graham v. John Deere Co. of Kansas City, 383 U.S. 1,
17–18 (1966).
      In that regard, an obviousness analysis “need not seek out precise
teachings directed to the specific subject matter of the challenged claim, for
a court can take account of the inferences and creative steps that a person of
ordinary skill in the art would employ.” KSR, 550 U.S. at 418; see also
Translogic Technology, Inc., 504 F.3d 1249, 1259, and 1262 (Fed. Cir.
2007).
                     B. Level of Ordinary skill in the Art
      Citing its declarant, Dr. Jose Tellado, Petitioner contends that a person
having ordinary skill in the art at the time of the invention would have had
(1) a Master’s degree in Electrical and/or Computer Engineering, or
equivalent training, and (2) approximately five years of experience working
with multicarrier communications systems. Pet. 10–11; Ex. 1009 ¶ 18.
Petitioner also contends that “[l]ack of work experience can be remedied by
additional education, and vice versa.” Pet. 11.
      Patent Owner’s expert, Dr. Robert Short indicated that for purposes of
the proceeding he adopts Dr. Tellado’s definition of a person of ordinary
skill in the art. Ex. 2003 ¶ 16. For purposes of this Decision, we adopt
Petitioner’s proposed definition, and further find that the level of ordinary
skill in the art is reflected by the prior art of record. See Okajima v.
Bourdeau, 261 F.3d 1350, 1355 (Fed. Cir. 2001); In re GPAC Inc., 57 F.3d
1573, 1579 (Fed. Cir. 1995); In re Oelrich, 579 F.2d 86, 91 (CCPA 1978).




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                                     Appx6752
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                           C. Claim Interpretation
      The Board interprets claims of an unexpired patent using the broadest
reasonable construction in light of the specification of the patent in which
they appear. See 37 C.F.R. § 42.100(b); see also Office Patent Trial Practice
Guide, 77 Fed. Reg. at 48,766. Under the broadest reasonable construction
standard, claim terms are given their ordinary and customary meaning, as
would be understood by one of ordinary skill in the art in the context of the
entire disclosure. In re Translogic, 504 F.3d at 1257.
      Petitioner proposes constructions for the following claim terms:
“multicarrier” and “transceiver.” Pet. 8–9. In our Decision to Institute, we
interpreted the term “transceiver” to mean “a device, such as a modem, with
a transmitter and receiver,” but determined that it was not necessary to
interpret the term “multicarrier.” Dec. 6–7. Neither party has indicated that
our determinations were improper and we do not perceive any reason or
evidence that now compels any deviation from our initial determinations.
PO Resp. 13–14; Pet. Reply 7–8. Accordingly, the construction of
transceiver to mean “a device, such as a modem, with a transmitter and
receiver” applies to this Decision. Dec. 7. For purposes of this decision, we
find it necessary to construe “scrambling the phase characteristics of the
carrier signals” found in claim 1.
        Scrambling the Phase Characteristics of the Carrier Signals
      The preamble of claim 1 recites a transmission signal with a plurality
of carrier signals where each carrier signal has a phase characteristic and “a
method for scrambling the phase characteristics of the carrier signals,
comprising.” (Emphasis added). Patent Owner argues that the italicized
language should be interpreted to mean “adjusting the phases of a plurality

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                                     Appx6753
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of carriers in a single multicarrier symbol by pseudo-randomly varying
amounts.” PO Resp. 14–19. Petitioner argues that the phrase needs no
interpretation, since the prior art relied upon uses the same “phase
scrambling” terminology to describe pseudo-random phase changes. Pet.
Reply 7 (citing Ex. 1012, 12:24–31). Additionally, Petitioner argues,
without any other explanation, that “the Board should not adopt TQ Delta’s
proposed construction.” Id. During oral argument, however, counsel for
Petitioner reiterated that it is Petitioner’s position that no construction of the
term is necessary, because “[r]egarding [P]atent [O]wner’s proposal of the
construction, we believe that is exactly how Stopler is describing this phase
scrambler as operating.” Tr. 18:23–19:5.
      The phrase “scrambling the phase characteristics of the carrier
signals” is recited in the preamble of claim 1. Although neither party
explicitly explains why the preamble of claim 1 is limiting, both parties
implicitly contend that the preamble is limiting. For purposes of this
decision, we determine that the preamble is limiting. We further find it
helpful to our decision and analysis to interpret the phrase in order to
understand the parties’ positions with respect to how the prior art reference
Stopler meets the phrase.
      Patent Owner argues that “scrambling the phase characteristics of the
carrier signals” should be construed to mean “adjusting the phases of a
plurality of carriers in a single multicarrier symbol by pseudo-randomly
varying amounts.” PO Resp. 14. Patent Owner contends that the
construction is supported by the specification of the ’158 patent and clarifies
that the claimed phase scrambling “must be performed amongst the
individual carrier phases in a single multicarrier symbol” and is not met if

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the phase adjustment only occurs over time from one symbol to the next.
PO Resp. 14 (citing Ex. 2003 ¶ 37).
      In support of its proposed interpretation, Patent Owner argues that the
’158 patent describes that each of the plurality of carriers (of a multicarrier
signal) corresponds to a different QAM symbol. PO Resp. 15 (citing Ex.
1001, 4:15–16). Patent Owner further argues that each carrier (or QAM
symbol) has its own phase or phase characteristic, and that the combination
of the carriers (or QAM symbols) is referred to as a DMT symbol. PO Resp.
16 (citing Ex. 1001, 4:9–11, 9:8–9; Ex. 2003 ¶ 39). Patent Owner further
contends that the ’158 patent describes that a “phase scrambler” scrambles
phases or phase characteristics of carriers within a single DMT symbol, and
that PAR in the transmission signal is reduced by adjusting the carrier
phases within a single DMT symbol. PO Resp. 16 (citing Ex. 1001, 6:32–
8:13; Ex. 2003 ¶ 39). PAR, Patent Owner contends, would not be reduced if
carrier phases were only adjusted from one symbol to the next. PO Resp. 16
(Ex. 2003 ¶¶ 41–42).
      Based on the record before us, we agree with Patent Owner’s
proposed construction as far as meaning “adjusting the phases of a plurality
of carriers in a single multicarrier symbol.” PO Resp. 14. Patent Owner,
however, provides no persuasive reasoning for also adding to that
construction “by pseudo-randomly varying amounts.” Id. Rather, Patent
Owner merely contends that (1) in a corresponding district court matter, the
court construed the phrase to mean “adjusting the phase characteristics of the
carrier signals by pseudo-randomly varying amounts;” (2) during
prosecution of a child application to the ’158 patent, the applicant explained
that a “scrambler” operates by pseudo-randomly selecting bits to invert; and

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(3) there was no fundamental disagreement between parties that scrambling
involves adjusting the phase characteristic of a carrier signal by pseudo-
randomly varying amounts. PO Resp. 16–17. Patent Owner’s explanation
for why we should add “by pseudo-randomly varying amounts” to its
proposed construction is conclusory. Id. at 17. We interpret claims using
the broadest reasonable construction in light of the specification of the
involved patent. That standard is not the same as the standard used in
district court. Patent Owner, however, provides no explanation for why we
should apply the district court construction, which is not necessarily the
same as used before us, here. Moreover, Patent Owner does not explain why
statements made during prosecution of a child application for the term
“scrambler” is relevant to how we should interpret the disputed phrase that
does not even contain the term “scrambler” in it. Id. at 16. In summary,
Patent Owner’s arguments are conclusory.
      For all of the above reasons, and for purposes of this decision, we
determine that “scrambling the phase characteristics of the carrier signals”
means “adjusting the phases of a plurality of carriers in a single multicarrier
symbol.”
               D. Asserted Obviousness over Shively and Stopler
      Petitioner contends that claims 1, 2, 4, 15, 16, and 18 are unpatentable
under 35 U.S.C. § 103(a) as obvious over Shively and Stopler. Pet. 11–32.
We have reviewed Petitioner’s showing identifying where each limitation
allegedly appears in Shively and Stopler, along with the testimony of
Petitioner’s declarant, Dr. Jose Tellado. Id. (citing Ex. 1009). We also have
reviewed Patent Owner’s assertions and evidence, including the testimony of
Dr. Robert Short, as to why Petitioner’s showing is deficient.. PO Resp.

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                              Shively (Ex. 1011)
      Shively discloses discrete multitoned transmission (DMT) of data by
digital subscriber loop (DSL) modems and the allocation of bits to the
discrete multitones. Ex. 1011, 1:5‒8. Bit allocation is performed to
optimize throughput within aggregate power and power spectral density
mask limits. Id. at 4:17‒19. The system includes a transmitting modem and
a receiving modem connected by a cable having four twisted pairs of
conductors. Id. at 9:63‒65. The modems include a source encoder, a
channel decoder, and a digital modulator to take in and transmit data from a
data source. Id. at 10:9‒12. The modems also include a digital
demodulator, a channel decoder, and a source decoder to receive the data
and supply it to a data sink. Id. at 10:12‒14. The source encoder
compresses data, applies the compressed data to the channel decoder, which
performs error correction. Id. at 10:15‒19. The error corrected data is
applied to the digital modulator, which acts as the interface with the
communication channel. Id. at 10:15‒22. The digital demodulator
constructs a data stream from the modulated signal and applies it to the
channel decoder, which performs error correction, and then applies the
corrected data to the source decoder, which decompresses the data. Id. at
10:22‒26.
      In the QAM multitoned modulation, the spectrum is broken into
multiple sub-bands or QAM channels. Id. at 10:27‒29. The digital
modulator generates N QAM signal tones, one for each QAM channel.
Id. at 10:29‒30. The serial stream is segmented in to N frames, each having
allocated to it ki bits of data. Id. at 10:30‒31. The multi-carrier modulator



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generates N QAM tones, one for each channel, at the same symbol rate but
with a respective constellation for each channel. Id. at 10:35‒37.
                             Stopler (Ex. 1012)
      Stopler discloses a method and apparatus for encoding/framing a data
stream of multitoned modulated signals to improve impulse burst immunity.
Ex. 1012, 1:8‒11. The encoding/framing scheme allows efficient operation
in multipoint to point channels affected by ingress and impulsive
interference. Id. at 5:11‒14. Two dimensional interleaving is performed,
with one dimension being time and the other dimension being frequency
(tones or sub-channels). Id. at 5:18‒20. Stopler further discloses a
diagonalization scheme, where data packets are spread over time in a
diagonal fashion, such that an impulse noise affects more than one user’s
packets, with the effect on each being reduced. Id. at 5:64‒67. A code
having lower redundancy can be used since the amount of corruption
expected in one user’s data packet will be reduced. Id. at 5:67‒6:3.


      Figure 5 of Stopler is reproduced below.




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      As shown above, Figure 5 of Stopler, input data, in the form of data
packets, is input to an RS coder 52. Id. at 8:55‒57. Data output by RS coder
52 is input to interleaver 54. Id. at 9:8‒10. The output of interleaver 54 is
rearranged into a serial bit stream and then scrambled in scrambler 56, which
is used to randomize coded and interleaved data. Id. at 9:34‒37. Data
output by scrambler 56 is divided by level splitter 58 into two levels of the
TCM encoder. Splitter 58 divides serial bit stream into a group of data bits
to be processed by lower level 70, and the remaining data bits to be
processed by upper level 60. Id. at 9:48‒55. In lower level 70 of TCM
encode, data is collected into groups by group collector 72, which is input to
coder 74, then group interleaver 76 and then group filler 78. Id. at 10:40‒
11:18. The outputs of upper stream 60 and lower stream 70 are combined
into m-tuples (QAM symbols) and temporarily stored in FIFO buffer 80,
which then delivers data to a QAM mapper 82. Id. at 11:51‒57.
      The input to QAM mapper 82 is data in the form of m-tuples which
are mapped into QAM symbols. Id. at 12:21‒22. To randomize the
overhead channel symbols, a phase scrambling sequence is applied to the
output symbols. For example, the phase scrambling sequence may be
generated by a pseudo-random generator composed of a linear feedback shift
register of length 21, and initialized by a user programmable seed. Id. at
12:24‒31. Consecutive output pairs from the pseudo-random generator are
converted into numbers 2a+b and the sum (2a+b) is used to select the
amount of rotation to be applied to the symbol according to the following
table below:




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Id. at 12:31‒45. The output from the QAM mapper 82 is provided to a
modulator (not shown) which implements the particular signal modulation
desired, e.g., VCMT, CDMA, etc. Id. at 12:55‒57.
                                   Analysis
      Petitioner contends that claims 1, 2, 4, 15, 16, and 18 would have been
obvious over Shively and Stopler. Pet. 11–32. Patent Owner’s arguments
are directed to whether a person of ordinary skill in the art would have
combined Shively and Stopler and whether Stopler describes phase
scrambling. PO Resp. 45‒58.
      Claim 1 recites “[i]n a multicarrier modulation system including a first
transceiver in communication with a second transceiver.” Petitioner
contends that Shively and Stopler each describe this limitation. For
example, and with respect to Shively, Petitioner argues that Shively
describes a discrete multitoned transmission (DMT) of data (a multicarrier
modulation system) by digital subscriber loop (DSL) modems (illustrated in
Figure 2 as a transmitting modem 31 and a receiving mode 32). Pet. 17
(citing Ex. 1011, 1:5‒7, 9:42, 9:63‒64, and Fig. 2; Ex. 1009, 31‒32).7 We
are persuaded by Petitioner’s showing and find that Shively’s modem 31 is a
first transceiver in communication with a second transceiver 32 and that the

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  In the Petition, Petitioner references page numbers of Dr. Tellado’s
Declaration, as opposed to paragraph numbers. Citations are to page
numbers, unless otherwise indicated by use of the paragraph symbol (“¶”).
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two transceivers communicate using discrete multitoned transmission
(DMT) of data, and thus are in a multicarrier modulation system.
      Claim 1 further recites “using a transmission signal having a plurality
of carrier signals for modulating a plurality of data bits.” Petitioner contends
that Shively and Stopler each render obvious this phrase. For example, and
with respect to Shively, Petitioner contends that Shively describes a
transmitting modem that receives digital data from a data source and
modulates separate carriers to represent the digital data, which results in a
modulated signal sent to a receiving modem. Pet. 19 (citing Ex. 1011, 5:22‒
26). Petitioner further contends that Shively describes that the available
frequency spectrum is divided into multiple QAM channels, which a person
of ordinary skill in the art would have understood to be a “plurality of carrier
signals” for modulating “a plurality of data bits.” Pet. 19 (citing Ex. 1011,
5:47, 5:52; Ex. 1009, 35‒36). We are persuaded by Petitioner’s showing,
which we adopt as our own findings and conclusions, that Shively renders
obvious “using a transmission signal having a plurality of carrier signals for
modulating a plurality of data bits.”
      Claim 1 recites “each carrier signal having a phase characteristic
associated with at least one bit of the plurality of data bits.” Petitioner
contends that Shively and Stopler each render obvious this phrase. For
example, and with respect to Shively, Petitioner contends that Shively
describes transmitting data bits using quadrature amplitude modulation
(QAM) and that QAM produces a signal whose phase and amplitude convey
encoded k-bits of information. Pet. 20 (citing Ex. 1011, 1:29‒30).
Petitioner further contends that a person having ordinary skill in the art
would have understood that the phase of a signal used in QAM to convey

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bits is a phase characteristic as claimed. Pet. 20 (citing Ex. 1001, 1:43‒44;
Ex. 1009, 38). We are persuaded by Petitioner’s showing, which we adopt
as our own findings and conclusions, that Shively describes “each carrier
signal having a phase characteristic associated with at least one bit of the
plurality of data bits.”
       Claim 1 further recites a “method for scrambling the phase
characteristics of the carrier signals.” Petitioner contends that Stopler
describes a phase scrambler that applies a phase scrambling sequence to data
in the form of m-tuples which are to be mapped into QAM symbols. Pet. 22
(citing Ex. 1012, 12:20‒28). Petitioner contends that the QAM symbols are
then provided to a modulator which implements the particular signal
modulation. Pet. 22; Ex. 1012, 12:55‒57, Fig. 5; Ex. 1009, 41–45).
       Petitioner explains, with supporting evidence, that it would have been
understood by a person having ordinary skill in the art that modulating the
phase-scrambled QAM symbols results in the phases of the carrier signals
being scrambled. Pet. 22 (citing Ex. 1009, 44‒45). Petitioner contends that
it would have been obvious to a person having ordinary skill in the art to
employ Stopler’s phase scrambling techniques in Shively’s transmitter. Pet.
22–23 (citing Ex. 1009, 45). In particular, Dr. Tellado testifies that a person
having ordinary skill in the art would have recognized that by transmitting
redundant data symbols on multiple carriers, Shively’s transmitter would
suffer from an increased peak-to-average power ratio (PAR). Ex. 1009
¶¶ 63‒64. He further testifies that a person having ordinary skill in the art
would have understood the drawbacks from a high PAR and that such a
person would have sought out an approach to reduce PAR of Shively’s
transmitter. Id. ¶ 66. Dr. Tellado further testifies that it would have been

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obvious to randomize the carrier phases using Stopler’s techniques in order
to reduce Shively’s PAR. Id. ¶ 67. Notwithstanding Patent Owner’s
arguments, which we have considered and which we address below, we are
persuaded by Petitioner’s showing, which we adopt as our own findings and
conclusions, that Stopler teaches “scrambling the phase characteristics of the
carrier signals” and that it would have been obvious to combine Stopler’s
scrambling technique to Shively’s system for the reasons provided by
Petitioner. Pet. 23.
      Claim 1 also recites “transmitting the plurality of data bits from the
first transceiver to the second transceiver.” As discussed above, Petitioner
relies on Shively’s description of a transmitting modem (e.g., Figure 2
transmitting modem 31) that transmits digital data to a receiving modem
(e.g., Figure 2 receiving modem 32). Pet. 23 (citing Ex. 1011, 8:56‒60).
We find that Shively describes transmitting digital data from a first
transceiver to a second transceiver. Ex. 1011, 8:56‒60. Petitioner further
explains, with supporting evidence, and we agree, that a person having
ordinary skill in the art would have understood that Shively’s digital data are
“data bits.” Pet. 23 (citing Ex. 1009, 46); see also Ex. 1011, 5:47‒58.
      Claim 1 also recites “associating a carrier signal with a value
determined independently of any bit of the plurality of data bits carried by
the carrier signal, the value associated with the carrier signal determined by
a pseudo-random number generator.” Petitioner relies on Stopler to meet
this limitation. In particular, Petitioner contends that Stopler teaches a
pseudo-random generator that outputs consecutive output pairs that are
converted into numbers 2a+b. Pet. 24 (citing Ex. 1012, 12:28‒45). The
value (2a+b), derived from the pseudo-random number generator, Petitioner

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contends, is a “value determined independently of any bit of the plurality of
data bits carried by the carrier signal.” Pet. 24 (citing Ex. 1009, 48).
Petitioner further explains, with supporting evidence, that because Stopler
teaches that the value (2a+b) is associated with a symbol that is transmitted
on a sub-channel having a carrier frequency, the value (2a+b) is associated
with a carrier signal. Pet 24–25 (citing Ex. 1009, 48‒49). We are persuaded
by Petitioner’s showing, which we adopt, that Stopler renders obvious
associating a carrier signal with a “value determined independently of any
bit of the plurality of data bits carried by the carrier signal, the value
associated with the carrier signal determined by a pseudo-random number
generator.”
      Claim 1 recites “determining a phase shift for the carrier signal at least
based on the value associated with the carrier signal.” Petitioner contends
that Stopler teaches that the (2a+b) value is used to determine a phase shift
because the sum (2a+b) is used to select the amount of rotation to be applied
to the symbol, where the phase rotation can be 0, π/2, π, or -π/2. Pet. 25
(citing Ex. 1012, 12:28‒45; Ex. 1009, 49). Petitioner contends that a person
having ordinary skill in the art would have understood that applying a
rotation to the symbol results in a phase shift in the carrier signal after the
symbol is modulated onto the carrier. Pet. 25‒26 (citing Ex. 1009, 49). We
are persuaded by Petitioner’s showing, which we adopt, that Stopler renders
obvious “determining a phase shift for the carrier signal at least based on the
value associated with the carrier signal.”
      Claim 1 recites “modulating at least one bit of the plurality of data bits
on the carrier signal” and “modulating the at least one bit on a second carrier
signal of the plurality of carrier signals.” Petitioner points to descriptions in

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Shively that describes determining “a respective carrier modulated to
transmit one bit in each of a plurality of multitone subchannels of the
channel” and “modulating a first set of respective carriers to represent
respective unique portions of the data stream.” Pet. 26 (quoting Ex. 1011,
8:3‒6, 8:5‒13). Petitioner further contends that Shively employs QAM
multitone modulation to modulate carriers, and Shively’s multiple sub-bands
or QAM channels correspond to the claimed “plurality of carrier signals.”
Pet. 26 (citing Ex. 1009, 51). Petitioner submits that Stopler also teaches
using QAM to convey data bits on carrier signals. Pet. 26‒27. Petitioner
further argues that Shively discloses modulating a portion of data on
multiple carriers, and, therefore, meets the “second carrier” claim limitation.
Id. at 27‒29. We are persuaded by Petitioner’s showing, which we adopt,
that the combined teachings of Shively and Stopler render obvious
“modulating at least one bit of the plurality of data bits on the carrier signal”
and “modulating the at least one bit on a second carrier signal of the
plurality of carrier signals.”
      Independent claim 15 is similar to claim 1. Petitioner has made a
showing with respect to claim 15 similar to its showing with respect to claim
1. See, e.g., Pet. 30‒32. To the extent that claim 15 is different from claim
1, Petitioner has accounted for such differences. We also have reviewed
Petitioner’s showing with respect to dependent claims 2, 4, 16, and 18.
Claim 2 depends from claim 1 and recites “wherein one or more of the first
transceiver and second transceiver are cable transceivers.” Claim 16, which
depends from claim 15 is similar. Petitioner sufficiently accounts for this
limitation by explaining that Stopler describes a cable modem attached to a
cable television network and is a “cable transceiver.” Pet. 29 (citing Ex.

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1012, 1:28‒33, 2:9‒22, and 12:55‒57; Ex. 1009, 55‒56). We find that
Stopler describes a cable modem that meets the limitation of a cable
transceiver. Petitioner contends, and we agree, that it would have been
obvious to a person having ordinary skill in the art that the data transmission
techniques of Shively and Stopler could be employed with a cable
transceiver. Pet. 29 (citing Ex. 1009, 56).
      Claim 4 depends from claim 1 and “wherein the first and second
transceivers are multicarrier DSL transceivers.” Claim 18, which depends
from claim 15 is similar. Petitioner sufficiently accounts for this limitation
by explaining, for example, that Shively describes discrete multitoned
transmission (DMT) of data by digital subscriber loop (DSL) modems. Pet.
30 (citing Ex. 1011, 1:5‒8). Patent Owner does not make any additional
arguments regarding claims 2, 4, 15, 16, and 18 that do not pertain to claim
1. Notwithstanding Patent Owner’s arguments, which we have considered
and which we address below, we are persuaded by Petitioner’s showing,
which we adopt as our own findings and conclusions, that claims 1, 2, 4, 15,
16, and 18 are unpatentable as obvious over Shively and Stopler.
                         Patent Owner’s Contentions
      Patent Owner argues that the combined teachings of Shively and
Stopler do not render obvious the challenged claims. PO Resp. 44. In
particular, Patent Owner argues that (1) Petitioner provides no explanation
for the “use of a known technique to improve a similar device” rationale to
combine Shively and Stopler (id. at 45‒47); (2) Petitioner wrongly claims
that Shively’s transmitter suffers from an increased PAR (id. at 47‒49); (3)
Petitioner’s combination of Shively and Stopler suffers from hindsight (id. at
49‒50); (4) there is no need to solve Shively’s non-existent PAR problem

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(id. at 50‒51); (5) Stopler does not reduce PAR in a multicarrier transmitter
(id. at 51); (6) Stopler and Shively could not be combined (id. at 51‒55); and
(7) there were no “market forces” in effect to prompt the Shively/Stopler
combination (id. at 55‒57). Patent Owner also argues that Stopler does not
disclose phase scrambling. Id. at 57‒59. We address each argument below.8
        Scrambling the Phase Characteristics of the Carrier Signals
      Patent Owner argues that Stopler does not disclose “scrambling the
phase characteristics of the carrier signals” required by claim 1. PO Resp.
34‒44, 57‒58. We note, independent claim 15 does not recite this phrase.
In essence, Patent Owner argues that claim 1 requires adjusting the phases of
a plurality of carriers in a single multicarrier symbol, but that Stopler only
discloses scrambling phases from one symbol to the next symbol and not
with respect to multiple carriers in a single multicarrier symbol. Id.




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  Patent Owner lists several portions of Petitioner’s Reply and evidence
allegedly beyond the scope of what can be considered appropriate for a
reply. See Paper 25. We have considered Patent Owner’s listing, but
disagree that the cited portions of Petitioner’s Reply and reply evidence are
beyond the scope of what is appropriate for a reply. Replies are a vehicle for
responding to arguments raised in a corresponding patent owner response.
Petitioner’s arguments and evidence that Patent Owner objects to (Paper 25,
1–2) are not beyond the proper scope of a reply because we find that they
fairly respond to Patent Owner’s arguments raised in Patent Owner’s
Response. See Idemitsu Kosan Co. v. SFC Co. Ltd., 870 F.3d 1376, 1381
(Fed. Cir. 2017) (“This back-and-forth shows that what Idemitsu
characterizes as an argument raised ‘too late’ is simply the by-product of one
party necessarily getting the last word. If anything, Idemitsu is the party that
first raised this issue, by arguing—at least implicitly—that Arkane teaches
away from non-energy-gap combinations. SFC simply countered, as it was
entitled to do.”).
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      In particular, Patent Owner contends that “Stopler must be compatible
with single-carrier CDMA” (PO Resp. 58) based on Stopler’s teaching that
“[t]he framing scheme according to the present invention may also be
performed in a CDMA system, in which case the modulator (not shown)
may, for example, be a CDMA-type modulator in accordance with the
TIA/EIA/IS-95 Mobile Station Compatibility Standard for Dual Mode
Wideband Spread Spectrum Cellular System.” Ex. 1012, 12:58–63; see also
PO Resp. 29–30; id. at 29–44 (arguing Stopler’s framing scheme must be
compatible with single-carrier CDMA). According to Patent Owner,
“[b]ecause Stopler must be compatible with single-carrier CDMA, it makes
no sense to argue that his phase scrambling must be performed within a
single multicarrier symbol.” PO Resp. 58. Thus, concludes Patent Owner,
“Stopler only discloses scrambling phases from one symbol9 to the next
symbol in time, and not with respect to multiple carriers in a single
multicarrier symbol.” PO Resp. 58; see also id. at 37 (“It is nonsensical to
scramble phases within a symbol because there is only one phase in each
symbol.”).
     Patent Owner also relies on Stopler’s claim 31 as corroboration for its
position, contending that the phase scrambling performed by QAM Mapper
and Phase Scrambler 82 “must at least be compatible with single carrier
CDMA” because claim 31 is directed to a method in a “CDMA system” that
includes the step of “phase scrambling.” Id. at 33–34 (citing Ex. 1012,
16:4–48).


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  Patent Owner uses “symbol” to mean “a collective multicarrier symbol in
a single symbol period (e.g. a DMT symbol).” PO Resp. 12. Patent Owner
uses “carrier” to mean “a carrier symbol (e.g., a QAM symbol).” Id.
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      The “framing scheme” of Stopler is shown as a block diagram in
Figure 5, reproduced below. Ex. 1012, 8:54–55 (“A block diagram of the
framing scheme according to the present invention is shown in FIG. 5.”).




To illustrate the use of Stopler’s framing scheme with either a multicarrier
modulator or a single carrier modulator, Patent Owner provides the
following annotated excerpts of Figure 5:




PO Resp. 33.
      We are not persuaded by Patent Owner’s argument, which is based
upon its assertion that “[s]ingle-carrier systems have only one carrier with
only one phase” and, therefore, “[p]hase scrambling in a single-carrier
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system only makes sense when it is performed over time from symbol-to-
symbol, as illustrated by the blue box,” in the figure reproduced below. PO
Resp. 36–37.




Id. In this diagram, “Symbol A,” “Symbol B,” and “Symbol C” each
represent a QAM symbol, not a DMT symbol, and each, according to Patent
Owner, is phase scrambled relative to the other. Thus, Patent Owner’s
diagram shows only that a single-carrier embodiment of Stopler would
transmit one phase-scrambled QAM symbol at a time. It does not show that
QAM Mapper and Phase Scrambler 82 phase scrambles a DMT symbol—
i.e., rotates, by the same amount, the phase of a plurality of QAM symbols.
This is consistent with the cross-examination testimony of Patent Owner’s
expert, Dr. Short, who admitted that Stopler does not describe phase
scrambling DMT symbols. Pet. Reply 17–18 (citing Ex. 1027, 60:11–14).
Thus, Patent Owner’s own diagram is consistent with Petitioner’s position
that Stopler phase scrambles individual QAM symbols, and Patent Owner
identifies nothing in Stopler to suggest that, in an alternative embodiment
with a multicarrier modulator, QAM Mapper and Phase Scrambler 82 do not


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supply a plurality of phase-scrambled QAM symbols for modulation onto
the plurality of carriers in the, e.g., DMT symbol.
      Whereas Patent Owner’s position relies upon inference, Petitioner’s
position is supported by express disclosure in Stopler, which unambiguously
teaches “QAM symbols, for example,[] 256-QAM” whose “constellation
mapping may be the same as that used in ADSL.” Ex. 1012, 12:20–24.
Stopler further teaches that, “a phase scrambling sequence is applied to the
output symbols,” including “all symbols, not just the overhead symbols.”
Id. at 12:25–28. Patent Owner’s expert, Dr. Short, agreed that Stopler is
referring to phase scrambling QAM symbols. Pet. Reply 16–17 (citing Ex.
1027, 54:17–55:3, 55:19–24, 58:6–8, 59:9–12, and 60:15–22). Stopler
further teaches that a “scrambling sequence may be generated by a pseudo-
random generator” that generates pairs whose sum “is used to select the
amount of rotation to be applied to the symbol,” singular; not “symbols”
plural. Ex. 1012, 12:28–36. Thus, the most intuitive reading of Stopler
supports Petitioner’s contention that QAM Mapper and Phase Scrambler 82
determines an amount of rotation and rotates the phase of a single QAM
symbol by that amount. Patent Owner, in contrast, identifies nothing in
Stopler to suggest that QAM Mapper and Phase Scrambler 82 rotates the
phase of a plurality of QAM symbols (e.g., every QAM symbol of a DMT
symbol) by the same amount. Finally, we agree with Petitioner’s argument
that because “a CDMA modulator does not employ DMT symbols, there is
no reason for Stopler’s phase scrambler to operate on DMT symbols,”
whereas “both DMT and CDMA modulators employ QAM symbols,” so
“applying the phase scrambler to individual QAM symbols[] is the only



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possible reading that is logically and technically coherent.” Pet. Reply 18
(citing Ex. 1026 ¶ 58).
      Patent Owner also argues that a person of ordinary skill in the art
would have understood Stopler to be scrambling phase from symbol-to-
symbol over time in order to reduce narrowband noise at the frequency of an
overhead pilot carrier. PO Resp. 39; see also id. at 38–44 (citing Ex. 2004
(U.S. Patent 6,370,156, “the ’156 patent”)). According to Patent Owner,
“Petitioners’ argument that Stopler discloses phase scrambling within one
symbol is based on the premise that the symbol can have multiple pilot
tones.” Id. at 40. We understand Patent Owner to be alluding to pages 13 to
14 of the Petition, which state
      Stopler also explains that some of the available carriers may be
      reserved for the transmission of overhead signals, such as pilot
      tones. Ex. 1012, 10:60-62 & 12:51-54. To randomize these
      overhead channels, Stopler employs a phase scrambler. Ex.
      1012, 12:24-26.
Pet. 13. In the claim-by-claim analysis of the Petition, however, Petitioner
cites lines 20 to 28 of column 12, which include Stopler’s teaching that “the
phase scrambler is applied to all symbols, not just the overhead symbols.”
See Pet. 22 (quoting Ex. 1012, 12:27–28). Thus, Petitioner is relying not
just on the scrambling of “overhead signals, such as pilot tones,” (Pet. 13)
but on the scrambling of all QAM symbols. Because neither Petitioner’s
argument nor Stopler’s teaching of phase scrambling is limited to pilot
tones, Patent Owner’s argument is not persuasive.
      Finally, we are not persuaded by Patent Owner’s argument that only
its interpretation—i.e., adjusting the phase of an entire DMT symbol—
would “simplify implementation,” as Stopler teaches (Ex. 1012, 12:26),

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whereas Petitioner’s interpretation would add complexity. PO Resp. 44
(citing Ex. 2003 ¶ 90). Patent Owner provides no explanation or analysis to
support its conclusory assertions regarding simplicity and complexity, and
the cited portion of Dr. Short’s declaration merely repeats what is written in
the Patent Owner’s Response.
      For the foregoing reasons, we are persuaded that Stopler teaches
“scrambling the phase characteristics of the carrier signals” required by
claim 1.
   No Use of a Known Technique to Improve a Similar Device Rationale
      Patent Owner argues that in making the contention that the
combination of Shively and Stopler is a use of a known technique to
improve a similar device, method or product in the same way, Petitioner
fails to explain what is the known technique, what device/method/product is
similar, and how is the alleged known technique used for improvement in
the same way. PO Resp. 45‒47.
      In the Petition, Petitioner provides sufficient explanation regarding the
reasons to combine Shively and Stopler. Pet. 14‒16. The explanation
provided in the Petition is not conclusory or confusing as Patent Owner
asserts. The known technique is identified as phase scrambling. Pet. 15
(citing Ex. 1009, 29). The similar device is Shively’s modem. Pet. 17. And
the improvement to it is the same as in Stopler—to reduce PAR. Pet. 16
(citing Ex. 1009, 29).
      Shively’s transmitter does not suffer from an increased PAR and there
         is no reason to solve Shively’s non-existent PAR problem

      Patent Owner argues that “Shively does not suffer from an increased
PAR, much less one that would be recognized as a problem. Rather,

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Shively’s disclosed embodiment results in a substantially reduced PAR (and
one that is very far below a level that is problematic).” PO Resp. 47‒49.
Patent Owner also argues that because Shively does not disclose a problem
with PAR, one having ordinary skill in the art would have had no reason to
look for a solution. PO Resp. 50‒51. We are not persuaded by these
arguments.
      Specifically, Patent Owner argues Shively’s system is unlikely to
suffer from clipping,10 based on its analysis of a hypothetical 18,000 foot
wire. PO Resp. 19–29. According to Patent Owner, the power of signals
transmitted in Shively’s proposed system would be “only 40% of maximum”
in the normal mode for ADSL-1995 and “only 49% of maximum” in the
power-boost mode of ADSL-1995. Id. Based on these figures, Patent
Owner concludes that “the clipping probability for both normal and power-
boost modes is virtually zero” because “[w]hile Shively’s ‘spreading’
technique will contribute a small uptick in clipping probability, any increase
would be negated by the enormous reduction in clipping probability
achieved by reducing signal power by more than half.” Id. at 28.
      Petitioner argues that Dr. Short’s analysis is flawed because (1) the
teachings of Shively are not applicable only to 18,000 foot cables; and (2)
Dr. Short “grossly underestimates the likelihood of phase alignment” in
Shively because he wrongly assumes a Gaussian distribution. Pet. Reply
26–31. According to Petitioner, a proper analysis shows that Shively’s



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   Patent Owner explains that, “[w]hen the maximum dynamic range of a
component is exceeded, the signal will become distorted or will ‘clip.’” PO
Resp. 8. This is consistent with how the ’158 patent uses “clipping.” See,
e.g., Ex. 1001, 8:27–35.
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techniques “significantly increases PAR and the likelihood of clipping.”
Pet. Reply 31–35.
      We need not determine the exact probability of clipping in Shively’s
proposed system because, even assuming Patent Owner’s analysis is
accurate, it does not rebut Petitioner’s reason to combine. Petitioner does
not allege that Shively’s proposed system causes clipping, or that a person of
ordinary skill in the art would have been motivated to reduce PAR only if it
caused clipping. Instead, Petitioner alleges that Shively’s proposed system
would have an “increased” or “high” PAR:
             A POSITA would have recognized that by transmitting
      redundant data on multiple carriers, Shively’s transmitter would
      suffer from an increased peak-to-average power ratio. [Ex.
      1009, p. 27.] This increase is due to the fact that the overall
      transmitted signal in a multicarrier system is essentially the sum
      of its multiple subcarriers. Id. When N subcarrier signals with
      the same phase are added together, they have a peak power
      which is N times greater than their individual maximum
      powers. Id.
             Since Shively’s subcarriers use quadrature amplitude
      modulation (QAM) . . . transmitting the same bits on two
      different subcarriers causes those subcarriers to have the same
      phase and amplitude. Id., pp. 27–28. By transmitting the same
      bits on multiple subcarriers, Shively creates a situation where
      those multiple subcarriers will be phase-aligned. Having
      phase-aligned subcarriers causes a high peak-to-average
      power ratio (PAR), since all of the subcarriers add up
      coherently at the same time. Id., p. 28.
Pet. 14–15 (emphases added).
      Patent Owner criticizes Petitioner’s declarant for not providing
“calculations or data that illustrate to what degree there is an ‘increase’ in
PAR with Shively’s transmitter” (PO Resp. 48), but we are not persuaded

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that such calculations and data are necessary. Petitioner’s reason to combine
does not depend on the PAR increase exceeding some specific numeric
threshold. There is no dispute that transmitting the same data on multiple
carriers increases PAR (Pet. Reply 10 (citing PO Resp. 6–7; Ex. 2003 (Short
Decl.) ¶ 22)) or that Shively’s technique, specifically, will increase PAR (PO
Resp. 28 (“Shively’s ‘spreading’ technique will contribute a small uptick in
clipping probability.”). There also is no dispute that equipment designed to
handle a higher PAR can be larger, more expensive, and more power hungry
than equipment designed to handle a lower PAR. Pet. Reply 36 (citing Ex.
2003 ¶ 26; Ex. 1027 45:21–46:19). Patent Owner’s declarant, Dr. Short,
testified that, given such issues, system designers or engineers would be
interested in using techniques that could reduce PAR. Ex. 1027, 46:23–47:3.
This is consistent with the reason to combine given in the Petition and
supports Petitioner’s position that “numerous problems” other than clipping
“would have motivated a [person of ordinary skill in the art] to look for
ways to reduce the PAR of Shively’s technique.” Pet. Reply 36.
      In light of the foregoing, we are persuaded that a person of ordinary
skill in the art would have recognized that Shively’s technique would
increase PAR and would have been motivated to reduce PAR regardless of
whether Shively’s technique resulted in clipping.
         Combination of Shively and Stopler suffers from hindsight
      Patent Owner argues that only the inventor of the ’158 patent
recognized the problem of high PAR due to phase-aligned carriers. PO
Resp. 49‒50. Patent Owner argues that the only cited evidence that high
PAR results from transmitting the same data on multiple carriers is from the
’158 patent and that Petitioner “use[s] the ’158 patent as a roadmap for

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arriving at their theory of obviousness,” resulting in “a textbook case of
impermissible hindsight bias.” Id. We are not persuaded by this argument.
      First, the portions cited in the ’158 patent in the Petition and in Dr.
Tellado’s declaration come from the “BACKGROUND OF THE
INVENTION” section of the patent. That portion of the ’158 patent uses
words such as “conventional” indicating that what is described in the
“BACKGROUND OF THE INVENTION” section is information that was
known at the time of the invention, not just by the inventors, but persons of
ordinary skill in the art. Patent Owner does not contend otherwise.
      In addition, Dr. Tellado testified that a person having ordinary skill in
the art would have recognized that the purpose of Stopler’s phase scrambler
to randomize data symbols would be to reduce PAR of transmitted signals
and that the person would have been familiar with the problems created by a
high PAR, including PAR due to phase-aligned carriers. Ex. 1009 ¶¶ 60, 66.
Moreover, Patent Owner’s own declarant recognized that PAR was a known
problem at the time of the invention. Ex. 2003 ¶ 23 (“Conventional
multicarrier systems, therefore, were designed to accommodate PAR.”). The
ANSI T1.413-1995 standard also confirms that PAR was known at the time
of the invention by describing that “[a] DMT time-domain signal has a high
peak-to-average ratio (its amplitude distribution is almost Gaussian), and
large values may be clipped by the digital-to-analog converter.” Ex. 1018,
36 (Section 6.5 “Tone ordering”). Based on the record evidence, we find
that a person having ordinary skill in the art would have known about the
problem of high PAR due to phase-aligned carriers.




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          Stopler does not reduce PAR in a multicarrier transmitter
       Patent Owner argues that Stopler does not reduce PAR because phase
scrambling is performed from symbol-to-symbol and not from carrier-to-
carrier. PO Resp. 51. The argument is not persuasive for the reasons
provided above.
                  Stopler and Shively could not be combined
       Patent Owner argues that Shively and Stopler are incompatible and
that it would not have been possible to incorporate Shively’s bit-spreading
concept into Stopler. PO Resp. 51. In particular, Patent Owner argues that
Shively’s bit-spreading concept is not compatible with Stopler’s
“diagonalization” technique. PO Resp. 51‒55. This argument is misplaced
as Petitioner did not rely on Stopler’s “diagonalization” technique. Rather,
Petitioner relies on Stopler’s phase scrambler and scrambling technique.
Pet. 15, 22‒23. Moreover, Stopler describes its “diagonalization” technique
as optional. Ex. 1012, 10:17, 13:1‒3. For these reasons, we are not
persuaded by Patent Owner’s argument that it would not be possible to
combine Shively and Stopler.
      No “market forces” in effect to prompt Shively/Stopler combination
       The Petition states that “[m]arket forces would have prompted the
development of multicarrier communications devices, such as Digital
Subscriber Line (DSL) modems, employing both redundant bit transmission
and phase scrambling.” Pet. 16 (citing Ex. 1009, 29). Patent Owner argues
that neither Petitioner nor Dr. Tellado identifies a single product or standard
that employs any of the ideas disclosed in Shively or Stopler. PO Resp. 55‒
57.



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      Patent Owner’s arguments are misplaced. It was not incumbent on
Petitioner or Dr. Tellado to identify a product or standard that employs the
ideas disclosed in Shively or Stopler in order to show that the combination
of Shively and Stopler would have been obvious to a person skilled in the
art. That is not the standard. Rather, a claim is unpatentable under
35 U.S.C. § 103(a) if the differences between the claimed subject matter and
the prior art are such that the subject matter, as a whole, would have been
obvious at the time of the invention to a person having ordinary skill in the
art. KSR, 550 U.S. at 406. Dr. Tellado testified that a person having
ordinary skill in the art would have been familiar with problems caused by a
high PAR, that equipment needed to cope with PAR would have been
expensive and inefficient, and that less capable equipment would have
caused distortion such as from amplitude clipping. Ex. 1009 ¶ 66. He
further testified that combining Shively’s redundant bit transmission with
Stopler’s phase scrambling technique would have allowed for faster DSL
modems without requiring more complex and expensive circuitry for
handling increased PAR. Id. ¶ 69. Patent Owner has not presented
sufficient evidence to undermine Dr. Tellado’s testimony. Indeed, Dr. Short
testified that a way to address high PAR in a communication system would
be to use transceiver components that could handle higher peak transmission
values, which would be expensive and power hungry. Ex. 1027, 45:15‒
46:12. Based on the record before us, we find that at the time of the
invention, a person having ordinary skill in the art would have recognized
that an increase in PAR would have been associated with more expensive
communication equipment. Accordingly, a drive to reduce equipment costs
would have motivated a person having ordinary skill in the art to include

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Stopler’s phase scrambler into Shively’s transmitter to reduce PAR. Pet.
14‒16 (citing Ex. 1009 ¶¶ 66‒70).
      For the foregoing reasons, we are persuaded that Petitioner has
established, by a preponderance of the evidence, that claims 1, 2, 4, 15, 16,
and 18 of the ’158 patent are unpatentable under 35 U.S.C. § 103(a) as
obvious over Shively and Stopler.
      E. Asserted Obviousness over Shively, Stopler, and Gerszberg
      Petitioner contends that claims 3, 5, 14, 17, 19, and 28–30 are
unpatentable under 35 U.S.C. § 103(a) as obvious over Shively, Stopler, and
Gerszberg. Pet. 33–41. Relying on the testimony of Dr. Jose Tellado,
Petitioner explains how the combination of Shively, Stopler, and Gerszberg
meets all of the claim limitations. Id. (citing Ex. 1009).
      Gerszberg discloses using a Digital Subscriber Line (DSL) modem,
such as an ADSL modem, to transmit and receive modulated data. Ex. 1013,
11:66‒12:7. The modem uses DMT modulation to transmit data. Id. at
12:7‒9. Gerszberg further describes types of data services that may be
provided to subscriber premises by a DSL modem that uses DMT
modulation, such as high-speed internet access and video services. Id. at
7:44‒60, 8:16‒36, and 10:63‒11:3. Gerszberg also describes that a DSL
modem can be used in various DSL communications, such as HDSL, ADSL,
SDSL, and VDSL. Id. at 9:66‒10:3.
      Based on the record before us, Petitioner has accounted sufficiently
for dependent claims 3, 5, 14, 17, 19, and 28–30. Pet. 33–41. For example,
claim 3 depends from claim 1 and recites “wherein one or more of the first
transceiver and second transceiver are VDSL transceivers.” Claim 17,
which depends from independent claim 15, is similar to claim 3. Petitioner

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relies on Gerszberg’s description that its “DSL modem may be constructed
using any of the techniques described in the applications incorporated by
reference below” such as “High Speed Digital Subscriber Line (HDSL),
Asymmetric Digital Subscriber Line (ADSL), Symmetrical Digital
Subscriber Line (SDSL) and Very high data rate Digital Subscriber Line
(VDSL).” Pet. 37‒38 (citing Ex. 1013, 9:62‒10:3) (emphasis omitted).
Petitioner contends that it would have been obvious to replace Shively’s
ADSL modems with VDSL modems, as taught by Gerszberg, in order to
achieve higher bandwidth. Pet. 38 (citing Ex. 1009, 67). Moreover,
Petitioner provides a rational reason for combining Gerszberg with the
combined teachings of Shively and Stopler. Pet. 34‒37. Patent Owner does
not present arguments for any of those claims separate from the arguments
addressed previously.
      We are persuaded by Petitioner’s showing, which we adopt as our
own findings and conclusions, that claims 3, 5, 14, 17, 19, and 28–30 are
unpatentable as obvious over Shively, Stopler, and Gerszberg.
         F. Asserted Obviousness over Shively, Stopler, and Bremer
      Petitioner contends that claims 6, 9, 10, 12, 20, 23, 24, and 26 are
unpatentable under 35 U.S.C. § 103(a) as obvious over Shively, Stopler, and
Bremer. Pet. 41–50. Relying on the testimony of Dr. Jose Tellado,
Petitioner explains how the combination of Shively, Stopler, and Bremer
allegedly meets all of the claim limitations. Id. (citing Ex. 1009).
      Bremer relates to encoding and decoding techniques for a data signal
that is transmitted over a communications channel. Ex. 1017, 1:41‒67.
Bremer describes using a pseudorandom generator to encode the gain or
phase of a signal prior to transmission, and on the receiving end, uses a

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second pseudorandom generator to decode the encoded data signal. Id. at
1:53‒64.
      Based on the record before us, Petitioner has accounted sufficiently
for dependent claims 6, 9, 10, 12, 20, 23, 24, and 26. Pet. 41–50. For
example, claim 6 depends from claim 1 and recites “independently deriving
the values associated with each carrier using a second pseudo-random
number generator in the second transceiver.” Claim 20, which depends from
independent claim 15, is similar to claim 6. Petitioner contends that Bremer
teaches that when a transmitting device includes components causing a
pseudorandom phase shift to the transmitted signal, a receiving device
requires complementary components to decode the signal. Pet. 45 (citing
Ex. 1017, 1:60–65, 4:33–34). Petitioner further contends that Bremer
describes altering gain and phase modifiers of a data signal being transmitted
from a QAM modem based on values from a pseudorandom signal
generator, which generates a pseudorandom number. Pet. 45 (citing Ex.
1017, Abstract, 2:32; Ex. 1009, 77). Petitioner further contends that the
values produced by a second pseudorandom number generator are
independent of the values produced by a first pseudorandom number
generator. Pet. 46 (citing Ex. 1017, 4:10–16, 4:35–36; Ex. 1009, 80).
Petitioner provides rational reasoning for combining Bremer with the
combined teachings of Shively and Stopler. Pet. 42‒44.
      Notwithstanding Patent Owner’s arguments, which we address
immediately below, we are persuaded by Petitioner’s showing, which we
adopt as our own findings and conclusions, that claims 6, 9, 10, 12, 20, 23,
24, and 26 are unpatentable as obvious over Shively, Stopler, and Bremer.



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                         Patent Owner’s Contentions
      Patent Owner argues that Petitioner fails to allege a legally sufficient
rationale for combining Bremer’s single-carrier privacy modem system, and
for modifying it such that it would have been compatible with
Shively/Stopler’s multicarrier systems. PO Resp. 59‒60. We are not
persuaded by this argument.
      As explained above, Petitioner relies on Bremer for its teaching of a
second pseudo-random number generator to meet the limitations of claims 6
and 20. Patent Owner quotes the reasons provided in the Petition at pages
46‒47 for combining Bremer with the Shively/Stopler combination and
argues that Petitioner’s allegations present more questions than answers. Id.
at 60. Patent Owner argues that Dr. Tellado provides no additional
guidance. Id. (citing Ex. 1009, 81). We disagree with Patent Owner that
Petitioner failed to provide a sufficient rationale and reasoning for
modifying the combined teachings of Shively and Stopler with Bremer.
      Patent Owner’s focus on one passage from the Petition and one
passage from Dr. Tellado’s testimony overlooks other supported contentions
made by Petitioner. In particular, the Petition explains that a person having
ordinary skill in the art would have understood that the transceivers and
receivers described in both Stopler and Shively would have been a matched
pair and that the techniques used by a transmitter to encode data for
transmission would have been paralleled by techniques used by a receiver to
decode data. Pet. 42‒43 (citing Ex. 1009, 74; Ex. 1017, 1:60‒63). The
Petition further explains that a person having ordinary skill in the art would
have understood that a receiver must be able to reverse the phase
modification applied by a transmitter. Pet. 43 (citing Ex. 1009, 75; Ex.

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1017, 1:34‒36). Petitioner explains that the combination of Shively, Stopler,
and Bremer would have been obvious to a person of ordinary skill in the art
because it is the application of a known technique (designing a receiver to
match a transmitter) to improve a similar system in the same way (allowing
data to be received). Pet. 44 (citing Ex. 1009, 76). Moreover, Dr. Tellado
testified that “[a]lthough Bremer describes a single-carrier QAM
communication system, it would have been obvious to a POSITA that
Bremer’s teaching of a complementary pseudo-random number generator,
and performing complementary changes of the received signal, could be
applied on a carrier-by-carrier basis to the multicarrier system of Stopler.”
Ex. 1009, 81. We agree with Petitioner’s reasoning and rationale provided,
and determine it would have been obvious to include Bremer’s second
pseudo-random number generator in the combined Shively/Stopler system
receiver in order to decode and receive the phase scrambled data transmitted
by the system transceiver. Ex. 1009, 73‒76, 81.
   G. Asserted Obviousness over Shively, Stopler, Bremer, and Gerszberg
      Petitioner contends that claims 8, 11, 13, 22, 25, and 27 are
unpatentable under 35 U.S.C. § 103(a) as obvious over Shively, Stopler,
Bremer, and Gerszberg. Pet. 50–53. Relying on the testimony of Dr. Jose
Tellado, Petitioner explains how the combination of Shively, Stopler,
Bremer, and Gerszberg allegedly meets all of the claim limitations. Id.
(citing Ex. 1009).
      Based on the record before us, Petitioner has accounted sufficiently
for dependent claims 8, 11, 13, 22, 25, and 27. Pet. 50–53. For example,
claim 11 depends from claim 6, and recites “wherein the first and second
transceivers are VDSL transceivers.” Claim 25, which depends from claim

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20, is similar to claim 11. Petitioner relies on Gerszberg’s description that
its “DSL modem may be constructed using any of the techniques described
in the applications incorporated by reference below” such as “High Speed
Digital Subscriber Line (HDSL), Asymmetric Digital Subscriber Line
(ADSL), Symmetrical Digital Subscriber Line (SDSL) and Very high data
rate Digital Subscriber Line (VDSL).” Pet. 37‒38 (emphasis omitted)
(citing Ex. 1013, 9:62‒10:3). Petitioner contends that it would have been
obvious to replace Shively’s ADSL modems with VDSL modems, as taught
by Gerszberg, in order to achieve higher bandwidth. Pet. 38, 52 (citing Ex.
1009, 67, 89). Moreover, Petitioner provides a rational reason for
combining Gerszberg with the combined teachings of Shively and Stopler.
Pet. 50‒51. Patent Owner does not present arguments for any of those
claims separate from the arguments addressed previously.
      We are persuaded by Petitioner’s showing, which we adopt as our
own findings and conclusions, that claims 8, 11, 13, 22, 25, and 27 are
unpatentable as obvious over Shively, Stopler, Bremer, and Gerszberg.
   H. Asserted Obviousness over Shively, Stopler, Bremer, and Flammer
       Petitioner contends that claims 7 and 21 are unpatentable under 35
U.S.C. § 103(a) as obvious over Shively, Stopler, Bremer, and Flammer.
Pet. 53–60. Relying on the testimony of Dr. Jose Tellado, Petitioner
explains how the combination of Shively, Stopler, Bremer, and Flammer
allegedly meets all of the claim limitations. Id. (citing Ex. 1009).
      Flammer relates to data transmission between a source node and a
target node, where each node has a transmitter and a receiver. Ex. 1019,
Abstract. Flammer uses pseudo-random number generators in its
communication system. Flammer describes synchronization between

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pseudo-random number generators at different ends of a communication
channel. Id. at 3:49–4:10. As part of the synchronization, an acquisition/
synchronization packet is transmitted that includes a seed value from the
source node to the target node. Id. at 3:52–58. The transmitted seed value is
used to initialize the pseudo-random number generators executing at the
respective source and target nodes. Id. at 3:52–4:9. Once the pseudo-
random number generators at both the source node and the target node have
the same seed value, they can generate identical pseudo-random number
sequences for selecting frequency bands. Id. at 4:42–53.
      Based on the record before us, Petitioner has accounted sufficiently
for dependent claims 7 and 21. Pet. 50–53. Claim 7 depends from claim 6
and recites “using in the first and second transceivers a same seed for the
first and second pseudo-random number generators and the value of the seed
is transmitted from the first transceiver to the second transceiver.” Claim
21, which depends from claim 20, is similar to claim 7. Petitioner contends
that Flammer teaches a transceiver as a node having a transmitter and a
receiver. Pet. 57 (citing Ex. 1019, Abstract). Petitioner further contends that
in Flammer, the source node is the first transceiver and the target node is the
second transceiver. Ex. 1009, 92. Petitioner argues that Flammer teaches
that it was known for the pseudo-random number generators in the source
node and the target node to use the same seed value. Pet. 57 (citing Ex.
1019, 3:52–67; Ex. 1009, 92–93). Petitioner further explains, with
supporting evidence, that Flammer teaches transmitting a value of a seed
from a source node (a first transceiver) to a target node (a second
transceiver) when the target node receives an acquisition/synchronization
packet which contains information about the node, including a seed value.

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Moreover, Petitioner provides a rational reason for combining Flammer with
the combined teachings of Shively, Stopler, and Bremer. Pet. 54‒57. Patent
Owner does not present arguments for either of claims 7 and 21 separate
from the arguments addressed previously.
      We are persuaded by Petitioner’s showing, which we adopt as our
own findings and conclusions, that claims 7 and 21 are unpatentable as
obvious over Shively, Stopler, Bremer, and Flammer.
                     I. Patent Owner’s Motion to Exclude
      Patent Owner moves to exclude Exhibits 1022–1025, 1028, and
portions of 1026 and 2013. PO Mot. Exc. Exhibit 1022 is styled “Robert T.
Short, ‘Physical Layer,’ in WIMEDIA UWB (2008).” Pet. Reply 5. Patent
Owner argues that we should exclude Exhibit 1022 as irrelevant. PO Mot.
Exc. 2–4. Exhibit 1022 was not cited or discussed in any way in Petitioner’s
Reply. Moreover, we did not rely on Exhibits 1022 in rendering our
decision. We did not and need not consider Exhibit 1022. We have
determined that Petitioner has demonstrated, by a preponderance of the
evidence, that the challenged claims are unpatentable, without considering
the specific objected to evidence.
      Exhibit 1023 is styled “Denis J. G. Mestdagh and Paul M. P. Spruyt,
‘A Method to Reduce the Probability of Clipping in DMT-Based
Transceivers,” IEEE Transactions on Communications, Vol. 44, No. 10,
(October 1996).” Pet. Reply 5. Exhibit 1024 is styled “Stefan H. Muller
and Johannes B. Huber, ‘A Comparison of Peak Power Reduction Schemes
for OFDM,’ IEEE Global Telecommunications Conference (1997).” Id.
Exhibit 1028 is styled “T. Starr, J. M. Cioffi, P. J. Silverman,
UNDERSTANDING DIGITAL SUBSCRIBER LINE TECHNOLOGY (1999) (selected

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pages).” Id. Exhibit 2013 is a copy of the cross examination transcript of
Dr. Tellado.
      Patent Owner argues that we should exclude Exhibits 1023, 1024, and
1028 in their entirety as irrelevant. PO Mot. Exc. 9–12. Patent Owner also
argues that we should exclude certain portions of Exhibit 2013 allegedly
discussing Exhibits 1023, 124, or 1028. Id. Although Exhibits 1023, 1024,
and 1028 are mentioned briefly in Petitioner’s Reply, we did not rely on
Exhibits 1023, 1024, 1028, or the objected to portions of Exhibit 2013 in
rendering our decision. We did not and need not consider Exhibits 1023,
1024, 1028, or the objected to portions of Exhibit 2013. We have
determined that Petitioner has demonstrated, by a preponderance of the
evidence, that the challenged claims are unpatentable, without considering
the specific objected to evidence.
      Exhibit 1025 is a copy of Dr. Tellado’s thesis. Pet. Reply 5. Patent
Owner argues that we should exclude Exhibit 1025 as irrelevant. PO Mot.
Exc. 4–6. Exhibit 1025 was not cited or discussed in any way in Petitioner’s
Reply. Moreover, we did not rely on Exhibits 1025 in rendering our
decision. We did not and need not consider Exhibit 1025. We have
determined that Petitioner has demonstrated, by a preponderance of the
evidence, that the challenged claims are unpatentable, without considering
the specific objected to evidence.
      Lastly, Patent Owner seeks to exclude paragraphs 16 (last two
sentences), 29, 42, 43 (first sentence), and 52 of Exhibit 1026 (Second
Tellado Declaration), and certain portions of Dr. Tellado’s cross
examination transcript (Exhibit 2013). PO Mot. Exc. 6–9. We did not rely
on the objected to portions of Exhibits 1026 or 2013 in rendering our

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decision. We did not and need not consider the objected to portions of
Exhibits 1026 or 2013. We have determined that Petitioner has
demonstrated, by a preponderance of the evidence, that the challenged
claims are unpatentable, without considering the specific objected to
evidence.
      For all of the above reasons, we dismiss Patent Owner’s Motion to
Exclude.
                         J. Motion for Observations
      Patent Owner also filed a Motion for Observations (Paper 30, “PO
Mot. Obs.”), to which Petitioner filed a Response (Paper 37, “Pet. Resp.”).
To the extent Patent Owner’s Motion for Observations pertains to testimony
purportedly impacting Dr. Tellado’s credibility, we have considered Patent
Owner’s observations and Petitioner’s responses in rendering this Final
Written Decision, and accorded Dr. Tellado’s testimony appropriate weight
in view of Patent Owner’s observations and Petitioner’s response to those
observations. See Obs. 1–13; Obs. Resp. 2–11.


                              III. CONCLUSION
      Based on the evidence and arguments, Petitioner has demonstrated by
a preponderance of the evidence that claims 1, 2, 4, 15, 16, and 18 are
unpatentable over Shively and Stopler; claims 3, 5, 14, 17, 19, and 28–30 are
unpatentable over Shively, Stopler, and Gerszberg; claims 6, 9, 10, 12, 20,
23, 24, and 26 are unpatentable over Shively, Stopler, and Bremer; claims 8,
11, 13, 22, 25, and 27 are unpatentable over Shively, Stopler, Bremer, and
Gerszberg; and claims 7 and 21 are unpatentable over Shively, Stopler,
Bremer, and Flammer.

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                                   Appx6789
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                                  IV. ORDER
      Accordingly, it is:
      ORDERED that claims 1–30 of the ’158 patent have been shown to be
unpatentable;
      FURTHER ORDERED that Patent Owner’s Motion to Exclude is
dismissed; and
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.

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Trials@uspto.gov                                             Paper No. 46
571-272-7822                                     Entered: February 1, 2018

       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

         BEFORE THE PATENT TRIAL AND APPEAL BOARD
                        ____________

          CISCO SYSTEMS, INC., DISH NETWORK, LLC,
           COMCAST CABLE COMMUNICATIONS, LLC,
                 COX COMMUNICATIONS, INC.,
            TIME WARNER CABLE ENTERPRISES LLC,
        VERIZON SERVICES CORP., and ARRIS GROUP, INC.,
                          Petitioner,

                                     v.

                            TQ DELTA, LLC,
                             Patent Owner.
                             ____________

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                            Patent 8,718,158 B2
                              ____________


Before SALLY C. MEDLEY, TREVOR M. JEFFERSON, and
MATTHEW R. CLEMENTS, Administrative Patent Judges.

MEDLEY, Administrative Patent Judge.

                               DECISION
                Denying Patent Owner’s Rehearing Request
                            37 C.F.R. § 42.71


1
  DISH Network, L.L.C., who filed a Petition in IPR2017-00255, and
Comcast Cable Communications, L.L.C., Cox Communications, Inc., Time
Warner Cable Enterprises L.L.C., Verizon Services Corp., and ARRIS
Group, Inc., who filed a Petition in IPR2017-00417, have been joined in this
proceeding.

                                  Appx6791
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                           I.   INTRODUCTION
      Pursuant to 37 C.F.R. § 42.71(d), TQ Delta, LLC (“Patent Owner”)
requests rehearing of our Final Written Decision (Paper 44, “Dec.”). Paper
45 (“Req. Reh’g”). Specifically, Patent Owner submits that our construction
of “scrambling the phase characteristics of the carrier signals”
misapprehends or overlooks certain evidence, that Stopler 2 does not disclose
“scrambling the phase characteristics of the carrier signals,” that we
misapprehended or overlooked certain testimony, and that we
misapprehended that Shively 3 would not have an increased or high PAR.
Req. Reh’g passim.
      For the reasons set forth below, Patent Owner’s Request for
Rehearing is denied.

                         II. STANDARD OF REVIEW
      A party requesting rehearing bears the burden of showing that the
decision should be modified. 37 C.F.R. § 42.71(d). The party must identify
specifically all matters we misapprehended or overlooked, and the place
where each matter was addressed previously in a motion, an opposition, or a
reply. Id. With this in mind, we address the arguments presented by Patent
Owner.
                                III. ANALYSIS

      A. “scrambling the phase characteristics of the carrier signals”
      Claim 1 recites “a method for scrambling the phase characteristics of
the carrier signals, comprising.” We adopted Patent Owner’s proposed

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  U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012)
(“Stopler”).
3
  U.S. Patent No. 6,144,696; issued Nov. 7, 2000 (Ex. 1011) (“Shively”).
                                     2
                                   Appx6792
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construction in part by construing “scrambling the phase characteristics of
the carrier signals” to mean “adjusting the phases of a plurality of carriers in
a single multicarrier symbol.” Dec. 8–11. We did not add to that
construction “by pseudo-randomly varying amounts” because Patent Owner
did not show why that additional language should be included for the
broadest reasonable construction of the term “scrambling the phase
characteristics of the carrier signals.” Id. Patent Owner argues that our
construction is overly broad because it encompasses adjusting the phases of
every carrier in the single multicarrier symbol by the same amount. Req.
Reh’g. 2–3. Such an adjustment, according to Patent Owner, would not
reduce peak-to-average power ratio (“PAR”), which the parties and the panel
all agree scrambling must do. Id. at 3–6. “The FWD misapprehends or
overlooks that, under any proper construction, there must at a minimum be
varying amounts by which the phases are adjusted within a single
multicarrier symbol (i.e., from carrier-to-carrier) such that PAR is reduced.”
Id. at 2.
       Patent Owner presents arguments not presented previously. We could
not have overlooked or misapprehended those arguments presented for the
first time in the rehearing request. Importantly, Patent Owner argues now
for the first time that for any proper construction “there must at a minimum
be varying amounts by which the phases are adjusted within a single
multicarrier symbol (i.e., from carrier-to-carrier) such that PAR is reduced.”
Id. at 2. This proposed construction differs from Patent Owner’s original
proposed construction which included “by pseudo-randomly varying
amounts.” Absent from the new proposed construction is the term “pseudo-
randomly.”

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                                    Appx6793
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      In any event, it is clear from the Decision that we construed the
totality of claim 1, for example, as requiring varying the amount by which
the phase of each carrier is adjusted. See, e.g., Dec. 28. Accordingly, even
if we were to adopt Patent Owner’s new proposed construction, it would not
change the way we applied the prior art to the claim language as a whole.

                  B. Stopler’s Single-Carrier Embodiment
      Patent Owner argues that Stopler’s QAM Mapper and Phase
Scrambler 82 “must be compatible with single-carrier CDMA” because
Stopler teaches that its output can, in one embodiment, be provided to a
CDMA modulator. Req. Reh’g. 7–8. Patent Owner concludes that Stopler’s
phase scrambling “must have a different purpose than the claimed phase
scrambling because [it] . . . cannot reduce PAR.” Id. at 8.
      We addressed this argument and found it unpersuasive. Dec. 23–28.
Mere disagreement with the Board’s conclusion is not a proper basis for
rehearing. It is not an abuse of discretion to have made a conclusion with
which a party disagrees.

          C. Allegedly Misapprehended or Overlooked Testimony
      Patent Owner quotes pages 25 to 26 of our Decision and argues that
“there are several inaccuracies.” Req. Reh’g 8–12. These arguments are
based, in part, on a mischaracterization of our claim construction as
requiring the same amount of rotation of the phase of each of the QAM
symbols in a DMT symbol. See, e.g., id. at 9 (“First, a DMT symbol cannot
be phase scrambled as that term is used in the claims by having its
component QAM symbols rotated by the same amount.”), 9 (“as interpreted
in the FWD (‘i.e., rotates by the same amount, the phase of a plurality of
QAM symbols.’).”). Our construction of “scrambling the phase
                                      4
                                   Appx6794
      Case: 18-1766      Document: 49-2     Page: 531    Filed: 11/21/2018

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characteristics of the carrier signals” does not require rotating by the same
amount. And as we applied the prior art, to the totality of the claim
language, it is clear that we construed the totality of the claim language to
require the phases of the carriers of the multi-carrier signal be rotated by
varying amounts. For example, our Decision states
      Stopler further teaches that, “a phase scrambling sequence is
      applied to the output symbols,” including “all symbols, not just
      the overhead symbols.” Id. at 12:25–28. Patent Owner’s expert,
      Dr. Short, agreed that Stopler is referring to phase scrambling
      QAM symbols. Reply 16–17 (citing Ex. 1027 (Tellado Dep.),
      54:17–55:3, 55:19–24, 58:6–8, 59:9–12, 60:15–22). Stopler
      further teaches that a “scrambling sequence may be generated by
      a pseudorandom generator” that generates pairs whose sum “is
      used to select the amount of rotation to be applied to the symbol,”
      singular; not “symbols” plural. Ex. 1012, 12:28–36. Thus, the
      most intuitive reading of Stopler supports Petitioner’s contention
      that QAM Mapper and Phase Scrambler 82 determines an
      amount of rotation and rotates the phase of a single QAM symbol
      by that amount.
Dec. 26.
      Patent Owner also objects to our characterization of Dr. Short’s
testimony as “admit[ing] that Stopler does not describe phase scrambling
DMT symbols” (Dec. 25 (citing Ex. 1027, 60:11–14)). Req. Reh’g 9
(regarding Ex. 1027, 60:11–14). That testimony is as follows:
      Q. Well, you would agree with me that [Stopler] doesn’t
      expressly teach applying the phase scrambler to the DMT as a
      whole?
      A. I would agree with that.
Ex. 1027, 60:11–14. We acknowledge that Dr. Short testified that he
understands Stopler to be rotating all of the QAM symbols within a
DMT symbol by the same amount, but the point made in our Decision

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                                    Appx6795
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remains: Dr. Short clearly conceded, however, that Stopler does not
expressly teach applying the phase scrambler to the DMT symbol as a
whole. Dec. 25 (citing Ex. 1027, 60:11–14).
      Patent Owner also argues that we misapprehended its argument that
Stopler would adjust the phases of QAM symbols over time in order to
reduce narrowband noise. Req. Reh’g 10 (citing PO Resp. 39 (“According
to a second narrowband-noise-reducing technique, Stopler addresses
narrowband noise at the frequency of an overhead pilot carrier by
scrambling the phase of the pilot carrier over time from one DMT symbol to
the next, i.e., by inter-symbol phase scrambling. See Ex. 2003 at ¶ 82.”).
As we noted in our Decision, however, Stopler teaches and Petitioner relies
“not just on the scrambling of ‘overhead signals, such as pilot tones,’ (Pet.
13) but on the scrambling of all QAM symbols. Because neither Petitioner’s
argument nor Stopler’s teaching of phase scrambling is limited to pilot
tones, Patent Owner’s argument is not persuasive.” Dec. 27.
      Patent Owner also argues that we misapprehended its burden by
noting that “Patent Owner identifies nothing in Stopler to suggest that, in an
alternative embodiment with a multicarrier modulator, QAM Mapper and
Phase Scrambler 82 do not supply a plurality of phase-scrambled QAM
symbols for modulation onto the plurality of carriers in the, e.g., DMT
symbol.” Req. Reh’g 11 (quoting Dec. 25–26). Petitioner has the burden of
persuasion to prove unpatentability by a preponderance of the evidence. See
35 U.S.C. § 316(e); Dynamic Drinkware, LLC v. Nat’l Graphics, Inc., 800
F.3d 1375, 1379 (Fed. Cir. 2015). For this element, we explained how
Petitioner satisfied that burden based, inter alia, on express disclosure in
Stopler. Dec. 26–27. The sentence to which Patent Owner objects merely

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                                    Appx6796
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notes that, even assuming Stopler works as Patent Owner argues in an
embodiment with a single-carrier modulator, that does not persuasively rebut
the express disclosure upon which Petitioner relies. Accordingly, we are not
persuaded that we misapprehended Patent Owner’s burden.
      Patent Owner also argues it was denied the opportunity to file a sur-
reply. Req. Reh’g. 11–12. Patent Owner was, however, granted an
opportunity to identify allegedly new arguments and evidence in Petitioner’s
Reply (Paper 25), and we considered the identified portions when reaching
our Decision (Dec. 22 n.8). Although the “listing” format required Patent
Owner to be efficient in its identification and required Petitioner to be
efficient in its responsive paper, these papers provided “the information
necessary to make a reasoned decision” (Ultratec, Inc. v. CaptionCall, LLC,
872 F.3d 1267, 1273 (Fed. Cir. 2017)) about whether the arguments and
evidence raised in reply were outside the scope of a proper reply.

                               D. Shively’s PAR
      Finally, Patent Owner argues that we misapprehended or overlooked
its argument that Shively’s PAR would not be so “increased” or “high” that
it resulted in clipping, as would be needed before a person of ordinary skill
in the art had reason to modify Shively. Req. Reh’g 12–15. We addressed
this argument and found it unpersuasive. Dec. 30–31. Mere disagreement
with the Board’s conclusion is not a proper basis for rehearing. It is not an
abuse of discretion to have made a conclusion with which a party disagrees.
      Moreover, Patent Owner alleges that “the FWD characterizes Shively
as having a ‘high’ or ‘increased’ PAR.” Req. Reh’g. 14 (citing Dec. 30).
That is false. Our Decision states that it is undisputed that Shively’s
technique “will increase PAR” (Dec. 30–31), but does not characterize

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                                    Appx6797
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Shively as having a “high” or “increased” PAR. 4 Our Decision relies upon
page 28 of Patent Owner’s Response (Paper 15), which concedes that
“Shively’s ‘spreading’ technique will contribute a small uptick in clipping
probability.” Patent Owner does not dispute, in its Request for Rehearing,
Shively’s technique increases PAR.
      With respect to Patent Owner’s argument that “there is no PAR
problem presented by Shively” (Req. Reh’g. 14) and “the only PAR problem
in this case relates to clipping” (id. at 15), we considered that argument and
found it unpersuasive. Dec. 30–31. As we noted, “Petitioner’s reason to
combine does not depend on the PAR increase exceeding some specific
numeric threshold,” “there also is no dispute that equipment designed to
handle a higher PAR can be larger, more expensive, and more power hungry
than equipment designed to handle a lower PAR,” and, therefore, “a person
of ordinary skill in the art . . . would have been motivated to reduce PAR
regardless of whether Shively’s technique resulted in clipping.” Id. In other
words, as we explained in our Decision, Shively’s PAR need not result in
clipping in order to motivate a person of ordinary skill in the art because we
are persuaded such a person would have been motivated sufficiently to
reduce PAR by the benefit of being able to use smaller, less expensive, less
power hungry components.




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  In a sentence summarizing Petitioner’s position, our Decision states,
“Petitioner alleges that Shively’s proposed system would have an
‘increased’ or ‘high’ PAR.” Dec. 30 (quoting Pet. 14–15) (emphasis added).
It should be obvious, however, that a summary of Petitioner’s allegation is
not a characterization by the panel.
                                       8
                                    Appx6798
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                               IV. ORDER
      Accordingly, it is ORDERED that Patent Owner’s Request for
Rehearing is denied.




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                        Appx6800
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Petition for Inter Partes Review of U.S. Patent No. 8,718,158

scrambler to randomize the data symbols would be to reduce the PAR of

transmitted signals.

        61.      Stopler is analogous art to the ’158 Patent because both Stopler and

the ’158 Patent are in the same field of endeavor (data communications and

processing). Ex. 1012, 1:7-8; Ex. 1001, Abstract.

        C.       Reasons to Combine Shively and Stopler

        62.      It would have been obvious to a POSITA to combine Shively and

Stopler because the combination is merely the use of a known technique to

improve a similar device, method or product in the same way.

        63.      A POSITA would have recognized that by transmitting redundant data

symbols on multiple carriers, Shively’s transmitter would suffer from an increased

peak-to-average power ratio. This increase is due to the fact that the overall

transmitted signal in a multicarrier system is essentially the sum of its multiple

subcarriers. When N subcarrier signals with the same phase and amplitude are

added together, they have a peak power which is N times greater than their

individual maximum powers.

        64.      Since Shively’s subcarriers use quadrature amplitude modulation

(QAM)—which encodes bits to be transmitted by modulating the phase and

amplitude of the subcarrier—transmitting the same one or more bits on two

different subcarriers causes those subcarriers to have the same phase and



                                                     27                                CSCO-1009
                                                    Appx8405
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dynamic range. To the extent that such components existed, they were expensive

and highly inefficient. Less capable components would cause non-linear signal

distortion, such as from amplitude clipping, resulting in data transmission errors.

Since a high PAR brings numerous disadvantages, a POSITA would have sought

out an approach to reduce the PAR of Shively’s transmitter.

        67.      Stopler provides a solution for reducing the PAR of a multicarrier

transmitter. Specifically, Stopler teaches that a bit scrambler followed by a phase

scrambler can be employed to randomize the phase of the individual subcarriers.

Ex. 1012, 12:24-28. A POSITA would have recognized that by randomizing the

phase of each subcarrier, Stopler provides a technique that allows two or more

subcarriers in Shively’s system to transmit the same one or more bits, but without

those two or more subcarriers having the same phase. Since the two subcarriers

are out-of-phase with one another, the subcarriers will not add up coherently at the

same time, and thus the peak-to-average power ratio for the overall system will be

less than in Shively’s original system.

        68.      Combining Stopler’s phase scrambler into Shively’s transmitter would

have been a relatively simple and obvious solution to reduce Shively’s PAR.

        69.      Market forces would have prompted the development of multicarrier

communications devices, such as Digital Subscriber Line (DSL) modems,

employing both redundant bit transmission and phase scrambling. As Shively


                                                     29                                CSCO-1009
                                                    Appx8407
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Second Declaration of Dr. Jose Tellado

       41.     Dr. Short stated that in the 18,000 foot cable example he considered,

less than half of the carriers are usable. Because less than half of the carriers can

transmit data, Dr. Short stated that the transmitter transmitting a signal over an

18,000 foot cable operates at less than half average power. This is not the case for

a 12,000 foot cable. The 12,000 foot cable does has very few (15) unusable

carriers. Thus, most of the available carriers could be transmitting data on a 12,000

foot cable. Thus, the transmitter transmitting data on all carriers could operate at

close to full average power. Because Shively’s technique increases the frequency

with which a large number of carriers will be aligned and create a spike in signal

amplitude, Shively’s technique significantly increases PAR. For a transmitter that

was designed to transmit a random signal multicarrier signal, attempting to

transmit a signal using Shively’s bit-spreading technique will cause a significant

increase in signal clipping.

VII. A simulation of a transmitter shows that Shively’s technique increases
PAR and the likelihood of clipping
       42.     Because Shively’s technique transmits the same bits on multiple

carriers, a POSITA would have intuitively known that Shively’s technique would

significantly increase the likelihood of carriers’ phases aligning, and therefore

increase PAR.

       43.     A POSITA would also have known that quantifying the exact level of

increase in PAR could not be calculated using a simple Gaussian approximation.
                                          25
                                                                     Cisco v. TQ Delta
                                                                          CSCO-1026
                                        Appx8526
            Case: 18-1766    Document: 49-2     Page: 540     Filed: 11/21/2018

Second Declaration of Dr. Jose Tellado

Instead, quantifying the increase in PAR would have called for running numerical

simulations of a transmitter. Such simulations were commonly created and run by

engineers in the 1990s to investigate the impact of proposed modulation techniques

on a communication system’s performance. A POSITA would have known how to

create and run a simulation of Shively’s bit-spreading technique. In order to

quantify the increase in PAR, I designed and wrote a simulation of an ADSL

transmitter that calculates the clipping probability of a DMT symbol for different

values of PAR under different simulation conditions.

      44.     Exhibit 1034, provided with this declaration, is a true and accurate

copy of the code for the simulation that I wrote, which runs in MathWorks Matlab

or GNU Octave.

      45.     My simulation takes into account different scenarios that can occur

when data is transmitted in an ADSL system. Equations #1 and #2 show the

likelihood that all carriers will phase-align perfectly and generate a spike in power

in a system that has n carriers. However, spikes can also occur when various

carriers are only partially phase-aligned. Furthermore, the amplitude of a spike

will depend in part on the specific frequencies of the carriers that are phase-

aligned. Shively describes replicating data (a k-bit symbol) over adjacent carriers.

Ex. 1011, 11:16-19.




                                          26
                                                                    Cisco v. TQ Delta
                                                                         CSCO-1026
                                       Appx8527
             Case: 18-1766    Document: 49-2    Page: 541    Filed: 11/21/2018

IPR2016-01020
Patent Owner’s Request For Rehearing Pursuant To 37 C.F.R. § 42.71(d)
U.S. Patent No. 9,014,243

I.      INTRODUCTION
        Pursuant to 37 C.F.R. § 42.71(d), TQ Delta, LLC (“Patent Owner”) requests

rehearing of the Panel’s final written decision (“FWD”), Paper 41. The FWD is

based on an overbroad construction of “scrambling the phase characteristics of the

carrier signals” that misapprehends or overlooks the specification of the ’243

patent, Patent Owner’s discussion, and the statements of Petitioners, including their

own expert. Furthermore, given a proper construction of “scrambling the phase

characteristics of the carrier signals,” the FWD misapprehends or overlooks that

Stopler’s2 alleged phase scrambling is different than what is claimed. The FWD

also mistakenly concludes, based on a misapprehension of the record, that one of

skill in the art would have (1) considered Shively’s3 PAR without the frame of

reference of its clipping rate and (2) considered Shively to have a “high” or

“increased” PAR. But the relative terms “high” or “increased” PAR lack meaning

without a frame of reference.

II.     THE PANEL’S CONSTRUCTION OF “SCRAMBL[E/ING]…A
        PLURALITY OF CARRIER PHASES” IS OVERBROAD
        Patent Owner asserted that this term (and the similar term “scramble … a

plurality of phases”) should be construed to mean “adjusting the phases of a
2
    U.S. Patent No. 6,625,219 B1; issued Sept. 23, 2003 (Ex. 1012) (“Stopler”).
3
    U.S. Patent No. 6,144,696 B1; issued Nov. 9, 2000 (Ex. 1011) (“Shively”).

                                           1
                                        Appx8555
           Case: 18-1766      Document: 49-2     Page: 542    Filed: 11/21/2018

IPR2016-01020
Patent Owner’s Request For Rehearing Pursuant To 37 C.F.R. § 42.71(d)
U.S. Patent No. 9,014,243

plurality of carriers in a single multicarrier symbol by pseudo-randomly varying

amounts.” POR, Paper 12 at 14. Petitioners, on the other hand, argued that it

needs no construction, “since [Stopler] uses the same ‘phase scrambling’

terminology to describe pseudo-random phase changes.” Reply, Paper 20 at 7.

      The FWD, however, diverged from both of these approaches and construed

the term to mean “adjusting the phases of a plurality of carriers in a single

multicarrier symbol.” FWD, Paper 41 at 9. But this cannot be a proper

construction of this term because it leaves open the possibility that all of the phases

within a single multicarrier symbol are adjusted by a single (i.e., same) amount.

The FWD misapprehends or overlooks that, under any proper construction, there

must at a minimum be varying amounts by which the phases are adjusted within a

single multicarrier symbol (i.e., from carrier-to-carrier) such that PAR is reduced.

Under the construction set forth in the FWD, the claim term would still be met

where the phases of a plurality of carriers in a single multicarrier signal are

adjusted even if each of the phases of the plurality of carriers in the single

multicarrier symbol are adjusted by the same amount. Such uniform adjustment,

however, would not result in the recited “scrambling” where phase adjustment

varies among carriers—and therefore would not reduce PAR.




                                           2
                                        Appx8556
             Case: 18-1766    Document: 49-2      Page: 543   Filed: 11/21/2018

IPR2016-01020
Patent Owner’s Request For Rehearing Pursuant To 37 C.F.R. § 42.71(d)
U.S. Patent No. 9,014,243

        A.     There Is Universal Agreement That Scrambling Phases As
               Claimed Reduces PAR
        As both Patent Owner and Petitioners explained, the claimed “scrambling”

must lower PAR. Patent Owner’s discussion on this point is clear, unrefuted, and

fully supported by the ’243 patent. See, e.g., POR, Paper 12 at 16 (“As the ’243

patent explains, PAR in the transmission signal is reduced by adjusting the carrier

phases within a single DMT symbol. See [Ex. 1001] at 6:30–53. If the carrier

phases were only adjusted from one symbol to the next, PAR would not be

reduced. See Ex. 2003 at ¶¶ 41–42.”); Ex. 2003 (Short Decl.) at ¶ 42; Ex. 1001 at

6:30–53.

        Petitioners’ arguments showed that they agree that the claims required

adjusting phases of the individual carriers. For example, Petitioners alleged:

        A POSITA would have known that one way to reduce PAR is to
        scramble phases of individual carriers.

Reply, Paper 17 at 12.4 Another example is Petitioners’ section heading: “IV.

Stopler’s phase scrambler reduces PAR because it scrambles phases of individual

QAM symbols.” Reply, Paper 17 at 16.



4
    Patent Owner disagrees and contests Petitioners’ conclusions and untimely

submission of evidence, but agrees that the claimed phase-scrambling must reduce

                                           3
                                       Appx8557
             Case: 18-1766    Document: 49-2    Page: 544    Filed: 11/21/2018

IPR2016-01020
Patent Owner’s Request For Rehearing Pursuant To 37 C.F.R. § 42.71(d)
U.S. Patent No. 9,014,243

        Even the FWD acknowledges that the claimed phase scrambling reduces

PAR.5 See FWD, Paper 41 at 25 (“The known technique is identified as phase

scrambling. Pet. 14–15 (citing Ex. 1009, 27–28). The similar device is Shively’s

modem. Pet. 16. And the improvement to it is the same as in Stopler—to reduce

PAR. Pet. 15 (citing Ex. 1009, 28–29).”); id. at 29 (“In addition, Dr. Tellado

testified that a person having ordinary skill in the art would have recognized that

the purpose of Stopler’s phase scrambler to randomize data symbols would be to

reduce PAR of transmitted signals….”); id. at 31 (“Accordingly, a drive to reduce

equipment costs would have motivated a person having ordinary skill in the art to

include Stopler’s phase scrambler into Shively’s transmitter to reduce PAR.”).

        Thus, all parties and the Panel are in agreement that phase scrambling

reduces PAR. And, of course, if PAR is not reduced, then there can be no phase

scrambling.




PAR.
5
    Patent Owner does not agree with the conclusions of the FWD, but notes only

that PAR reduction using phase scrambling is discussed and not refuted.

                                          4
                                       Appx8558
           Case: 18-1766     Document: 49-2    Page: 545     Filed: 11/21/2018

IPR2016-01020
Patent Owner’s Request For Rehearing Pursuant To 37 C.F.R. § 42.71(d)
U.S. Patent No. 9,014,243

      B.     The FWD’s Construction Includes Situations in Which PAR Is
             Not Reduced
      The construction in the FWD of “scrambl[e/ing]…a plurality of carrier

phases” (and the similar term “scramble … a plurality of phases”) is overbroad

because it includes scenarios in which PAR is not reduced. For example, if all of

the carriers in a single multicarrier symbol are rotated by the same amount, then

PAR would not be reduced. That is because the phases would not be “scrambled”

in any sense. Instead, when undesirably aligned carrier phases in a single

multicarrier symbol are rotated by the same amount, they will still align by the

same undesirable amount. The FWD overlooks or misapprehends that, without

phase variance from carrier-to-carrier within a single multicarrier symbol, there

can be no reduction in PAR according to the claims and the invention of the ’243

patent, and therefore no phase scrambling as claimed. See, e.g., Petition, Paper 2 at

14, and Ex. 1009 (Tellado Decl.) at ¶ 64 (“Having phase-aligned subcarriers causes

a high peak-to-average power ratio (PAR), since all of the subcarriers add up

coherently at the same time.”); POR, Paper 15 at 49 (“[O]ut of all the evidence in

this inter partes review, only the inventor of the ’243 patent recognized the

problem of high PAR due to phase-aligned carriers.”); Reply, Paper 20 at 20

(“Such non-random, structured data increases the likelihood for phases of carriers

to align, thereby increasing PAR. CSCO-1009, ¶60.”).

                                          5
                                       Appx8559
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                       United States Court of Appeals
                           for the Federal Circuit
             TQ Delta, LLC v. Cisco Systems, Inc., 2018-1766, -1767

                         CERTIFICATE OF SERVICE
      I, Melissa Pickett, being duly sworn according to law and being over the age

of 18, upon my oath depose and say that:

      Counsel Press was retained by MCANDREWS, HELD & MALLOY, LTD.,

counsel for Appellant to print this document. I am an employee of Counsel Press.

      On November 21, 2018 counsel has authorized me to electronically file the

foregoing JOINT APPENDIX with the Clerk of Court using the CM/ECF

System, which will serve via e-mail notice of such filing to all counsel registered

as CM/ECF users, including the following principal counsel for the other parties:

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         Case: 18-1766     Document: 49-2    Page: 547    Filed: 11/21/2018




Courtesy paper copies will also be mailed to the above principal counsel at the

time paper copies are sent to the Court.

      Six paper copies will be filed with the Court within the time provided in the

Court’s rules.


November 21, 2018                            /s/ Melissa Pickett
                                             Counsel Press
